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                                           Schedule A
                                           FTC - Classic

          Security            Buy / Sell      Date         Quantity   Price
CBOE Volatility Index (VIX)     SELL       3/23/2012          -1       17.6
CBOE Volatility Index (VIX)     BUY        3/23/2012           1      17.65
CBOE Volatility Index (VIX)     SELL       4/16/2012         -20       21.3
CBOE Volatility Index (VIX)     SELL       4/16/2012          -7       21.3
CBOE Volatility Index (VIX)     SELL       4/16/2012          -5       21.3
CBOE Volatility Index (VIX)     SELL       4/16/2012          -2       21.3
CBOE Volatility Index (VIX)     SELL       4/16/2012          -2       21.3
CBOE Volatility Index (VIX)     SELL       4/17/2012          -2      19.95
CBOE Volatility Index (VIX)     SELL       4/17/2012          -1      19.95
CBOE Volatility Index (VIX)     SELL       4/18/2012          -1       20.5
CBOE Volatility Index (VIX)     SELL       4/18/2012          -1      20.55
CBOE Volatility Index (VIX)     SELL       4/19/2012         -82      20.35
CBOE Volatility Index (VIX)     SELL       4/19/2012         -76      20.35
CBOE Volatility Index (VIX)     SELL       4/20/2012          -6      19.65
CBOE Volatility Index (VIX)     SELL       4/23/2012         -15      20.55
CBOE Volatility Index (VIX)     SELL       4/24/2012          -6      19.75
CBOE Volatility Index (VIX)     SELL       4/25/2012         -94      18.55
CBOE Volatility Index (VIX)     SELL       4/26/2012         -19      17.95
CBOE Volatility Index (VIX)     SELL       4/27/2012         -26        18
CBOE Volatility Index (VIX)     SELL       4/30/2012         -10      18.45
CBOE Volatility Index (VIX)     SELL        5/1/2012         -15      17.95
CBOE Volatility Index (VIX)     SELL        5/2/2012         -24      18.05
CBOE Volatility Index (VIX)     SELL        5/3/2012         -17      18.75
CBOE Volatility Index (VIX)     SELL        5/4/2012          -6      19.85
CBOE Volatility Index (VIX)     SELL        5/4/2012          -5       19.8
CBOE Volatility Index (VIX)     BUY         5/7/2012           5      19.35
CBOE Volatility Index (VIX)     BUY         5/7/2012           7       19.4
CBOE Volatility Index (VIX)     SELL        5/8/2012          -2      19.55
CBOE Volatility Index (VIX)     BUY         5/9/2012           2      20.55
CBOE Volatility Index (VIX)     BUY        5/10/2012           1      19.35
CBOE Volatility Index (VIX)     BUY        5/10/2012           2      19.35
CBOE Volatility Index (VIX)     BUY        5/10/2012         20       19.35
CBOE Volatility Index (VIX)     BUY        5/11/2012           1       20.1
CBOE Volatility Index (VIX)     BUY        5/11/2012           1       20.1
CBOE Volatility Index (VIX)     BUY        5/11/2012           2       20.1
CBOE Volatility Index (VIX)     BUY        5/11/2012           2      20.15
CBOE Volatility Index (VIX)     BUY        5/11/2012           5      20.15
CBOE Volatility Index (VIX)     BUY        5/11/2012           6      20.15
CBOE Volatility Index (VIX)     BUY        5/11/2012           6      20.15
CBOE Volatility Index (VIX)     BUY        5/11/2012           6      20.15
CBOE Volatility Index (VIX)     BUY        5/11/2012         10       20.15
CBOE Volatility Index (VIX)     BUY        5/11/2012         15       20.15
CBOE Volatility Index (VIX)     BUY        5/11/2012         15       20.15
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CBOE Volatility Index (VIX)   BUY    5/11/2012    17    20.15
CBOE Volatility Index (VIX)   BUY    5/11/2012    19    20.15
CBOE Volatility Index (VIX)   BUY    5/11/2012    24    20.15
CBOE Volatility Index (VIX)   BUY    5/11/2012    26    20.15
CBOE Volatility Index (VIX)   BUY    5/11/2012    76     20.1
CBOE Volatility Index (VIX)   BUY    5/11/2012    82    20.15
CBOE Volatility Index (VIX)   BUY    5/11/2012    94    20.15
CBOE Volatility Index (VIX)   SELL   5/11/2012   -128    21.4
CBOE Volatility Index (VIX)   SELL   5/11/2012   -112    21.4
CBOE Volatility Index (VIX)   SELL   5/11/2012    -33   21.45
CBOE Volatility Index (VIX)   SELL   5/11/2012    -26   21.45
CBOE Volatility Index (VIX)   SELL   5/11/2012    -16    21.4
CBOE Volatility Index (VIX)   SELL   5/11/2012    -15    21.4
CBOE Volatility Index (VIX)   SELL   5/11/2012     -9    21.4
CBOE Volatility Index (VIX)   SELL   5/11/2012     -9   21.45
CBOE Volatility Index (VIX)   SELL   5/11/2012     -9   21.45
CBOE Volatility Index (VIX)   SELL   5/11/2012     -9   21.45
CBOE Volatility Index (VIX)   SELL   5/11/2012     -7    21.4
CBOE Volatility Index (VIX)   SELL   5/11/2012     -7    21.4
CBOE Volatility Index (VIX)   SELL   5/11/2012     -7   21.45
CBOE Volatility Index (VIX)   SELL   5/11/2012     -6   21.45
CBOE Volatility Index (VIX)   SELL   5/11/2012     -6    21.4
CBOE Volatility Index (VIX)   SELL   5/11/2012     -5    21.4
CBOE Volatility Index (VIX)   SELL   5/11/2012     -3    21.4
CBOE Volatility Index (VIX)   SELL   5/11/2012     -3   21.45
CBOE Volatility Index (VIX)   SELL   5/11/2012     -2    21.4
CBOE Volatility Index (VIX)   SELL   5/11/2012     -2    21.4
CBOE Volatility Index (VIX)   SELL   5/11/2012     -2   21.45
CBOE Volatility Index (VIX)   SELL   5/11/2012     -2   21.45
CBOE Volatility Index (VIX)   SELL   5/11/2012     -1    21.4
CBOE Volatility Index (VIX)   SELL   5/14/2012     -3   22.85
CBOE Volatility Index (VIX)   SELL   5/14/2012     -2    22.9
CBOE Volatility Index (VIX)   BUY    5/14/2012    16     22.9
CBOE Volatility Index (VIX)   BUY    5/15/2012      7    23.8
CBOE Volatility Index (VIX)   BUY    5/15/2012    15    23.85
CBOE Volatility Index (VIX)   BUY    5/16/2012      5    24.4
CBOE Volatility Index (VIX)   BUY    5/16/2012      7   24.45
CBOE Volatility Index (VIX)   BUY    5/17/2012    112    26.2
CBOE Volatility Index (VIX)   BUY    5/17/2012    128   26.15
CBOE Volatility Index (VIX)   SELL   5/18/2012    -25     28
CBOE Volatility Index (VIX)   SELL   5/18/2012    -17     28
CBOE Volatility Index (VIX)   SELL   5/18/2012    -12     28
CBOE Volatility Index (VIX)   SELL   5/18/2012    -12     28
CBOE Volatility Index (VIX)   SELL   5/18/2012    -10     28
CBOE Volatility Index (VIX)   SELL   5/18/2012    -10     28
CBOE Volatility Index (VIX)   SELL   5/18/2012     -9     28
CBOE Volatility Index (VIX)   SELL   5/18/2012     -8     28
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CBOE Volatility Index (VIX)   SELL   5/18/2012    -8      28
CBOE Volatility Index (VIX)   SELL   5/18/2012    -5      28
CBOE Volatility Index (VIX)   SELL   5/18/2012    -5      28
CBOE Volatility Index (VIX)   SELL   5/18/2012    -4      28
CBOE Volatility Index (VIX)   SELL   5/18/2012    -4      28
CBOE Volatility Index (VIX)   SELL   5/18/2012    -4      28
CBOE Volatility Index (VIX)   SELL   5/18/2012    -3      28
CBOE Volatility Index (VIX)   SELL   5/18/2012    -3      28
CBOE Volatility Index (VIX)   SELL   5/18/2012    -3      28
CBOE Volatility Index (VIX)   SELL   5/18/2012    -3      28
CBOE Volatility Index (VIX)   SELL   5/18/2012    -2      28
CBOE Volatility Index (VIX)   SELL   5/18/2012    -2      28
CBOE Volatility Index (VIX)   SELL   5/18/2012    -2      28
CBOE Volatility Index (VIX)   SELL   5/18/2012    -1      28
CBOE Volatility Index (VIX)   SELL   5/18/2012    -1      28
CBOE Volatility Index (VIX)   SELL   5/18/2012    -1      28
CBOE Volatility Index (VIX)   BUY    5/21/2012     1    24.35
CBOE Volatility Index (VIX)   BUY    5/21/2012     2     24.2
CBOE Volatility Index (VIX)   BUY    5/21/2012     3    24.25
CBOE Volatility Index (VIX)   BUY    5/21/2012     6     24.3
CBOE Volatility Index (VIX)   BUY    5/21/2012     9     24.4
CBOE Volatility Index (VIX)   BUY    5/22/2012     2      25
CBOE Volatility Index (VIX)   BUY    5/22/2012     9      25
CBOE Volatility Index (VIX)   BUY    5/22/2012   26     25.05
CBOE Volatility Index (VIX)   BUY    5/23/2012     7     24.8
CBOE Volatility Index (VIX)   BUY    5/23/2012     9    24.85
CBOE Volatility Index (VIX)   BUY    5/24/2012     3     24.3
CBOE Volatility Index (VIX)   SELL   5/25/2012    -3     24.5
CBOE Volatility Index (VIX)   SELL   5/25/2012    -2     24.5
CBOE Volatility Index (VIX)   SELL   5/29/2012    -6    23.05
CBOE Volatility Index (VIX)   SELL   5/29/2012    -2    23.05
CBOE Volatility Index (VIX)   SELL   5/30/2012   -11     25.6
CBOE Volatility Index (VIX)   SELL   5/30/2012    -9     25.6
CBOE Volatility Index (VIX)   SELL   5/30/2012    -1     25.6
CBOE Volatility Index (VIX)   BUY    5/31/2012     9    25.95
CBOE Volatility Index (VIX)   BUY     6/1/2012     2     27.8
CBOE Volatility Index (VIX)   BUY     6/1/2012     2    27.85
CBOE Volatility Index (VIX)   BUY     6/4/2012   33       27
CBOE Volatility Index (VIX)   BUY     6/5/2012     2    25.65
CBOE Volatility Index (VIX)   BUY     6/5/2012     3    25.65
CBOE Volatility Index (VIX)   BUY     6/5/2012     6    25.65
CBOE Volatility Index (VIX)   BUY     6/5/2012   12     25.65
CBOE Volatility Index (VIX)   BUY     6/6/2012     9    23.45
CBOE Volatility Index (VIX)   SELL    6/7/2012    -1     23.1
CBOE Volatility Index (VIX)   SELL    6/8/2012   -10     21.7
CBOE Volatility Index (VIX)   SELL    6/8/2012    -2     21.7
CBOE Volatility Index (VIX)   SELL    6/8/2012    -1     21.7
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CBOE Volatility Index (VIX)   SELL   6/11/2012   -9      24.5
CBOE Volatility Index (VIX)   SELL   6/11/2012   -7     24.45
CBOE Volatility Index (VIX)   SELL   6/11/2012   -1     24.45
CBOE Volatility Index (VIX)   SELL   6/11/2012   -1      24.5
CBOE Volatility Index (VIX)   BUY    6/12/2012    8      23.4
CBOE Volatility Index (VIX)   BUY    6/13/2012    1       25
CBOE Volatility Index (VIX)   BUY    6/13/2012    1     25.05
CBOE Volatility Index (VIX)   BUY    6/14/2012    2     23.05
CBOE Volatility Index (VIX)   BUY    6/14/2012    3       23
CBOE Volatility Index (VIX)   BUY    6/15/2012    1     22.25
CBOE Volatility Index (VIX)   BUY    6/15/2012    1     22.65
CBOE Volatility Index (VIX)   BUY    6/15/2012    1     22.75
CBOE Volatility Index (VIX)   BUY    6/15/2012    1     22.85
CBOE Volatility Index (VIX)   BUY    6/15/2012    1      22.9
CBOE Volatility Index (VIX)   BUY    6/15/2012    1     22.95
CBOE Volatility Index (VIX)   BUY    6/15/2012    2      22.3
CBOE Volatility Index (VIX)   BUY    6/15/2012    2     22.35
CBOE Volatility Index (VIX)   BUY    6/15/2012    2      22.6
CBOE Volatility Index (VIX)   BUY    6/15/2012    2     22.75
CBOE Volatility Index (VIX)   BUY    6/15/2012    2      22.6
CBOE Volatility Index (VIX)   BUY    6/15/2012    3      21.8
CBOE Volatility Index (VIX)   BUY    6/15/2012    3      22.5
CBOE Volatility Index (VIX)   BUY    6/15/2012    3     22.55
CBOE Volatility Index (VIX)   BUY    6/15/2012    3     22.55
CBOE Volatility Index (VIX)   BUY    6/15/2012    4     21.75
CBOE Volatility Index (VIX)   BUY    6/15/2012    4      22.4
CBOE Volatility Index (VIX)   BUY    6/15/2012    4     22.45
CBOE Volatility Index (VIX)   BUY    6/15/2012    5     21.85
CBOE Volatility Index (VIX)   BUY    6/15/2012    5      22.2
CBOE Volatility Index (VIX)   BUY    6/15/2012    6     22.65
CBOE Volatility Index (VIX)   BUY    6/15/2012    7     22.85
CBOE Volatility Index (VIX)   BUY    6/15/2012    8     22.15
CBOE Volatility Index (VIX)   BUY    6/15/2012    9      22.9
CBOE Volatility Index (VIX)   BUY    6/15/2012    9     22.75
CBOE Volatility Index (VIX)   BUY    6/15/2012   10     21.95
CBOE Volatility Index (VIX)   BUY    6/15/2012   10      22.1
CBOE Volatility Index (VIX)   BUY    6/15/2012   10      22.8
CBOE Volatility Index (VIX)   BUY    6/15/2012   11      22.7
CBOE Volatility Index (VIX)   BUY    6/15/2012   12      21.9
CBOE Volatility Index (VIX)   BUY    6/15/2012   17       22
CBOE Volatility Index (VIX)   BUY    6/15/2012   25     22.05
CBOE Volatility Index (VIX)   BUY    4/16/2012    1       24
CBOE Volatility Index (VIX)   BUY    4/16/2012    6       24
CBOE Volatility Index (VIX)   BUY    4/16/2012    6       24
CBOE Volatility Index (VIX)   BUY    4/16/2012   11       24
CBOE Volatility Index (VIX)   BUY    4/17/2012    2      23.3
CBOE Volatility Index (VIX)   BUY    4/18/2012    1      23.7
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CBOE Volatility Index (VIX)   BUY    4/18/2012     1    23.75
CBOE Volatility Index (VIX)   BUY    4/19/2012     6     23.7
CBOE Volatility Index (VIX)   BUY    4/19/2012   21      23.8
CBOE Volatility Index (VIX)   BUY    4/19/2012   36      23.8
CBOE Volatility Index (VIX)   BUY    4/19/2012   42     23.75
CBOE Volatility Index (VIX)   BUY    4/20/2012     1     23.2
CBOE Volatility Index (VIX)   BUY    4/20/2012     4    23.25
CBOE Volatility Index (VIX)   BUY    4/23/2012     2    23.95
CBOE Volatility Index (VIX)   BUY    4/23/2012     2    23.95
CBOE Volatility Index (VIX)   BUY    4/23/2012     5     23.9
CBOE Volatility Index (VIX)   BUY    4/24/2012     7     23.4
CBOE Volatility Index (VIX)   BUY    4/25/2012     5     22.3
CBOE Volatility Index (VIX)   BUY    4/25/2012     6    22.35
CBOE Volatility Index (VIX)   BUY    4/25/2012   25      22.3
CBOE Volatility Index (VIX)   BUY    4/25/2012   27     22.35
CBOE Volatility Index (VIX)   BUY    4/26/2012     3    21.85
CBOE Volatility Index (VIX)   BUY    4/26/2012     5     21.8
CBOE Volatility Index (VIX)   BUY    4/27/2012     3     21.7
CBOE Volatility Index (VIX)   BUY    4/27/2012   11      21.7
CBOE Volatility Index (VIX)   SELL   4/30/2012    -6    21.95
CBOE Volatility Index (VIX)   SELL   4/30/2012    -1     21.9
CBOE Volatility Index (VIX)   BUY     5/1/2012     2    21.65
CBOE Volatility Index (VIX)   BUY     5/2/2012     7     21.6
CBOE Volatility Index (VIX)   BUY     5/3/2012     2      22
CBOE Volatility Index (VIX)   BUY     5/3/2012     3    22.05
CBOE Volatility Index (VIX)   BUY     5/4/2012     6     22.7
CBOE Volatility Index (VIX)   BUY     5/7/2012     1    22.25
CBOE Volatility Index (VIX)   BUY     5/7/2012     1     22.3
CBOE Volatility Index (VIX)   BUY     5/8/2012     2     22.5
CBOE Volatility Index (VIX)   BUY     5/8/2012     3    22.55
CBOE Volatility Index (VIX)   BUY     5/8/2012     4    22.55
CBOE Volatility Index (VIX)   BUY     5/9/2012     3     23.2
CBOE Volatility Index (VIX)   BUY     5/9/2012     5    23.25
CBOE Volatility Index (VIX)   BUY    5/10/2012     1     22.4
CBOE Volatility Index (VIX)   BUY    5/10/2012     2     22.4
CBOE Volatility Index (VIX)   BUY    5/10/2012     3     22.4
CBOE Volatility Index (VIX)   BUY    5/10/2012     5     22.4
CBOE Volatility Index (VIX)   SELL   5/14/2012   -42     23.4
CBOE Volatility Index (VIX)   SELL   5/14/2012   -36    23.45
CBOE Volatility Index (VIX)   SELL   5/14/2012   -27    23.55
CBOE Volatility Index (VIX)   SELL   5/14/2012   -25     23.5
CBOE Volatility Index (VIX)   SELL   5/14/2012   -21     23.4
CBOE Volatility Index (VIX)   SELL   5/14/2012   -11    23.35
CBOE Volatility Index (VIX)   SELL   5/14/2012   -11    23.65
CBOE Volatility Index (VIX)   SELL   5/14/2012    -7     23.5
CBOE Volatility Index (VIX)   SELL   5/14/2012    -7    23.65
CBOE Volatility Index (VIX)   SELL   5/14/2012    -6     23.4
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CBOE Volatility Index (VIX)   SELL   5/14/2012    -6     23.4
CBOE Volatility Index (VIX)   SELL   5/14/2012    -6     23.6
CBOE Volatility Index (VIX)   SELL   5/14/2012    -6     23.7
CBOE Volatility Index (VIX)   SELL   5/14/2012    -5     23.9
CBOE Volatility Index (VIX)   SELL   5/14/2012    -5    23.45
CBOE Volatility Index (VIX)   SELL   5/14/2012    -5    23.55
CBOE Volatility Index (VIX)   SELL   5/14/2012    -5     23.6
CBOE Volatility Index (VIX)   SELL   5/14/2012    -5     23.8
CBOE Volatility Index (VIX)   SELL   5/14/2012    -4    23.75
CBOE Volatility Index (VIX)   SELL   5/14/2012    -4    23.45
CBOE Volatility Index (VIX)   SELL   5/14/2012    -3     23.6
CBOE Volatility Index (VIX)   SELL   5/14/2012    -3    23.85
CBOE Volatility Index (VIX)   SELL   5/14/2012    -3     23.6
CBOE Volatility Index (VIX)   SELL   5/14/2012    -3     23.7
CBOE Volatility Index (VIX)   SELL   5/14/2012    -3     23.8
CBOE Volatility Index (VIX)   SELL   5/14/2012    -3     23.8
CBOE Volatility Index (VIX)   SELL   5/14/2012    -2    23.45
CBOE Volatility Index (VIX)   SELL   5/14/2012    -2     23.7
CBOE Volatility Index (VIX)   SELL   5/14/2012    -2     23.4
CBOE Volatility Index (VIX)   SELL   5/14/2012    -2     23.5
CBOE Volatility Index (VIX)   SELL   5/14/2012    -2    23.65
CBOE Volatility Index (VIX)   SELL   5/14/2012    -2    23.75
CBOE Volatility Index (VIX)   SELL   5/14/2012    -2    23.95
CBOE Volatility Index (VIX)   SELL   5/14/2012    -1    23.75
CBOE Volatility Index (VIX)   SELL   5/14/2012    -1     23.8
CBOE Volatility Index (VIX)   SELL   5/14/2012    -1     23.4
CBOE Volatility Index (VIX)   SELL   5/14/2012    -1     23.4
CBOE Volatility Index (VIX)   SELL   5/14/2012    -1    23.45
CBOE Volatility Index (VIX)   SELL   5/14/2012    -1    23.75
CBOE Volatility Index (VIX)   SELL   6/15/2012   -13     24.7
CBOE Volatility Index (VIX)   SELL   6/15/2012   -12     24.8
CBOE Volatility Index (VIX)   SELL   6/15/2012   -10    24.85
CBOE Volatility Index (VIX)   SELL   6/15/2012    -8      24
CBOE Volatility Index (VIX)   SELL   6/15/2012    -8     24.6
CBOE Volatility Index (VIX)   SELL   6/15/2012    -7    23.95
CBOE Volatility Index (VIX)   SELL   6/15/2012    -7     24.3
CBOE Volatility Index (VIX)   SELL   6/15/2012    -7     24.5
CBOE Volatility Index (VIX)   SELL   6/15/2012    -7     24.2
CBOE Volatility Index (VIX)   SELL   6/15/2012    -6    24.55
CBOE Volatility Index (VIX)   SELL   6/15/2012    -6     24.2
CBOE Volatility Index (VIX)   SELL   6/15/2012    -5     24.2
CBOE Volatility Index (VIX)   SELL   6/15/2012    -5     24.4
CBOE Volatility Index (VIX)   SELL   6/15/2012    -5     24.2
CBOE Volatility Index (VIX)   SELL   6/15/2012    -5     24.2
CBOE Volatility Index (VIX)   SELL   6/15/2012    -5     24.2
CBOE Volatility Index (VIX)   SELL   6/15/2012    -5     24.2
CBOE Volatility Index (VIX)   SELL   6/15/2012    -5     24.7
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CBOE Volatility Index (VIX)   SELL   6/15/2012    -4     24.3
CBOE Volatility Index (VIX)   SELL   6/15/2012    -4    24.65
CBOE Volatility Index (VIX)   SELL   6/15/2012    -3    23.85
CBOE Volatility Index (VIX)   SELL   6/15/2012    -3    24.05
CBOE Volatility Index (VIX)   SELL   6/15/2012    -3    24.15
CBOE Volatility Index (VIX)   SELL   6/15/2012    -3    24.35
CBOE Volatility Index (VIX)   SELL   6/15/2012    -3    24.15
CBOE Volatility Index (VIX)   SELL   6/15/2012    -3     24.2
CBOE Volatility Index (VIX)   SELL   6/15/2012    -3    24.25
CBOE Volatility Index (VIX)   SELL   6/15/2012    -3    24.55
CBOE Volatility Index (VIX)   SELL   6/15/2012    -3     24.8
CBOE Volatility Index (VIX)   SELL   6/15/2012    -2     23.9
CBOE Volatility Index (VIX)   SELL   6/15/2012    -2      24
CBOE Volatility Index (VIX)   SELL   6/15/2012    -2    24.05
CBOE Volatility Index (VIX)   SELL   6/15/2012    -2    24.05
CBOE Volatility Index (VIX)   SELL   6/15/2012    -2    24.15
CBOE Volatility Index (VIX)   SELL   6/15/2012    -2     24.2
CBOE Volatility Index (VIX)   SELL   6/15/2012    -2     23.9
CBOE Volatility Index (VIX)   SELL   6/15/2012    -1     23.9
CBOE Volatility Index (VIX)   SELL   6/15/2012    -1     24.1
CBOE Volatility Index (VIX)   SELL   6/15/2012    -1    24.25
CBOE Volatility Index (VIX)   SELL   6/15/2012    -1    24.65
CBOE Volatility Index (VIX)   SELL   6/15/2012    -1    24.75
CBOE Volatility Index (VIX)   SELL   6/15/2012    -1     23.9
CBOE Volatility Index (VIX)   SELL   6/15/2012    -1     23.9
CBOE Volatility Index (VIX)   SELL   6/15/2012    -1    24.05
CBOE Volatility Index (VIX)   SELL   6/15/2012    -1    24.05
CBOE Volatility Index (VIX)   SELL   6/15/2012    -1     24.2
CBOE Volatility Index (VIX)   SELL   6/15/2012    -1    24.35
CBOE Volatility Index (VIX)   SELL   6/15/2012    -1    23.95
CBOE Volatility Index (VIX)   SELL   6/15/2012    -1      24
CBOE Volatility Index (VIX)   SELL   6/15/2012    -1    24.05
CBOE Volatility Index (VIX)   BUY    6/18/2012     1     21.9
CBOE Volatility Index (VIX)   BUY    6/18/2012     3     21.9
CBOE Volatility Index (VIX)   BUY    6/19/2012     1     21.8
CBOE Volatility Index (VIX)   BUY    6/19/2012     2    21.85
CBOE Volatility Index (VIX)   BUY    6/20/2012     1    20.55
CBOE Volatility Index (VIX)   SELL   6/21/2012   -13     23.2
CBOE Volatility Index (VIX)   SELL   6/21/2012    -1     23.2
CBOE Volatility Index (VIX)   BUY    6/22/2012     1    21.95
CBOE Volatility Index (VIX)   BUY    6/22/2012     1      22
CBOE Volatility Index (VIX)   BUY    6/22/2012     2    21.95
CBOE Volatility Index (VIX)   BUY    6/22/2012     2    21.95
CBOE Volatility Index (VIX)   BUY    6/22/2012     7    21.95
CBOE Volatility Index (VIX)   BUY    6/22/2012     8      22
CBOE Volatility Index (VIX)   BUY    6/27/2012     1     21.8
CBOE Volatility Index (VIX)   BUY    6/27/2012     2    21.75
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CBOE Volatility Index (VIX)   SELL   6/28/2012   -10    21.35
CBOE Volatility Index (VIX)   SELL   6/28/2012    -4     21.3
CBOE Volatility Index (VIX)   SELL   6/29/2012    -8    19.55
CBOE Volatility Index (VIX)   SELL   6/29/2012    -3     19.6
CBOE Volatility Index (VIX)   SELL   6/29/2012    -1     19.6
CBOE Volatility Index (VIX)   BUY     7/2/2012     2     18.2
CBOE Volatility Index (VIX)   SELL    7/3/2012    -7     17.7
CBOE Volatility Index (VIX)   SELL    7/3/2012    -3    17.75
CBOE Volatility Index (VIX)   SELL    7/3/2012    -2    17.75
CBOE Volatility Index (VIX)   SELL    7/3/2012    -1     17.8
CBOE Volatility Index (VIX)   SELL    7/3/2012    -1    17.75
CBOE Volatility Index (VIX)   SELL    7/5/2012    -3     18.7
CBOE Volatility Index (VIX)   SELL    7/5/2012    -2    18.65
CBOE Volatility Index (VIX)   SELL    7/5/2012    -2    18.75
CBOE Volatility Index (VIX)   SELL    7/5/2012    -1     18.7
CBOE Volatility Index (VIX)   SELL    7/5/2012    -1     18.8
CBOE Volatility Index (VIX)   SELL    7/5/2012    -1    18.65
CBOE Volatility Index (VIX)   SELL    7/5/2012    -1    18.75
CBOE Volatility Index (VIX)   SELL    7/6/2012    -3     18.3
CBOE Volatility Index (VIX)   SELL    7/6/2012    -1    18.35
CBOE Volatility Index (VIX)   SELL    7/9/2012    -3    18.25
CBOE Volatility Index (VIX)   SELL    7/9/2012    -3     18.3
CBOE Volatility Index (VIX)   SELL    7/9/2012    -1     18.3
CBOE Volatility Index (VIX)   SELL   7/10/2012    -1     19.1
CBOE Volatility Index (VIX)   SELL   7/10/2012    -1    19.15
CBOE Volatility Index (VIX)   SELL   7/10/2012    -1    19.15
CBOE Volatility Index (VIX)   SELL   7/10/2012    -1     19.1
CBOE Volatility Index (VIX)   SELL   7/10/2012    -1    19.15
CBOE Volatility Index (VIX)   BUY    7/10/2012     1     19.2
CBOE Volatility Index (VIX)   SELL   7/11/2012    -1     18.3
CBOE Volatility Index (VIX)   SELL   7/12/2012    -2     18.5
CBOE Volatility Index (VIX)   SELL   7/12/2012    -1     18.5
CBOE Volatility Index (VIX)   SELL   7/12/2012    -1     18.5
CBOE Volatility Index (VIX)   SELL   7/12/2012    -1     18.5
CBOE Volatility Index (VIX)   SELL   7/12/2012    -1    18.55
CBOE Volatility Index (VIX)   SELL   7/12/2012    -1    18.55
CBOE Volatility Index (VIX)   BUY    7/13/2012     1     17.5
CBOE Volatility Index (VIX)   BUY    7/13/2012     1     17.6
CBOE Volatility Index (VIX)   BUY    7/13/2012     1     17.7
CBOE Volatility Index (VIX)   BUY    7/13/2012     1     17.8
CBOE Volatility Index (VIX)   BUY    7/13/2012     1     17.8
CBOE Volatility Index (VIX)   BUY    7/13/2012     1     17.5
CBOE Volatility Index (VIX)   BUY    7/13/2012     1     17.6
CBOE Volatility Index (VIX)   BUY    7/13/2012     1    17.65
CBOE Volatility Index (VIX)   BUY    7/13/2012     1    17.75
CBOE Volatility Index (VIX)   BUY    7/13/2012     1    17.75
CBOE Volatility Index (VIX)   BUY    7/13/2012     1    17.75
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CBOE Volatility Index (VIX)   BUY   7/13/2012    1      17.75
CBOE Volatility Index (VIX)   BUY   7/13/2012    1       17.8
CBOE Volatility Index (VIX)   BUY   7/13/2012    1       17.8
CBOE Volatility Index (VIX)   BUY   7/13/2012    1       17.8
CBOE Volatility Index (VIX)   BUY   7/13/2012    1      17.85
CBOE Volatility Index (VIX)   BUY   7/13/2012    1      17.85
CBOE Volatility Index (VIX)   BUY   7/13/2012    1      17.85
CBOE Volatility Index (VIX)   BUY   7/13/2012    1      17.55
CBOE Volatility Index (VIX)   BUY   7/13/2012    1       17.5
CBOE Volatility Index (VIX)   BUY   7/13/2012    1       17.9
CBOE Volatility Index (VIX)   BUY   7/13/2012    1       17.6
CBOE Volatility Index (VIX)   BUY   7/13/2012    1      17.65
CBOE Volatility Index (VIX)   BUY   7/13/2012    1       17.8
CBOE Volatility Index (VIX)   BUY   7/13/2012    1      17.85
CBOE Volatility Index (VIX)   BUY   7/13/2012    1       17.6
CBOE Volatility Index (VIX)   BUY   7/13/2012    1       17.8
CBOE Volatility Index (VIX)   BUY   7/13/2012    1      17.75
CBOE Volatility Index (VIX)   BUY   7/13/2012    2       17.5
CBOE Volatility Index (VIX)   BUY   7/13/2012    2      17.55
CBOE Volatility Index (VIX)   BUY   7/13/2012    2      17.65
CBOE Volatility Index (VIX)   BUY   7/13/2012    2       17.8
CBOE Volatility Index (VIX)   BUY   7/13/2012    2       17.6
CBOE Volatility Index (VIX)   BUY   7/13/2012    2      17.65
CBOE Volatility Index (VIX)   BUY   7/13/2012    3      17.55
CBOE Volatility Index (VIX)   BUY   7/13/2012    3       17.7
CBOE Volatility Index (VIX)   BUY   7/13/2012    3      17.65
CBOE Volatility Index (VIX)   BUY   7/13/2012    3       17.7
CBOE Volatility Index (VIX)   BUY   7/13/2012    3      17.55
CBOE Volatility Index (VIX)   BUY   7/13/2012    3      17.85
CBOE Volatility Index (VIX)   BUY   7/13/2012    3       17.5
CBOE Volatility Index (VIX)   BUY   7/13/2012    3      17.65
CBOE Volatility Index (VIX)   BUY   7/13/2012    3       17.5
CBOE Volatility Index (VIX)   BUY   7/13/2012    3      17.65
CBOE Volatility Index (VIX)   BUY   7/13/2012    3       17.8
CBOE Volatility Index (VIX)   BUY   7/13/2012    3      17.85
CBOE Volatility Index (VIX)   BUY   7/13/2012    3       17.7
CBOE Volatility Index (VIX)   BUY   7/13/2012    3      17.85
CBOE Volatility Index (VIX)   BUY   7/13/2012    4      17.55
CBOE Volatility Index (VIX)   BUY   7/13/2012    4       17.8
CBOE Volatility Index (VIX)   BUY   7/13/2012    4      17.75
CBOE Volatility Index (VIX)   BUY   7/13/2012    5       17.7
CBOE Volatility Index (VIX)   BUY   7/13/2012    5      17.75
CBOE Volatility Index (VIX)   BUY   7/13/2012    5       17.6
CBOE Volatility Index (VIX)   BUY   7/13/2012    5       17.5
CBOE Volatility Index (VIX)   BUY   7/13/2012    5       17.5
CBOE Volatility Index (VIX)   BUY   7/13/2012    5      17.65
CBOE Volatility Index (VIX)   BUY   7/13/2012    5       17.7
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CBOE Volatility Index (VIX)   BUY    7/13/2012     6    17.55
CBOE Volatility Index (VIX)   BUY    7/13/2012     6    17.55
CBOE Volatility Index (VIX)   BUY    7/13/2012     7     17.8
CBOE Volatility Index (VIX)   BUY    7/13/2012     7     17.5
CBOE Volatility Index (VIX)   BUY    7/13/2012     7    17.85
CBOE Volatility Index (VIX)   BUY    7/13/2012     7     17.8
CBOE Volatility Index (VIX)   BUY    7/13/2012     8    17.55
CBOE Volatility Index (VIX)   BUY    7/13/2012     8     17.8
CBOE Volatility Index (VIX)   BUY    7/13/2012   10      17.7
CBOE Volatility Index (VIX)   BUY    7/13/2012   10      17.8
CBOE Volatility Index (VIX)   BUY    7/13/2012   12      17.7
CBOE Volatility Index (VIX)   BUY    7/13/2012   13     17.75
CBOE Volatility Index (VIX)   BUY    7/13/2012   13     17.65
CBOE Volatility Index (VIX)   BUY    5/14/2012     1     24.2
CBOE Volatility Index (VIX)   BUY    5/14/2012     1    24.75
CBOE Volatility Index (VIX)   BUY    5/14/2012     2     24.7
CBOE Volatility Index (VIX)   BUY    5/14/2012     2     24.8
CBOE Volatility Index (VIX)   BUY    5/14/2012     2    24.25
CBOE Volatility Index (VIX)   BUY    5/14/2012     2    24.25
CBOE Volatility Index (VIX)   BUY    5/14/2012   11     24.65
CBOE Volatility Index (VIX)   BUY    5/14/2012   13      24.6
CBOE Volatility Index (VIX)   BUY    5/14/2012   14      24.4
CBOE Volatility Index (VIX)   BUY    5/14/2012   15     24.55
CBOE Volatility Index (VIX)   BUY    5/14/2012   16     24.25
CBOE Volatility Index (VIX)   BUY    5/14/2012   21      24.4
CBOE Volatility Index (VIX)   BUY    5/14/2012   25     24.45
CBOE Volatility Index (VIX)   BUY    5/14/2012   30      24.5
CBOE Volatility Index (VIX)   BUY    5/14/2012   36     24.95
CBOE Volatility Index (VIX)   BUY    5/14/2012   37     24.35
CBOE Volatility Index (VIX)   BUY    5/14/2012   90      24.3
CBOE Volatility Index (VIX)   SELL   5/15/2012    -2    25.55
CBOE Volatility Index (VIX)   SELL   5/15/2012    -1     25.5
CBOE Volatility Index (VIX)   SELL   5/16/2012    -2    26.15
CBOE Volatility Index (VIX)   SELL   5/17/2012   -90     27.1
CBOE Volatility Index (VIX)   SELL   5/17/2012   -37     27.1
CBOE Volatility Index (VIX)   SELL   5/17/2012   -36    27.15
CBOE Volatility Index (VIX)   SELL   5/17/2012   -30    27.15
CBOE Volatility Index (VIX)   SELL   5/17/2012   -25    27.15
CBOE Volatility Index (VIX)   SELL   5/17/2012   -21     27.1
CBOE Volatility Index (VIX)   SELL   5/17/2012   -16     27.1
CBOE Volatility Index (VIX)   SELL   5/17/2012   -15    27.15
CBOE Volatility Index (VIX)   SELL   5/17/2012   -14    27.15
CBOE Volatility Index (VIX)   SELL   5/17/2012   -13    27.15
CBOE Volatility Index (VIX)   SELL   5/17/2012   -11    27.15
CBOE Volatility Index (VIX)   SELL   5/17/2012    -2    27.15
CBOE Volatility Index (VIX)   SELL   5/17/2012    -2    27.15
CBOE Volatility Index (VIX)   SELL   5/17/2012    -1    27.15
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CBOE Volatility Index (VIX)   BUY    5/18/2012     1    28.45
CBOE Volatility Index (VIX)   BUY    5/18/2012     1     28.3
CBOE Volatility Index (VIX)   BUY    5/18/2012     1    28.45
CBOE Volatility Index (VIX)   BUY    5/18/2012     1    28.45
CBOE Volatility Index (VIX)   BUY    5/18/2012     1    28.45
CBOE Volatility Index (VIX)   BUY    5/18/2012     1    28.45
CBOE Volatility Index (VIX)   BUY    5/18/2012     1    28.45
CBOE Volatility Index (VIX)   BUY    5/18/2012     2     28.4
CBOE Volatility Index (VIX)   BUY    5/18/2012     2    28.45
CBOE Volatility Index (VIX)   BUY    5/18/2012     2    28.45
CBOE Volatility Index (VIX)   BUY    5/18/2012     3     28.3
CBOE Volatility Index (VIX)   BUY    5/18/2012     3     28.4
CBOE Volatility Index (VIX)   BUY    5/18/2012     3     28.4
CBOE Volatility Index (VIX)   BUY    5/18/2012     3    28.45
CBOE Volatility Index (VIX)   BUY    5/18/2012     5    28.45
CBOE Volatility Index (VIX)   BUY    5/18/2012     5    28.45
CBOE Volatility Index (VIX)   BUY    5/18/2012     5    28.45
CBOE Volatility Index (VIX)   BUY    5/18/2012     5    28.45
CBOE Volatility Index (VIX)   BUY    5/18/2012     6    28.45
CBOE Volatility Index (VIX)   BUY    5/18/2012     7    28.45
CBOE Volatility Index (VIX)   BUY    5/18/2012     7    28.45
CBOE Volatility Index (VIX)   BUY    5/18/2012     8     28.4
CBOE Volatility Index (VIX)   BUY    5/18/2012     9    28.45
CBOE Volatility Index (VIX)   BUY    5/18/2012     9    28.45
CBOE Volatility Index (VIX)   BUY    5/18/2012   11     28.45
CBOE Volatility Index (VIX)   BUY    5/18/2012   15     28.45
CBOE Volatility Index (VIX)   BUY    5/18/2012   22     28.45
CBOE Volatility Index (VIX)   BUY    5/18/2012   26     28.45
CBOE Volatility Index (VIX)   BUY    5/18/2012   30     28.45
CBOE Volatility Index (VIX)   BUY    5/18/2012   39      28.4
CBOE Volatility Index (VIX)   SELL   5/21/2012    -3    26.45
CBOE Volatility Index (VIX)   SELL   5/21/2012    -3     26.5
CBOE Volatility Index (VIX)   SELL   5/21/2012    -3    26.45
CBOE Volatility Index (VIX)   SELL   5/21/2012    -1     26.4
CBOE Volatility Index (VIX)   SELL   5/22/2012   -39     27.1
CBOE Volatility Index (VIX)   SELL   5/23/2012    -8    26.85
CBOE Volatility Index (VIX)   SELL   5/24/2012    -2     26.5
CBOE Volatility Index (VIX)   SELL   5/24/2012    -1    26.55
CBOE Volatility Index (VIX)   BUY    5/29/2012     5     25.6
CBOE Volatility Index (VIX)   BUY    5/30/2012     1     27.2
CBOE Volatility Index (VIX)   BUY    5/30/2012   13      27.2
CBOE Volatility Index (VIX)   BUY    5/31/2012     1    27.45
CBOE Volatility Index (VIX)   BUY    5/31/2012     1     27.5
CBOE Volatility Index (VIX)   SELL    6/1/2012    -3     29.1
CBOE Volatility Index (VIX)   SELL    6/4/2012   -22    28.85
CBOE Volatility Index (VIX)   SELL    6/4/2012    -5     28.8
CBOE Volatility Index (VIX)   SELL    6/5/2012   -15    27.95
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CBOE Volatility Index (VIX)   SELL    6/6/2012    -9    26.55
CBOE Volatility Index (VIX)   SELL    6/7/2012    -1    26.45
CBOE Volatility Index (VIX)   BUY     6/8/2012     6    25.05
CBOE Volatility Index (VIX)   BUY     6/8/2012     7    25.05
CBOE Volatility Index (VIX)   BUY    6/11/2012     1    27.35
CBOE Volatility Index (VIX)   BUY    6/11/2012     1    27.35
CBOE Volatility Index (VIX)   BUY    6/11/2012     3     27.3
CBOE Volatility Index (VIX)   BUY    6/12/2012     3     26.7
CBOE Volatility Index (VIX)   SELL   6/13/2012    -1    27.95
CBOE Volatility Index (VIX)   SELL   6/14/2012    -1    26.35
CBOE Volatility Index (VIX)   SELL   6/15/2012   -30    25.55
CBOE Volatility Index (VIX)   SELL   6/15/2012   -26    25.35
CBOE Volatility Index (VIX)   SELL   6/15/2012   -13      26
CBOE Volatility Index (VIX)   SELL   6/15/2012   -11    25.65
CBOE Volatility Index (VIX)   SELL   6/15/2012    -9    25.85
CBOE Volatility Index (VIX)   SELL   6/15/2012    -7     25.4
CBOE Volatility Index (VIX)   SELL   6/15/2012    -7     25.6
CBOE Volatility Index (VIX)   SELL   6/15/2012    -7     26.1
CBOE Volatility Index (VIX)   SELL   6/15/2012    -6     25.5
CBOE Volatility Index (VIX)   SELL   6/15/2012    -6    26.05
CBOE Volatility Index (VIX)   SELL   6/15/2012    -5     25.7
CBOE Volatility Index (VIX)   SELL   6/15/2012    -5     25.8
CBOE Volatility Index (VIX)   SELL   6/15/2012    -5     25.9
CBOE Volatility Index (VIX)   SELL   6/15/2012    -5    25.95
CBOE Volatility Index (VIX)   SELL   6/15/2012    -3     26.1
CBOE Volatility Index (VIX)   SELL   6/15/2012    -3    26.15
CBOE Volatility Index (VIX)   SELL   6/15/2012    -2     25.3
CBOE Volatility Index (VIX)   SELL   6/15/2012    -2    25.75
CBOE Volatility Index (VIX)   SELL   6/15/2012    -1    25.45
CBOE Volatility Index (VIX)   SELL   6/15/2012    -1    25.95
CBOE Volatility Index (VIX)   SELL   6/15/2012    -1    26.05
CBOE Volatility Index (VIX)   SELL   6/15/2012    -1     26.1
CBOE Volatility Index (VIX)   SELL   6/15/2012    -1    25.95
CBOE Volatility Index (VIX)   SELL   6/15/2012    -1      26
CBOE Volatility Index (VIX)   SELL   6/15/2012    -1    26.15
CBOE Volatility Index (VIX)   SELL   7/13/2012   -29    19.65
CBOE Volatility Index (VIX)   SELL   7/13/2012   -29     19.7
CBOE Volatility Index (VIX)   SELL   7/13/2012   -12     19.6
CBOE Volatility Index (VIX)   SELL   7/13/2012   -10     19.7
CBOE Volatility Index (VIX)   SELL   7/13/2012    -9    19.65
CBOE Volatility Index (VIX)   SELL   7/13/2012    -9    19.45
CBOE Volatility Index (VIX)   SELL   7/13/2012    -8     19.5
CBOE Volatility Index (VIX)   SELL   7/13/2012    -7    19.65
CBOE Volatility Index (VIX)   SELL   7/13/2012    -6    19.45
CBOE Volatility Index (VIX)   SELL   7/13/2012    -5     19.5
CBOE Volatility Index (VIX)   SELL   7/13/2012    -5     19.7
CBOE Volatility Index (VIX)   SELL   7/13/2012    -5    19.45
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CBOE Volatility Index (VIX)   SELL   7/13/2012    -5    19.55
CBOE Volatility Index (VIX)   SELL   7/13/2012    -5    19.75
CBOE Volatility Index (VIX)   SELL   7/13/2012    -5    19.75
CBOE Volatility Index (VIX)   SELL   7/13/2012    -5     19.5
CBOE Volatility Index (VIX)   SELL   7/13/2012    -5    19.65
CBOE Volatility Index (VIX)   SELL   7/13/2012    -4    19.75
CBOE Volatility Index (VIX)   SELL   7/13/2012    -4    19.45
CBOE Volatility Index (VIX)   SELL   7/13/2012    -4     19.5
CBOE Volatility Index (VIX)   SELL   7/13/2012    -4     19.7
CBOE Volatility Index (VIX)   SELL   7/13/2012    -4    19.45
CBOE Volatility Index (VIX)   SELL   7/13/2012    -4    19.45
CBOE Volatility Index (VIX)   SELL   7/13/2012    -3    19.55
CBOE Volatility Index (VIX)   SELL   7/13/2012    -3     19.6
CBOE Volatility Index (VIX)   SELL   7/13/2012    -3    19.55
CBOE Volatility Index (VIX)   SELL   7/13/2012    -3     19.6
CBOE Volatility Index (VIX)   SELL   7/13/2012    -3    19.75
CBOE Volatility Index (VIX)   SELL   7/13/2012    -3     19.7
CBOE Volatility Index (VIX)   SELL   7/13/2012    -3    19.45
CBOE Volatility Index (VIX)   SELL   7/13/2012    -3     19.5
CBOE Volatility Index (VIX)   SELL   7/13/2012    -3     19.7
CBOE Volatility Index (VIX)   SELL   7/13/2012    -3    19.75
CBOE Volatility Index (VIX)   SELL   7/13/2012    -3    19.65
CBOE Volatility Index (VIX)   SELL   7/13/2012    -3     19.7
CBOE Volatility Index (VIX)   SELL   7/13/2012    -2     19.4
CBOE Volatility Index (VIX)   SELL   7/13/2012    -2     19.7
CBOE Volatility Index (VIX)   SELL   7/13/2012    -2    19.45
CBOE Volatility Index (VIX)   SELL   7/13/2012    -2    19.45
CBOE Volatility Index (VIX)   SELL   7/13/2012    -2    19.45
CBOE Volatility Index (VIX)   SELL   7/13/2012    -2     19.5
CBOE Volatility Index (VIX)   SELL   7/13/2012    -2     19.7
CBOE Volatility Index (VIX)   SELL   7/13/2012    -2    19.45
CBOE Volatility Index (VIX)   SELL   7/13/2012    -2    19.55
CBOE Volatility Index (VIX)   SELL   7/13/2012    -2     19.6
CBOE Volatility Index (VIX)   SELL   7/13/2012    -2     19.7
CBOE Volatility Index (VIX)   SELL   7/13/2012    -1    19.45
CBOE Volatility Index (VIX)   SELL   7/13/2012    -1     19.4
CBOE Volatility Index (VIX)   SELL   7/13/2012    -1    19.45
CBOE Volatility Index (VIX)   SELL   7/13/2012    -1     19.4
CBOE Volatility Index (VIX)   SELL   7/13/2012    -1     19.7
CBOE Volatility Index (VIX)   SELL   7/13/2012    -1    19.45
CBOE Volatility Index (VIX)   SELL   7/13/2012    -1     19.4
CBOE Volatility Index (VIX)   SELL   7/13/2012    -1    19.45
CBOE Volatility Index (VIX)   SELL   7/13/2012    -1     19.7
CBOE Volatility Index (VIX)   SELL   7/16/2012    -1    19.25
CBOE Volatility Index (VIX)   SELL   7/17/2012   -12     18.5
CBOE Volatility Index (VIX)   SELL   7/18/2012    -6    18.65
CBOE Volatility Index (VIX)   SELL   7/18/2012    -3    18.75
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CBOE Volatility Index (VIX)   SELL   7/18/2012    -1     18.7
CBOE Volatility Index (VIX)   SELL   7/18/2012    -1    18.75
CBOE Volatility Index (VIX)   SELL   7/18/2012    -1     18.7
CBOE Volatility Index (VIX)   SELL   7/18/2012    -1    18.75
CBOE Volatility Index (VIX)   SELL   7/19/2012    -4     18.2
CBOE Volatility Index (VIX)   SELL   7/19/2012    -4    18.25
CBOE Volatility Index (VIX)   SELL   7/19/2012    -3     18.2
CBOE Volatility Index (VIX)   SELL   7/19/2012    -1    18.25
CBOE Volatility Index (VIX)   SELL   7/20/2012   -22     19.1
CBOE Volatility Index (VIX)   SELL   7/23/2012   -10    20.65
CBOE Volatility Index (VIX)   BUY    7/24/2012     1     21.8
CBOE Volatility Index (VIX)   BUY    7/24/2012     1     21.8
CBOE Volatility Index (VIX)   BUY    7/24/2012     1     21.8
CBOE Volatility Index (VIX)   BUY    7/24/2012     2     21.8
CBOE Volatility Index (VIX)   BUY    7/24/2012     2     21.8
CBOE Volatility Index (VIX)   BUY    7/25/2012     3      21
CBOE Volatility Index (VIX)   BUY    7/25/2012     4    21.05
CBOE Volatility Index (VIX)   SELL   7/26/2012    -1    19.15
CBOE Volatility Index (VIX)   SELL   7/27/2012   -11     18.6
CBOE Volatility Index (VIX)   BUY    7/31/2012     2     19.5
CBOE Volatility Index (VIX)   BUY    7/31/2012     9    19.45
CBOE Volatility Index (VIX)   BUY     8/1/2012     2    19.55
CBOE Volatility Index (VIX)   BUY     8/1/2012     2    19.55
CBOE Volatility Index (VIX)   BUY     8/1/2012     4     19.9
CBOE Volatility Index (VIX)   BUY     8/1/2012     5     19.9
CBOE Volatility Index (VIX)   BUY     8/2/2012     4    18.75
CBOE Volatility Index (VIX)   BUY     8/3/2012     1     17.4
CBOE Volatility Index (VIX)   BUY     8/3/2012     1     17.4
CBOE Volatility Index (VIX)   BUY     8/3/2012     1     17.4
CBOE Volatility Index (VIX)   BUY     8/3/2012     1     17.4
CBOE Volatility Index (VIX)   BUY     8/3/2012     2    17.45
CBOE Volatility Index (VIX)   BUY     8/3/2012     3     17.4
CBOE Volatility Index (VIX)   BUY     8/3/2012     6    17.35
CBOE Volatility Index (VIX)   SELL    8/6/2012    -4    16.85
CBOE Volatility Index (VIX)   SELL    8/6/2012    -3     16.9
CBOE Volatility Index (VIX)   SELL    8/6/2012    -2    16.85
CBOE Volatility Index (VIX)   SELL    8/7/2012    -8     17.6
CBOE Volatility Index (VIX)   BUY     8/8/2012     2    16.85
CBOE Volatility Index (VIX)   BUY     8/8/2012     2    16.85
CBOE Volatility Index (VIX)   BUY     8/8/2012     3    16.85
CBOE Volatility Index (VIX)   BUY     8/8/2012     3    16.85
CBOE Volatility Index (VIX)   BUY     8/8/2012     3    16.85
CBOE Volatility Index (VIX)   BUY     8/8/2012     3    16.85
CBOE Volatility Index (VIX)   BUY     8/8/2012     3    16.85
CBOE Volatility Index (VIX)   BUY     8/8/2012     4    16.85
CBOE Volatility Index (VIX)   BUY     8/8/2012     5    16.85
CBOE Volatility Index (VIX)   BUY     8/8/2012     5    16.85
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CBOE Volatility Index (VIX)   BUY     8/8/2012     5    16.85
CBOE Volatility Index (VIX)   BUY     8/8/2012     8    16.85
CBOE Volatility Index (VIX)   BUY     8/8/2012   12     16.85
CBOE Volatility Index (VIX)   BUY     8/8/2012   29     16.85
CBOE Volatility Index (VIX)   SELL    8/9/2012    -5    16.55
CBOE Volatility Index (VIX)   SELL   8/10/2012    -7     16.3
CBOE Volatility Index (VIX)   SELL   8/13/2012    -9    15.75
CBOE Volatility Index (VIX)   SELL   8/14/2012   -13    16.45
CBOE Volatility Index (VIX)   SELL   8/15/2012    -2     16.2
CBOE Volatility Index (VIX)   SELL   8/15/2012    -2     16.2
CBOE Volatility Index (VIX)   SELL   8/15/2012    -2     16.2
CBOE Volatility Index (VIX)   SELL   8/15/2012    -1    16.25
CBOE Volatility Index (VIX)   SELL   8/16/2012    -4    15.95
CBOE Volatility Index (VIX)   SELL   8/16/2012    -3      16
CBOE Volatility Index (VIX)   SELL   8/16/2012    -2    15.95
CBOE Volatility Index (VIX)   SELL   8/16/2012    -2    15.95
CBOE Volatility Index (VIX)   SELL   8/16/2012    -2      16
CBOE Volatility Index (VIX)   SELL   8/16/2012    -1    15.95
CBOE Volatility Index (VIX)   SELL   8/16/2012    -1      16
CBOE Volatility Index (VIX)   SELL   8/17/2012    -8     15.1
CBOE Volatility Index (VIX)   SELL   8/17/2012    -7    15.05
CBOE Volatility Index (VIX)   SELL   8/17/2012    -6     15.1
CBOE Volatility Index (VIX)   SELL   8/17/2012    -4    15.05
CBOE Volatility Index (VIX)   SELL   8/17/2012    -4     15.1
CBOE Volatility Index (VIX)   SELL   8/17/2012    -2    15.05
CBOE Volatility Index (VIX)   SELL   8/17/2012    -2    15.05
CBOE Volatility Index (VIX)   SELL   8/17/2012    -1     15.1
CBOE Volatility Index (VIX)   BUY    8/20/2012     1    14.65
CBOE Volatility Index (VIX)   BUY    8/20/2012     1     14.7
CBOE Volatility Index (VIX)   BUY    8/20/2012     1    14.75
CBOE Volatility Index (VIX)   BUY    8/20/2012     1     14.8
CBOE Volatility Index (VIX)   BUY    8/20/2012     1     14.8
CBOE Volatility Index (VIX)   BUY    8/20/2012     1     14.9
CBOE Volatility Index (VIX)   BUY    8/20/2012     1     14.9
CBOE Volatility Index (VIX)   BUY    8/20/2012     1    14.65
CBOE Volatility Index (VIX)   BUY    8/20/2012     1     14.8
CBOE Volatility Index (VIX)   BUY    8/20/2012     1    14.85
CBOE Volatility Index (VIX)   BUY    8/20/2012     1    14.75
CBOE Volatility Index (VIX)   BUY    8/20/2012     1    14.85
CBOE Volatility Index (VIX)   BUY    8/20/2012     1    14.95
CBOE Volatility Index (VIX)   BUY    8/20/2012     2    14.75
CBOE Volatility Index (VIX)   BUY    8/20/2012     2     14.8
CBOE Volatility Index (VIX)   BUY    8/20/2012     2    14.75
CBOE Volatility Index (VIX)   BUY    8/20/2012     2    14.75
CBOE Volatility Index (VIX)   BUY    8/20/2012     2    14.75
CBOE Volatility Index (VIX)   BUY    8/20/2012     2    14.75
CBOE Volatility Index (VIX)   BUY    8/20/2012     2     14.8
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CBOE Volatility Index (VIX)   BUY   8/20/2012    2       14.8
CBOE Volatility Index (VIX)   BUY   8/20/2012    2       14.8
CBOE Volatility Index (VIX)   BUY   8/20/2012    2       14.7
CBOE Volatility Index (VIX)   BUY   8/20/2012    2      14.85
CBOE Volatility Index (VIX)   BUY   8/20/2012    2       14.7
CBOE Volatility Index (VIX)   BUY   8/20/2012    3      14.75
CBOE Volatility Index (VIX)   BUY   8/20/2012    3       14.8
CBOE Volatility Index (VIX)   BUY   8/20/2012    3       14.8
CBOE Volatility Index (VIX)   BUY   8/20/2012    3      14.95
CBOE Volatility Index (VIX)   BUY   8/20/2012    3      14.95
CBOE Volatility Index (VIX)   BUY   8/20/2012    3       14.9
CBOE Volatility Index (VIX)   BUY   8/20/2012    3      14.95
CBOE Volatility Index (VIX)   BUY   8/20/2012    3      14.75
CBOE Volatility Index (VIX)   BUY   8/20/2012    3      14.75
CBOE Volatility Index (VIX)   BUY   8/20/2012    4       14.7
CBOE Volatility Index (VIX)   BUY   8/20/2012    4      14.85
CBOE Volatility Index (VIX)   BUY   8/20/2012    4       14.7
CBOE Volatility Index (VIX)   BUY   8/20/2012    4       14.8
CBOE Volatility Index (VIX)   BUY   8/20/2012    4        15
CBOE Volatility Index (VIX)   BUY   8/20/2012    4       14.8
CBOE Volatility Index (VIX)   BUY   8/20/2012    4      14.75
CBOE Volatility Index (VIX)   BUY   8/20/2012    4        15
CBOE Volatility Index (VIX)   BUY   8/20/2012    5      14.75
CBOE Volatility Index (VIX)   BUY   8/20/2012    5        15
CBOE Volatility Index (VIX)   BUY   8/20/2012    5       14.7
CBOE Volatility Index (VIX)   BUY   8/20/2012    5       14.7
CBOE Volatility Index (VIX)   BUY   8/20/2012    5      14.75
CBOE Volatility Index (VIX)   BUY   8/20/2012    6        15
CBOE Volatility Index (VIX)   BUY   8/20/2012    6       14.8
CBOE Volatility Index (VIX)   BUY   8/20/2012    7      14.75
CBOE Volatility Index (VIX)   BUY   8/20/2012    7       14.9
CBOE Volatility Index (VIX)   BUY   8/20/2012    7       14.7
CBOE Volatility Index (VIX)   BUY   8/20/2012    8      14.95
CBOE Volatility Index (VIX)   BUY   8/20/2012    8      14.75
CBOE Volatility Index (VIX)   BUY   8/20/2012    9      14.75
CBOE Volatility Index (VIX)   BUY   8/20/2012    9       14.7
CBOE Volatility Index (VIX)   BUY   8/20/2012    10      14.7
CBOE Volatility Index (VIX)   BUY   8/20/2012    10      14.7
CBOE Volatility Index (VIX)   BUY   8/20/2012    11      14.7
CBOE Volatility Index (VIX)   BUY   8/20/2012    12     14.75
CBOE Volatility Index (VIX)   BUY   8/20/2012    13     14.75
CBOE Volatility Index (VIX)   BUY   8/20/2012    22      14.7
CBOE Volatility Index (VIX)   BUY   8/20/2012    29     14.75
CBOE Volatility Index (VIX)   BUY   6/15/2012    1      26.65
CBOE Volatility Index (VIX)   BUY   6/15/2012    1       26.8
CBOE Volatility Index (VIX)   BUY   6/15/2012    1      26.75
CBOE Volatility Index (VIX)   BUY   6/15/2012    1      26.75
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CBOE Volatility Index (VIX)   BUY    6/15/2012    1     26.75
CBOE Volatility Index (VIX)   BUY    6/15/2012    1      26.8
CBOE Volatility Index (VIX)   BUY    6/15/2012    1     27.25
CBOE Volatility Index (VIX)   BUY    6/15/2012    2       27
CBOE Volatility Index (VIX)   BUY    6/15/2012    2      27.1
CBOE Volatility Index (VIX)   BUY    6/15/2012    2     26.75
CBOE Volatility Index (VIX)   BUY    6/15/2012    3     26.75
CBOE Volatility Index (VIX)   BUY    6/15/2012    3      26.8
CBOE Volatility Index (VIX)   BUY    6/15/2012    4     26.75
CBOE Volatility Index (VIX)   BUY    6/15/2012    4      26.8
CBOE Volatility Index (VIX)   BUY    6/15/2012    4      26.8
CBOE Volatility Index (VIX)   BUY    6/15/2012    5     27.15
CBOE Volatility Index (VIX)   BUY    6/15/2012    5      27.2
CBOE Volatility Index (VIX)   BUY    6/15/2012    7      26.8
CBOE Volatility Index (VIX)   BUY    6/15/2012    7     27.35
CBOE Volatility Index (VIX)   BUY    6/15/2012    8     27.05
CBOE Volatility Index (VIX)   BUY    6/15/2012    9      26.9
CBOE Volatility Index (VIX)   BUY    6/15/2012    9     26.95
CBOE Volatility Index (VIX)   BUY    6/15/2012   11     27.25
CBOE Volatility Index (VIX)   BUY    6/15/2012   11      27.3
CBOE Volatility Index (VIX)   BUY    6/15/2012   11      27.4
CBOE Volatility Index (VIX)   BUY    6/15/2012   12       27
CBOE Volatility Index (VIX)   BUY    6/15/2012   16     26.85
CBOE Volatility Index (VIX)   BUY    6/15/2012   17     27.35
CBOE Volatility Index (VIX)   SELL   6/18/2012   -1      25.4
CBOE Volatility Index (VIX)   SELL   6/18/2012   -1      25.4
CBOE Volatility Index (VIX)   SELL   6/19/2012   -4     25.25
CBOE Volatility Index (VIX)   SELL   6/19/2012   -1      25.3
CBOE Volatility Index (VIX)   SELL   6/20/2012   -1     24.35
CBOE Volatility Index (VIX)   SELL   6/22/2012   -4     25.25
CBOE Volatility Index (VIX)   SELL   6/22/2012   -3      25.2
CBOE Volatility Index (VIX)   SELL   6/22/2012   -2      25.1
CBOE Volatility Index (VIX)   SELL   6/25/2012   -7     25.65
CBOE Volatility Index (VIX)   SELL   6/26/2012   -4      25.1
CBOE Volatility Index (VIX)   SELL   6/27/2012   -3       25
CBOE Volatility Index (VIX)   BUY    6/28/2012    4     24.75
CBOE Volatility Index (VIX)   BUY    6/29/2012    9     23.65
CBOE Volatility Index (VIX)   SELL    7/2/2012   -1     22.55
CBOE Volatility Index (VIX)   BUY     7/3/2012    1       22
CBOE Volatility Index (VIX)   BUY     7/3/2012   13       22
CBOE Volatility Index (VIX)   BUY     7/5/2012    1     22.75
CBOE Volatility Index (VIX)   BUY     7/5/2012    3      22.7
CBOE Volatility Index (VIX)   BUY     7/6/2012    6     22.35
CBOE Volatility Index (VIX)   BUY     7/9/2012    3      22.1
CBOE Volatility Index (VIX)   BUY     7/9/2012    6     22.15
CBOE Volatility Index (VIX)   BUY    7/11/2012    4     22.15
CBOE Volatility Index (VIX)   BUY    7/12/2012    1      22.3
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CBOE Volatility Index (VIX)   SELL   7/13/2012   -17     21.5
CBOE Volatility Index (VIX)   SELL   7/13/2012   -16    21.35
CBOE Volatility Index (VIX)   SELL   7/13/2012   -13    21.55
CBOE Volatility Index (VIX)   SELL   7/13/2012   -12    21.35
CBOE Volatility Index (VIX)   SELL   7/13/2012   -11    21.45
CBOE Volatility Index (VIX)   SELL   7/13/2012   -11    21.45
CBOE Volatility Index (VIX)   SELL   7/13/2012   -11     21.5
CBOE Volatility Index (VIX)   SELL   7/13/2012    -9    21.35
CBOE Volatility Index (VIX)   SELL   7/13/2012    -9    21.35
CBOE Volatility Index (VIX)   SELL   7/13/2012    -9     21.5
CBOE Volatility Index (VIX)   SELL   7/13/2012    -8     21.4
CBOE Volatility Index (VIX)   SELL   7/13/2012    -7    21.45
CBOE Volatility Index (VIX)   SELL   7/13/2012    -6    21.55
CBOE Volatility Index (VIX)   SELL   7/13/2012    -6    21.55
CBOE Volatility Index (VIX)   SELL   7/13/2012    -5     21.4
CBOE Volatility Index (VIX)   SELL   7/13/2012    -5     21.4
CBOE Volatility Index (VIX)   SELL   7/13/2012    -4     21.5
CBOE Volatility Index (VIX)   SELL   7/13/2012    -4    21.55
CBOE Volatility Index (VIX)   SELL   7/13/2012    -3    21.55
CBOE Volatility Index (VIX)   SELL   7/13/2012    -3    21.55
CBOE Volatility Index (VIX)   SELL   7/13/2012    -2     21.4
CBOE Volatility Index (VIX)   SELL   7/13/2012    -2     21.4
CBOE Volatility Index (VIX)   SELL   7/13/2012    -1     21.4
CBOE Volatility Index (VIX)   SELL   7/13/2012    -1     21.5
CBOE Volatility Index (VIX)   SELL   7/13/2012    -1    21.35
CBOE Volatility Index (VIX)   SELL   7/13/2012    -1    21.55
CBOE Volatility Index (VIX)   SELL   7/13/2012    -1    21.55
CBOE Volatility Index (VIX)   SELL   8/20/2012   -40    18.25
CBOE Volatility Index (VIX)   SELL   8/20/2012   -30    18.25
CBOE Volatility Index (VIX)   SELL   8/20/2012   -26    18.25
CBOE Volatility Index (VIX)   SELL   8/20/2012   -23    18.35
CBOE Volatility Index (VIX)   SELL   8/20/2012   -23     18.3
CBOE Volatility Index (VIX)   SELL   8/20/2012   -22    18.25
CBOE Volatility Index (VIX)   SELL   8/20/2012   -17     18.3
CBOE Volatility Index (VIX)   SELL   8/20/2012   -16    18.25
CBOE Volatility Index (VIX)   SELL   8/20/2012   -11     18.3
CBOE Volatility Index (VIX)   SELL   8/20/2012   -10    18.35
CBOE Volatility Index (VIX)   SELL   8/20/2012   -10    18.25
CBOE Volatility Index (VIX)   SELL   8/20/2012   -10    18.25
CBOE Volatility Index (VIX)   SELL   8/20/2012   -10     18.3
CBOE Volatility Index (VIX)   SELL   8/20/2012    -8    18.25
CBOE Volatility Index (VIX)   SELL   8/20/2012    -7    18.35
CBOE Volatility Index (VIX)   SELL   8/20/2012    -6    18.25
CBOE Volatility Index (VIX)   SELL   8/20/2012    -5     18.3
CBOE Volatility Index (VIX)   SELL   8/20/2012    -3    18.25
CBOE Volatility Index (VIX)   SELL   8/20/2012    -3     18.4
CBOE Volatility Index (VIX)   SELL   8/20/2012    -3    18.25
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CBOE Volatility Index (VIX)   SELL   8/20/2012    -3    18.25
CBOE Volatility Index (VIX)   SELL   8/20/2012    -2     18.4
CBOE Volatility Index (VIX)   SELL   8/20/2012    -2    18.25
CBOE Volatility Index (VIX)   SELL   8/20/2012    -1    18.25
CBOE Volatility Index (VIX)   SELL   8/20/2012    -1    18.25
CBOE Volatility Index (VIX)   SELL   8/20/2012    -1    18.25
CBOE Volatility Index (VIX)   SELL   8/20/2012    -1    18.25
CBOE Volatility Index (VIX)   SELL   8/20/2012    -1    18.25
CBOE Volatility Index (VIX)   SELL   8/20/2012    -1    18.25
CBOE Volatility Index (VIX)   SELL   8/20/2012    -1     18.3
CBOE Volatility Index (VIX)   SELL   8/20/2012    -1     18.4
CBOE Volatility Index (VIX)   BUY    8/20/2012     2    18.25
CBOE Volatility Index (VIX)   BUY    8/20/2012     3     18.3
CBOE Volatility Index (VIX)   BUY    8/21/2012     1    18.75
CBOE Volatility Index (VIX)   BUY    8/21/2012     1    18.75
CBOE Volatility Index (VIX)   BUY    8/21/2012     6     18.8
CBOE Volatility Index (VIX)   BUY    8/21/2012   10     18.75
CBOE Volatility Index (VIX)   SELL   8/22/2012    -1    18.95
CBOE Volatility Index (VIX)   BUY    8/22/2012     1      19
CBOE Volatility Index (VIX)   BUY    8/22/2012     1      19
CBOE Volatility Index (VIX)   SELL   8/23/2012    -7    19.25
CBOE Volatility Index (VIX)   SELL   8/24/2012    -3    18.55
CBOE Volatility Index (VIX)   SELL   8/27/2012   -10     18.8
CBOE Volatility Index (VIX)   SELL   8/27/2012    -6    18.75
CBOE Volatility Index (VIX)   SELL   8/27/2012    -1    18.75
CBOE Volatility Index (VIX)   SELL   8/27/2012    -1     18.8
CBOE Volatility Index (VIX)   SELL   8/27/2012    -1     18.8
CBOE Volatility Index (VIX)   SELL   8/28/2012   -10      19
CBOE Volatility Index (VIX)   SELL   8/28/2012    -3      19
CBOE Volatility Index (VIX)   SELL   8/28/2012    -3      19
CBOE Volatility Index (VIX)   SELL   8/29/2012    -9    19.25
CBOE Volatility Index (VIX)   SELL   8/29/2012    -3    19.25
CBOE Volatility Index (VIX)   SELL   8/29/2012    -2    19.25
CBOE Volatility Index (VIX)   SELL   8/29/2012    -1    19.25
CBOE Volatility Index (VIX)   SELL   8/30/2012    -6     19.7
CBOE Volatility Index (VIX)   SELL   8/30/2012    -3     19.7
CBOE Volatility Index (VIX)   SELL   8/30/2012    -3     19.7
CBOE Volatility Index (VIX)   SELL   8/31/2012    -9    18.95
CBOE Volatility Index (VIX)   SELL   8/31/2012    -2    18.95
CBOE Volatility Index (VIX)   SELL   8/31/2012    -2    18.95
CBOE Volatility Index (VIX)   SELL    9/4/2012   -12    18.65
CBOE Volatility Index (VIX)   SELL    9/4/2012   -12    18.65
CBOE Volatility Index (VIX)   SELL    9/4/2012    -6    18.65
CBOE Volatility Index (VIX)   SELL    9/4/2012    -4    18.65
CBOE Volatility Index (VIX)   SELL    9/4/2012    -1    18.65
CBOE Volatility Index (VIX)   SELL    9/4/2012    -1    18.65
CBOE Volatility Index (VIX)   SELL    9/5/2012   -15    18.15
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CBOE Volatility Index (VIX)   SELL    9/5/2012     -2   18.15
CBOE Volatility Index (VIX)   BUY     9/6/2012      3    16.2
CBOE Volatility Index (VIX)   BUY     9/6/2012      8    16.2
CBOE Volatility Index (VIX)   BUY     9/6/2012    10    16.15
CBOE Volatility Index (VIX)   BUY     9/7/2012      3   15.15
CBOE Volatility Index (VIX)   BUY     9/7/2012    16     15.1
CBOE Volatility Index (VIX)   BUY    9/10/2012      1    16.4
CBOE Volatility Index (VIX)   BUY    9/10/2012      1    16.4
CBOE Volatility Index (VIX)   BUY    9/10/2012    10     16.4
CBOE Volatility Index (VIX)   BUY    9/10/2012    11     16.4
CBOE Volatility Index (VIX)   BUY    9/10/2012    22     16.3
CBOE Volatility Index (VIX)   BUY    9/10/2012    26     16.3
CBOE Volatility Index (VIX)   BUY    9/10/2012    30    16.35
CBOE Volatility Index (VIX)   BUY    9/10/2012    40     16.4
CBOE Volatility Index (VIX)   BUY    9/11/2012      1   16.55
CBOE Volatility Index (VIX)   BUY    9/11/2012      1   16.55
CBOE Volatility Index (VIX)   BUY    9/11/2012      1   16.55
CBOE Volatility Index (VIX)   BUY    9/11/2012      1   16.55
CBOE Volatility Index (VIX)   BUY    9/11/2012      1   16.55
CBOE Volatility Index (VIX)   BUY    9/11/2012      1   16.55
CBOE Volatility Index (VIX)   BUY    9/11/2012      2   16.55
CBOE Volatility Index (VIX)   BUY    9/11/2012      2   16.55
CBOE Volatility Index (VIX)   BUY    9/11/2012      3   16.55
CBOE Volatility Index (VIX)   BUY    9/11/2012      3   16.55
CBOE Volatility Index (VIX)   BUY    9/11/2012      3   16.55
CBOE Volatility Index (VIX)   BUY    9/11/2012      3   16.55
CBOE Volatility Index (VIX)   BUY    9/11/2012      5    16.5
CBOE Volatility Index (VIX)   BUY    9/11/2012      6   16.55
CBOE Volatility Index (VIX)   BUY    9/11/2012      7   16.55
CBOE Volatility Index (VIX)   BUY    9/11/2012      7   16.55
CBOE Volatility Index (VIX)   BUY    9/11/2012    10    16.55
CBOE Volatility Index (VIX)   BUY    9/11/2012    10    16.55
CBOE Volatility Index (VIX)   BUY    9/11/2012    10    16.55
CBOE Volatility Index (VIX)   BUY    9/11/2012    17    16.55
CBOE Volatility Index (VIX)   BUY    9/11/2012    23     16.5
CBOE Volatility Index (VIX)   BUY    9/11/2012    23    16.55
CBOE Volatility Index (VIX)   SELL   9/12/2012   -115    15.8
CBOE Volatility Index (VIX)   SELL   9/12/2012    -42   15.75
CBOE Volatility Index (VIX)   SELL   9/12/2012    -17    15.8
CBOE Volatility Index (VIX)   SELL   9/13/2012    -13    14.9
CBOE Volatility Index (VIX)   SELL   9/14/2012    -13    15.6
CBOE Volatility Index (VIX)   SELL   9/14/2012    -11   15.55
CBOE Volatility Index (VIX)   SELL   9/14/2012     -1    15.6
CBOE Volatility Index (VIX)   BUY    9/17/2012      1    15.1
CBOE Volatility Index (VIX)   BUY    9/17/2012      1    15.1
CBOE Volatility Index (VIX)   BUY    9/17/2012      1   15.25
CBOE Volatility Index (VIX)   BUY    9/17/2012      1    15.4
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CBOE Volatility Index (VIX)   BUY   9/17/2012    2       15.1
CBOE Volatility Index (VIX)   BUY   9/17/2012    2       15.1
CBOE Volatility Index (VIX)   BUY   9/17/2012    2       15.3
CBOE Volatility Index (VIX)   BUY   9/17/2012    3       15.1
CBOE Volatility Index (VIX)   BUY   9/17/2012    3       15.1
CBOE Volatility Index (VIX)   BUY   9/17/2012    3       15.1
CBOE Volatility Index (VIX)   BUY   9/17/2012    4      15.15
CBOE Volatility Index (VIX)   BUY   9/17/2012    6       15.1
CBOE Volatility Index (VIX)   BUY   9/17/2012    6      15.15
CBOE Volatility Index (VIX)   BUY   9/17/2012    9       15.1
CBOE Volatility Index (VIX)   BUY   9/17/2012    9       15.1
CBOE Volatility Index (VIX)   BUY   9/17/2012    11     15.35
CBOE Volatility Index (VIX)   BUY   9/17/2012    12     15.15
CBOE Volatility Index (VIX)   BUY   9/17/2012    12      15.2
CBOE Volatility Index (VIX)   BUY   9/17/2012    13     15.35
CBOE Volatility Index (VIX)   BUY   9/17/2012    13     15.35
CBOE Volatility Index (VIX)   BUY   9/17/2012    15     15.25
CBOE Volatility Index (VIX)   BUY   9/17/2012    17     15.35
CBOE Volatility Index (VIX)   BUY   9/17/2012    42      15.3
CBOE Volatility Index (VIX)   BUY   9/17/2012   115      15.3
CBOE Volatility Index (VIX)   BUY   7/13/2012    1       22.7
CBOE Volatility Index (VIX)   BUY   7/13/2012    2       22.6
CBOE Volatility Index (VIX)   BUY   7/13/2012    2      22.65
CBOE Volatility Index (VIX)   BUY   7/13/2012    3      22.55
CBOE Volatility Index (VIX)   BUY   7/13/2012    4      22.75
CBOE Volatility Index (VIX)   BUY   7/13/2012    5       22.7
CBOE Volatility Index (VIX)   BUY   7/13/2012    7       22.6
CBOE Volatility Index (VIX)   BUY   7/13/2012    7       22.6
CBOE Volatility Index (VIX)   BUY   7/13/2012    11      22.6
CBOE Volatility Index (VIX)   BUY   7/13/2012    13     22.55
CBOE Volatility Index (VIX)   BUY   7/13/2012    13     22.65
CBOE Volatility Index (VIX)   BUY   7/13/2012    30      22.7
CBOE Volatility Index (VIX)   BUY   7/13/2012    40      22.8
CBOE Volatility Index (VIX)   BUY   7/13/2012    44     22.75
CBOE Volatility Index (VIX)   BUY   7/16/2012    2      22.75
CBOE Volatility Index (VIX)   BUY   7/16/2012    3      22.75
CBOE Volatility Index (VIX)   BUY   7/17/2012    9      22.15
CBOE Volatility Index (VIX)   BUY   7/18/2012    2      22.35
CBOE Volatility Index (VIX)   BUY   7/18/2012    9       22.3
CBOE Volatility Index (VIX)   BUY   7/19/2012    10     21.95
CBOE Volatility Index (VIX)   BUY   7/20/2012    6      22.65
CBOE Volatility Index (VIX)   BUY   7/20/2012    9       22.7
CBOE Volatility Index (VIX)   BUY   7/23/2012    4       23.8
CBOE Volatility Index (VIX)   BUY   7/23/2012    8      23.85
CBOE Volatility Index (VIX)   BUY   7/24/2012    6       24.5
CBOE Volatility Index (VIX)   BUY   7/25/2012    3      23.85
CBOE Volatility Index (VIX)   BUY   7/26/2012    9       22.6
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CBOE Volatility Index (VIX)   BUY    7/27/2012     1    22.35
CBOE Volatility Index (VIX)   BUY    7/27/2012     3    22.45
CBOE Volatility Index (VIX)   BUY    7/27/2012     5     22.4
CBOE Volatility Index (VIX)   BUY    7/27/2012     8     22.4
CBOE Volatility Index (VIX)   SELL   7/31/2012   -13     22.8
CBOE Volatility Index (VIX)   SELL   7/31/2012    -3    22.75
CBOE Volatility Index (VIX)   SELL   7/31/2012    -2     22.8
CBOE Volatility Index (VIX)   SELL    8/1/2012   -11     23.1
CBOE Volatility Index (VIX)   SELL    8/1/2012    -7     22.9
CBOE Volatility Index (VIX)   SELL    8/2/2012    -7    22.45
CBOE Volatility Index (VIX)   SELL    8/2/2012    -2    22.45
CBOE Volatility Index (VIX)   SELL    8/3/2012   -13    21.45
CBOE Volatility Index (VIX)   SELL    8/3/2012    -5    21.45
CBOE Volatility Index (VIX)   SELL    8/3/2012    -1     21.5
CBOE Volatility Index (VIX)   BUY     8/6/2012     5      21
CBOE Volatility Index (VIX)   SELL    8/8/2012   -44    20.65
CBOE Volatility Index (VIX)   SELL    8/8/2012   -40    20.65
CBOE Volatility Index (VIX)   SELL    8/8/2012   -30    20.65
CBOE Volatility Index (VIX)   SELL    8/8/2012   -10     20.7
CBOE Volatility Index (VIX)   SELL    8/8/2012    -9     20.7
CBOE Volatility Index (VIX)   SELL    8/8/2012    -9     20.7
CBOE Volatility Index (VIX)   SELL    8/8/2012    -9     20.7
CBOE Volatility Index (VIX)   SELL    8/8/2012    -9     20.7
CBOE Volatility Index (VIX)   SELL    8/8/2012    -8     20.7
CBOE Volatility Index (VIX)   SELL    8/8/2012    -8     20.7
CBOE Volatility Index (VIX)   SELL    8/8/2012    -6     20.7
CBOE Volatility Index (VIX)   SELL    8/8/2012    -6     20.7
CBOE Volatility Index (VIX)   SELL    8/8/2012    -5    20.75
CBOE Volatility Index (VIX)   SELL    8/8/2012    -5    20.75
CBOE Volatility Index (VIX)   SELL    8/8/2012    -4    20.65
CBOE Volatility Index (VIX)   SELL    8/8/2012    -4     20.7
CBOE Volatility Index (VIX)   SELL    8/8/2012    -3     20.7
CBOE Volatility Index (VIX)   SELL    8/8/2012    -3     20.7
CBOE Volatility Index (VIX)   SELL    8/8/2012    -3    20.75
CBOE Volatility Index (VIX)   SELL    8/8/2012    -2    20.65
CBOE Volatility Index (VIX)   SELL    8/8/2012    -2     20.7
CBOE Volatility Index (VIX)   SELL    8/8/2012    -1     20.7
CBOE Volatility Index (VIX)   SELL   9/17/2012   -46    16.95
CBOE Volatility Index (VIX)   SELL   9/17/2012   -42    16.95
CBOE Volatility Index (VIX)   SELL   9/17/2012   -32     16.8
CBOE Volatility Index (VIX)   SELL   9/17/2012   -27    16.95
CBOE Volatility Index (VIX)   SELL   9/17/2012   -24    16.95
CBOE Volatility Index (VIX)   SELL   9/17/2012   -19     16.9
CBOE Volatility Index (VIX)   SELL   9/17/2012   -14     16.8
CBOE Volatility Index (VIX)   SELL   9/17/2012   -12    16.85
CBOE Volatility Index (VIX)   SELL   9/17/2012   -11      17
CBOE Volatility Index (VIX)   SELL   9/17/2012   -11     17.1
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CBOE Volatility Index (VIX)   SELL   9/17/2012    -10   16.75
CBOE Volatility Index (VIX)   SELL   9/17/2012    -10   16.95
CBOE Volatility Index (VIX)   SELL   9/17/2012     -8   16.85
CBOE Volatility Index (VIX)   SELL   9/17/2012     -8   16.95
CBOE Volatility Index (VIX)   SELL   9/17/2012     -6   16.95
CBOE Volatility Index (VIX)   SELL   9/17/2012     -5   16.85
CBOE Volatility Index (VIX)   SELL   9/17/2012     -5   16.85
CBOE Volatility Index (VIX)   SELL   9/17/2012     -4   17.05
CBOE Volatility Index (VIX)   SELL   9/17/2012     -3    16.8
CBOE Volatility Index (VIX)   SELL   9/17/2012     -3    16.9
CBOE Volatility Index (VIX)   SELL   9/17/2012     -2    16.9
CBOE Volatility Index (VIX)   SELL   9/17/2012     -1   16.95
CBOE Volatility Index (VIX)   BUY    9/17/2012      3    16.8
CBOE Volatility Index (VIX)   BUY    9/17/2012    10     16.8
CBOE Volatility Index (VIX)   BUY    9/17/2012    12    16.95
CBOE Volatility Index (VIX)   BUY    9/17/2012    14    16.95
CBOE Volatility Index (VIX)   BUY    9/17/2012    32     16.9
CBOE Volatility Index (VIX)   BUY    9/18/2012      5    16.3
CBOE Volatility Index (VIX)   BUY    9/18/2012      5   16.35
CBOE Volatility Index (VIX)   SELL   9/19/2012     -9    16.1
CBOE Volatility Index (VIX)   SELL   9/20/2012    -10   16.25
CBOE Volatility Index (VIX)   SELL   9/20/2012     -4    16.2
CBOE Volatility Index (VIX)   SELL   9/21/2012     -5    16.1
CBOE Volatility Index (VIX)   SELL   9/21/2012     -3   16.05
CBOE Volatility Index (VIX)   SELL   9/24/2012     -9   15.85
CBOE Volatility Index (VIX)   SELL   9/24/2012     -7   15.85
CBOE Volatility Index (VIX)   SELL   9/25/2012    -14   17.05
CBOE Volatility Index (VIX)   SELL   9/25/2012     -8     17
CBOE Volatility Index (VIX)   BUY    9/26/2012      8   17.75
CBOE Volatility Index (VIX)   BUY    9/26/2012    19    17.75
CBOE Volatility Index (VIX)   SELL   9/27/2012     -1   16.15
CBOE Volatility Index (VIX)   SELL   9/27/2012     -1    16.2
CBOE Volatility Index (VIX)   BUY    9/28/2012      1    16.5
CBOE Volatility Index (VIX)   BUY    9/28/2012      2    16.5
CBOE Volatility Index (VIX)   BUY    9/28/2012      3   16.45
CBOE Volatility Index (VIX)   SELL   10/1/2012     -3    16.8
CBOE Volatility Index (VIX)   BUY    10/2/2012      6    16.5
CBOE Volatility Index (VIX)   BUY    10/2/2012    10    16.55
CBOE Volatility Index (VIX)   SELL   10/3/2012    -14   16.45
CBOE Volatility Index (VIX)   SELL   10/3/2012     -4    16.5
CBOE Volatility Index (VIX)   SELL   10/4/2012    -18    15.8
CBOE Volatility Index (VIX)   SELL   10/5/2012    -15   15.75
CBOE Volatility Index (VIX)   SELL   10/5/2012    -13    15.7
CBOE Volatility Index (VIX)   SELL   10/8/2012    -24   15.85
CBOE Volatility Index (VIX)   SELL   10/9/2012    -20   16.65
CBOE Volatility Index (VIX)   SELL   10/10/2012    -1    16.6
CBOE Volatility Index (VIX)   SELL   10/10/2012    -1   16.65
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CBOE Volatility Index (VIX)   SELL   10/10/2012     -1   16.65
CBOE Volatility Index (VIX)   BUY    10/11/2012      8    16.2
CBOE Volatility Index (VIX)   SELL   10/12/2012     -5   16.65
CBOE Volatility Index (VIX)   SELL   10/12/2012     -3    16.6
CBOE Volatility Index (VIX)   BUY    10/15/2012      1   15.85
CBOE Volatility Index (VIX)   BUY    10/15/2012      1   15.85
CBOE Volatility Index (VIX)   BUY    10/15/2012      1   15.85
CBOE Volatility Index (VIX)   BUY    10/15/2012      1   15.85
CBOE Volatility Index (VIX)   BUY    10/15/2012      1    15.9
CBOE Volatility Index (VIX)   BUY    10/15/2012      3    15.8
CBOE Volatility Index (VIX)   BUY    10/15/2012      3   15.85
CBOE Volatility Index (VIX)   BUY    10/15/2012      3    15.9
CBOE Volatility Index (VIX)   BUY    10/15/2012      4    15.8
CBOE Volatility Index (VIX)   BUY    10/15/2012      4    15.8
CBOE Volatility Index (VIX)   BUY    10/15/2012      4   15.85
CBOE Volatility Index (VIX)   BUY    10/15/2012      5    15.8
CBOE Volatility Index (VIX)   BUY    10/15/2012      5    15.9
CBOE Volatility Index (VIX)   BUY    10/15/2012      7   15.85
CBOE Volatility Index (VIX)   BUY    10/15/2012      8   15.85
CBOE Volatility Index (VIX)   BUY    10/15/2012      9    15.8
CBOE Volatility Index (VIX)   BUY    10/15/2012      9    15.8
CBOE Volatility Index (VIX)   BUY    10/15/2012    10     15.8
CBOE Volatility Index (VIX)   BUY    10/15/2012    11     15.8
CBOE Volatility Index (VIX)   BUY    10/15/2012    11     15.8
CBOE Volatility Index (VIX)   BUY    10/15/2012    13    15.85
CBOE Volatility Index (VIX)   BUY    10/15/2012    14    15.85
CBOE Volatility Index (VIX)   BUY    10/15/2012    14    15.85
CBOE Volatility Index (VIX)   BUY    10/15/2012    15    15.85
CBOE Volatility Index (VIX)   BUY    10/15/2012    18    15.85
CBOE Volatility Index (VIX)   BUY    10/15/2012    20    15.85
CBOE Volatility Index (VIX)   BUY    10/15/2012    24    15.75
CBOE Volatility Index (VIX)   BUY    10/15/2012    24    15.85
CBOE Volatility Index (VIX)   BUY    10/15/2012    27     15.7
CBOE Volatility Index (VIX)   BUY    10/15/2012    42     15.8
CBOE Volatility Index (VIX)   BUY    10/15/2012    46    15.65
CBOE Volatility Index (VIX)   SELL   10/15/2012   -143    17.3
CBOE Volatility Index (VIX)   SELL   10/15/2012    -39    17.3
CBOE Volatility Index (VIX)   SELL   10/15/2012    -34   17.15
CBOE Volatility Index (VIX)   SELL   10/15/2012    -19    17.2
CBOE Volatility Index (VIX)   SELL   10/15/2012    -15   17.35
CBOE Volatility Index (VIX)   SELL   10/15/2012    -14   17.25
CBOE Volatility Index (VIX)   SELL   10/15/2012    -12    17.2
CBOE Volatility Index (VIX)   SELL   10/15/2012    -11    17.2
CBOE Volatility Index (VIX)   SELL   10/15/2012    -11   17.25
CBOE Volatility Index (VIX)   SELL   10/15/2012     -9   17.25
CBOE Volatility Index (VIX)   SELL   10/15/2012     -7   17.25
CBOE Volatility Index (VIX)   SELL   10/15/2012     -7   17.25
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CBOE Volatility Index (VIX)   SELL   10/15/2012    -6   17.15
CBOE Volatility Index (VIX)   SELL   10/15/2012    -5   17.25
CBOE Volatility Index (VIX)   SELL   10/15/2012    -5    17.2
CBOE Volatility Index (VIX)   SELL   10/15/2012    -5   17.25
CBOE Volatility Index (VIX)   SELL   10/15/2012    -4    17.2
CBOE Volatility Index (VIX)   SELL   10/15/2012    -4   17.25
CBOE Volatility Index (VIX)   SELL   10/15/2012    -3    17.2
CBOE Volatility Index (VIX)   SELL   10/15/2012    -3   17.25
CBOE Volatility Index (VIX)   SELL   10/15/2012    -3   17.25
CBOE Volatility Index (VIX)   SELL   10/15/2012    -2    17.2
CBOE Volatility Index (VIX)   SELL   10/15/2012    -2   17.25
CBOE Volatility Index (VIX)   SELL   10/15/2012    -1   17.15
CBOE Volatility Index (VIX)   SELL   10/15/2012    -1    17.2
CBOE Volatility Index (VIX)   SELL   10/15/2012    -1   17.25
CBOE Volatility Index (VIX)   SELL   10/15/2012    -1   17.25
CBOE Volatility Index (VIX)   SELL   10/16/2012    -8   16.75
CBOE Volatility Index (VIX)   SELL   10/17/2012    -7    16.5
CBOE Volatility Index (VIX)   SELL   10/17/2012    -6   16.45
CBOE Volatility Index (VIX)   SELL   10/18/2012   -25    16.6
CBOE Volatility Index (VIX)   SELL   10/19/2012   -11   17.55
CBOE Volatility Index (VIX)   SELL   10/19/2012    -9    17.6
CBOE Volatility Index (VIX)   BUY    10/22/2012     1   17.35
CBOE Volatility Index (VIX)   BUY    10/22/2012   34    17.35
CBOE Volatility Index (VIX)   BUY    10/23/2012     1     19
CBOE Volatility Index (VIX)   BUY    10/23/2012     3   19.05
CBOE Volatility Index (VIX)   BUY    10/23/2012     5    19.1
CBOE Volatility Index (VIX)   BUY    10/23/2012     6     19
CBOE Volatility Index (VIX)   BUY    10/23/2012   12    19.15
CBOE Volatility Index (VIX)   BUY    10/24/2012     2    18.9
CBOE Volatility Index (VIX)   BUY    10/24/2012     4    18.9
CBOE Volatility Index (VIX)   BUY    10/24/2012     4    18.9
CBOE Volatility Index (VIX)   BUY    10/24/2012   11     18.8
CBOE Volatility Index (VIX)   BUY    10/24/2012   19    18.85
CBOE Volatility Index (VIX)   SELL   10/25/2012    -1    18.3
CBOE Volatility Index (VIX)   BUY    10/25/2012     9    18.4
CBOE Volatility Index (VIX)   BUY    10/25/2012   11    18.35
CBOE Volatility Index (VIX)   SELL   10/26/2012   -13   18.25
CBOE Volatility Index (VIX)   BUY    10/26/2012     5    18.3
CBOE Volatility Index (VIX)   SELL   10/31/2012   -16    18.9
CBOE Volatility Index (VIX)   SELL   10/31/2012   -15    18.8
CBOE Volatility Index (VIX)   SELL   10/31/2012    -6   18.85
CBOE Volatility Index (VIX)   SELL   10/31/2012    -4   18.75
CBOE Volatility Index (VIX)   BUY    10/31/2012     1   18.85
CBOE Volatility Index (VIX)   BUY    10/31/2012     3    18.9
CBOE Volatility Index (VIX)   BUY    10/31/2012     3   18.95
CBOE Volatility Index (VIX)   BUY    11/1/2012      7   16.95
CBOE Volatility Index (VIX)   BUY    11/1/2012      7     17
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CBOE Volatility Index (VIX)   BUY    11/2/2012       2    17.8
CBOE Volatility Index (VIX)   BUY    11/2/2012     14     17.8
CBOE Volatility Index (VIX)   BUY    11/5/2012       1    18.1
CBOE Volatility Index (VIX)   BUY    11/5/2012       1    18.1
CBOE Volatility Index (VIX)   BUY    11/5/2012       4    18.1
CBOE Volatility Index (VIX)   BUY    11/5/2012       5   18.05
CBOE Volatility Index (VIX)   BUY    11/5/2012       6    18.1
CBOE Volatility Index (VIX)   BUY    11/5/2012       6    18.1
CBOE Volatility Index (VIX)   BUY    11/5/2012       7    18.1
CBOE Volatility Index (VIX)   BUY    11/5/2012       8    18.1
CBOE Volatility Index (VIX)   BUY    11/5/2012       9    18.1
CBOE Volatility Index (VIX)   BUY    11/5/2012     11     18.1
CBOE Volatility Index (VIX)   BUY    11/5/2012     13     18.1
CBOE Volatility Index (VIX)   BUY    11/5/2012     14     18.1
CBOE Volatility Index (VIX)   BUY    11/5/2012     15     18.1
CBOE Volatility Index (VIX)   BUY    11/5/2012     15     18.1
CBOE Volatility Index (VIX)   BUY    11/5/2012     16     18.1
CBOE Volatility Index (VIX)   BUY    11/5/2012     25     18.1
CBOE Volatility Index (VIX)   BUY    11/5/2012     39     18.1
CBOE Volatility Index (VIX)   BUY    11/5/2012     82     18.1
CBOE Volatility Index (VIX)   BUY    11/5/2012     143   18.05
CBOE Volatility Index (VIX)   BUY    11/6/2012       1   17.05
CBOE Volatility Index (VIX)   BUY    11/6/2012       3    17.1
CBOE Volatility Index (VIX)   BUY    11/6/2012       3    17.1
CBOE Volatility Index (VIX)   BUY    11/6/2012     10    17.05
CBOE Volatility Index (VIX)   SELL   11/7/2012     -14   18.75
CBOE Volatility Index (VIX)   BUY    11/7/2012     12     18.8
CBOE Volatility Index (VIX)   SELL   11/8/2012    -151   18.55
CBOE Volatility Index (VIX)   SELL   11/8/2012     -82    18.5
CBOE Volatility Index (VIX)   SELL   11/8/2012     -28    18.5
CBOE Volatility Index (VIX)   SELL   11/8/2012     -21    18.5
CBOE Volatility Index (VIX)   SELL   11/8/2012     -12    18.5
CBOE Volatility Index (VIX)   SELL   11/8/2012     -10    18.5
CBOE Volatility Index (VIX)   SELL   11/8/2012      -5    18.5
CBOE Volatility Index (VIX)   SELL   11/8/2012      -4    18.5
CBOE Volatility Index (VIX)   SELL   11/8/2012      -3    18.5
CBOE Volatility Index (VIX)   SELL   11/8/2012      -3    18.5
CBOE Volatility Index (VIX)   SELL   11/8/2012      -2    18.5
CBOE Volatility Index (VIX)   SELL   11/8/2012      -1    18.5
CBOE Volatility Index (VIX)   SELL   11/8/2012      -1    18.5
CBOE Volatility Index (VIX)   SELL   11/8/2012      -1    18.5
CBOE Volatility Index (VIX)   SELL   11/8/2012      -1    18.5
CBOE Volatility Index (VIX)   BUY    11/8/2012       4    18.6
CBOE Volatility Index (VIX)   BUY    11/8/2012       5   18.55
CBOE Volatility Index (VIX)   BUY    11/9/2012       1    18.7
CBOE Volatility Index (VIX)   BUY    11/9/2012       2    18.7
CBOE Volatility Index (VIX)   BUY    11/12/2012    21    17.15
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CBOE Volatility Index (VIX)   SELL   11/13/2012    -3     17
CBOE Volatility Index (VIX)   BUY    11/13/2012     1     17
CBOE Volatility Index (VIX)   BUY    11/13/2012     1   17.05
CBOE Volatility Index (VIX)   SELL   11/14/2012   -10    17.7
CBOE Volatility Index (VIX)   BUY    11/14/2012     3   17.75
CBOE Volatility Index (VIX)   BUY    11/14/2012     4   17.75
CBOE Volatility Index (VIX)   BUY    11/14/2012     4   17.75
CBOE Volatility Index (VIX)   BUY    11/14/2012   10    17.75
CBOE Volatility Index (VIX)   BUY    11/14/2012   28    17.75
CBOE Volatility Index (VIX)   BUY    11/14/2012   32    17.75
CBOE Volatility Index (VIX)   BUY    11/14/2012   151   17.75
CBOE Volatility Index (VIX)   SELL   11/15/2012   -43     18
CBOE Volatility Index (VIX)   SELL   11/15/2012   -35   17.95
CBOE Volatility Index (VIX)   SELL   11/15/2012   -34     18
CBOE Volatility Index (VIX)   SELL   11/15/2012   -33     18
CBOE Volatility Index (VIX)   SELL   11/15/2012   -32   17.95
CBOE Volatility Index (VIX)   SELL   11/15/2012   -20   17.95
CBOE Volatility Index (VIX)   SELL   11/15/2012   -17     18
CBOE Volatility Index (VIX)   SELL   11/15/2012    -9     18
CBOE Volatility Index (VIX)   SELL   11/15/2012    -8   17.95
CBOE Volatility Index (VIX)   SELL   11/15/2012    -8     18
CBOE Volatility Index (VIX)   SELL   11/15/2012    -4   17.95
CBOE Volatility Index (VIX)   SELL   11/15/2012    -4     18
CBOE Volatility Index (VIX)   SELL   11/15/2012    -2   17.95
CBOE Volatility Index (VIX)   SELL   11/15/2012    -1   17.95
CBOE Volatility Index (VIX)   SELL   11/16/2012    -1    16.7
CBOE Volatility Index (VIX)   SELL   11/16/2012    -1    16.8
CBOE Volatility Index (VIX)   SELL   11/16/2012    -1    16.8
CBOE Volatility Index (VIX)   BUY    11/16/2012     1    16.8
CBOE Volatility Index (VIX)   BUY    11/16/2012     2   16.75
CBOE Volatility Index (VIX)   BUY    11/19/2012     1    15.7
CBOE Volatility Index (VIX)   BUY    11/19/2012     1    15.7
CBOE Volatility Index (VIX)   BUY    11/19/2012     1   15.75
CBOE Volatility Index (VIX)   BUY    11/19/2012     8   15.35
CBOE Volatility Index (VIX)   BUY    11/19/2012     8   15.65
CBOE Volatility Index (VIX)   BUY    11/19/2012     9    15.7
CBOE Volatility Index (VIX)   BUY    11/19/2012   17    15.55
CBOE Volatility Index (VIX)   BUY    11/19/2012   20     15.4
CBOE Volatility Index (VIX)   BUY    11/19/2012   33    15.45
CBOE Volatility Index (VIX)   BUY    11/19/2012   34     15.6
CBOE Volatility Index (VIX)   BUY    11/19/2012   35    15.45
CBOE Volatility Index (VIX)   BUY    11/19/2012   43     15.5
CBOE Volatility Index (VIX)   SELL   11/19/2012   -63    16.9
CBOE Volatility Index (VIX)   SELL   11/19/2012   -45    16.8
CBOE Volatility Index (VIX)   SELL   11/19/2012   -29    16.7
CBOE Volatility Index (VIX)   SELL   11/19/2012   -28   16.95
CBOE Volatility Index (VIX)   SELL   11/19/2012   -19   16.85
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CBOE Volatility Index (VIX)   SELL   11/19/2012    -10     17
CBOE Volatility Index (VIX)   SELL   11/19/2012     -9    16.7
CBOE Volatility Index (VIX)   SELL   11/19/2012     -9   17.05
CBOE Volatility Index (VIX)   SELL   11/19/2012     -7   16.75
CBOE Volatility Index (VIX)   SELL   11/20/2012    -13   16.35
CBOE Volatility Index (VIX)   SELL   11/20/2012     -1   16.35
CBOE Volatility Index (VIX)   SELL   11/21/2012     -2   16.45
CBOE Volatility Index (VIX)   SELL   11/21/2012     -2    16.5
CBOE Volatility Index (VIX)   SELL   11/21/2012     -2    16.5
CBOE Volatility Index (VIX)   SELL   11/23/2012     -8    16.1
CBOE Volatility Index (VIX)   SELL   11/23/2012     -3    16.1
CBOE Volatility Index (VIX)   SELL   11/23/2012     -1   16.05
CBOE Volatility Index (VIX)   SELL   11/26/2012     -3    15.6
CBOE Volatility Index (VIX)   SELL   11/26/2012     -2   15.65
CBOE Volatility Index (VIX)   SELL   11/27/2012   -148   15.55
CBOE Volatility Index (VIX)   SELL   11/27/2012    -64    15.5
CBOE Volatility Index (VIX)   SELL   11/27/2012    -59    15.6
CBOE Volatility Index (VIX)   SELL   11/27/2012    -58   15.65
CBOE Volatility Index (VIX)   SELL   11/27/2012     -4   16.15
CBOE Volatility Index (VIX)   SELL   11/27/2012     -3    15.7
CBOE Volatility Index (VIX)   SELL   11/27/2012     -2    16.1
CBOE Volatility Index (VIX)   SELL   11/28/2012    -27    15.5
CBOE Volatility Index (VIX)   SELL   11/28/2012     -4    15.5
CBOE Volatility Index (VIX)   SELL   11/28/2012     -2   15.45
CBOE Volatility Index (VIX)   SELL   11/29/2012    -34   15.25
CBOE Volatility Index (VIX)   SELL   11/29/2012     -7   15.25
CBOE Volatility Index (VIX)   SELL   11/30/2012     -4   15.55
CBOE Volatility Index (VIX)   SELL   11/30/2012     -2    15.5
CBOE Volatility Index (VIX)   BUY    11/30/2012      1   15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012      1   15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012      1   15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012      2   15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012      2   15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012      2   15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012      2   15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012      2   15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012      2   15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012      2   15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012      2   15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012      2   15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012      2   15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012      2   15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012      3   15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012      3   15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012      3   15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012      4   15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012      4   15.55
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CBOE Volatility Index (VIX)   BUY    11/30/2012      4   15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012      4   15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012      7   15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012      7   15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012      8   15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012      9   15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012      9   15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012    10    15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012    12    15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012    13    15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012    19    15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012    27    15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012    28    15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012    29    15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012    29    15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012    34    15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012    45    15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012    48    15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012    58    15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012    59    15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012    63    15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012    64    15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012    148   15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012    343   15.55
CBOE Volatility Index (VIX)   SELL   12/3/2012     -29   16.25
CBOE Volatility Index (VIX)   SELL   12/3/2012      -2   16.25
CBOE Volatility Index (VIX)   SELL   12/4/2012      -2    16.5
CBOE Volatility Index (VIX)   BUY    12/4/2012       5   16.55
CBOE Volatility Index (VIX)   SELL   12/5/2012      -4   16.05
CBOE Volatility Index (VIX)   BUY    12/5/2012     54     16.1
CBOE Volatility Index (VIX)   SELL   12/6/2012     -48   16.35
CBOE Volatility Index (VIX)   SELL   12/6/2012     -12    16.4
CBOE Volatility Index (VIX)   SELL   12/6/2012      -2   16.35
CBOE Volatility Index (VIX)   SELL   12/7/2012    -343    15.9
CBOE Volatility Index (VIX)   SELL   12/7/2012    -233    15.9
CBOE Volatility Index (VIX)   SELL   12/7/2012    -187    15.9
CBOE Volatility Index (VIX)   SELL   12/7/2012    -154   15.95
CBOE Volatility Index (VIX)   SELL   12/7/2012     -72   15.95
CBOE Volatility Index (VIX)   SELL   12/7/2012     -54    15.9
CBOE Volatility Index (VIX)   SELL   12/7/2012     -46    15.9
CBOE Volatility Index (VIX)   SELL   12/7/2012     -16    15.9
CBOE Volatility Index (VIX)   SELL   12/7/2012      -5    15.9
CBOE Volatility Index (VIX)   SELL   12/7/2012      -5    15.9
CBOE Volatility Index (VIX)   SELL   12/7/2012      -2    15.9
CBOE Volatility Index (VIX)   SELL   12/7/2012      -1   15.85
CBOE Volatility Index (VIX)   SELL   12/10/2012   -233     16
CBOE Volatility Index (VIX)   SELL   12/10/2012    -10     16
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CBOE Volatility Index (VIX)   SELL   12/10/2012    -5     16
CBOE Volatility Index (VIX)   SELL   12/10/2012    -2   16.05
CBOE Volatility Index (VIX)   BUY    12/10/2012   233     16
CBOE Volatility Index (VIX)   SELL   12/11/2012   -65    15.5
CBOE Volatility Index (VIX)   SELL   12/11/2012    -2    15.5
CBOE Volatility Index (VIX)   SELL   12/11/2012    -2   15.55
CBOE Volatility Index (VIX)   SELL   12/11/2012    -1    15.5
CBOE Volatility Index (VIX)   SELL   12/11/2012    -1   15.55
CBOE Volatility Index (VIX)   SELL   12/11/2012    -1   15.55
CBOE Volatility Index (VIX)   SELL   12/11/2012    -1    15.5
CBOE Volatility Index (VIX)   SELL   12/11/2012    -1    15.5
CBOE Volatility Index (VIX)   SELL   12/12/2012    -2   16.05
CBOE Volatility Index (VIX)   SELL   12/12/2012    -2   16.05
CBOE Volatility Index (VIX)   BUY    12/12/2012   16     16.1
CBOE Volatility Index (VIX)   SELL   12/13/2012    -5    16.6
CBOE Volatility Index (VIX)   SELL   12/13/2012    -3    16.6
CBOE Volatility Index (VIX)   SELL   12/13/2012    -2    16.6
CBOE Volatility Index (VIX)   SELL   12/13/2012    -1    16.6
CBOE Volatility Index (VIX)   SELL   12/13/2012    -1    16.6
CBOE Volatility Index (VIX)   SELL   12/13/2012    -1    16.6
CBOE Volatility Index (VIX)   SELL   12/14/2012    -2   16.85
CBOE Volatility Index (VIX)   SELL   12/14/2012    -1    16.9
CBOE Volatility Index (VIX)   BUY    12/14/2012     2   16.95
CBOE Volatility Index (VIX)   BUY    12/14/2012     2   16.95
CBOE Volatility Index (VIX)   BUY    12/14/2012     5   16.85
CBOE Volatility Index (VIX)   BUY    12/14/2012     5   16.95
CBOE Volatility Index (VIX)   BUY    12/14/2012   10    16.95
CBOE Volatility Index (VIX)   BUY    12/14/2012   46     16.9
CBOE Volatility Index (VIX)   BUY    12/14/2012   65    16.95
CBOE Volatility Index (VIX)   BUY    12/14/2012   72    16.95
CBOE Volatility Index (VIX)   BUY    12/14/2012   154    16.9
CBOE Volatility Index (VIX)   BUY    12/14/2012   187   16.85
CBOE Volatility Index (VIX)   BUY    12/14/2012   233   16.95
CBOE Volatility Index (VIX)   BUY    12/17/2012     1   16.45
CBOE Volatility Index (VIX)   BUY    12/17/2012     1    16.5
CBOE Volatility Index (VIX)   BUY    12/17/2012     1    16.6
CBOE Volatility Index (VIX)   BUY    12/17/2012     1    16.8
CBOE Volatility Index (VIX)   BUY    12/17/2012     1   16.85
CBOE Volatility Index (VIX)   BUY    12/17/2012     1     17
CBOE Volatility Index (VIX)   BUY    12/17/2012     1   16.55
CBOE Volatility Index (VIX)   BUY    12/17/2012     1    16.7
CBOE Volatility Index (VIX)   BUY    12/17/2012     1    16.8
CBOE Volatility Index (VIX)   BUY    12/17/2012     2   16.65
CBOE Volatility Index (VIX)   BUY    12/17/2012     2    16.7
CBOE Volatility Index (VIX)   BUY    12/17/2012     2   16.75
CBOE Volatility Index (VIX)   BUY    12/17/2012     2   16.75
CBOE Volatility Index (VIX)   BUY    12/17/2012     2   16.95
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CBOE Volatility Index (VIX)   BUY    12/17/2012      3    16.9
CBOE Volatility Index (VIX)   BUY    12/17/2012      5   16.95
CBOE Volatility Index (VIX)   SELL   12/17/2012   -355   16.45
CBOE Volatility Index (VIX)   SELL   12/17/2012   -276    16.5
CBOE Volatility Index (VIX)   SELL   12/17/2012    -94    16.5
CBOE Volatility Index (VIX)   SELL   12/17/2012    -88   16.45
CBOE Volatility Index (VIX)   SELL   12/17/2012    -23    16.5
CBOE Volatility Index (VIX)   SELL   12/17/2012    -20   16.45
CBOE Volatility Index (VIX)   SELL   12/17/2012     -8    17.1
CBOE Volatility Index (VIX)   SELL   12/17/2012     -5    16.5
CBOE Volatility Index (VIX)   SELL   12/17/2012     -5    16.5
CBOE Volatility Index (VIX)   SELL   12/17/2012     -5    16.5
CBOE Volatility Index (VIX)   SELL   12/17/2012     -4   16.45
CBOE Volatility Index (VIX)   SELL   12/17/2012     -4   16.85
CBOE Volatility Index (VIX)   SELL   12/17/2012     -4   16.95
CBOE Volatility Index (VIX)   SELL   12/17/2012     -3   16.65
CBOE Volatility Index (VIX)   SELL   12/17/2012     -3   17.05
CBOE Volatility Index (VIX)   SELL   12/17/2012     -2    16.9
CBOE Volatility Index (VIX)   SELL   12/17/2012     -1   16.45
CBOE Volatility Index (VIX)   SELL   12/17/2012     -1   16.45
CBOE Volatility Index (VIX)   SELL   12/17/2012     -1    16.7
CBOE Volatility Index (VIX)   SELL   12/17/2012     -1   16.75
CBOE Volatility Index (VIX)   SELL   12/17/2012     -1     17
CBOE Volatility Index (VIX)   BUY    12/18/2012      1    16.1
CBOE Volatility Index (VIX)   BUY    12/18/2012      1   16.15
CBOE Volatility Index (VIX)   BUY    12/19/2012      4   17.05
CBOE Volatility Index (VIX)   BUY    12/19/2012    20    17.05
CBOE Volatility Index (VIX)   BUY    12/19/2012    88      17
CBOE Volatility Index (VIX)   BUY    12/19/2012    276   17.05
CBOE Volatility Index (VIX)   BUY    12/19/2012    355   17.05
CBOE Volatility Index (VIX)   BUY    12/20/2012      5    17.5
CBOE Volatility Index (VIX)   BUY    12/20/2012    94     17.5
CBOE Volatility Index (VIX)   SELL   12/21/2012   -214    18.3
CBOE Volatility Index (VIX)   SELL   12/21/2012   -190    18.4
CBOE Volatility Index (VIX)   SELL   12/21/2012    -52   18.25
CBOE Volatility Index (VIX)   SELL   12/21/2012    -40   18.25
CBOE Volatility Index (VIX)   SELL   12/21/2012    -21    18.4
CBOE Volatility Index (VIX)   SELL   12/21/2012     -7    18.4
CBOE Volatility Index (VIX)   SELL   12/21/2012     -5    18.4
CBOE Volatility Index (VIX)   SELL   12/21/2012     -5    18.4
CBOE Volatility Index (VIX)   SELL   12/21/2012     -4    18.4
CBOE Volatility Index (VIX)   SELL   12/21/2012     -2    18.4
CBOE Volatility Index (VIX)   SELL   12/21/2012     -2    18.4
CBOE Volatility Index (VIX)   BUY    12/21/2012      5    18.3
CBOE Volatility Index (VIX)   BUY    12/21/2012      5    18.4
CBOE Volatility Index (VIX)   BUY    12/24/2012      1   18.55
CBOE Volatility Index (VIX)   BUY    12/24/2012      1   18.55
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CBOE Volatility Index (VIX)   BUY    12/24/2012      1   18.55
CBOE Volatility Index (VIX)   BUY    12/24/2012      2    18.6
CBOE Volatility Index (VIX)   BUY    12/24/2012      2   18.55
CBOE Volatility Index (VIX)   BUY    12/24/2012      3   18.55
CBOE Volatility Index (VIX)   BUY    12/24/2012      3   18.55
CBOE Volatility Index (VIX)   BUY    12/24/2012      4   18.55
CBOE Volatility Index (VIX)   BUY    12/24/2012      4   18.55
CBOE Volatility Index (VIX)   BUY    12/24/2012      8   18.55
CBOE Volatility Index (VIX)   BUY    12/24/2012    23    18.55
CBOE Volatility Index (VIX)   BUY    12/24/2012    40    18.55
CBOE Volatility Index (VIX)   BUY    12/24/2012    52     18.6
CBOE Volatility Index (VIX)   BUY    12/24/2012    190    18.6
CBOE Volatility Index (VIX)   BUY    12/24/2012    214    18.6
CBOE Volatility Index (VIX)   SELL   12/26/2012     -5    19.5
CBOE Volatility Index (VIX)   SELL   12/26/2012     -2   19.45
CBOE Volatility Index (VIX)   BUY    12/26/2012      5    19.5
CBOE Volatility Index (VIX)   BUY    12/26/2012    21    19.55
CBOE Volatility Index (VIX)   SELL   12/27/2012     -2    19.1
CBOE Volatility Index (VIX)   SELL   12/27/2012     -1   19.05
CBOE Volatility Index (VIX)   BUY    12/27/2012      4    19.1
CBOE Volatility Index (VIX)   BUY    12/27/2012      7   19.15
CBOE Volatility Index (VIX)   BUY    12/28/2012      1   21.95
CBOE Volatility Index (VIX)   BUY    12/28/2012      2   21.85
CBOE Volatility Index (VIX)   BUY    12/28/2012      2   21.95
CBOE Volatility Index (VIX)   BUY    12/28/2012      2   22.05
CBOE Volatility Index (VIX)   BUY    12/28/2012      2    22.1
CBOE Volatility Index (VIX)   BUY    12/28/2012      5    21.9
CBOE Volatility Index (VIX)   BUY    12/28/2012      5   21.95
CBOE Volatility Index (VIX)   BUY    12/28/2012      9   22.05
CBOE Volatility Index (VIX)   BUY    12/28/2012    14    22.05
CBOE Volatility Index (VIX)   BUY    12/28/2012    14    21.85
CBOE Volatility Index (VIX)   BUY    12/28/2012    32      22
CBOE Volatility Index (VIX)   BUY    12/28/2012    77    21.95
CBOE Volatility Index (VIX)   BUY    12/28/2012    88     22.1
CBOE Volatility Index (VIX)   BUY    12/31/2012      7    17.7
CBOE Volatility Index (VIX)   BUY    12/31/2012      8   17.65
CBOE Volatility Index (VIX)   BUY    12/31/2012    16     17.7
CBOE Volatility Index (VIX)   BUY    12/31/2012    18    17.65
CBOE Volatility Index (VIX)   SELL    1/2/2013    -102   15.55
CBOE Volatility Index (VIX)   SELL    1/2/2013     -88   15.55
CBOE Volatility Index (VIX)   SELL    1/2/2013     -77   15.55
CBOE Volatility Index (VIX)   SELL    1/2/2013     -32   15.55
CBOE Volatility Index (VIX)   SELL    1/2/2013     -18   15.55
CBOE Volatility Index (VIX)   SELL    1/2/2013     -18   15.55
CBOE Volatility Index (VIX)   SELL    1/2/2013     -16   15.55
CBOE Volatility Index (VIX)   SELL    1/2/2013     -16   15.55
CBOE Volatility Index (VIX)   SELL    1/2/2013     -14   15.55
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CBOE Volatility Index (VIX)   SELL    1/2/2013    -14   15.55
CBOE Volatility Index (VIX)   SELL    1/2/2013     -9   15.55
CBOE Volatility Index (VIX)   SELL    1/2/2013     -8   15.55
CBOE Volatility Index (VIX)   SELL    1/2/2013     -7   15.55
CBOE Volatility Index (VIX)   SELL    1/2/2013     -4   15.55
CBOE Volatility Index (VIX)   SELL    1/2/2013     -2   15.55
CBOE Volatility Index (VIX)   SELL    1/2/2013     -1   15.55
CBOE Volatility Index (VIX)   BUY     1/2/2013    16     15.6
CBOE Volatility Index (VIX)   SELL    1/3/2013     -3   15.75
CBOE Volatility Index (VIX)   SELL    1/3/2013     -2    15.7
CBOE Volatility Index (VIX)   SELL    1/3/2013     -1   15.75
CBOE Volatility Index (VIX)   SELL    1/4/2013     -5   15.35
CBOE Volatility Index (VIX)   SELL    1/4/2013     -2    15.3
CBOE Volatility Index (VIX)   BUY     1/4/2013      4   15.35
CBOE Volatility Index (VIX)   SELL    1/7/2013   -180    14.8
CBOE Volatility Index (VIX)   SELL    1/7/2013   -114   14.75
CBOE Volatility Index (VIX)   SELL    1/7/2013    -59   14.75
CBOE Volatility Index (VIX)   SELL    1/7/2013    -42   14.75
CBOE Volatility Index (VIX)   SELL    1/7/2013    -26   14.75
CBOE Volatility Index (VIX)   SELL    1/7/2013    -24    14.8
CBOE Volatility Index (VIX)   SELL    1/7/2013     -9   14.75
CBOE Volatility Index (VIX)   SELL    1/7/2013     -4    14.8
CBOE Volatility Index (VIX)   SELL    1/7/2013     -3    14.8
CBOE Volatility Index (VIX)   SELL    1/8/2013   -104    14.7
CBOE Volatility Index (VIX)   SELL    1/8/2013    -46    14.7
CBOE Volatility Index (VIX)   SELL    1/8/2013     -6    14.6
CBOE Volatility Index (VIX)   BUY     1/8/2013      1    14.7
CBOE Volatility Index (VIX)   BUY     1/8/2013      1    14.6
CBOE Volatility Index (VIX)   BUY     1/8/2013      2    14.7
CBOE Volatility Index (VIX)   BUY     1/8/2013      2    14.7
CBOE Volatility Index (VIX)   BUY     1/8/2013      3    14.7
CBOE Volatility Index (VIX)   BUY     1/8/2013      5    14.7
CBOE Volatility Index (VIX)   BUY     1/8/2013      9    14.7
CBOE Volatility Index (VIX)   BUY     1/8/2013    18    14.65
CBOE Volatility Index (VIX)   BUY     1/8/2013    26     14.7
CBOE Volatility Index (VIX)   BUY     1/8/2013    102    14.7
CBOE Volatility Index (VIX)   SELL    1/9/2013    -36   14.65
CBOE Volatility Index (VIX)   SELL    1/9/2013     -4   14.65
CBOE Volatility Index (VIX)   SELL   1/10/2013    -41   14.15
CBOE Volatility Index (VIX)   SELL   1/10/2013    -18    14.2
CBOE Volatility Index (VIX)   SELL   1/10/2013     -5    14.2
CBOE Volatility Index (VIX)   SELL   1/10/2013     -2   14.15
CBOE Volatility Index (VIX)   SELL   1/11/2013    -28   14.15
CBOE Volatility Index (VIX)   SELL   1/11/2013    -20   14.15
CBOE Volatility Index (VIX)   SELL   1/11/2013     -6   14.15
CBOE Volatility Index (VIX)   BUY    1/14/2013      2    14.2
CBOE Volatility Index (VIX)   BUY    1/14/2013      3    14.1
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CBOE Volatility Index (VIX)   BUY    1/14/2013      4   14.05
CBOE Volatility Index (VIX)   BUY    1/14/2013      4    14.2
CBOE Volatility Index (VIX)   BUY    1/14/2013      5    14.2
CBOE Volatility Index (VIX)   BUY    1/14/2013      6   14.15
CBOE Volatility Index (VIX)   BUY    1/14/2013      6    14.2
CBOE Volatility Index (VIX)   BUY    1/14/2013    18     14.2
CBOE Volatility Index (VIX)   BUY    1/14/2013    20     14.2
CBOE Volatility Index (VIX)   BUY    1/14/2013    24    14.15
CBOE Volatility Index (VIX)   BUY    1/14/2013    28    14.25
CBOE Volatility Index (VIX)   BUY    1/14/2013    36     14.2
CBOE Volatility Index (VIX)   BUY    1/14/2013    41     14.2
CBOE Volatility Index (VIX)   BUY    1/14/2013    42    13.95
CBOE Volatility Index (VIX)   BUY    1/14/2013    46     14.2
CBOE Volatility Index (VIX)   BUY    1/14/2013    59    14.05
CBOE Volatility Index (VIX)   BUY    1/14/2013    104   14.15
CBOE Volatility Index (VIX)   BUY    1/14/2013    114     14
CBOE Volatility Index (VIX)   BUY    1/14/2013    180    14.1
CBOE Volatility Index (VIX)   SELL   1/14/2013   -127    15.9
CBOE Volatility Index (VIX)   SELL   1/14/2013   -103   15.85
CBOE Volatility Index (VIX)   SELL   1/14/2013    -94    15.8
CBOE Volatility Index (VIX)   SELL   1/14/2013    -65    15.9
CBOE Volatility Index (VIX)   SELL   1/14/2013    -51   15.75
CBOE Volatility Index (VIX)   SELL   1/14/2013    -47   15.85
CBOE Volatility Index (VIX)   SELL   1/14/2013    -47    15.9
CBOE Volatility Index (VIX)   SELL   1/14/2013    -35   15.85
CBOE Volatility Index (VIX)   SELL   1/14/2013    -33   15.85
CBOE Volatility Index (VIX)   SELL   1/14/2013    -32   15.95
CBOE Volatility Index (VIX)   SELL   1/14/2013    -26   15.85
CBOE Volatility Index (VIX)   SELL   1/14/2013    -24   15.75
CBOE Volatility Index (VIX)   SELL   1/14/2013    -18     16
CBOE Volatility Index (VIX)   SELL   1/14/2013    -12   15.85
CBOE Volatility Index (VIX)   SELL   1/14/2013     -9   15.85
CBOE Volatility Index (VIX)   SELL   1/14/2013     -4   15.85
CBOE Volatility Index (VIX)   SELL   1/14/2013     -4    15.9
CBOE Volatility Index (VIX)   SELL   1/14/2013     -4    15.9
CBOE Volatility Index (VIX)   SELL   1/14/2013     -3    15.9
CBOE Volatility Index (VIX)   SELL   1/14/2013     -2   15.85
CBOE Volatility Index (VIX)   SELL   1/14/2013     -1   15.85
CBOE Volatility Index (VIX)   SELL   1/14/2013     -1    15.9
CBOE Volatility Index (VIX)   SELL   1/14/2013     -1    15.9
CBOE Volatility Index (VIX)   SELL   1/14/2013     -1    15.9
CBOE Volatility Index (VIX)   SELL   1/14/2013     -1    15.9
CBOE Volatility Index (VIX)   SELL   1/14/2013     -1    15.9
CBOE Volatility Index (VIX)   BUY    1/14/2013    51     15.9
CBOE Volatility Index (VIX)   SELL   1/15/2013    -51    15.8
CBOE Volatility Index (VIX)   SELL   1/15/2013     -8   15.75
CBOE Volatility Index (VIX)   SELL   1/15/2013     -4   15.75
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CBOE Volatility Index (VIX)   SELL   1/15/2013    -2     15.8
CBOE Volatility Index (VIX)   SELL   1/16/2013   -86     15.5
CBOE Volatility Index (VIX)   SELL   1/16/2013   -58    15.45
CBOE Volatility Index (VIX)   SELL   1/16/2013    -2    15.45
CBOE Volatility Index (VIX)   SELL   1/16/2013    -2     15.5
CBOE Volatility Index (VIX)   SELL   1/17/2013    -4     15.6
CBOE Volatility Index (VIX)   SELL   1/17/2013    -2    15.65
CBOE Volatility Index (VIX)   BUY    1/17/2013     9     15.7
CBOE Volatility Index (VIX)   BUY    1/17/2013   24     15.65
CBOE Volatility Index (VIX)   BUY    1/17/2013   47     15.65
CBOE Volatility Index (VIX)   BUY    1/17/2013   94     15.65
CBOE Volatility Index (VIX)   SELL   1/18/2013    -3    14.65
CBOE Volatility Index (VIX)   BUY    1/18/2013   103     14.7
CBOE Volatility Index (VIX)   SELL   1/22/2013   -67    14.05
CBOE Volatility Index (VIX)   SELL   1/22/2013    -6    14.05
CBOE Volatility Index (VIX)   SELL   1/23/2013   -35     13.7
CBOE Volatility Index (VIX)   SELL   1/23/2013   -12    13.75
CBOE Volatility Index (VIX)   SELL   1/23/2013    -5     13.7
CBOE Volatility Index (VIX)   SELL   1/23/2013    -3    13.75
CBOE Volatility Index (VIX)   SELL   1/24/2013   -26     13.8
CBOE Volatility Index (VIX)   SELL   1/24/2013    -3     13.8
CBOE Volatility Index (VIX)   SELL   1/24/2013    -3     13.8
CBOE Volatility Index (VIX)   SELL   1/25/2013    -7     14.1
CBOE Volatility Index (VIX)   BUY    1/25/2013   26     14.15
CBOE Volatility Index (VIX)   SELL   1/28/2013    -5     14.5
CBOE Volatility Index (VIX)   BUY    1/28/2013   35     14.55
CBOE Volatility Index (VIX)   SELL   1/29/2013   -54      14
CBOE Volatility Index (VIX)   SELL   1/29/2013    -6      14
CBOE Volatility Index (VIX)   BUY    1/30/2013     1    15.15
CBOE Volatility Index (VIX)   BUY    1/30/2013     2     15.1
CBOE Volatility Index (VIX)   BUY    1/30/2013     4    15.15
CBOE Volatility Index (VIX)   BUY    1/30/2013   12     15.15
CBOE Volatility Index (VIX)   BUY    1/30/2013   33      15.1
CBOE Volatility Index (VIX)   BUY    1/30/2013   47     15.15
CBOE Volatility Index (VIX)   SELL   1/31/2013   -19     14.9
CBOE Volatility Index (VIX)   SELL   1/31/2013   -16    14.85
CBOE Volatility Index (VIX)   BUY    1/31/2013     1     14.9
CBOE Volatility Index (VIX)   BUY    1/31/2013     1    14.95
CBOE Volatility Index (VIX)   SELL    2/1/2013   -68     14.3
CBOE Volatility Index (VIX)   SELL    2/1/2013   -12    14.25
CBOE Volatility Index (VIX)   BUY     2/1/2013     1     14.3
CBOE Volatility Index (VIX)   BUY     2/1/2013     1    14.35
CBOE Volatility Index (VIX)   BUY     2/4/2013     1     15.2
CBOE Volatility Index (VIX)   BUY     2/4/2013     4     15.2
CBOE Volatility Index (VIX)   SELL    2/5/2013   -48    14.35
CBOE Volatility Index (VIX)   SELL    2/5/2013   -20     14.4
CBOE Volatility Index (VIX)   BUY     2/5/2013     3    14.45
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CBOE Volatility Index (VIX)   BUY     2/5/2013     4     14.4
CBOE Volatility Index (VIX)   SELL    2/6/2013   -32    14.15
CBOE Volatility Index (VIX)   SELL    2/6/2013   -26     14.1
CBOE Volatility Index (VIX)   SELL    2/6/2013    -2     14.1
CBOE Volatility Index (VIX)   SELL    2/7/2013   -16     14.1
CBOE Volatility Index (VIX)   SELL    2/7/2013   -15    14.05
CBOE Volatility Index (VIX)   SELL    2/7/2013   -14    14.05
CBOE Volatility Index (VIX)   SELL    2/7/2013    -1    14.05
CBOE Volatility Index (VIX)   SELL    2/7/2013    -1     14.1
CBOE Volatility Index (VIX)   SELL    2/8/2013   -76    13.75
CBOE Volatility Index (VIX)   SELL    2/8/2013    -3    13.75
CBOE Volatility Index (VIX)   BUY    2/11/2013     1     13.6
CBOE Volatility Index (VIX)   BUY    2/11/2013     1    13.65
CBOE Volatility Index (VIX)   BUY    2/11/2013     2     13.5
CBOE Volatility Index (VIX)   BUY    2/11/2013     2    13.55
CBOE Volatility Index (VIX)   BUY    2/11/2013     2    13.55
CBOE Volatility Index (VIX)   BUY    2/11/2013     2    13.55
CBOE Volatility Index (VIX)   BUY    2/11/2013     2     13.6
CBOE Volatility Index (VIX)   BUY    2/11/2013     3    13.55
CBOE Volatility Index (VIX)   BUY    2/11/2013     3    13.55
CBOE Volatility Index (VIX)   BUY    2/11/2013     3    13.55
CBOE Volatility Index (VIX)   BUY    2/11/2013     3     13.6
CBOE Volatility Index (VIX)   BUY    2/11/2013     3    13.65
CBOE Volatility Index (VIX)   BUY    2/11/2013     4     13.5
CBOE Volatility Index (VIX)   BUY    2/11/2013     4    13.55
CBOE Volatility Index (VIX)   BUY    2/11/2013     5    13.55
CBOE Volatility Index (VIX)   BUY    2/11/2013     5     13.6
CBOE Volatility Index (VIX)   BUY    2/11/2013     6    13.55
CBOE Volatility Index (VIX)   BUY    2/11/2013     6     13.6
CBOE Volatility Index (VIX)   BUY    2/11/2013     7     13.6
CBOE Volatility Index (VIX)   BUY    2/11/2013     8     13.5
CBOE Volatility Index (VIX)   BUY    2/11/2013   12     13.55
CBOE Volatility Index (VIX)   BUY    2/11/2013   12      13.6
CBOE Volatility Index (VIX)   BUY    2/11/2013   14     13.65
CBOE Volatility Index (VIX)   BUY    2/11/2013   15      13.6
CBOE Volatility Index (VIX)   BUY    2/11/2013   16      13.6
CBOE Volatility Index (VIX)   BUY    2/11/2013   16     13.65
CBOE Volatility Index (VIX)   BUY    2/11/2013   18      13.5
CBOE Volatility Index (VIX)   BUY    2/11/2013   19      13.6
CBOE Volatility Index (VIX)   BUY    2/11/2013   20      13.6
CBOE Volatility Index (VIX)   BUY    2/11/2013   26      13.6
CBOE Volatility Index (VIX)   BUY    2/11/2013   26      13.6
CBOE Volatility Index (VIX)   BUY    2/11/2013   32      13.5
CBOE Volatility Index (VIX)   BUY    2/11/2013   32      13.6
CBOE Volatility Index (VIX)   BUY    2/11/2013   35     13.55
CBOE Volatility Index (VIX)   BUY    2/11/2013   48      13.6
CBOE Volatility Index (VIX)   BUY    2/11/2013   51      13.5
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CBOE Volatility Index (VIX)   BUY    2/11/2013    54     13.6
CBOE Volatility Index (VIX)   BUY    2/11/2013    58    13.55
CBOE Volatility Index (VIX)   BUY    2/11/2013    65    13.45
CBOE Volatility Index (VIX)   BUY    2/11/2013    67    13.55
CBOE Volatility Index (VIX)   BUY    2/11/2013    68     13.6
CBOE Volatility Index (VIX)   BUY    2/11/2013    76    13.65
CBOE Volatility Index (VIX)   BUY    2/11/2013    86    13.55
CBOE Volatility Index (VIX)   BUY    2/11/2013    127    13.5
CBOE Volatility Index (VIX)   SELL   2/11/2013   -321    14.9
CBOE Volatility Index (VIX)   SELL   2/11/2013   -257    14.8
CBOE Volatility Index (VIX)   SELL   2/11/2013   -136   14.95
CBOE Volatility Index (VIX)   SELL   2/11/2013    -94    14.8
CBOE Volatility Index (VIX)   SELL   2/11/2013    -77   14.85
CBOE Volatility Index (VIX)   SELL   2/11/2013    -44   14.85
CBOE Volatility Index (VIX)   SELL   2/11/2013    -28    14.8
CBOE Volatility Index (VIX)   SELL   2/11/2013    -22   14.95
CBOE Volatility Index (VIX)   SELL   2/11/2013    -13    14.9
CBOE Volatility Index (VIX)   SELL   2/11/2013    -11    14.9
CBOE Volatility Index (VIX)   SELL   2/11/2013    -10    14.9
CBOE Volatility Index (VIX)   SELL   2/11/2013     -8     15
CBOE Volatility Index (VIX)   SELL   2/11/2013     -8    14.8
CBOE Volatility Index (VIX)   SELL   2/11/2013     -8    14.9
CBOE Volatility Index (VIX)   SELL   2/11/2013     -7   14.85
CBOE Volatility Index (VIX)   SELL   2/11/2013     -6   14.85
CBOE Volatility Index (VIX)   SELL   2/11/2013     -5   14.85
CBOE Volatility Index (VIX)   SELL   2/11/2013     -4   14.85
CBOE Volatility Index (VIX)   SELL   2/11/2013     -4   14.85
CBOE Volatility Index (VIX)   SELL   2/11/2013     -3   14.85
CBOE Volatility Index (VIX)   SELL   2/11/2013     -3    14.9
CBOE Volatility Index (VIX)   SELL   2/11/2013     -2    14.9
CBOE Volatility Index (VIX)   BUY    2/11/2013      8    14.9
CBOE Volatility Index (VIX)   SELL   2/12/2013    -88    14.7
CBOE Volatility Index (VIX)   SELL   2/12/2013     -5    14.7
CBOE Volatility Index (VIX)   SELL   2/12/2013     -4   14.75
CBOE Volatility Index (VIX)   SELL   2/13/2013    -44   14.75
CBOE Volatility Index (VIX)   SELL   2/13/2013    -40    14.7
CBOE Volatility Index (VIX)   SELL   2/13/2013     -4    14.7
CBOE Volatility Index (VIX)   SELL   2/13/2013     -4   14.75
CBOE Volatility Index (VIX)   SELL   2/14/2013    -11   14.55
CBOE Volatility Index (VIX)   BUY    2/14/2013    257    14.6
CBOE Volatility Index (VIX)   SELL   2/15/2013   -128   14.45
CBOE Volatility Index (VIX)   SELL   2/15/2013    -23   14.45
CBOE Volatility Index (VIX)   SELL   2/15/2013     -2   14.45
CBOE Volatility Index (VIX)   BUY    2/19/2013    28     13.9
CBOE Volatility Index (VIX)   BUY    2/19/2013    44     13.9
CBOE Volatility Index (VIX)   BUY    2/19/2013    94     13.9
CBOE Volatility Index (VIX)   BUY    2/20/2013      4    15.3
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CBOE Volatility Index (VIX)   BUY    2/20/2013     4    15.35
CBOE Volatility Index (VIX)   BUY    2/20/2013    77    15.35
CBOE Volatility Index (VIX)   BUY    2/21/2013     2     15.5
CBOE Volatility Index (VIX)   BUY    2/21/2013     3     15.5
CBOE Volatility Index (VIX)   BUY    2/21/2013     5     15.5
CBOE Volatility Index (VIX)   BUY    2/21/2013     6    15.45
CBOE Volatility Index (VIX)   BUY    2/21/2013     7    15.45
CBOE Volatility Index (VIX)   SELL   2/22/2013    -54   14.85
CBOE Volatility Index (VIX)   BUY    2/22/2013    10     14.9
CBOE Volatility Index (VIX)   BUY    2/25/2013     2     17.3
CBOE Volatility Index (VIX)   BUY    2/25/2013     3    17.25
CBOE Volatility Index (VIX)   BUY    2/25/2013     4     17.3
CBOE Volatility Index (VIX)   BUY    2/25/2013     4     17.3
CBOE Volatility Index (VIX)   BUY    2/25/2013     4     17.3
CBOE Volatility Index (VIX)   BUY    2/25/2013     5     17.3
CBOE Volatility Index (VIX)   BUY    2/25/2013     8    17.45
CBOE Volatility Index (VIX)   BUY    2/25/2013     8     17.3
CBOE Volatility Index (VIX)   BUY    2/25/2013    11     17.2
CBOE Volatility Index (VIX)   BUY    2/25/2013    11     17.3
CBOE Volatility Index (VIX)   BUY    2/25/2013    13     17.6
CBOE Volatility Index (VIX)   BUY    2/25/2013    15     17.5
CBOE Volatility Index (VIX)   BUY    2/25/2013    22     17.3
CBOE Volatility Index (VIX)   BUY    2/25/2013    23     17.5
CBOE Volatility Index (VIX)   BUY    2/25/2013    24     17.6
CBOE Volatility Index (VIX)   BUY    2/25/2013    34     17.5
CBOE Volatility Index (VIX)   BUY    2/25/2013    40     17.3
CBOE Volatility Index (VIX)   BUY    2/25/2013    44     17.3
CBOE Volatility Index (VIX)   BUY    2/25/2013    54     17.5
CBOE Volatility Index (VIX)   BUY    2/25/2013    88     17.3
CBOE Volatility Index (VIX)   BUY    2/25/2013    128    17.5
CBOE Volatility Index (VIX)   BUY    2/25/2013    136   17.25
CBOE Volatility Index (VIX)   BUY    2/25/2013    321   17.25
CBOE Volatility Index (VIX)   BUY    2/25/2013    362   17.55
CBOE Volatility Index (VIX)   SELL   2/26/2013   -362    16.9
CBOE Volatility Index (VIX)   SELL   2/26/2013   -137   16.95
CBOE Volatility Index (VIX)   SELL   2/26/2013    -79   16.95
CBOE Volatility Index (VIX)   SELL   2/26/2013    -68   16.95
CBOE Volatility Index (VIX)   SELL   2/26/2013    -64   16.95
CBOE Volatility Index (VIX)   SELL   2/26/2013    -47   16.95
CBOE Volatility Index (VIX)   SELL   2/26/2013    -43   16.95
CBOE Volatility Index (VIX)   SELL   2/26/2013    -35   16.95
CBOE Volatility Index (VIX)   SELL   2/26/2013    -34    16.9
CBOE Volatility Index (VIX)   SELL   2/26/2013    -29   16.95
CBOE Volatility Index (VIX)   SELL   2/26/2013    -27   16.95
CBOE Volatility Index (VIX)   SELL   2/26/2013    -24    16.9
CBOE Volatility Index (VIX)   SELL   2/26/2013    -24   16.95
CBOE Volatility Index (VIX)   SELL   2/26/2013    -24   16.95
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CBOE Volatility Index (VIX)   SELL   2/26/2013   -23     16.9
CBOE Volatility Index (VIX)   SELL   2/26/2013   -19    16.95
CBOE Volatility Index (VIX)   SELL   2/26/2013   -15    16.85
CBOE Volatility Index (VIX)   SELL   2/26/2013   -13     16.9
CBOE Volatility Index (VIX)   SELL   2/26/2013   -10    16.95
CBOE Volatility Index (VIX)   SELL   2/26/2013    -9    16.95
CBOE Volatility Index (VIX)   SELL   2/26/2013    -7    16.95
CBOE Volatility Index (VIX)   SELL   2/26/2013    -6     16.9
CBOE Volatility Index (VIX)   SELL   2/26/2013    -6    16.95
CBOE Volatility Index (VIX)   SELL   2/26/2013    -4    16.95
CBOE Volatility Index (VIX)   SELL   2/26/2013    -3    16.95
CBOE Volatility Index (VIX)   SELL   2/26/2013    -2     16.9
CBOE Volatility Index (VIX)   SELL   2/26/2013    -1     16.9
CBOE Volatility Index (VIX)   BUY    2/26/2013   23     16.95
CBOE Volatility Index (VIX)   SELL   2/27/2013   -12     15.4
CBOE Volatility Index (VIX)   SELL   2/27/2013    -9    15.45
CBOE Volatility Index (VIX)   BUY    2/27/2013   13     15.45
CBOE Volatility Index (VIX)   BUY    2/28/2013     1    16.15
CBOE Volatility Index (VIX)   BUY    2/28/2013     2     16.2
CBOE Volatility Index (VIX)   BUY    2/28/2013     6    16.15
CBOE Volatility Index (VIX)   BUY    2/28/2013     9     16.2
CBOE Volatility Index (VIX)   BUY    2/28/2013   24     16.15
CBOE Volatility Index (VIX)   BUY     3/1/2013     7    16.35
CBOE Volatility Index (VIX)   BUY     3/1/2013   10     16.35
CBOE Volatility Index (VIX)   SELL    3/4/2013    -8    14.95
CBOE Volatility Index (VIX)   BUY     3/4/2013     4      15
CBOE Volatility Index (VIX)   SELL    3/5/2013    -8     14.5
CBOE Volatility Index (VIX)   SELL    3/5/2013    -6    14.55
CBOE Volatility Index (VIX)   SELL    3/5/2013    -3     14.5
CBOE Volatility Index (VIX)   SELL    3/5/2013    -2    14.55
CBOE Volatility Index (VIX)   SELL    3/5/2013    -1    14.55
CBOE Volatility Index (VIX)   SELL    3/6/2013    -2    14.65
CBOE Volatility Index (VIX)   SELL    3/6/2013    -2    14.65
CBOE Volatility Index (VIX)   SELL    3/6/2013    -2     14.7
CBOE Volatility Index (VIX)   SELL    3/6/2013    -2    14.65
CBOE Volatility Index (VIX)   SELL    3/6/2013    -1     14.7
CBOE Volatility Index (VIX)   SELL    3/7/2013   -18     14.2
CBOE Volatility Index (VIX)   SELL    3/7/2013   -14     14.2
CBOE Volatility Index (VIX)   SELL    3/7/2013    -5     14.2
CBOE Volatility Index (VIX)   SELL    3/8/2013   -31     13.8
CBOE Volatility Index (VIX)   SELL    3/8/2013    -5     13.8
CBOE Volatility Index (VIX)   SELL   3/11/2013   -29      13
CBOE Volatility Index (VIX)   SELL   3/11/2013   -13    13.05
CBOE Volatility Index (VIX)   SELL   3/11/2013    -8      13
CBOE Volatility Index (VIX)   SELL   3/11/2013    -3    13.05
CBOE Volatility Index (VIX)   SELL   3/12/2013    -1    13.25
CBOE Volatility Index (VIX)   BUY    3/12/2013   27      13.3
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CBOE Volatility Index (VIX)   SELL   3/13/2013   -30    12.95
CBOE Volatility Index (VIX)   SELL   3/13/2013    -3    12.95
CBOE Volatility Index (VIX)   SELL   3/13/2013    -3      13
CBOE Volatility Index (VIX)   SELL   3/14/2013   -28    12.55
CBOE Volatility Index (VIX)   SELL   3/14/2013   -17    12.55
CBOE Volatility Index (VIX)   SELL   3/14/2013    -7    12.55
CBOE Volatility Index (VIX)   SELL   3/15/2013   -11    12.55
CBOE Volatility Index (VIX)   SELL   3/15/2013   -10     12.6
CBOE Volatility Index (VIX)   SELL   3/15/2013    -4     12.6
CBOE Volatility Index (VIX)   SELL   3/15/2013    -2    12.55
CBOE Volatility Index (VIX)   BUY    3/18/2013     1     13.8
CBOE Volatility Index (VIX)   BUY    3/18/2013     1    13.95
CBOE Volatility Index (VIX)   BUY    3/18/2013     1      14
CBOE Volatility Index (VIX)   BUY    3/18/2013     2     13.9
CBOE Volatility Index (VIX)   BUY    3/18/2013     2     13.9
CBOE Volatility Index (VIX)   BUY    3/18/2013     2     13.9
CBOE Volatility Index (VIX)   BUY    3/18/2013     2    13.95
CBOE Volatility Index (VIX)   BUY    3/18/2013     2    13.95
CBOE Volatility Index (VIX)   BUY    3/18/2013     2    14.05
CBOE Volatility Index (VIX)   BUY    3/18/2013     3     13.4
CBOE Volatility Index (VIX)   BUY    3/18/2013     3     13.8
CBOE Volatility Index (VIX)   BUY    3/18/2013     3      14
CBOE Volatility Index (VIX)   BUY    3/18/2013     3      14
CBOE Volatility Index (VIX)   BUY    3/18/2013     3      14
CBOE Volatility Index (VIX)   BUY    3/18/2013     4    14.05
CBOE Volatility Index (VIX)   BUY    3/18/2013     5    13.95
CBOE Volatility Index (VIX)   BUY    3/18/2013     5      14
CBOE Volatility Index (VIX)   BUY    3/18/2013     6    13.05
CBOE Volatility Index (VIX)   BUY    3/18/2013     6     13.8
CBOE Volatility Index (VIX)   BUY    3/18/2013     7      14
CBOE Volatility Index (VIX)   BUY    3/18/2013     8     13.8
CBOE Volatility Index (VIX)   BUY    3/18/2013     8     13.8
CBOE Volatility Index (VIX)   BUY    3/18/2013     8      14
CBOE Volatility Index (VIX)   BUY    3/18/2013     9     13.8
CBOE Volatility Index (VIX)   BUY    3/18/2013   10     14.05
CBOE Volatility Index (VIX)   BUY    3/18/2013   11     14.05
CBOE Volatility Index (VIX)   BUY    3/18/2013   12      13.8
CBOE Volatility Index (VIX)   BUY    3/18/2013   13       14
CBOE Volatility Index (VIX)   BUY    3/18/2013   14       14
CBOE Volatility Index (VIX)   BUY    3/18/2013   17       14
CBOE Volatility Index (VIX)   BUY    3/18/2013   18     13.95
CBOE Volatility Index (VIX)   BUY    3/18/2013   19      13.8
CBOE Volatility Index (VIX)   BUY    3/18/2013   24     13.35
CBOE Volatility Index (VIX)   BUY    3/18/2013   28     14.05
CBOE Volatility Index (VIX)   BUY    3/18/2013   29      13.5
CBOE Volatility Index (VIX)   BUY    3/18/2013   29       14
CBOE Volatility Index (VIX)   BUY    3/18/2013   30       14
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CBOE Volatility Index (VIX)   BUY    3/18/2013   31       14
CBOE Volatility Index (VIX)   BUY    3/18/2013   35     13.55
CBOE Volatility Index (VIX)   BUY    3/18/2013   43     13.45
CBOE Volatility Index (VIX)   BUY    3/18/2013   47     13.25
CBOE Volatility Index (VIX)   BUY    3/18/2013   64      13.1
CBOE Volatility Index (VIX)   BUY    3/18/2013   68      13.2
CBOE Volatility Index (VIX)   BUY    3/18/2013   79     13.15
CBOE Volatility Index (VIX)   BUY    3/18/2013   137     13.3
CBOE Volatility Index (VIX)   SELL   3/18/2013   -85    15.35
CBOE Volatility Index (VIX)   SELL   3/18/2013   -69    15.05
CBOE Volatility Index (VIX)   SELL   3/18/2013   -64     15.4
CBOE Volatility Index (VIX)   SELL   3/18/2013   -61     14.8
CBOE Volatility Index (VIX)   SELL   3/18/2013   -50    14.95
CBOE Volatility Index (VIX)   SELL   3/18/2013   -42    14.75
CBOE Volatility Index (VIX)   SELL   3/18/2013   -41     14.7
CBOE Volatility Index (VIX)   SELL   3/18/2013   -40    14.75
CBOE Volatility Index (VIX)   SELL   3/18/2013   -36     15.3
CBOE Volatility Index (VIX)   SELL   3/18/2013   -35     14.9
CBOE Volatility Index (VIX)   SELL   3/18/2013   -30    14.85
CBOE Volatility Index (VIX)   SELL   3/18/2013   -30    15.25
CBOE Volatility Index (VIX)   SELL   3/18/2013   -28     14.8
CBOE Volatility Index (VIX)   SELL   3/18/2013   -21    14.75
CBOE Volatility Index (VIX)   SELL   3/18/2013   -19    14.75
CBOE Volatility Index (VIX)   SELL   3/18/2013   -16    15.25
CBOE Volatility Index (VIX)   SELL   3/18/2013   -15     14.8
CBOE Volatility Index (VIX)   SELL   3/18/2013   -15     14.8
CBOE Volatility Index (VIX)   SELL   3/18/2013   -14    14.75
CBOE Volatility Index (VIX)   SELL   3/18/2013   -13      15
CBOE Volatility Index (VIX)   SELL   3/18/2013   -13     15.2
CBOE Volatility Index (VIX)   SELL   3/18/2013   -12    15.25
CBOE Volatility Index (VIX)   SELL   3/18/2013   -12     14.8
CBOE Volatility Index (VIX)   SELL   3/18/2013   -11    15.35
CBOE Volatility Index (VIX)   SELL   3/18/2013    -9     15.4
CBOE Volatility Index (VIX)   SELL   3/18/2013    -9    15.45
CBOE Volatility Index (VIX)   SELL   3/18/2013    -7     14.9
CBOE Volatility Index (VIX)   SELL   3/18/2013    -7    14.75
CBOE Volatility Index (VIX)   SELL   3/18/2013    -7     14.8
CBOE Volatility Index (VIX)   SELL   3/18/2013    -6     15.3
CBOE Volatility Index (VIX)   SELL   3/18/2013    -6    15.25
CBOE Volatility Index (VIX)   SELL   3/18/2013    -6     15.3
CBOE Volatility Index (VIX)   SELL   3/18/2013    -4     15.1
CBOE Volatility Index (VIX)   SELL   3/18/2013    -3    14.75
CBOE Volatility Index (VIX)   SELL   3/18/2013    -2    14.75
CBOE Volatility Index (VIX)   SELL   3/18/2013    -2    14.75
CBOE Volatility Index (VIX)   SELL   3/18/2013    -2     14.8
CBOE Volatility Index (VIX)   SELL   3/18/2013    -2     14.8
CBOE Volatility Index (VIX)   SELL   3/18/2013    -2     14.8
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CBOE Volatility Index (VIX)   SELL   3/18/2013    -2     14.8
CBOE Volatility Index (VIX)   SELL   3/18/2013    -1     15.3
CBOE Volatility Index (VIX)   SELL   3/18/2013    -1    15.35
CBOE Volatility Index (VIX)   SELL   3/18/2013    -1    15.45
CBOE Volatility Index (VIX)   SELL   3/18/2013    -1    14.75
CBOE Volatility Index (VIX)   SELL   3/18/2013    -1     14.8
CBOE Volatility Index (VIX)   SELL   3/18/2013    -1     14.8
CBOE Volatility Index (VIX)   SELL   3/18/2013    -1     14.8
CBOE Volatility Index (VIX)   SELL   3/18/2013    -1     14.8
CBOE Volatility Index (VIX)   BUY    3/18/2013   40     15.35
CBOE Volatility Index (VIX)   BUY    3/18/2013   41     15.35
CBOE Volatility Index (VIX)   BUY    3/18/2013   42      15.4
CBOE Volatility Index (VIX)   SELL   3/19/2013    -2     15.3
CBOE Volatility Index (VIX)   BUY    3/19/2013   14     15.35
CBOE Volatility Index (VIX)   SELL   3/20/2013   -27     14.5
CBOE Volatility Index (VIX)   SELL   3/20/2013    -5     14.5
CBOE Volatility Index (VIX)   BUY    3/21/2013     2    14.95
CBOE Volatility Index (VIX)   BUY    3/21/2013     2      15
CBOE Volatility Index (VIX)   BUY    3/21/2013     7    14.95
CBOE Volatility Index (VIX)   BUY    3/22/2013   19      14.8
CBOE Volatility Index (VIX)   BUY    3/22/2013   21     14.75
CBOE Volatility Index (VIX)   SELL   3/25/2013    -3    14.55
CBOE Volatility Index (VIX)   SELL   3/25/2013    -2    14.55
CBOE Volatility Index (VIX)   BUY    3/25/2013     1    14.55
CBOE Volatility Index (VIX)   BUY    3/25/2013     3     14.6
CBOE Volatility Index (VIX)   BUY    3/25/2013   15      14.6
CBOE Volatility Index (VIX)   BUY    3/26/2013     1    14.25
CBOE Volatility Index (VIX)   BUY    3/26/2013   15     14.25
CBOE Volatility Index (VIX)   SELL   3/27/2013    -6    14.35
CBOE Volatility Index (VIX)   SELL   3/27/2013    -6    14.35
CBOE Volatility Index (VIX)   SELL   3/28/2013   -10    14.25
CBOE Volatility Index (VIX)   SELL   3/28/2013    -7     14.2
CBOE Volatility Index (VIX)   SELL   3/28/2013    -5     14.2
CBOE Volatility Index (VIX)   SELL   3/28/2013    -5     14.2
CBOE Volatility Index (VIX)   SELL   3/28/2013    -4    14.25
CBOE Volatility Index (VIX)   SELL    4/1/2013    -8    14.35
CBOE Volatility Index (VIX)   SELL    4/1/2013    -4     14.3
CBOE Volatility Index (VIX)   SELL    4/1/2013    -4    14.35
CBOE Volatility Index (VIX)   SELL    4/2/2013   -11    13.75
CBOE Volatility Index (VIX)   SELL    4/2/2013    -8     13.8
CBOE Volatility Index (VIX)   SELL    4/2/2013    -7     13.8
CBOE Volatility Index (VIX)   SELL    4/2/2013    -6    13.75
CBOE Volatility Index (VIX)   SELL    4/2/2013    -5     13.8
CBOE Volatility Index (VIX)   SELL    4/2/2013    -5     13.8
CBOE Volatility Index (VIX)   SELL    4/2/2013    -1    13.85
CBOE Volatility Index (VIX)   BUY     4/3/2013     2     14.7
CBOE Volatility Index (VIX)   BUY     4/3/2013   12      14.7
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CBOE Volatility Index (VIX)   SELL    4/4/2013   -25    14.25
CBOE Volatility Index (VIX)   SELL    4/4/2013    -7    14.25
CBOE Volatility Index (VIX)   SELL    4/4/2013    -5    14.25
CBOE Volatility Index (VIX)   BUY     4/4/2013     1    14.25
CBOE Volatility Index (VIX)   BUY     4/4/2013     1     14.3
CBOE Volatility Index (VIX)   BUY     4/5/2013     2     14.3
CBOE Volatility Index (VIX)   BUY     4/5/2013   28      14.3
CBOE Volatility Index (VIX)   SELL    4/8/2013   -30     13.6
CBOE Volatility Index (VIX)   SELL    4/8/2013   -15    13.65
CBOE Volatility Index (VIX)   SELL    4/8/2013    -9    13.65
CBOE Volatility Index (VIX)   SELL    4/8/2013    -4    13.65
CBOE Volatility Index (VIX)   SELL    4/8/2013    -3    13.65
CBOE Volatility Index (VIX)   BUY     4/8/2013     2    13.65
CBOE Volatility Index (VIX)   BUY     4/8/2013     2     13.7
CBOE Volatility Index (VIX)   BUY     4/9/2013     1    13.65
CBOE Volatility Index (VIX)   SELL   4/10/2013    -9    13.05
CBOE Volatility Index (VIX)   SELL   4/10/2013    -6    13.05
CBOE Volatility Index (VIX)   SELL   4/11/2013    -5    13.15
CBOE Volatility Index (VIX)   BUY    4/11/2013     7     13.2
CBOE Volatility Index (VIX)   SELL   4/12/2013   -42     12.7
CBOE Volatility Index (VIX)   SELL   4/12/2013   -35     12.8
CBOE Volatility Index (VIX)   SELL   4/12/2013   -26     12.7
CBOE Volatility Index (VIX)   SELL   4/12/2013   -21     12.7
CBOE Volatility Index (VIX)   SELL   4/12/2013   -18     12.8
CBOE Volatility Index (VIX)   SELL   4/12/2013   -17     12.8
CBOE Volatility Index (VIX)   SELL   4/12/2013   -15     12.7
CBOE Volatility Index (VIX)   SELL   4/12/2013   -13     12.8
CBOE Volatility Index (VIX)   SELL   4/12/2013    -8    12.75
CBOE Volatility Index (VIX)   SELL   4/12/2013    -8    12.75
CBOE Volatility Index (VIX)   SELL   4/12/2013    -6     12.8
CBOE Volatility Index (VIX)   SELL   4/12/2013    -6     12.8
CBOE Volatility Index (VIX)   SELL   4/12/2013    -5     12.8
CBOE Volatility Index (VIX)   SELL   4/12/2013    -4     12.8
CBOE Volatility Index (VIX)   SELL   4/12/2013    -4     12.8
CBOE Volatility Index (VIX)   BUY    4/12/2013     4     12.8
CBOE Volatility Index (VIX)   BUY    4/12/2013     7     12.8
CBOE Volatility Index (VIX)   BUY    4/12/2013   13      12.8
CBOE Volatility Index (VIX)   BUY    4/12/2013   13      12.8
CBOE Volatility Index (VIX)   BUY    4/12/2013   16      12.8
CBOE Volatility Index (VIX)   BUY    4/12/2013   30     12.75
CBOE Volatility Index (VIX)   BUY    4/12/2013   35     12.75
CBOE Volatility Index (VIX)   BUY    4/12/2013   50      12.8
CBOE Volatility Index (VIX)   BUY    4/12/2013   61     12.75
CBOE Volatility Index (VIX)   BUY    4/12/2013   69      12.8
CBOE Volatility Index (VIX)   BUY    4/15/2013     1     14.4
CBOE Volatility Index (VIX)   BUY    4/15/2013     1    14.45
CBOE Volatility Index (VIX)   BUY    4/15/2013     1    14.55
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CBOE Volatility Index (VIX)   BUY   4/15/2013    1       15.1
CBOE Volatility Index (VIX)   BUY   4/15/2013    2      14.65
CBOE Volatility Index (VIX)   BUY   4/15/2013    2      14.55
CBOE Volatility Index (VIX)   BUY   4/15/2013    3      15.25
CBOE Volatility Index (VIX)   BUY   4/15/2013    3       14.7
CBOE Volatility Index (VIX)   BUY   4/15/2013    4       15.5
CBOE Volatility Index (VIX)   BUY   4/15/2013    4        16
CBOE Volatility Index (VIX)   BUY   4/15/2013    4      16.05
CBOE Volatility Index (VIX)   BUY   4/15/2013    4      14.85
CBOE Volatility Index (VIX)   BUY   4/15/2013    4      14.85
CBOE Volatility Index (VIX)   BUY   4/15/2013    4      14.85
CBOE Volatility Index (VIX)   BUY   4/15/2013    5       14.8
CBOE Volatility Index (VIX)   BUY   4/15/2013    5        15
CBOE Volatility Index (VIX)   BUY   4/15/2013    5       16.4
CBOE Volatility Index (VIX)   BUY   4/15/2013    5      14.65
CBOE Volatility Index (VIX)   BUY   4/15/2013    5      14.85
CBOE Volatility Index (VIX)   BUY   4/15/2013    5      14.95
CBOE Volatility Index (VIX)   BUY   4/15/2013    5       15.2
CBOE Volatility Index (VIX)   BUY   4/15/2013    5       15.6
CBOE Volatility Index (VIX)   BUY   4/15/2013    6       14.2
CBOE Volatility Index (VIX)   BUY   4/15/2013    6      14.35
CBOE Volatility Index (VIX)   BUY   4/15/2013    6      14.75
CBOE Volatility Index (VIX)   BUY   4/15/2013    6      14.85
CBOE Volatility Index (VIX)   BUY   4/15/2013    6      15.85
CBOE Volatility Index (VIX)   BUY   4/15/2013    6      16.15
CBOE Volatility Index (VIX)   BUY   4/15/2013    6       14.4
CBOE Volatility Index (VIX)   BUY   4/15/2013    6      14.75
CBOE Volatility Index (VIX)   BUY   4/15/2013    6       15.6
CBOE Volatility Index (VIX)   BUY   4/15/2013    7       14.8
CBOE Volatility Index (VIX)   BUY   4/15/2013    7      15.15
CBOE Volatility Index (VIX)   BUY   4/15/2013    7       15.1
CBOE Volatility Index (VIX)   BUY   4/15/2013    8      14.95
CBOE Volatility Index (VIX)   BUY   4/15/2013    8      15.75
CBOE Volatility Index (VIX)   BUY   4/15/2013    8      14.85
CBOE Volatility Index (VIX)   BUY   4/15/2013    8       15.8
CBOE Volatility Index (VIX)   BUY   4/15/2013    9      14.45
CBOE Volatility Index (VIX)   BUY   4/15/2013    9       14.5
CBOE Volatility Index (VIX)   BUY   4/15/2013    9       15.2
CBOE Volatility Index (VIX)   BUY   4/15/2013    9       15.6
CBOE Volatility Index (VIX)   BUY   4/15/2013    10     14.85
CBOE Volatility Index (VIX)   BUY   4/15/2013    11      14.4
CBOE Volatility Index (VIX)   BUY   4/15/2013    11     14.95
CBOE Volatility Index (VIX)   BUY   4/15/2013    12      14.3
CBOE Volatility Index (VIX)   BUY   4/15/2013    13     16.45
CBOE Volatility Index (VIX)   BUY   4/15/2013    15      15.6
CBOE Volatility Index (VIX)   BUY   4/15/2013    15      15.6
CBOE Volatility Index (VIX)   BUY   4/15/2013    17      15.8
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CBOE Volatility Index (VIX)   BUY    4/15/2013    18    16.35
CBOE Volatility Index (VIX)   BUY    4/15/2013    21    15.65
CBOE Volatility Index (VIX)   BUY    4/15/2013    25     15.1
CBOE Volatility Index (VIX)   BUY    4/15/2013    26     15.7
CBOE Volatility Index (VIX)   BUY    4/15/2013    27    14.55
CBOE Volatility Index (VIX)   BUY    4/15/2013    30    14.25
CBOE Volatility Index (VIX)   BUY    4/15/2013    30     15.2
CBOE Volatility Index (VIX)   BUY    4/15/2013    35     15.9
CBOE Volatility Index (VIX)   BUY    4/15/2013    36     14.3
CBOE Volatility Index (VIX)   BUY    4/15/2013    42    15.75
CBOE Volatility Index (VIX)   BUY    4/15/2013    64     14.5
CBOE Volatility Index (VIX)   BUY    4/15/2013    85    14.45
CBOE Volatility Index (VIX)   SELL   4/15/2013   -121     15
CBOE Volatility Index (VIX)   SELL   4/15/2013    -86   15.65
CBOE Volatility Index (VIX)   SELL   4/15/2013    -73   15.05
CBOE Volatility Index (VIX)   SELL   4/15/2013    -45   15.25
CBOE Volatility Index (VIX)   SELL   4/15/2013    -39    14.9
CBOE Volatility Index (VIX)   SELL   4/15/2013    -37   15.75
CBOE Volatility Index (VIX)   SELL   4/15/2013    -33    15.8
CBOE Volatility Index (VIX)   SELL   4/15/2013    -32   14.95
CBOE Volatility Index (VIX)   SELL   4/15/2013    -30   15.15
CBOE Volatility Index (VIX)   SELL   4/15/2013    -26    15.1
CBOE Volatility Index (VIX)   SELL   4/15/2013    -20    15.3
CBOE Volatility Index (VIX)   SELL   4/15/2013    -19    15.7
CBOE Volatility Index (VIX)   SELL   4/15/2013    -19    14.9
CBOE Volatility Index (VIX)   SELL   4/15/2013    -18     15
CBOE Volatility Index (VIX)   SELL   4/15/2013    -17   15.75
CBOE Volatility Index (VIX)   SELL   4/15/2013    -14   15.35
CBOE Volatility Index (VIX)   SELL   4/15/2013    -14   15.55
CBOE Volatility Index (VIX)   SELL   4/15/2013    -14    14.8
CBOE Volatility Index (VIX)   SELL   4/15/2013    -14    15.1
CBOE Volatility Index (VIX)   SELL   4/15/2013    -11    15.2
CBOE Volatility Index (VIX)   SELL   4/15/2013    -11    15.6
CBOE Volatility Index (VIX)   SELL   4/15/2013    -10    15.4
CBOE Volatility Index (VIX)   SELL   4/15/2013     -9    14.8
CBOE Volatility Index (VIX)   SELL   4/15/2013     -9    14.8
CBOE Volatility Index (VIX)   SELL   4/15/2013     -8   15.75
CBOE Volatility Index (VIX)   SELL   4/15/2013     -8     16
CBOE Volatility Index (VIX)   SELL   4/15/2013     -6   14.85
CBOE Volatility Index (VIX)   SELL   4/15/2013     -6    16.3
CBOE Volatility Index (VIX)   SELL   4/15/2013     -4   15.85
CBOE Volatility Index (VIX)   SELL   4/15/2013     -2    15.5
CBOE Volatility Index (VIX)   SELL   4/15/2013     -2    15.9
CBOE Volatility Index (VIX)   SELL   4/15/2013     -2   16.05
CBOE Volatility Index (VIX)   SELL   4/15/2013     -2   16.15
CBOE Volatility Index (VIX)   SELL   4/15/2013     -2    16.2
CBOE Volatility Index (VIX)   SELL   4/15/2013     -1   15.85
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CBOE Volatility Index (VIX)   BUY    4/15/2013      2    16.5
CBOE Volatility Index (VIX)   BUY    4/15/2013      6    16.5
CBOE Volatility Index (VIX)   BUY    4/15/2013      9   16.45
CBOE Volatility Index (VIX)   BUY    4/15/2013      9    16.5
CBOE Volatility Index (VIX)   BUY    4/15/2013    10     16.5
CBOE Volatility Index (VIX)   BUY    4/15/2013    11     16.5
CBOE Volatility Index (VIX)   BUY    4/15/2013    11     16.5
CBOE Volatility Index (VIX)   BUY    4/15/2013    14    16.45
CBOE Volatility Index (VIX)   BUY    4/15/2013    14     16.5
CBOE Volatility Index (VIX)   BUY    4/15/2013    14     16.5
CBOE Volatility Index (VIX)   BUY    4/15/2013    14     16.4
CBOE Volatility Index (VIX)   BUY    4/15/2013    17    16.55
CBOE Volatility Index (VIX)   BUY    4/15/2013    18    16.45
CBOE Volatility Index (VIX)   BUY    4/15/2013    19     16.5
CBOE Volatility Index (VIX)   BUY    4/15/2013    19     16.5
CBOE Volatility Index (VIX)   BUY    4/15/2013    20     16.5
CBOE Volatility Index (VIX)   BUY    4/15/2013    26     16.5
CBOE Volatility Index (VIX)   BUY    4/15/2013    30     16.5
CBOE Volatility Index (VIX)   BUY    4/15/2013    32     16.4
CBOE Volatility Index (VIX)   BUY    4/15/2013    37     16.5
CBOE Volatility Index (VIX)   BUY    4/15/2013    39     16.4
CBOE Volatility Index (VIX)   BUY    4/15/2013    45     16.5
CBOE Volatility Index (VIX)   BUY    4/15/2013    73    16.45
CBOE Volatility Index (VIX)   BUY    4/15/2013    86     16.5
CBOE Volatility Index (VIX)   BUY    4/15/2013    121    16.4
CBOE Volatility Index (VIX)   SELL   4/16/2013   -379    14.6
CBOE Volatility Index (VIX)   SELL   4/16/2013   -180    14.6
CBOE Volatility Index (VIX)   SELL   4/16/2013    -26    14.6
CBOE Volatility Index (VIX)   BUY    4/16/2013      4   14.65
CBOE Volatility Index (VIX)   BUY    4/16/2013      8   14.65
CBOE Volatility Index (VIX)   BUY    4/16/2013    33    14.65
CBOE Volatility Index (VIX)   BUY    4/17/2013      1    16.3
CBOE Volatility Index (VIX)   BUY    4/17/2013      2   16.35
CBOE Volatility Index (VIX)   BUY    4/17/2013      2    16.3
CBOE Volatility Index (VIX)   BUY    4/17/2013      2    16.3
CBOE Volatility Index (VIX)   BUY    4/17/2013      2    16.3
CBOE Volatility Index (VIX)   BUY    4/17/2013      2    16.3
CBOE Volatility Index (VIX)   BUY    4/17/2013      3   16.35
CBOE Volatility Index (VIX)   BUY    4/17/2013      6   16.35
CBOE Volatility Index (VIX)   BUY    4/17/2013      8    16.3
CBOE Volatility Index (VIX)   BUY    4/17/2013    26    16.35
CBOE Volatility Index (VIX)   BUY    4/17/2013    26    16.35
CBOE Volatility Index (VIX)   BUY    4/17/2013    180    16.3
CBOE Volatility Index (VIX)   BUY    4/17/2013    379   16.35
CBOE Volatility Index (VIX)   SELL   4/18/2013     -3   17.05
CBOE Volatility Index (VIX)   SELL   4/18/2013     -2    17.1
CBOE Volatility Index (VIX)   BUY    4/18/2013    54     17.1
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CBOE Volatility Index (VIX)   SELL   4/19/2013   -184   15.95
CBOE Volatility Index (VIX)   SELL   4/19/2013   -114   15.95
CBOE Volatility Index (VIX)   SELL   4/19/2013    -54   15.95
CBOE Volatility Index (VIX)   SELL   4/19/2013    -49   15.95
CBOE Volatility Index (VIX)   SELL   4/19/2013    -26   15.95
CBOE Volatility Index (VIX)   SELL   4/19/2013    -24   15.95
CBOE Volatility Index (VIX)   SELL   4/19/2013    -23   15.95
CBOE Volatility Index (VIX)   SELL   4/19/2013    -20   15.95
CBOE Volatility Index (VIX)   SELL   4/19/2013    -19   15.95
CBOE Volatility Index (VIX)   SELL   4/19/2013    -15   15.95
CBOE Volatility Index (VIX)   SELL   4/19/2013    -12   15.95
CBOE Volatility Index (VIX)   SELL   4/19/2013    -12   15.95
CBOE Volatility Index (VIX)   SELL   4/19/2013    -10   15.95
CBOE Volatility Index (VIX)   SELL   4/19/2013     -5   15.95
CBOE Volatility Index (VIX)   SELL   4/19/2013     -4   15.95
CBOE Volatility Index (VIX)   SELL   4/19/2013     -4   15.95
CBOE Volatility Index (VIX)   BUY    4/19/2013    23      16
CBOE Volatility Index (VIX)   BUY    4/19/2013    49    15.95
CBOE Volatility Index (VIX)   SELL   4/22/2013    -23    15.3
CBOE Volatility Index (VIX)   SELL   4/22/2013    -20    15.3
CBOE Volatility Index (VIX)   SELL   4/23/2013    -22    14.5
CBOE Volatility Index (VIX)   SELL   4/23/2013     -3    14.5
CBOE Volatility Index (VIX)   SELL   4/24/2013     -8    14.6
CBOE Volatility Index (VIX)   SELL   4/24/2013     -6    14.6
CBOE Volatility Index (VIX)   SELL   4/24/2013     -2    14.6
CBOE Volatility Index (VIX)   SELL   4/25/2013    -28   14.75
CBOE Volatility Index (VIX)   BUY    4/25/2013    20     14.8
CBOE Volatility Index (VIX)   SELL   4/26/2013    -12    14.8
CBOE Volatility Index (VIX)   BUY    4/26/2013    12    14.85
CBOE Volatility Index (VIX)   SELL   4/29/2013    -13    14.7
CBOE Volatility Index (VIX)   BUY    4/29/2013    24    14.75
CBOE Volatility Index (VIX)   SELL   4/30/2013    -19   14.45
CBOE Volatility Index (VIX)   SELL   4/30/2013    -14   14.45
CBOE Volatility Index (VIX)   SELL    5/1/2013     -9   15.15
CBOE Volatility Index (VIX)   BUY     5/1/2013      4   15.15
CBOE Volatility Index (VIX)   BUY     5/1/2013      4    15.2
CBOE Volatility Index (VIX)   SELL    5/2/2013    -21    14.5
CBOE Volatility Index (VIX)   SELL    5/2/2013    -11    14.5
CBOE Volatility Index (VIX)   SELL    5/3/2013    -12    14.2
CBOE Volatility Index (VIX)   BUY     5/3/2013    12    14.25
CBOE Volatility Index (VIX)   SELL    5/6/2013    -16    13.9
CBOE Volatility Index (VIX)   SELL    5/6/2013    -13    13.9
CBOE Volatility Index (VIX)   BUY     5/7/2013    114   13.85
CBOE Volatility Index (VIX)   BUY     5/7/2013    184   13.85
CBOE Volatility Index (VIX)   SELL    5/8/2013     -9   13.95
CBOE Volatility Index (VIX)   BUY     5/8/2013    10      14
CBOE Volatility Index (VIX)   SELL    5/9/2013    -10   14.15
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CBOE Volatility Index (VIX)   SELL    5/9/2013    -4    14.15
CBOE Volatility Index (VIX)   SELL   5/10/2013    -9    13.85
CBOE Volatility Index (VIX)   SELL   5/10/2013    -5    13.85
CBOE Volatility Index (VIX)   SELL   5/10/2013    -4     13.8
CBOE Volatility Index (VIX)   SELL   5/13/2013   -10    13.65
CBOE Volatility Index (VIX)   SELL   5/13/2013    -7    13.65
CBOE Volatility Index (VIX)   SELL   5/14/2013   -11     13.5
CBOE Volatility Index (VIX)   BUY    5/14/2013   15     13.55
CBOE Volatility Index (VIX)   SELL   5/15/2013   -10    13.65
CBOE Volatility Index (VIX)   BUY    5/15/2013     5     13.7
CBOE Volatility Index (VIX)   SELL   5/16/2013   -11    13.85
CBOE Volatility Index (VIX)   SELL   5/16/2013    -3    13.85
CBOE Volatility Index (VIX)   SELL   5/17/2013   -14    13.15
CBOE Volatility Index (VIX)   SELL   5/17/2013    -4    13.15
CBOE Volatility Index (VIX)   BUY    5/20/2013     2     13.3
CBOE Volatility Index (VIX)   BUY    5/20/2013     3     13.3
CBOE Volatility Index (VIX)   BUY    5/20/2013     3     13.4
CBOE Volatility Index (VIX)   BUY    5/20/2013     4    13.35
CBOE Volatility Index (VIX)   BUY    5/20/2013     4    13.35
CBOE Volatility Index (VIX)   BUY    5/20/2013     4     13.4
CBOE Volatility Index (VIX)   BUY    5/20/2013     5     13.4
CBOE Volatility Index (VIX)   BUY    5/20/2013     6    13.35
CBOE Volatility Index (VIX)   BUY    5/20/2013     7     13.4
CBOE Volatility Index (VIX)   BUY    5/20/2013     8    13.35
CBOE Volatility Index (VIX)   BUY    5/20/2013     9    13.35
CBOE Volatility Index (VIX)   BUY    5/20/2013     9    13.35
CBOE Volatility Index (VIX)   BUY    5/20/2013     9     13.4
CBOE Volatility Index (VIX)   BUY    5/20/2013   10     13.35
CBOE Volatility Index (VIX)   BUY    5/20/2013   10      13.4
CBOE Volatility Index (VIX)   BUY    5/20/2013   10      13.4
CBOE Volatility Index (VIX)   BUY    5/20/2013   11     13.35
CBOE Volatility Index (VIX)   BUY    5/20/2013   11      13.4
CBOE Volatility Index (VIX)   BUY    5/20/2013   11      13.4
CBOE Volatility Index (VIX)   BUY    5/20/2013   12     13.35
CBOE Volatility Index (VIX)   BUY    5/20/2013   12     13.35
CBOE Volatility Index (VIX)   BUY    5/20/2013   13     13.35
CBOE Volatility Index (VIX)   BUY    5/20/2013   13     13.35
CBOE Volatility Index (VIX)   BUY    5/20/2013   14     13.35
CBOE Volatility Index (VIX)   BUY    5/20/2013   14      13.4
CBOE Volatility Index (VIX)   BUY    5/20/2013   16     13.35
CBOE Volatility Index (VIX)   BUY    5/20/2013   19      13.3
CBOE Volatility Index (VIX)   BUY    5/20/2013   19     13.35
CBOE Volatility Index (VIX)   BUY    5/20/2013   20      13.3
CBOE Volatility Index (VIX)   BUY    5/20/2013   21     13.35
CBOE Volatility Index (VIX)   BUY    5/20/2013   22      13.3
CBOE Volatility Index (VIX)   BUY    5/20/2013   23      13.3
CBOE Volatility Index (VIX)   BUY    5/20/2013   28     13.35
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CBOE Volatility Index (VIX)   SELL   5/20/2013   -185   15.05
CBOE Volatility Index (VIX)   SELL   5/20/2013    -56     15
CBOE Volatility Index (VIX)   SELL   5/20/2013    -51   15.05
CBOE Volatility Index (VIX)   SELL   5/20/2013    -24    15.1
CBOE Volatility Index (VIX)   SELL   5/20/2013    -21    15.1
CBOE Volatility Index (VIX)   SELL   5/20/2013    -18     15
CBOE Volatility Index (VIX)   SELL   5/20/2013     -8     15
CBOE Volatility Index (VIX)   SELL   5/20/2013     -4     15
CBOE Volatility Index (VIX)   SELL   5/20/2013     -3    15.1
CBOE Volatility Index (VIX)   SELL   5/20/2013     -2     15
CBOE Volatility Index (VIX)   SELL   5/20/2013     -2     15
CBOE Volatility Index (VIX)   SELL   5/20/2013     -2     15
CBOE Volatility Index (VIX)   SELL   5/20/2013     -2    15.1
CBOE Volatility Index (VIX)   SELL   5/20/2013     -2    15.1
CBOE Volatility Index (VIX)   SELL   5/20/2013     -1     15
CBOE Volatility Index (VIX)   SELL   5/20/2013     -1    15.1
CBOE Volatility Index (VIX)   BUY    5/20/2013    18     15.1
CBOE Volatility Index (VIX)   BUY    5/21/2013      2   15.35
CBOE Volatility Index (VIX)   BUY    5/22/2013      4    15.3
CBOE Volatility Index (VIX)   BUY    5/22/2013      8    15.3
CBOE Volatility Index (VIX)   BUY    5/23/2013      2    15.5
CBOE Volatility Index (VIX)   SELL   5/24/2013     -6    15.4
CBOE Volatility Index (VIX)   SELL   5/24/2013     -6    15.4
CBOE Volatility Index (VIX)   SELL   5/28/2013     -6   15.15
CBOE Volatility Index (VIX)   SELL   5/28/2013     -5   15.15
CBOE Volatility Index (VIX)   SELL   5/28/2013     -5   15.15
CBOE Volatility Index (VIX)   SELL   5/28/2013     -3   15.15
CBOE Volatility Index (VIX)   SELL   5/29/2013     -9   15.25
CBOE Volatility Index (VIX)   SELL   5/29/2013     -3   15.25
CBOE Volatility Index (VIX)   SELL   5/29/2013     -2   15.25
CBOE Volatility Index (VIX)   SELL   5/30/2013    -10   15.35
CBOE Volatility Index (VIX)   SELL   5/30/2013     -2   15.35
CBOE Volatility Index (VIX)   SELL   5/30/2013     -1   15.35
CBOE Volatility Index (VIX)   BUY    5/31/2013      1    16.1
CBOE Volatility Index (VIX)   BUY    5/31/2013      2   16.15
CBOE Volatility Index (VIX)   BUY    5/31/2013    21    16.15
CBOE Volatility Index (VIX)   BUY    5/31/2013    51    16.15
CBOE Volatility Index (VIX)   BUY    5/31/2013    56     16.1
CBOE Volatility Index (VIX)   BUY    5/31/2013    185    16.1
CBOE Volatility Index (VIX)   SELL    6/3/2013     -3    15.9
CBOE Volatility Index (VIX)   BUY     6/3/2013      2   15.95
CBOE Volatility Index (VIX)   BUY     6/4/2013      1    16.1
CBOE Volatility Index (VIX)   BUY     6/4/2013      2   16.15
CBOE Volatility Index (VIX)   SELL    6/5/2013    -11   16.95
CBOE Volatility Index (VIX)   BUY     6/5/2013    24      17
CBOE Volatility Index (VIX)   BUY     6/6/2013      3   16.45
CBOE Volatility Index (VIX)   BUY     6/6/2013      3   16.45
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CBOE Volatility Index (VIX)   BUY     6/6/2013      5   16.45
CBOE Volatility Index (VIX)   BUY     6/6/2013      6   16.45
CBOE Volatility Index (VIX)   BUY     6/6/2013      6   16.45
CBOE Volatility Index (VIX)   BUY     6/6/2013      6   16.45
CBOE Volatility Index (VIX)   SELL    6/7/2013   -172    15.7
CBOE Volatility Index (VIX)   SELL    6/7/2013   -149    15.7
CBOE Volatility Index (VIX)   SELL    6/7/2013     -1    15.7
CBOE Volatility Index (VIX)   BUY     6/7/2013      3   15.75
CBOE Volatility Index (VIX)   BUY     6/7/2013      5   15.75
CBOE Volatility Index (VIX)   SELL   6/10/2013     -7   15.55
CBOE Volatility Index (VIX)   SELL   6/10/2013     -1   15.55
CBOE Volatility Index (VIX)   BUY    6/10/2013      9    15.6
CBOE Volatility Index (VIX)   BUY    6/11/2013      1    16.8
CBOE Volatility Index (VIX)   BUY    6/11/2013      1   16.85
CBOE Volatility Index (VIX)   BUY    6/11/2013      2    16.8
CBOE Volatility Index (VIX)   BUY    6/11/2013      2   16.85
CBOE Volatility Index (VIX)   BUY    6/11/2013      3   16.85
CBOE Volatility Index (VIX)   BUY    6/11/2013      7   16.85
CBOE Volatility Index (VIX)   BUY    6/11/2013    10    16.85
CBOE Volatility Index (VIX)   BUY    6/11/2013    11    16.85
CBOE Volatility Index (VIX)   BUY    6/11/2013    149    16.8
CBOE Volatility Index (VIX)   BUY    6/11/2013    172   16.85
CBOE Volatility Index (VIX)   SELL   6/12/2013    -18   18.15
CBOE Volatility Index (VIX)   BUY    6/12/2013      1    18.2
CBOE Volatility Index (VIX)   BUY    6/12/2013    18     18.2
CBOE Volatility Index (VIX)   SELL   6/13/2013    -39   16.65
CBOE Volatility Index (VIX)   SELL   6/13/2013    -35   16.65
CBOE Volatility Index (VIX)   SELL   6/13/2013    -28   16.65
CBOE Volatility Index (VIX)   SELL   6/13/2013    -23   16.65
CBOE Volatility Index (VIX)   SELL   6/13/2013    -22   16.65
CBOE Volatility Index (VIX)   SELL   6/13/2013    -19   16.65
CBOE Volatility Index (VIX)   SELL   6/13/2013    -16   16.65
CBOE Volatility Index (VIX)   SELL   6/13/2013    -16   16.65
CBOE Volatility Index (VIX)   SELL   6/13/2013    -15   16.65
CBOE Volatility Index (VIX)   SELL   6/13/2013    -14   16.65
CBOE Volatility Index (VIX)   SELL   6/13/2013    -14   16.65
CBOE Volatility Index (VIX)   SELL   6/13/2013    -10   16.65
CBOE Volatility Index (VIX)   SELL   6/13/2013     -9   16.65
CBOE Volatility Index (VIX)   SELL   6/13/2013     -7   16.65
CBOE Volatility Index (VIX)   SELL   6/13/2013     -6   16.65
CBOE Volatility Index (VIX)   SELL   6/13/2013     -5   16.65
CBOE Volatility Index (VIX)   SELL   6/13/2013     -2   16.65
CBOE Volatility Index (VIX)   BUY    6/13/2013    14     16.7
CBOE Volatility Index (VIX)   BUY    6/14/2013    19    17.55
CBOE Volatility Index (VIX)   BUY    6/14/2013    39    17.55
CBOE Volatility Index (VIX)   BUY    6/17/2013      2   17.45
CBOE Volatility Index (VIX)   BUY    6/17/2013      5    17.5
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CBOE Volatility Index (VIX)   BUY    6/17/2013     6    17.35
CBOE Volatility Index (VIX)   BUY    6/17/2013     7     17.1
CBOE Volatility Index (VIX)   BUY    6/17/2013     9     17.4
CBOE Volatility Index (VIX)   BUY    6/17/2013   10      16.8
CBOE Volatility Index (VIX)   BUY    6/17/2013   14     17.15
CBOE Volatility Index (VIX)   BUY    6/17/2013   15      17.2
CBOE Volatility Index (VIX)   BUY    6/17/2013   16     16.95
CBOE Volatility Index (VIX)   BUY    6/17/2013   16      17.3
CBOE Volatility Index (VIX)   BUY    6/17/2013   22     17.05
CBOE Volatility Index (VIX)   BUY    6/17/2013   23       17
CBOE Volatility Index (VIX)   BUY    6/17/2013   28     17.25
CBOE Volatility Index (VIX)   BUY    6/17/2013   35      16.9
CBOE Volatility Index (VIX)   SELL   6/17/2013   -54      18
CBOE Volatility Index (VIX)   SELL   6/17/2013   -22     17.8
CBOE Volatility Index (VIX)   SELL   6/17/2013   -21    17.85
CBOE Volatility Index (VIX)   SELL   6/17/2013   -20    17.95
CBOE Volatility Index (VIX)   SELL   6/17/2013   -17     18.1
CBOE Volatility Index (VIX)   SELL   6/17/2013   -13    18.05
CBOE Volatility Index (VIX)   SELL   6/17/2013   -10     17.7
CBOE Volatility Index (VIX)   SELL   6/17/2013   -10    17.85
CBOE Volatility Index (VIX)   SELL   6/17/2013    -9     17.9
CBOE Volatility Index (VIX)   SELL   6/17/2013    -7    17.75
CBOE Volatility Index (VIX)   SELL   6/17/2013    -7     17.8
CBOE Volatility Index (VIX)   SELL   6/17/2013    -7     17.8
CBOE Volatility Index (VIX)   SELL   6/17/2013    -6     17.8
CBOE Volatility Index (VIX)   SELL   6/17/2013    -2     17.8
CBOE Volatility Index (VIX)   SELL   6/17/2013    -2    17.85
CBOE Volatility Index (VIX)   SELL   6/17/2013    -1    18.15
CBOE Volatility Index (VIX)   BUY    6/17/2013     6     17.8
CBOE Volatility Index (VIX)   BUY    6/17/2013     7     17.8
CBOE Volatility Index (VIX)   BUY    6/17/2013     7     17.8
CBOE Volatility Index (VIX)   BUY    6/17/2013   10      17.8
CBOE Volatility Index (VIX)   BUY    6/18/2013     2    17.65
CBOE Volatility Index (VIX)   SELL   6/19/2013    -8    17.55
CBOE Volatility Index (VIX)   BUY    6/19/2013   22      17.6
CBOE Volatility Index (VIX)   BUY    6/20/2013     1     19.6
CBOE Volatility Index (VIX)   BUY    6/20/2013     2    19.55
CBOE Volatility Index (VIX)   BUY    6/20/2013     7    19.55
CBOE Volatility Index (VIX)   BUY    6/20/2013     8     19.6
CBOE Volatility Index (VIX)   BUY    6/20/2013     9     19.6
CBOE Volatility Index (VIX)   BUY    6/20/2013   10      19.6
CBOE Volatility Index (VIX)   BUY    6/20/2013   13      19.6
CBOE Volatility Index (VIX)   BUY    6/20/2013   17      19.6
CBOE Volatility Index (VIX)   BUY    6/20/2013   20      19.6
CBOE Volatility Index (VIX)   BUY    6/20/2013   21      19.6
CBOE Volatility Index (VIX)   BUY    6/20/2013   54      19.6
CBOE Volatility Index (VIX)   BUY    6/20/2013   65      19.6
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CBOE Volatility Index (VIX)   SELL   6/21/2013   -77    18.95
CBOE Volatility Index (VIX)   SELL   6/21/2013   -65    18.95
CBOE Volatility Index (VIX)   SELL   6/21/2013   -19    18.95
CBOE Volatility Index (VIX)   SELL   6/21/2013   -13    18.95
CBOE Volatility Index (VIX)   SELL   6/21/2013    -6    18.95
CBOE Volatility Index (VIX)   SELL   6/21/2013    -6    18.95
CBOE Volatility Index (VIX)   SELL   6/21/2013    -5    18.95
CBOE Volatility Index (VIX)   SELL   6/21/2013    -3    18.95
CBOE Volatility Index (VIX)   SELL   6/21/2013    -2    18.95
CBOE Volatility Index (VIX)   SELL   6/21/2013    -2    18.95
CBOE Volatility Index (VIX)   BUY    6/21/2013     5      19
CBOE Volatility Index (VIX)   BUY    6/24/2013     3    20.15
CBOE Volatility Index (VIX)   BUY    6/24/2013     6    20.15
CBOE Volatility Index (VIX)   SELL   6/25/2013    -4    19.35
CBOE Volatility Index (VIX)   SELL   6/25/2013    -3     19.4
CBOE Volatility Index (VIX)   BUY    6/25/2013     6     19.4
CBOE Volatility Index (VIX)   SELL   6/26/2013    -5    18.85
CBOE Volatility Index (VIX)   BUY    6/26/2013   13      18.9
CBOE Volatility Index (VIX)   SELL   6/27/2013    -6    18.15
CBOE Volatility Index (VIX)   SELL   6/27/2013    -4    18.15
CBOE Volatility Index (VIX)   SELL   6/27/2013    -4     18.1
CBOE Volatility Index (VIX)   SELL   6/27/2013    -2     18.1
CBOE Volatility Index (VIX)   SELL   6/28/2013    -2      18
CBOE Volatility Index (VIX)   BUY    6/28/2013     2    18.05
CBOE Volatility Index (VIX)   SELL    7/1/2013    -6    17.45
CBOE Volatility Index (VIX)   SELL    7/1/2013    -2    17.45
CBOE Volatility Index (VIX)   SELL    7/2/2013   -34    17.55
CBOE Volatility Index (VIX)   SELL    7/2/2013    -8    17.55
CBOE Volatility Index (VIX)   SELL    7/3/2013    -4    17.25
CBOE Volatility Index (VIX)   SELL    7/3/2013    -4    17.25
CBOE Volatility Index (VIX)   SELL    7/3/2013    -4     17.3
CBOE Volatility Index (VIX)   SELL    7/3/2013    -1     17.3
CBOE Volatility Index (VIX)   SELL    7/5/2013   -15    15.95
CBOE Volatility Index (VIX)   SELL    7/5/2013   -11    15.95
CBOE Volatility Index (VIX)   SELL    7/8/2013   -10     15.3
CBOE Volatility Index (VIX)   SELL    7/8/2013    -4     15.3
CBOE Volatility Index (VIX)   SELL    7/8/2013    -4     15.3
CBOE Volatility Index (VIX)   SELL    7/8/2013    -2     15.4
CBOE Volatility Index (VIX)   SELL    7/9/2013   -16    15.05
CBOE Volatility Index (VIX)   SELL    7/9/2013    -5    15.05
CBOE Volatility Index (VIX)   SELL   7/10/2013   -11     14.8
CBOE Volatility Index (VIX)   SELL   7/10/2013    -6     14.8
CBOE Volatility Index (VIX)   SELL   7/10/2013    -1     14.8
CBOE Volatility Index (VIX)   SELL   7/11/2013   -13    14.45
CBOE Volatility Index (VIX)   BUY    7/11/2013     2     14.5
CBOE Volatility Index (VIX)   SELL   7/12/2013    -7     14.6
CBOE Volatility Index (VIX)   SELL   7/12/2013    -4     14.6
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CBOE Volatility Index (VIX)   BUY    7/15/2013      1   14.15
CBOE Volatility Index (VIX)   BUY    7/15/2013      1   14.05
CBOE Volatility Index (VIX)   BUY    7/15/2013      2    14.1
CBOE Volatility Index (VIX)   BUY    7/15/2013      2   14.05
CBOE Volatility Index (VIX)   BUY    7/15/2013      2   14.05
CBOE Volatility Index (VIX)   BUY    7/15/2013      2   14.05
CBOE Volatility Index (VIX)   BUY    7/15/2013      3   14.05
CBOE Volatility Index (VIX)   BUY    7/15/2013      4    14.1
CBOE Volatility Index (VIX)   BUY    7/15/2013      4   14.15
CBOE Volatility Index (VIX)   BUY    7/15/2013      4   14.05
CBOE Volatility Index (VIX)   BUY    7/15/2013      4   14.05
CBOE Volatility Index (VIX)   BUY    7/15/2013      4   14.05
CBOE Volatility Index (VIX)   BUY    7/15/2013      4   14.05
CBOE Volatility Index (VIX)   BUY    7/15/2013      4   14.05
CBOE Volatility Index (VIX)   BUY    7/15/2013      4   14.05
CBOE Volatility Index (VIX)   BUY    7/15/2013      4   14.05
CBOE Volatility Index (VIX)   BUY    7/15/2013      5    14.1
CBOE Volatility Index (VIX)   BUY    7/15/2013      5   14.05
CBOE Volatility Index (VIX)   BUY    7/15/2013      6    14.1
CBOE Volatility Index (VIX)   BUY    7/15/2013      6   14.05
CBOE Volatility Index (VIX)   BUY    7/15/2013      6   14.05
CBOE Volatility Index (VIX)   BUY    7/15/2013      7   14.15
CBOE Volatility Index (VIX)   BUY    7/15/2013      8   14.05
CBOE Volatility Index (VIX)   BUY    7/15/2013    10    14.05
CBOE Volatility Index (VIX)   BUY    7/15/2013    11    14.05
CBOE Volatility Index (VIX)   BUY    7/15/2013    11     14.1
CBOE Volatility Index (VIX)   BUY    7/15/2013    13    14.15
CBOE Volatility Index (VIX)   BUY    7/15/2013    15    14.05
CBOE Volatility Index (VIX)   BUY    7/15/2013    16     14.1
CBOE Volatility Index (VIX)   BUY    7/15/2013    19    14.05
CBOE Volatility Index (VIX)   BUY    7/15/2013    34    14.05
CBOE Volatility Index (VIX)   BUY    7/15/2013    77      14
CBOE Volatility Index (VIX)   SELL   7/15/2013   -138    15.7
CBOE Volatility Index (VIX)   SELL   7/15/2013    -67   15.75
CBOE Volatility Index (VIX)   SELL   7/15/2013    -38   15.65
CBOE Volatility Index (VIX)   SELL   7/15/2013    -35    15.8
CBOE Volatility Index (VIX)   SELL   7/15/2013    -15   15.65
CBOE Volatility Index (VIX)   SELL   7/15/2013     -3   15.65
CBOE Volatility Index (VIX)   SELL   7/15/2013     -1   15.65
CBOE Volatility Index (VIX)   SELL   7/15/2013     -1   15.65
CBOE Volatility Index (VIX)   BUY    7/15/2013    15     15.8
CBOE Volatility Index (VIX)   BUY    7/15/2013    38     15.8
CBOE Volatility Index (VIX)   SELL   7/16/2013     -4   16.15
CBOE Volatility Index (VIX)   SELL   7/17/2013     -3    15.6
CBOE Volatility Index (VIX)   SELL   7/17/2013     -2    15.6
CBOE Volatility Index (VIX)   SELL   7/18/2013     -2   15.45
CBOE Volatility Index (VIX)   SELL   7/18/2013     -2   15.45
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CBOE Volatility Index (VIX)   SELL   7/19/2013    -8     14.9
CBOE Volatility Index (VIX)   SELL   7/19/2013    -2     14.9
CBOE Volatility Index (VIX)   SELL   7/22/2013    -6     14.7
CBOE Volatility Index (VIX)   SELL   7/22/2013    -4     14.7
CBOE Volatility Index (VIX)   SELL   7/23/2013    -7     14.6
CBOE Volatility Index (VIX)   SELL   7/23/2013    -5     14.6
CBOE Volatility Index (VIX)   SELL   7/24/2013    -8    14.75
CBOE Volatility Index (VIX)   SELL   7/24/2013    -3    14.75
CBOE Volatility Index (VIX)   SELL   7/25/2013    -7     14.5
CBOE Volatility Index (VIX)   SELL   7/25/2013    -3     14.5
CBOE Volatility Index (VIX)   SELL   7/26/2013   -10     14.4
CBOE Volatility Index (VIX)   SELL   7/26/2013    -5     14.4
CBOE Volatility Index (VIX)   SELL   7/29/2013    -9     14.6
CBOE Volatility Index (VIX)   SELL   7/29/2013    -3     14.6
CBOE Volatility Index (VIX)   SELL   7/30/2013    -8    14.25
CBOE Volatility Index (VIX)   SELL   7/30/2013    -2    14.25
CBOE Volatility Index (VIX)   SELL   7/31/2013    -6     13.9
CBOE Volatility Index (VIX)   SELL    8/1/2013    -6    13.55
CBOE Volatility Index (VIX)   SELL    8/1/2013    -4    13.55
CBOE Volatility Index (VIX)   SELL    8/2/2013    -2     13.1
CBOE Volatility Index (VIX)   BUY     8/2/2013     1    13.15
CBOE Volatility Index (VIX)   SELL    8/5/2013    -3      13
CBOE Volatility Index (VIX)   SELL    8/5/2013    -3      13
CBOE Volatility Index (VIX)   SELL    8/6/2013    -2    13.35
CBOE Volatility Index (VIX)   SELL    8/6/2013    -1    13.35
CBOE Volatility Index (VIX)   SELL    8/7/2013    -4    13.55
CBOE Volatility Index (VIX)   SELL    8/7/2013    -2    13.55
CBOE Volatility Index (VIX)   SELL    8/8/2013    -6    13.25
CBOE Volatility Index (VIX)   SELL    8/8/2013    -3    13.25
CBOE Volatility Index (VIX)   SELL    8/8/2013    -2    13.25
CBOE Volatility Index (VIX)   SELL    8/9/2013    -2    13.55
CBOE Volatility Index (VIX)   BUY     8/9/2013     1     13.6
CBOE Volatility Index (VIX)   SELL   8/12/2013    -6     13.3
CBOE Volatility Index (VIX)   SELL   8/12/2013    -4     13.3
CBOE Volatility Index (VIX)   SELL   8/12/2013    -1     13.3
CBOE Volatility Index (VIX)   SELL   8/13/2013    -6    13.05
CBOE Volatility Index (VIX)   SELL   8/13/2013    -4    13.05
CBOE Volatility Index (VIX)   SELL   8/13/2013    -2    13.05
CBOE Volatility Index (VIX)   SELL   8/14/2013    -3     13.3
CBOE Volatility Index (VIX)   SELL   8/14/2013    -2    13.25
CBOE Volatility Index (VIX)   SELL   8/14/2013    -2    13.25
CBOE Volatility Index (VIX)   SELL   8/14/2013    -2     13.3
CBOE Volatility Index (VIX)   BUY    8/15/2013     1    14.25
CBOE Volatility Index (VIX)   BUY    8/15/2013     2    14.25
CBOE Volatility Index (VIX)   BUY    8/15/2013     2    14.25
CBOE Volatility Index (VIX)   BUY    8/15/2013     2    14.25
CBOE Volatility Index (VIX)   BUY    8/15/2013     2    14.25
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CBOE Volatility Index (VIX)   BUY    8/15/2013     2    14.25
CBOE Volatility Index (VIX)   BUY    8/15/2013     2    14.25
CBOE Volatility Index (VIX)   BUY    8/15/2013     2    14.25
CBOE Volatility Index (VIX)   BUY    8/15/2013     2    14.25
CBOE Volatility Index (VIX)   BUY    8/15/2013     2    14.25
CBOE Volatility Index (VIX)   BUY    8/15/2013     2    14.25
CBOE Volatility Index (VIX)   BUY    8/15/2013     3    14.25
CBOE Volatility Index (VIX)   BUY    8/15/2013     3    14.25
CBOE Volatility Index (VIX)   BUY    8/15/2013     3    14.25
CBOE Volatility Index (VIX)   BUY    8/15/2013     3    14.25
CBOE Volatility Index (VIX)   BUY    8/15/2013     3    14.25
CBOE Volatility Index (VIX)   BUY    8/15/2013     3    14.25
CBOE Volatility Index (VIX)   BUY    8/15/2013     3    14.25
CBOE Volatility Index (VIX)   BUY    8/15/2013     3    14.25
CBOE Volatility Index (VIX)   BUY    8/15/2013     4    14.25
CBOE Volatility Index (VIX)   BUY    8/15/2013     4    14.25
CBOE Volatility Index (VIX)   BUY    8/15/2013     4    14.25
CBOE Volatility Index (VIX)   BUY    8/15/2013     4    14.25
CBOE Volatility Index (VIX)   BUY    8/15/2013     4    14.25
CBOE Volatility Index (VIX)   BUY    8/15/2013     5    14.25
CBOE Volatility Index (VIX)   BUY    8/15/2013     5    14.25
CBOE Volatility Index (VIX)   BUY    8/15/2013     6    14.25
CBOE Volatility Index (VIX)   BUY    8/15/2013     6    14.25
CBOE Volatility Index (VIX)   BUY    8/15/2013     6    14.25
CBOE Volatility Index (VIX)   BUY    8/15/2013     6    14.25
CBOE Volatility Index (VIX)   BUY    8/15/2013     6    14.25
CBOE Volatility Index (VIX)   BUY    8/15/2013     7    14.25
CBOE Volatility Index (VIX)   BUY    8/15/2013     7    14.25
CBOE Volatility Index (VIX)   BUY    8/15/2013     8    14.25
CBOE Volatility Index (VIX)   BUY    8/15/2013     8    14.25
CBOE Volatility Index (VIX)   BUY    8/15/2013     8    14.25
CBOE Volatility Index (VIX)   BUY    8/15/2013     9    14.25
CBOE Volatility Index (VIX)   BUY    8/15/2013   10     14.25
CBOE Volatility Index (VIX)   BUY    8/15/2013   35     14.25
CBOE Volatility Index (VIX)   BUY    8/15/2013   67     14.25
CBOE Volatility Index (VIX)   BUY    8/15/2013   138    14.25
CBOE Volatility Index (VIX)   SELL   8/16/2013   -77     14.4
CBOE Volatility Index (VIX)   SELL   8/16/2013   -76    14.35
CBOE Volatility Index (VIX)   SELL   8/16/2013   -73    14.35
CBOE Volatility Index (VIX)   SELL   8/16/2013   -56    14.35
CBOE Volatility Index (VIX)   SELL   8/16/2013   -54    14.35
CBOE Volatility Index (VIX)   SELL   8/16/2013   -25    14.35
CBOE Volatility Index (VIX)   SELL   8/16/2013   -12     14.4
CBOE Volatility Index (VIX)   SELL   8/16/2013    -8    14.35
CBOE Volatility Index (VIX)   SELL   8/16/2013    -2     14.4
CBOE Volatility Index (VIX)   BUY    8/16/2013     1     14.4
CBOE Volatility Index (VIX)   BUY    8/16/2013     4     14.4
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CBOE Volatility Index (VIX)   BUY    8/16/2013     6     14.4
CBOE Volatility Index (VIX)   BUY    8/19/2013     2    14.65
CBOE Volatility Index (VIX)   BUY    8/19/2013     2    14.65
CBOE Volatility Index (VIX)   BUY    8/19/2013     2    14.65
CBOE Volatility Index (VIX)   BUY    8/19/2013     2    14.65
CBOE Volatility Index (VIX)   BUY    8/19/2013     2    15.05
CBOE Volatility Index (VIX)   BUY    8/19/2013     3    14.65
CBOE Volatility Index (VIX)   BUY    8/19/2013     8    14.65
CBOE Volatility Index (VIX)   BUY    8/19/2013   12      14.9
CBOE Volatility Index (VIX)   BUY    8/19/2013   25      14.9
CBOE Volatility Index (VIX)   BUY    8/19/2013   54      14.8
CBOE Volatility Index (VIX)   BUY    8/19/2013   56     14.85
CBOE Volatility Index (VIX)   BUY    8/19/2013   73     14.75
CBOE Volatility Index (VIX)   BUY    8/19/2013   76      14.7
CBOE Volatility Index (VIX)   BUY    8/19/2013   77       15
CBOE Volatility Index (VIX)   SELL   8/19/2013   -56     15.8
CBOE Volatility Index (VIX)   SELL   8/19/2013   -51    15.75
CBOE Volatility Index (VIX)   SELL   8/19/2013   -43     15.7
CBOE Volatility Index (VIX)   SELL   8/19/2013   -30    15.85
CBOE Volatility Index (VIX)   SELL   8/19/2013   -22     15.7
CBOE Volatility Index (VIX)   SELL   8/19/2013   -19     15.6
CBOE Volatility Index (VIX)   SELL   8/19/2013   -19    15.65
CBOE Volatility Index (VIX)   SELL   8/19/2013   -15    15.55
CBOE Volatility Index (VIX)   SELL   8/19/2013   -15     15.7
CBOE Volatility Index (VIX)   SELL   8/19/2013   -14    15.55
CBOE Volatility Index (VIX)   SELL   8/19/2013   -14     15.7
CBOE Volatility Index (VIX)   SELL   8/19/2013   -13     15.6
CBOE Volatility Index (VIX)   SELL   8/19/2013   -10    15.65
CBOE Volatility Index (VIX)   SELL   8/19/2013    -8     15.6
CBOE Volatility Index (VIX)   SELL   8/19/2013    -8    15.65
CBOE Volatility Index (VIX)   SELL   8/19/2013    -7    15.65
CBOE Volatility Index (VIX)   SELL   8/19/2013    -7     15.7
CBOE Volatility Index (VIX)   SELL   8/19/2013    -6    15.55
CBOE Volatility Index (VIX)   SELL   8/19/2013    -5    15.65
CBOE Volatility Index (VIX)   SELL   8/19/2013    -4     15.6
CBOE Volatility Index (VIX)   SELL   8/19/2013    -4    15.65
CBOE Volatility Index (VIX)   SELL   8/19/2013    -4     15.7
CBOE Volatility Index (VIX)   SELL   8/19/2013    -3    15.65
CBOE Volatility Index (VIX)   SELL   8/19/2013    -3     15.7
CBOE Volatility Index (VIX)   SELL   8/19/2013    -2    15.65
CBOE Volatility Index (VIX)   SELL   8/19/2013    -2     15.6
CBOE Volatility Index (VIX)   SELL   8/19/2013    -2     15.7
CBOE Volatility Index (VIX)   SELL   8/19/2013    -2     15.7
CBOE Volatility Index (VIX)   SELL   8/19/2013    -1     15.6
CBOE Volatility Index (VIX)   SELL   8/19/2013    -1     15.7
CBOE Volatility Index (VIX)   SELL   8/19/2013    -1     15.7
CBOE Volatility Index (VIX)   SELL   8/19/2013    -1     15.7
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CBOE Volatility Index (VIX)   SELL   8/19/2013    -1     15.7
CBOE Volatility Index (VIX)   SELL   8/19/2013    -1     15.7
CBOE Volatility Index (VIX)   BUY    8/19/2013   14     15.95
CBOE Volatility Index (VIX)   BUY    8/19/2013   15     15.95
CBOE Volatility Index (VIX)   SELL   8/20/2013    -2    15.55
CBOE Volatility Index (VIX)   SELL   8/20/2013    -2     15.6
CBOE Volatility Index (VIX)   BUY    8/20/2013     4     15.6
CBOE Volatility Index (VIX)   BUY    8/20/2013     6     15.6
CBOE Volatility Index (VIX)   BUY    8/20/2013     8    15.65
CBOE Volatility Index (VIX)   SELL   8/21/2013    -1    16.05
CBOE Volatility Index (VIX)   BUY    8/21/2013   13      16.1
CBOE Volatility Index (VIX)   SELL   8/22/2013   -16     15.4
CBOE Volatility Index (VIX)   BUY    8/22/2013     2    15.45
CBOE Volatility Index (VIX)   SELL   8/23/2013   -10    15.15
CBOE Volatility Index (VIX)   BUY    8/26/2013   19     15.85
CBOE Volatility Index (VIX)   BUY    8/27/2013     1    17.15
CBOE Volatility Index (VIX)   BUY    8/27/2013   10     17.15
CBOE Volatility Index (VIX)   BUY    8/27/2013   19     17.15
CBOE Volatility Index (VIX)   BUY    8/28/2013     3    17.35
CBOE Volatility Index (VIX)   BUY    8/28/2013     4    17.35
CBOE Volatility Index (VIX)   BUY    8/28/2013     5     17.3
CBOE Volatility Index (VIX)   BUY    8/28/2013     7     17.3
CBOE Volatility Index (VIX)   BUY    8/29/2013     1    17.35
CBOE Volatility Index (VIX)   BUY    8/29/2013     1     17.4
CBOE Volatility Index (VIX)   BUY    8/29/2013     2     17.4
CBOE Volatility Index (VIX)   BUY    8/29/2013     2     17.4
CBOE Volatility Index (VIX)   BUY    8/29/2013     8    17.35
CBOE Volatility Index (VIX)   BUY    8/30/2013   14      17.5
CBOE Volatility Index (VIX)   BUY    8/30/2013   15     17.55
CBOE Volatility Index (VIX)   BUY    8/30/2013   22     17.55
CBOE Volatility Index (VIX)   BUY     9/3/2013     1    16.85
CBOE Volatility Index (VIX)   BUY     9/3/2013     1     16.9
CBOE Volatility Index (VIX)   BUY     9/3/2013     3    16.85
CBOE Volatility Index (VIX)   SELL    9/4/2013    -6     16.7
CBOE Volatility Index (VIX)   BUY     9/4/2013     7    16.75
CBOE Volatility Index (VIX)   SELL    9/5/2013   -12    16.35
CBOE Volatility Index (VIX)   BUY     9/5/2013     4     16.4
CBOE Volatility Index (VIX)   SELL    9/6/2013    -6    16.45
CBOE Volatility Index (VIX)   BUY     9/6/2013     2     16.5
CBOE Volatility Index (VIX)   SELL    9/9/2013    -9     15.8
CBOE Volatility Index (VIX)   SELL    9/9/2013    -8     15.8
CBOE Volatility Index (VIX)   SELL    9/9/2013    -2    15.85
CBOE Volatility Index (VIX)   SELL   9/10/2013    -9    15.15
CBOE Volatility Index (VIX)   SELL   9/10/2013    -4    15.15
CBOE Volatility Index (VIX)   SELL   9/11/2013   -43     14.5
CBOE Volatility Index (VIX)   SELL   9/11/2013    -2     14.5
CBOE Volatility Index (VIX)   SELL   9/12/2013    -1    14.75
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CBOE Volatility Index (VIX)   BUY    9/12/2013      1    14.8
CBOE Volatility Index (VIX)   SELL   9/13/2013     -7   14.75
CBOE Volatility Index (VIX)   SELL   9/13/2013     -6   14.75
CBOE Volatility Index (VIX)   SELL   9/13/2013     -5   14.75
CBOE Volatility Index (VIX)   BUY    9/16/2013      1    14.7
CBOE Volatility Index (VIX)   BUY    9/16/2013      1    14.7
CBOE Volatility Index (VIX)   BUY    9/16/2013      2    14.7
CBOE Volatility Index (VIX)   BUY    9/16/2013      2    14.7
CBOE Volatility Index (VIX)   BUY    9/16/2013      2    14.7
CBOE Volatility Index (VIX)   BUY    9/16/2013      2    14.7
CBOE Volatility Index (VIX)   BUY    9/16/2013      4    14.7
CBOE Volatility Index (VIX)   BUY    9/16/2013      5    14.7
CBOE Volatility Index (VIX)   BUY    9/16/2013      6    14.7
CBOE Volatility Index (VIX)   BUY    9/16/2013      6    14.7
CBOE Volatility Index (VIX)   BUY    9/16/2013      6   14.75
CBOE Volatility Index (VIX)   BUY    9/16/2013      7   14.75
CBOE Volatility Index (VIX)   BUY    9/16/2013      8    14.7
CBOE Volatility Index (VIX)   BUY    9/16/2013      9    14.7
CBOE Volatility Index (VIX)   BUY    9/16/2013      9    14.7
CBOE Volatility Index (VIX)   BUY    9/16/2013    10     14.7
CBOE Volatility Index (VIX)   BUY    9/16/2013    12     14.7
CBOE Volatility Index (VIX)   BUY    9/16/2013    16     14.7
CBOE Volatility Index (VIX)   BUY    9/16/2013    30     14.7
CBOE Volatility Index (VIX)   BUY    9/16/2013    43    14.65
CBOE Volatility Index (VIX)   BUY    9/16/2013    43     14.7
CBOE Volatility Index (VIX)   BUY    9/16/2013    51    14.65
CBOE Volatility Index (VIX)   BUY    9/16/2013    56     14.7
CBOE Volatility Index (VIX)   SELL   9/16/2013   -116    15.6
CBOE Volatility Index (VIX)   SELL   9/16/2013    -73   15.55
CBOE Volatility Index (VIX)   SELL   9/16/2013    -66   15.65
CBOE Volatility Index (VIX)   SELL   9/16/2013    -38   15.55
CBOE Volatility Index (VIX)   SELL   9/16/2013    -11    15.5
CBOE Volatility Index (VIX)   SELL   9/16/2013     -8   15.55
CBOE Volatility Index (VIX)   SELL   9/16/2013     -5   15.55
CBOE Volatility Index (VIX)   SELL   9/16/2013     -5   15.55
CBOE Volatility Index (VIX)   SELL   9/16/2013     -3    15.5
CBOE Volatility Index (VIX)   SELL   9/16/2013     -3   15.55
CBOE Volatility Index (VIX)   SELL   9/16/2013     -3   15.55
CBOE Volatility Index (VIX)   SELL   9/16/2013     -2   15.55
CBOE Volatility Index (VIX)   SELL   9/16/2013     -1   15.55
CBOE Volatility Index (VIX)   BUY    9/16/2013    11     15.6
CBOE Volatility Index (VIX)   SELL   9/17/2013     -4    15.4
CBOE Volatility Index (VIX)   SELL   9/17/2013     -3    15.4
CBOE Volatility Index (VIX)   SELL   9/17/2013     -3   15.45
CBOE Volatility Index (VIX)   SELL   9/17/2013     -2   15.45
CBOE Volatility Index (VIX)   SELL   9/18/2013    -15    14.7
CBOE Volatility Index (VIX)   SELL   9/18/2013     -2    14.7
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CBOE Volatility Index (VIX)   SELL   9/19/2013    -8    14.65
CBOE Volatility Index (VIX)   SELL   9/19/2013    -4    14.65
CBOE Volatility Index (VIX)   SELL   9/20/2013    -1    14.95
CBOE Volatility Index (VIX)   SELL   9/20/2013    -1      15
CBOE Volatility Index (VIX)   BUY    9/20/2013     1      15
CBOE Volatility Index (VIX)   BUY    9/20/2013     3      15
CBOE Volatility Index (VIX)   BUY    9/20/2013     5    15.05
CBOE Volatility Index (VIX)   SELL   9/23/2013    -1     15.3
CBOE Volatility Index (VIX)   BUY    9/23/2013     8    15.35
CBOE Volatility Index (VIX)   SELL   9/24/2013    -1    15.05
CBOE Volatility Index (VIX)   BUY    9/24/2013     5     15.1
CBOE Volatility Index (VIX)   SELL   9/25/2013   -12      15
CBOE Volatility Index (VIX)   SELL   9/25/2013    -8    15.05
CBOE Volatility Index (VIX)   SELL   9/25/2013    -7    15.05
CBOE Volatility Index (VIX)   SELL   9/25/2013    -7     15.1
CBOE Volatility Index (VIX)   SELL   9/25/2013    -7     15.1
CBOE Volatility Index (VIX)   SELL   9/25/2013    -6      15
CBOE Volatility Index (VIX)   SELL   9/26/2013    -7     14.8
CBOE Volatility Index (VIX)   SELL   9/26/2013    -5     14.8
CBOE Volatility Index (VIX)   SELL   9/26/2013    -2     14.8
CBOE Volatility Index (VIX)   BUY    9/27/2013     2     15.5
CBOE Volatility Index (VIX)   BUY    9/27/2013   38      15.5
CBOE Volatility Index (VIX)   BUY    9/30/2013     1    16.15
CBOE Volatility Index (VIX)   BUY    9/30/2013     1    16.15
CBOE Volatility Index (VIX)   BUY    9/30/2013     1    16.15
CBOE Volatility Index (VIX)   BUY    9/30/2013     1    16.15
CBOE Volatility Index (VIX)   BUY    9/30/2013     2    16.15
CBOE Volatility Index (VIX)   BUY    9/30/2013     2    16.15
CBOE Volatility Index (VIX)   BUY    9/30/2013     3    16.15
CBOE Volatility Index (VIX)   BUY    9/30/2013     3    16.15
CBOE Volatility Index (VIX)   BUY    9/30/2013     3    16.15
CBOE Volatility Index (VIX)   BUY    9/30/2013     3    16.15
CBOE Volatility Index (VIX)   BUY    9/30/2013     4    16.15
CBOE Volatility Index (VIX)   BUY    9/30/2013     4    16.15
CBOE Volatility Index (VIX)   BUY    9/30/2013     5    16.15
CBOE Volatility Index (VIX)   BUY    9/30/2013     6    16.15
CBOE Volatility Index (VIX)   BUY    9/30/2013     7    16.15
CBOE Volatility Index (VIX)   BUY    9/30/2013     7    16.15
CBOE Volatility Index (VIX)   BUY    9/30/2013     7    16.15
CBOE Volatility Index (VIX)   BUY    9/30/2013     7    16.15
CBOE Volatility Index (VIX)   BUY    9/30/2013     8    16.15
CBOE Volatility Index (VIX)   BUY    9/30/2013     8    16.15
CBOE Volatility Index (VIX)   BUY    9/30/2013   12     16.15
CBOE Volatility Index (VIX)   BUY    9/30/2013   15     16.15
CBOE Volatility Index (VIX)   BUY    9/30/2013   66     16.15
CBOE Volatility Index (VIX)   BUY    9/30/2013   73     16.15
CBOE Volatility Index (VIX)   BUY    9/30/2013   116    16.15
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CBOE Volatility Index (VIX)   BUY    10/1/2013      2   15.45
CBOE Volatility Index (VIX)   BUY    10/1/2013      4   15.45
CBOE Volatility Index (VIX)   BUY    10/1/2013    16    15.45
CBOE Volatility Index (VIX)   SELL   10/2/2013    -16    16.3
CBOE Volatility Index (VIX)   SELL   10/2/2013     -7    16.3
CBOE Volatility Index (VIX)   SELL   10/2/2013     -4    16.3
CBOE Volatility Index (VIX)   BUY    10/2/2013      5   16.35
CBOE Volatility Index (VIX)   BUY    10/2/2013      7   16.35
CBOE Volatility Index (VIX)   BUY    10/2/2013    11    16.35
CBOE Volatility Index (VIX)   SELL   10/3/2013    -11    17.2
CBOE Volatility Index (VIX)   BUY    10/3/2013      3   17.25
CBOE Volatility Index (VIX)   BUY    10/3/2013    23    17.25
CBOE Volatility Index (VIX)   BUY    10/4/2013      2   16.75
CBOE Volatility Index (VIX)   BUY    10/4/2013      2   16.75
CBOE Volatility Index (VIX)   BUY    10/4/2013      2   16.75
CBOE Volatility Index (VIX)   BUY    10/4/2013      3   16.75
CBOE Volatility Index (VIX)   BUY    10/4/2013      3   16.75
CBOE Volatility Index (VIX)   BUY    10/4/2013    14    16.75
CBOE Volatility Index (VIX)   SELL   10/7/2013    -23    18.4
CBOE Volatility Index (VIX)   SELL   10/7/2013     -5    18.4
CBOE Volatility Index (VIX)   BUY    10/7/2013      7   18.45
CBOE Volatility Index (VIX)   BUY    10/7/2013    14    18.45
CBOE Volatility Index (VIX)   SELL   10/8/2013     -3    19.3
CBOE Volatility Index (VIX)   SELL   10/8/2013     -2    19.3
CBOE Volatility Index (VIX)   BUY    10/8/2013    20    19.35
CBOE Volatility Index (VIX)   SELL   10/9/2013     -2   18.75
CBOE Volatility Index (VIX)   BUY    10/9/2013      4    18.8
CBOE Volatility Index (VIX)   BUY    10/9/2013    14     18.8
CBOE Volatility Index (VIX)   BUY    10/10/2013     1    16.3
CBOE Volatility Index (VIX)   BUY    10/10/2013     1   16.35
CBOE Volatility Index (VIX)   BUY    10/10/2013     4    16.3
CBOE Volatility Index (VIX)   BUY    10/10/2013   11     16.3
CBOE Volatility Index (VIX)   BUY    10/11/2013     1   15.75
CBOE Volatility Index (VIX)   BUY    10/11/2013     9    15.7
CBOE Volatility Index (VIX)   SELL   10/14/2013   -20    15.9
CBOE Volatility Index (VIX)   SELL   10/14/2013   -14   15.85
CBOE Volatility Index (VIX)   SELL   10/14/2013   -14   15.75
CBOE Volatility Index (VIX)   SELL   10/14/2013   -14   15.95
CBOE Volatility Index (VIX)   SELL   10/14/2013   -11     16
CBOE Volatility Index (VIX)   SELL   10/14/2013    -9    16.1
CBOE Volatility Index (VIX)   SELL   10/14/2013    -7    15.9
CBOE Volatility Index (VIX)   SELL   10/14/2013    -4    15.9
CBOE Volatility Index (VIX)   SELL   10/14/2013    -4   16.05
CBOE Volatility Index (VIX)   SELL   10/14/2013    -3    15.8
CBOE Volatility Index (VIX)   SELL   10/14/2013    -3   15.85
CBOE Volatility Index (VIX)   SELL   10/14/2013    -2   15.75
CBOE Volatility Index (VIX)   SELL   10/14/2013    -1     16
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CBOE Volatility Index (VIX)   SELL   10/14/2013     -1   16.05
CBOE Volatility Index (VIX)   SELL   10/14/2013     -1    16.1
CBOE Volatility Index (VIX)   SELL   10/14/2013   -149   16.65
CBOE Volatility Index (VIX)   SELL   10/14/2013    -30    16.6
CBOE Volatility Index (VIX)   SELL   10/14/2013    -25    16.6
CBOE Volatility Index (VIX)   SELL   10/14/2013    -24    16.6
CBOE Volatility Index (VIX)   SELL   10/14/2013    -19    16.6
CBOE Volatility Index (VIX)   SELL   10/14/2013     -6    16.6
CBOE Volatility Index (VIX)   SELL   10/14/2013     -6   16.65
CBOE Volatility Index (VIX)   SELL   10/14/2013     -6    16.6
CBOE Volatility Index (VIX)   SELL   10/14/2013     -5   16.65
CBOE Volatility Index (VIX)   SELL   10/14/2013     -5    16.6
CBOE Volatility Index (VIX)   SELL   10/14/2013     -1    16.6
CBOE Volatility Index (VIX)   BUY    10/14/2013      1   16.45
CBOE Volatility Index (VIX)   BUY    10/14/2013      5    16.5
CBOE Volatility Index (VIX)   BUY    10/14/2013      5   16.55
CBOE Volatility Index (VIX)   BUY    10/14/2013      6   16.75
CBOE Volatility Index (VIX)   BUY    10/14/2013      6    16.5
CBOE Volatility Index (VIX)   BUY    10/14/2013      6   16.55
CBOE Volatility Index (VIX)   BUY    10/14/2013    24     16.7
CBOE Volatility Index (VIX)   BUY    10/14/2013    25    16.65
CBOE Volatility Index (VIX)   BUY    10/14/2013    30     16.6
CBOE Volatility Index (VIX)   SELL   10/15/2013     -8   17.55
CBOE Volatility Index (VIX)   BUY    10/15/2013      2   17.55
CBOE Volatility Index (VIX)   BUY    10/15/2013      8   17.55
CBOE Volatility Index (VIX)   BUY    10/15/2013    15    17.55
CBOE Volatility Index (VIX)   BUY    10/15/2013    19    17.55
CBOE Volatility Index (VIX)   BUY    10/15/2013    47     17.6
CBOE Volatility Index (VIX)   BUY    10/15/2013    149   17.55
CBOE Volatility Index (VIX)   SELL   10/16/2013    -65   15.55
CBOE Volatility Index (VIX)   SELL   10/16/2013    -57   15.55
CBOE Volatility Index (VIX)   SELL   10/16/2013    -47   15.55
CBOE Volatility Index (VIX)   SELL   10/16/2013    -31   15.55
CBOE Volatility Index (VIX)   SELL   10/16/2013    -18    15.6
CBOE Volatility Index (VIX)   SELL   10/16/2013    -15   15.55
CBOE Volatility Index (VIX)   SELL   10/16/2013    -10   15.55
CBOE Volatility Index (VIX)   SELL   10/16/2013     -6   15.55
CBOE Volatility Index (VIX)   SELL   10/16/2013     -6   15.55
CBOE Volatility Index (VIX)   SELL   10/16/2013     -5   15.55
CBOE Volatility Index (VIX)   SELL   10/16/2013     -2    15.6
CBOE Volatility Index (VIX)   SELL   10/16/2013     -1   15.55
CBOE Volatility Index (VIX)   SELL   10/16/2013     -1   15.55
CBOE Volatility Index (VIX)   SELL   10/16/2013     -1   15.55
CBOE Volatility Index (VIX)   SELL   10/17/2013    -11   14.55
CBOE Volatility Index (VIX)   SELL   10/17/2013     -2   14.55
CBOE Volatility Index (VIX)   SELL   10/18/2013     -1    14.3
CBOE Volatility Index (VIX)   SELL   10/18/2013     -1   14.35
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CBOE Volatility Index (VIX)   BUY    10/18/2013     1    14.4
CBOE Volatility Index (VIX)   SELL   10/21/2013    -2   14.55
CBOE Volatility Index (VIX)   SELL   10/21/2013    -1   14.55
CBOE Volatility Index (VIX)   SELL   10/21/2013    -1    14.6
CBOE Volatility Index (VIX)   SELL   10/22/2013   -11    14.6
CBOE Volatility Index (VIX)   SELL   10/22/2013    -2    14.6
CBOE Volatility Index (VIX)   BUY    10/22/2013     6   14.65
CBOE Volatility Index (VIX)   SELL   10/23/2013    -5   14.65
CBOE Volatility Index (VIX)   SELL   10/24/2013    -7   14.45
CBOE Volatility Index (VIX)   SELL   10/24/2013    -7   14.45
CBOE Volatility Index (VIX)   SELL   10/25/2013    -5   14.45
CBOE Volatility Index (VIX)   SELL   10/25/2013    -1   14.45
CBOE Volatility Index (VIX)   SELL   10/25/2013    -1   14.45
CBOE Volatility Index (VIX)   SELL   10/28/2013    -4    14.5
CBOE Volatility Index (VIX)   SELL   10/28/2013    -2    14.5
CBOE Volatility Index (VIX)   SELL   10/29/2013    -7    14.4
CBOE Volatility Index (VIX)   SELL   10/29/2013    -2    14.4
CBOE Volatility Index (VIX)   SELL   10/30/2013    -9    14.5
CBOE Volatility Index (VIX)   SELL   10/30/2013    -2    14.5
CBOE Volatility Index (VIX)   SELL   10/31/2013    -5    14.5
CBOE Volatility Index (VIX)   SELL   10/31/2013    -3    14.5
CBOE Volatility Index (VIX)   SELL   10/31/2013    -1    14.5
CBOE Volatility Index (VIX)   SELL   11/1/2013    -10    14.4
CBOE Volatility Index (VIX)   SELL   11/1/2013     -3    14.4
CBOE Volatility Index (VIX)   SELL   11/1/2013     -2    14.4
CBOE Volatility Index (VIX)   SELL   11/4/2013    -10    13.9
CBOE Volatility Index (VIX)   SELL   11/4/2013     -8    13.9
CBOE Volatility Index (VIX)   SELL   11/5/2013     -9   13.95
CBOE Volatility Index (VIX)   SELL   11/5/2013     -1   13.95
CBOE Volatility Index (VIX)   SELL   11/6/2013    -12   13.65
CBOE Volatility Index (VIX)   SELL   11/6/2013     -8   13.65
CBOE Volatility Index (VIX)   SELL   11/7/2013     -2   14.15
CBOE Volatility Index (VIX)   SELL   11/7/2013     -1   14.15
CBOE Volatility Index (VIX)   BUY    11/7/2013      1   14.25
CBOE Volatility Index (VIX)   BUY    11/7/2013      5    14.2
CBOE Volatility Index (VIX)   SELL   11/8/2013    -11   13.55
CBOE Volatility Index (VIX)   BUY    11/8/2013      1    13.6
CBOE Volatility Index (VIX)   SELL   11/11/2013    -1   13.25
CBOE Volatility Index (VIX)   SELL   11/11/2013    -1   13.25
CBOE Volatility Index (VIX)   SELL   11/12/2013    -8   13.35
CBOE Volatility Index (VIX)   SELL   11/13/2013    -2    13.2
CBOE Volatility Index (VIX)   BUY    11/13/2013     6   13.25
CBOE Volatility Index (VIX)   SELL   11/14/2013    -8   13.05
CBOE Volatility Index (VIX)   SELL   11/14/2013    -7   13.05
CBOE Volatility Index (VIX)   SELL   11/15/2013    -9   12.95
CBOE Volatility Index (VIX)   SELL   11/15/2013    -6   12.95
CBOE Volatility Index (VIX)   SELL   11/15/2013    -4    12.9
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CBOE Volatility Index (VIX)   SELL   11/15/2013   -2     12.9
CBOE Volatility Index (VIX)   BUY    11/18/2013    1    12.95
CBOE Volatility Index (VIX)   BUY    11/18/2013    1    13.05
CBOE Volatility Index (VIX)   BUY    11/18/2013    1     12.9
CBOE Volatility Index (VIX)   BUY    11/18/2013    1    12.95
CBOE Volatility Index (VIX)   BUY    11/18/2013    1    12.95
CBOE Volatility Index (VIX)   BUY    11/18/2013    1     13.1
CBOE Volatility Index (VIX)   BUY    11/18/2013    1     13.2
CBOE Volatility Index (VIX)   BUY    11/18/2013    1    13.25
CBOE Volatility Index (VIX)   BUY    11/18/2013    1     13.3
CBOE Volatility Index (VIX)   BUY    11/18/2013    1     13.3
CBOE Volatility Index (VIX)   BUY    11/18/2013    1     13.3
CBOE Volatility Index (VIX)   BUY    11/18/2013    2    12.95
CBOE Volatility Index (VIX)   BUY    11/18/2013    2     13.1
CBOE Volatility Index (VIX)   BUY    11/18/2013    2     13.2
CBOE Volatility Index (VIX)   BUY    11/18/2013    2    13.25
CBOE Volatility Index (VIX)   BUY    11/18/2013    2     12.9
CBOE Volatility Index (VIX)   BUY    11/18/2013    2    12.95
CBOE Volatility Index (VIX)   BUY    11/18/2013    2    13.15
CBOE Volatility Index (VIX)   BUY    11/18/2013    2    13.15
CBOE Volatility Index (VIX)   BUY    11/18/2013    2     13.3
CBOE Volatility Index (VIX)   BUY    11/18/2013    2     13.3
CBOE Volatility Index (VIX)   BUY    11/18/2013    3     13.2
CBOE Volatility Index (VIX)   BUY    11/18/2013    3    13.25
CBOE Volatility Index (VIX)   BUY    11/18/2013    4    13.15
CBOE Volatility Index (VIX)   BUY    11/18/2013    4     13.3
CBOE Volatility Index (VIX)   BUY    11/18/2013    5    13.15
CBOE Volatility Index (VIX)   BUY    11/18/2013    5    13.05
CBOE Volatility Index (VIX)   BUY    11/18/2013    5     13.1
CBOE Volatility Index (VIX)   BUY    11/18/2013    6     13.3
CBOE Volatility Index (VIX)   BUY    11/18/2013    7    13.05
CBOE Volatility Index (VIX)   BUY    11/18/2013    7    13.05
CBOE Volatility Index (VIX)   BUY    11/18/2013    7    13.15
CBOE Volatility Index (VIX)   BUY    11/18/2013    7     13.3
CBOE Volatility Index (VIX)   BUY    11/18/2013    8    13.25
CBOE Volatility Index (VIX)   BUY    11/18/2013    8    13.25
CBOE Volatility Index (VIX)   BUY    11/18/2013    8     13.3
CBOE Volatility Index (VIX)   BUY    11/18/2013    8     13.3
CBOE Volatility Index (VIX)   BUY    11/18/2013    9    13.15
CBOE Volatility Index (VIX)   BUY    11/18/2013    9    13.25
CBOE Volatility Index (VIX)   BUY    11/18/2013    9     13.3
CBOE Volatility Index (VIX)   BUY    11/18/2013   10     12.9
CBOE Volatility Index (VIX)   BUY    11/18/2013   10    13.25
CBOE Volatility Index (VIX)   BUY    11/18/2013   10    13.25
CBOE Volatility Index (VIX)   BUY    11/18/2013   11     12.9
CBOE Volatility Index (VIX)   BUY    11/18/2013   11    13.05
CBOE Volatility Index (VIX)   BUY    11/18/2013   11     13.3
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CBOE Volatility Index (VIX)   BUY    11/18/2013    12    13.25
CBOE Volatility Index (VIX)   BUY    11/18/2013    18     12.9
CBOE Volatility Index (VIX)   BUY    11/18/2013    31    12.85
CBOE Volatility Index (VIX)   BUY    11/18/2013    57    12.75
CBOE Volatility Index (VIX)   BUY    11/18/2013    65     12.8
CBOE Volatility Index (VIX)   SELL   11/18/2013   -109   14.35
CBOE Volatility Index (VIX)   SELL   11/18/2013    -63   14.05
CBOE Volatility Index (VIX)   SELL   11/18/2013    -55     14
CBOE Volatility Index (VIX)   SELL   11/18/2013    -37   14.35
CBOE Volatility Index (VIX)   SELL   11/18/2013    -33   14.15
CBOE Volatility Index (VIX)   SELL   11/18/2013    -21    14.2
CBOE Volatility Index (VIX)   SELL   11/18/2013    -18     14
CBOE Volatility Index (VIX)   SELL   11/18/2013    -16    14.1
CBOE Volatility Index (VIX)   SELL   11/18/2013    -16    14.4
CBOE Volatility Index (VIX)   SELL   11/18/2013    -11   14.25
CBOE Volatility Index (VIX)   SELL   11/18/2013    -11     14
CBOE Volatility Index (VIX)   SELL   11/18/2013     -9    14.3
CBOE Volatility Index (VIX)   SELL   11/18/2013     -5    14.3
CBOE Volatility Index (VIX)   SELL   11/18/2013     -4     14
CBOE Volatility Index (VIX)   BUY    11/18/2013    18    14.35
CBOE Volatility Index (VIX)   SELL   11/19/2013     -7    14.5
CBOE Volatility Index (VIX)   SELL   11/19/2013     -2    14.5
CBOE Volatility Index (VIX)   SELL   11/20/2013     -5    14.1
CBOE Volatility Index (VIX)   SELL   11/20/2013     -3    14.1
CBOE Volatility Index (VIX)   SELL   11/20/2013     -1   14.15
CBOE Volatility Index (VIX)   BUY    11/20/2013      4    14.2
CBOE Volatility Index (VIX)   BUY    11/20/2013    11    14.15
CBOE Volatility Index (VIX)   SELL   11/21/2013     -9    13.7
CBOE Volatility Index (VIX)   SELL   11/21/2013     -1    13.7
CBOE Volatility Index (VIX)   SELL   11/21/2013     -1    13.7
CBOE Volatility Index (VIX)   SELL   11/22/2013     -7   13.55
CBOE Volatility Index (VIX)   SELL   11/22/2013     -1   13.55
CBOE Volatility Index (VIX)   SELL   11/25/2013     -6    13.6
CBOE Volatility Index (VIX)   SELL   11/25/2013     -5    13.6
CBOE Volatility Index (VIX)   SELL   11/26/2013     -8    13.7
CBOE Volatility Index (VIX)   SELL   11/26/2013     -4    13.7
CBOE Volatility Index (VIX)   SELL   11/27/2013    -10   13.75
CBOE Volatility Index (VIX)   SELL   11/27/2013     -3   13.75
CBOE Volatility Index (VIX)   SELL   11/29/2013    -15    13.9
CBOE Volatility Index (VIX)   SELL   11/29/2013     -3    13.9
CBOE Volatility Index (VIX)   SELL   12/2/2013      -9    14.2
CBOE Volatility Index (VIX)   SELL   12/2/2013      -2   14.15
CBOE Volatility Index (VIX)   BUY    12/2/2013       2   14.25
CBOE Volatility Index (VIX)   BUY    12/2/2013       5   14.25
CBOE Volatility Index (VIX)   BUY    12/2/2013       5    14.2
CBOE Volatility Index (VIX)   BUY    12/2/2013       7   14.25
CBOE Volatility Index (VIX)   BUY    12/2/2013       9    14.2
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CBOE Volatility Index (VIX)   BUY    12/2/2013    11     14.2
CBOE Volatility Index (VIX)   BUY    12/2/2013    16     14.2
CBOE Volatility Index (VIX)   BUY    12/2/2013    16    14.25
CBOE Volatility Index (VIX)   BUY    12/2/2013    21     14.2
CBOE Volatility Index (VIX)   BUY    12/2/2013    33     14.2
CBOE Volatility Index (VIX)   BUY    12/2/2013    37     14.2
CBOE Volatility Index (VIX)   BUY    12/2/2013    55     14.2
CBOE Volatility Index (VIX)   BUY    12/2/2013    63     14.2
CBOE Volatility Index (VIX)   BUY    12/2/2013    109   14.25
CBOE Volatility Index (VIX)   SELL   12/3/2013   -292    14.6
CBOE Volatility Index (VIX)   SELL   12/3/2013    -31    14.6
CBOE Volatility Index (VIX)   SELL   12/3/2013    -30    14.6
CBOE Volatility Index (VIX)   SELL   12/3/2013     -9    14.6
CBOE Volatility Index (VIX)   SELL   12/3/2013     -8    14.6
CBOE Volatility Index (VIX)   SELL   12/3/2013     -7    14.6
CBOE Volatility Index (VIX)   SELL   12/3/2013     -5    14.6
CBOE Volatility Index (VIX)   SELL   12/3/2013     -2    14.6
CBOE Volatility Index (VIX)   SELL   12/3/2013     -2    14.6
CBOE Volatility Index (VIX)   BUY    12/3/2013      1   14.65
CBOE Volatility Index (VIX)   BUY    12/3/2013      1   14.65
CBOE Volatility Index (VIX)   BUY    12/3/2013      1   14.65
CBOE Volatility Index (VIX)   BUY    12/3/2013      3   14.65
CBOE Volatility Index (VIX)   BUY    12/4/2013      1   14.25
CBOE Volatility Index (VIX)   BUY    12/4/2013      2   14.25
CBOE Volatility Index (VIX)   BUY    12/4/2013      3   14.25
CBOE Volatility Index (VIX)   BUY    12/4/2013      3   14.25
CBOE Volatility Index (VIX)   BUY    12/4/2013      4   14.25
CBOE Volatility Index (VIX)   BUY    12/4/2013      5   14.25
CBOE Volatility Index (VIX)   BUY    12/4/2013      6   14.25
CBOE Volatility Index (VIX)   BUY    12/4/2013      7   14.25
CBOE Volatility Index (VIX)   BUY    12/4/2013      7   14.25
CBOE Volatility Index (VIX)   BUY    12/4/2013      8   14.25
CBOE Volatility Index (VIX)   BUY    12/4/2013      9   14.25
CBOE Volatility Index (VIX)   BUY    12/4/2013      9   14.25
CBOE Volatility Index (VIX)   BUY    12/4/2013    10    14.25
CBOE Volatility Index (VIX)   BUY    12/4/2013    15    14.25
CBOE Volatility Index (VIX)   BUY    12/4/2013    292   14.25
CBOE Volatility Index (VIX)   BUY    12/5/2013      5   14.55
CBOE Volatility Index (VIX)   BUY    12/5/2013      8   14.55
CBOE Volatility Index (VIX)   SELL   12/6/2013   -192   13.85
CBOE Volatility Index (VIX)   SELL   12/6/2013   -176   13.85
CBOE Volatility Index (VIX)   SELL   12/6/2013    -10   13.85
CBOE Volatility Index (VIX)   SELL   12/6/2013     -1   13.85
CBOE Volatility Index (VIX)   BUY    12/6/2013    31     13.9
CBOE Volatility Index (VIX)   SELL   12/9/2013     -5    13.7
CBOE Volatility Index (VIX)   SELL   12/9/2013     -2    13.7
CBOE Volatility Index (VIX)   BUY    12/9/2013      9   13.75
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CBOE Volatility Index (VIX)   BUY    12/10/2013      2    13.9
CBOE Volatility Index (VIX)   BUY    12/10/2013      2   13.95
CBOE Volatility Index (VIX)   BUY    12/10/2013    30     13.9
CBOE Volatility Index (VIX)   BUY    12/10/2013    176    13.9
CBOE Volatility Index (VIX)   BUY    12/10/2013    192   13.95
CBOE Volatility Index (VIX)   SELL   12/11/2013    -10    14.9
CBOE Volatility Index (VIX)   BUY    12/11/2013      1   14.95
CBOE Volatility Index (VIX)   BUY    12/11/2013      5   14.95
CBOE Volatility Index (VIX)   BUY    12/11/2013    10     14.9
CBOE Volatility Index (VIX)   SELL   12/12/2013     -5   15.35
CBOE Volatility Index (VIX)   SELL   12/12/2013     -5   15.35
CBOE Volatility Index (VIX)   BUY    12/12/2013      2    15.4
CBOE Volatility Index (VIX)   BUY    12/12/2013      5    15.4
CBOE Volatility Index (VIX)   BUY    12/12/2013    10     15.4
CBOE Volatility Index (VIX)   BUY    12/13/2013      1   15.55
CBOE Volatility Index (VIX)   BUY    12/13/2013      1   15.55
CBOE Volatility Index (VIX)   BUY    12/13/2013      1   15.55
CBOE Volatility Index (VIX)   BUY    12/13/2013      1   15.55
CBOE Volatility Index (VIX)   BUY    12/13/2013      3   15.55
CBOE Volatility Index (VIX)   BUY    12/13/2013      4   15.55
CBOE Volatility Index (VIX)   BUY    12/13/2013      5   15.55
CBOE Volatility Index (VIX)   SELL   12/16/2013     -4    15.8
CBOE Volatility Index (VIX)   SELL   12/16/2013     -3   15.75
CBOE Volatility Index (VIX)   SELL   12/16/2013     -1    15.6
CBOE Volatility Index (VIX)   SELL   12/16/2013     -1   15.65
CBOE Volatility Index (VIX)   SELL   12/16/2013     -1    15.7
CBOE Volatility Index (VIX)   SELL   12/16/2013     -1   15.75
CBOE Volatility Index (VIX)   SELL   12/16/2013     -8   15.65
CBOE Volatility Index (VIX)   SELL   12/16/2013     -6   15.65
CBOE Volatility Index (VIX)   SELL   12/16/2013     -3   15.65
CBOE Volatility Index (VIX)   SELL   12/16/2013     -2   15.65
CBOE Volatility Index (VIX)   BUY    12/16/2013      2    15.4
CBOE Volatility Index (VIX)   BUY    12/16/2013      2    15.7
CBOE Volatility Index (VIX)   BUY    12/16/2013      3    15.5
CBOE Volatility Index (VIX)   BUY    12/16/2013      6   15.45
CBOE Volatility Index (VIX)   BUY    12/16/2013      8    15.7
CBOE Volatility Index (VIX)   SELL   12/17/2013    -11   15.45
CBOE Volatility Index (VIX)   SELL   12/17/2013     -4   15.45
CBOE Volatility Index (VIX)   SELL   12/17/2013     -3   15.45
CBOE Volatility Index (VIX)   SELL   12/17/2013     -2   15.45
CBOE Volatility Index (VIX)   BUY    12/17/2013    11     15.5
CBOE Volatility Index (VIX)   SELL   12/18/2013   -283    14.4
CBOE Volatility Index (VIX)   SELL   12/18/2013     -8    14.4
CBOE Volatility Index (VIX)   SELL   12/18/2013     -6    14.4
CBOE Volatility Index (VIX)   SELL   12/18/2013     -5    14.4
CBOE Volatility Index (VIX)   BUY    12/18/2013      3   14.45
CBOE Volatility Index (VIX)   SELL   12/19/2013     -4   14.45
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CBOE Volatility Index (VIX)   SELL   12/19/2013     -3   14.45
CBOE Volatility Index (VIX)   SELL   12/20/2013     -2   14.45
CBOE Volatility Index (VIX)   BUY    12/20/2013      4   14.45
CBOE Volatility Index (VIX)   BUY    12/20/2013      8   14.45
CBOE Volatility Index (VIX)   SELL   12/23/2013     -8   13.85
CBOE Volatility Index (VIX)   SELL   12/23/2013     -3    13.9
CBOE Volatility Index (VIX)   SELL   12/24/2013     -6   13.45
CBOE Volatility Index (VIX)   SELL   12/24/2013     -4    13.5
CBOE Volatility Index (VIX)   SELL   12/24/2013     -1   13.45
CBOE Volatility Index (VIX)   SELL   12/26/2013     -5    13.4
CBOE Volatility Index (VIX)   BUY    12/26/2013      6   13.45
CBOE Volatility Index (VIX)   SELL   12/27/2013     -5   13.65
CBOE Volatility Index (VIX)   SELL   12/27/2013     -1   13.65
CBOE Volatility Index (VIX)   BUY    12/27/2013      5    13.7
CBOE Volatility Index (VIX)   SELL   12/30/2013     -3   13.85
CBOE Volatility Index (VIX)   SELL   12/30/2013     -2   13.85
CBOE Volatility Index (VIX)   SELL   12/31/2013     -8    13.9
CBOE Volatility Index (VIX)   BUY    12/31/2013      1   13.95
CBOE Volatility Index (VIX)   BUY    12/31/2013      2   13.95
CBOE Volatility Index (VIX)   BUY    12/31/2013      3   13.95
CBOE Volatility Index (VIX)   BUY    12/31/2013      3   13.95
CBOE Volatility Index (VIX)   BUY    12/31/2013      4   13.95
CBOE Volatility Index (VIX)   BUY    12/31/2013      4   13.95
CBOE Volatility Index (VIX)   BUY    12/31/2013      5   13.95
CBOE Volatility Index (VIX)   BUY    12/31/2013      5   13.95
CBOE Volatility Index (VIX)   BUY    12/31/2013      6   13.95
CBOE Volatility Index (VIX)   BUY    12/31/2013      8   13.95
CBOE Volatility Index (VIX)   BUY    12/31/2013    283   13.95
CBOE Volatility Index (VIX)   SELL    1/2/2014      -7   14.15
CBOE Volatility Index (VIX)   SELL    1/2/2014      -5   14.15
CBOE Volatility Index (VIX)   SELL    1/2/2014      -1   14.15
CBOE Volatility Index (VIX)   SELL    1/3/2014    -182     14
CBOE Volatility Index (VIX)   SELL    1/3/2014     -86     14
CBOE Volatility Index (VIX)   SELL    1/3/2014     -13     14
CBOE Volatility Index (VIX)   SELL    1/3/2014     -10     14
CBOE Volatility Index (VIX)   SELL    1/3/2014      -8     14
CBOE Volatility Index (VIX)   SELL    1/3/2014      -7     14
CBOE Volatility Index (VIX)   SELL    1/3/2014      -4     14
CBOE Volatility Index (VIX)   SELL    1/3/2014      -3     14
CBOE Volatility Index (VIX)   SELL    1/3/2014      -2     14
CBOE Volatility Index (VIX)   SELL    1/3/2014      -1     14
CBOE Volatility Index (VIX)   SELL    1/3/2014      -1     14
CBOE Volatility Index (VIX)   SELL    1/6/2014     -10   13.85
CBOE Volatility Index (VIX)   SELL    1/6/2014      -2   13.85
CBOE Volatility Index (VIX)   SELL    1/7/2014      -9    13.6
CBOE Volatility Index (VIX)   SELL    1/7/2014      -7    13.6
CBOE Volatility Index (VIX)   SELL    1/7/2014      -1    13.6
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CBOE Volatility Index (VIX)   SELL    1/8/2014    -13   13.65
CBOE Volatility Index (VIX)   SELL    1/8/2014     -5   13.65
CBOE Volatility Index (VIX)   SELL    1/9/2014    -13    13.6
CBOE Volatility Index (VIX)   SELL    1/9/2014     -5    13.6
CBOE Volatility Index (VIX)   BUY    1/10/2014      1   13.25
CBOE Volatility Index (VIX)   BUY    1/10/2014      1   13.25
CBOE Volatility Index (VIX)   BUY    1/10/2014      2   13.25
CBOE Volatility Index (VIX)   BUY    1/10/2014      3   13.25
CBOE Volatility Index (VIX)   BUY    1/10/2014      8   13.25
CBOE Volatility Index (VIX)   BUY    1/13/2014      2   13.85
CBOE Volatility Index (VIX)   BUY    1/13/2014      4   13.85
CBOE Volatility Index (VIX)   BUY    1/13/2014      5   13.85
CBOE Volatility Index (VIX)   BUY    1/13/2014      7   13.85
CBOE Volatility Index (VIX)   SELL   1/14/2014    -11   13.05
CBOE Volatility Index (VIX)   BUY    1/14/2014      1    13.1
CBOE Volatility Index (VIX)   BUY    1/14/2014      8    13.1
CBOE Volatility Index (VIX)   BUY    1/15/2014      3   13.15
CBOE Volatility Index (VIX)   BUY    1/15/2014    10    13.15
CBOE Volatility Index (VIX)   BUY    1/16/2014      1   13.45
CBOE Volatility Index (VIX)   BUY    1/16/2014    13    13.45
CBOE Volatility Index (VIX)   BUY    1/17/2014      1    13.4
CBOE Volatility Index (VIX)   BUY    1/17/2014      2    13.4
CBOE Volatility Index (VIX)   BUY    1/17/2014      5   13.45
CBOE Volatility Index (VIX)   BUY    1/17/2014      5   13.45
CBOE Volatility Index (VIX)   BUY    1/17/2014      7    13.3
CBOE Volatility Index (VIX)   BUY    1/17/2014      7   13.45
CBOE Volatility Index (VIX)   BUY    1/17/2014      9   13.45
CBOE Volatility Index (VIX)   BUY    1/17/2014    10     13.4
CBOE Volatility Index (VIX)   BUY    1/17/2014    11    13.45
CBOE Volatility Index (VIX)   BUY    1/17/2014    13    13.45
CBOE Volatility Index (VIX)   BUY    1/17/2014    13    13.45
CBOE Volatility Index (VIX)   BUY    1/17/2014    86    13.35
CBOE Volatility Index (VIX)   BUY    1/17/2014    182    13.4
CBOE Volatility Index (VIX)   SELL   1/17/2014   -147    14.3
CBOE Volatility Index (VIX)   SELL   1/17/2014   -128   14.25
CBOE Volatility Index (VIX)   SELL   1/17/2014    -23   14.25
CBOE Volatility Index (VIX)   SELL   1/17/2014    -12   14.25
CBOE Volatility Index (VIX)   SELL   1/17/2014    -11   14.25
CBOE Volatility Index (VIX)   SELL   1/17/2014    -11   14.25
CBOE Volatility Index (VIX)   SELL   1/17/2014    -10   14.25
CBOE Volatility Index (VIX)   SELL   1/17/2014     -7   14.25
CBOE Volatility Index (VIX)   SELL   1/17/2014     -1    14.2
CBOE Volatility Index (VIX)   SELL   1/17/2014     -1   14.25
CBOE Volatility Index (VIX)   BUY    1/17/2014      1    14.3
CBOE Volatility Index (VIX)   BUY    1/17/2014      7    14.3
CBOE Volatility Index (VIX)   BUY    1/17/2014    10     14.3
CBOE Volatility Index (VIX)   SELL   1/21/2014    -12   14.05
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CBOE Volatility Index (VIX)   SELL   1/21/2014    -8    14.05
CBOE Volatility Index (VIX)   SELL   1/22/2014    -7     13.8
CBOE Volatility Index (VIX)   SELL   1/22/2014    -2     13.8
CBOE Volatility Index (VIX)   SELL   1/23/2014    -5    14.15
CBOE Volatility Index (VIX)   SELL   1/23/2014    -2    14.15
CBOE Volatility Index (VIX)   SELL   1/23/2014    -1    14.15
CBOE Volatility Index (VIX)   BUY    1/24/2014     1     16.1
CBOE Volatility Index (VIX)   BUY    1/24/2014     1     16.2
CBOE Volatility Index (VIX)   BUY    1/24/2014     2     16.2
CBOE Volatility Index (VIX)   BUY    1/24/2014     7     16.2
CBOE Volatility Index (VIX)   BUY    1/24/2014     8     16.2
CBOE Volatility Index (VIX)   BUY    1/24/2014   11     16.15
CBOE Volatility Index (VIX)   BUY    1/24/2014   11      16.2
CBOE Volatility Index (VIX)   BUY    1/24/2014   12      16.1
CBOE Volatility Index (VIX)   BUY    1/24/2014   12      16.2
CBOE Volatility Index (VIX)   BUY    1/24/2014   23      16.2
CBOE Volatility Index (VIX)   BUY    1/24/2014   128    16.15
CBOE Volatility Index (VIX)   BUY    1/24/2014   147     16.2
CBOE Volatility Index (VIX)   SELL   1/27/2014   -11    16.05
CBOE Volatility Index (VIX)   BUY    1/27/2014     2     16.1
CBOE Volatility Index (VIX)   BUY    1/27/2014     5     16.1
CBOE Volatility Index (VIX)   BUY    1/27/2014   11      16.1
CBOE Volatility Index (VIX)   BUY    1/27/2014   15      16.1
CBOE Volatility Index (VIX)   BUY    1/28/2014     1    15.15
CBOE Volatility Index (VIX)   BUY    1/28/2014     1     15.2
CBOE Volatility Index (VIX)   BUY    1/28/2014     4     15.2
CBOE Volatility Index (VIX)   BUY    1/28/2014   10     15.15
CBOE Volatility Index (VIX)   BUY    1/28/2014   15     15.15
CBOE Volatility Index (VIX)   SELL   1/29/2014   -15     16.3
CBOE Volatility Index (VIX)   SELL   1/29/2014    -1     16.3
CBOE Volatility Index (VIX)   BUY    1/29/2014     2    16.35
CBOE Volatility Index (VIX)   BUY    1/29/2014     2    16.35
CBOE Volatility Index (VIX)   BUY    1/29/2014     3    16.35
CBOE Volatility Index (VIX)   BUY    1/29/2014     8    16.35
CBOE Volatility Index (VIX)   BUY    1/29/2014   19     16.35
CBOE Volatility Index (VIX)   SELL   1/30/2014   -10    16.55
CBOE Volatility Index (VIX)   BUY    1/30/2014     1     16.6
CBOE Volatility Index (VIX)   BUY    1/30/2014   27      16.6
CBOE Volatility Index (VIX)   SELL   1/31/2014   -15     17.5
CBOE Volatility Index (VIX)   SELL   1/31/2014    -1     17.5
CBOE Volatility Index (VIX)   BUY    1/31/2014     3    17.55
CBOE Volatility Index (VIX)   SELL    2/3/2014    -4     19.1
CBOE Volatility Index (VIX)   SELL    2/3/2014    -2     19.1
CBOE Volatility Index (VIX)   BUY     2/3/2014     4    19.15
CBOE Volatility Index (VIX)   BUY     2/4/2014     5    18.65
CBOE Volatility Index (VIX)   BUY     2/4/2014     6    18.65
CBOE Volatility Index (VIX)   SELL    2/5/2014    -3    19.15
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CBOE Volatility Index (VIX)   BUY     2/5/2014   12     19.15
CBOE Volatility Index (VIX)   BUY     2/6/2014     1      17
CBOE Volatility Index (VIX)   BUY     2/6/2014   20       17
CBOE Volatility Index (VIX)   SELL    2/7/2014   -74    15.45
CBOE Volatility Index (VIX)   SELL    2/7/2014   -27     15.4
CBOE Volatility Index (VIX)   SELL    2/7/2014   -20    15.45
CBOE Volatility Index (VIX)   SELL    2/7/2014   -19     15.4
CBOE Volatility Index (VIX)   SELL    2/7/2014   -12    15.45
CBOE Volatility Index (VIX)   SELL    2/7/2014    -8    15.45
CBOE Volatility Index (VIX)   SELL    2/7/2014    -6    15.45
CBOE Volatility Index (VIX)   SELL    2/7/2014    -5    15.45
CBOE Volatility Index (VIX)   SELL    2/7/2014    -4    15.45
CBOE Volatility Index (VIX)   SELL    2/7/2014    -3    15.45
CBOE Volatility Index (VIX)   SELL    2/7/2014    -2    15.45
CBOE Volatility Index (VIX)   SELL    2/7/2014    -2     15.4
CBOE Volatility Index (VIX)   SELL    2/7/2014    -1    15.45
CBOE Volatility Index (VIX)   SELL    2/7/2014    -1    15.45
CBOE Volatility Index (VIX)   SELL    2/7/2014    -1    15.45
CBOE Volatility Index (VIX)   SELL   2/10/2014    -6    15.65
CBOE Volatility Index (VIX)   SELL   2/10/2014    -1     15.6
CBOE Volatility Index (VIX)   SELL   2/10/2014    -1    15.65
CBOE Volatility Index (VIX)   SELL   2/10/2014    -1     15.6
CBOE Volatility Index (VIX)   SELL   2/11/2014   -17      15
CBOE Volatility Index (VIX)   SELL   2/11/2014    -6      15
CBOE Volatility Index (VIX)   SELL   2/12/2014   -16     14.5
CBOE Volatility Index (VIX)   SELL   2/12/2014   -13     14.5
CBOE Volatility Index (VIX)   SELL   2/12/2014   -10     14.5
CBOE Volatility Index (VIX)   SELL   2/13/2014    -2    14.55
CBOE Volatility Index (VIX)   SELL   2/13/2014    -2    14.55
CBOE Volatility Index (VIX)   BUY    2/14/2014     1     14.3
CBOE Volatility Index (VIX)   BUY    2/14/2014     1     14.3
CBOE Volatility Index (VIX)   BUY    2/14/2014     1     14.3
CBOE Volatility Index (VIX)   BUY    2/14/2014     1     14.3
CBOE Volatility Index (VIX)   BUY    2/14/2014     2     14.2
CBOE Volatility Index (VIX)   BUY    2/14/2014     2    14.35
CBOE Volatility Index (VIX)   BUY    2/14/2014     2    14.35
CBOE Volatility Index (VIX)   BUY    2/14/2014     6     14.3
CBOE Volatility Index (VIX)   BUY    2/14/2014     6     14.3
CBOE Volatility Index (VIX)   BUY    2/14/2014   10     14.35
CBOE Volatility Index (VIX)   BUY    2/14/2014   13      14.3
CBOE Volatility Index (VIX)   BUY    2/14/2014   16      14.3
CBOE Volatility Index (VIX)   BUY    2/14/2014   17      14.3
CBOE Volatility Index (VIX)   BUY    2/14/2014   74     14.25
CBOE Volatility Index (VIX)   SELL   2/14/2014   -71     14.7
CBOE Volatility Index (VIX)   SELL   2/14/2014   -31     14.6
CBOE Volatility Index (VIX)   SELL   2/14/2014   -31    14.65
CBOE Volatility Index (VIX)   SELL   2/14/2014   -14    14.65
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CBOE Volatility Index (VIX)   SELL   2/14/2014    -5    14.65
CBOE Volatility Index (VIX)   SELL   2/14/2014    -2    14.75
CBOE Volatility Index (VIX)   SELL   2/14/2014    -2     14.6
CBOE Volatility Index (VIX)   SELL   2/14/2014    -1    14.65
CBOE Volatility Index (VIX)   SELL   2/14/2014    -1     14.6
CBOE Volatility Index (VIX)   SELL   2/18/2014   -12    14.45
CBOE Volatility Index (VIX)   SELL   2/18/2014    -5    14.45
CBOE Volatility Index (VIX)   BUY    2/19/2014     1    15.35
CBOE Volatility Index (VIX)   BUY    2/19/2014     1    15.35
CBOE Volatility Index (VIX)   BUY    2/19/2014     2    15.35
CBOE Volatility Index (VIX)   BUY    2/19/2014     2     15.3
CBOE Volatility Index (VIX)   BUY    2/19/2014     3    15.35
CBOE Volatility Index (VIX)   BUY    2/19/2014     5    15.35
CBOE Volatility Index (VIX)   BUY    2/19/2014     5    15.35
CBOE Volatility Index (VIX)   BUY    2/19/2014   12     15.35
CBOE Volatility Index (VIX)   BUY    2/19/2014   14      15.3
CBOE Volatility Index (VIX)   BUY    2/19/2014   31      15.3
CBOE Volatility Index (VIX)   BUY    2/19/2014   31     15.35
CBOE Volatility Index (VIX)   BUY    2/19/2014   38     15.35
CBOE Volatility Index (VIX)   BUY    2/19/2014   71     15.35
CBOE Volatility Index (VIX)   SELL   2/20/2014   -38     14.9
CBOE Volatility Index (VIX)   SELL   2/20/2014   -33     14.9
CBOE Volatility Index (VIX)   SELL   2/20/2014   -15     14.9
CBOE Volatility Index (VIX)   SELL   2/20/2014   -13     14.9
CBOE Volatility Index (VIX)   SELL   2/20/2014   -12     14.9
CBOE Volatility Index (VIX)   SELL   2/20/2014   -12     14.9
CBOE Volatility Index (VIX)   SELL   2/20/2014   -10     14.9
CBOE Volatility Index (VIX)   SELL   2/20/2014    -9     14.9
CBOE Volatility Index (VIX)   SELL   2/20/2014    -8     14.9
CBOE Volatility Index (VIX)   SELL   2/20/2014    -8     14.9
CBOE Volatility Index (VIX)   SELL   2/20/2014    -8     14.9
CBOE Volatility Index (VIX)   SELL   2/20/2014    -7     14.9
CBOE Volatility Index (VIX)   SELL   2/20/2014    -7     14.9
CBOE Volatility Index (VIX)   SELL   2/20/2014    -7     14.9
CBOE Volatility Index (VIX)   SELL   2/20/2014    -4     14.9
CBOE Volatility Index (VIX)   SELL   2/20/2014    -4     14.9
CBOE Volatility Index (VIX)   SELL   2/20/2014    -3     14.9
CBOE Volatility Index (VIX)   SELL   2/20/2014    -3     14.9
CBOE Volatility Index (VIX)   SELL   2/20/2014    -3     14.9
CBOE Volatility Index (VIX)   SELL   2/20/2014    -3     14.9
CBOE Volatility Index (VIX)   SELL   2/20/2014    -2     14.9
CBOE Volatility Index (VIX)   SELL   2/20/2014    -2     14.9
CBOE Volatility Index (VIX)   SELL   2/20/2014    -1     14.9
CBOE Volatility Index (VIX)   SELL   2/21/2014   -11     15.1
CBOE Volatility Index (VIX)   SELL   2/21/2014    -2     15.1
CBOE Volatility Index (VIX)   SELL   2/24/2014    -6    14.95
CBOE Volatility Index (VIX)   SELL   2/24/2014    -2    14.95
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CBOE Volatility Index (VIX)   SELL   2/24/2014   -1     14.95
CBOE Volatility Index (VIX)   SELL   2/25/2014   -3     14.85
CBOE Volatility Index (VIX)   SELL   2/25/2014   -3     14.85
CBOE Volatility Index (VIX)   SELL   2/25/2014   -1     14.85
CBOE Volatility Index (VIX)   SELL   2/26/2014   -7      15.2
CBOE Volatility Index (VIX)   SELL   2/27/2014   -2     15.05
CBOE Volatility Index (VIX)   BUY    2/27/2014    2      15.1
CBOE Volatility Index (VIX)   BUY    2/28/2014    7     15.25
CBOE Volatility Index (VIX)   BUY    2/28/2014    7     15.25
CBOE Volatility Index (VIX)   BUY     3/3/2014   12      16.6
CBOE Volatility Index (VIX)   BUY     3/3/2014   15      16.6
CBOE Volatility Index (VIX)   SELL    3/4/2014   -8       15
CBOE Volatility Index (VIX)   SELL    3/4/2014   -4       15
CBOE Volatility Index (VIX)   BUY     3/4/2014   10     15.05
CBOE Volatility Index (VIX)   SELL    3/5/2014   -3      15.1
CBOE Volatility Index (VIX)   BUY     3/5/2014    3     15.15
CBOE Volatility Index (VIX)   SELL    3/6/2014   -5       15
CBOE Volatility Index (VIX)   BUY     3/6/2014    3     15.05
CBOE Volatility Index (VIX)   SELL    3/7/2014   -2      15.4
CBOE Volatility Index (VIX)   BUY     3/7/2014    8     15.45
CBOE Volatility Index (VIX)   SELL   3/10/2014   -4     15.25
CBOE Volatility Index (VIX)   SELL   3/10/2014   -2     15.25
CBOE Volatility Index (VIX)   SELL   3/10/2014   -1     15.25
CBOE Volatility Index (VIX)   SELL   3/11/2014   -2      15.5
CBOE Volatility Index (VIX)   SELL   3/11/2014   -1      15.5
CBOE Volatility Index (VIX)   BUY    3/12/2014   12      15.3
CBOE Volatility Index (VIX)   BUY    3/12/2014   33      15.3
CBOE Volatility Index (VIX)   BUY    3/13/2014    3      16.6
CBOE Volatility Index (VIX)   BUY    3/13/2014    8      16.6
CBOE Volatility Index (VIX)   BUY    3/14/2014    1     17.45
CBOE Volatility Index (VIX)   BUY    3/14/2014    1     17.75
CBOE Volatility Index (VIX)   BUY    3/14/2014    1      17.9
CBOE Volatility Index (VIX)   BUY    3/14/2014    1     17.85
CBOE Volatility Index (VIX)   BUY    3/14/2014    1       18
CBOE Volatility Index (VIX)   BUY    3/14/2014    2     17.65
CBOE Volatility Index (VIX)   BUY    3/14/2014    2     17.95
CBOE Volatility Index (VIX)   BUY    3/14/2014    2     17.75
CBOE Volatility Index (VIX)   BUY    3/14/2014    2      17.8
CBOE Volatility Index (VIX)   BUY    3/14/2014    2     17.85
CBOE Volatility Index (VIX)   BUY    3/14/2014    2      17.9
CBOE Volatility Index (VIX)   BUY    3/14/2014    2     17.95
CBOE Volatility Index (VIX)   BUY    3/14/2014    3      17.8
CBOE Volatility Index (VIX)   BUY    3/14/2014    3      17.8
CBOE Volatility Index (VIX)   BUY    3/14/2014    3      17.9
CBOE Volatility Index (VIX)   BUY    3/14/2014    4     17.35
CBOE Volatility Index (VIX)   BUY    3/14/2014    4     17.55
CBOE Volatility Index (VIX)   BUY    3/14/2014    4      17.9
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CBOE Volatility Index (VIX)   BUY    3/14/2014     4    17.95
CBOE Volatility Index (VIX)   BUY    3/14/2014     5     17.9
CBOE Volatility Index (VIX)   BUY    3/14/2014     6     17.8
CBOE Volatility Index (VIX)   BUY    3/14/2014     7     17.7
CBOE Volatility Index (VIX)   BUY    3/14/2014     7    17.85
CBOE Volatility Index (VIX)   BUY    3/14/2014     8     17.4
CBOE Volatility Index (VIX)   BUY    3/14/2014     8    17.85
CBOE Volatility Index (VIX)   BUY    3/14/2014     9     17.6
CBOE Volatility Index (VIX)   BUY    3/14/2014   11     17.75
CBOE Volatility Index (VIX)   BUY    3/14/2014   13      17.5
CBOE Volatility Index (VIX)   SELL   3/14/2014   -24     17.1
CBOE Volatility Index (VIX)   SELL   3/14/2014   -24    17.15
CBOE Volatility Index (VIX)   SELL   3/14/2014   -12     17.2
CBOE Volatility Index (VIX)   SELL   3/14/2014    -8    17.05
CBOE Volatility Index (VIX)   SELL   3/14/2014    -7    17.05
CBOE Volatility Index (VIX)   SELL   3/14/2014    -7    17.15
CBOE Volatility Index (VIX)   SELL   3/14/2014    -6      17
CBOE Volatility Index (VIX)   SELL   3/14/2014    -5    16.95
CBOE Volatility Index (VIX)   SELL   3/14/2014    -4      17
CBOE Volatility Index (VIX)   SELL   3/14/2014    -4      17
CBOE Volatility Index (VIX)   SELL   3/14/2014    -4    17.15
CBOE Volatility Index (VIX)   SELL   3/14/2014    -2      17
CBOE Volatility Index (VIX)   SELL   3/14/2014    -2    17.05
CBOE Volatility Index (VIX)   SELL   3/14/2014    -1     16.9
CBOE Volatility Index (VIX)   SELL   3/14/2014    -1    16.95
CBOE Volatility Index (VIX)   SELL   3/14/2014    -1      17
CBOE Volatility Index (VIX)   SELL   3/14/2014    -1    17.05
CBOE Volatility Index (VIX)   SELL   3/14/2014    -1    16.95
CBOE Volatility Index (VIX)   SELL   3/14/2014    -1    16.95
CBOE Volatility Index (VIX)   SELL   3/14/2014    -1      17
CBOE Volatility Index (VIX)   SELL   3/14/2014    -1    17.05
CBOE Volatility Index (VIX)   SELL   3/14/2014    -1    17.05
CBOE Volatility Index (VIX)   BUY    3/14/2014     1    17.05
CBOE Volatility Index (VIX)   BUY    3/14/2014     5    17.05
CBOE Volatility Index (VIX)   SELL   3/17/2014    -7     16.1
CBOE Volatility Index (VIX)   BUY    3/17/2014     1    16.15
CBOE Volatility Index (VIX)   SELL   3/18/2014    -6    15.55
CBOE Volatility Index (VIX)   BUY    3/18/2014     1     15.6
CBOE Volatility Index (VIX)   BUY    3/19/2014     1    15.95
CBOE Volatility Index (VIX)   BUY    3/19/2014     4    15.95
CBOE Volatility Index (VIX)   SELL   3/20/2014    -4     15.7
CBOE Volatility Index (VIX)   SELL   3/20/2014    -2     15.7
CBOE Volatility Index (VIX)   SELL   3/21/2014    -7    15.95
CBOE Volatility Index (VIX)   BUY    3/21/2014     1      16
CBOE Volatility Index (VIX)   SELL   3/24/2014   -35     15.9
CBOE Volatility Index (VIX)   BUY    3/24/2014     6    15.95
CBOE Volatility Index (VIX)   SELL   3/25/2014    -4    15.65
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CBOE Volatility Index (VIX)   SELL   3/25/2014    -3    15.65
CBOE Volatility Index (VIX)   SELL   3/25/2014    -1    15.65
CBOE Volatility Index (VIX)   SELL   3/25/2014    -1    15.65
CBOE Volatility Index (VIX)   BUY    3/26/2014     2    16.05
CBOE Volatility Index (VIX)   BUY    3/26/2014     4    16.05
CBOE Volatility Index (VIX)   BUY    3/27/2014     1    15.75
CBOE Volatility Index (VIX)   BUY    3/27/2014     1    15.75
CBOE Volatility Index (VIX)   SELL   3/28/2014    -2    15.55
CBOE Volatility Index (VIX)   BUY    3/28/2014     1     15.6
CBOE Volatility Index (VIX)   SELL   3/31/2014    -7     15.1
CBOE Volatility Index (VIX)   SELL   3/31/2014    -1     15.1
CBOE Volatility Index (VIX)   SELL   3/31/2014    -1     15.1
CBOE Volatility Index (VIX)   SELL    4/1/2014    -7    14.45
CBOE Volatility Index (VIX)   SELL    4/1/2014    -2    14.45
CBOE Volatility Index (VIX)   SELL    4/2/2014   -12    14.55
CBOE Volatility Index (VIX)   BUY     4/2/2014     2     14.6
CBOE Volatility Index (VIX)   SELL    4/3/2014    -5     14.4
CBOE Volatility Index (VIX)   SELL    4/3/2014    -3     14.4
CBOE Volatility Index (VIX)   SELL    4/3/2014    -1    14.45
CBOE Volatility Index (VIX)   SELL    4/3/2014    -1    14.45
CBOE Volatility Index (VIX)   SELL    4/4/2014    -1     14.8
CBOE Volatility Index (VIX)   BUY     4/4/2014     7    14.85
CBOE Volatility Index (VIX)   BUY     4/7/2014     1    15.55
CBOE Volatility Index (VIX)   BUY     4/7/2014     8    15.55
CBOE Volatility Index (VIX)   SELL    4/8/2014   -50     15.5
CBOE Volatility Index (VIX)   SELL    4/8/2014   -35     15.5
CBOE Volatility Index (VIX)   SELL    4/8/2014   -16     15.5
CBOE Volatility Index (VIX)   SELL    4/8/2014   -10     15.5
CBOE Volatility Index (VIX)   SELL    4/8/2014    -6     15.5
CBOE Volatility Index (VIX)   SELL    4/8/2014    -5     15.5
CBOE Volatility Index (VIX)   SELL    4/8/2014    -5     15.5
CBOE Volatility Index (VIX)   SELL    4/8/2014    -5     15.5
CBOE Volatility Index (VIX)   SELL    4/8/2014    -1     15.5
CBOE Volatility Index (VIX)   BUY     4/8/2014     1     15.5
CBOE Volatility Index (VIX)   BUY     4/8/2014     1     15.6
CBOE Volatility Index (VIX)   BUY     4/8/2014     1     15.6
CBOE Volatility Index (VIX)   BUY     4/8/2014     1     15.6
CBOE Volatility Index (VIX)   BUY     4/8/2014     1     15.6
CBOE Volatility Index (VIX)   BUY     4/8/2014     1     15.6
CBOE Volatility Index (VIX)   BUY     4/8/2014     1    15.55
CBOE Volatility Index (VIX)   BUY     4/8/2014     2     15.5
CBOE Volatility Index (VIX)   BUY     4/8/2014     2     15.6
CBOE Volatility Index (VIX)   BUY     4/8/2014     2     15.6
CBOE Volatility Index (VIX)   BUY     4/8/2014     3     15.6
CBOE Volatility Index (VIX)   BUY     4/8/2014     3    15.55
CBOE Volatility Index (VIX)   BUY     4/8/2014     4     15.5
CBOE Volatility Index (VIX)   BUY     4/8/2014     4     15.5
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CBOE Volatility Index (VIX)   BUY     4/8/2014     4    15.55
CBOE Volatility Index (VIX)   BUY     4/8/2014     5    15.65
CBOE Volatility Index (VIX)   BUY     4/8/2014     5     15.6
CBOE Volatility Index (VIX)   BUY     4/8/2014     6    15.15
CBOE Volatility Index (VIX)   BUY     4/8/2014     6     15.5
CBOE Volatility Index (VIX)   BUY     4/8/2014     7     15.5
CBOE Volatility Index (VIX)   BUY     4/8/2014     7     15.5
CBOE Volatility Index (VIX)   BUY     4/8/2014     7     15.6
CBOE Volatility Index (VIX)   BUY     4/8/2014     7     15.6
CBOE Volatility Index (VIX)   BUY     4/8/2014     7     15.5
CBOE Volatility Index (VIX)   BUY     4/8/2014   12      15.5
CBOE Volatility Index (VIX)   BUY     4/8/2014   12      15.6
CBOE Volatility Index (VIX)   BUY     4/8/2014   16      15.6
CBOE Volatility Index (VIX)   BUY     4/8/2014   24      15.5
CBOE Volatility Index (VIX)   BUY     4/8/2014   24      15.5
CBOE Volatility Index (VIX)   BUY     4/8/2014   35      15.5
CBOE Volatility Index (VIX)   BUY     4/8/2014   50     15.65
CBOE Volatility Index (VIX)   SELL    4/9/2014    -1    14.45
CBOE Volatility Index (VIX)   BUY     4/9/2014     5     14.5
CBOE Volatility Index (VIX)   SELL   4/10/2014   -31     15.8
CBOE Volatility Index (VIX)   SELL   4/10/2014   -11    15.85
CBOE Volatility Index (VIX)   BUY    4/10/2014     1     15.9
CBOE Volatility Index (VIX)   BUY    4/10/2014     5    15.85
CBOE Volatility Index (VIX)   BUY    4/11/2014     1    16.85
CBOE Volatility Index (VIX)   BUY    4/11/2014     1    16.85
CBOE Volatility Index (VIX)   BUY    4/11/2014     1    16.85
CBOE Volatility Index (VIX)   BUY    4/11/2014     1    16.85
CBOE Volatility Index (VIX)   BUY    4/11/2014     1    16.85
CBOE Volatility Index (VIX)   BUY    4/11/2014     1    16.85
CBOE Volatility Index (VIX)   BUY    4/11/2014   10     16.85
CBOE Volatility Index (VIX)   BUY    4/11/2014   11     16.85
CBOE Volatility Index (VIX)   BUY    4/11/2014   31     16.85
CBOE Volatility Index (VIX)   BUY    4/11/2014   35     16.85
CBOE Volatility Index (VIX)   SELL   4/14/2014    -1     16.4
CBOE Volatility Index (VIX)   SELL   4/14/2014    -1     16.6
CBOE Volatility Index (VIX)   SELL   4/14/2014    -1    16.85
CBOE Volatility Index (VIX)   SELL   4/14/2014    -1     16.9
CBOE Volatility Index (VIX)   SELL   4/14/2014    -1      17
CBOE Volatility Index (VIX)   BUY    4/14/2014     1    16.75
CBOE Volatility Index (VIX)   BUY    4/14/2014     1    16.95
CBOE Volatility Index (VIX)   BUY    4/14/2014     1      17
CBOE Volatility Index (VIX)   BUY    4/14/2014     2    16.85
CBOE Volatility Index (VIX)   BUY    4/14/2014     2    16.65
CBOE Volatility Index (VIX)   SELL   4/15/2014    -8     16.4
CBOE Volatility Index (VIX)   SELL   4/15/2014    -6     16.4
CBOE Volatility Index (VIX)   SELL   4/15/2014    -6     16.4
CBOE Volatility Index (VIX)   SELL   4/15/2014    -4     16.4
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CBOE Volatility Index (VIX)   SELL   4/15/2014    -4     16.4
CBOE Volatility Index (VIX)   SELL   4/15/2014    -3     16.4
CBOE Volatility Index (VIX)   SELL   4/15/2014    -2     16.4
CBOE Volatility Index (VIX)   SELL   4/15/2014    -2     16.4
CBOE Volatility Index (VIX)   SELL   4/15/2014    -2     16.4
CBOE Volatility Index (VIX)   SELL   4/15/2014    -1     16.4
CBOE Volatility Index (VIX)   SELL   4/15/2014    -1     16.4
CBOE Volatility Index (VIX)   SELL   4/15/2014    -1     16.4
CBOE Volatility Index (VIX)   BUY    4/15/2014     3    16.45
CBOE Volatility Index (VIX)   SELL   4/16/2014   -22    15.85
CBOE Volatility Index (VIX)   SELL   4/16/2014   -19    15.85
CBOE Volatility Index (VIX)   BUY    4/16/2014     6     15.9
CBOE Volatility Index (VIX)   SELL   4/17/2014    -2     15.6
CBOE Volatility Index (VIX)   SELL   4/21/2014    -9    15.35
CBOE Volatility Index (VIX)   SELL   4/21/2014    -5     15.3
CBOE Volatility Index (VIX)   SELL   4/21/2014    -1     15.3
CBOE Volatility Index (VIX)   SELL   4/21/2014    -1    15.35
CBOE Volatility Index (VIX)   SELL   4/22/2014    -4     15.2
CBOE Volatility Index (VIX)   BUY    4/22/2014     2    15.25
CBOE Volatility Index (VIX)   SELL   4/23/2014    -6    15.25
CBOE Volatility Index (VIX)   SELL   4/24/2014    -4    15.45
CBOE Volatility Index (VIX)   SELL   4/24/2014    -1     15.5
CBOE Volatility Index (VIX)   SELL   4/25/2014    -4    15.55
CBOE Volatility Index (VIX)   SELL   4/29/2014    -1    14.95
CBOE Volatility Index (VIX)   BUY    4/29/2014     4      15
CBOE Volatility Index (VIX)   SELL   4/30/2014    -4    14.95
CBOE Volatility Index (VIX)   SELL   4/30/2014    -2    14.95
CBOE Volatility Index (VIX)   SELL    5/1/2014    -3    14.85
CBOE Volatility Index (VIX)   SELL    5/1/2014    -2     14.9
CBOE Volatility Index (VIX)   SELL    5/5/2014    -1     14.6
CBOE Volatility Index (VIX)   BUY     5/6/2014     8    14.75
CBOE Volatility Index (VIX)   SELL    5/7/2014    -2    14.35
CBOE Volatility Index (VIX)   BUY     5/7/2014     4     14.4
CBOE Volatility Index (VIX)   SELL    5/8/2014    -2     14.4
CBOE Volatility Index (VIX)   SELL    5/9/2014    -4    14.05
CBOE Volatility Index (VIX)   SELL   5/12/2014    -5    13.45
CBOE Volatility Index (VIX)   SELL   5/12/2014    -2    13.45
CBOE Volatility Index (VIX)   SELL   5/13/2014    -8    13.45
CBOE Volatility Index (VIX)   SELL   5/13/2014    -2    13.45
CBOE Volatility Index (VIX)   SELL   5/13/2014    -1    13.45
CBOE Volatility Index (VIX)   SELL   5/14/2014    -4     13.2
CBOE Volatility Index (VIX)   SELL   5/15/2014    -2    13.65
CBOE Volatility Index (VIX)   BUY    5/19/2014     1    13.05
CBOE Volatility Index (VIX)   BUY    5/19/2014     1    13.05
CBOE Volatility Index (VIX)   BUY    5/19/2014     1    13.05
CBOE Volatility Index (VIX)   BUY    5/19/2014     1    13.05
CBOE Volatility Index (VIX)   BUY    5/19/2014     1    13.05
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CBOE Volatility Index (VIX)   BUY    5/19/2014     1    13.05
CBOE Volatility Index (VIX)   BUY    5/19/2014     2    13.05
CBOE Volatility Index (VIX)   BUY    5/19/2014     2    13.05
CBOE Volatility Index (VIX)   BUY    5/19/2014     2    13.05
CBOE Volatility Index (VIX)   BUY    5/19/2014     2    13.05
CBOE Volatility Index (VIX)   BUY    5/19/2014     2    13.05
CBOE Volatility Index (VIX)   BUY    5/19/2014     2    13.05
CBOE Volatility Index (VIX)   BUY    5/19/2014     2     13.1
CBOE Volatility Index (VIX)   BUY    5/19/2014     2     13.1
CBOE Volatility Index (VIX)   BUY    5/19/2014     3    13.05
CBOE Volatility Index (VIX)   BUY    5/19/2014     4    13.05
CBOE Volatility Index (VIX)   BUY    5/19/2014     4    13.05
CBOE Volatility Index (VIX)   BUY    5/19/2014     4    13.05
CBOE Volatility Index (VIX)   BUY    5/19/2014     4    13.05
CBOE Volatility Index (VIX)   BUY    5/19/2014     4    13.05
CBOE Volatility Index (VIX)   BUY    5/19/2014     4     13.1
CBOE Volatility Index (VIX)   BUY    5/19/2014     5    13.05
CBOE Volatility Index (VIX)   BUY    5/19/2014     5    13.05
CBOE Volatility Index (VIX)   BUY    5/19/2014     6      13
CBOE Volatility Index (VIX)   BUY    5/19/2014     6    13.05
CBOE Volatility Index (VIX)   BUY    5/19/2014     8     13.1
CBOE Volatility Index (VIX)   BUY    5/19/2014     9    13.05
CBOE Volatility Index (VIX)   BUY    5/19/2014   19       13
CBOE Volatility Index (VIX)   BUY    5/19/2014   22     13.05
CBOE Volatility Index (VIX)   SELL   5/19/2014   -64     14.4
CBOE Volatility Index (VIX)   SELL   5/19/2014   -26     14.4
CBOE Volatility Index (VIX)   SELL   5/19/2014   -16    14.45
CBOE Volatility Index (VIX)   SELL   5/19/2014    -9    14.35
CBOE Volatility Index (VIX)   SELL   5/19/2014    -2    14.35
CBOE Volatility Index (VIX)   SELL   5/19/2014    -2    14.35
CBOE Volatility Index (VIX)   SELL   5/19/2014    -2    14.35
CBOE Volatility Index (VIX)   SELL   5/19/2014    -2    14.35
CBOE Volatility Index (VIX)   SELL   5/19/2014    -2    14.35
CBOE Volatility Index (VIX)   SELL   5/19/2014    -2    14.35
CBOE Volatility Index (VIX)   SELL   5/19/2014    -2    14.35
CBOE Volatility Index (VIX)   BUY    5/19/2014     2    14.35
CBOE Volatility Index (VIX)   BUY    5/20/2014     2     14.4
CBOE Volatility Index (VIX)   BUY    5/21/2014     2     14.1
CBOE Volatility Index (VIX)   SELL   5/23/2014    -2    13.85
CBOE Volatility Index (VIX)   BUY    5/23/2014     2     13.9
CBOE Volatility Index (VIX)   SELL   5/27/2014    -2     13.4
CBOE Volatility Index (VIX)   SELL   5/28/2014    -2     13.4
CBOE Volatility Index (VIX)   SELL   5/29/2014    -1    13.25
CBOE Volatility Index (VIX)   SELL   5/29/2014    -1     13.3
CBOE Volatility Index (VIX)   SELL    6/2/2014    -2    13.15
CBOE Volatility Index (VIX)   SELL    6/4/2014    -1    13.15
CBOE Volatility Index (VIX)   SELL    6/6/2014    -2    11.95
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CBOE Volatility Index (VIX)   SELL    6/6/2014    -2    11.95
CBOE Volatility Index (VIX)   SELL    6/9/2014    -2    12.15
CBOE Volatility Index (VIX)   SELL    6/9/2014    -1    12.15
CBOE Volatility Index (VIX)   SELL   6/10/2014    -2    12.05
CBOE Volatility Index (VIX)   SELL   6/10/2014    -1    12.05
CBOE Volatility Index (VIX)   SELL   6/11/2014    -1    12.45
CBOE Volatility Index (VIX)   BUY    6/11/2014     2    12.45
CBOE Volatility Index (VIX)   BUY    6/12/2014     2     13.2
CBOE Volatility Index (VIX)   BUY    6/13/2014     2     12.9
CBOE Volatility Index (VIX)   BUY    6/16/2014     1     13.1
CBOE Volatility Index (VIX)   BUY    6/16/2014     1     13.1
CBOE Volatility Index (VIX)   BUY    6/16/2014     1    13.15
CBOE Volatility Index (VIX)   BUY    6/16/2014     1    13.15
CBOE Volatility Index (VIX)   BUY    6/16/2014     1    13.15
CBOE Volatility Index (VIX)   BUY    6/16/2014     1    13.15
CBOE Volatility Index (VIX)   BUY    6/16/2014     2    13.15
CBOE Volatility Index (VIX)   BUY    6/16/2014     2     13.1
CBOE Volatility Index (VIX)   BUY    6/16/2014     2     13.1
CBOE Volatility Index (VIX)   BUY    6/16/2014     2     13.1
CBOE Volatility Index (VIX)   BUY    6/16/2014     2    13.15
CBOE Volatility Index (VIX)   BUY    6/16/2014     2    13.15
CBOE Volatility Index (VIX)   BUY    6/16/2014     2    13.15
CBOE Volatility Index (VIX)   BUY    6/16/2014     2    13.15
CBOE Volatility Index (VIX)   BUY    6/16/2014     9    13.05
CBOE Volatility Index (VIX)   BUY    6/16/2014   16      13.1
CBOE Volatility Index (VIX)   BUY    6/16/2014   26     13.05
CBOE Volatility Index (VIX)   BUY    6/16/2014   64      13.1
CBOE Volatility Index (VIX)   SELL   6/16/2014   -59    13.85
CBOE Volatility Index (VIX)   SELL   6/16/2014   -46     13.8
CBOE Volatility Index (VIX)   SELL   6/16/2014   -11    13.85
CBOE Volatility Index (VIX)   SELL   6/16/2014    -9     13.8
CBOE Volatility Index (VIX)   SELL   6/16/2014    -4     13.8
CBOE Volatility Index (VIX)   SELL   6/16/2014    -2     13.8
CBOE Volatility Index (VIX)   SELL   6/16/2014    -1     13.8
CBOE Volatility Index (VIX)   SELL   6/16/2014    -1     13.8
CBOE Volatility Index (VIX)   SELL   6/16/2014    -1     13.8
CBOE Volatility Index (VIX)   SELL   6/16/2014    -1     13.8
CBOE Volatility Index (VIX)   SELL   6/16/2014    -1     13.8
CBOE Volatility Index (VIX)   SELL   6/16/2014    -1     13.8
CBOE Volatility Index (VIX)   BUY    6/16/2014     1     13.8
CBOE Volatility Index (VIX)   BUY    6/16/2014     4     13.8
CBOE Volatility Index (VIX)   BUY    6/17/2014     1    13.45
CBOE Volatility Index (VIX)   SELL   6/18/2014    -2    12.65
CBOE Volatility Index (VIX)   SELL   6/20/2014    -2    12.85
CBOE Volatility Index (VIX)   SELL   6/23/2014    -1    12.55
CBOE Volatility Index (VIX)   SELL   6/27/2014    -1     12.6
CBOE Volatility Index (VIX)   SELL    7/1/2014    -1    12.05
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CBOE Volatility Index (VIX)   SELL    7/1/2014    -1     12.1
CBOE Volatility Index (VIX)   SELL    7/1/2014    -1     12.1
CBOE Volatility Index (VIX)   SELL    7/2/2014    -2     11.9
CBOE Volatility Index (VIX)   SELL    7/2/2014    -1     11.9
CBOE Volatility Index (VIX)   SELL    7/3/2014    -1    11.75
CBOE Volatility Index (VIX)   BUY     7/9/2014     2    12.25
CBOE Volatility Index (VIX)   BUY    7/10/2014     1    12.95
CBOE Volatility Index (VIX)   BUY    7/10/2014     1    12.95
CBOE Volatility Index (VIX)   BUY    7/11/2014     1    12.65
CBOE Volatility Index (VIX)   BUY    7/11/2014     1    12.65
CBOE Volatility Index (VIX)   BUY    7/14/2014     1    12.05
CBOE Volatility Index (VIX)   BUY    7/14/2014     1    12.05
CBOE Volatility Index (VIX)   BUY    7/14/2014     1    12.05
CBOE Volatility Index (VIX)   BUY    7/14/2014     1    12.05
CBOE Volatility Index (VIX)   BUY    7/14/2014     1    12.05
CBOE Volatility Index (VIX)   BUY    7/14/2014     1    12.05
CBOE Volatility Index (VIX)   BUY    7/14/2014     1    12.05
CBOE Volatility Index (VIX)   BUY    7/14/2014     2    12.05
CBOE Volatility Index (VIX)   BUY    7/14/2014     2    12.05
CBOE Volatility Index (VIX)   BUY    7/14/2014     2    12.05
CBOE Volatility Index (VIX)   BUY    7/14/2014     9      12
CBOE Volatility Index (VIX)   BUY    7/14/2014   11       12
CBOE Volatility Index (VIX)   BUY    7/14/2014   46     11.95
CBOE Volatility Index (VIX)   BUY    7/14/2014   59     12.05
CBOE Volatility Index (VIX)   SELL   7/14/2014   -24     12.7
CBOE Volatility Index (VIX)   SELL   7/14/2014   -24     12.7
CBOE Volatility Index (VIX)   SELL   7/14/2014   -21    12.65
CBOE Volatility Index (VIX)   SELL   7/14/2014   -17    12.75
CBOE Volatility Index (VIX)   SELL   7/14/2014   -14     12.7
CBOE Volatility Index (VIX)   SELL   7/14/2014   -10    12.65
CBOE Volatility Index (VIX)   SELL   7/14/2014    -8    12.75
CBOE Volatility Index (VIX)   SELL   7/14/2014    -6     12.7
CBOE Volatility Index (VIX)   SELL   7/14/2014    -4     12.7
CBOE Volatility Index (VIX)   SELL   7/14/2014    -3    12.75
CBOE Volatility Index (VIX)   SELL   7/14/2014    -2     12.7
CBOE Volatility Index (VIX)   SELL   7/14/2014    -1    12.65
CBOE Volatility Index (VIX)   SELL   7/14/2014    -1    12.65
CBOE Volatility Index (VIX)   SELL   7/14/2014    -1     12.7
CBOE Volatility Index (VIX)   SELL   7/14/2014    -1     12.7
CBOE Volatility Index (VIX)   SELL   7/14/2014    -1     12.7
CBOE Volatility Index (VIX)   BUY    7/14/2014     1    12.75
CBOE Volatility Index (VIX)   BUY    7/16/2014     1     12.7
CBOE Volatility Index (VIX)   BUY    7/17/2014   10     13.75
CBOE Volatility Index (VIX)   BUY    7/17/2014   21     13.75
CBOE Volatility Index (VIX)   BUY    7/17/2014   24     13.75
CBOE Volatility Index (VIX)   SELL   7/18/2014    -9      13
CBOE Volatility Index (VIX)   BUY    7/21/2014     1    13.35
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CBOE Volatility Index (VIX)   SELL   7/22/2014   -28    12.95
CBOE Volatility Index (VIX)   SELL   7/22/2014   -10    12.95
CBOE Volatility Index (VIX)   SELL   7/22/2014    -6    12.95
CBOE Volatility Index (VIX)   BUY    7/23/2014     1     13.1
CBOE Volatility Index (VIX)   SELL   7/24/2014    -1     13.1
CBOE Volatility Index (VIX)   BUY    7/25/2014     6     13.5
CBOE Volatility Index (VIX)   BUY    7/28/2014     2    13.35
CBOE Volatility Index (VIX)   BUY    7/29/2014     1     13.5
CBOE Volatility Index (VIX)   BUY    7/29/2014     4    13.45
CBOE Volatility Index (VIX)   BUY    7/31/2014   14     15.15
CBOE Volatility Index (VIX)   BUY    7/31/2014   17     15.15
CBOE Volatility Index (VIX)   BUY    7/31/2014   24     15.15
CBOE Volatility Index (VIX)   BUY     8/1/2014     3    15.95
CBOE Volatility Index (VIX)   BUY     8/1/2014     8    15.95
CBOE Volatility Index (VIX)   BUY     8/1/2014     9    15.95
CBOE Volatility Index (VIX)   BUY     8/1/2014   28     15.95
CBOE Volatility Index (VIX)   BUY     8/4/2014     1    14.95
CBOE Volatility Index (VIX)   BUY     8/4/2014     2    14.95
CBOE Volatility Index (VIX)   BUY     8/4/2014     2    14.95
CBOE Volatility Index (VIX)   BUY     8/4/2014     3    14.95
CBOE Volatility Index (VIX)   BUY     8/4/2014     6    14.95
CBOE Volatility Index (VIX)   BUY     8/4/2014     7    14.95
CBOE Volatility Index (VIX)   BUY     8/4/2014   10     14.95
CBOE Volatility Index (VIX)   BUY     8/4/2014   16     14.95
CBOE Volatility Index (VIX)   SELL    8/5/2014    -2     16.1
CBOE Volatility Index (VIX)   BUY     8/5/2014     1    16.15
CBOE Volatility Index (VIX)   BUY     8/6/2014     9     16.2
CBOE Volatility Index (VIX)   SELL    8/7/2014   -16     16.6
CBOE Volatility Index (VIX)   SELL    8/7/2014    -9    16.65
CBOE Volatility Index (VIX)   SELL    8/7/2014    -7    16.65
CBOE Volatility Index (VIX)   SELL    8/7/2014    -3    16.65
CBOE Volatility Index (VIX)   SELL    8/7/2014    -3    16.65
CBOE Volatility Index (VIX)   SELL    8/7/2014    -2     16.6
CBOE Volatility Index (VIX)   SELL    8/7/2014    -1    16.65
CBOE Volatility Index (VIX)   SELL    8/7/2014    -1    16.65
CBOE Volatility Index (VIX)   SELL    8/8/2014    -4    15.95
CBOE Volatility Index (VIX)   SELL    8/8/2014    -1    15.95
CBOE Volatility Index (VIX)   SELL   8/11/2014   -17     14.8
CBOE Volatility Index (VIX)   SELL   8/11/2014   -11     14.8
CBOE Volatility Index (VIX)   SELL   8/11/2014    -8    14.75
CBOE Volatility Index (VIX)   SELL   8/11/2014    -1    14.75
CBOE Volatility Index (VIX)   SELL   8/12/2014   -22     14.6
CBOE Volatility Index (VIX)   SELL   8/12/2014   -16    14.65
CBOE Volatility Index (VIX)   SELL   8/12/2014    -1     14.6
CBOE Volatility Index (VIX)   SELL   8/13/2014    -5     13.5
CBOE Volatility Index (VIX)   SELL   8/13/2014    -3     13.5
CBOE Volatility Index (VIX)   SELL   8/14/2014    -8     12.9
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CBOE Volatility Index (VIX)   SELL   8/14/2014    -4     12.9
CBOE Volatility Index (VIX)   SELL   8/15/2014    -7     13.2
CBOE Volatility Index (VIX)   SELL   8/15/2014    -2     13.2
CBOE Volatility Index (VIX)   BUY    8/18/2014     1    12.55
CBOE Volatility Index (VIX)   BUY    8/18/2014     1     12.6
CBOE Volatility Index (VIX)   BUY    8/18/2014     1    12.65
CBOE Volatility Index (VIX)   BUY    8/18/2014     1     12.7
CBOE Volatility Index (VIX)   BUY    8/18/2014     2    12.75
CBOE Volatility Index (VIX)   BUY    8/18/2014     3     12.6
CBOE Volatility Index (VIX)   BUY    8/18/2014     3     12.7
CBOE Volatility Index (VIX)   BUY    8/18/2014     4     12.6
CBOE Volatility Index (VIX)   BUY    8/18/2014     4     12.7
CBOE Volatility Index (VIX)   BUY    8/18/2014     5     12.7
CBOE Volatility Index (VIX)   BUY    8/18/2014     7     12.7
CBOE Volatility Index (VIX)   BUY    8/18/2014     8     12.6
CBOE Volatility Index (VIX)   BUY    8/18/2014     8     12.7
CBOE Volatility Index (VIX)   BUY    8/18/2014   11     12.65
CBOE Volatility Index (VIX)   BUY    8/18/2014   16      12.7
CBOE Volatility Index (VIX)   BUY    8/18/2014   17      12.7
CBOE Volatility Index (VIX)   BUY    8/18/2014   22      12.7
CBOE Volatility Index (VIX)   SELL   8/18/2014   -43     13.6
CBOE Volatility Index (VIX)   SELL   8/18/2014   -19    13.55
CBOE Volatility Index (VIX)   SELL   8/18/2014   -12     13.6
CBOE Volatility Index (VIX)   SELL   8/18/2014    -7    13.55
CBOE Volatility Index (VIX)   SELL   8/18/2014    -6     13.5
CBOE Volatility Index (VIX)   SELL   8/18/2014    -5     13.5
CBOE Volatility Index (VIX)   SELL   8/18/2014    -5    13.55
CBOE Volatility Index (VIX)   SELL   8/18/2014    -4    13.55
CBOE Volatility Index (VIX)   SELL   8/18/2014    -3     13.5
CBOE Volatility Index (VIX)   SELL   8/18/2014    -3     13.6
CBOE Volatility Index (VIX)   SELL   8/18/2014    -3     13.5
CBOE Volatility Index (VIX)   SELL   8/18/2014    -2     13.4
CBOE Volatility Index (VIX)   SELL   8/18/2014    -2     13.4
CBOE Volatility Index (VIX)   SELL   8/18/2014    -2     13.5
CBOE Volatility Index (VIX)   SELL   8/18/2014    -2     13.5
CBOE Volatility Index (VIX)   BUY    8/19/2014     2     13.5
CBOE Volatility Index (VIX)   BUY    8/21/2014     2     13.4
CBOE Volatility Index (VIX)   BUY    8/21/2014     3     13.4
CBOE Volatility Index (VIX)   SELL   8/27/2014    -4     13.5
CBOE Volatility Index (VIX)   SELL   8/28/2014    -3    13.55
CBOE Volatility Index (VIX)   SELL   8/28/2014    -2     13.6
CBOE Volatility Index (VIX)   BUY     9/2/2014     2    13.75
CBOE Volatility Index (VIX)   BUY     9/2/2014     5    13.75
CBOE Volatility Index (VIX)   SELL    9/3/2014    -2    13.45
CBOE Volatility Index (VIX)   SELL    9/8/2014    -5     13.3
CBOE Volatility Index (VIX)   BUY    9/11/2014     2    13.55
CBOE Volatility Index (VIX)   BUY    9/12/2014     6    14.05
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CBOE Volatility Index (VIX)   BUY    9/15/2014     2    14.45
CBOE Volatility Index (VIX)   BUY    9/15/2014     2    14.45
CBOE Volatility Index (VIX)   BUY    9/15/2014     3     14.2
CBOE Volatility Index (VIX)   BUY    9/15/2014     3    14.45
CBOE Volatility Index (VIX)   BUY    9/15/2014     3    14.45
CBOE Volatility Index (VIX)   BUY    9/15/2014     4     14.2
CBOE Volatility Index (VIX)   BUY    9/15/2014     4    14.45
CBOE Volatility Index (VIX)   BUY    9/15/2014     5    14.25
CBOE Volatility Index (VIX)   BUY    9/15/2014     5    14.45
CBOE Volatility Index (VIX)   BUY    9/15/2014     7    14.35
CBOE Volatility Index (VIX)   BUY    9/15/2014   12     14.35
CBOE Volatility Index (VIX)   BUY    9/15/2014   19      14.3
CBOE Volatility Index (VIX)   BUY    9/15/2014   43      14.4
CBOE Volatility Index (VIX)   SELL   9/15/2014   -36     15.1
CBOE Volatility Index (VIX)   SELL   9/15/2014   -19    15.15
CBOE Volatility Index (VIX)   SELL   9/15/2014    -7    15.05
CBOE Volatility Index (VIX)   SELL   9/15/2014    -6     15.1
CBOE Volatility Index (VIX)   SELL   9/15/2014    -5    15.05
CBOE Volatility Index (VIX)   SELL   9/15/2014    -5    15.05
CBOE Volatility Index (VIX)   SELL   9/15/2014    -5    15.15
CBOE Volatility Index (VIX)   SELL   9/15/2014    -4    15.05
CBOE Volatility Index (VIX)   SELL   9/15/2014    -3     15.1
CBOE Volatility Index (VIX)   SELL   9/15/2014    -2     15.1
CBOE Volatility Index (VIX)   SELL   9/15/2014    -2    15.15
CBOE Volatility Index (VIX)   SELL   9/15/2014    -2    15.05
CBOE Volatility Index (VIX)   SELL   9/15/2014    -2    15.05
CBOE Volatility Index (VIX)   SELL   9/15/2014    -2     15.1
CBOE Volatility Index (VIX)   SELL   9/15/2014    -2    15.15
CBOE Volatility Index (VIX)   SELL   9/15/2014    -1      15
CBOE Volatility Index (VIX)   SELL   9/15/2014    -1    15.05
CBOE Volatility Index (VIX)   SELL   9/15/2014    -1    15.05
CBOE Volatility Index (VIX)   SELL   9/15/2014    -1    15.05
CBOE Volatility Index (VIX)   SELL   9/15/2014    -1     15.1
CBOE Volatility Index (VIX)   SELL   9/15/2014    -1     15.1
CBOE Volatility Index (VIX)   SELL   9/15/2014    -1     15.1
CBOE Volatility Index (VIX)   SELL   9/15/2014    -1     15.1
CBOE Volatility Index (VIX)   SELL   9/15/2014    -1    15.15
CBOE Volatility Index (VIX)   SELL   9/15/2014    -1    15.15
CBOE Volatility Index (VIX)   BUY    9/15/2014     1     15.2
CBOE Volatility Index (VIX)   BUY    9/15/2014     2     15.2
CBOE Volatility Index (VIX)   BUY    9/15/2014     7     15.2
CBOE Volatility Index (VIX)   SELL   9/16/2014    -4    14.35
CBOE Volatility Index (VIX)   SELL   9/17/2014    -3    14.25
CBOE Volatility Index (VIX)   SELL   9/17/2014    -1     14.2
CBOE Volatility Index (VIX)   BUY    9/17/2014     1    14.25
CBOE Volatility Index (VIX)   SELL   9/18/2014    -1      14
CBOE Volatility Index (VIX)   BUY    9/18/2014     5    14.05
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CBOE Volatility Index (VIX)   SELL   9/19/2014    -1     14.1
CBOE Volatility Index (VIX)   SELL   9/22/2014    -3    14.85
CBOE Volatility Index (VIX)   BUY    9/22/2014     1     14.9
CBOE Volatility Index (VIX)   BUY    9/23/2014     2    15.35
CBOE Volatility Index (VIX)   BUY    9/23/2014     4    15.35
CBOE Volatility Index (VIX)   BUY    9/24/2014     5    14.65
CBOE Volatility Index (VIX)   BUY    9/25/2014     1     15.7
CBOE Volatility Index (VIX)   BUY    9/25/2014     1    15.65
CBOE Volatility Index (VIX)   BUY    9/25/2014     1     15.7
CBOE Volatility Index (VIX)   BUY    9/29/2014     1    16.25
CBOE Volatility Index (VIX)   BUY    9/29/2014     2    16.25
CBOE Volatility Index (VIX)   BUY    9/30/2014     3     16.3
CBOE Volatility Index (VIX)   BUY    9/30/2014   36      16.3
CBOE Volatility Index (VIX)   BUY    10/1/2014     1     16.9
CBOE Volatility Index (VIX)   BUY    10/1/2014     6     16.9
CBOE Volatility Index (VIX)   BUY    10/2/2014     1     16.5
CBOE Volatility Index (VIX)   BUY    10/2/2014     1    16.55
CBOE Volatility Index (VIX)   BUY    10/2/2014     2     16.5
CBOE Volatility Index (VIX)   SELL   10/3/2014   -23    15.15
CBOE Volatility Index (VIX)   SELL   10/3/2014   -11    15.15
CBOE Volatility Index (VIX)   SELL   10/3/2014    -1    15.15
CBOE Volatility Index (VIX)   SELL   10/3/2014    -1    15.15
CBOE Volatility Index (VIX)   SELL   10/3/2014    -1    15.15
CBOE Volatility Index (VIX)   SELL   10/3/2014    -1    15.15
CBOE Volatility Index (VIX)   BUY    10/3/2014     5     15.2
CBOE Volatility Index (VIX)   BUY    10/6/2014     2     15.7
CBOE Volatility Index (VIX)   BUY    10/7/2014     1      17
CBOE Volatility Index (VIX)   BUY    10/7/2014     1     17.1
CBOE Volatility Index (VIX)   BUY    10/7/2014     1     17.1
CBOE Volatility Index (VIX)   BUY    10/7/2014     1     17.1
CBOE Volatility Index (VIX)   BUY    10/7/2014     1     17.1
CBOE Volatility Index (VIX)   BUY    10/7/2014     1     17.1
CBOE Volatility Index (VIX)   BUY    10/7/2014     2     17.1
CBOE Volatility Index (VIX)   BUY    10/7/2014     3     17.1
CBOE Volatility Index (VIX)   BUY    10/7/2014     3     17.1
CBOE Volatility Index (VIX)   BUY    10/7/2014     4     17.1
CBOE Volatility Index (VIX)   BUY    10/7/2014   19       17
CBOE Volatility Index (VIX)   SELL   10/8/2014    -1     15.2
CBOE Volatility Index (VIX)   SELL   10/8/2014    -1    15.25
CBOE Volatility Index (VIX)   BUY    10/9/2014     1     17.2
CBOE Volatility Index (VIX)   BUY    10/9/2014     1    17.15
CBOE Volatility Index (VIX)   BUY    10/9/2014     1    17.15
CBOE Volatility Index (VIX)   BUY    10/9/2014     1     17.1
CBOE Volatility Index (VIX)   BUY    10/9/2014     2     17.2
CBOE Volatility Index (VIX)   BUY    10/9/2014     2     17.2
CBOE Volatility Index (VIX)   BUY    10/9/2014   11     17.15
CBOE Volatility Index (VIX)   BUY    10/9/2014   23      17.2
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CBOE Volatility Index (VIX)   SELL   10/10/2014   -2     19.7
CBOE Volatility Index (VIX)   BUY    10/10/2014    1    19.75
CBOE Volatility Index (VIX)   BUY    10/10/2014    1    19.75
CBOE Volatility Index (VIX)   BUY    10/10/2014    1    19.75
CBOE Volatility Index (VIX)   BUY    10/10/2014    1    19.75
CBOE Volatility Index (VIX)   BUY    10/10/2014    2    19.75
CBOE Volatility Index (VIX)   BUY    10/10/2014    3    19.75
CBOE Volatility Index (VIX)   BUY    10/13/2014    1    22.75
CBOE Volatility Index (VIX)   BUY    10/13/2014    1    22.75
CBOE Volatility Index (VIX)   BUY    10/13/2014    1     22.8
CBOE Volatility Index (VIX)   BUY    10/13/2014    2    22.75
CBOE Volatility Index (VIX)   BUY    10/13/2014    2     22.8
CBOE Volatility Index (VIX)   BUY    10/13/2014    2     22.8
CBOE Volatility Index (VIX)   BUY    10/13/2014    3     22.8
CBOE Volatility Index (VIX)   BUY    10/13/2014    3     22.8
CBOE Volatility Index (VIX)   BUY    10/13/2014    3    22.75
CBOE Volatility Index (VIX)   BUY    10/13/2014    5     22.8
CBOE Volatility Index (VIX)   BUY    10/13/2014    5    22.75
CBOE Volatility Index (VIX)   BUY    10/13/2014    5     22.8
CBOE Volatility Index (VIX)   BUY    10/13/2014    7     22.8
CBOE Volatility Index (VIX)   SELL   10/14/2014   -2     20.9
CBOE Volatility Index (VIX)   SELL   10/14/2014   -1    20.95
CBOE Volatility Index (VIX)   SELL   10/14/2014   -1    20.95
CBOE Volatility Index (VIX)   BUY    10/14/2014    6    20.95
CBOE Volatility Index (VIX)   SELL   10/15/2014   -2     23.9
CBOE Volatility Index (VIX)   BUY    10/15/2014    1     23.9
CBOE Volatility Index (VIX)   BUY    10/15/2014    1     23.9
CBOE Volatility Index (VIX)   BUY    10/15/2014    2     23.9
CBOE Volatility Index (VIX)   BUY    10/15/2014    2     23.9
CBOE Volatility Index (VIX)   BUY    10/15/2014    2     23.9
CBOE Volatility Index (VIX)   SELL   10/16/2014   -1     22.1
CBOE Volatility Index (VIX)   SELL   10/17/2014   -1     21.1
CBOE Volatility Index (VIX)   SELL   10/20/2014   -7     18.8
CBOE Volatility Index (VIX)   SELL   10/20/2014   -6     18.9
CBOE Volatility Index (VIX)   SELL   10/20/2014   -5    18.35
CBOE Volatility Index (VIX)   SELL   10/20/2014   -5    18.55
CBOE Volatility Index (VIX)   SELL   10/20/2014   -5    18.65
CBOE Volatility Index (VIX)   SELL   10/20/2014   -3    18.25
CBOE Volatility Index (VIX)   SELL   10/20/2014   -3     18.4
CBOE Volatility Index (VIX)   SELL   10/20/2014   -3     18.6
CBOE Volatility Index (VIX)   SELL   10/20/2014   -3    18.85
CBOE Volatility Index (VIX)   SELL   10/20/2014   -2     18.6
CBOE Volatility Index (VIX)   SELL   10/20/2014   -2     18.7
CBOE Volatility Index (VIX)   SELL   10/20/2014   -2     18.9
CBOE Volatility Index (VIX)   SELL   10/20/2014   -2    19.15
CBOE Volatility Index (VIX)   SELL   10/20/2014   -2    18.55
CBOE Volatility Index (VIX)   SELL   10/20/2014   -2     19.2
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CBOE Volatility Index (VIX)   SELL   10/20/2014    -1    18.3
CBOE Volatility Index (VIX)   SELL   10/20/2014    -1    18.5
CBOE Volatility Index (VIX)   SELL   10/20/2014    -1   18.75
CBOE Volatility Index (VIX)   SELL   10/20/2014    -1   18.95
CBOE Volatility Index (VIX)   SELL   10/20/2014    -1     19
CBOE Volatility Index (VIX)   SELL   10/20/2014    -1    18.3
CBOE Volatility Index (VIX)   SELL   10/20/2014    -3   18.35
CBOE Volatility Index (VIX)   SELL   10/20/2014    -1    18.3
CBOE Volatility Index (VIX)   SELL   10/20/2014    -1   18.35
CBOE Volatility Index (VIX)   BUY    10/20/2014     1   18.55
CBOE Volatility Index (VIX)   BUY    10/20/2014     1    18.6
CBOE Volatility Index (VIX)   BUY    10/20/2014     1    18.6
CBOE Volatility Index (VIX)   BUY    10/20/2014     1     19
CBOE Volatility Index (VIX)   BUY    10/20/2014     1     19
CBOE Volatility Index (VIX)   BUY    10/20/2014     2    18.6
CBOE Volatility Index (VIX)   BUY    10/20/2014     2   18.65
CBOE Volatility Index (VIX)   BUY    10/20/2014     2   18.75
CBOE Volatility Index (VIX)   BUY    10/20/2014     2    18.6
CBOE Volatility Index (VIX)   BUY    10/20/2014     2     19
CBOE Volatility Index (VIX)   BUY    10/20/2014     3   18.55
CBOE Volatility Index (VIX)   BUY    10/20/2014     3    18.8
CBOE Volatility Index (VIX)   BUY    10/20/2014     4     19
CBOE Volatility Index (VIX)   BUY    10/20/2014     4   19.05
CBOE Volatility Index (VIX)   BUY    10/20/2014     4     19
CBOE Volatility Index (VIX)   BUY    10/20/2014     4   18.35
CBOE Volatility Index (VIX)   BUY    10/20/2014     5   18.85
CBOE Volatility Index (VIX)   BUY    10/20/2014     5   18.95
CBOE Volatility Index (VIX)   BUY    10/20/2014     6     19
CBOE Volatility Index (VIX)   BUY    10/20/2014     9    18.9
CBOE Volatility Index (VIX)   SELL   10/21/2014    -9   16.95
CBOE Volatility Index (VIX)   SELL   10/21/2014    -5   16.95
CBOE Volatility Index (VIX)   SELL   10/21/2014    -5   16.95
CBOE Volatility Index (VIX)   SELL   10/21/2014    -4   16.95
CBOE Volatility Index (VIX)   SELL   10/21/2014    -3   16.95
CBOE Volatility Index (VIX)   SELL   10/21/2014    -2   16.95
CBOE Volatility Index (VIX)   SELL   10/21/2014    -2     17
CBOE Volatility Index (VIX)   SELL   10/21/2014    -2   16.95
CBOE Volatility Index (VIX)   SELL   10/21/2014    -2   16.95
CBOE Volatility Index (VIX)   SELL   10/21/2014    -2   16.95
CBOE Volatility Index (VIX)   SELL   10/21/2014    -1     17
CBOE Volatility Index (VIX)   SELL   10/21/2014    -1   16.95
CBOE Volatility Index (VIX)   SELL   10/22/2014   -10   18.05
CBOE Volatility Index (VIX)   SELL   10/22/2014    -6     18
CBOE Volatility Index (VIX)   SELL   10/22/2014    -4   18.05
CBOE Volatility Index (VIX)   SELL   10/22/2014    -4   18.05
CBOE Volatility Index (VIX)   SELL   10/22/2014    -4   18.05
CBOE Volatility Index (VIX)   SELL   10/22/2014    -2   18.05
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CBOE Volatility Index (VIX)   SELL   10/22/2014    -1   18.05
CBOE Volatility Index (VIX)   SELL   10/22/2014    -1   18.05
CBOE Volatility Index (VIX)   SELL   10/22/2014    -1   18.05
CBOE Volatility Index (VIX)   SELL   10/22/2014    -1   18.05
CBOE Volatility Index (VIX)   SELL   10/22/2014    -1     18
CBOE Volatility Index (VIX)   SELL   10/23/2014   -21   17.25
CBOE Volatility Index (VIX)   SELL   10/23/2014    -9   17.25
CBOE Volatility Index (VIX)   SELL   10/23/2014    -5   17.25
CBOE Volatility Index (VIX)   SELL   10/23/2014    -3   17.25
CBOE Volatility Index (VIX)   SELL   10/24/2014    -9   16.95
CBOE Volatility Index (VIX)   BUY    10/24/2014     1     17
CBOE Volatility Index (VIX)   SELL   10/27/2014    -1   16.85
CBOE Volatility Index (VIX)   SELL   10/27/2014    -1   16.85
CBOE Volatility Index (VIX)   SELL   10/28/2014    -2    15.7
CBOE Volatility Index (VIX)   BUY    10/28/2014     1    15.7
CBOE Volatility Index (VIX)   SELL   10/29/2014    -1    16.2
CBOE Volatility Index (VIX)   SELL   10/30/2014    -1   16.15
CBOE Volatility Index (VIX)   SELL   10/30/2014    -1   16.15
CBOE Volatility Index (VIX)   BUY    10/31/2014     2    15.8
CBOE Volatility Index (VIX)   SELL   11/5/2014     -1   15.25
CBOE Volatility Index (VIX)   BUY    11/5/2014      1    15.3
CBOE Volatility Index (VIX)   SELL   11/6/2014     -1    14.9
CBOE Volatility Index (VIX)   SELL   11/6/2014     -1    14.9
CBOE Volatility Index (VIX)   SELL   11/7/2014     -1   14.75
CBOE Volatility Index (VIX)   SELL   11/7/2014     -1   14.75
CBOE Volatility Index (VIX)   SELL   11/10/2014    -3   13.95
CBOE Volatility Index (VIX)   SELL   11/10/2014    -2   13.95
CBOE Volatility Index (VIX)   SELL   11/12/2014    -2   14.35
CBOE Volatility Index (VIX)   SELL   11/12/2014    -1   14.35
CBOE Volatility Index (VIX)   BUY    11/13/2014     1   14.65
CBOE Volatility Index (VIX)   SELL   11/14/2014    -1    14.3
CBOE Volatility Index (VIX)   SELL   11/14/2014    -1    14.3
CBOE Volatility Index (VIX)   BUY    11/17/2014     1   14.35
CBOE Volatility Index (VIX)   BUY    11/17/2014     1    14.4
CBOE Volatility Index (VIX)   BUY    11/17/2014     1   14.35
CBOE Volatility Index (VIX)   BUY    11/17/2014     1   14.35
CBOE Volatility Index (VIX)   BUY    11/17/2014     1   14.35
CBOE Volatility Index (VIX)   BUY    11/17/2014     1   14.35
CBOE Volatility Index (VIX)   BUY    11/17/2014     1   14.35
CBOE Volatility Index (VIX)   BUY    11/17/2014     1   14.35
CBOE Volatility Index (VIX)   BUY    11/17/2014     1   14.35
CBOE Volatility Index (VIX)   BUY    11/17/2014     1   14.35
CBOE Volatility Index (VIX)   BUY    11/17/2014     1    14.4
CBOE Volatility Index (VIX)   BUY    11/17/2014     1    14.4
CBOE Volatility Index (VIX)   BUY    11/17/2014     1   14.45
CBOE Volatility Index (VIX)   BUY    11/17/2014     2   14.35
CBOE Volatility Index (VIX)   BUY    11/17/2014     2    14.4
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CBOE Volatility Index (VIX)   BUY    11/17/2014     2    14.4
CBOE Volatility Index (VIX)   BUY    11/17/2014     3   14.25
CBOE Volatility Index (VIX)   BUY    11/17/2014     3    14.4
CBOE Volatility Index (VIX)   BUY    11/17/2014     5   14.25
CBOE Volatility Index (VIX)   BUY    11/17/2014     9   14.35
CBOE Volatility Index (VIX)   BUY    11/17/2014     9   14.35
CBOE Volatility Index (VIX)   BUY    11/17/2014   10    14.25
CBOE Volatility Index (VIX)   BUY    11/17/2014   21     14.3
CBOE Volatility Index (VIX)   SELL   11/17/2014   -24   15.25
CBOE Volatility Index (VIX)   SELL   11/17/2014   -23    15.2
CBOE Volatility Index (VIX)   SELL   11/17/2014   -11    15.3
CBOE Volatility Index (VIX)   SELL   11/17/2014    -4    15.3
CBOE Volatility Index (VIX)   SELL   11/17/2014    -3   15.25
CBOE Volatility Index (VIX)   SELL   11/17/2014    -3   15.25
CBOE Volatility Index (VIX)   SELL   11/17/2014    -2   15.15
CBOE Volatility Index (VIX)   SELL   11/17/2014    -2   15.15
CBOE Volatility Index (VIX)   SELL   11/17/2014    -2   15.15
CBOE Volatility Index (VIX)   SELL   11/17/2014    -2   15.15
CBOE Volatility Index (VIX)   SELL   11/17/2014    -1    15.2
CBOE Volatility Index (VIX)   SELL   11/17/2014    -1    15.2
CBOE Volatility Index (VIX)   SELL   11/17/2014    -1   15.25
CBOE Volatility Index (VIX)   SELL   11/17/2014    -1    15.3
CBOE Volatility Index (VIX)   BUY    11/17/2014     2    15.3
CBOE Volatility Index (VIX)   SELL   11/18/2014    -1    15.2
CBOE Volatility Index (VIX)   BUY    11/19/2014     2    15.5
CBOE Volatility Index (VIX)   SELL   11/20/2014   -10    15.1
CBOE Volatility Index (VIX)   SELL   11/20/2014    -6    15.1
CBOE Volatility Index (VIX)   SELL   11/24/2014    -2   14.55
CBOE Volatility Index (VIX)   SELL   11/24/2014    -1    14.5
CBOE Volatility Index (VIX)   SELL   11/24/2014    -1    14.5
CBOE Volatility Index (VIX)   SELL   11/24/2014    -1   14.55
CBOE Volatility Index (VIX)   SELL   11/25/2014    -6   14.45
CBOE Volatility Index (VIX)   SELL   11/25/2014    -2    14.4
CBOE Volatility Index (VIX)   SELL   11/26/2014    -3   14.15
CBOE Volatility Index (VIX)   SELL   11/26/2014    -3    14.2
CBOE Volatility Index (VIX)   SELL   11/26/2014    -2    14.2
CBOE Volatility Index (VIX)   SELL   11/26/2014    -1    14.2
CBOE Volatility Index (VIX)   SELL   11/26/2014    -1   14.15
CBOE Volatility Index (VIX)   SELL   11/26/2014    -1    14.2
CBOE Volatility Index (VIX)   BUY    12/1/2014      1    15.6
CBOE Volatility Index (VIX)   BUY    12/1/2014      2    15.6
CBOE Volatility Index (VIX)   BUY    12/1/2014      2    15.6
CBOE Volatility Index (VIX)   SELL   12/2/2014     -4    14.2
CBOE Volatility Index (VIX)   SELL   12/4/2014     -1    13.9
CBOE Volatility Index (VIX)   SELL   12/4/2014     -1   13.95
CBOE Volatility Index (VIX)   SELL   12/5/2014     -7   13.55
CBOE Volatility Index (VIX)   SELL   12/5/2014     -2   13.55
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CBOE Volatility Index (VIX)   SELL   12/5/2014    -2    13.55
CBOE Volatility Index (VIX)   SELL   12/8/2014    -4    14.65
CBOE Volatility Index (VIX)   BUY    12/9/2014     1     14.9
CBOE Volatility Index (VIX)   BUY    12/9/2014     1    14.95
CBOE Volatility Index (VIX)   BUY    12/9/2014    23     14.9
CBOE Volatility Index (VIX)   BUY    12/9/2014    24    14.95
CBOE Volatility Index (VIX)   SELL   12/10/2014   -1     17.4
CBOE Volatility Index (VIX)   BUY    12/10/2014    3     17.4
CBOE Volatility Index (VIX)   BUY    12/10/2014    3    17.45
CBOE Volatility Index (VIX)   BUY    12/11/2014    1     19.1
CBOE Volatility Index (VIX)   BUY    12/11/2014    1     19.1
CBOE Volatility Index (VIX)   BUY    12/11/2014    1     19.1
CBOE Volatility Index (VIX)   BUY    12/11/2014    1     19.1
CBOE Volatility Index (VIX)   BUY    12/11/2014    1     19.1
CBOE Volatility Index (VIX)   BUY    12/11/2014    1     19.1
CBOE Volatility Index (VIX)   BUY    12/11/2014    1     19.1
CBOE Volatility Index (VIX)   BUY    12/11/2014    2     19.1
CBOE Volatility Index (VIX)   BUY    12/11/2014    2     19.1
CBOE Volatility Index (VIX)   BUY    12/11/2014    3     19.1
CBOE Volatility Index (VIX)   BUY    12/11/2014    4     19.1
CBOE Volatility Index (VIX)   BUY    12/11/2014    6     19.1
CBOE Volatility Index (VIX)   BUY    12/11/2014    6     19.1
CBOE Volatility Index (VIX)   BUY    12/11/2014   10     19.1
CBOE Volatility Index (VIX)   BUY    12/11/2014   11     19.1
CBOE Volatility Index (VIX)   BUY    12/12/2014    1     19.7
CBOE Volatility Index (VIX)   BUY    12/12/2014    1     19.7
CBOE Volatility Index (VIX)   BUY    12/12/2014    1     19.7
CBOE Volatility Index (VIX)   BUY    12/12/2014    1     19.7
CBOE Volatility Index (VIX)   BUY    12/12/2014    1     19.6
CBOE Volatility Index (VIX)   BUY    12/12/2014    1     19.7
CBOE Volatility Index (VIX)   BUY    12/12/2014    1     19.7
CBOE Volatility Index (VIX)   BUY    12/12/2014    2    19.65
CBOE Volatility Index (VIX)   BUY    12/12/2014    2    19.65
CBOE Volatility Index (VIX)   BUY    12/12/2014    2    19.65
CBOE Volatility Index (VIX)   BUY    12/12/2014    2     19.7
CBOE Volatility Index (VIX)   BUY    12/12/2014    2     19.7
CBOE Volatility Index (VIX)   BUY    12/12/2014    3     19.6
CBOE Volatility Index (VIX)   BUY    12/12/2014    3     19.7
CBOE Volatility Index (VIX)   BUY    12/12/2014    3     19.7
CBOE Volatility Index (VIX)   BUY    12/12/2014    4     19.7
CBOE Volatility Index (VIX)   BUY    12/12/2014    4    19.65
CBOE Volatility Index (VIX)   BUY    12/12/2014    4     19.7
CBOE Volatility Index (VIX)   BUY    12/12/2014    7     19.6
CBOE Volatility Index (VIX)   BUY    12/12/2014    7     19.7
CBOE Volatility Index (VIX)   SELL   12/15/2014   -7     19.4
CBOE Volatility Index (VIX)   SELL   12/15/2014   -4     19.5
CBOE Volatility Index (VIX)   SELL   12/15/2014   -3     19.3
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CBOE Volatility Index (VIX)   SELL   12/15/2014    -3   19.35
CBOE Volatility Index (VIX)   SELL   12/15/2014    -2    19.2
CBOE Volatility Index (VIX)   SELL   12/15/2014    -2   19.45
CBOE Volatility Index (VIX)   SELL   12/15/2014    -1     19
CBOE Volatility Index (VIX)   SELL   12/15/2014    -1   19.25
CBOE Volatility Index (VIX)   SELL   12/15/2014    -1   19.65
CBOE Volatility Index (VIX)   SELL   12/15/2014    -1    18.6
CBOE Volatility Index (VIX)   SELL   12/15/2014    -1    18.6
CBOE Volatility Index (VIX)   BUY    12/15/2014     1   18.55
CBOE Volatility Index (VIX)   BUY    12/15/2014     1   18.95
CBOE Volatility Index (VIX)   BUY    12/15/2014     1     19
CBOE Volatility Index (VIX)   BUY    12/15/2014     1   19.05
CBOE Volatility Index (VIX)   BUY    12/15/2014     1    18.6
CBOE Volatility Index (VIX)   BUY    12/15/2014     1    18.6
CBOE Volatility Index (VIX)   BUY    12/15/2014     2   18.65
CBOE Volatility Index (VIX)   BUY    12/15/2014     2   18.75
CBOE Volatility Index (VIX)   BUY    12/15/2014     3    18.9
CBOE Volatility Index (VIX)   BUY    12/15/2014     4    18.8
CBOE Volatility Index (VIX)   BUY    12/15/2014     4    18.6
CBOE Volatility Index (VIX)   BUY    12/15/2014     7   18.65
CBOE Volatility Index (VIX)   BUY    12/15/2014     9   18.85
CBOE Volatility Index (VIX)   BUY    12/16/2014     3   20.15
CBOE Volatility Index (VIX)   BUY    12/16/2014     4    19.9
CBOE Volatility Index (VIX)   BUY    12/16/2014     9    19.9
CBOE Volatility Index (VIX)   BUY    12/17/2014     1    17.7
CBOE Volatility Index (VIX)   BUY    12/17/2014     6    17.7
CBOE Volatility Index (VIX)   SELL   12/18/2014    -9    17.2
CBOE Volatility Index (VIX)   SELL   12/18/2014    -7   17.15
CBOE Volatility Index (VIX)   SELL   12/18/2014    -4    17.2
CBOE Volatility Index (VIX)   SELL   12/18/2014    -4   17.15
CBOE Volatility Index (VIX)   SELL   12/18/2014    -4    17.2
CBOE Volatility Index (VIX)   SELL   12/18/2014    -3    17.2
CBOE Volatility Index (VIX)   SELL   12/18/2014    -2    17.2
CBOE Volatility Index (VIX)   SELL   12/18/2014    -2   17.15
CBOE Volatility Index (VIX)   SELL   12/18/2014    -1    17.2
CBOE Volatility Index (VIX)   SELL   12/18/2014    -1    17.2
CBOE Volatility Index (VIX)   SELL   12/18/2014    -1    17.2
CBOE Volatility Index (VIX)   SELL   12/18/2014    -1    17.2
CBOE Volatility Index (VIX)   SELL   12/19/2014   -17   16.55
CBOE Volatility Index (VIX)   SELL   12/19/2014    -9   16.45
CBOE Volatility Index (VIX)   SELL   12/19/2014    -6    16.5
CBOE Volatility Index (VIX)   SELL   12/19/2014    -4   16.55
CBOE Volatility Index (VIX)   SELL   12/19/2014    -3    16.5
CBOE Volatility Index (VIX)   SELL   12/19/2014    -3    16.5
CBOE Volatility Index (VIX)   SELL   12/19/2014    -1   16.55
CBOE Volatility Index (VIX)   SELL   12/22/2014   -24   16.45
CBOE Volatility Index (VIX)   SELL   12/22/2014   -11   16.45
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CBOE Volatility Index (VIX)   SELL   12/22/2014    -3   16.45
CBOE Volatility Index (VIX)   SELL   12/22/2014    -2   16.45
CBOE Volatility Index (VIX)   SELL   12/22/2014    -2   16.45
CBOE Volatility Index (VIX)   SELL   12/22/2014    -1   16.45
CBOE Volatility Index (VIX)   SELL   12/23/2014    -5   15.95
CBOE Volatility Index (VIX)   SELL   12/23/2014    -4    15.9
CBOE Volatility Index (VIX)   SELL   12/23/2014    -1    15.9
CBOE Volatility Index (VIX)   SELL   12/23/2014    -1   15.95
CBOE Volatility Index (VIX)   SELL   12/24/2014    -1   16.15
CBOE Volatility Index (VIX)   SELL   12/24/2014    -1    16.2
CBOE Volatility Index (VIX)   SELL   12/29/2014    -2   16.05
CBOE Volatility Index (VIX)   BUY    12/31/2014     2   17.95
CBOE Volatility Index (VIX)   BUY    12/31/2014     3   17.95
CBOE Volatility Index (VIX)   BUY    12/31/2014     3    17.9
CBOE Volatility Index (VIX)   BUY    12/31/2014     4    17.9
CBOE Volatility Index (VIX)   BUY    12/31/2014   11    18.05
CBOE Volatility Index (VIX)   BUY    12/31/2014   17     17.9
CBOE Volatility Index (VIX)   BUY     1/2/2015      1   17.85
CBOE Volatility Index (VIX)   BUY     1/2/2015      2   17.85
CBOE Volatility Index (VIX)   SELL    1/5/2015     -1   19.05
CBOE Volatility Index (VIX)   SELL    1/5/2015     -1    19.1
CBOE Volatility Index (VIX)   BUY     1/5/2015      1   19.15
CBOE Volatility Index (VIX)   BUY     1/5/2015      1    19.1
CBOE Volatility Index (VIX)   BUY     1/5/2015      1    19.1
CBOE Volatility Index (VIX)   BUY     1/5/2015      1   19.15
CBOE Volatility Index (VIX)   BUY     1/5/2015      2   19.15
CBOE Volatility Index (VIX)   BUY     1/5/2015      4    19.1
CBOE Volatility Index (VIX)   BUY     1/5/2015      5    19.1
CBOE Volatility Index (VIX)   BUY     1/5/2015    24     19.1
CBOE Volatility Index (VIX)   SELL    1/6/2015     -1    19.8
CBOE Volatility Index (VIX)   SELL    1/6/2015     -1   19.85
CBOE Volatility Index (VIX)   BUY     1/7/2015      1    18.9
CBOE Volatility Index (VIX)   BUY     1/7/2015      1    18.9
CBOE Volatility Index (VIX)   BUY     1/7/2015      1    18.9
CBOE Volatility Index (VIX)   BUY     1/7/2015      1    18.9
CBOE Volatility Index (VIX)   BUY     1/7/2015    11     18.9
CBOE Volatility Index (VIX)   BUY     1/7/2015    23     18.9
CBOE Volatility Index (VIX)   SELL    1/8/2015    -23    17.6
CBOE Volatility Index (VIX)   SELL    1/8/2015    -11   17.65
CBOE Volatility Index (VIX)   SELL    1/8/2015     -1   17.65
CBOE Volatility Index (VIX)   SELL    1/8/2015     -1   17.65
CBOE Volatility Index (VIX)   SELL    1/8/2015     -1   17.65
CBOE Volatility Index (VIX)   SELL    1/9/2015    -15    18.6
CBOE Volatility Index (VIX)   SELL    1/9/2015    -13   18.55
CBOE Volatility Index (VIX)   SELL    1/9/2015     -6   18.55
CBOE Volatility Index (VIX)   SELL    1/9/2015     -1   18.55
CBOE Volatility Index (VIX)   SELL    1/9/2015     -1   18.55
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CBOE Volatility Index (VIX)   BUY     1/9/2015     1    18.55
CBOE Volatility Index (VIX)   BUY     1/9/2015     1     18.6
CBOE Volatility Index (VIX)   SELL   1/12/2015   -21    19.55
CBOE Volatility Index (VIX)   SELL   1/12/2015   -14     19.5
CBOE Volatility Index (VIX)   BUY    1/12/2015     1     19.6
CBOE Volatility Index (VIX)   BUY    1/12/2015     1    19.55
CBOE Volatility Index (VIX)   BUY    1/13/2015     1    20.25
CBOE Volatility Index (VIX)   BUY    1/13/2015     1    20.25
CBOE Volatility Index (VIX)   BUY    1/13/2015     1     20.2
CBOE Volatility Index (VIX)   BUY    1/13/2015     6    20.25
CBOE Volatility Index (VIX)   BUY    1/13/2015   13      20.2
CBOE Volatility Index (VIX)   BUY    1/13/2015   14     20.25
CBOE Volatility Index (VIX)   BUY    1/13/2015   15     20.25
CBOE Volatility Index (VIX)   BUY    1/13/2015   21     20.25
CBOE Volatility Index (VIX)   BUY    1/14/2015     1    20.55
CBOE Volatility Index (VIX)   BUY    1/14/2015     1    20.55
CBOE Volatility Index (VIX)   BUY    1/14/2015     1    20.55
CBOE Volatility Index (VIX)   BUY    1/14/2015     1    20.55
CBOE Volatility Index (VIX)   BUY    1/14/2015     1     20.6
CBOE Volatility Index (VIX)   BUY    1/14/2015     1    20.55
CBOE Volatility Index (VIX)   BUY    1/14/2015     2    20.55
CBOE Volatility Index (VIX)   BUY    1/14/2015     2    20.55
CBOE Volatility Index (VIX)   BUY    1/14/2015     2     20.6
CBOE Volatility Index (VIX)   BUY    1/14/2015     2    20.55
CBOE Volatility Index (VIX)   BUY    1/14/2015     3     20.6
CBOE Volatility Index (VIX)   BUY    1/14/2015     4    20.55
CBOE Volatility Index (VIX)   BUY    1/14/2015     4     20.6
CBOE Volatility Index (VIX)   BUY    1/14/2015     4     20.6
CBOE Volatility Index (VIX)   BUY    1/14/2015     4     20.6
CBOE Volatility Index (VIX)   BUY    1/14/2015     5     20.6
CBOE Volatility Index (VIX)   BUY    1/14/2015     6     20.6
CBOE Volatility Index (VIX)   SELL   1/15/2015    -1    21.45
CBOE Volatility Index (VIX)   BUY    1/15/2015     1    21.45
CBOE Volatility Index (VIX)   BUY    1/15/2015     2     21.5
CBOE Volatility Index (VIX)   BUY    1/15/2015     5    21.45
CBOE Volatility Index (VIX)   SELL   1/16/2015    -6    21.05
CBOE Volatility Index (VIX)   SELL   1/16/2015    -5     21.2
CBOE Volatility Index (VIX)   SELL   1/16/2015    -5    21.25
CBOE Volatility Index (VIX)   SELL   1/16/2015    -4     20.6
CBOE Volatility Index (VIX)   SELL   1/16/2015    -4    20.95
CBOE Volatility Index (VIX)   SELL   1/16/2015    -4      21
CBOE Volatility Index (VIX)   SELL   1/16/2015    -4    21.15
CBOE Volatility Index (VIX)   SELL   1/16/2015    -3    21.25
CBOE Volatility Index (VIX)   SELL   1/16/2015    -2    20.55
CBOE Volatility Index (VIX)   SELL   1/16/2015    -2     20.7
CBOE Volatility Index (VIX)   SELL   1/16/2015    -2    21.35
CBOE Volatility Index (VIX)   SELL   1/16/2015    -2     20.9
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CBOE Volatility Index (VIX)   SELL   1/16/2015    -2      21
CBOE Volatility Index (VIX)   SELL   1/16/2015    -1    20.65
CBOE Volatility Index (VIX)   SELL   1/16/2015    -1    20.75
CBOE Volatility Index (VIX)   SELL   1/16/2015    -1     20.8
CBOE Volatility Index (VIX)   SELL   1/16/2015    -1    20.85
CBOE Volatility Index (VIX)   SELL   1/16/2015    -1     21.1
CBOE Volatility Index (VIX)   SELL   1/16/2015    -1    20.55
CBOE Volatility Index (VIX)   SELL   1/16/2015    -1     20.6
CBOE Volatility Index (VIX)   SELL   1/16/2015    -1     21.3
CBOE Volatility Index (VIX)   BUY    1/16/2015     1    20.15
CBOE Volatility Index (VIX)   BUY    1/16/2015     1    20.15
CBOE Volatility Index (VIX)   BUY    1/16/2015     2     20.6
CBOE Volatility Index (VIX)   BUY    1/16/2015     3    20.25
CBOE Volatility Index (VIX)   BUY    1/16/2015     3    20.35
CBOE Volatility Index (VIX)   BUY    1/16/2015     4    20.55
CBOE Volatility Index (VIX)   BUY    1/16/2015     5     20.2
CBOE Volatility Index (VIX)   BUY    1/16/2015     5     20.3
CBOE Volatility Index (VIX)   BUY    1/16/2015     5     20.5
CBOE Volatility Index (VIX)   BUY    1/16/2015     6     20.1
CBOE Volatility Index (VIX)   BUY    1/16/2015     7    20.15
CBOE Volatility Index (VIX)   BUY    1/16/2015     8    20.45
CBOE Volatility Index (VIX)   BUY    1/16/2015   10      20.4
CBOE Volatility Index (VIX)   SELL   1/20/2015   -10     20.1
CBOE Volatility Index (VIX)   SELL   1/20/2015    -7     20.1
CBOE Volatility Index (VIX)   SELL   1/20/2015    -6     20.1
CBOE Volatility Index (VIX)   SELL   1/20/2015    -5     20.1
CBOE Volatility Index (VIX)   SELL   1/20/2015    -5     20.1
CBOE Volatility Index (VIX)   SELL   1/20/2015    -3     20.1
CBOE Volatility Index (VIX)   SELL   1/20/2015    -3     20.1
CBOE Volatility Index (VIX)   SELL   1/20/2015    -1     20.1
CBOE Volatility Index (VIX)   SELL   1/20/2015    -1     20.1
CBOE Volatility Index (VIX)   SELL   1/21/2015    -8    18.85
CBOE Volatility Index (VIX)   SELL   1/21/2015    -5    18.85
CBOE Volatility Index (VIX)   SELL   1/21/2015    -4     18.9
CBOE Volatility Index (VIX)   SELL   1/21/2015    -2     18.9
CBOE Volatility Index (VIX)   SELL   1/21/2015    -2     18.9
CBOE Volatility Index (VIX)   SELL   1/21/2015    -2     18.9
CBOE Volatility Index (VIX)   SELL   1/21/2015    -2     18.9
CBOE Volatility Index (VIX)   SELL   1/21/2015    -2     18.9
CBOE Volatility Index (VIX)   SELL   1/21/2015    -2     18.9
CBOE Volatility Index (VIX)   SELL   1/21/2015    -1     18.9
CBOE Volatility Index (VIX)   SELL   1/21/2015    -1     18.9
CBOE Volatility Index (VIX)   SELL   1/21/2015    -1     18.9
CBOE Volatility Index (VIX)   SELL   1/21/2015    -1     18.9
CBOE Volatility Index (VIX)   SELL   1/21/2015    -1     18.9
CBOE Volatility Index (VIX)   SELL   1/22/2015   -10    17.85
CBOE Volatility Index (VIX)   SELL   1/22/2015   -10     17.8
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CBOE Volatility Index (VIX)   SELL   1/22/2015   -7     17.85
CBOE Volatility Index (VIX)   SELL   1/22/2015   -4      17.8
CBOE Volatility Index (VIX)   SELL   1/22/2015   -3     17.85
CBOE Volatility Index (VIX)   SELL   1/22/2015   -3      17.8
CBOE Volatility Index (VIX)   SELL   1/22/2015   -3      17.8
CBOE Volatility Index (VIX)   SELL   1/22/2015   -2      17.8
CBOE Volatility Index (VIX)   SELL   1/22/2015   -1      17.8
CBOE Volatility Index (VIX)   SELL   1/22/2015   -1      17.8
CBOE Volatility Index (VIX)   SELL   1/23/2015   -3     18.35
CBOE Volatility Index (VIX)   SELL   1/23/2015   -2      18.3
CBOE Volatility Index (VIX)   SELL   1/23/2015   -1      18.3
CBOE Volatility Index (VIX)   SELL   1/23/2015   -1      18.3
CBOE Volatility Index (VIX)   SELL   1/23/2015   -1     18.35
CBOE Volatility Index (VIX)   SELL   1/26/2015   -1      17.2
CBOE Volatility Index (VIX)   BUY    1/28/2015    1      20.4
CBOE Volatility Index (VIX)   BUY    1/28/2015    1     20.45
CBOE Volatility Index (VIX)   BUY    1/29/2015    2      19.1
CBOE Volatility Index (VIX)   BUY    1/30/2015    1      21.1
CBOE Volatility Index (VIX)   BUY    1/30/2015    2     21.05
CBOE Volatility Index (VIX)   SELL    2/3/2015   -1     18.85
CBOE Volatility Index (VIX)   SELL    2/4/2015   -1     19.75
CBOE Volatility Index (VIX)   SELL    2/5/2015   -2     18.65
CBOE Volatility Index (VIX)   SELL    2/5/2015   -1     18.65
CBOE Volatility Index (VIX)   BUY     2/6/2015    2      19.1
CBOE Volatility Index (VIX)   SELL    2/9/2015   -1     19.65
CBOE Volatility Index (VIX)   SELL   2/11/2015   -1     18.35
CBOE Volatility Index (VIX)   SELL   2/11/2015   -1     18.35
CBOE Volatility Index (VIX)   SELL   2/12/2015   -1     16.95
CBOE Volatility Index (VIX)   SELL   2/12/2015   -1     16.95
CBOE Volatility Index (VIX)   BUY    2/12/2015    1     16.95
CBOE Volatility Index (VIX)   BUY    2/12/2015    1       17
CBOE Volatility Index (VIX)   BUY    2/13/2015    1      16.6
CBOE Volatility Index (VIX)   BUY    2/13/2015    1     16.75
CBOE Volatility Index (VIX)   BUY    2/13/2015    1     16.85
CBOE Volatility Index (VIX)   BUY    2/13/2015    1      16.7
CBOE Volatility Index (VIX)   BUY    2/13/2015    1      16.8
CBOE Volatility Index (VIX)   BUY    2/13/2015    1      16.8
CBOE Volatility Index (VIX)   BUY    2/13/2015    1      16.8
CBOE Volatility Index (VIX)   BUY    2/13/2015    1      16.8
CBOE Volatility Index (VIX)   BUY    2/13/2015    1      16.8
CBOE Volatility Index (VIX)   BUY    2/13/2015    1      16.8
CBOE Volatility Index (VIX)   BUY    2/13/2015    1      16.8
CBOE Volatility Index (VIX)   BUY    2/13/2015    1      16.8
CBOE Volatility Index (VIX)   BUY    2/13/2015    1      16.8
CBOE Volatility Index (VIX)   BUY    2/13/2015    1      16.9
CBOE Volatility Index (VIX)   BUY    2/13/2015    2      16.4
CBOE Volatility Index (VIX)   BUY    2/13/2015    2     16.45
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CBOE Volatility Index (VIX)   BUY    2/13/2015     2    16.45
CBOE Volatility Index (VIX)   BUY    2/13/2015     2     16.8
CBOE Volatility Index (VIX)   BUY    2/13/2015     2     16.8
CBOE Volatility Index (VIX)   BUY    2/13/2015     3     16.5
CBOE Volatility Index (VIX)   BUY    2/13/2015     3    16.55
CBOE Volatility Index (VIX)   BUY    2/13/2015     3    16.75
CBOE Volatility Index (VIX)   BUY    2/13/2015     3     16.8
CBOE Volatility Index (VIX)   BUY    2/13/2015     4     16.7
CBOE Volatility Index (VIX)   BUY    2/13/2015     7     16.7
CBOE Volatility Index (VIX)   BUY    2/13/2015   10     16.65
CBOE Volatility Index (VIX)   BUY    2/13/2015   10     16.75
CBOE Volatility Index (VIX)   SELL   2/13/2015   -13     18.2
CBOE Volatility Index (VIX)   SELL   2/13/2015   -11     18.3
CBOE Volatility Index (VIX)   SELL   2/13/2015    -8    18.25
CBOE Volatility Index (VIX)   SELL   2/13/2015    -7    18.35
CBOE Volatility Index (VIX)   SELL   2/13/2015    -6     18.4
CBOE Volatility Index (VIX)   SELL   2/13/2015    -5     18.1
CBOE Volatility Index (VIX)   SELL   2/13/2015    -3    18.35
CBOE Volatility Index (VIX)   SELL   2/13/2015    -2    18.05
CBOE Volatility Index (VIX)   SELL   2/13/2015    -2     18.1
CBOE Volatility Index (VIX)   SELL   2/13/2015    -2     18.2
CBOE Volatility Index (VIX)   SELL   2/13/2015    -1     18.1
CBOE Volatility Index (VIX)   SELL   2/13/2015    -1    18.05
CBOE Volatility Index (VIX)   SELL   2/13/2015    -1    18.15
CBOE Volatility Index (VIX)   SELL   2/13/2015    -1    18.45
CBOE Volatility Index (VIX)   SELL   2/13/2015    -1    18.05
CBOE Volatility Index (VIX)   SELL   2/13/2015    -1    18.05
CBOE Volatility Index (VIX)   SELL   2/13/2015    -1    18.05
CBOE Volatility Index (VIX)   SELL   2/13/2015    -1     18.1
CBOE Volatility Index (VIX)   SELL   2/13/2015    -1     18.1
CBOE Volatility Index (VIX)   SELL   2/13/2015    -1     18.1
CBOE Volatility Index (VIX)   SELL   2/13/2015    -1    18.15
CBOE Volatility Index (VIX)   BUY    2/17/2015     1     18.2
CBOE Volatility Index (VIX)   BUY    2/18/2015     2     17.9
CBOE Volatility Index (VIX)   SELL   2/19/2015    -2     17.6
CBOE Volatility Index (VIX)   SELL   2/20/2015    -3    16.95
CBOE Volatility Index (VIX)   SELL   2/20/2015    -2     16.9
CBOE Volatility Index (VIX)   SELL   2/20/2015    -1     16.9
CBOE Volatility Index (VIX)   SELL   2/20/2015    -1    16.95
CBOE Volatility Index (VIX)   SELL   2/23/2015    -6      17
CBOE Volatility Index (VIX)   SELL   2/23/2015    -1      17
CBOE Volatility Index (VIX)   SELL   2/24/2015    -4    16.15
CBOE Volatility Index (VIX)   SELL   2/24/2015    -1    16.15
CBOE Volatility Index (VIX)   SELL   2/25/2015    -4     16.4
CBOE Volatility Index (VIX)   SELL   2/25/2015    -2     16.4
CBOE Volatility Index (VIX)   SELL   2/25/2015    -2     16.4
CBOE Volatility Index (VIX)   SELL   2/26/2015    -2      16
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CBOE Volatility Index (VIX)   SELL   2/26/2015   -1     16.05
CBOE Volatility Index (VIX)   SELL   2/27/2015   -1     15.85
CBOE Volatility Index (VIX)   SELL    3/2/2015   -1      15.3
CBOE Volatility Index (VIX)   SELL    3/2/2015   -1      15.3
CBOE Volatility Index (VIX)   SELL    3/3/2015   -3      15.8
CBOE Volatility Index (VIX)   SELL    3/3/2015   -1     15.75
CBOE Volatility Index (VIX)   SELL    3/4/2015   -5      15.7
CBOE Volatility Index (VIX)   SELL    3/4/2015   -2      15.7
CBOE Volatility Index (VIX)   SELL    3/5/2015   -3      15.4
CBOE Volatility Index (VIX)   SELL    3/5/2015   -2     15.35
CBOE Volatility Index (VIX)   BUY     3/5/2015    1      15.4
CBOE Volatility Index (VIX)   SELL    3/6/2015   -2     16.25
CBOE Volatility Index (VIX)   SELL    3/6/2015   -1      16.2
CBOE Volatility Index (VIX)   BUY     3/6/2015    1     16.25
CBOE Volatility Index (VIX)   SELL    3/9/2015   -3      15.8
CBOE Volatility Index (VIX)   SELL    3/9/2015   -1      15.8
CBOE Volatility Index (VIX)   BUY    3/10/2015    1     16.95
CBOE Volatility Index (VIX)   BUY    3/10/2015    1     16.95
CBOE Volatility Index (VIX)   BUY    3/11/2015    1     17.25
CBOE Volatility Index (VIX)   BUY    3/11/2015    2     17.25
CBOE Volatility Index (VIX)   SELL   3/13/2015   -1     16.45
CBOE Volatility Index (VIX)   BUY    3/16/2015    1     15.85
CBOE Volatility Index (VIX)   BUY    3/16/2015    1     15.85
CBOE Volatility Index (VIX)   BUY    3/16/2015    1     15.85
CBOE Volatility Index (VIX)   BUY    3/16/2015    1     15.85
CBOE Volatility Index (VIX)   BUY    3/16/2015    1     15.95
CBOE Volatility Index (VIX)   BUY    3/16/2015    1     15.95
CBOE Volatility Index (VIX)   BUY    3/16/2015    1     15.95
CBOE Volatility Index (VIX)   BUY    3/16/2015    1     15.95
CBOE Volatility Index (VIX)   BUY    3/16/2015    1       16
CBOE Volatility Index (VIX)   BUY    3/16/2015    1     16.05
CBOE Volatility Index (VIX)   BUY    3/16/2015    1     16.05
CBOE Volatility Index (VIX)   BUY    3/16/2015    1     16.05
CBOE Volatility Index (VIX)   BUY    3/16/2015    1     16.05
CBOE Volatility Index (VIX)   BUY    3/16/2015    1     16.05
CBOE Volatility Index (VIX)   BUY    3/16/2015    1     16.05
CBOE Volatility Index (VIX)   BUY    3/16/2015    1      16.1
CBOE Volatility Index (VIX)   BUY    3/16/2015    1      16.1
CBOE Volatility Index (VIX)   BUY    3/16/2015    2     15.85
CBOE Volatility Index (VIX)   BUY    3/16/2015    2     15.95
CBOE Volatility Index (VIX)   BUY    3/16/2015    2     15.95
CBOE Volatility Index (VIX)   BUY    3/16/2015    2     16.05
CBOE Volatility Index (VIX)   BUY    3/16/2015    2     16.05
CBOE Volatility Index (VIX)   BUY    3/16/2015    2     16.05
CBOE Volatility Index (VIX)   BUY    3/16/2015    2     16.05
CBOE Volatility Index (VIX)   BUY    3/16/2015    2     16.05
CBOE Volatility Index (VIX)   BUY    3/16/2015    2     16.05
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CBOE Volatility Index (VIX)   BUY    3/16/2015     3     15.9
CBOE Volatility Index (VIX)   BUY    3/16/2015     3    16.05
CBOE Volatility Index (VIX)   BUY    3/16/2015     3    15.95
CBOE Volatility Index (VIX)   BUY    3/16/2015     3    16.05
CBOE Volatility Index (VIX)   BUY    3/16/2015     3    16.05
CBOE Volatility Index (VIX)   BUY    3/16/2015     4      16
CBOE Volatility Index (VIX)   BUY    3/16/2015     4      16
CBOE Volatility Index (VIX)   BUY    3/16/2015     5    15.85
CBOE Volatility Index (VIX)   BUY    3/16/2015     5    16.05
CBOE Volatility Index (VIX)   BUY    3/16/2015     6    15.95
CBOE Volatility Index (VIX)   BUY    3/16/2015     6    15.95
CBOE Volatility Index (VIX)   BUY    3/16/2015     7    15.95
CBOE Volatility Index (VIX)   BUY    3/16/2015     8     15.9
CBOE Volatility Index (VIX)   BUY    3/16/2015   11      15.9
CBOE Volatility Index (VIX)   BUY    3/16/2015   13      15.9
CBOE Volatility Index (VIX)   SELL   3/16/2015   -29    17.25
CBOE Volatility Index (VIX)   SELL   3/16/2015   -13     17.3
CBOE Volatility Index (VIX)   SELL   3/16/2015   -13    17.35
CBOE Volatility Index (VIX)   SELL   3/16/2015   -10    17.25
CBOE Volatility Index (VIX)   SELL   3/16/2015    -8    17.45
CBOE Volatility Index (VIX)   SELL   3/16/2015    -8     17.3
CBOE Volatility Index (VIX)   SELL   3/16/2015    -8    17.45
CBOE Volatility Index (VIX)   SELL   3/16/2015    -7     17.4
CBOE Volatility Index (VIX)   SELL   3/16/2015    -5     17.3
CBOE Volatility Index (VIX)   SELL   3/16/2015    -4    17.25
CBOE Volatility Index (VIX)   SELL   3/16/2015    -4     17.4
CBOE Volatility Index (VIX)   SELL   3/16/2015    -2     17.2
CBOE Volatility Index (VIX)   SELL   3/16/2015    -2     17.2
CBOE Volatility Index (VIX)   SELL   3/16/2015    -1     17.4
CBOE Volatility Index (VIX)   SELL   3/16/2015    -1     17.2
CBOE Volatility Index (VIX)   SELL   3/16/2015    -1     17.2
CBOE Volatility Index (VIX)   SELL   3/16/2015    -1     17.2
CBOE Volatility Index (VIX)   SELL   3/16/2015    -1    17.25
CBOE Volatility Index (VIX)   SELL   3/16/2015    -1     17.3
CBOE Volatility Index (VIX)   BUY    3/16/2015     1     17.5
CBOE Volatility Index (VIX)   BUY    3/17/2015     1     17.4
CBOE Volatility Index (VIX)   BUY    3/17/2015     2     17.4
CBOE Volatility Index (VIX)   SELL   3/18/2015    -1     16.5
CBOE Volatility Index (VIX)   BUY    3/19/2015     1    16.55
CBOE Volatility Index (VIX)   SELL   3/20/2015    -2    16.15
CBOE Volatility Index (VIX)   SELL   3/20/2015    -1    16.15
CBOE Volatility Index (VIX)   SELL   3/23/2015    -1    16.05
CBOE Volatility Index (VIX)   SELL   3/24/2015    -2     15.9
CBOE Volatility Index (VIX)   BUY    3/25/2015     2     16.6
CBOE Volatility Index (VIX)   SELL   3/30/2015    -1    15.75
CBOE Volatility Index (VIX)   SELL   3/31/2015    -1    16.25
CBOE Volatility Index (VIX)   SELL   3/31/2015    -1     16.3
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CBOE Volatility Index (VIX)   BUY    3/31/2015     1     16.3
CBOE Volatility Index (VIX)   SELL    4/1/2015    -1      16
CBOE Volatility Index (VIX)   SELL    4/2/2015    -1     15.6
CBOE Volatility Index (VIX)   SELL    4/6/2015    -2    15.25
CBOE Volatility Index (VIX)   SELL    4/8/2015    -1     14.8
CBOE Volatility Index (VIX)   SELL    4/8/2015    -1    14.85
CBOE Volatility Index (VIX)   SELL    4/8/2015    -1     14.8
CBOE Volatility Index (VIX)   SELL    4/8/2015    -1    14.85
CBOE Volatility Index (VIX)   SELL    4/9/2015    -8     14.1
CBOE Volatility Index (VIX)   SELL    4/9/2015    -6     14.1
CBOE Volatility Index (VIX)   SELL    4/9/2015    -1     14.1
CBOE Volatility Index (VIX)   SELL   4/10/2015    -2    13.45
CBOE Volatility Index (VIX)   SELL   4/10/2015    -2    13.45
CBOE Volatility Index (VIX)   BUY    4/13/2015     1     14.2
CBOE Volatility Index (VIX)   BUY    4/13/2015     1    14.45
CBOE Volatility Index (VIX)   BUY    4/13/2015     1     14.4
CBOE Volatility Index (VIX)   BUY    4/13/2015     1    14.45
CBOE Volatility Index (VIX)   BUY    4/13/2015     1    14.45
CBOE Volatility Index (VIX)   BUY    4/13/2015     1    14.45
CBOE Volatility Index (VIX)   BUY    4/13/2015     1    14.45
CBOE Volatility Index (VIX)   BUY    4/13/2015     1    14.45
CBOE Volatility Index (VIX)   BUY    4/13/2015     1    14.45
CBOE Volatility Index (VIX)   BUY    4/13/2015     1    14.45
CBOE Volatility Index (VIX)   BUY    4/13/2015     1    14.45
CBOE Volatility Index (VIX)   BUY    4/13/2015     1    14.45
CBOE Volatility Index (VIX)   BUY    4/13/2015     1    14.45
CBOE Volatility Index (VIX)   BUY    4/13/2015     1    14.45
CBOE Volatility Index (VIX)   BUY    4/13/2015     1    14.45
CBOE Volatility Index (VIX)   BUY    4/13/2015     2    14.45
CBOE Volatility Index (VIX)   BUY    4/13/2015     2    14.45
CBOE Volatility Index (VIX)   BUY    4/13/2015     2    14.45
CBOE Volatility Index (VIX)   BUY    4/13/2015     2     14.5
CBOE Volatility Index (VIX)   BUY    4/13/2015     2     14.5
CBOE Volatility Index (VIX)   BUY    4/13/2015     4    14.05
CBOE Volatility Index (VIX)   BUY    4/13/2015     4     14.3
CBOE Volatility Index (VIX)   BUY    4/13/2015     5    14.25
CBOE Volatility Index (VIX)   BUY    4/13/2015     6     14.5
CBOE Volatility Index (VIX)   BUY    4/13/2015     7    14.35
CBOE Volatility Index (VIX)   BUY    4/13/2015     8    14.15
CBOE Volatility Index (VIX)   BUY    4/13/2015     8     14.4
CBOE Volatility Index (VIX)   BUY    4/13/2015     8    14.45
CBOE Volatility Index (VIX)   BUY    4/13/2015     8     14.5
CBOE Volatility Index (VIX)   BUY    4/13/2015   10       14
CBOE Volatility Index (VIX)   BUY    4/13/2015   13      14.3
CBOE Volatility Index (VIX)   BUY    4/13/2015   13      14.3
CBOE Volatility Index (VIX)   BUY    4/13/2015   29      14.1
CBOE Volatility Index (VIX)   SELL   4/13/2015   -32     15.9
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CBOE Volatility Index (VIX)   SELL   4/13/2015   -19   15.95
CBOE Volatility Index (VIX)   SELL   4/13/2015   -15    15.8
CBOE Volatility Index (VIX)   SELL   4/13/2015   -14   16.05
CBOE Volatility Index (VIX)   SELL   4/13/2015   -10     16
CBOE Volatility Index (VIX)   SELL   4/13/2015    -8   15.85
CBOE Volatility Index (VIX)   SELL   4/13/2015    -8   15.75
CBOE Volatility Index (VIX)   SELL   4/13/2015    -7     16
CBOE Volatility Index (VIX)   SELL   4/13/2015    -6   15.75
CBOE Volatility Index (VIX)   SELL   4/13/2015    -5   15.75
CBOE Volatility Index (VIX)   SELL   4/13/2015    -3    15.9
CBOE Volatility Index (VIX)   SELL   4/13/2015    -3    15.7
CBOE Volatility Index (VIX)   SELL   4/13/2015    -2    15.7
CBOE Volatility Index (VIX)   SELL   4/13/2015    -2    15.7
CBOE Volatility Index (VIX)   SELL   4/13/2015    -2    15.7
CBOE Volatility Index (VIX)   SELL   4/13/2015    -2   15.75
CBOE Volatility Index (VIX)   SELL   4/13/2015    -1   15.65
CBOE Volatility Index (VIX)   SELL   4/13/2015    -1    15.7
CBOE Volatility Index (VIX)   SELL   4/13/2015    -1    15.7
CBOE Volatility Index (VIX)   SELL   4/13/2015    -1    15.7
CBOE Volatility Index (VIX)   SELL   4/13/2015    -1    15.7
CBOE Volatility Index (VIX)   SELL   4/13/2015    -1    15.7
CBOE Volatility Index (VIX)   SELL   4/13/2015    -1    15.7
CBOE Volatility Index (VIX)   SELL   4/13/2015    -1    15.7
CBOE Volatility Index (VIX)   SELL   4/13/2015    -1    15.7
CBOE Volatility Index (VIX)   SELL   4/13/2015    -1    15.7
CBOE Volatility Index (VIX)   BUY    4/13/2015     1    16.1
CBOE Volatility Index (VIX)   BUY    4/13/2015     1    16.1
CBOE Volatility Index (VIX)   BUY    4/14/2015     1    15.7
CBOE Volatility Index (VIX)   BUY    4/14/2015     2   15.65
CBOE Volatility Index (VIX)   BUY    4/15/2015     1    15.4
CBOE Volatility Index (VIX)   BUY    4/15/2015     3   15.35
CBOE Volatility Index (VIX)   SELL   4/16/2015    -2    15.1
CBOE Volatility Index (VIX)   BUY    4/16/2015     2   15.15
CBOE Volatility Index (VIX)   BUY    4/17/2015     2    15.7
CBOE Volatility Index (VIX)   SELL   4/20/2015    -1   15.15
CBOE Volatility Index (VIX)   SELL   4/21/2015    -1    15.1
CBOE Volatility Index (VIX)   SELL   4/22/2015    -2    14.9
CBOE Volatility Index (VIX)   SELL   4/24/2015    -2    14.6
CBOE Volatility Index (VIX)   SELL   4/24/2015    -1    14.6
CBOE Volatility Index (VIX)   BUY    4/27/2015     1    15.1
CBOE Volatility Index (VIX)   SELL   4/28/2015    -1   14.45
CBOE Volatility Index (VIX)   SELL   4/28/2015    -1   14.45
CBOE Volatility Index (VIX)   BUY    4/29/2015     1    15.1
CBOE Volatility Index (VIX)   BUY    4/29/2015     1   15.15
CBOE Volatility Index (VIX)   BUY    4/30/2015     1   15.55
CBOE Volatility Index (VIX)   SELL    5/4/2015    -1   14.45
CBOE Volatility Index (VIX)   SELL    5/4/2015    -1   14.45
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CBOE Volatility Index (VIX)   SELL    5/5/2015    -1    15.2
CBOE Volatility Index (VIX)   BUY     5/5/2015     1   15.25
CBOE Volatility Index (VIX)   BUY     5/6/2015     1    15.7
CBOE Volatility Index (VIX)   BUY     5/6/2015     2    15.7
CBOE Volatility Index (VIX)   BUY     5/7/2015     6   15.45
CBOE Volatility Index (VIX)   BUY     5/7/2015     8   15.45
CBOE Volatility Index (VIX)   SELL   5/11/2015    -2    14.9
CBOE Volatility Index (VIX)   SELL   5/13/2015    -2   14.35
CBOE Volatility Index (VIX)   SELL   5/14/2015    -3    13.7
CBOE Volatility Index (VIX)   SELL   5/14/2015    -2    13.7
CBOE Volatility Index (VIX)   SELL   5/15/2015    -1   13.65
CBOE Volatility Index (VIX)   BUY    5/18/2015     1   13.35
CBOE Volatility Index (VIX)   BUY    5/18/2015     1    13.3
CBOE Volatility Index (VIX)   BUY    5/18/2015     1    13.3
CBOE Volatility Index (VIX)   BUY    5/18/2015     1    13.3
CBOE Volatility Index (VIX)   BUY    5/18/2015     1    13.3
CBOE Volatility Index (VIX)   BUY    5/18/2015     1    13.3
CBOE Volatility Index (VIX)   BUY    5/18/2015     1    13.3
CBOE Volatility Index (VIX)   BUY    5/18/2015     1   13.35
CBOE Volatility Index (VIX)   BUY    5/18/2015     1    13.4
CBOE Volatility Index (VIX)   BUY    5/18/2015     2    13.4
CBOE Volatility Index (VIX)   BUY    5/18/2015     2    13.3
CBOE Volatility Index (VIX)   BUY    5/18/2015     2    13.3
CBOE Volatility Index (VIX)   BUY    5/18/2015     2    13.3
CBOE Volatility Index (VIX)   BUY    5/18/2015     2   13.35
CBOE Volatility Index (VIX)   BUY    5/18/2015     2   13.35
CBOE Volatility Index (VIX)   BUY    5/18/2015     3   13.25
CBOE Volatility Index (VIX)   BUY    5/18/2015     3    13.4
CBOE Volatility Index (VIX)   BUY    5/18/2015     5    13.2
CBOE Volatility Index (VIX)   BUY    5/18/2015     7   13.25
CBOE Volatility Index (VIX)   BUY    5/18/2015     8    13.2
CBOE Volatility Index (VIX)   BUY    5/18/2015   10     13.3
CBOE Volatility Index (VIX)   BUY    5/18/2015   14     13.3
CBOE Volatility Index (VIX)   BUY    5/18/2015   15     13.2
CBOE Volatility Index (VIX)   BUY    5/18/2015   19    13.25
CBOE Volatility Index (VIX)   BUY    5/18/2015   32     13.2
CBOE Volatility Index (VIX)   SELL   5/18/2015   -32   14.85
CBOE Volatility Index (VIX)   SELL   5/18/2015   -17   14.95
CBOE Volatility Index (VIX)   SELL   5/18/2015   -15   15.05
CBOE Volatility Index (VIX)   SELL   5/18/2015   -13    14.9
CBOE Volatility Index (VIX)   SELL   5/18/2015   -11    14.9
CBOE Volatility Index (VIX)   SELL   5/18/2015   -11    14.9
CBOE Volatility Index (VIX)   SELL   5/18/2015    -8   15.05
CBOE Volatility Index (VIX)   SELL   5/18/2015    -7   15.05
CBOE Volatility Index (VIX)   SELL   5/18/2015    -4   14.95
CBOE Volatility Index (VIX)   SELL   5/18/2015    -3    14.9
CBOE Volatility Index (VIX)   SELL   5/18/2015    -2     15
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CBOE Volatility Index (VIX)   SELL   5/18/2015    -2   14.85
CBOE Volatility Index (VIX)   SELL   5/18/2015    -2   14.85
CBOE Volatility Index (VIX)   SELL   5/18/2015    -2   14.85
CBOE Volatility Index (VIX)   SELL   5/18/2015    -2   14.85
CBOE Volatility Index (VIX)   SELL   5/18/2015    -2   14.85
CBOE Volatility Index (VIX)   SELL   5/18/2015    -1   14.85
CBOE Volatility Index (VIX)   SELL   5/18/2015    -1   14.85
CBOE Volatility Index (VIX)   SELL   5/18/2015    -1    14.9
CBOE Volatility Index (VIX)   SELL   5/18/2015    -1     15
CBOE Volatility Index (VIX)   BUY    5/19/2015     2    14.9
CBOE Volatility Index (VIX)   BUY    5/20/2015     2    14.9
CBOE Volatility Index (VIX)   BUY    5/21/2015     1   14.35
CBOE Volatility Index (VIX)   BUY    5/21/2015     1    14.4
CBOE Volatility Index (VIX)   SELL   5/22/2015    -2    14.4
CBOE Volatility Index (VIX)   BUY    5/28/2015     2    14.5
CBOE Volatility Index (VIX)   SELL   5/29/2015    -1    14.6
CBOE Volatility Index (VIX)   SELL   5/29/2015    -1   14.65
CBOE Volatility Index (VIX)   BUY     6/2/2015     2    14.9
CBOE Volatility Index (VIX)   SELL    6/3/2015    -2   14.35
CBOE Volatility Index (VIX)   BUY     6/4/2015     2     15
CBOE Volatility Index (VIX)   BUY     6/8/2015   13    15.25
CBOE Volatility Index (VIX)   BUY     6/8/2015   32    15.25
CBOE Volatility Index (VIX)   SELL   6/10/2015    -1    13.9
CBOE Volatility Index (VIX)   SELL   6/11/2015   -25    13.5
CBOE Volatility Index (VIX)   SELL   6/11/2015   -19    13.5
CBOE Volatility Index (VIX)   SELL   6/11/2015    -4    13.5
CBOE Volatility Index (VIX)   SELL   6/11/2015    -2    13.5
CBOE Volatility Index (VIX)   BUY    6/15/2015     1    15.1
CBOE Volatility Index (VIX)   BUY    6/15/2015     1    15.3
CBOE Volatility Index (VIX)   BUY    6/15/2015     1    15.5
CBOE Volatility Index (VIX)   BUY    6/15/2015     1    15.5
CBOE Volatility Index (VIX)   BUY    6/15/2015     1    15.5
CBOE Volatility Index (VIX)   BUY    6/15/2015     2    15.4
CBOE Volatility Index (VIX)   BUY    6/15/2015     2    15.5
CBOE Volatility Index (VIX)   BUY    6/15/2015     2    15.5
CBOE Volatility Index (VIX)   BUY    6/15/2015     2    15.5
CBOE Volatility Index (VIX)   BUY    6/15/2015     3   15.15
CBOE Volatility Index (VIX)   BUY    6/15/2015     4    15.3
CBOE Volatility Index (VIX)   BUY    6/15/2015     4    15.6
CBOE Volatility Index (VIX)   BUY    6/15/2015     7    15.4
CBOE Volatility Index (VIX)   BUY    6/15/2015     8    15.5
CBOE Volatility Index (VIX)   BUY    6/15/2015   11     15.2
CBOE Volatility Index (VIX)   BUY    6/15/2015   11    15.25
CBOE Volatility Index (VIX)   BUY    6/15/2015   15    15.45
CBOE Volatility Index (VIX)   BUY    6/15/2015   17    15.25
CBOE Volatility Index (VIX)   BUY    6/15/2015   19     15.5
CBOE Volatility Index (VIX)   BUY    6/15/2015   25    15.55
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CBOE Volatility Index (VIX)   SELL   6/15/2015   -35    15.8
CBOE Volatility Index (VIX)   SELL   6/15/2015   -30   15.65
CBOE Volatility Index (VIX)   SELL   6/15/2015   -25   15.85
CBOE Volatility Index (VIX)   SELL   6/15/2015   -11    15.7
CBOE Volatility Index (VIX)   SELL   6/15/2015    -7    15.6
CBOE Volatility Index (VIX)   SELL   6/15/2015    -6   15.85
CBOE Volatility Index (VIX)   SELL   6/15/2015    -3    15.6
CBOE Volatility Index (VIX)   SELL   6/15/2015    -2   15.75
CBOE Volatility Index (VIX)   SELL   6/15/2015    -2   15.55
CBOE Volatility Index (VIX)   SELL   6/15/2015    -2    15.6
CBOE Volatility Index (VIX)   SELL   6/15/2015    -2    15.6
CBOE Volatility Index (VIX)   SELL   6/15/2015    -2    15.6
CBOE Volatility Index (VIX)   SELL   6/15/2015    -2    15.6
CBOE Volatility Index (VIX)   SELL   6/15/2015    -2   15.75
CBOE Volatility Index (VIX)   SELL   6/15/2015    -1   15.55
CBOE Volatility Index (VIX)   SELL   6/15/2015    -1    15.6
CBOE Volatility Index (VIX)   SELL   6/15/2015    -1    15.6
CBOE Volatility Index (VIX)   SELL   6/15/2015    -1    15.6
CBOE Volatility Index (VIX)   SELL   6/15/2015    -1   15.75
CBOE Volatility Index (VIX)   SELL   6/15/2015    -1   15.75
CBOE Volatility Index (VIX)   BUY    6/15/2015     2   16.05
CBOE Volatility Index (VIX)   BUY    6/16/2015     1   15.65
CBOE Volatility Index (VIX)   BUY    6/16/2015     1    15.6
CBOE Volatility Index (VIX)   BUY    6/16/2015     1   15.65
CBOE Volatility Index (VIX)   BUY    6/16/2015     3    15.6
CBOE Volatility Index (VIX)   BUY    6/17/2015     2   15.65
CBOE Volatility Index (VIX)   BUY    6/17/2015     2   15.65
CBOE Volatility Index (VIX)   SELL   6/18/2015    -2   14.95
CBOE Volatility Index (VIX)   BUY    6/19/2015     2   15.45
CBOE Volatility Index (VIX)   SELL   6/22/2015    -2   14.55
CBOE Volatility Index (VIX)   SELL   6/22/2015    -2    14.5
CBOE Volatility Index (VIX)   SELL   6/23/2015    -2   14.05
CBOE Volatility Index (VIX)   SELL   6/24/2015    -2   14.55
CBOE Volatility Index (VIX)   BUY    6/29/2015     1    17.4
CBOE Volatility Index (VIX)   BUY    6/29/2015     1   17.45
CBOE Volatility Index (VIX)   BUY    6/29/2015     1    17.4
CBOE Volatility Index (VIX)   BUY    6/29/2015     2   17.45
CBOE Volatility Index (VIX)   BUY    6/29/2015     7    17.4
CBOE Volatility Index (VIX)   BUY    6/29/2015   11     17.4
CBOE Volatility Index (VIX)   BUY    6/29/2015   30     17.4
CBOE Volatility Index (VIX)   BUY    6/30/2015     2   17.35
CBOE Volatility Index (VIX)   BUY    6/30/2015     2   17.35
CBOE Volatility Index (VIX)   BUY    6/30/2015     6   17.35
CBOE Volatility Index (VIX)   BUY    6/30/2015   35    17.35
CBOE Volatility Index (VIX)   BUY     7/1/2015     2    15.9
CBOE Volatility Index (VIX)   BUY     7/1/2015     2    15.9
CBOE Volatility Index (VIX)   BUY     7/1/2015     2    15.9
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CBOE Volatility Index (VIX)   BUY     7/1/2015     2    15.9
CBOE Volatility Index (VIX)   BUY     7/1/2015     2    15.9
CBOE Volatility Index (VIX)   BUY     7/1/2015   10     15.9
CBOE Volatility Index (VIX)   BUY     7/1/2015   25     15.9
CBOE Volatility Index (VIX)   BUY     7/2/2015     1   16.95
CBOE Volatility Index (VIX)   BUY     7/2/2015     1     17
CBOE Volatility Index (VIX)   SELL    7/6/2015   -37    17.2
CBOE Volatility Index (VIX)   SELL    7/6/2015   -10    17.2
CBOE Volatility Index (VIX)   SELL    7/6/2015   -10    17.2
CBOE Volatility Index (VIX)   SELL    7/6/2015   -10    17.2
CBOE Volatility Index (VIX)   SELL    7/6/2015    -7   17.25
CBOE Volatility Index (VIX)   SELL    7/6/2015    -2   17.25
CBOE Volatility Index (VIX)   SELL    7/6/2015    -1    17.2
CBOE Volatility Index (VIX)   SELL    7/6/2015    -1    17.2
CBOE Volatility Index (VIX)   SELL    7/6/2015    -1   17.25
CBOE Volatility Index (VIX)   BUY     7/6/2015   10    17.25
CBOE Volatility Index (VIX)   SELL    7/7/2015   -16    16.3
CBOE Volatility Index (VIX)   SELL    7/7/2015   -14   16.35
CBOE Volatility Index (VIX)   SELL    7/7/2015   -13   16.35
CBOE Volatility Index (VIX)   SELL    7/7/2015    -2   16.35
CBOE Volatility Index (VIX)   SELL    7/7/2015    -1    16.3
CBOE Volatility Index (VIX)   BUY     7/8/2015     2    18.4
CBOE Volatility Index (VIX)   BUY     7/8/2015   10     18.4
CBOE Volatility Index (VIX)   BUY     7/8/2015   37     18.4
CBOE Volatility Index (VIX)   BUY     7/9/2015     1    18.8
CBOE Volatility Index (VIX)   BUY     7/9/2015     1   18.85
CBOE Volatility Index (VIX)   BUY     7/9/2015     7   18.85
CBOE Volatility Index (VIX)   BUY     7/9/2015   13    18.85
CBOE Volatility Index (VIX)   BUY     7/9/2015   14    18.85
CBOE Volatility Index (VIX)   BUY     7/9/2015   16    18.85
CBOE Volatility Index (VIX)   BUY    7/10/2015     2    16.7
CBOE Volatility Index (VIX)   BUY    7/10/2015     6    16.7
CBOE Volatility Index (VIX)   BUY    7/10/2015   33     16.7
CBOE Volatility Index (VIX)   SELL   7/13/2015   -33   14.45
CBOE Volatility Index (VIX)   SELL   7/13/2015    -9   14.45
CBOE Volatility Index (VIX)   SELL   7/13/2015    -6   14.45
CBOE Volatility Index (VIX)   SELL   7/14/2015   -24    14.1
CBOE Volatility Index (VIX)   SELL   7/14/2015   -14    14.1
CBOE Volatility Index (VIX)   SELL   7/14/2015    -4   14.15
CBOE Volatility Index (VIX)   SELL   7/14/2015    -3    14.1
CBOE Volatility Index (VIX)   SELL   7/14/2015    -1   14.15
CBOE Volatility Index (VIX)   SELL   7/15/2015   -22   13.95
CBOE Volatility Index (VIX)   SELL   7/15/2015   -11   13.95
CBOE Volatility Index (VIX)   SELL   7/15/2015    -9   13.95
CBOE Volatility Index (VIX)   SELL   7/15/2015    -4    13.9
CBOE Volatility Index (VIX)   SELL   7/15/2015    -4   13.95
CBOE Volatility Index (VIX)   SELL   7/15/2015    -4   13.95
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CBOE Volatility Index (VIX)   SELL   7/15/2015    -2   13.95
CBOE Volatility Index (VIX)   SELL   7/15/2015    -2   13.95
CBOE Volatility Index (VIX)   SELL   7/15/2015    -2    13.9
CBOE Volatility Index (VIX)   SELL   7/15/2015    -1   13.95
CBOE Volatility Index (VIX)   SELL   7/16/2015   -10    12.9
CBOE Volatility Index (VIX)   SELL   7/16/2015    -7   12.95
CBOE Volatility Index (VIX)   SELL   7/16/2015    -2   12.95
CBOE Volatility Index (VIX)   SELL   7/17/2015    -5    12.9
CBOE Volatility Index (VIX)   SELL   7/17/2015    -2    12.9
CBOE Volatility Index (VIX)   SELL   7/17/2015    -2    12.9
CBOE Volatility Index (VIX)   BUY    7/20/2015     1   12.65
CBOE Volatility Index (VIX)   BUY    7/20/2015     1   12.45
CBOE Volatility Index (VIX)   BUY    7/20/2015     2    12.6
CBOE Volatility Index (VIX)   BUY    7/20/2015     2   12.45
CBOE Volatility Index (VIX)   BUY    7/20/2015     2   12.75
CBOE Volatility Index (VIX)   BUY    7/20/2015     2   12.75
CBOE Volatility Index (VIX)   BUY    7/20/2015     2    12.8
CBOE Volatility Index (VIX)   BUY    7/20/2015     2    12.8
CBOE Volatility Index (VIX)   BUY    7/20/2015     3    12.4
CBOE Volatility Index (VIX)   BUY    7/20/2015     4    12.5
CBOE Volatility Index (VIX)   BUY    7/20/2015     4   12.45
CBOE Volatility Index (VIX)   BUY    7/20/2015     4   12.45
CBOE Volatility Index (VIX)   BUY    7/20/2015     4    12.5
CBOE Volatility Index (VIX)   BUY    7/20/2015     5   12.75
CBOE Volatility Index (VIX)   BUY    7/20/2015     7   12.75
CBOE Volatility Index (VIX)   BUY    7/20/2015     9   12.45
CBOE Volatility Index (VIX)   BUY    7/20/2015     9    12.4
CBOE Volatility Index (VIX)   BUY    7/20/2015   10    12.75
CBOE Volatility Index (VIX)   BUY    7/20/2015   11     12.7
CBOE Volatility Index (VIX)   BUY    7/20/2015   14    12.45
CBOE Volatility Index (VIX)   BUY    7/20/2015   22    12.55
CBOE Volatility Index (VIX)   BUY    7/20/2015   24     12.4
CBOE Volatility Index (VIX)   SELL   7/20/2015   -31   14.15
CBOE Volatility Index (VIX)   SELL   7/20/2015   -28   14.15
CBOE Volatility Index (VIX)   SELL   7/20/2015   -18   14.25
CBOE Volatility Index (VIX)   SELL   7/20/2015   -18   14.35
CBOE Volatility Index (VIX)   SELL   7/20/2015   -11    14.3
CBOE Volatility Index (VIX)   SELL   7/20/2015   -10    14.2
CBOE Volatility Index (VIX)   SELL   7/20/2015   -10   14.35
CBOE Volatility Index (VIX)   SELL   7/20/2015    -3    14.1
CBOE Volatility Index (VIX)   SELL   7/20/2015    -2    14.1
CBOE Volatility Index (VIX)   SELL   7/20/2015    -2   14.15
CBOE Volatility Index (VIX)   SELL   7/20/2015    -2   14.15
CBOE Volatility Index (VIX)   SELL   7/20/2015    -2   14.15
CBOE Volatility Index (VIX)   SELL   7/20/2015    -2   14.15
CBOE Volatility Index (VIX)   SELL   7/20/2015    -1    14.1
CBOE Volatility Index (VIX)   SELL   7/20/2015    -1    14.1
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CBOE Volatility Index (VIX)   SELL   7/20/2015    -1    14.1
CBOE Volatility Index (VIX)   SELL   7/20/2015    -1    14.1
CBOE Volatility Index (VIX)   SELL   7/20/2015    -1   14.15
CBOE Volatility Index (VIX)   BUY    7/21/2015     2   14.25
CBOE Volatility Index (VIX)   BUY    7/22/2015     1    14.2
CBOE Volatility Index (VIX)   BUY    7/22/2015     3    14.2
CBOE Volatility Index (VIX)   BUY    7/23/2015     1   14.35
CBOE Volatility Index (VIX)   BUY    7/24/2015     1    14.9
CBOE Volatility Index (VIX)   BUY    7/24/2015     1    14.9
CBOE Volatility Index (VIX)   BUY    7/27/2015     2    15.8
CBOE Volatility Index (VIX)   BUY    7/27/2015     2    15.8
CBOE Volatility Index (VIX)   SELL   7/30/2015    -3   13.95
CBOE Volatility Index (VIX)   SELL   7/30/2015    -1   13.95
CBOE Volatility Index (VIX)   SELL   7/31/2015    -1    13.9
CBOE Volatility Index (VIX)   SELL   7/31/2015    -1   13.95
CBOE Volatility Index (VIX)   SELL    8/3/2015    -1   13.85
CBOE Volatility Index (VIX)   SELL    8/5/2015    -1    13.9
CBOE Volatility Index (VIX)   BUY     8/6/2015     2   14.55
CBOE Volatility Index (VIX)   BUY     8/7/2015     1    14.3
CBOE Volatility Index (VIX)   SELL   8/10/2015    -1   13.55
CBOE Volatility Index (VIX)   BUY    8/13/2015     2    14.2
CBOE Volatility Index (VIX)   BUY    8/17/2015     1   13.95
CBOE Volatility Index (VIX)   BUY    8/17/2015     1   13.95
CBOE Volatility Index (VIX)   BUY    8/17/2015     1   13.95
CBOE Volatility Index (VIX)   BUY    8/17/2015     1   13.95
CBOE Volatility Index (VIX)   BUY    8/17/2015     1   13.95
CBOE Volatility Index (VIX)   BUY    8/17/2015     1   13.95
CBOE Volatility Index (VIX)   BUY    8/17/2015     3    13.9
CBOE Volatility Index (VIX)   BUY    8/17/2015   10    13.85
CBOE Volatility Index (VIX)   BUY    8/17/2015   10    13.85
CBOE Volatility Index (VIX)   BUY    8/17/2015   11    13.85
CBOE Volatility Index (VIX)   BUY    8/17/2015   18    13.85
CBOE Volatility Index (VIX)   BUY    8/17/2015   18     13.9
CBOE Volatility Index (VIX)   BUY    8/17/2015   28     13.8
CBOE Volatility Index (VIX)   BUY    8/17/2015   31    13.85
CBOE Volatility Index (VIX)   SELL   8/17/2015   -36     15
CBOE Volatility Index (VIX)   SELL   8/17/2015   -22   15.05
CBOE Volatility Index (VIX)   SELL   8/17/2015   -18     15
CBOE Volatility Index (VIX)   SELL   8/17/2015   -13     15
CBOE Volatility Index (VIX)   SELL   8/17/2015   -10     15
CBOE Volatility Index (VIX)   SELL   8/17/2015    -7     15
CBOE Volatility Index (VIX)   SELL   8/17/2015    -7   15.05
CBOE Volatility Index (VIX)   SELL   8/17/2015    -4   15.05
CBOE Volatility Index (VIX)   SELL   8/17/2015    -2   14.95
CBOE Volatility Index (VIX)   SELL   8/17/2015    -2     15
CBOE Volatility Index (VIX)   SELL   8/17/2015    -2   15.05
CBOE Volatility Index (VIX)   SELL   8/17/2015    -2   15.05
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CBOE Volatility Index (VIX)   SELL   8/17/2015   -2    15.05
CBOE Volatility Index (VIX)   SELL   8/17/2015   -2    15.05
CBOE Volatility Index (VIX)   SELL   8/17/2015   -1    15.05
CBOE Volatility Index (VIX)   SELL   8/17/2015   -1      15
CBOE Volatility Index (VIX)   SELL   8/17/2015   -1      15
CBOE Volatility Index (VIX)   SELL   8/17/2015   -1      15
CBOE Volatility Index (VIX)   SELL   8/17/2015   -1    15.05
CBOE Volatility Index (VIX)   SELL   8/17/2015   -1    15.05
CBOE Volatility Index (VIX)   BUY    8/18/2015    2    15.25
CBOE Volatility Index (VIX)   BUY    8/18/2015    2    15.25
CBOE Volatility Index (VIX)   BUY    8/19/2015    1     15.7
CBOE Volatility Index (VIX)   BUY    8/19/2015    1    15.75
CBOE Volatility Index (VIX)   BUY    8/20/2015    1     17.3
CBOE Volatility Index (VIX)   BUY    8/20/2015    7     17.3
CBOE Volatility Index (VIX)   BUY    8/20/2015   10    17.35
CBOE Volatility Index (VIX)   BUY    8/20/2015   36    17.35
CBOE Volatility Index (VIX)   BUY    8/21/2015   13     19.9
CBOE Volatility Index (VIX)   BUY    8/21/2015   18     19.9
CBOE Volatility Index (VIX)   BUY    8/21/2015   22     19.9
CBOE Volatility Index (VIX)   BUY    8/24/2015    1     25.1
CBOE Volatility Index (VIX)   BUY    8/24/2015    1    25.15
CBOE Volatility Index (VIX)   BUY    8/24/2015    1    25.25
CBOE Volatility Index (VIX)   BUY    8/24/2015    1     24.8
CBOE Volatility Index (VIX)   BUY    8/24/2015    1    25.25
CBOE Volatility Index (VIX)   BUY    8/24/2015    1    25.25
CBOE Volatility Index (VIX)   BUY    8/24/2015    1    25.25
CBOE Volatility Index (VIX)   BUY    8/24/2015    1    25.25
CBOE Volatility Index (VIX)   BUY    8/24/2015    1    25.25
CBOE Volatility Index (VIX)   BUY    8/24/2015    1    25.25
CBOE Volatility Index (VIX)   BUY    8/24/2015    1    25.25
CBOE Volatility Index (VIX)   BUY    8/24/2015    1     24.7
CBOE Volatility Index (VIX)   BUY    8/24/2015    1     25.2
CBOE Volatility Index (VIX)   BUY    8/24/2015    2    24.75
CBOE Volatility Index (VIX)   BUY    8/24/2015    2     25.1
CBOE Volatility Index (VIX)   BUY    8/24/2015    2    25.25
CBOE Volatility Index (VIX)   BUY    8/24/2015    2    25.25
CBOE Volatility Index (VIX)   BUY    8/24/2015    2     24.8
CBOE Volatility Index (VIX)   BUY    8/24/2015    2     24.9
CBOE Volatility Index (VIX)   BUY    8/24/2015    2    25.15
CBOE Volatility Index (VIX)   BUY    8/24/2015    3    25.25
CBOE Volatility Index (VIX)   BUY    8/24/2015    4     24.7
CBOE Volatility Index (VIX)   BUY    8/24/2015    4    25.25
CBOE Volatility Index (VIX)   BUY    8/24/2015    5     25.1
CBOE Volatility Index (VIX)   BUY    8/24/2015    7     25.1
CBOE Volatility Index (VIX)   SELL   8/25/2015   -5     25.4
CBOE Volatility Index (VIX)   SELL   8/25/2015   -2    25.35
CBOE Volatility Index (VIX)   BUY    8/25/2015    4     25.4
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CBOE Volatility Index (VIX)   BUY    8/25/2015   12     25.4
CBOE Volatility Index (VIX)   SELL   8/26/2015    -1   23.75
CBOE Volatility Index (VIX)   SELL   8/26/2015    -1   23.75
CBOE Volatility Index (VIX)   SELL   8/26/2015    -1    23.7
CBOE Volatility Index (VIX)   BUY    8/26/2015     1    23.7
CBOE Volatility Index (VIX)   BUY    8/26/2015     2   23.75
CBOE Volatility Index (VIX)   BUY    8/26/2015     3    23.7
CBOE Volatility Index (VIX)   BUY    8/26/2015     5    23.7
CBOE Volatility Index (VIX)   BUY    8/26/2015     5    23.7
CBOE Volatility Index (VIX)   BUY    8/27/2015     1     24
CBOE Volatility Index (VIX)   BUY    8/27/2015     6     24
CBOE Volatility Index (VIX)   BUY    8/28/2015     1    24.6
CBOE Volatility Index (VIX)   BUY    8/28/2015     1   24.65
CBOE Volatility Index (VIX)   BUY    8/28/2015     3   24.65
CBOE Volatility Index (VIX)   SELL   8/31/2015    -1    26.3
CBOE Volatility Index (VIX)   SELL   8/31/2015    -1   26.35
CBOE Volatility Index (VIX)   SELL    9/1/2015    -1   29.55
CBOE Volatility Index (VIX)   SELL    9/1/2015    -1    29.6
CBOE Volatility Index (VIX)   SELL    9/1/2015    -1   29.55
CBOE Volatility Index (VIX)   SELL    9/2/2015    -4     26
CBOE Volatility Index (VIX)   SELL    9/2/2015    -2    25.9
CBOE Volatility Index (VIX)   SELL    9/2/2015    -1     26
CBOE Volatility Index (VIX)   SELL    9/3/2015   -12   25.65
CBOE Volatility Index (VIX)   SELL    9/3/2015    -5   25.75
CBOE Volatility Index (VIX)   SELL    9/3/2015    -4    25.6
CBOE Volatility Index (VIX)   SELL    9/3/2015    -3   25.65
CBOE Volatility Index (VIX)   SELL    9/3/2015    -3    25.7
CBOE Volatility Index (VIX)   SELL    9/3/2015    -2   25.75
CBOE Volatility Index (VIX)   SELL    9/3/2015    -1   25.65
CBOE Volatility Index (VIX)   SELL    9/3/2015    -1    25.6
CBOE Volatility Index (VIX)   SELL    9/4/2015    -6     28
CBOE Volatility Index (VIX)   SELL    9/4/2015    -5     28
CBOE Volatility Index (VIX)   SELL    9/4/2015    -5     28
CBOE Volatility Index (VIX)   SELL    9/4/2015    -5     28
CBOE Volatility Index (VIX)   SELL    9/4/2015    -3     28
CBOE Volatility Index (VIX)   SELL    9/4/2015    -2     28
CBOE Volatility Index (VIX)   SELL    9/4/2015    -1     28
CBOE Volatility Index (VIX)   SELL    9/4/2015    -1     28
CBOE Volatility Index (VIX)   SELL    9/4/2015    -1     28
CBOE Volatility Index (VIX)   SELL    9/8/2015    -3   24.65
CBOE Volatility Index (VIX)   SELL    9/8/2015    -1    24.6
CBOE Volatility Index (VIX)   SELL    9/8/2015    -1    24.6
CBOE Volatility Index (VIX)   BUY     9/9/2015     1    25.8
CBOE Volatility Index (VIX)   BUY     9/9/2015     1    25.8
CBOE Volatility Index (VIX)   BUY     9/9/2015     1   25.85
CBOE Volatility Index (VIX)   BUY     9/9/2015     1   25.85
CBOE Volatility Index (VIX)   BUY     9/9/2015     3   25.85
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CBOE Volatility Index (VIX)   BUY     9/9/2015    5     25.8
CBOE Volatility Index (VIX)   BUY     9/9/2015    5     25.8
CBOE Volatility Index (VIX)   BUY     9/9/2015    5    25.85
CBOE Volatility Index (VIX)   BUY     9/9/2015    6    25.85
CBOE Volatility Index (VIX)   SELL   9/10/2015   -5    24.65
CBOE Volatility Index (VIX)   SELL   9/10/2015   -1     24.6
CBOE Volatility Index (VIX)   SELL   9/10/2015   -1     24.7
CBOE Volatility Index (VIX)   SELL   9/11/2015   -6     23.8
CBOE Volatility Index (VIX)   SELL   9/11/2015   -5    23.85
CBOE Volatility Index (VIX)   SELL   9/11/2015   -4     23.8
CBOE Volatility Index (VIX)   SELL   9/11/2015   -3     23.8
CBOE Volatility Index (VIX)   SELL   9/11/2015   -2     23.8
CBOE Volatility Index (VIX)   SELL   9/11/2015   -2     23.8
CBOE Volatility Index (VIX)   SELL   9/11/2015   -2    23.85
CBOE Volatility Index (VIX)   SELL   9/11/2015   -2    23.85
CBOE Volatility Index (VIX)   SELL   9/11/2015   -1    23.85
CBOE Volatility Index (VIX)   SELL   9/11/2015   -1     23.8
CBOE Volatility Index (VIX)   SELL   9/11/2015   -1     23.8
CBOE Volatility Index (VIX)   BUY    9/11/2015    1    23.85
CBOE Volatility Index (VIX)   BUY    9/14/2015    1     23.8
CBOE Volatility Index (VIX)   BUY    9/14/2015    1    24.15
CBOE Volatility Index (VIX)   BUY    9/14/2015    2    23.85
CBOE Volatility Index (VIX)   BUY    9/14/2015    2    24.05
CBOE Volatility Index (VIX)   BUY    9/14/2015    2     24.1
CBOE Volatility Index (VIX)   BUY    9/14/2015    2      24
CBOE Volatility Index (VIX)   BUY    9/14/2015    3    23.95
CBOE Volatility Index (VIX)   BUY    9/14/2015    4     23.9
CBOE Volatility Index (VIX)   BUY    9/14/2015    5      24
CBOE Volatility Index (VIX)   SELL   9/14/2015   -9    23.25
CBOE Volatility Index (VIX)   SELL   9/14/2015   -5     23.3
CBOE Volatility Index (VIX)   SELL   9/14/2015   -3     23.2
CBOE Volatility Index (VIX)   SELL   9/14/2015   -3    23.35
CBOE Volatility Index (VIX)   SELL   9/14/2015   -1    23.45
CBOE Volatility Index (VIX)   SELL   9/14/2015   -1     23.2
CBOE Volatility Index (VIX)   BUY    9/14/2015    1     22.9
CBOE Volatility Index (VIX)   BUY    9/15/2015    1     20.5
CBOE Volatility Index (VIX)   BUY    9/15/2015    1     20.5
CBOE Volatility Index (VIX)   BUY    9/15/2015    1     20.5
CBOE Volatility Index (VIX)   BUY    9/15/2015    1    20.45
CBOE Volatility Index (VIX)   BUY    9/15/2015    1    20.45
CBOE Volatility Index (VIX)   BUY    9/15/2015    2     20.5
CBOE Volatility Index (VIX)   BUY    9/15/2015    2     20.5
CBOE Volatility Index (VIX)   BUY    9/15/2015    3     20.5
CBOE Volatility Index (VIX)   BUY    9/15/2015    3     20.5
CBOE Volatility Index (VIX)   BUY    9/15/2015    5     20.5
CBOE Volatility Index (VIX)   BUY    9/15/2015    6     20.5
CBOE Volatility Index (VIX)   BUY    9/15/2015    9     20.5
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CBOE Volatility Index (VIX)   SELL   9/16/2015    -2   18.95
CBOE Volatility Index (VIX)   SELL   9/16/2015    -1    18.9
CBOE Volatility Index (VIX)   SELL   9/16/2015    -1   18.95
CBOE Volatility Index (VIX)   BUY    9/16/2015     1   18.95
CBOE Volatility Index (VIX)   BUY    9/16/2015     1   18.95
CBOE Volatility Index (VIX)   BUY    9/16/2015     1   18.95
CBOE Volatility Index (VIX)   BUY    9/16/2015     1   18.95
CBOE Volatility Index (VIX)   BUY    9/16/2015     1   18.95
CBOE Volatility Index (VIX)   BUY    9/16/2015     1   18.95
CBOE Volatility Index (VIX)   BUY    9/16/2015     2    18.9
CBOE Volatility Index (VIX)   BUY    9/16/2015     2   18.95
CBOE Volatility Index (VIX)   BUY    9/16/2015     2   18.95
CBOE Volatility Index (VIX)   BUY    9/16/2015     2   18.95
CBOE Volatility Index (VIX)   BUY    9/16/2015     6   18.95
CBOE Volatility Index (VIX)   BUY    9/16/2015   12      19
CBOE Volatility Index (VIX)   BUY    9/17/2015     2    20.5
CBOE Volatility Index (VIX)   BUY    9/17/2015     5    20.5
CBOE Volatility Index (VIX)   SELL   9/18/2015    -6    21.4
CBOE Volatility Index (VIX)   SELL   9/18/2015    -1   21.35
CBOE Volatility Index (VIX)   SELL   9/21/2015    -2    19.7
CBOE Volatility Index (VIX)   SELL   9/21/2015    -2    19.7
CBOE Volatility Index (VIX)   SELL   9/21/2015    -1    19.7
CBOE Volatility Index (VIX)   SELL   9/21/2015    -1    19.7
CBOE Volatility Index (VIX)   SELL   9/21/2015    -1    19.7
CBOE Volatility Index (VIX)   SELL   9/22/2015    -1    21.6
CBOE Volatility Index (VIX)   BUY    9/23/2015     1   21.15
CBOE Volatility Index (VIX)   BUY    9/23/2015     4    21.1
CBOE Volatility Index (VIX)   SELL   9/24/2015    -2    21.9
CBOE Volatility Index (VIX)   BUY    9/24/2015     1    21.9
CBOE Volatility Index (VIX)   BUY    9/25/2015     1    22.4
CBOE Volatility Index (VIX)   BUY    9/25/2015     2    22.4
CBOE Volatility Index (VIX)   BUY    9/25/2015     3    22.3
CBOE Volatility Index (VIX)   SELL   9/28/2015    -2   24.05
CBOE Volatility Index (VIX)   BUY    9/28/2015     1   24.05
CBOE Volatility Index (VIX)   BUY    9/28/2015     1    24.1
CBOE Volatility Index (VIX)   BUY    9/28/2015     4   24.05
CBOE Volatility Index (VIX)   SELL   9/29/2015    -1   23.85
CBOE Volatility Index (VIX)   BUY    9/29/2015     6    23.9
CBOE Volatility Index (VIX)   SELL   9/30/2015    -1    22.9
CBOE Volatility Index (VIX)   SELL   10/1/2015    -6   22.15
CBOE Volatility Index (VIX)   SELL   10/1/2015    -1    22.1
CBOE Volatility Index (VIX)   BUY    10/1/2015     2    22.2
CBOE Volatility Index (VIX)   SELL   10/2/2015   -12     21
CBOE Volatility Index (VIX)   SELL   10/2/2015    -5     21
CBOE Volatility Index (VIX)   SELL   10/2/2015    -4     21
CBOE Volatility Index (VIX)   SELL   10/2/2015    -3     21
CBOE Volatility Index (VIX)   SELL   10/2/2015    -2     21
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CBOE Volatility Index (VIX)   SELL   10/2/2015     -2     21
CBOE Volatility Index (VIX)   SELL   10/2/2015     -1     21
CBOE Volatility Index (VIX)   SELL   10/2/2015     -1     21
CBOE Volatility Index (VIX)   SELL   10/2/2015     -1     21
CBOE Volatility Index (VIX)   BUY    10/2/2015      1     21
CBOE Volatility Index (VIX)   SELL   10/5/2015    -13   19.85
CBOE Volatility Index (VIX)   SELL   10/5/2015     -7   19.85
CBOE Volatility Index (VIX)   SELL   10/5/2015     -6   19.85
CBOE Volatility Index (VIX)   SELL   10/5/2015     -4   19.85
CBOE Volatility Index (VIX)   SELL   10/5/2015     -2   19.85
CBOE Volatility Index (VIX)   SELL   10/5/2015     -2   19.85
CBOE Volatility Index (VIX)   SELL   10/5/2015     -1   19.85
CBOE Volatility Index (VIX)   SELL   10/5/2015     -1   19.85
CBOE Volatility Index (VIX)   SELL   10/5/2015     -1   19.85
CBOE Volatility Index (VIX)   SELL   10/5/2015     -1   19.85
CBOE Volatility Index (VIX)   SELL   10/6/2015    -15    20.3
CBOE Volatility Index (VIX)   SELL   10/6/2015     -9    20.3
CBOE Volatility Index (VIX)   SELL   10/6/2015     -8   20.25
CBOE Volatility Index (VIX)   SELL   10/6/2015     -4    20.3
CBOE Volatility Index (VIX)   SELL   10/6/2015     -2   20.25
CBOE Volatility Index (VIX)   SELL   10/6/2015     -1    20.3
CBOE Volatility Index (VIX)   SELL   10/8/2015     -1    18.4
CBOE Volatility Index (VIX)   SELL   10/8/2015     -1   18.45
CBOE Volatility Index (VIX)   SELL   10/9/2015     -5    18.1
CBOE Volatility Index (VIX)   SELL   10/9/2015     -1    18.1
CBOE Volatility Index (VIX)   SELL   10/9/2015     -1    18.1
CBOE Volatility Index (VIX)   SELL   10/12/2015    -3   16.75
CBOE Volatility Index (VIX)   SELL   10/12/2015    -2    16.7
CBOE Volatility Index (VIX)   SELL   10/12/2015    -1    16.7
CBOE Volatility Index (VIX)   SELL   10/12/2015    -1   16.75
CBOE Volatility Index (VIX)   SELL   10/13/2015    -2   18.15
CBOE Volatility Index (VIX)   SELL   10/13/2015    -2    18.2
CBOE Volatility Index (VIX)   SELL   10/13/2015    -1   18.15
CBOE Volatility Index (VIX)   SELL   10/14/2015    -6   18.35
CBOE Volatility Index (VIX)   BUY    10/14/2015     1   18.35
CBOE Volatility Index (VIX)   SELL   10/15/2015    -2    16.6
CBOE Volatility Index (VIX)   SELL   10/16/2015    -3   16.05
CBOE Volatility Index (VIX)   SELL   10/16/2015    -1   16.05
CBOE Volatility Index (VIX)   SELL   10/16/2015    -1   16.05
CBOE Volatility Index (VIX)   BUY    10/19/2015     1    15.5
CBOE Volatility Index (VIX)   BUY    10/19/2015     1    15.5
CBOE Volatility Index (VIX)   BUY    10/19/2015     1    15.5
CBOE Volatility Index (VIX)   BUY    10/19/2015     1    15.5
CBOE Volatility Index (VIX)   BUY    10/19/2015     1   15.55
CBOE Volatility Index (VIX)   BUY    10/19/2015     1   15.55
CBOE Volatility Index (VIX)   BUY    10/19/2015     1   15.55
CBOE Volatility Index (VIX)   BUY    10/19/2015     1   15.55
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CBOE Volatility Index (VIX)   BUY    10/19/2015     1   15.65
CBOE Volatility Index (VIX)   BUY    10/19/2015     1   15.65
CBOE Volatility Index (VIX)   BUY    10/19/2015     2    15.6
CBOE Volatility Index (VIX)   BUY    10/19/2015     2    15.4
CBOE Volatility Index (VIX)   BUY    10/19/2015     2   15.55
CBOE Volatility Index (VIX)   BUY    10/19/2015     2    15.6
CBOE Volatility Index (VIX)   BUY    10/19/2015     2    15.6
CBOE Volatility Index (VIX)   BUY    10/19/2015     3    15.6
CBOE Volatility Index (VIX)   BUY    10/19/2015     3   15.55
CBOE Volatility Index (VIX)   BUY    10/19/2015     4    15.4
CBOE Volatility Index (VIX)   BUY    10/19/2015     5    15.5
CBOE Volatility Index (VIX)   BUY    10/19/2015     6    15.6
CBOE Volatility Index (VIX)   BUY    10/19/2015     7    15.4
CBOE Volatility Index (VIX)   BUY    10/19/2015     8    15.4
CBOE Volatility Index (VIX)   BUY    10/19/2015     9    15.4
CBOE Volatility Index (VIX)   BUY    10/19/2015   13    15.35
CBOE Volatility Index (VIX)   BUY    10/19/2015   15    15.45
CBOE Volatility Index (VIX)   SELL   10/19/2015   -12   16.25
CBOE Volatility Index (VIX)   SELL   10/19/2015   -10    16.2
CBOE Volatility Index (VIX)   SELL   10/19/2015    -7   16.45
CBOE Volatility Index (VIX)   SELL   10/19/2015    -7    16.5
CBOE Volatility Index (VIX)   SELL   10/19/2015    -6    16.3
CBOE Volatility Index (VIX)   SELL   10/19/2015    -6   16.15
CBOE Volatility Index (VIX)   SELL   10/19/2015    -6   16.15
CBOE Volatility Index (VIX)   SELL   10/19/2015    -6    16.5
CBOE Volatility Index (VIX)   SELL   10/19/2015    -5    16.2
CBOE Volatility Index (VIX)   SELL   10/19/2015    -4   16.25
CBOE Volatility Index (VIX)   SELL   10/19/2015    -4   16.35
CBOE Volatility Index (VIX)   SELL   10/19/2015    -4    16.5
CBOE Volatility Index (VIX)   SELL   10/19/2015    -4   16.15
CBOE Volatility Index (VIX)   SELL   10/19/2015    -3    16.4
CBOE Volatility Index (VIX)   SELL   10/19/2015    -2   15.95
CBOE Volatility Index (VIX)   SELL   10/19/2015    -2   16.15
CBOE Volatility Index (VIX)   SELL   10/19/2015    -1    16.1
CBOE Volatility Index (VIX)   SELL   10/19/2015    -1   16.15
CBOE Volatility Index (VIX)   SELL   10/19/2015    -1   16.15
CBOE Volatility Index (VIX)   SELL   10/19/2015    -1   16.15
CBOE Volatility Index (VIX)   SELL   10/19/2015    -1   16.15
CBOE Volatility Index (VIX)   SELL   10/19/2015    -1   16.15
CBOE Volatility Index (VIX)   SELL   10/19/2015    -1    16.2
CBOE Volatility Index (VIX)   SELL   10/21/2015    -2    18.2
CBOE Volatility Index (VIX)   SELL   10/21/2015    -1    18.2
CBOE Volatility Index (VIX)   BUY    10/21/2015     2   18.25
CBOE Volatility Index (VIX)   SELL   10/22/2015    -1    16.1
CBOE Volatility Index (VIX)   BUY    10/22/2015     1   16.05
CBOE Volatility Index (VIX)   SELL   10/23/2015    -1   16.45
CBOE Volatility Index (VIX)   SELL   10/26/2015    -1    16.9
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CBOE Volatility Index (VIX)   BUY    10/26/2015     1   16.95
CBOE Volatility Index (VIX)   BUY    10/27/2015     1   16.45
CBOE Volatility Index (VIX)   SELL   10/28/2015    -2   15.95
CBOE Volatility Index (VIX)   SELL   10/28/2015    -1   15.95
CBOE Volatility Index (VIX)   SELL   11/6/2015     -3   15.65
CBOE Volatility Index (VIX)   SELL   11/6/2015     -3   15.65
CBOE Volatility Index (VIX)   SELL   11/6/2015     -1   15.65
CBOE Volatility Index (VIX)   SELL   11/6/2015     -1   15.65
CBOE Volatility Index (VIX)   SELL   11/9/2015     -4   17.05
CBOE Volatility Index (VIX)   BUY    11/10/2015     6   16.25
CBOE Volatility Index (VIX)   SELL   11/11/2015    -3   16.75
CBOE Volatility Index (VIX)   BUY    11/12/2015     1   18.55
CBOE Volatility Index (VIX)   BUY    11/12/2015     1   18.55
CBOE Volatility Index (VIX)   BUY    11/12/2015     1    18.6
CBOE Volatility Index (VIX)   BUY    11/13/2015     4    20.3
CBOE Volatility Index (VIX)   BUY    11/13/2015     6    20.3
CBOE Volatility Index (VIX)   BUY    11/16/2015     1   18.05
CBOE Volatility Index (VIX)   BUY    11/16/2015     1   18.45
CBOE Volatility Index (VIX)   BUY    11/16/2015     1   18.55
CBOE Volatility Index (VIX)   BUY    11/16/2015     1    18.4
CBOE Volatility Index (VIX)   BUY    11/16/2015     1    18.4
CBOE Volatility Index (VIX)   BUY    11/16/2015     1    18.4
CBOE Volatility Index (VIX)   BUY    11/16/2015     1   18.45
CBOE Volatility Index (VIX)   BUY    11/16/2015     1    18.6
CBOE Volatility Index (VIX)   BUY    11/16/2015     2   18.35
CBOE Volatility Index (VIX)   BUY    11/16/2015     2   18.05
CBOE Volatility Index (VIX)   BUY    11/16/2015     2   18.45
CBOE Volatility Index (VIX)   BUY    11/16/2015     3   18.45
CBOE Volatility Index (VIX)   BUY    11/16/2015     3    18.5
CBOE Volatility Index (VIX)   BUY    11/16/2015     3    18.2
CBOE Volatility Index (VIX)   BUY    11/16/2015     3    18.6
CBOE Volatility Index (VIX)   BUY    11/16/2015     4    18.2
CBOE Volatility Index (VIX)   BUY    11/16/2015     4    18.2
CBOE Volatility Index (VIX)   BUY    11/16/2015     4   18.35
CBOE Volatility Index (VIX)   BUY    11/16/2015     4    18.6
CBOE Volatility Index (VIX)   BUY    11/16/2015     5   18.15
CBOE Volatility Index (VIX)   BUY    11/16/2015     6   18.25
CBOE Volatility Index (VIX)   BUY    11/16/2015     6    18.2
CBOE Volatility Index (VIX)   BUY    11/16/2015     7    18.3
CBOE Volatility Index (VIX)   BUY    11/16/2015     7    18.2
CBOE Volatility Index (VIX)   BUY    11/16/2015   10     18.1
CBOE Volatility Index (VIX)   BUY    11/16/2015   12    18.15
CBOE Volatility Index (VIX)   SELL   11/16/2015   -17   17.95
CBOE Volatility Index (VIX)   SELL   11/16/2015   -10   18.35
CBOE Volatility Index (VIX)   SELL   11/16/2015    -8    17.9
CBOE Volatility Index (VIX)   SELL   11/16/2015    -8    18.1
CBOE Volatility Index (VIX)   SELL   11/16/2015    -8    18.2
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CBOE Volatility Index (VIX)   SELL   11/16/2015    -6   18.05
CBOE Volatility Index (VIX)   SELL   11/16/2015    -4     18
CBOE Volatility Index (VIX)   SELL   11/16/2015    -3   18.15
CBOE Volatility Index (VIX)   SELL   11/16/2015    -3    18.3
CBOE Volatility Index (VIX)   SELL   11/16/2015    -3   18.35
CBOE Volatility Index (VIX)   SELL   11/16/2015    -3   17.85
CBOE Volatility Index (VIX)   SELL   11/16/2015    -3   18.05
CBOE Volatility Index (VIX)   SELL   11/16/2015    -3   18.45
CBOE Volatility Index (VIX)   SELL   11/16/2015    -3   18.45
CBOE Volatility Index (VIX)   SELL   11/16/2015    -2   18.45
CBOE Volatility Index (VIX)   SELL   11/16/2015    -1   17.85
CBOE Volatility Index (VIX)   SELL   11/16/2015    -1   18.05
CBOE Volatility Index (VIX)   SELL   11/16/2015    -1   18.25
CBOE Volatility Index (VIX)   SELL   11/16/2015    -1   18.45
CBOE Volatility Index (VIX)   SELL   11/16/2015    -1    18.5
CBOE Volatility Index (VIX)   SELL   11/16/2015    -1    18.1
CBOE Volatility Index (VIX)   SELL   11/16/2015    -1   18.25
CBOE Volatility Index (VIX)   SELL   11/16/2015    -1   18.35
CBOE Volatility Index (VIX)   SELL   11/16/2015    -1   18.45
CBOE Volatility Index (VIX)   SELL   11/16/2015    -1   18.45
CBOE Volatility Index (VIX)   SELL   11/16/2015    -1   18.45
CBOE Volatility Index (VIX)   BUY    11/16/2015     1    17.9
CBOE Volatility Index (VIX)   BUY    11/16/2015     3    17.9
CBOE Volatility Index (VIX)   BUY    11/16/2015     4    17.9
CBOE Volatility Index (VIX)   BUY    11/16/2015     6    17.9
CBOE Volatility Index (VIX)   BUY    11/16/2015     8    17.9
CBOE Volatility Index (VIX)   BUY    11/16/2015   17     17.9
CBOE Volatility Index (VIX)   BUY    11/17/2015     1    18.5
CBOE Volatility Index (VIX)   BUY    11/17/2015     1   18.55
CBOE Volatility Index (VIX)   BUY    11/17/2015     1   18.55
CBOE Volatility Index (VIX)   BUY    11/17/2015     1   18.55
CBOE Volatility Index (VIX)   BUY    11/17/2015     3    18.5
CBOE Volatility Index (VIX)   BUY    11/17/2015     3   18.55
CBOE Volatility Index (VIX)   BUY    11/17/2015     3    18.5
CBOE Volatility Index (VIX)   BUY    11/17/2015     8    18.5
CBOE Volatility Index (VIX)   BUY    11/17/2015     8    18.5
CBOE Volatility Index (VIX)   BUY    11/17/2015   10    18.55
CBOE Volatility Index (VIX)   SELL   11/18/2015    -2   17.75
CBOE Volatility Index (VIX)   BUY    11/18/2015     1   17.75
CBOE Volatility Index (VIX)   BUY    11/18/2015     3    17.8
CBOE Volatility Index (VIX)   SELL   11/19/2015   -15   18.15
CBOE Volatility Index (VIX)   SELL   11/19/2015   -14   18.15
CBOE Volatility Index (VIX)   SELL   11/19/2015    -3   18.15
CBOE Volatility Index (VIX)   SELL   11/19/2015    -2   18.15
CBOE Volatility Index (VIX)   SELL   11/19/2015    -1   18.15
CBOE Volatility Index (VIX)   BUY    11/19/2015     3    18.2
CBOE Volatility Index (VIX)   SELL   11/20/2015   -29    17.4
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CBOE Volatility Index (VIX)   SELL   11/20/2015   -6    17.4
CBOE Volatility Index (VIX)   SELL   11/20/2015   -1    17.4
CBOE Volatility Index (VIX)   SELL   11/24/2015   -1   17.35
CBOE Volatility Index (VIX)   SELL   11/24/2015   -1    17.4
CBOE Volatility Index (VIX)   SELL   11/25/2015   -2   16.75
CBOE Volatility Index (VIX)   SELL   12/1/2015    -3    16.1
CBOE Volatility Index (VIX)   SELL   12/1/2015    -2    16.1
CBOE Volatility Index (VIX)   SELL   12/2/2015    -1    16.7
CBOE Volatility Index (VIX)   BUY    12/3/2015     1    18.3
CBOE Volatility Index (VIX)   BUY    12/3/2015     1    18.3
CBOE Volatility Index (VIX)   BUY    12/3/2015     1   18.35
CBOE Volatility Index (VIX)   BUY    12/3/2015     2   18.35
CBOE Volatility Index (VIX)   BUY    12/7/2015     3   16.55
CBOE Volatility Index (VIX)   SELL   12/8/2015    -1   17.75
CBOE Volatility Index (VIX)   BUY    12/8/2015     1    17.8
CBOE Volatility Index (VIX)   BUY    12/8/2015     1    17.8
CBOE Volatility Index (VIX)   BUY    12/8/2015     2    17.8
CBOE Volatility Index (VIX)   BUY    12/8/2015     2    17.8
CBOE Volatility Index (VIX)   BUY    12/9/2015     1     19
CBOE Volatility Index (VIX)   BUY    12/9/2015     1     19
CBOE Volatility Index (VIX)   BUY    12/9/2015     3   18.95
CBOE Volatility Index (VIX)   BUY    12/9/2015     6     19
CBOE Volatility Index (VIX)   BUY    12/9/2015    14     19
CBOE Volatility Index (VIX)   BUY    12/9/2015    15   18.95
CBOE Volatility Index (VIX)   SELL   12/10/2015   -1    19.3
CBOE Volatility Index (VIX)   BUY    12/10/2015    1   19.35
CBOE Volatility Index (VIX)   BUY    12/10/2015    1   19.35
CBOE Volatility Index (VIX)   BUY    12/10/2015    2   19.35
CBOE Volatility Index (VIX)   BUY    12/10/2015    3   19.35
CBOE Volatility Index (VIX)   BUY    12/10/2015   29   19.35
CBOE Volatility Index (VIX)   BUY    12/11/2015    1   23.65
CBOE Volatility Index (VIX)   BUY    12/11/2015    1   23.65
CBOE Volatility Index (VIX)   BUY    12/11/2015    1   23.65
CBOE Volatility Index (VIX)   BUY    12/11/2015    1   23.65
CBOE Volatility Index (VIX)   BUY    12/11/2015    1   23.65
CBOE Volatility Index (VIX)   BUY    12/11/2015    1   23.65
CBOE Volatility Index (VIX)   BUY    12/11/2015    1    23.7
CBOE Volatility Index (VIX)   BUY    12/11/2015    1    23.7
CBOE Volatility Index (VIX)   BUY    12/11/2015    1   23.65
CBOE Volatility Index (VIX)   BUY    12/11/2015    1   23.65
CBOE Volatility Index (VIX)   BUY    12/11/2015    1   23.65
CBOE Volatility Index (VIX)   BUY    12/11/2015    1    23.7
CBOE Volatility Index (VIX)   BUY    12/11/2015    1    23.7
CBOE Volatility Index (VIX)   BUY    12/11/2015    1    23.7
CBOE Volatility Index (VIX)   BUY    12/11/2015    1    23.7
CBOE Volatility Index (VIX)   BUY    12/11/2015    2   23.65
CBOE Volatility Index (VIX)   BUY    12/11/2015    2   23.65
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CBOE Volatility Index (VIX)   BUY    12/11/2015    2   23.65
CBOE Volatility Index (VIX)   BUY    12/11/2015    2   23.65
CBOE Volatility Index (VIX)   BUY    12/11/2015    2   23.65
CBOE Volatility Index (VIX)   BUY    12/11/2015    2    23.7
CBOE Volatility Index (VIX)   BUY    12/11/2015    3   23.65
CBOE Volatility Index (VIX)   BUY    12/11/2015    3   23.65
CBOE Volatility Index (VIX)   BUY    12/11/2015    3   23.65
CBOE Volatility Index (VIX)   BUY    12/11/2015    4   23.65
CBOE Volatility Index (VIX)   SELL   12/14/2015   -4   22.75
CBOE Volatility Index (VIX)   SELL   12/14/2015   -3   22.25
CBOE Volatility Index (VIX)   SELL   12/14/2015   -3   22.35
CBOE Volatility Index (VIX)   SELL   12/14/2015   -3    22.7
CBOE Volatility Index (VIX)   SELL   12/14/2015   -2    21.9
CBOE Volatility Index (VIX)   SELL   12/14/2015   -2   22.15
CBOE Volatility Index (VIX)   SELL   12/14/2015   -2    22.5
CBOE Volatility Index (VIX)   SELL   12/14/2015   -2    22.6
CBOE Volatility Index (VIX)   SELL   12/14/2015   -2    22.9
CBOE Volatility Index (VIX)   SELL   12/14/2015   -1   21.95
CBOE Volatility Index (VIX)   SELL   12/14/2015   -1   22.05
CBOE Volatility Index (VIX)   SELL   12/14/2015   -1    22.3
CBOE Volatility Index (VIX)   SELL   12/14/2015   -1   22.45
CBOE Volatility Index (VIX)   SELL   12/14/2015   -1   22.65
CBOE Volatility Index (VIX)   SELL   12/14/2015   -1    22.8
CBOE Volatility Index (VIX)   SELL   12/14/2015   -1     23
CBOE Volatility Index (VIX)   SELL   12/14/2015   -1   23.05
CBOE Volatility Index (VIX)   SELL   12/14/2015   -1    23.1
CBOE Volatility Index (VIX)   SELL   12/14/2015   -1   23.15
CBOE Volatility Index (VIX)   SELL   12/14/2015   -1   22.15
CBOE Volatility Index (VIX)   SELL   12/14/2015   -1    23.3
CBOE Volatility Index (VIX)   SELL   12/14/2015   -1    20.3
CBOE Volatility Index (VIX)   BUY    12/14/2015    1   20.35
CBOE Volatility Index (VIX)   BUY    12/14/2015    1     20
CBOE Volatility Index (VIX)   BUY    12/14/2015    1   20.05
CBOE Volatility Index (VIX)   BUY    12/14/2015    1    20.2
CBOE Volatility Index (VIX)   BUY    12/14/2015    1   20.25
CBOE Volatility Index (VIX)   BUY    12/14/2015    1    20.7
CBOE Volatility Index (VIX)   BUY    12/14/2015    1   20.95
CBOE Volatility Index (VIX)   BUY    12/14/2015    1   20.05
CBOE Volatility Index (VIX)   BUY    12/14/2015    2   20.45
CBOE Volatility Index (VIX)   BUY    12/14/2015    2   20.55
CBOE Volatility Index (VIX)   BUY    12/14/2015    2   20.75
CBOE Volatility Index (VIX)   BUY    12/14/2015    2    20.9
CBOE Volatility Index (VIX)   BUY    12/14/2015    3   20.35
CBOE Volatility Index (VIX)   BUY    12/14/2015    3   20.65
CBOE Volatility Index (VIX)   BUY    12/14/2015    4    20.5
CBOE Volatility Index (VIX)   BUY    12/14/2015    5    20.4
CBOE Volatility Index (VIX)   BUY    12/14/2015    5    20.6
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CBOE Volatility Index (VIX)   BUY    12/15/2015     1    18.9
CBOE Volatility Index (VIX)   SELL   12/16/2015    -5    18.1
CBOE Volatility Index (VIX)   SELL   12/16/2015    -5    18.1
CBOE Volatility Index (VIX)   SELL   12/16/2015    -4    18.1
CBOE Volatility Index (VIX)   SELL   12/16/2015    -3    18.1
CBOE Volatility Index (VIX)   SELL   12/16/2015    -3    18.1
CBOE Volatility Index (VIX)   SELL   12/16/2015    -2    18.1
CBOE Volatility Index (VIX)   SELL   12/16/2015    -2    18.1
CBOE Volatility Index (VIX)   SELL   12/16/2015    -2    18.1
CBOE Volatility Index (VIX)   SELL   12/16/2015    -1    18.1
CBOE Volatility Index (VIX)   SELL   12/16/2015    -1    18.1
CBOE Volatility Index (VIX)   SELL   12/16/2015    -1    18.1
CBOE Volatility Index (VIX)   SELL   12/16/2015    -1    18.1
CBOE Volatility Index (VIX)   SELL   12/16/2015    -1    18.1
CBOE Volatility Index (VIX)   SELL   12/16/2015    -1    18.1
CBOE Volatility Index (VIX)   SELL   12/17/2015   -10    19.2
CBOE Volatility Index (VIX)   SELL   12/17/2015    -9    19.1
CBOE Volatility Index (VIX)   SELL   12/17/2015    -5    19.1
CBOE Volatility Index (VIX)   SELL   12/17/2015    -2    19.1
CBOE Volatility Index (VIX)   SELL   12/17/2015    -1   19.15
CBOE Volatility Index (VIX)   SELL   12/17/2015    -1    19.1
CBOE Volatility Index (VIX)   SELL   12/17/2015    -1    19.1
CBOE Volatility Index (VIX)   SELL   12/17/2015    -1    19.1
CBOE Volatility Index (VIX)   SELL   12/17/2015    -1    19.1
CBOE Volatility Index (VIX)   SELL   12/17/2015    -1    19.1
CBOE Volatility Index (VIX)   SELL   12/18/2015    -3    20.4
CBOE Volatility Index (VIX)   SELL   12/18/2015    -3   20.45
CBOE Volatility Index (VIX)   SELL   12/22/2015    -1   17.75
CBOE Volatility Index (VIX)   SELL   12/22/2015    -1   17.75
CBOE Volatility Index (VIX)   SELL   12/23/2015   -13    17.8
CBOE Volatility Index (VIX)   SELL   12/23/2015   -11   17.85
CBOE Volatility Index (VIX)   SELL   12/23/2015    -8   17.85
CBOE Volatility Index (VIX)   SELL   12/23/2015    -1    17.8
CBOE Volatility Index (VIX)   SELL   12/24/2015    -1   18.15
CBOE Volatility Index (VIX)   BUY    12/28/2015     1   17.85
CBOE Volatility Index (VIX)   BUY    12/31/2015     1    18.5
CBOE Volatility Index (VIX)   BUY     1/4/2016      1   19.85
CBOE Volatility Index (VIX)   BUY     1/4/2016      1    19.9
CBOE Volatility Index (VIX)   BUY     1/4/2016      1   19.85
CBOE Volatility Index (VIX)   BUY     1/4/2016      1   19.85
CBOE Volatility Index (VIX)   BUY     1/4/2016      1   19.85
CBOE Volatility Index (VIX)   BUY     1/4/2016      3   19.85
CBOE Volatility Index (VIX)   BUY     1/4/2016      3   19.85
CBOE Volatility Index (VIX)   BUY     1/4/2016      5   19.85
CBOE Volatility Index (VIX)   BUY     1/4/2016      9    19.8
CBOE Volatility Index (VIX)   BUY     1/4/2016    10    19.85
CBOE Volatility Index (VIX)   SELL    1/5/2016     -1    19.4
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CBOE Volatility Index (VIX)   SELL    1/5/2016   -1     19.4
CBOE Volatility Index (VIX)   BUY     1/5/2016    1    19.45
CBOE Volatility Index (VIX)   BUY     1/5/2016    8    19.45
CBOE Volatility Index (VIX)   BUY     1/5/2016   11     19.4
CBOE Volatility Index (VIX)   BUY     1/5/2016   13     19.4
CBOE Volatility Index (VIX)   BUY     1/6/2016    1    20.35
CBOE Volatility Index (VIX)   SELL    1/7/2016   -2    23.55
CBOE Volatility Index (VIX)   SELL    1/7/2016   -1     23.6
CBOE Volatility Index (VIX)   BUY     1/7/2016    1    23.55
CBOE Volatility Index (VIX)   BUY     1/7/2016    1     23.6
CBOE Volatility Index (VIX)   BUY     1/7/2016    2    23.55
CBOE Volatility Index (VIX)   BUY     1/7/2016    2     23.6
CBOE Volatility Index (VIX)   BUY     1/8/2016    1    25.25
CBOE Volatility Index (VIX)   BUY     1/8/2016    1     25.3
CBOE Volatility Index (VIX)   BUY     1/8/2016    1    25.25
CBOE Volatility Index (VIX)   BUY     1/8/2016    1    25.35
CBOE Volatility Index (VIX)   BUY     1/8/2016    1    25.25
CBOE Volatility Index (VIX)   BUY     1/8/2016    1    25.25
CBOE Volatility Index (VIX)   BUY     1/8/2016    1    25.25
CBOE Volatility Index (VIX)   BUY     1/8/2016    1    25.25
CBOE Volatility Index (VIX)   BUY     1/8/2016    1    25.25
CBOE Volatility Index (VIX)   BUY     1/8/2016    2    25.25
CBOE Volatility Index (VIX)   BUY     1/8/2016    2    25.25
CBOE Volatility Index (VIX)   BUY     1/8/2016    2    25.35
CBOE Volatility Index (VIX)   BUY     1/8/2016    2    25.25
CBOE Volatility Index (VIX)   BUY     1/8/2016    2    25.25
CBOE Volatility Index (VIX)   BUY     1/8/2016    2    25.25
CBOE Volatility Index (VIX)   BUY     1/8/2016    2    25.35
CBOE Volatility Index (VIX)   BUY     1/8/2016    3     25.3
CBOE Volatility Index (VIX)   BUY     1/8/2016    3    25.25
CBOE Volatility Index (VIX)   BUY     1/8/2016    4    25.25
CBOE Volatility Index (VIX)   SELL   1/11/2016   -2    23.45
CBOE Volatility Index (VIX)   BUY    1/11/2016    1    23.45
CBOE Volatility Index (VIX)   BUY    1/12/2016    1    22.05
CBOE Volatility Index (VIX)   BUY    1/13/2016    1    24.75
CBOE Volatility Index (VIX)   BUY    1/13/2016    1    24.85
CBOE Volatility Index (VIX)   BUY    1/13/2016    1    24.75
CBOE Volatility Index (VIX)   BUY    1/13/2016    1    24.85
CBOE Volatility Index (VIX)   BUY    1/13/2016    2    24.85
CBOE Volatility Index (VIX)   BUY    1/14/2016    1    23.55
CBOE Volatility Index (VIX)   SELL   1/15/2016   -4    26.65
CBOE Volatility Index (VIX)   SELL   1/15/2016   -3    26.25
CBOE Volatility Index (VIX)   SELL   1/15/2016   -3     27.1
CBOE Volatility Index (VIX)   SELL   1/15/2016   -2    26.05
CBOE Volatility Index (VIX)   SELL   1/15/2016   -2    26.15
CBOE Volatility Index (VIX)   SELL   1/15/2016   -2    26.35
CBOE Volatility Index (VIX)   SELL   1/15/2016   -2     26.4
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CBOE Volatility Index (VIX)   SELL   1/15/2016   -2     26.6
CBOE Volatility Index (VIX)   SELL   1/15/2016   -2    27.15
CBOE Volatility Index (VIX)   SELL   1/15/2016   -2     27.2
CBOE Volatility Index (VIX)   SELL   1/15/2016   -2     27.4
CBOE Volatility Index (VIX)   SELL   1/15/2016   -1     26.3
CBOE Volatility Index (VIX)   SELL   1/15/2016   -1     26.5
CBOE Volatility Index (VIX)   SELL   1/15/2016   -1    26.55
CBOE Volatility Index (VIX)   SELL   1/15/2016   -1    26.75
CBOE Volatility Index (VIX)   SELL   1/15/2016   -1    26.85
CBOE Volatility Index (VIX)   SELL   1/15/2016   -1      27
CBOE Volatility Index (VIX)   SELL   1/15/2016   -1     27.3
CBOE Volatility Index (VIX)   SELL   1/15/2016   -1    27.55
CBOE Volatility Index (VIX)   SELL   1/15/2016   -1     26.1
CBOE Volatility Index (VIX)   SELL   1/15/2016   -1     26.9
CBOE Volatility Index (VIX)   SELL   1/15/2016   -1    27.25
CBOE Volatility Index (VIX)   SELL   1/15/2016   -1    27.25
CBOE Volatility Index (VIX)   SELL   1/15/2016   -1    27.25
CBOE Volatility Index (VIX)   SELL   1/15/2016   -1    27.35
CBOE Volatility Index (VIX)   SELL   1/15/2016   -1     27.6
CBOE Volatility Index (VIX)   SELL   1/15/2016   -1     27.6
CBOE Volatility Index (VIX)   SELL   1/15/2016   -1    24.35
CBOE Volatility Index (VIX)   BUY    1/15/2016    1     24.3
CBOE Volatility Index (VIX)   BUY    1/15/2016    1     24.4
CBOE Volatility Index (VIX)   BUY    1/15/2016    1     23.9
CBOE Volatility Index (VIX)   BUY    1/15/2016    1    23.95
CBOE Volatility Index (VIX)   BUY    1/15/2016    1     24.2
CBOE Volatility Index (VIX)   BUY    1/15/2016    1     24.3
CBOE Volatility Index (VIX)   BUY    1/15/2016    1     24.5
CBOE Volatility Index (VIX)   BUY    1/15/2016    1     24.7
CBOE Volatility Index (VIX)   BUY    1/15/2016    1    24.75
CBOE Volatility Index (VIX)   BUY    1/15/2016    1     24.8
CBOE Volatility Index (VIX)   BUY    1/15/2016    1     24.9
CBOE Volatility Index (VIX)   BUY    1/15/2016    1    24.95
CBOE Volatility Index (VIX)   BUY    1/15/2016    1    23.95
CBOE Volatility Index (VIX)   BUY    1/15/2016    1     24.3
CBOE Volatility Index (VIX)   BUY    1/15/2016    1     24.8
CBOE Volatility Index (VIX)   BUY    1/15/2016    2     24.1
CBOE Volatility Index (VIX)   BUY    1/15/2016    2    24.15
CBOE Volatility Index (VIX)   BUY    1/15/2016    2    24.45
CBOE Volatility Index (VIX)   BUY    1/15/2016    2    24.55
CBOE Volatility Index (VIX)   BUY    1/15/2016    2     24.1
CBOE Volatility Index (VIX)   BUY    1/15/2016    3    24.25
CBOE Volatility Index (VIX)   BUY    1/15/2016    3    24.35
CBOE Volatility Index (VIX)   BUY    1/15/2016    3     24.4
CBOE Volatility Index (VIX)   BUY    1/15/2016    3    24.65
CBOE Volatility Index (VIX)   BUY    1/15/2016    3    24.75
CBOE Volatility Index (VIX)   BUY    1/15/2016    4     24.6
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CBOE Volatility Index (VIX)   BUY    1/19/2016     1    24.3
CBOE Volatility Index (VIX)   BUY    1/20/2016     1   24.75
CBOE Volatility Index (VIX)   SELL   1/21/2016    -2   25.05
CBOE Volatility Index (VIX)   SELL   1/21/2016    -1   25.05
CBOE Volatility Index (VIX)   SELL   1/21/2016    -1   25.05
CBOE Volatility Index (VIX)   SELL   1/22/2016    -4   22.65
CBOE Volatility Index (VIX)   SELL   1/22/2016    -3    22.6
CBOE Volatility Index (VIX)   SELL   1/22/2016    -3   22.65
CBOE Volatility Index (VIX)   SELL   1/22/2016    -3   22.65
CBOE Volatility Index (VIX)   SELL   1/22/2016    -3   22.65
CBOE Volatility Index (VIX)   SELL   1/22/2016    -2   22.65
CBOE Volatility Index (VIX)   SELL   1/22/2016    -2   22.65
CBOE Volatility Index (VIX)   SELL   1/22/2016    -2   22.65
CBOE Volatility Index (VIX)   SELL   1/22/2016    -2    22.6
CBOE Volatility Index (VIX)   SELL   1/22/2016    -1    22.6
CBOE Volatility Index (VIX)   SELL   1/22/2016    -1   22.65
CBOE Volatility Index (VIX)   SELL   1/22/2016    -1   22.65
CBOE Volatility Index (VIX)   SELL   1/22/2016    -1   22.65
CBOE Volatility Index (VIX)   SELL   1/22/2016    -1   22.65
CBOE Volatility Index (VIX)   SELL   1/22/2016    -1   22.65
CBOE Volatility Index (VIX)   SELL   1/22/2016    -1   22.65
CBOE Volatility Index (VIX)   SELL   1/25/2016    -3     24
CBOE Volatility Index (VIX)   SELL   1/25/2016    -1   24.05
CBOE Volatility Index (VIX)   SELL   1/25/2016    -1   24.05
CBOE Volatility Index (VIX)   SELL   1/26/2016   -16    22.9
CBOE Volatility Index (VIX)   SELL   1/26/2016    -3    22.9
CBOE Volatility Index (VIX)   SELL   1/26/2016    -1    22.9
CBOE Volatility Index (VIX)   SELL   1/26/2016    -1    22.9
CBOE Volatility Index (VIX)   SELL   1/26/2016    -1    22.9
CBOE Volatility Index (VIX)   SELL   1/26/2016    -1    22.9
CBOE Volatility Index (VIX)   SELL   1/26/2016    -1    22.9
CBOE Volatility Index (VIX)   SELL   1/26/2016    -1    22.9
CBOE Volatility Index (VIX)   SELL   1/26/2016    -1    22.9
CBOE Volatility Index (VIX)   SELL   1/27/2016    -1    23.7
CBOE Volatility Index (VIX)   SELL   1/28/2016   -11   23.25
CBOE Volatility Index (VIX)   SELL   1/28/2016    -7   23.25
CBOE Volatility Index (VIX)   SELL   1/28/2016    -4   23.25
CBOE Volatility Index (VIX)   SELL   1/28/2016    -4   23.25
CBOE Volatility Index (VIX)   SELL   1/28/2016    -2   23.25
CBOE Volatility Index (VIX)   SELL   1/28/2016    -1    23.3
CBOE Volatility Index (VIX)   SELL   1/29/2016    -1   21.65
CBOE Volatility Index (VIX)   SELL    2/1/2016    -1    21.5
CBOE Volatility Index (VIX)   BUY     2/4/2016     1   23.05
CBOE Volatility Index (VIX)   BUY     2/5/2016     1   24.05
CBOE Volatility Index (VIX)   BUY     2/8/2016     1   25.45
CBOE Volatility Index (VIX)   BUY     2/8/2016     3   25.45
CBOE Volatility Index (VIX)   BUY     2/8/2016     7   25.45
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CBOE Volatility Index (VIX)   BUY     2/8/2016   16     25.4
CBOE Volatility Index (VIX)   BUY     2/9/2016     1   26.15
CBOE Volatility Index (VIX)   BUY     2/9/2016     1    26.1
CBOE Volatility Index (VIX)   BUY     2/9/2016     1    26.1
CBOE Volatility Index (VIX)   BUY     2/9/2016     2   26.15
CBOE Volatility Index (VIX)   BUY     2/9/2016     4    26.1
CBOE Volatility Index (VIX)   BUY     2/9/2016     4   26.05
CBOE Volatility Index (VIX)   BUY     2/9/2016   10    26.15
CBOE Volatility Index (VIX)   BUY     2/9/2016   11     26.1
CBOE Volatility Index (VIX)   BUY    2/10/2016     1    26.3
CBOE Volatility Index (VIX)   BUY    2/10/2016     1   26.25
CBOE Volatility Index (VIX)   BUY    2/10/2016     2   26.25
CBOE Volatility Index (VIX)   BUY    2/10/2016     2    26.3
CBOE Volatility Index (VIX)   BUY    2/10/2016     3   26.25
CBOE Volatility Index (VIX)   BUY    2/10/2016     3    26.3
CBOE Volatility Index (VIX)   BUY    2/10/2016   15    26.25
CBOE Volatility Index (VIX)   SELL   2/11/2016   -15    28.1
CBOE Volatility Index (VIX)   SELL   2/11/2016   -10    28.1
CBOE Volatility Index (VIX)   BUY    2/11/2016     1   28.15
CBOE Volatility Index (VIX)   BUY    2/11/2016     1   28.15
CBOE Volatility Index (VIX)   BUY    2/11/2016     2   28.15
CBOE Volatility Index (VIX)   SELL   2/12/2016    -3    26.7
CBOE Volatility Index (VIX)   SELL   2/12/2016    -3   26.65
CBOE Volatility Index (VIX)   SELL   2/12/2016    -2    26.6
CBOE Volatility Index (VIX)   SELL   2/12/2016    -2   26.65
CBOE Volatility Index (VIX)   SELL   2/12/2016    -2    26.8
CBOE Volatility Index (VIX)   SELL   2/12/2016    -1   26.55
CBOE Volatility Index (VIX)   SELL   2/12/2016    -1   26.75
CBOE Volatility Index (VIX)   SELL   2/12/2016    -1   26.75
CBOE Volatility Index (VIX)   SELL   2/12/2016    -1   26.95
CBOE Volatility Index (VIX)   BUY    2/12/2016     1    25.1
CBOE Volatility Index (VIX)   BUY    2/12/2016     1   25.25
CBOE Volatility Index (VIX)   BUY    2/12/2016     1    25.1
CBOE Volatility Index (VIX)   BUY    2/12/2016     3   25.05
CBOE Volatility Index (VIX)   BUY    2/12/2016     5   24.95
CBOE Volatility Index (VIX)   BUY    2/12/2016     6     25
CBOE Volatility Index (VIX)   BUY    2/12/2016     8   25.15
CBOE Volatility Index (VIX)   BUY    2/12/2016   15    25.15
CBOE Volatility Index (VIX)   SELL   2/16/2016    -5    23.8
CBOE Volatility Index (VIX)   BUY    2/16/2016     1    23.8
CBOE Volatility Index (VIX)   SELL   2/17/2016   -15    22.9
CBOE Volatility Index (VIX)   SELL   2/17/2016    -6    22.9
CBOE Volatility Index (VIX)   SELL   2/17/2016    -3    22.9
CBOE Volatility Index (VIX)   SELL   2/17/2016    -1    22.9
CBOE Volatility Index (VIX)   SELL   2/17/2016    -1    22.9
CBOE Volatility Index (VIX)   SELL   2/18/2016   -14    22.8
CBOE Volatility Index (VIX)   SELL   2/18/2016    -8   22.75
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CBOE Volatility Index (VIX)   SELL   2/18/2016    -2    22.8
CBOE Volatility Index (VIX)   SELL   2/18/2016    -1    22.8
CBOE Volatility Index (VIX)   SELL   2/18/2016    -1   22.75
CBOE Volatility Index (VIX)   SELL   2/18/2016    -1    22.8
CBOE Volatility Index (VIX)   SELL   2/18/2016    -1    22.8
CBOE Volatility Index (VIX)   SELL   2/18/2016    -1    22.8
CBOE Volatility Index (VIX)   SELL   2/19/2016   -19   22.35
CBOE Volatility Index (VIX)   SELL   2/19/2016   -10    22.3
CBOE Volatility Index (VIX)   SELL   2/19/2016    -3   22.35
CBOE Volatility Index (VIX)   SELL   2/19/2016    -2    22.3
CBOE Volatility Index (VIX)   SELL   2/22/2016    -1   20.95
CBOE Volatility Index (VIX)   SELL   2/24/2016    -1    21.7
CBOE Volatility Index (VIX)   SELL   2/26/2016    -1   21.45
CBOE Volatility Index (VIX)   SELL    3/1/2016    -2   19.45
CBOE Volatility Index (VIX)   SELL    3/1/2016    -1   19.45
CBOE Volatility Index (VIX)   SELL    3/1/2016    -1    19.4
CBOE Volatility Index (VIX)   SELL    3/2/2016    -2   19.25
CBOE Volatility Index (VIX)   BUY     3/2/2016     1   19.25
CBOE Volatility Index (VIX)   SELL    3/3/2016    -3    18.4
CBOE Volatility Index (VIX)   SELL    3/3/2016    -2    18.4
CBOE Volatility Index (VIX)   SELL    3/3/2016    -1    18.3
CBOE Volatility Index (VIX)   SELL    3/3/2016    -1    18.3
CBOE Volatility Index (VIX)   SELL    3/3/2016    -1    18.3
CBOE Volatility Index (VIX)   SELL    3/4/2016    -2   18.85
CBOE Volatility Index (VIX)   SELL    3/4/2016    -1    18.9
CBOE Volatility Index (VIX)   SELL    3/7/2016    -1   18.55
CBOE Volatility Index (VIX)   BUY     3/8/2016     1    19.6
CBOE Volatility Index (VIX)   SELL    3/9/2016    -1    19.1
CBOE Volatility Index (VIX)   BUY    3/10/2016     2   18.95
CBOE Volatility Index (VIX)   SELL   3/11/2016    -1    17.6
CBOE Volatility Index (VIX)   SELL   3/11/2016    -1   17.65
CBOE Volatility Index (VIX)   BUY    3/14/2016     1   17.25
CBOE Volatility Index (VIX)   BUY    3/14/2016     1   17.35
CBOE Volatility Index (VIX)   BUY    3/14/2016     1   17.45
CBOE Volatility Index (VIX)   BUY    3/14/2016     1   17.35
CBOE Volatility Index (VIX)   BUY    3/14/2016     1   17.35
CBOE Volatility Index (VIX)   BUY    3/14/2016     1   17.35
CBOE Volatility Index (VIX)   BUY    3/14/2016     1   17.35
CBOE Volatility Index (VIX)   BUY    3/14/2016     1   17.35
CBOE Volatility Index (VIX)   BUY    3/14/2016     1    17.4
CBOE Volatility Index (VIX)   BUY    3/14/2016     1    17.4
CBOE Volatility Index (VIX)   BUY    3/14/2016     1    17.4
CBOE Volatility Index (VIX)   BUY    3/14/2016     1    17.4
CBOE Volatility Index (VIX)   BUY    3/14/2016     1    17.4
CBOE Volatility Index (VIX)   BUY    3/14/2016     1    17.4
CBOE Volatility Index (VIX)   BUY    3/14/2016     2    17.3
CBOE Volatility Index (VIX)   BUY    3/14/2016     2   17.35
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CBOE Volatility Index (VIX)   BUY    3/14/2016     2   17.35
CBOE Volatility Index (VIX)   BUY    3/14/2016     2    17.4
CBOE Volatility Index (VIX)   BUY    3/14/2016     2    17.4
CBOE Volatility Index (VIX)   BUY    3/14/2016     3   17.35
CBOE Volatility Index (VIX)   BUY    3/14/2016     3    17.4
CBOE Volatility Index (VIX)   BUY    3/14/2016   10     17.3
CBOE Volatility Index (VIX)   BUY    3/14/2016   14     17.3
CBOE Volatility Index (VIX)   BUY    3/14/2016   19    17.35
CBOE Volatility Index (VIX)   SELL   3/14/2016   -19    18.7
CBOE Volatility Index (VIX)   SELL   3/14/2016   -18   18.75
CBOE Volatility Index (VIX)   SELL   3/14/2016   -12    18.8
CBOE Volatility Index (VIX)   SELL   3/14/2016    -6   18.75
CBOE Volatility Index (VIX)   SELL   3/14/2016    -5   18.85
CBOE Volatility Index (VIX)   SELL   3/14/2016    -3   18.65
CBOE Volatility Index (VIX)   SELL   3/14/2016    -2    18.6
CBOE Volatility Index (VIX)   SELL   3/14/2016    -2   18.65
CBOE Volatility Index (VIX)   SELL   3/14/2016    -2    18.7
CBOE Volatility Index (VIX)   SELL   3/14/2016    -1   18.65
CBOE Volatility Index (VIX)   SELL   3/14/2016    -1   18.65
CBOE Volatility Index (VIX)   SELL   3/14/2016    -1   18.65
CBOE Volatility Index (VIX)   SELL   3/14/2016    -1   18.65
CBOE Volatility Index (VIX)   SELL   3/16/2016    -1    18.2
CBOE Volatility Index (VIX)   BUY    3/16/2016     2   18.25
CBOE Volatility Index (VIX)   SELL   3/17/2016    -1   17.95
CBOE Volatility Index (VIX)   SELL   3/17/2016    -1     18
CBOE Volatility Index (VIX)   SELL   3/18/2016    -1   17.85
CBOE Volatility Index (VIX)   SELL   3/21/2016    -2   17.05
CBOE Volatility Index (VIX)   SELL   3/21/2016    -1   17.05
CBOE Volatility Index (VIX)   SELL   3/22/2016    -2    16.8
CBOE Volatility Index (VIX)   SELL   3/22/2016    -2   16.95
CBOE Volatility Index (VIX)   SELL   3/22/2016    -1    16.8
CBOE Volatility Index (VIX)   SELL   3/22/2016    -1   16.95
CBOE Volatility Index (VIX)   SELL   3/23/2016    -3    17.7
CBOE Volatility Index (VIX)   SELL   3/24/2016    -1    17.4
CBOE Volatility Index (VIX)   SELL   3/24/2016    -1   17.45
CBOE Volatility Index (VIX)   BUY    3/24/2016     1   17.45
CBOE Volatility Index (VIX)   SELL   3/28/2016    -3   17.15
CBOE Volatility Index (VIX)   BUY    3/28/2016     1    17.2
CBOE Volatility Index (VIX)   SELL   3/29/2016    -2    16.1
CBOE Volatility Index (VIX)   SELL   3/29/2016    -1    16.1
CBOE Volatility Index (VIX)   SELL   3/30/2016    -2   15.85
CBOE Volatility Index (VIX)   SELL   3/30/2016    -2     16
CBOE Volatility Index (VIX)   SELL   3/30/2016    -1   15.85
CBOE Volatility Index (VIX)   SELL   3/30/2016    -1     16
CBOE Volatility Index (VIX)   SELL   3/31/2016    -1    15.9
CBOE Volatility Index (VIX)   SELL   3/31/2016    -1   15.95
CBOE Volatility Index (VIX)   SELL   3/31/2016    -1   15.95
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CBOE Volatility Index (VIX)   SELL    4/1/2016   -1    15.35
CBOE Volatility Index (VIX)   BUY     4/5/2016    1     16.8
CBOE Volatility Index (VIX)   BUY     4/5/2016    3    16.95
CBOE Volatility Index (VIX)   BUY     4/7/2016    2    17.25
CBOE Volatility Index (VIX)   BUY     4/8/2016    1     16.7
CBOE Volatility Index (VIX)   BUY    4/11/2016    2    17.05
CBOE Volatility Index (VIX)   SELL   4/12/2016   -2     15.9
CBOE Volatility Index (VIX)   SELL   4/13/2016   -3    14.85
CBOE Volatility Index (VIX)   SELL   4/13/2016   -2    14.85
CBOE Volatility Index (VIX)   SELL   4/13/2016   -2     14.8
CBOE Volatility Index (VIX)   SELL   4/14/2016   -4    14.65
CBOE Volatility Index (VIX)   SELL   4/15/2016   -2    14.75
CBOE Volatility Index (VIX)   SELL   4/15/2016   -2    14.75
CBOE Volatility Index (VIX)   BUY    4/18/2016    1     13.9
CBOE Volatility Index (VIX)   BUY    4/18/2016    1    13.85
CBOE Volatility Index (VIX)   BUY    4/18/2016    1    13.85
CBOE Volatility Index (VIX)   BUY    4/18/2016    1    13.85
CBOE Volatility Index (VIX)   BUY    4/18/2016    1    13.85
CBOE Volatility Index (VIX)   BUY    4/18/2016    1    13.85
CBOE Volatility Index (VIX)   BUY    4/18/2016    1    13.85
CBOE Volatility Index (VIX)   BUY    4/18/2016    1    13.85
CBOE Volatility Index (VIX)   BUY    4/18/2016    1    13.85
CBOE Volatility Index (VIX)   BUY    4/18/2016    1    13.85
CBOE Volatility Index (VIX)   BUY    4/18/2016    1    13.85
CBOE Volatility Index (VIX)   BUY    4/18/2016    1    13.85
CBOE Volatility Index (VIX)   BUY    4/18/2016    1    13.85
CBOE Volatility Index (VIX)   BUY    4/18/2016    1     13.9
CBOE Volatility Index (VIX)   BUY    4/18/2016    1     13.9
CBOE Volatility Index (VIX)   BUY    4/18/2016    1     13.9
CBOE Volatility Index (VIX)   BUY    4/18/2016    2    13.95
CBOE Volatility Index (VIX)   BUY    4/18/2016    2    13.85
CBOE Volatility Index (VIX)   BUY    4/18/2016    2    13.85
CBOE Volatility Index (VIX)   BUY    4/18/2016    2    13.85
CBOE Volatility Index (VIX)   BUY    4/18/2016    2    13.85
CBOE Volatility Index (VIX)   BUY    4/18/2016    2    13.85
CBOE Volatility Index (VIX)   BUY    4/18/2016    2    13.85
CBOE Volatility Index (VIX)   BUY    4/18/2016    2     13.9
CBOE Volatility Index (VIX)   BUY    4/18/2016    2     13.9
CBOE Volatility Index (VIX)   BUY    4/18/2016    2     13.9
CBOE Volatility Index (VIX)   BUY    4/18/2016    2     13.9
CBOE Volatility Index (VIX)   BUY    4/18/2016    3    13.85
CBOE Volatility Index (VIX)   BUY    4/18/2016    3    13.85
CBOE Volatility Index (VIX)   BUY    4/18/2016    3     13.9
CBOE Volatility Index (VIX)   BUY    4/18/2016    4     13.9
CBOE Volatility Index (VIX)   BUY    4/18/2016    5    13.85
CBOE Volatility Index (VIX)   BUY    4/18/2016    6    13.85
CBOE Volatility Index (VIX)   BUY    4/18/2016   12    13.85
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CBOE Volatility Index (VIX)   BUY    4/18/2016   18     13.8
CBOE Volatility Index (VIX)   BUY    4/18/2016   19     13.8
CBOE Volatility Index (VIX)   SELL   4/18/2016   -23   16.05
CBOE Volatility Index (VIX)   SELL   4/18/2016   -23    16.1
CBOE Volatility Index (VIX)   SELL   4/18/2016   -13    16.2
CBOE Volatility Index (VIX)   SELL   4/18/2016   -12   16.15
CBOE Volatility Index (VIX)   SELL   4/18/2016   -12   16.25
CBOE Volatility Index (VIX)   SELL   4/18/2016    -7    16.1
CBOE Volatility Index (VIX)   SELL   4/18/2016    -3    16.2
CBOE Volatility Index (VIX)   SELL   4/18/2016    -2   16.25
CBOE Volatility Index (VIX)   SELL   4/18/2016    -2   16.05
CBOE Volatility Index (VIX)   SELL   4/18/2016    -2   16.05
CBOE Volatility Index (VIX)   SELL   4/18/2016    -2   16.05
CBOE Volatility Index (VIX)   SELL   4/18/2016    -2   16.05
CBOE Volatility Index (VIX)   SELL   4/18/2016    -2   16.15
CBOE Volatility Index (VIX)   SELL   4/18/2016    -1     16
CBOE Volatility Index (VIX)   SELL   4/18/2016    -1    16.3
CBOE Volatility Index (VIX)   SELL   4/18/2016    -1   16.05
CBOE Volatility Index (VIX)   SELL   4/18/2016    -1   16.05
CBOE Volatility Index (VIX)   SELL   4/18/2016    -1   16.05
CBOE Volatility Index (VIX)   SELL   4/18/2016    -1   16.05
CBOE Volatility Index (VIX)   SELL   4/18/2016    -1   16.05
CBOE Volatility Index (VIX)   SELL   4/18/2016    -1   16.05
CBOE Volatility Index (VIX)   SELL   4/18/2016    -1   16.05
CBOE Volatility Index (VIX)   SELL   4/18/2016    -1   16.15
CBOE Volatility Index (VIX)   BUY    4/18/2016     1    16.2
CBOE Volatility Index (VIX)   BUY    4/18/2016     1    16.2
CBOE Volatility Index (VIX)   SELL   4/19/2016    -1    16.2
CBOE Volatility Index (VIX)   SELL   4/19/2016    -1   16.25
CBOE Volatility Index (VIX)   SELL   4/19/2016    -1   16.35
CBOE Volatility Index (VIX)   BUY    4/19/2016     1   16.25
CBOE Volatility Index (VIX)   BUY    4/19/2016     1    16.4
CBOE Volatility Index (VIX)   BUY    4/19/2016     2   16.35
CBOE Volatility Index (VIX)   BUY    4/20/2016     2   16.45
CBOE Volatility Index (VIX)   SELL   4/21/2016    -2    16.8
CBOE Volatility Index (VIX)   SELL   4/22/2016    -4   16.15
CBOE Volatility Index (VIX)   SELL   4/26/2016    -2   15.95
CBOE Volatility Index (VIX)   SELL   4/27/2016    -1    15.5
CBOE Volatility Index (VIX)   BUY    4/29/2016     1   16.95
CBOE Volatility Index (VIX)   BUY    4/29/2016     2   16.95
CBOE Volatility Index (VIX)   SELL    5/2/2016    -1   15.75
CBOE Volatility Index (VIX)   BUY     5/3/2016     1   16.65
CBOE Volatility Index (VIX)   BUY     5/4/2016     1    16.9
CBOE Volatility Index (VIX)   BUY     5/5/2016     1   16.75
CBOE Volatility Index (VIX)   SELL    5/6/2016    -1   15.75
CBOE Volatility Index (VIX)   SELL    5/6/2016    -1   15.75
CBOE Volatility Index (VIX)   SELL    5/9/2016    -2   15.45
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CBOE Volatility Index (VIX)   SELL   5/10/2016    -3    14.6
CBOE Volatility Index (VIX)   SELL   5/10/2016    -1    14.6
CBOE Volatility Index (VIX)   SELL   5/10/2016    -1    14.5
CBOE Volatility Index (VIX)   SELL   5/11/2016    -1    15.6
CBOE Volatility Index (VIX)   SELL   5/11/2016    -1   15.65
CBOE Volatility Index (VIX)   BUY    5/13/2016     2   15.85
CBOE Volatility Index (VIX)   BUY    5/16/2016     1   14.95
CBOE Volatility Index (VIX)   BUY    5/16/2016     1     15
CBOE Volatility Index (VIX)   BUY    5/16/2016     1     15
CBOE Volatility Index (VIX)   BUY    5/16/2016     1     15
CBOE Volatility Index (VIX)   BUY    5/16/2016     1     15
CBOE Volatility Index (VIX)   BUY    5/16/2016     1    15.1
CBOE Volatility Index (VIX)   BUY    5/16/2016     1    15.1
CBOE Volatility Index (VIX)   BUY    5/16/2016     1    15.1
CBOE Volatility Index (VIX)   BUY    5/16/2016     1    15.1
CBOE Volatility Index (VIX)   BUY    5/16/2016     1    15.1
CBOE Volatility Index (VIX)   BUY    5/16/2016     1    15.1
CBOE Volatility Index (VIX)   BUY    5/16/2016     1    15.1
CBOE Volatility Index (VIX)   BUY    5/16/2016     1    15.1
CBOE Volatility Index (VIX)   BUY    5/16/2016     2    14.9
CBOE Volatility Index (VIX)   BUY    5/16/2016     2   15.05
CBOE Volatility Index (VIX)   BUY    5/16/2016     2     15
CBOE Volatility Index (VIX)   BUY    5/16/2016     2    15.1
CBOE Volatility Index (VIX)   BUY    5/16/2016     2    15.1
CBOE Volatility Index (VIX)   BUY    5/16/2016     3   14.95
CBOE Volatility Index (VIX)   BUY    5/16/2016     3    15.1
CBOE Volatility Index (VIX)   BUY    5/16/2016     4    15.1
CBOE Volatility Index (VIX)   BUY    5/16/2016     7    14.9
CBOE Volatility Index (VIX)   BUY    5/16/2016   12    14.95
CBOE Volatility Index (VIX)   BUY    5/16/2016   12    14.95
CBOE Volatility Index (VIX)   BUY    5/16/2016   13    14.95
CBOE Volatility Index (VIX)   BUY    5/16/2016   23    14.85
CBOE Volatility Index (VIX)   BUY    5/16/2016   23    14.85
CBOE Volatility Index (VIX)   SELL   5/16/2016   -13   17.15
CBOE Volatility Index (VIX)   SELL   5/16/2016    -9   17.15
CBOE Volatility Index (VIX)   SELL   5/16/2016    -7    17.2
CBOE Volatility Index (VIX)   SELL   5/16/2016    -7   17.25
CBOE Volatility Index (VIX)   SELL   5/16/2016    -6   17.25
CBOE Volatility Index (VIX)   SELL   5/16/2016    -6   17.15
CBOE Volatility Index (VIX)   SELL   5/16/2016    -6    17.2
CBOE Volatility Index (VIX)   SELL   5/16/2016    -6    17.2
CBOE Volatility Index (VIX)   SELL   5/16/2016    -6    17.2
CBOE Volatility Index (VIX)   SELL   5/16/2016    -5    17.3
CBOE Volatility Index (VIX)   SELL   5/16/2016    -4    17.1
CBOE Volatility Index (VIX)   SELL   5/16/2016    -4    17.2
CBOE Volatility Index (VIX)   SELL   5/16/2016    -4    17.2
CBOE Volatility Index (VIX)   SELL   5/16/2016    -4    17.2
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CBOE Volatility Index (VIX)   SELL   5/16/2016   -3     17.1
CBOE Volatility Index (VIX)   SELL   5/16/2016   -3     17.1
CBOE Volatility Index (VIX)   SELL   5/16/2016   -2    17.15
CBOE Volatility Index (VIX)   SELL   5/16/2016   -2     17.1
CBOE Volatility Index (VIX)   SELL   5/16/2016   -2     17.1
CBOE Volatility Index (VIX)   SELL   5/16/2016   -2     17.1
CBOE Volatility Index (VIX)   SELL   5/16/2016   -2     17.1
CBOE Volatility Index (VIX)   SELL   5/16/2016   -2     17.1
CBOE Volatility Index (VIX)   SELL   5/16/2016   -2     17.1
CBOE Volatility Index (VIX)   SELL   5/16/2016   -2     17.1
CBOE Volatility Index (VIX)   SELL   5/16/2016   -2     17.1
CBOE Volatility Index (VIX)   SELL   5/16/2016   -2     17.1
CBOE Volatility Index (VIX)   SELL   5/16/2016   -1    17.25
CBOE Volatility Index (VIX)   SELL   5/16/2016   -1     17.3
CBOE Volatility Index (VIX)   SELL   5/16/2016   -1     17.1
CBOE Volatility Index (VIX)   SELL   5/16/2016   -1     17.1
CBOE Volatility Index (VIX)   SELL   5/16/2016   -1     17.1
CBOE Volatility Index (VIX)   SELL   5/16/2016   -1     17.1
CBOE Volatility Index (VIX)   SELL   5/16/2016   -1     17.1
CBOE Volatility Index (VIX)   SELL   5/16/2016   -1     17.1
CBOE Volatility Index (VIX)   SELL   5/16/2016   -1     17.1
CBOE Volatility Index (VIX)   SELL   5/16/2016   -1     17.2
CBOE Volatility Index (VIX)   BUY    5/16/2016    1     17.4
CBOE Volatility Index (VIX)   BUY    5/16/2016    1    17.45
CBOE Volatility Index (VIX)   BUY    5/16/2016    1    17.45
CBOE Volatility Index (VIX)   BUY    5/17/2016    1    17.95
CBOE Volatility Index (VIX)   BUY    5/17/2016    1    17.95
CBOE Volatility Index (VIX)   BUY    5/17/2016    1      18
CBOE Volatility Index (VIX)   BUY    5/17/2016    3      18
CBOE Volatility Index (VIX)   BUY    5/18/2016    2     18.1
CBOE Volatility Index (VIX)   BUY    5/18/2016    2     18.1
CBOE Volatility Index (VIX)   BUY    5/19/2016    2    18.05
CBOE Volatility Index (VIX)   BUY    5/19/2016    2    18.05
CBOE Volatility Index (VIX)   SELL   5/20/2016   -1    17.35
CBOE Volatility Index (VIX)   SELL   5/20/2016   -1    17.35
CBOE Volatility Index (VIX)   SELL   5/24/2016   -2    16.45
CBOE Volatility Index (VIX)   SELL   5/25/2016   -2     16.2
CBOE Volatility Index (VIX)   SELL   5/25/2016   -1     16.2
CBOE Volatility Index (VIX)   SELL   5/26/2016   -2     15.8
CBOE Volatility Index (VIX)   SELL   5/26/2016   -1     15.8
CBOE Volatility Index (VIX)   SELL   5/26/2016   -1     15.8
CBOE Volatility Index (VIX)   SELL   5/27/2016   -1    15.35
CBOE Volatility Index (VIX)   SELL   5/31/2016   -1    15.25
CBOE Volatility Index (VIX)   SELL   5/31/2016   -1     15.3
CBOE Volatility Index (VIX)   SELL   5/31/2016   -1    15.25
CBOE Volatility Index (VIX)   SELL    6/1/2016   -2    15.25
CBOE Volatility Index (VIX)   SELL    6/2/2016   -2    14.85
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CBOE Volatility Index (VIX)   SELL    6/3/2016   -2     14.7
CBOE Volatility Index (VIX)   SELL    6/6/2016   -1    14.45
CBOE Volatility Index (VIX)   SELL    6/6/2016   -1    14.45
CBOE Volatility Index (VIX)   BUY     6/9/2016    2     15.5
CBOE Volatility Index (VIX)   BUY    6/10/2016    1    17.55
CBOE Volatility Index (VIX)   BUY    6/10/2016    2     17.6
CBOE Volatility Index (VIX)   BUY    6/10/2016    3     17.6
CBOE Volatility Index (VIX)   BUY    6/13/2016    1    20.25
CBOE Volatility Index (VIX)   BUY    6/13/2016    1     20.9
CBOE Volatility Index (VIX)   BUY    6/13/2016    1    20.95
CBOE Volatility Index (VIX)   BUY    6/13/2016    1     21.1
CBOE Volatility Index (VIX)   BUY    6/13/2016    1     21.1
CBOE Volatility Index (VIX)   BUY    6/13/2016    1    20.85
CBOE Volatility Index (VIX)   BUY    6/13/2016    1     20.9
CBOE Volatility Index (VIX)   BUY    6/13/2016    1    20.95
CBOE Volatility Index (VIX)   BUY    6/13/2016    1    20.95
CBOE Volatility Index (VIX)   BUY    6/13/2016    1      21
CBOE Volatility Index (VIX)   BUY    6/13/2016    1      21
CBOE Volatility Index (VIX)   BUY    6/13/2016    1     21.1
CBOE Volatility Index (VIX)   BUY    6/13/2016    1     21.1
CBOE Volatility Index (VIX)   BUY    6/13/2016    1    21.15
CBOE Volatility Index (VIX)   BUY    6/13/2016    2     19.8
CBOE Volatility Index (VIX)   BUY    6/13/2016    2    19.85
CBOE Volatility Index (VIX)   BUY    6/13/2016    2     19.9
CBOE Volatility Index (VIX)   BUY    6/13/2016    2     20.1
CBOE Volatility Index (VIX)   BUY    6/13/2016    2    20.95
CBOE Volatility Index (VIX)   BUY    6/13/2016    2    20.95
CBOE Volatility Index (VIX)   BUY    6/13/2016    2    20.95
CBOE Volatility Index (VIX)   BUY    6/13/2016    2     21.1
CBOE Volatility Index (VIX)   BUY    6/13/2016    2     21.1
CBOE Volatility Index (VIX)   BUY    6/13/2016    2     21.1
CBOE Volatility Index (VIX)   BUY    6/13/2016    4     20.1
CBOE Volatility Index (VIX)   BUY    6/13/2016    4     20.6
CBOE Volatility Index (VIX)   BUY    6/13/2016    4    19.95
CBOE Volatility Index (VIX)   BUY    6/13/2016    4     20.7
CBOE Volatility Index (VIX)   BUY    6/13/2016    5    20.85
CBOE Volatility Index (VIX)   BUY    6/13/2016    6      20
CBOE Volatility Index (VIX)   BUY    6/13/2016    6    20.35
CBOE Volatility Index (VIX)   BUY    6/13/2016    6    20.55
CBOE Volatility Index (VIX)   BUY    6/13/2016    6    20.65
CBOE Volatility Index (VIX)   BUY    6/13/2016    6    20.75
CBOE Volatility Index (VIX)   BUY    6/13/2016    7     20.3
CBOE Volatility Index (VIX)   BUY    6/13/2016    7     20.8
CBOE Volatility Index (VIX)   BUY    6/13/2016    9    20.05
CBOE Volatility Index (VIX)   BUY    6/13/2016   13    19.95
CBOE Volatility Index (VIX)   SELL   6/13/2016   -9     20.6
CBOE Volatility Index (VIX)   SELL   6/13/2016   -6    20.65
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CBOE Volatility Index (VIX)   SELL   6/13/2016   -6    20.75
CBOE Volatility Index (VIX)   SELL   6/13/2016   -6    20.95
CBOE Volatility Index (VIX)   SELL   6/13/2016   -5    20.15
CBOE Volatility Index (VIX)   SELL   6/13/2016   -4     20.7
CBOE Volatility Index (VIX)   SELL   6/13/2016   -4    21.15
CBOE Volatility Index (VIX)   SELL   6/13/2016   -4    19.95
CBOE Volatility Index (VIX)   SELL   6/13/2016   -4      20
CBOE Volatility Index (VIX)   SELL   6/13/2016   -4     20.1
CBOE Volatility Index (VIX)   SELL   6/13/2016   -3      21
CBOE Volatility Index (VIX)   SELL   6/13/2016   -3    19.95
CBOE Volatility Index (VIX)   SELL   6/13/2016   -3    20.15
CBOE Volatility Index (VIX)   SELL   6/13/2016   -3     20.2
CBOE Volatility Index (VIX)   SELL   6/13/2016   -3     20.3
CBOE Volatility Index (VIX)   SELL   6/13/2016   -3    20.75
CBOE Volatility Index (VIX)   SELL   6/13/2016   -3     20.9
CBOE Volatility Index (VIX)   SELL   6/13/2016   -3     21.1
CBOE Volatility Index (VIX)   SELL   6/13/2016   -2    19.95
CBOE Volatility Index (VIX)   SELL   6/13/2016   -2      20
CBOE Volatility Index (VIX)   SELL   6/13/2016   -2    20.15
CBOE Volatility Index (VIX)   SELL   6/13/2016   -2     20.5
CBOE Volatility Index (VIX)   SELL   6/13/2016   -2    20.55
CBOE Volatility Index (VIX)   SELL   6/13/2016   -2     20.8
CBOE Volatility Index (VIX)   SELL   6/13/2016   -2    20.85
CBOE Volatility Index (VIX)   SELL   6/13/2016   -2     21.1
CBOE Volatility Index (VIX)   SELL   6/13/2016   -2     21.2
CBOE Volatility Index (VIX)   SELL   6/13/2016   -2     19.9
CBOE Volatility Index (VIX)   SELL   6/13/2016   -2    19.95
CBOE Volatility Index (VIX)   SELL   6/13/2016   -2     20.1
CBOE Volatility Index (VIX)   SELL   6/13/2016   -2    20.15
CBOE Volatility Index (VIX)   SELL   6/13/2016   -2     20.2
CBOE Volatility Index (VIX)   SELL   6/13/2016   -2    20.75
CBOE Volatility Index (VIX)   SELL   6/13/2016   -1     19.9
CBOE Volatility Index (VIX)   SELL   6/13/2016   -1     20.1
CBOE Volatility Index (VIX)   SELL   6/13/2016   -1     20.2
CBOE Volatility Index (VIX)   SELL   6/13/2016   -1    20.25
CBOE Volatility Index (VIX)   SELL   6/13/2016   -1     20.3
CBOE Volatility Index (VIX)   SELL   6/13/2016   -1    20.35
CBOE Volatility Index (VIX)   SELL   6/13/2016   -1     20.4
CBOE Volatility Index (VIX)   SELL   6/13/2016   -1     20.9
CBOE Volatility Index (VIX)   SELL   6/13/2016   -1    21.05
CBOE Volatility Index (VIX)   SELL   6/13/2016   -1     19.9
CBOE Volatility Index (VIX)   SELL   6/13/2016   -1     20.1
CBOE Volatility Index (VIX)   SELL   6/13/2016   -1    20.15
CBOE Volatility Index (VIX)   SELL   6/13/2016   -1    20.35
CBOE Volatility Index (VIX)   SELL   6/13/2016   -1    20.65
CBOE Volatility Index (VIX)   SELL   6/13/2016   -1     20.8
CBOE Volatility Index (VIX)   BUY    6/13/2016    1     21.3
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CBOE Volatility Index (VIX)   BUY    6/13/2016    1     21.4
CBOE Volatility Index (VIX)   BUY    6/13/2016    2    21.35
CBOE Volatility Index (VIX)   BUY    6/13/2016    2     21.4
CBOE Volatility Index (VIX)   BUY    6/13/2016    3     21.4
CBOE Volatility Index (VIX)   BUY    6/13/2016    4    21.35
CBOE Volatility Index (VIX)   BUY    6/14/2016    2     20.9
CBOE Volatility Index (VIX)   BUY    6/14/2016    2     20.9
CBOE Volatility Index (VIX)   BUY    6/14/2016    4     20.9
CBOE Volatility Index (VIX)   BUY    6/14/2016    4     20.9
CBOE Volatility Index (VIX)   BUY    6/15/2016    1    20.65
CBOE Volatility Index (VIX)   BUY    6/15/2016    1     20.7
CBOE Volatility Index (VIX)   BUY    6/15/2016    1     20.6
CBOE Volatility Index (VIX)   BUY    6/15/2016    2     20.6
CBOE Volatility Index (VIX)   BUY    6/15/2016    2    20.65
CBOE Volatility Index (VIX)   BUY    6/15/2016    3     20.6
CBOE Volatility Index (VIX)   SELL   6/16/2016   -1    20.05
CBOE Volatility Index (VIX)   BUY    6/16/2016    5    20.05
CBOE Volatility Index (VIX)   BUY    6/17/2016    2    20.15
CBOE Volatility Index (VIX)   BUY    6/20/2016    1     18.6
CBOE Volatility Index (VIX)   BUY    6/20/2016    1     18.6
CBOE Volatility Index (VIX)   BUY    6/20/2016    1    18.55
CBOE Volatility Index (VIX)   BUY    6/20/2016    1     18.5
CBOE Volatility Index (VIX)   BUY    6/20/2016    1     18.6
CBOE Volatility Index (VIX)   BUY    6/20/2016    1     18.6
CBOE Volatility Index (VIX)   BUY    6/20/2016    2     18.5
CBOE Volatility Index (VIX)   BUY    6/20/2016    3    18.55
CBOE Volatility Index (VIX)   BUY    6/20/2016    3     18.6
CBOE Volatility Index (VIX)   SELL   6/21/2016   -2     18.7
CBOE Volatility Index (VIX)   SELL   6/21/2016   -2     18.7
CBOE Volatility Index (VIX)   SELL   6/21/2016   -1    18.65
CBOE Volatility Index (VIX)   BUY    6/22/2016    1     19.4
CBOE Volatility Index (VIX)   BUY    6/22/2016    2     19.4
CBOE Volatility Index (VIX)   BUY    6/22/2016    2     19.4
CBOE Volatility Index (VIX)   BUY    6/22/2016    2     19.4
CBOE Volatility Index (VIX)   BUY    6/22/2016    3    19.45
CBOE Volatility Index (VIX)   BUY    6/22/2016    4    19.45
CBOE Volatility Index (VIX)   BUY    6/22/2016    6    19.45
CBOE Volatility Index (VIX)   BUY    6/22/2016    9     19.4
CBOE Volatility Index (VIX)   SELL   6/23/2016   -3     16.7
CBOE Volatility Index (VIX)   SELL   6/23/2016   -1    16.65
CBOE Volatility Index (VIX)   BUY    6/23/2016    1     16.7
CBOE Volatility Index (VIX)   BUY    6/23/2016    1     16.8
CBOE Volatility Index (VIX)   BUY    6/23/2016    1     16.8
CBOE Volatility Index (VIX)   BUY    6/23/2016    2    16.75
CBOE Volatility Index (VIX)   BUY    6/23/2016    2    16.75
CBOE Volatility Index (VIX)   BUY    6/23/2016    3    16.75
CBOE Volatility Index (VIX)   BUY    6/23/2016    3     16.8
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CBOE Volatility Index (VIX)   BUY    6/23/2016     3    16.8
CBOE Volatility Index (VIX)   BUY    6/23/2016     6    16.7
CBOE Volatility Index (VIX)   BUY    6/23/2016     6    16.8
CBOE Volatility Index (VIX)   BUY    6/24/2016     1    22.6
CBOE Volatility Index (VIX)   BUY    6/24/2016     1    22.6
CBOE Volatility Index (VIX)   BUY    6/24/2016     1    22.6
CBOE Volatility Index (VIX)   BUY    6/24/2016     1    22.6
CBOE Volatility Index (VIX)   BUY    6/24/2016     1    22.6
CBOE Volatility Index (VIX)   BUY    6/24/2016     2    22.6
CBOE Volatility Index (VIX)   BUY    6/24/2016     2    22.6
CBOE Volatility Index (VIX)   BUY    6/24/2016     2    22.6
CBOE Volatility Index (VIX)   BUY    6/24/2016     2    22.6
CBOE Volatility Index (VIX)   BUY    6/24/2016     2   22.65
CBOE Volatility Index (VIX)   BUY    6/24/2016     3    22.7
CBOE Volatility Index (VIX)   BUY    6/24/2016     3    22.6
CBOE Volatility Index (VIX)   BUY    6/24/2016     3    22.7
CBOE Volatility Index (VIX)   BUY    6/24/2016     4    22.6
CBOE Volatility Index (VIX)   BUY    6/24/2016     5    22.6
CBOE Volatility Index (VIX)   SELL   6/27/2016    -1    22.8
CBOE Volatility Index (VIX)   SELL   6/27/2016    -1   22.95
CBOE Volatility Index (VIX)   BUY    6/27/2016     2   23.05
CBOE Volatility Index (VIX)   BUY    6/27/2016     2    23.5
CBOE Volatility Index (VIX)   BUY    6/27/2016     4   22.75
CBOE Volatility Index (VIX)   SELL   6/28/2016    -5    18.9
CBOE Volatility Index (VIX)   SELL   6/28/2016    -5   18.85
CBOE Volatility Index (VIX)   SELL   6/28/2016    -4    18.9
CBOE Volatility Index (VIX)   SELL   6/28/2016    -3   18.85
CBOE Volatility Index (VIX)   SELL   6/28/2016    -3    18.9
CBOE Volatility Index (VIX)   SELL   6/28/2016    -2    18.9
CBOE Volatility Index (VIX)   SELL   6/28/2016    -2    18.9
CBOE Volatility Index (VIX)   SELL   6/28/2016    -2    18.9
CBOE Volatility Index (VIX)   SELL   6/28/2016    -2   18.85
CBOE Volatility Index (VIX)   SELL   6/28/2016    -2    18.9
CBOE Volatility Index (VIX)   BUY    6/28/2016     2    18.9
CBOE Volatility Index (VIX)   BUY    6/28/2016     2   18.95
CBOE Volatility Index (VIX)   SELL   6/29/2016   -13   17.45
CBOE Volatility Index (VIX)   SELL   6/29/2016   -13    17.5
CBOE Volatility Index (VIX)   SELL   6/29/2016    -3    17.5
CBOE Volatility Index (VIX)   SELL   6/29/2016    -2   17.45
CBOE Volatility Index (VIX)   SELL   6/30/2016   -23   16.95
CBOE Volatility Index (VIX)   SELL   6/30/2016    -2    16.9
CBOE Volatility Index (VIX)   SELL    7/1/2016    -4    16.7
CBOE Volatility Index (VIX)   SELL    7/1/2016    -4   16.75
CBOE Volatility Index (VIX)   SELL    7/1/2016    -1    16.7
CBOE Volatility Index (VIX)   SELL    7/1/2016    -1   16.75
CBOE Volatility Index (VIX)   SELL    7/1/2016    -1    16.7
CBOE Volatility Index (VIX)   SELL    7/5/2016   -12    16.9
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CBOE Volatility Index (VIX)   SELL    7/5/2016   -7     16.9
CBOE Volatility Index (VIX)   SELL    7/5/2016   -7    16.85
CBOE Volatility Index (VIX)   SELL    7/5/2016   -5    16.85
CBOE Volatility Index (VIX)   SELL    7/6/2016   -4    16.15
CBOE Volatility Index (VIX)   SELL    7/6/2016   -2    16.15
CBOE Volatility Index (VIX)   SELL    7/6/2016   -1     16.1
CBOE Volatility Index (VIX)   SELL    7/7/2016   -2     15.9
CBOE Volatility Index (VIX)   SELL    7/8/2016   -3    14.75
CBOE Volatility Index (VIX)   SELL    7/8/2016   -1     14.8
CBOE Volatility Index (VIX)   SELL    7/8/2016   -1    14.75
CBOE Volatility Index (VIX)   SELL   7/11/2016   -2     14.6
CBOE Volatility Index (VIX)   SELL   7/11/2016   -1     14.6
CBOE Volatility Index (VIX)   SELL   7/12/2016   -2    14.35
CBOE Volatility Index (VIX)   SELL   7/12/2016   -1    14.35
CBOE Volatility Index (VIX)   SELL   7/12/2016   -1    14.35
CBOE Volatility Index (VIX)   SELL   7/13/2016   -1    14.15
CBOE Volatility Index (VIX)   SELL   7/14/2016   -2      14
CBOE Volatility Index (VIX)   SELL   7/14/2016   -2      14
CBOE Volatility Index (VIX)   SELL   7/15/2016   -1     13.8
CBOE Volatility Index (VIX)   BUY    7/18/2016    1    13.05
CBOE Volatility Index (VIX)   BUY    7/18/2016    1     13.1
CBOE Volatility Index (VIX)   BUY    7/18/2016    1    13.05
CBOE Volatility Index (VIX)   BUY    7/18/2016    1     13.1
CBOE Volatility Index (VIX)   BUY    7/18/2016    1     13.1
CBOE Volatility Index (VIX)   BUY    7/18/2016    1     13.1
CBOE Volatility Index (VIX)   BUY    7/18/2016    1     13.1
CBOE Volatility Index (VIX)   BUY    7/18/2016    1     13.1
CBOE Volatility Index (VIX)   BUY    7/18/2016    1    13.15
CBOE Volatility Index (VIX)   BUY    7/18/2016    1    13.15
CBOE Volatility Index (VIX)   BUY    7/18/2016    1    13.15
CBOE Volatility Index (VIX)   BUY    7/18/2016    2    13.05
CBOE Volatility Index (VIX)   BUY    7/18/2016    2    13.05
CBOE Volatility Index (VIX)   BUY    7/18/2016    2     13.1
CBOE Volatility Index (VIX)   BUY    7/18/2016    2     13.1
CBOE Volatility Index (VIX)   BUY    7/18/2016    2     13.1
CBOE Volatility Index (VIX)   BUY    7/18/2016    2     13.1
CBOE Volatility Index (VIX)   BUY    7/18/2016    2    13.15
CBOE Volatility Index (VIX)   BUY    7/18/2016    2    13.15
CBOE Volatility Index (VIX)   BUY    7/18/2016    3    13.05
CBOE Volatility Index (VIX)   BUY    7/18/2016    3     13.1
CBOE Volatility Index (VIX)   BUY    7/18/2016    4     13.1
CBOE Volatility Index (VIX)   BUY    7/18/2016    4     13.1
CBOE Volatility Index (VIX)   BUY    7/18/2016    4     13.1
CBOE Volatility Index (VIX)   BUY    7/18/2016    5    13.05
CBOE Volatility Index (VIX)   BUY    7/18/2016    5     13.1
CBOE Volatility Index (VIX)   BUY    7/18/2016    7     13.1
CBOE Volatility Index (VIX)   BUY    7/18/2016    7     13.1
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CBOE Volatility Index (VIX)   BUY    7/18/2016   12     13.1
CBOE Volatility Index (VIX)   BUY    7/18/2016   13    13.05
CBOE Volatility Index (VIX)   BUY    7/18/2016   13    13.05
CBOE Volatility Index (VIX)   BUY    7/18/2016   23    13.05
CBOE Volatility Index (VIX)   SELL   7/18/2016   -47    15.7
CBOE Volatility Index (VIX)   SELL   7/18/2016   -30   15.75
CBOE Volatility Index (VIX)   SELL   7/18/2016   -23   15.75
CBOE Volatility Index (VIX)   SELL   7/18/2016   -18    15.8
CBOE Volatility Index (VIX)   SELL   7/18/2016    -2   15.65
CBOE Volatility Index (VIX)   SELL   7/18/2016    -2    15.7
CBOE Volatility Index (VIX)   SELL   7/18/2016    -1   15.65
CBOE Volatility Index (VIX)   SELL   7/18/2016    -1   15.65
CBOE Volatility Index (VIX)   SELL   7/18/2016    -1   15.65
CBOE Volatility Index (VIX)   SELL   7/18/2016    -1    15.7
CBOE Volatility Index (VIX)   SELL   7/18/2016    -1    15.7
CBOE Volatility Index (VIX)   SELL   7/18/2016    -1    15.7
CBOE Volatility Index (VIX)   SELL   7/18/2016    -1    15.7
CBOE Volatility Index (VIX)   SELL   7/18/2016    -1    15.7
CBOE Volatility Index (VIX)   BUY    7/18/2016     1    15.9
CBOE Volatility Index (VIX)   BUY    7/18/2016     2    15.9
CBOE Volatility Index (VIX)   BUY    7/19/2016     1   15.65
CBOE Volatility Index (VIX)   BUY    7/19/2016     1    15.7
CBOE Volatility Index (VIX)   BUY    7/20/2016     1   15.45
CBOE Volatility Index (VIX)   BUY    7/20/2016     1    15.5
CBOE Volatility Index (VIX)   BUY    7/20/2016     1   15.45
CBOE Volatility Index (VIX)   BUY    7/20/2016     1    15.5
CBOE Volatility Index (VIX)   BUY    7/21/2016     1    15.8
CBOE Volatility Index (VIX)   BUY    7/22/2016     2   15.35
CBOE Volatility Index (VIX)   SELL   7/25/2016    -1    15.3
CBOE Volatility Index (VIX)   SELL   7/27/2016    -1    14.8
CBOE Volatility Index (VIX)   SELL   7/27/2016    -1   14.85
CBOE Volatility Index (VIX)   SELL   7/28/2016    -1   14.35
CBOE Volatility Index (VIX)   SELL   7/28/2016    -1    14.4
CBOE Volatility Index (VIX)   SELL   7/29/2016    -1   13.75
CBOE Volatility Index (VIX)   SELL   7/29/2016    -1    13.8
CBOE Volatility Index (VIX)   SELL   7/29/2016    -1    13.8
CBOE Volatility Index (VIX)   SELL    8/1/2016    -2   13.65
CBOE Volatility Index (VIX)   SELL    8/1/2016    -1   13.65
CBOE Volatility Index (VIX)   SELL    8/2/2016    -2   14.25
CBOE Volatility Index (VIX)   SELL    8/2/2016    -1   14.25
CBOE Volatility Index (VIX)   SELL    8/4/2016    -1   13.45
CBOE Volatility Index (VIX)   SELL    8/5/2016    -1   12.85
CBOE Volatility Index (VIX)   SELL    8/5/2016    -1    12.9
CBOE Volatility Index (VIX)   SELL    8/5/2016    -1   12.85
CBOE Volatility Index (VIX)   SELL    8/5/2016    -1    12.9
CBOE Volatility Index (VIX)   SELL    8/8/2016    -2    12.5
CBOE Volatility Index (VIX)   SELL    8/9/2016    -3   12.35
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CBOE Volatility Index (VIX)   SELL    8/9/2016    -2   12.35
CBOE Volatility Index (VIX)   SELL   8/10/2016    -1   12.85
CBOE Volatility Index (VIX)   SELL   8/12/2016    -1    12.3
CBOE Volatility Index (VIX)   BUY    8/15/2016     1   12.25
CBOE Volatility Index (VIX)   BUY    8/15/2016     1    12.2
CBOE Volatility Index (VIX)   BUY    8/15/2016     1    12.2
CBOE Volatility Index (VIX)   BUY    8/15/2016     1    12.2
CBOE Volatility Index (VIX)   BUY    8/15/2016     1    12.2
CBOE Volatility Index (VIX)   BUY    8/15/2016     1    12.2
CBOE Volatility Index (VIX)   BUY    8/15/2016     1    12.2
CBOE Volatility Index (VIX)   BUY    8/15/2016     1    12.2
CBOE Volatility Index (VIX)   BUY    8/15/2016     1    12.2
CBOE Volatility Index (VIX)   BUY    8/15/2016     1    12.2
CBOE Volatility Index (VIX)   BUY    8/15/2016     1    12.2
CBOE Volatility Index (VIX)   BUY    8/15/2016     1    12.2
CBOE Volatility Index (VIX)   BUY    8/15/2016     1    12.2
CBOE Volatility Index (VIX)   BUY    8/15/2016     1   12.25
CBOE Volatility Index (VIX)   BUY    8/15/2016     1   12.25
CBOE Volatility Index (VIX)   BUY    8/15/2016     1   12.25
CBOE Volatility Index (VIX)   BUY    8/15/2016     1   12.25
CBOE Volatility Index (VIX)   BUY    8/15/2016     2    12.2
CBOE Volatility Index (VIX)   BUY    8/15/2016     2    12.2
CBOE Volatility Index (VIX)   BUY    8/15/2016     2   12.25
CBOE Volatility Index (VIX)   BUY    8/15/2016     2   12.25
CBOE Volatility Index (VIX)   BUY    8/15/2016     3   12.25
CBOE Volatility Index (VIX)   BUY    8/15/2016   18     12.2
CBOE Volatility Index (VIX)   BUY    8/15/2016   23     12.2
CBOE Volatility Index (VIX)   BUY    8/15/2016   30    12.15
CBOE Volatility Index (VIX)   BUY    8/15/2016   47    12.15
CBOE Volatility Index (VIX)   SELL   8/15/2016   -33   14.75
CBOE Volatility Index (VIX)   SELL   8/15/2016   -24    14.8
CBOE Volatility Index (VIX)   SELL   8/15/2016   -11   14.75
CBOE Volatility Index (VIX)   SELL   8/15/2016   -11   14.75
CBOE Volatility Index (VIX)   SELL   8/15/2016    -6    14.8
CBOE Volatility Index (VIX)   SELL   8/15/2016    -5   14.85
CBOE Volatility Index (VIX)   SELL   8/15/2016    -4    14.8
CBOE Volatility Index (VIX)   SELL   8/15/2016    -4   14.85
CBOE Volatility Index (VIX)   SELL   8/15/2016    -4   14.75
CBOE Volatility Index (VIX)   SELL   8/15/2016    -4   14.75
CBOE Volatility Index (VIX)   SELL   8/15/2016    -4    14.8
CBOE Volatility Index (VIX)   SELL   8/15/2016    -3   14.75
CBOE Volatility Index (VIX)   SELL   8/15/2016    -3   14.75
CBOE Volatility Index (VIX)   SELL   8/15/2016    -2   14.75
CBOE Volatility Index (VIX)   SELL   8/15/2016    -2   14.75
CBOE Volatility Index (VIX)   SELL   8/15/2016    -2   14.75
CBOE Volatility Index (VIX)   SELL   8/15/2016    -2   14.75
CBOE Volatility Index (VIX)   SELL   8/15/2016    -2   14.75
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CBOE Volatility Index (VIX)   SELL   8/15/2016   -2    14.75
CBOE Volatility Index (VIX)   SELL   8/15/2016   -2     14.8
CBOE Volatility Index (VIX)   SELL   8/15/2016   -2     14.8
CBOE Volatility Index (VIX)   SELL   8/15/2016   -2     14.8
CBOE Volatility Index (VIX)   SELL   8/15/2016   -1    14.75
CBOE Volatility Index (VIX)   SELL   8/15/2016   -1    14.75
CBOE Volatility Index (VIX)   SELL   8/15/2016   -1    14.75
CBOE Volatility Index (VIX)   SELL   8/15/2016   -1    14.75
CBOE Volatility Index (VIX)   SELL   8/15/2016   -1    14.75
CBOE Volatility Index (VIX)   SELL   8/15/2016   -1    14.75
CBOE Volatility Index (VIX)   SELL   8/15/2016   -1    14.75
CBOE Volatility Index (VIX)   SELL   8/15/2016   -1    14.75
CBOE Volatility Index (VIX)   SELL   8/15/2016   -1    14.75
CBOE Volatility Index (VIX)   SELL   8/15/2016   -1    14.75
CBOE Volatility Index (VIX)   SELL   8/15/2016   -1     14.8
CBOE Volatility Index (VIX)   SELL   8/15/2016   -1     14.8
CBOE Volatility Index (VIX)   BUY    8/15/2016    1     14.8
CBOE Volatility Index (VIX)   BUY    8/15/2016    1    14.85
CBOE Volatility Index (VIX)   BUY    8/15/2016    1     14.8
CBOE Volatility Index (VIX)   BUY    8/15/2016    2    14.85
CBOE Volatility Index (VIX)   BUY    8/16/2016    1     15.3
CBOE Volatility Index (VIX)   BUY    8/16/2016    3    15.35
CBOE Volatility Index (VIX)   BUY    8/16/2016    4    15.35
CBOE Volatility Index (VIX)   BUY    8/17/2016    2    14.85
CBOE Volatility Index (VIX)   BUY    8/17/2016    4    14.85
CBOE Volatility Index (VIX)   BUY    8/18/2016    2     14.6
CBOE Volatility Index (VIX)   SELL   8/19/2016   -1    14.65
CBOE Volatility Index (VIX)   SELL   8/19/2016   -1    14.65
CBOE Volatility Index (VIX)   BUY    8/19/2016    2     14.7
CBOE Volatility Index (VIX)   SELL   8/23/2016   -1    14.65
CBOE Volatility Index (VIX)   BUY    8/24/2016    1     15.1
CBOE Volatility Index (VIX)   BUY    8/24/2016    1    15.15
CBOE Volatility Index (VIX)   BUY    8/24/2016    1    15.15
CBOE Volatility Index (VIX)   SELL   8/31/2016   -1     14.6
CBOE Volatility Index (VIX)   SELL   8/31/2016   -1    14.65
CBOE Volatility Index (VIX)   SELL    9/1/2016   -1    14.55
CBOE Volatility Index (VIX)   SELL    9/2/2016   -1    13.95
CBOE Volatility Index (VIX)   SELL    9/6/2016   -1    13.35
CBOE Volatility Index (VIX)   SELL    9/6/2016   -1     13.4
CBOE Volatility Index (VIX)   SELL    9/6/2016   -1     13.4
CBOE Volatility Index (VIX)   SELL    9/7/2016   -2     13.2
CBOE Volatility Index (VIX)   SELL    9/7/2016   -1     13.2
CBOE Volatility Index (VIX)   SELL    9/7/2016   -1     13.2
CBOE Volatility Index (VIX)   SELL    9/8/2016   -2    13.35
CBOE Volatility Index (VIX)   SELL    9/8/2016   -1    13.35
CBOE Volatility Index (VIX)   BUY     9/9/2016    2     16.6
CBOE Volatility Index (VIX)   BUY     9/9/2016   11    16.55
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CBOE Volatility Index (VIX)   BUY     9/9/2016   33     16.6
CBOE Volatility Index (VIX)   BUY    9/12/2016     1    15.4
CBOE Volatility Index (VIX)   BUY    9/12/2016     1    15.3
CBOE Volatility Index (VIX)   BUY    9/12/2016     1    15.4
CBOE Volatility Index (VIX)   BUY    9/12/2016     2    15.3
CBOE Volatility Index (VIX)   BUY    9/13/2016     2   17.85
CBOE Volatility Index (VIX)   BUY    9/13/2016     3   17.85
CBOE Volatility Index (VIX)   BUY    9/13/2016     4    17.9
CBOE Volatility Index (VIX)   BUY    9/13/2016   11     17.8
CBOE Volatility Index (VIX)   BUY    9/13/2016   24    17.85
CBOE Volatility Index (VIX)   SELL   9/14/2016   -14   18.35
CBOE Volatility Index (VIX)   SELL   9/14/2016   -12    18.5
CBOE Volatility Index (VIX)   SELL   9/14/2016    -7    18.5
CBOE Volatility Index (VIX)   SELL   9/14/2016    -3    18.5
CBOE Volatility Index (VIX)   BUY    9/14/2016     2    18.4
CBOE Volatility Index (VIX)   BUY    9/14/2016     6    18.5
CBOE Volatility Index (VIX)   BUY    9/15/2016     1     17
CBOE Volatility Index (VIX)   BUY    9/15/2016     1   17.05
CBOE Volatility Index (VIX)   BUY    9/15/2016     2     17
CBOE Volatility Index (VIX)   SELL   9/16/2016   -11     16
CBOE Volatility Index (VIX)   SELL   9/16/2016    -8     16
CBOE Volatility Index (VIX)   SELL   9/16/2016    -7   16.05
CBOE Volatility Index (VIX)   SELL   9/16/2016    -6   16.15
CBOE Volatility Index (VIX)   SELL   9/16/2016    -4   16.15
CBOE Volatility Index (VIX)   SELL   9/16/2016    -3   16.15
CBOE Volatility Index (VIX)   BUY    9/19/2016     1    15.5
CBOE Volatility Index (VIX)   BUY    9/19/2016     1    15.6
CBOE Volatility Index (VIX)   BUY    9/19/2016     1   15.55
CBOE Volatility Index (VIX)   BUY    9/19/2016     1   15.55
CBOE Volatility Index (VIX)   BUY    9/19/2016     1   15.55
CBOE Volatility Index (VIX)   BUY    9/19/2016     1   15.55
CBOE Volatility Index (VIX)   BUY    9/19/2016     1   15.55
CBOE Volatility Index (VIX)   BUY    9/19/2016     1   15.55
CBOE Volatility Index (VIX)   BUY    9/19/2016     1   15.55
CBOE Volatility Index (VIX)   BUY    9/19/2016     1    15.6
CBOE Volatility Index (VIX)   BUY    9/19/2016     1    15.6
CBOE Volatility Index (VIX)   BUY    9/19/2016     1   15.65
CBOE Volatility Index (VIX)   BUY    9/19/2016     1   15.65
CBOE Volatility Index (VIX)   BUY    9/19/2016     2    15.6
CBOE Volatility Index (VIX)   BUY    9/19/2016     2   15.65
CBOE Volatility Index (VIX)   BUY    9/19/2016     3   15.95
CBOE Volatility Index (VIX)   BUY    9/19/2016     3    15.8
CBOE Volatility Index (VIX)   BUY    9/19/2016     4   15.45
CBOE Volatility Index (VIX)   BUY    9/19/2016     4    15.5
CBOE Volatility Index (VIX)   BUY    9/19/2016     4     16
CBOE Volatility Index (VIX)   BUY    9/19/2016     5   15.45
CBOE Volatility Index (VIX)   BUY    9/19/2016     6    15.9
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CBOE Volatility Index (VIX)   BUY    9/19/2016     7   15.75
CBOE Volatility Index (VIX)   BUY    9/19/2016     7    15.9
CBOE Volatility Index (VIX)   BUY    9/19/2016     8    15.8
CBOE Volatility Index (VIX)   BUY    9/19/2016   11    15.85
CBOE Volatility Index (VIX)   BUY    9/19/2016   12     15.7
CBOE Volatility Index (VIX)   BUY    9/19/2016   14    15.65
CBOE Volatility Index (VIX)   SELL   9/19/2016   -20    17.2
CBOE Volatility Index (VIX)   SELL   9/19/2016   -15   17.25
CBOE Volatility Index (VIX)   SELL   9/19/2016    -9    17.3
CBOE Volatility Index (VIX)   SELL   9/19/2016    -8    17.4
CBOE Volatility Index (VIX)   SELL   9/19/2016    -6   17.35
CBOE Volatility Index (VIX)   SELL   9/19/2016    -6   17.35
CBOE Volatility Index (VIX)   SELL   9/19/2016    -5   17.45
CBOE Volatility Index (VIX)   SELL   9/19/2016    -4    17.5
CBOE Volatility Index (VIX)   SELL   9/19/2016    -4   17.15
CBOE Volatility Index (VIX)   SELL   9/19/2016    -3    17.1
CBOE Volatility Index (VIX)   SELL   9/19/2016    -3    17.1
CBOE Volatility Index (VIX)   SELL   9/19/2016    -3    17.3
CBOE Volatility Index (VIX)   SELL   9/19/2016    -2    17.2
CBOE Volatility Index (VIX)   SELL   9/19/2016    -2   17.05
CBOE Volatility Index (VIX)   SELL   9/19/2016    -2   17.05
CBOE Volatility Index (VIX)   SELL   9/19/2016    -2   17.15
CBOE Volatility Index (VIX)   SELL   9/19/2016    -1   17.05
CBOE Volatility Index (VIX)   SELL   9/19/2016    -1    17.1
CBOE Volatility Index (VIX)   SELL   9/19/2016    -1   17.15
CBOE Volatility Index (VIX)   SELL   9/19/2016    -1   17.05
CBOE Volatility Index (VIX)   SELL   9/19/2016    -1    17.1
CBOE Volatility Index (VIX)   SELL   9/19/2016    -1    17.1
CBOE Volatility Index (VIX)   SELL   9/19/2016    -1    17.1
CBOE Volatility Index (VIX)   SELL   9/19/2016    -1    17.1
CBOE Volatility Index (VIX)   SELL   9/19/2016    -1    17.1
CBOE Volatility Index (VIX)   SELL   9/19/2016    -1    17.1
CBOE Volatility Index (VIX)   SELL   9/19/2016    -1    17.4
CBOE Volatility Index (VIX)   SELL   9/19/2016    -1   17.15
CBOE Volatility Index (VIX)   BUY    9/19/2016     2   17.15
CBOE Volatility Index (VIX)   SELL   9/20/2016    -2    17.3
CBOE Volatility Index (VIX)   SELL   9/21/2016    -3     16
CBOE Volatility Index (VIX)   SELL   9/21/2016    -1   16.05
CBOE Volatility Index (VIX)   BUY    9/21/2016     1   15.95
CBOE Volatility Index (VIX)   SELL   9/22/2016    -1   15.35
CBOE Volatility Index (VIX)   SELL   9/22/2016    -1    15.3
CBOE Volatility Index (VIX)   SELL   9/22/2016    -1    15.4
CBOE Volatility Index (VIX)   SELL   9/23/2016    -2   15.55
CBOE Volatility Index (VIX)   SELL   9/23/2016    -1    15.5
CBOE Volatility Index (VIX)   SELL   9/23/2016    -1   15.55
CBOE Volatility Index (VIX)   SELL   9/26/2016    -1    16.3
CBOE Volatility Index (VIX)   BUY    9/26/2016     2   16.35
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CBOE Volatility Index (VIX)   SELL   9/27/2016    -1   15.45
CBOE Volatility Index (VIX)   SELL   9/28/2016    -1    15.3
CBOE Volatility Index (VIX)   SELL   9/28/2016    -1   15.25
CBOE Volatility Index (VIX)   SELL   9/28/2016    -1    15.3
CBOE Volatility Index (VIX)   BUY    9/29/2016     1     16
CBOE Volatility Index (VIX)   SELL   10/3/2016    -1   15.45
CBOE Volatility Index (VIX)   BUY    10/3/2016     1    15.5
CBOE Volatility Index (VIX)   SELL   10/4/2016    -1   15.35
CBOE Volatility Index (VIX)   SELL   10/6/2016    -1   14.95
CBOE Volatility Index (VIX)   SELL   10/6/2016    -1     15
CBOE Volatility Index (VIX)   SELL   10/7/2016    -1    15.3
CBOE Volatility Index (VIX)   SELL   10/10/2016   -1   14.65
CBOE Volatility Index (VIX)   BUY    10/11/2016    1    15.8
CBOE Volatility Index (VIX)   BUY    10/11/2016    1    15.8
CBOE Volatility Index (VIX)   BUY    10/11/2016    1   15.85
CBOE Volatility Index (VIX)   BUY    10/12/2016    1   16.25
CBOE Volatility Index (VIX)   BUY    10/13/2016    1    17.1
CBOE Volatility Index (VIX)   BUY    10/13/2016    1    17.1
CBOE Volatility Index (VIX)   BUY    10/13/2016    3   17.05
CBOE Volatility Index (VIX)   BUY    10/13/2016    3   17.05
CBOE Volatility Index (VIX)   BUY    10/14/2016    2    16.7
CBOE Volatility Index (VIX)   BUY    10/14/2016    4   16.65
CBOE Volatility Index (VIX)   BUY    10/17/2016    1    16.7
CBOE Volatility Index (VIX)   BUY    10/17/2016    1   16.75
CBOE Volatility Index (VIX)   BUY    10/17/2016    1   16.85
CBOE Volatility Index (VIX)   BUY    10/17/2016    1    16.9
CBOE Volatility Index (VIX)   BUY    10/17/2016    1   16.55
CBOE Volatility Index (VIX)   BUY    10/17/2016    1   16.55
CBOE Volatility Index (VIX)   BUY    10/17/2016    1   16.75
CBOE Volatility Index (VIX)   BUY    10/17/2016    1   16.75
CBOE Volatility Index (VIX)   BUY    10/17/2016    1   16.75
CBOE Volatility Index (VIX)   BUY    10/17/2016    1   16.75
CBOE Volatility Index (VIX)   BUY    10/17/2016    1   16.75
CBOE Volatility Index (VIX)   BUY    10/17/2016    1    16.8
CBOE Volatility Index (VIX)   BUY    10/17/2016    1    16.8
CBOE Volatility Index (VIX)   BUY    10/17/2016    1    16.8
CBOE Volatility Index (VIX)   BUY    10/17/2016    1    16.8
CBOE Volatility Index (VIX)   BUY    10/17/2016    1    16.8
CBOE Volatility Index (VIX)   BUY    10/17/2016    1    16.8
CBOE Volatility Index (VIX)   BUY    10/17/2016    1    16.8
CBOE Volatility Index (VIX)   BUY    10/17/2016    1   16.85
CBOE Volatility Index (VIX)   BUY    10/17/2016    1    16.9
CBOE Volatility Index (VIX)   BUY    10/17/2016    2    16.6
CBOE Volatility Index (VIX)   BUY    10/17/2016    2   16.75
CBOE Volatility Index (VIX)   BUY    10/17/2016    2    16.8
CBOE Volatility Index (VIX)   BUY    10/17/2016    3    16.6
CBOE Volatility Index (VIX)   BUY    10/17/2016    3   16.75
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CBOE Volatility Index (VIX)   BUY    10/17/2016     4   16.75
CBOE Volatility Index (VIX)   BUY    10/17/2016     5   16.75
CBOE Volatility Index (VIX)   BUY    10/17/2016     6   16.65
CBOE Volatility Index (VIX)   BUY    10/17/2016     6    16.7
CBOE Volatility Index (VIX)   BUY    10/17/2016     8   16.75
CBOE Volatility Index (VIX)   BUY    10/17/2016     9   16.65
CBOE Volatility Index (VIX)   BUY    10/17/2016   15     16.6
CBOE Volatility Index (VIX)   BUY    10/17/2016   20    16.55
CBOE Volatility Index (VIX)   SELL   10/17/2016   -25   17.25
CBOE Volatility Index (VIX)   SELL   10/17/2016   -20    17.3
CBOE Volatility Index (VIX)   SELL   10/17/2016   -10   17.35
CBOE Volatility Index (VIX)   SELL   10/17/2016    -9    17.2
CBOE Volatility Index (VIX)   SELL   10/17/2016    -5    17.2
CBOE Volatility Index (VIX)   SELL   10/17/2016    -5    17.2
CBOE Volatility Index (VIX)   SELL   10/17/2016    -4   17.15
CBOE Volatility Index (VIX)   SELL   10/17/2016    -4    17.2
CBOE Volatility Index (VIX)   SELL   10/17/2016    -3    17.2
CBOE Volatility Index (VIX)   SELL   10/17/2016    -2   17.15
CBOE Volatility Index (VIX)   SELL   10/17/2016    -2    17.4
CBOE Volatility Index (VIX)   SELL   10/17/2016    -2    17.2
CBOE Volatility Index (VIX)   SELL   10/17/2016    -2    17.2
CBOE Volatility Index (VIX)   SELL   10/17/2016    -2    17.3
CBOE Volatility Index (VIX)   SELL   10/17/2016    -1   17.15
CBOE Volatility Index (VIX)   SELL   10/17/2016    -1   17.15
CBOE Volatility Index (VIX)   SELL   10/17/2016    -1   17.15
CBOE Volatility Index (VIX)   SELL   10/17/2016    -1    17.2
CBOE Volatility Index (VIX)   SELL   10/17/2016    -1   17.15
CBOE Volatility Index (VIX)   SELL   10/17/2016    -1    17.2
CBOE Volatility Index (VIX)   SELL   10/17/2016    -1    17.2
CBOE Volatility Index (VIX)   SELL   10/17/2016    -1    17.2
CBOE Volatility Index (VIX)   SELL   10/17/2016    -1    17.2
CBOE Volatility Index (VIX)   SELL   10/17/2016    -1    17.3
CBOE Volatility Index (VIX)   BUY    10/17/2016     1   17.15
CBOE Volatility Index (VIX)   BUY    10/17/2016     1    17.1
CBOE Volatility Index (VIX)   BUY    10/17/2016     1   17.15
CBOE Volatility Index (VIX)   BUY    10/17/2016     4    17.1
CBOE Volatility Index (VIX)   SELL   10/18/2016    -1    16.6
CBOE Volatility Index (VIX)   SELL   10/19/2016    -1    16.1
CBOE Volatility Index (VIX)   BUY    10/19/2016     1    16.1
CBOE Volatility Index (VIX)   BUY    10/19/2016     1    16.2
CBOE Volatility Index (VIX)   BUY    10/19/2016     2   16.15
CBOE Volatility Index (VIX)   SELL   10/20/2016    -3   15.75
CBOE Volatility Index (VIX)   SELL   10/20/2016    -2   15.75
CBOE Volatility Index (VIX)   SELL   10/20/2016    -2   15.75
CBOE Volatility Index (VIX)   SELL   10/21/2016    -4    15.5
CBOE Volatility Index (VIX)   SELL   10/24/2016    -5   14.95
CBOE Volatility Index (VIX)   SELL   10/24/2016    -1    14.9
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CBOE Volatility Index (VIX)   SELL   10/24/2016    -1   14.95
CBOE Volatility Index (VIX)   SELL   10/25/2016    -1    15.2
CBOE Volatility Index (VIX)   BUY    10/26/2016     2    15.6
CBOE Volatility Index (VIX)   BUY    10/26/2016     2   15.65
CBOE Volatility Index (VIX)   BUY    10/28/2016     1   16.65
CBOE Volatility Index (VIX)   BUY    10/28/2016     1    16.6
CBOE Volatility Index (VIX)   BUY    10/28/2016     1   16.65
CBOE Volatility Index (VIX)   BUY    10/31/2016     3    17.2
CBOE Volatility Index (VIX)   BUY    10/31/2016     4    17.2
CBOE Volatility Index (VIX)   BUY    10/31/2016     5   17.25
CBOE Volatility Index (VIX)   BUY    10/31/2016     5   17.25
CBOE Volatility Index (VIX)   BUY    11/1/2016      1    17.8
CBOE Volatility Index (VIX)   BUY    11/1/2016      1   17.85
CBOE Volatility Index (VIX)   BUY    11/1/2016      9   17.85
CBOE Volatility Index (VIX)   BUY    11/1/2016    25    17.85
CBOE Volatility Index (VIX)   BUY    11/2/2016      1   18.55
CBOE Volatility Index (VIX)   BUY    11/2/2016      1    18.5
CBOE Volatility Index (VIX)   BUY    11/2/2016      2    18.5
CBOE Volatility Index (VIX)   BUY    11/2/2016      2   18.55
CBOE Volatility Index (VIX)   BUY    11/2/2016      2   18.55
CBOE Volatility Index (VIX)   BUY    11/2/2016      3   18.55
CBOE Volatility Index (VIX)   BUY    11/2/2016    10    18.55
CBOE Volatility Index (VIX)   BUY    11/2/2016    20    18.55
CBOE Volatility Index (VIX)   BUY    11/3/2016      1   19.85
CBOE Volatility Index (VIX)   BUY    11/3/2016      1   19.85
CBOE Volatility Index (VIX)   BUY    11/3/2016      1    19.8
CBOE Volatility Index (VIX)   BUY    11/3/2016      1   19.85
CBOE Volatility Index (VIX)   BUY    11/3/2016      2   19.85
CBOE Volatility Index (VIX)   BUY    11/3/2016      4   19.85
CBOE Volatility Index (VIX)   BUY    11/3/2016      5   19.85
CBOE Volatility Index (VIX)   BUY    11/3/2016    28    19.85
CBOE Volatility Index (VIX)   SELL   11/4/2016     -1   19.25
CBOE Volatility Index (VIX)   BUY    11/4/2016      1   19.25
CBOE Volatility Index (VIX)   BUY    11/4/2016      5    19.3
CBOE Volatility Index (VIX)   BUY    11/4/2016      6    19.3
CBOE Volatility Index (VIX)   BUY    11/7/2016      1    16.1
CBOE Volatility Index (VIX)   BUY    11/7/2016      1   16.05
CBOE Volatility Index (VIX)   BUY    11/7/2016      1    16.1
CBOE Volatility Index (VIX)   BUY    11/7/2016      2   16.05
CBOE Volatility Index (VIX)   BUY    11/8/2016      1     16
CBOE Volatility Index (VIX)   BUY    11/8/2016      2    15.9
CBOE Volatility Index (VIX)   BUY    11/8/2016      2    15.9
CBOE Volatility Index (VIX)   BUY    11/8/2016      2   15.95
CBOE Volatility Index (VIX)   SELL   11/9/2016    -28   14.85
CBOE Volatility Index (VIX)   SELL   11/9/2016     -6   14.85
CBOE Volatility Index (VIX)   SELL   11/9/2016     -5   14.85
CBOE Volatility Index (VIX)   SELL   11/9/2016     -2   14.85
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CBOE Volatility Index (VIX)   SELL   11/9/2016     -2   14.85
CBOE Volatility Index (VIX)   SELL   11/9/2016     -1   14.85
CBOE Volatility Index (VIX)   SELL   11/9/2016     -1   14.85
CBOE Volatility Index (VIX)   SELL   11/9/2016     -1   14.85
CBOE Volatility Index (VIX)   SELL   11/9/2016     -1   14.85
CBOE Volatility Index (VIX)   SELL   11/10/2016   -16    15.3
CBOE Volatility Index (VIX)   SELL   11/10/2016    -9   15.35
CBOE Volatility Index (VIX)   SELL   11/10/2016    -9    15.3
CBOE Volatility Index (VIX)   SELL   11/10/2016    -4    15.3
CBOE Volatility Index (VIX)   SELL   11/10/2016    -3    15.3
CBOE Volatility Index (VIX)   SELL   11/10/2016    -2    15.3
CBOE Volatility Index (VIX)   SELL   11/10/2016    -2    15.3
CBOE Volatility Index (VIX)   SELL   11/10/2016    -2   15.35
CBOE Volatility Index (VIX)   SELL   11/10/2016    -1    15.3
CBOE Volatility Index (VIX)   SELL   11/10/2016    -1    15.3
CBOE Volatility Index (VIX)   SELL   11/11/2016   -14   14.85
CBOE Volatility Index (VIX)   SELL   11/11/2016    -9    14.8
CBOE Volatility Index (VIX)   SELL   11/11/2016    -8    14.9
CBOE Volatility Index (VIX)   SELL   11/11/2016    -8    14.8
CBOE Volatility Index (VIX)   SELL   11/11/2016    -3    14.9
CBOE Volatility Index (VIX)   SELL   11/11/2016    -3    14.8
CBOE Volatility Index (VIX)   SELL   11/11/2016    -2   14.85
CBOE Volatility Index (VIX)   SELL   11/11/2016    -2    14.9
CBOE Volatility Index (VIX)   SELL   11/11/2016    -1   14.75
CBOE Volatility Index (VIX)   SELL   11/11/2016    -1    14.8
CBOE Volatility Index (VIX)   SELL   11/11/2016    -1    14.8
CBOE Volatility Index (VIX)   BUY    11/14/2016     1   14.75
CBOE Volatility Index (VIX)   BUY    11/14/2016     1   14.85
CBOE Volatility Index (VIX)   BUY    11/14/2016     1   14.75
CBOE Volatility Index (VIX)   BUY    11/14/2016     1   14.75
CBOE Volatility Index (VIX)   BUY    11/14/2016     2    14.9
CBOE Volatility Index (VIX)   BUY    11/14/2016     2   14.95
CBOE Volatility Index (VIX)   BUY    11/14/2016     2   14.75
CBOE Volatility Index (VIX)   BUY    11/14/2016     3    14.6
CBOE Volatility Index (VIX)   BUY    11/14/2016     3    14.9
CBOE Volatility Index (VIX)   BUY    11/14/2016     3     15
CBOE Volatility Index (VIX)   BUY    11/14/2016     4    14.7
CBOE Volatility Index (VIX)   BUY    11/14/2016     8    14.8
CBOE Volatility Index (VIX)   BUY    11/14/2016     8     15
CBOE Volatility Index (VIX)   BUY    11/14/2016     9    14.7
CBOE Volatility Index (VIX)   BUY    11/14/2016     9   14.75
CBOE Volatility Index (VIX)   BUY    11/14/2016     9    14.9
CBOE Volatility Index (VIX)   BUY    11/14/2016   14    14.95
CBOE Volatility Index (VIX)   BUY    11/14/2016   16    14.65
CBOE Volatility Index (VIX)   SELL   11/14/2016   -18   16.05
CBOE Volatility Index (VIX)   SELL   11/14/2016   -16    16.1
CBOE Volatility Index (VIX)   SELL   11/14/2016   -13   16.25
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CBOE Volatility Index (VIX)   SELL   11/14/2016   -12    16.3
CBOE Volatility Index (VIX)   SELL   11/14/2016   -10   16.15
CBOE Volatility Index (VIX)   SELL   11/14/2016    -9    16.2
CBOE Volatility Index (VIX)   SELL   11/14/2016    -6   16.15
CBOE Volatility Index (VIX)   SELL   11/14/2016    -6   16.35
CBOE Volatility Index (VIX)   SELL   11/14/2016    -3   16.35
CBOE Volatility Index (VIX)   SELL   11/14/2016    -2     16
CBOE Volatility Index (VIX)   SELL   11/14/2016    -2   16.05
CBOE Volatility Index (VIX)   SELL   11/14/2016    -1   15.95
CBOE Volatility Index (VIX)   SELL   11/14/2016    -1     16
CBOE Volatility Index (VIX)   SELL   11/14/2016    -1     16
CBOE Volatility Index (VIX)   SELL   11/14/2016    -1     16
CBOE Volatility Index (VIX)   SELL   11/14/2016    -1     16
CBOE Volatility Index (VIX)   SELL   11/14/2016    -1    16.4
CBOE Volatility Index (VIX)   BUY    11/14/2016     2     16
CBOE Volatility Index (VIX)   SELL   11/15/2016    -4   15.35
CBOE Volatility Index (VIX)   SELL   11/15/2016    -3    15.3
CBOE Volatility Index (VIX)   SELL   11/21/2016    -2   14.45
CBOE Volatility Index (VIX)   SELL   11/21/2016    -1   14.45
CBOE Volatility Index (VIX)   SELL   11/22/2016    -1    14.5
CBOE Volatility Index (VIX)   SELL   11/22/2016    -1   14.45
CBOE Volatility Index (VIX)   SELL   11/23/2016    -1    14.4
CBOE Volatility Index (VIX)   SELL   11/25/2016    -1   14.25
CBOE Volatility Index (VIX)   BUY    12/2/2016      1    15.1
CBOE Volatility Index (VIX)   BUY    12/2/2016      2    15.1
CBOE Volatility Index (VIX)   SELL   12/5/2016     -1   13.55
CBOE Volatility Index (VIX)   SELL   12/5/2016     -1    13.5
CBOE Volatility Index (VIX)   SELL   12/5/2016     -1   13.55
CBOE Volatility Index (VIX)   SELL   12/6/2016     -1    13.2
CBOE Volatility Index (VIX)   SELL   12/6/2016     -1   13.15
CBOE Volatility Index (VIX)   SELL   12/6/2016     -1    13.2
CBOE Volatility Index (VIX)   SELL   12/7/2016     -1    13.4
CBOE Volatility Index (VIX)   SELL   12/7/2016     -1   13.35
CBOE Volatility Index (VIX)   SELL   12/7/2016     -1    13.4
CBOE Volatility Index (VIX)   SELL   12/8/2016     -1   13.35
CBOE Volatility Index (VIX)   SELL   12/8/2016     -1    13.4
CBOE Volatility Index (VIX)   SELL   12/8/2016     -1   13.35
CBOE Volatility Index (VIX)   SELL   12/9/2016     -1   13.05
CBOE Volatility Index (VIX)   BUY    12/9/2016      1    13.1
CBOE Volatility Index (VIX)   SELL   12/12/2016    -1   13.45
CBOE Volatility Index (VIX)   SELL   12/12/2016    -1   13.45
CBOE Volatility Index (VIX)   BUY    12/13/2016     1    13.3
CBOE Volatility Index (VIX)   BUY    12/14/2016     1    13.4
CBOE Volatility Index (VIX)   BUY    12/14/2016     1   13.45
CBOE Volatility Index (VIX)   SELL   12/15/2016    -2     13
CBOE Volatility Index (VIX)   SELL   12/15/2016    -1     13
CBOE Volatility Index (VIX)   SELL   12/16/2016    -1    12.8
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CBOE Volatility Index (VIX)   BUY    12/19/2016     1    12.2
CBOE Volatility Index (VIX)   BUY    12/19/2016     1   12.15
CBOE Volatility Index (VIX)   BUY    12/19/2016     1   12.15
CBOE Volatility Index (VIX)   BUY    12/19/2016     1   12.15
CBOE Volatility Index (VIX)   BUY    12/19/2016     1   12.15
CBOE Volatility Index (VIX)   BUY    12/19/2016     1   12.15
CBOE Volatility Index (VIX)   BUY    12/19/2016     1   12.15
CBOE Volatility Index (VIX)   BUY    12/19/2016     1   12.15
CBOE Volatility Index (VIX)   BUY    12/19/2016     1   12.15
CBOE Volatility Index (VIX)   BUY    12/19/2016     1   12.15
CBOE Volatility Index (VIX)   BUY    12/19/2016     1   12.15
CBOE Volatility Index (VIX)   BUY    12/19/2016     1   12.15
CBOE Volatility Index (VIX)   BUY    12/19/2016     1   12.15
CBOE Volatility Index (VIX)   BUY    12/19/2016     1   12.15
CBOE Volatility Index (VIX)   BUY    12/19/2016     1   12.15
CBOE Volatility Index (VIX)   BUY    12/19/2016     1   12.15
CBOE Volatility Index (VIX)   BUY    12/19/2016     1    12.2
CBOE Volatility Index (VIX)   BUY    12/19/2016     1    12.2
CBOE Volatility Index (VIX)   BUY    12/19/2016     1    12.2
CBOE Volatility Index (VIX)   BUY    12/19/2016     1    12.2
CBOE Volatility Index (VIX)   BUY    12/19/2016     1    12.2
CBOE Volatility Index (VIX)   BUY    12/19/2016     1    12.2
CBOE Volatility Index (VIX)   BUY    12/19/2016     1    12.2
CBOE Volatility Index (VIX)   BUY    12/19/2016     2   12.15
CBOE Volatility Index (VIX)   BUY    12/19/2016     2    12.2
CBOE Volatility Index (VIX)   BUY    12/19/2016     3   12.15
CBOE Volatility Index (VIX)   BUY    12/19/2016     3   12.15
CBOE Volatility Index (VIX)   BUY    12/19/2016     4   12.15
CBOE Volatility Index (VIX)   BUY    12/19/2016     6    12.1
CBOE Volatility Index (VIX)   BUY    12/19/2016     6    12.1
CBOE Volatility Index (VIX)   BUY    12/19/2016     9    12.1
CBOE Volatility Index (VIX)   BUY    12/19/2016   10    12.05
CBOE Volatility Index (VIX)   BUY    12/19/2016   12     12.1
CBOE Volatility Index (VIX)   BUY    12/19/2016   13     12.1
CBOE Volatility Index (VIX)   BUY    12/19/2016   16    12.05
CBOE Volatility Index (VIX)   BUY    12/19/2016   18    12.05
CBOE Volatility Index (VIX)   SELL   12/19/2016   -48    14.6
CBOE Volatility Index (VIX)   SELL   12/19/2016   -21   14.55
CBOE Volatility Index (VIX)   SELL   12/19/2016   -18   14.65
CBOE Volatility Index (VIX)   SELL   12/19/2016   -15    14.6
CBOE Volatility Index (VIX)   SELL   12/19/2016    -6   14.65
CBOE Volatility Index (VIX)   SELL   12/19/2016    -4    14.7
CBOE Volatility Index (VIX)   SELL   12/19/2016    -2   14.55
CBOE Volatility Index (VIX)   SELL   12/19/2016    -2   14.55
CBOE Volatility Index (VIX)   SELL   12/19/2016    -2   14.55
CBOE Volatility Index (VIX)   SELL   12/19/2016    -2   14.55
CBOE Volatility Index (VIX)   SELL   12/19/2016    -1   14.55
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CBOE Volatility Index (VIX)   SELL   12/19/2016   -1   14.55
CBOE Volatility Index (VIX)   SELL   12/19/2016   -1   14.55
CBOE Volatility Index (VIX)   SELL   12/19/2016   -1   14.55
CBOE Volatility Index (VIX)   SELL   12/19/2016   -1   14.55
CBOE Volatility Index (VIX)   SELL   12/19/2016   -1   14.55
CBOE Volatility Index (VIX)   SELL   12/19/2016   -1   14.55
CBOE Volatility Index (VIX)   BUY    12/19/2016    2   14.55
CBOE Volatility Index (VIX)   BUY    12/19/2016    2   14.55
CBOE Volatility Index (VIX)   BUY    12/20/2016    1   14.25
CBOE Volatility Index (VIX)   BUY    12/20/2016    1    14.3
CBOE Volatility Index (VIX)   BUY    12/21/2016    1   14.05
CBOE Volatility Index (VIX)   BUY    12/21/2016    2   14.05
CBOE Volatility Index (VIX)   SELL   12/22/2016   -1    14.3
CBOE Volatility Index (VIX)   BUY    12/22/2016    1    14.3
CBOE Volatility Index (VIX)   BUY    12/23/2016    1    14.4
CBOE Volatility Index (VIX)   BUY    12/23/2016    1    14.4
CBOE Volatility Index (VIX)   BUY    12/29/2016    1   14.85
CBOE Volatility Index (VIX)   BUY    12/30/2016    2   15.15
CBOE Volatility Index (VIX)   SELL    1/3/2017    -1   13.75
CBOE Volatility Index (VIX)   SELL    1/3/2017    -1   13.75
CBOE Volatility Index (VIX)   SELL    1/4/2017    -2   13.15
CBOE Volatility Index (VIX)   SELL    1/4/2017    -1   13.15
CBOE Volatility Index (VIX)   SELL    1/5/2017    -2     13
CBOE Volatility Index (VIX)   SELL    1/5/2017    -1     13
CBOE Volatility Index (VIX)   SELL    1/6/2017    -2   12.85
CBOE Volatility Index (VIX)   SELL    1/6/2017    -1   12.85
CBOE Volatility Index (VIX)   SELL    1/6/2017    -1   12.85
CBOE Volatility Index (VIX)   SELL    1/9/2017    -2    12.9
CBOE Volatility Index (VIX)   SELL   1/10/2017    -2   12.85
CBOE Volatility Index (VIX)   SELL   1/12/2017    -2   12.45
CBOE Volatility Index (VIX)   BUY    1/13/2017     1   12.35
CBOE Volatility Index (VIX)   BUY    1/13/2017     1    12.4
CBOE Volatility Index (VIX)   BUY    1/13/2017     1   12.35
CBOE Volatility Index (VIX)   BUY    1/13/2017     1    12.4
CBOE Volatility Index (VIX)   BUY    1/13/2017     1    12.4
CBOE Volatility Index (VIX)   BUY    1/13/2017     1    12.4
CBOE Volatility Index (VIX)   BUY    1/13/2017     1   12.45
CBOE Volatility Index (VIX)   BUY    1/13/2017     2    12.4
CBOE Volatility Index (VIX)   BUY    1/13/2017     2    12.4
CBOE Volatility Index (VIX)   BUY    1/13/2017     2   12.45
CBOE Volatility Index (VIX)   BUY    1/13/2017     2   12.45
CBOE Volatility Index (VIX)   BUY    1/13/2017     2   12.45
CBOE Volatility Index (VIX)   BUY    1/13/2017     2   12.45
CBOE Volatility Index (VIX)   BUY    1/13/2017     4   12.35
CBOE Volatility Index (VIX)   BUY    1/13/2017     6    12.3
CBOE Volatility Index (VIX)   BUY    1/13/2017    15   12.25
CBOE Volatility Index (VIX)   BUY    1/13/2017    18   12.35
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CBOE Volatility Index (VIX)   BUY    1/13/2017   21    12.25
CBOE Volatility Index (VIX)   BUY    1/13/2017   48     12.3
CBOE Volatility Index (VIX)   SELL   1/13/2017   -71    14.3
CBOE Volatility Index (VIX)   SELL   1/13/2017   -21   14.35
CBOE Volatility Index (VIX)   SELL   1/13/2017   -12    14.3
CBOE Volatility Index (VIX)   SELL   1/13/2017    -7   14.25
CBOE Volatility Index (VIX)   SELL   1/13/2017    -3    14.4
CBOE Volatility Index (VIX)   SELL   1/13/2017    -3    14.2
CBOE Volatility Index (VIX)   SELL   1/13/2017    -2    14.2
CBOE Volatility Index (VIX)   SELL   1/13/2017    -2    14.2
CBOE Volatility Index (VIX)   SELL   1/13/2017    -2    14.2
CBOE Volatility Index (VIX)   SELL   1/13/2017    -2   14.25
CBOE Volatility Index (VIX)   SELL   1/13/2017    -2   14.25
CBOE Volatility Index (VIX)   SELL   1/13/2017    -1    14.2
CBOE Volatility Index (VIX)   SELL   1/13/2017    -1    14.2
CBOE Volatility Index (VIX)   SELL   1/13/2017    -1    14.2
CBOE Volatility Index (VIX)   SELL   1/13/2017    -1   14.25
CBOE Volatility Index (VIX)   BUY    1/13/2017     2   14.25
CBOE Volatility Index (VIX)   BUY    1/13/2017     2   14.25
CBOE Volatility Index (VIX)   BUY    1/17/2017     1   14.15
CBOE Volatility Index (VIX)   BUY    1/17/2017     2   14.15
CBOE Volatility Index (VIX)   BUY    1/18/2017     1    14.2
CBOE Volatility Index (VIX)   BUY    1/18/2017     1   14.25
CBOE Volatility Index (VIX)   BUY    1/18/2017     3    14.2
CBOE Volatility Index (VIX)   BUY    1/19/2017     2   14.25
CBOE Volatility Index (VIX)   SELL   1/20/2017    -1   13.75
CBOE Volatility Index (VIX)   SELL   1/20/2017    -1    13.8
CBOE Volatility Index (VIX)   BUY    1/20/2017     1    13.8
CBOE Volatility Index (VIX)   SELL   1/23/2017    -1    13.6
CBOE Volatility Index (VIX)   SELL   1/24/2017    -1     13
CBOE Volatility Index (VIX)   SELL   1/24/2017    -1     13
CBOE Volatility Index (VIX)   SELL   1/24/2017    -1     13
CBOE Volatility Index (VIX)   SELL   1/25/2017    -2    12.7
CBOE Volatility Index (VIX)   SELL   1/25/2017    -1    12.7
CBOE Volatility Index (VIX)   SELL   1/26/2017    -1   12.65
CBOE Volatility Index (VIX)   SELL   1/26/2017    -1    12.7
CBOE Volatility Index (VIX)   SELL   1/26/2017    -1   12.65
CBOE Volatility Index (VIX)   SELL   1/26/2017    -1    12.7
CBOE Volatility Index (VIX)   SELL   1/30/2017    -2   12.85
CBOE Volatility Index (VIX)   SELL    2/7/2017    -2   12.55
CBOE Volatility Index (VIX)   BUY     2/8/2017     2    12.6
CBOE Volatility Index (VIX)   SELL    2/9/2017    -2     12
CBOE Volatility Index (VIX)   SELL   2/10/2017    -1    11.7
CBOE Volatility Index (VIX)   SELL   2/10/2017    -1   11.75
CBOE Volatility Index (VIX)   SELL   2/10/2017    -1    11.7
CBOE Volatility Index (VIX)   SELL   2/10/2017    -1   11.75
CBOE Volatility Index (VIX)   BUY    2/13/2017     1   11.55
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CBOE Volatility Index (VIX)   BUY    2/13/2017     1   11.55
CBOE Volatility Index (VIX)   BUY    2/13/2017     1   11.55
CBOE Volatility Index (VIX)   BUY    2/13/2017     1   11.55
CBOE Volatility Index (VIX)   BUY    2/13/2017     1   11.55
CBOE Volatility Index (VIX)   BUY    2/13/2017     1    11.6
CBOE Volatility Index (VIX)   BUY    2/13/2017     1    11.6
CBOE Volatility Index (VIX)   BUY    2/13/2017     1    11.6
CBOE Volatility Index (VIX)   BUY    2/13/2017     1    11.6
CBOE Volatility Index (VIX)   BUY    2/13/2017     1    11.6
CBOE Volatility Index (VIX)   BUY    2/13/2017     1    11.6
CBOE Volatility Index (VIX)   BUY    2/13/2017     1    11.6
CBOE Volatility Index (VIX)   BUY    2/13/2017     1    11.6
CBOE Volatility Index (VIX)   BUY    2/13/2017     1    11.6
CBOE Volatility Index (VIX)   BUY    2/13/2017     1    11.6
CBOE Volatility Index (VIX)   BUY    2/13/2017     2    11.6
CBOE Volatility Index (VIX)   BUY    2/13/2017     2    11.6
CBOE Volatility Index (VIX)   BUY    2/13/2017     2    11.6
CBOE Volatility Index (VIX)   BUY    2/13/2017     2    11.6
CBOE Volatility Index (VIX)   BUY    2/13/2017     3   11.55
CBOE Volatility Index (VIX)   BUY    2/13/2017     7    11.5
CBOE Volatility Index (VIX)   BUY    2/13/2017   12     11.5
CBOE Volatility Index (VIX)   BUY    2/13/2017   21    11.55
CBOE Volatility Index (VIX)   BUY    2/13/2017   71    11.55
CBOE Volatility Index (VIX)   SELL   2/13/2017   -30     13
CBOE Volatility Index (VIX)   SELL   2/13/2017   -29   13.05
CBOE Volatility Index (VIX)   SELL   2/13/2017   -28     13
CBOE Volatility Index (VIX)   SELL   2/13/2017   -26   13.05
CBOE Volatility Index (VIX)   SELL   2/13/2017   -10   13.05
CBOE Volatility Index (VIX)   SELL   2/13/2017    -2     13
CBOE Volatility Index (VIX)   SELL   2/13/2017    -2     13
CBOE Volatility Index (VIX)   SELL   2/13/2017    -2     13
CBOE Volatility Index (VIX)   SELL   2/13/2017    -2     13
CBOE Volatility Index (VIX)   SELL   2/13/2017    -1     13
CBOE Volatility Index (VIX)   SELL   2/13/2017    -1     13
CBOE Volatility Index (VIX)   SELL   2/13/2017    -1     13
CBOE Volatility Index (VIX)   SELL   2/13/2017    -1     13
CBOE Volatility Index (VIX)   SELL   2/13/2017    -1     13
CBOE Volatility Index (VIX)   SELL   2/13/2017    -1     13
CBOE Volatility Index (VIX)   BUY    2/13/2017     2   13.05
CBOE Volatility Index (VIX)   BUY    2/15/2017     1    12.9
CBOE Volatility Index (VIX)   BUY    2/15/2017     2    12.9
CBOE Volatility Index (VIX)   BUY    2/16/2017     1     13
CBOE Volatility Index (VIX)   BUY    2/17/2017     2    13.1
CBOE Volatility Index (VIX)   BUY    2/17/2017     2    13.1
CBOE Volatility Index (VIX)   BUY    2/23/2017     1    13.5
CBOE Volatility Index (VIX)   BUY    2/24/2017     1   13.35
CBOE Volatility Index (VIX)   BUY    2/24/2017     1   13.35
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CBOE Volatility Index (VIX)   BUY    2/27/2017     1    13.3
CBOE Volatility Index (VIX)   SELL    3/3/2017    -2    12.8
CBOE Volatility Index (VIX)   SELL    3/3/2017    -1    12.8
CBOE Volatility Index (VIX)   SELL    3/6/2017    -1   12.65
CBOE Volatility Index (VIX)   SELL    3/6/2017    -1    12.6
CBOE Volatility Index (VIX)   SELL    3/6/2017    -1   12.65
CBOE Volatility Index (VIX)   SELL    3/8/2017    -1    12.7
CBOE Volatility Index (VIX)   SELL    3/9/2017    -1   12.75
CBOE Volatility Index (VIX)   SELL   3/13/2017    -1    12.1
CBOE Volatility Index (VIX)   SELL   3/13/2017    -1    12.1
CBOE Volatility Index (VIX)   SELL   3/14/2017    -1    12.6
CBOE Volatility Index (VIX)   SELL   3/14/2017    -1   12.65
CBOE Volatility Index (VIX)   BUY    3/14/2017     1   12.15
CBOE Volatility Index (VIX)   BUY    3/14/2017     1   12.15
CBOE Volatility Index (VIX)   SELL   3/15/2017    -1    12.5
CBOE Volatility Index (VIX)   SELL   3/15/2017    -1    12.5
CBOE Volatility Index (VIX)   BUY    3/15/2017     1   12.55
CBOE Volatility Index (VIX)   BUY    3/15/2017     1   12.55
CBOE Volatility Index (VIX)   SELL   3/16/2017    -2    11.9
CBOE Volatility Index (VIX)   SELL   3/17/2017    -2   11.75
CBOE Volatility Index (VIX)   BUY    3/20/2017     1    11.8
CBOE Volatility Index (VIX)   BUY    3/20/2017     1    11.8
CBOE Volatility Index (VIX)   BUY    3/20/2017     1    11.8
CBOE Volatility Index (VIX)   BUY    3/20/2017     1    11.8
CBOE Volatility Index (VIX)   BUY    3/20/2017     1    11.8
CBOE Volatility Index (VIX)   BUY    3/20/2017     1    11.8
CBOE Volatility Index (VIX)   BUY    3/20/2017     1    11.8
CBOE Volatility Index (VIX)   BUY    3/20/2017     1    11.8
CBOE Volatility Index (VIX)   BUY    3/20/2017     2    11.8
CBOE Volatility Index (VIX)   BUY    3/20/2017     2    11.8
CBOE Volatility Index (VIX)   BUY    3/20/2017     2    11.8
CBOE Volatility Index (VIX)   BUY    3/20/2017   10     11.8
CBOE Volatility Index (VIX)   BUY    3/20/2017   26    11.75
CBOE Volatility Index (VIX)   BUY    3/20/2017   28    11.65
CBOE Volatility Index (VIX)   BUY    3/20/2017   29     11.7
CBOE Volatility Index (VIX)   BUY    3/20/2017   30     11.7
CBOE Volatility Index (VIX)   SELL   3/20/2017   -23    13.1
CBOE Volatility Index (VIX)   SELL   3/20/2017   -19   13.15
CBOE Volatility Index (VIX)   SELL   3/20/2017   -12     13
CBOE Volatility Index (VIX)   SELL   3/20/2017    -8    13.1
CBOE Volatility Index (VIX)   SELL   3/20/2017    -6     13
CBOE Volatility Index (VIX)   SELL   3/20/2017    -6   13.05
CBOE Volatility Index (VIX)   SELL   3/20/2017    -5     13
CBOE Volatility Index (VIX)   SELL   3/20/2017    -5    13.1
CBOE Volatility Index (VIX)   SELL   3/20/2017    -4   13.05
CBOE Volatility Index (VIX)   SELL   3/20/2017    -4     13
CBOE Volatility Index (VIX)   SELL   3/20/2017    -4     13
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CBOE Volatility Index (VIX)   SELL   3/20/2017   -4    13.05
CBOE Volatility Index (VIX)   SELL   3/20/2017   -3      13
CBOE Volatility Index (VIX)   SELL   3/20/2017   -3      13
CBOE Volatility Index (VIX)   SELL   3/20/2017   -3     13.1
CBOE Volatility Index (VIX)   SELL   3/20/2017   -2      13
CBOE Volatility Index (VIX)   SELL   3/20/2017   -2      13
CBOE Volatility Index (VIX)   SELL   3/20/2017   -2      13
CBOE Volatility Index (VIX)   SELL   3/20/2017   -2      13
CBOE Volatility Index (VIX)   SELL   3/20/2017   -2      13
CBOE Volatility Index (VIX)   SELL   3/20/2017   -2      13
CBOE Volatility Index (VIX)   SELL   3/20/2017   -2      13
CBOE Volatility Index (VIX)   SELL   3/20/2017   -2      13
CBOE Volatility Index (VIX)   SELL   3/20/2017   -2      13
CBOE Volatility Index (VIX)   SELL   3/20/2017   -2      13
CBOE Volatility Index (VIX)   SELL   3/20/2017   -2    13.05
CBOE Volatility Index (VIX)   SELL   3/20/2017   -1    13.15
CBOE Volatility Index (VIX)   SELL   3/20/2017   -1      13
CBOE Volatility Index (VIX)   SELL   3/20/2017   -1      13
CBOE Volatility Index (VIX)   SELL   3/20/2017   -1      13
CBOE Volatility Index (VIX)   SELL   3/20/2017   -1      13
CBOE Volatility Index (VIX)   SELL   3/20/2017   -1      13
CBOE Volatility Index (VIX)   BUY    3/20/2017    2    13.15
CBOE Volatility Index (VIX)   BUY    3/21/2017    2    13.75
CBOE Volatility Index (VIX)   BUY    3/21/2017    2    13.75
CBOE Volatility Index (VIX)   BUY    3/22/2017    2     13.9
CBOE Volatility Index (VIX)   BUY    3/22/2017    4     13.9
CBOE Volatility Index (VIX)   BUY    3/23/2017    2     14.3
CBOE Volatility Index (VIX)   BUY    3/23/2017    2     14.3
CBOE Volatility Index (VIX)   BUY    3/24/2017    2     13.9
CBOE Volatility Index (VIX)   SELL   3/28/2017   -2     12.9
CBOE Volatility Index (VIX)   SELL   3/28/2017   -1     12.9
CBOE Volatility Index (VIX)   SELL   3/29/2017   -2     12.9
CBOE Volatility Index (VIX)   SELL   3/29/2017   -1     12.9
CBOE Volatility Index (VIX)   SELL   3/30/2017   -2    12.75
CBOE Volatility Index (VIX)   SELL   3/30/2017   -1    12.75
CBOE Volatility Index (VIX)   SELL   3/31/2017   -1    13.25
CBOE Volatility Index (VIX)   BUY    3/31/2017    2     13.3
CBOE Volatility Index (VIX)   BUY     4/4/2017    2     13.2
CBOE Volatility Index (VIX)   BUY     4/5/2017    1     13.9
CBOE Volatility Index (VIX)   BUY     4/5/2017    1    13.95
CBOE Volatility Index (VIX)   BUY     4/7/2017    1     14.1
CBOE Volatility Index (VIX)   BUY     4/7/2017    2     14.1
CBOE Volatility Index (VIX)   BUY    4/10/2017    1      15
CBOE Volatility Index (VIX)   BUY    4/10/2017    5      15
CBOE Volatility Index (VIX)   BUY    4/11/2017    1     16.1
CBOE Volatility Index (VIX)   BUY    4/11/2017    3    16.15
CBOE Volatility Index (VIX)   BUY    4/11/2017    4    16.15
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CBOE Volatility Index (VIX)   BUY    4/12/2017     3    16.2
CBOE Volatility Index (VIX)   BUY    4/12/2017   12     16.2
CBOE Volatility Index (VIX)   BUY    4/13/2017     2    16.3
CBOE Volatility Index (VIX)   BUY    4/13/2017     6    16.3
CBOE Volatility Index (VIX)   BUY    4/13/2017     6    16.3
CBOE Volatility Index (VIX)   BUY    4/17/2017     1   15.35
CBOE Volatility Index (VIX)   BUY    4/17/2017     1   15.35
CBOE Volatility Index (VIX)   BUY    4/17/2017     1   15.35
CBOE Volatility Index (VIX)   BUY    4/17/2017     1   15.35
CBOE Volatility Index (VIX)   BUY    4/17/2017     1    15.4
CBOE Volatility Index (VIX)   BUY    4/17/2017     2    15.4
CBOE Volatility Index (VIX)   BUY    4/17/2017     2   15.35
CBOE Volatility Index (VIX)   BUY    4/17/2017     2   15.35
CBOE Volatility Index (VIX)   BUY    4/17/2017     3    15.2
CBOE Volatility Index (VIX)   BUY    4/17/2017     4    15.1
CBOE Volatility Index (VIX)   BUY    4/17/2017     4   15.15
CBOE Volatility Index (VIX)   BUY    4/17/2017     5   15.15
CBOE Volatility Index (VIX)   BUY    4/17/2017     8    15.3
CBOE Volatility Index (VIX)   BUY    4/17/2017   19     15.3
CBOE Volatility Index (VIX)   BUY    4/17/2017   23    15.25
CBOE Volatility Index (VIX)   SELL   4/17/2017   -27   14.55
CBOE Volatility Index (VIX)   SELL   4/17/2017   -21    14.5
CBOE Volatility Index (VIX)   SELL   4/17/2017    -9    14.4
CBOE Volatility Index (VIX)   SELL   4/17/2017    -8   14.45
CBOE Volatility Index (VIX)   SELL   4/17/2017    -5    14.6
CBOE Volatility Index (VIX)   SELL   4/17/2017    -4    14.5
CBOE Volatility Index (VIX)   SELL   4/17/2017    -3    14.5
CBOE Volatility Index (VIX)   BUY    4/17/2017     4   14.35
CBOE Volatility Index (VIX)   BUY    4/17/2017     8   14.35
CBOE Volatility Index (VIX)   BUY    4/17/2017     9   14.35
CBOE Volatility Index (VIX)   BUY    4/17/2017   21    14.35
CBOE Volatility Index (VIX)   BUY    4/18/2017     1    14.3
CBOE Volatility Index (VIX)   BUY    4/18/2017     3    14.3
CBOE Volatility Index (VIX)   BUY    4/18/2017     3    14.3
CBOE Volatility Index (VIX)   BUY    4/18/2017     5    14.3
CBOE Volatility Index (VIX)   BUY    4/18/2017   27     14.3
CBOE Volatility Index (VIX)   SELL   4/19/2017    -1   14.55
CBOE Volatility Index (VIX)   BUY    4/19/2017   38     14.6
CBOE Volatility Index (VIX)   SELL   4/20/2017   -38   14.25
CBOE Volatility Index (VIX)   SELL   4/20/2017    -7   14.25
CBOE Volatility Index (VIX)   SELL   4/20/2017    -3   14.25
CBOE Volatility Index (VIX)   SELL   4/21/2017    -1   14.25
CBOE Volatility Index (VIX)   SELL   4/24/2017   -32    12.6
CBOE Volatility Index (VIX)   SELL   4/24/2017   -12    12.6
CBOE Volatility Index (VIX)   SELL   4/24/2017   -11    12.6
CBOE Volatility Index (VIX)   SELL   4/25/2017    -6    12.4
CBOE Volatility Index (VIX)   SELL   4/25/2017    -3    12.4
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CBOE Volatility Index (VIX)   SELL   4/26/2017   -45   12.35
CBOE Volatility Index (VIX)   SELL   4/26/2017    -3   12.35
CBOE Volatility Index (VIX)   SELL   4/26/2017    -3   12.35
CBOE Volatility Index (VIX)   SELL   4/27/2017    -6    12.3
CBOE Volatility Index (VIX)   SELL   4/28/2017    -4   12.25
CBOE Volatility Index (VIX)   SELL    5/1/2017    -2    11.8
CBOE Volatility Index (VIX)   SELL    5/1/2017    -1    11.8
CBOE Volatility Index (VIX)   SELL    5/1/2017    -1    11.8
CBOE Volatility Index (VIX)   SELL    5/4/2017    -2    11.7
CBOE Volatility Index (VIX)   SELL    5/5/2017    -1    11.8
CBOE Volatility Index (VIX)   SELL    5/8/2017    -1    11.4
CBOE Volatility Index (VIX)   SELL    5/9/2017    -1    11.4
CBOE Volatility Index (VIX)   SELL    5/9/2017    -1    11.4
CBOE Volatility Index (VIX)   SELL   5/10/2017    -1    11.5
CBOE Volatility Index (VIX)   SELL   5/10/2017    -1    11.5
CBOE Volatility Index (VIX)   BUY    5/15/2017     1     11
CBOE Volatility Index (VIX)   BUY    5/15/2017     1    10.9
CBOE Volatility Index (VIX)   BUY    5/15/2017     1   11.05
CBOE Volatility Index (VIX)   BUY    5/15/2017     1   11.05
CBOE Volatility Index (VIX)   BUY    5/15/2017     1   11.05
CBOE Volatility Index (VIX)   BUY    5/15/2017     1   11.05
CBOE Volatility Index (VIX)   BUY    5/15/2017     1   11.05
CBOE Volatility Index (VIX)   BUY    5/15/2017     1   11.05
CBOE Volatility Index (VIX)   BUY    5/15/2017     1   11.05
CBOE Volatility Index (VIX)   BUY    5/15/2017     2   11.05
CBOE Volatility Index (VIX)   BUY    5/15/2017     2   11.05
CBOE Volatility Index (VIX)   BUY    5/15/2017     3   10.95
CBOE Volatility Index (VIX)   BUY    5/15/2017     3   10.95
CBOE Volatility Index (VIX)   BUY    5/15/2017     3     11
CBOE Volatility Index (VIX)   BUY    5/15/2017     4     11
CBOE Volatility Index (VIX)   BUY    5/15/2017     6   10.95
CBOE Volatility Index (VIX)   BUY    5/15/2017     6     11
CBOE Volatility Index (VIX)   BUY    5/15/2017     7    10.9
CBOE Volatility Index (VIX)   BUY    5/15/2017   11    10.95
CBOE Volatility Index (VIX)   BUY    5/15/2017   12    10.95
CBOE Volatility Index (VIX)   BUY    5/15/2017   32     10.9
CBOE Volatility Index (VIX)   BUY    5/15/2017   45    10.95
CBOE Volatility Index (VIX)   SELL   5/15/2017   -47   12.15
CBOE Volatility Index (VIX)   SELL   5/15/2017   -44   12.15
CBOE Volatility Index (VIX)   SELL   5/15/2017   -15    12.2
CBOE Volatility Index (VIX)   SELL   5/15/2017   -10   12.15
CBOE Volatility Index (VIX)   SELL   5/15/2017    -7   12.15
CBOE Volatility Index (VIX)   SELL   5/15/2017    -6   12.15
CBOE Volatility Index (VIX)   SELL   5/15/2017    -5   12.15
CBOE Volatility Index (VIX)   SELL   5/15/2017    -2   12.15
CBOE Volatility Index (VIX)   SELL   5/15/2017    -2   12.15
CBOE Volatility Index (VIX)   SELL   5/15/2017    -1   12.15
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CBOE Volatility Index (VIX)   SELL   5/15/2017    -1   12.15
CBOE Volatility Index (VIX)   SELL   5/15/2017    -1   12.15
CBOE Volatility Index (VIX)   SELL   5/15/2017    -1   12.15
CBOE Volatility Index (VIX)   SELL   5/15/2017    -1   12.15
CBOE Volatility Index (VIX)   SELL   5/15/2017    -1   12.15
CBOE Volatility Index (VIX)   SELL   5/15/2017    -1   12.15
CBOE Volatility Index (VIX)   BUY    5/15/2017     2   12.25
CBOE Volatility Index (VIX)   BUY    5/16/2017     1    12.1
CBOE Volatility Index (VIX)   BUY    5/17/2017     7    14.3
CBOE Volatility Index (VIX)   BUY    5/17/2017   47     14.3
CBOE Volatility Index (VIX)   BUY    5/18/2017     1    14.2
CBOE Volatility Index (VIX)   BUY    5/18/2017     1    14.2
CBOE Volatility Index (VIX)   BUY    5/18/2017     5   14.25
CBOE Volatility Index (VIX)   BUY    5/18/2017   44    14.25
CBOE Volatility Index (VIX)   BUY    5/19/2017     1   12.75
CBOE Volatility Index (VIX)   BUY    5/19/2017     2   12.75
CBOE Volatility Index (VIX)   SELL   5/22/2017   -28    12.2
CBOE Volatility Index (VIX)   SELL   5/22/2017   -15    12.2
CBOE Volatility Index (VIX)   SELL   5/22/2017    -1    12.2
CBOE Volatility Index (VIX)   SELL   5/23/2017   -34    12.3
CBOE Volatility Index (VIX)   SELL   5/23/2017   -11    12.3
CBOE Volatility Index (VIX)   SELL   5/24/2017    -8   11.95
CBOE Volatility Index (VIX)   SELL   5/24/2017    -4   11.95
CBOE Volatility Index (VIX)   SELL   5/25/2017    -7     12
CBOE Volatility Index (VIX)   SELL   5/25/2017    -1     12
CBOE Volatility Index (VIX)   SELL   5/25/2017    -1     12
CBOE Volatility Index (VIX)   SELL   5/26/2017    -1   11.85
CBOE Volatility Index (VIX)   SELL   5/31/2017    -1   11.85
CBOE Volatility Index (VIX)   SELL    6/1/2017    -2   11.55
CBOE Volatility Index (VIX)   SELL    6/2/2017    -1    11.6
CBOE Volatility Index (VIX)   BUY     6/6/2017     1     12
CBOE Volatility Index (VIX)   BUY     6/7/2017     1    11.9
CBOE Volatility Index (VIX)   SELL    6/8/2017    -1    11.6
CBOE Volatility Index (VIX)   SELL    6/9/2017    -1    11.7
CBOE Volatility Index (VIX)   BUY     6/9/2017     1   11.75
CBOE Volatility Index (VIX)   SELL   6/13/2017    -1    11.4
CBOE Volatility Index (VIX)   SELL   6/14/2017    -1   11.45
CBOE Volatility Index (VIX)   SELL   6/15/2017    -2   11.55
CBOE Volatility Index (VIX)   BUY    6/19/2017     1   10.75
CBOE Volatility Index (VIX)   BUY    6/19/2017     1    10.9
CBOE Volatility Index (VIX)   BUY    6/19/2017     1   10.95
CBOE Volatility Index (VIX)   BUY    6/19/2017     1   10.95
CBOE Volatility Index (VIX)   BUY    6/19/2017     1   10.95
CBOE Volatility Index (VIX)   BUY    6/19/2017     1   10.95
CBOE Volatility Index (VIX)   BUY    6/19/2017     1   10.95
CBOE Volatility Index (VIX)   BUY    6/19/2017     1   10.95
CBOE Volatility Index (VIX)   BUY    6/19/2017     1   10.95
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CBOE Volatility Index (VIX)   BUY    6/19/2017     1   10.95
CBOE Volatility Index (VIX)   BUY    6/19/2017     2   10.95
CBOE Volatility Index (VIX)   BUY    6/19/2017     2   10.95
CBOE Volatility Index (VIX)   BUY    6/19/2017     4    10.9
CBOE Volatility Index (VIX)   BUY    6/19/2017     6    10.7
CBOE Volatility Index (VIX)   BUY    6/19/2017     7    10.9
CBOE Volatility Index (VIX)   BUY    6/19/2017     8    10.9
CBOE Volatility Index (VIX)   BUY    6/19/2017   10    10.75
CBOE Volatility Index (VIX)   BUY    6/19/2017   11     10.9
CBOE Volatility Index (VIX)   BUY    6/19/2017   15    10.75
CBOE Volatility Index (VIX)   BUY    6/19/2017   15    10.85
CBOE Volatility Index (VIX)   BUY    6/19/2017   28     10.8
CBOE Volatility Index (VIX)   BUY    6/19/2017   34    10.85
CBOE Volatility Index (VIX)   SELL   6/19/2017   -51   11.95
CBOE Volatility Index (VIX)   SELL   6/19/2017   -48    11.9
CBOE Volatility Index (VIX)   SELL   6/19/2017   -15     12
CBOE Volatility Index (VIX)   SELL   6/19/2017   -14   11.95
CBOE Volatility Index (VIX)   SELL   6/19/2017    -6     12
CBOE Volatility Index (VIX)   SELL   6/19/2017    -2    11.9
CBOE Volatility Index (VIX)   SELL   6/19/2017    -2    11.9
CBOE Volatility Index (VIX)   SELL   6/19/2017    -2    11.9
CBOE Volatility Index (VIX)   SELL   6/19/2017    -2    11.9
CBOE Volatility Index (VIX)   SELL   6/19/2017    -1    11.9
CBOE Volatility Index (VIX)   SELL   6/19/2017    -1    11.9
CBOE Volatility Index (VIX)   SELL   6/19/2017    -1    11.9
CBOE Volatility Index (VIX)   SELL   6/19/2017    -1    11.9
CBOE Volatility Index (VIX)   SELL   6/19/2017    -1    11.9
CBOE Volatility Index (VIX)   SELL   6/19/2017    -1    11.9
CBOE Volatility Index (VIX)   SELL   6/19/2017    -1    11.9
CBOE Volatility Index (VIX)   SELL   6/19/2017    -1    11.9
CBOE Volatility Index (VIX)   SELL   6/19/2017    -1    11.9
CBOE Volatility Index (VIX)   SELL   6/19/2017    -1    11.9
CBOE Volatility Index (VIX)   BUY    6/19/2017     2   12.15
CBOE Volatility Index (VIX)   BUY    6/20/2017     1   12.15
CBOE Volatility Index (VIX)   BUY    6/20/2017     2   12.15
CBOE Volatility Index (VIX)   BUY    6/21/2017     1    12.2
CBOE Volatility Index (VIX)   BUY    6/21/2017     1    12.2
CBOE Volatility Index (VIX)   SELL   6/22/2017    -1     12
CBOE Volatility Index (VIX)   BUY    6/23/2017     1   11.85
CBOE Volatility Index (VIX)   SELL   6/26/2017    -1    11.6
CBOE Volatility Index (VIX)   SELL   6/26/2017    -1    11.6
CBOE Volatility Index (VIX)   BUY    6/27/2017     1    12.1
CBOE Volatility Index (VIX)   SELL   6/28/2017    -2   11.65
CBOE Volatility Index (VIX)   BUY    6/29/2017     1   12.05
CBOE Volatility Index (VIX)   BUY    6/29/2017     1    12.1
CBOE Volatility Index (VIX)   BUY     7/3/2017     1   12.55
CBOE Volatility Index (VIX)   BUY     7/3/2017     2   12.55
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CBOE Volatility Index (VIX)   BUY     7/5/2017     1   12.35
CBOE Volatility Index (VIX)   BUY     7/6/2017     1   13.05
CBOE Volatility Index (VIX)   BUY     7/6/2017     2   13.05
CBOE Volatility Index (VIX)   SELL   7/11/2017    -2   12.15
CBOE Volatility Index (VIX)   SELL   7/12/2017    -2    11.5
CBOE Volatility Index (VIX)   SELL   7/12/2017    -1    11.5
CBOE Volatility Index (VIX)   SELL   7/13/2017    -1   11.05
CBOE Volatility Index (VIX)   SELL   7/13/2017    -1    11.1
CBOE Volatility Index (VIX)   SELL   7/13/2017    -1   11.05
CBOE Volatility Index (VIX)   SELL   7/13/2017    -1    11.1
CBOE Volatility Index (VIX)   SELL   7/14/2017    -4    10.6
CBOE Volatility Index (VIX)   SELL   7/14/2017    -1   10.55
CBOE Volatility Index (VIX)   SELL   7/14/2017    -1    10.6
CBOE Volatility Index (VIX)   BUY    7/17/2017     1    10.5
CBOE Volatility Index (VIX)   BUY    7/17/2017     1    10.5
CBOE Volatility Index (VIX)   BUY    7/17/2017     1    10.5
CBOE Volatility Index (VIX)   BUY    7/17/2017     1    10.5
CBOE Volatility Index (VIX)   BUY    7/17/2017     1    10.5
CBOE Volatility Index (VIX)   BUY    7/17/2017     1    10.5
CBOE Volatility Index (VIX)   BUY    7/17/2017     1    10.5
CBOE Volatility Index (VIX)   BUY    7/17/2017     1    10.5
CBOE Volatility Index (VIX)   BUY    7/17/2017     1    10.5
CBOE Volatility Index (VIX)   BUY    7/17/2017     1    10.5
CBOE Volatility Index (VIX)   BUY    7/17/2017     2    10.5
CBOE Volatility Index (VIX)   BUY    7/17/2017     2    10.5
CBOE Volatility Index (VIX)   BUY    7/17/2017     2    10.5
CBOE Volatility Index (VIX)   BUY    7/17/2017     4    10.5
CBOE Volatility Index (VIX)   BUY    7/17/2017     6   10.45
CBOE Volatility Index (VIX)   BUY    7/17/2017   14     10.4
CBOE Volatility Index (VIX)   BUY    7/17/2017   15     10.5
CBOE Volatility Index (VIX)   BUY    7/17/2017   48     10.4
CBOE Volatility Index (VIX)   BUY    7/17/2017   51    10.45
CBOE Volatility Index (VIX)   SELL   7/17/2017   -33   11.85
CBOE Volatility Index (VIX)   SELL   7/17/2017   -16    11.8
CBOE Volatility Index (VIX)   SELL   7/17/2017   -16    11.8
CBOE Volatility Index (VIX)   SELL   7/17/2017   -16   11.85
CBOE Volatility Index (VIX)   SELL   7/17/2017   -13   11.85
CBOE Volatility Index (VIX)   SELL   7/17/2017   -10   11.85
CBOE Volatility Index (VIX)   SELL   7/17/2017   -10    11.9
CBOE Volatility Index (VIX)   SELL   7/17/2017    -7    11.9
CBOE Volatility Index (VIX)   SELL   7/17/2017    -6    11.9
CBOE Volatility Index (VIX)   SELL   7/17/2017    -6   11.85
CBOE Volatility Index (VIX)   SELL   7/17/2017    -3   11.85
CBOE Volatility Index (VIX)   SELL   7/17/2017    -3   11.85
CBOE Volatility Index (VIX)   SELL   7/17/2017    -2    11.8
CBOE Volatility Index (VIX)   SELL   7/17/2017    -1   11.85
CBOE Volatility Index (VIX)   SELL   7/17/2017    -1    11.8
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CBOE Volatility Index (VIX)   SELL   7/17/2017   -1     11.8
CBOE Volatility Index (VIX)   SELL   7/17/2017   -1     11.8
CBOE Volatility Index (VIX)   SELL   7/17/2017   -1     11.8
CBOE Volatility Index (VIX)   SELL   7/17/2017   -1     11.8
CBOE Volatility Index (VIX)   SELL   7/17/2017   -1     11.8
CBOE Volatility Index (VIX)   SELL   7/17/2017   -1     11.8
CBOE Volatility Index (VIX)   SELL   7/17/2017   -1    11.85
CBOE Volatility Index (VIX)   SELL   7/17/2017   -1    11.85
CBOE Volatility Index (VIX)   SELL   7/17/2017   -1    11.85
CBOE Volatility Index (VIX)   SELL   7/17/2017   -1    11.85
CBOE Volatility Index (VIX)   SELL   7/17/2017   -1    11.85
CBOE Volatility Index (VIX)   SELL   7/17/2017   -1     11.9
CBOE Volatility Index (VIX)   BUY    7/18/2017    1    11.75
CBOE Volatility Index (VIX)   BUY    7/18/2017    1     11.8
CBOE Volatility Index (VIX)   BUY    7/19/2017    2    11.55
CBOE Volatility Index (VIX)   SELL   7/21/2017   -2    11.45
CBOE Volatility Index (VIX)   BUY    7/21/2017    1     11.5
CBOE Volatility Index (VIX)   SELL   7/25/2017   -1    11.15
CBOE Volatility Index (VIX)   SELL   7/26/2017   -1    11.25
CBOE Volatility Index (VIX)   SELL   7/26/2017   -1    11.25
CBOE Volatility Index (VIX)   BUY    7/27/2017    1    11.45
CBOE Volatility Index (VIX)   SELL    8/2/2017   -1     11.2
CBOE Volatility Index (VIX)   BUY     8/3/2017    1    11.35
CBOE Volatility Index (VIX)   SELL    8/7/2017   -1    11.05
CBOE Volatility Index (VIX)   BUY     8/8/2017    1    11.55
CBOE Volatility Index (VIX)   BUY     8/9/2017    1     11.7
CBOE Volatility Index (VIX)   BUY    8/10/2017    1     15.5
CBOE Volatility Index (VIX)   BUY    8/10/2017    6    15.55
CBOE Volatility Index (VIX)   BUY    8/10/2017   16     15.5
CBOE Volatility Index (VIX)   BUY    8/10/2017   16    15.55
CBOE Volatility Index (VIX)   BUY    8/10/2017   16    15.55
CBOE Volatility Index (VIX)   BUY    8/11/2017    1    15.35
CBOE Volatility Index (VIX)   BUY    8/11/2017    1    15.35
CBOE Volatility Index (VIX)   BUY    8/11/2017    3    15.45
CBOE Volatility Index (VIX)   BUY    8/11/2017   10     15.4
CBOE Volatility Index (VIX)   BUY    8/11/2017   13    15.45
CBOE Volatility Index (VIX)   BUY    8/11/2017   33     15.4
CBOE Volatility Index (VIX)   BUY    8/14/2017    1     12.3
CBOE Volatility Index (VIX)   BUY    8/14/2017    1    12.35
CBOE Volatility Index (VIX)   BUY    8/14/2017    1     12.4
CBOE Volatility Index (VIX)   BUY    8/14/2017    1     12.6
CBOE Volatility Index (VIX)   BUY    8/14/2017    1     12.7
CBOE Volatility Index (VIX)   BUY    8/14/2017    1     12.4
CBOE Volatility Index (VIX)   BUY    8/14/2017    1     12.6
CBOE Volatility Index (VIX)   BUY    8/14/2017    1     12.6
CBOE Volatility Index (VIX)   BUY    8/14/2017    1     12.6
CBOE Volatility Index (VIX)   BUY    8/14/2017    2    12.55
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CBOE Volatility Index (VIX)   BUY    8/14/2017     3    12.4
CBOE Volatility Index (VIX)   BUY    8/14/2017     6   12.55
CBOE Volatility Index (VIX)   BUY    8/14/2017     7   12.45
CBOE Volatility Index (VIX)   BUY    8/14/2017   10     12.5
CBOE Volatility Index (VIX)   SELL   8/14/2017    -9   13.45
CBOE Volatility Index (VIX)   SELL   8/14/2017    -8    13.5
CBOE Volatility Index (VIX)   SELL   8/14/2017    -6   13.35
CBOE Volatility Index (VIX)   SELL   8/14/2017    -4   13.55
CBOE Volatility Index (VIX)   SELL   8/14/2017    -4    13.5
CBOE Volatility Index (VIX)   SELL   8/14/2017    -2   13.25
CBOE Volatility Index (VIX)   SELL   8/14/2017    -2    13.4
CBOE Volatility Index (VIX)   SELL   8/14/2017    -1    13.3
CBOE Volatility Index (VIX)   SELL   8/14/2017    -1   13.45
CBOE Volatility Index (VIX)   BUY    8/14/2017     1   13.25
CBOE Volatility Index (VIX)   BUY    8/14/2017     2   13.25
CBOE Volatility Index (VIX)   BUY    8/14/2017     6   13.25
CBOE Volatility Index (VIX)   SELL   8/15/2017   -20   13.15
CBOE Volatility Index (VIX)   SELL   8/15/2017    -5   13.15
CBOE Volatility Index (VIX)   SELL   8/15/2017    -5   13.15
CBOE Volatility Index (VIX)   SELL   8/15/2017    -4   13.15
CBOE Volatility Index (VIX)   SELL   8/15/2017    -4   13.15
CBOE Volatility Index (VIX)   SELL   8/15/2017    -3   13.15
CBOE Volatility Index (VIX)   SELL   8/15/2017    -1   13.15
CBOE Volatility Index (VIX)   SELL   8/15/2017    -1   13.15
CBOE Volatility Index (VIX)   BUY    8/15/2017     2    13.2
CBOE Volatility Index (VIX)   SELL   8/16/2017   -31     13
CBOE Volatility Index (VIX)   SELL   8/16/2017    -5     13
CBOE Volatility Index (VIX)   SELL   8/16/2017    -5     13
CBOE Volatility Index (VIX)   SELL   8/16/2017    -2     13
CBOE Volatility Index (VIX)   SELL   8/16/2017    -1     13
CBOE Volatility Index (VIX)   BUY    8/16/2017     1   13.05
CBOE Volatility Index (VIX)   BUY    8/17/2017     4   15.05
CBOE Volatility Index (VIX)   BUY    8/17/2017     4    15.1
CBOE Volatility Index (VIX)   BUY    8/17/2017     8    15.1
CBOE Volatility Index (VIX)   BUY    8/17/2017     9   15.05
CBOE Volatility Index (VIX)   BUY    8/17/2017   20     15.1
CBOE Volatility Index (VIX)   SELL   8/18/2017    -1   14.95
CBOE Volatility Index (VIX)   BUY    8/18/2017     3     15
CBOE Volatility Index (VIX)   BUY    8/21/2017     1    14.2
CBOE Volatility Index (VIX)   BUY    8/21/2017     5    14.2
CBOE Volatility Index (VIX)   SELL   8/22/2017   -40   12.95
CBOE Volatility Index (VIX)   SELL   8/22/2017    -8   12.95
CBOE Volatility Index (VIX)   SELL   8/22/2017    -3   12.95
CBOE Volatility Index (VIX)   SELL   8/23/2017    -4   13.55
CBOE Volatility Index (VIX)   BUY    8/23/2017     1    13.6
CBOE Volatility Index (VIX)   SELL   8/24/2017    -9   13.45
CBOE Volatility Index (VIX)   SELL   8/25/2017    -5   13.05
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CBOE Volatility Index (VIX)   SELL   8/25/2017   -3    13.05
CBOE Volatility Index (VIX)   SELL   8/28/2017   -1      13
CBOE Volatility Index (VIX)   SELL   8/29/2017   -2    13.15
CBOE Volatility Index (VIX)   BUY    8/29/2017    5     13.2
CBOE Volatility Index (VIX)   SELL   8/30/2017   -6     13.2
CBOE Volatility Index (VIX)   SELL   8/30/2017   -1     13.2
CBOE Volatility Index (VIX)   BUY    8/31/2017    4    12.65
CBOE Volatility Index (VIX)   SELL    9/1/2017   -2     12.6
CBOE Volatility Index (VIX)   BUY     9/1/2017    1    12.65
CBOE Volatility Index (VIX)   BUY     9/1/2017    4    12.65
CBOE Volatility Index (VIX)   BUY     9/5/2017    5    13.25
CBOE Volatility Index (VIX)   BUY     9/6/2017    2     13.2
CBOE Volatility Index (VIX)   SELL   9/11/2017   -2    12.05
CBOE Volatility Index (VIX)   SELL   9/12/2017   -1    11.85
CBOE Volatility Index (VIX)   SELL   9/12/2017   -1     11.9
CBOE Volatility Index (VIX)   SELL   9/12/2017   -1    11.85
CBOE Volatility Index (VIX)   SELL   9/12/2017   -1     11.9
CBOE Volatility Index (VIX)   SELL   9/13/2017   -4     11.5
CBOE Volatility Index (VIX)   SELL   9/13/2017   -1     11.5
CBOE Volatility Index (VIX)   SELL   9/14/2017   -1    11.45
CBOE Volatility Index (VIX)   SELL   9/14/2017   -1    11.45
CBOE Volatility Index (VIX)   SELL   9/15/2017   -5     11.1
CBOE Volatility Index (VIX)   SELL   9/15/2017   -2     11.1
CBOE Volatility Index (VIX)   SELL   9/15/2017   -2     11.1
CBOE Volatility Index (VIX)   BUY    9/18/2017    1     10.6
CBOE Volatility Index (VIX)   BUY    9/18/2017    1     10.7
CBOE Volatility Index (VIX)   BUY    9/18/2017    1     10.7
CBOE Volatility Index (VIX)   BUY    9/18/2017    1     10.7
CBOE Volatility Index (VIX)   BUY    9/18/2017    1     10.7
CBOE Volatility Index (VIX)   BUY    9/18/2017    1     10.7
CBOE Volatility Index (VIX)   BUY    9/18/2017    1     10.7
CBOE Volatility Index (VIX)   BUY    9/18/2017    1     10.7
CBOE Volatility Index (VIX)   BUY    9/18/2017    1     10.7
CBOE Volatility Index (VIX)   BUY    9/18/2017    1     10.7
CBOE Volatility Index (VIX)   BUY    9/18/2017    2     10.7
CBOE Volatility Index (VIX)   BUY    9/18/2017    2     10.7
CBOE Volatility Index (VIX)   BUY    9/18/2017    2     10.7
CBOE Volatility Index (VIX)   BUY    9/18/2017    2     10.7
CBOE Volatility Index (VIX)   BUY    9/18/2017    2    10.75
CBOE Volatility Index (VIX)   BUY    9/18/2017    3     10.6
CBOE Volatility Index (VIX)   BUY    9/18/2017    3    10.65
CBOE Volatility Index (VIX)   BUY    9/18/2017    4    10.65
CBOE Volatility Index (VIX)   BUY    9/18/2017    4     10.7
CBOE Volatility Index (VIX)   BUY    9/18/2017    5     10.7
CBOE Volatility Index (VIX)   BUY    9/18/2017    5     10.6
CBOE Volatility Index (VIX)   BUY    9/18/2017    5     10.7
CBOE Volatility Index (VIX)   BUY    9/18/2017    6     10.7
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CBOE Volatility Index (VIX)   BUY    9/18/2017      8    10.6
CBOE Volatility Index (VIX)   BUY    9/18/2017      9   10.65
CBOE Volatility Index (VIX)   BUY    9/18/2017    31    10.55
CBOE Volatility Index (VIX)   BUY    9/18/2017    40    10.65
CBOE Volatility Index (VIX)   SELL   9/18/2017    -52   12.35
CBOE Volatility Index (VIX)   SELL   9/18/2017    -35    12.4
CBOE Volatility Index (VIX)   SELL   9/18/2017    -10    12.3
CBOE Volatility Index (VIX)   SELL   9/18/2017    -10   12.45
CBOE Volatility Index (VIX)   SELL   9/18/2017     -9    12.4
CBOE Volatility Index (VIX)   SELL   9/18/2017     -7   12.25
CBOE Volatility Index (VIX)   SELL   9/18/2017     -6   12.25
CBOE Volatility Index (VIX)   SELL   9/18/2017     -5   12.35
CBOE Volatility Index (VIX)   SELL   9/18/2017     -4    12.3
CBOE Volatility Index (VIX)   SELL   9/18/2017     -3    12.2
CBOE Volatility Index (VIX)   SELL   9/18/2017     -2    12.2
CBOE Volatility Index (VIX)   SELL   9/18/2017     -2    12.2
CBOE Volatility Index (VIX)   SELL   9/18/2017     -1   12.25
CBOE Volatility Index (VIX)   SELL   9/18/2017     -1    12.3
CBOE Volatility Index (VIX)   SELL   9/18/2017     -1    12.3
CBOE Volatility Index (VIX)   BUY    9/18/2017      2    12.4
CBOE Volatility Index (VIX)   SELL   9/19/2017     -4    12.4
CBOE Volatility Index (VIX)   BUY    9/19/2017      2   12.45
CBOE Volatility Index (VIX)   SELL   9/20/2017     -5   12.25
CBOE Volatility Index (VIX)   BUY    9/20/2017      3    12.3
CBOE Volatility Index (VIX)   SELL   9/21/2017     -4    12.3
CBOE Volatility Index (VIX)   BUY    9/22/2017      1   12.45
CBOE Volatility Index (VIX)   SELL   9/27/2017     -1   12.15
CBOE Volatility Index (VIX)   SELL   9/28/2017     -2   11.95
CBOE Volatility Index (VIX)   SELL   9/29/2017     -1    11.6
CBOE Volatility Index (VIX)   SELL   9/29/2017     -1    11.6
CBOE Volatility Index (VIX)   SELL   10/2/2017     -2    11.4
CBOE Volatility Index (VIX)   SELL   10/2/2017     -1    11.4
CBOE Volatility Index (VIX)   SELL   10/3/2017     -2   11.35
CBOE Volatility Index (VIX)   SELL   10/3/2017     -1   11.35
CBOE Volatility Index (VIX)   SELL   10/4/2017     -1    11.3
CBOE Volatility Index (VIX)   SELL   10/5/2017     -2    10.8
CBOE Volatility Index (VIX)   SELL   10/5/2017     -1    10.8
CBOE Volatility Index (VIX)   BUY    10/6/2017      1    10.9
CBOE Volatility Index (VIX)   BUY    10/6/2017      6    10.9
CBOE Volatility Index (VIX)   BUY    10/6/2017      7    10.9
CBOE Volatility Index (VIX)   SELL   10/9/2017     -1    11.1
CBOE Volatility Index (VIX)   SELL   10/10/2017    -1   10.95
CBOE Volatility Index (VIX)   BUY    10/10/2017     1     11
CBOE Volatility Index (VIX)   SELL   10/11/2017    -1   10.75
CBOE Volatility Index (VIX)   SELL   10/12/2017    -1    10.6
CBOE Volatility Index (VIX)   SELL   10/13/2017    -2    10.3
CBOE Volatility Index (VIX)   SELL   10/13/2017    -1    10.3
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CBOE Volatility Index (VIX)   BUY    10/16/2017     1   10.35
CBOE Volatility Index (VIX)   BUY    10/16/2017     1   10.35
CBOE Volatility Index (VIX)   BUY    10/16/2017     1   10.35
CBOE Volatility Index (VIX)   BUY    10/16/2017     1   10.35
CBOE Volatility Index (VIX)   BUY    10/16/2017     1   10.35
CBOE Volatility Index (VIX)   BUY    10/16/2017     1   10.35
CBOE Volatility Index (VIX)   BUY    10/16/2017     1   10.35
CBOE Volatility Index (VIX)   BUY    10/16/2017     1   10.35
CBOE Volatility Index (VIX)   BUY    10/16/2017     1   10.35
CBOE Volatility Index (VIX)   BUY    10/16/2017     1   10.35
CBOE Volatility Index (VIX)   BUY    10/16/2017     1   10.35
CBOE Volatility Index (VIX)   BUY    10/16/2017     1   10.35
CBOE Volatility Index (VIX)   BUY    10/16/2017     2    10.4
CBOE Volatility Index (VIX)   BUY    10/16/2017     2   10.35
CBOE Volatility Index (VIX)   BUY    10/16/2017     2   10.35
CBOE Volatility Index (VIX)   BUY    10/16/2017     2   10.35
CBOE Volatility Index (VIX)   BUY    10/16/2017     2   10.35
CBOE Volatility Index (VIX)   BUY    10/16/2017     4   10.25
CBOE Volatility Index (VIX)   BUY    10/16/2017     4   10.35
CBOE Volatility Index (VIX)   BUY    10/16/2017     4   10.35
CBOE Volatility Index (VIX)   BUY    10/16/2017     5    10.3
CBOE Volatility Index (VIX)   BUY    10/16/2017     5   10.35
CBOE Volatility Index (VIX)   BUY    10/16/2017     9   10.35
CBOE Volatility Index (VIX)   BUY    10/16/2017   10     10.3
CBOE Volatility Index (VIX)   BUY    10/16/2017   10    10.35
CBOE Volatility Index (VIX)   BUY    10/16/2017   35     10.3
CBOE Volatility Index (VIX)   BUY    10/16/2017   52     10.3
CBOE Volatility Index (VIX)   SELL   10/16/2017   -70   11.65
CBOE Volatility Index (VIX)   SELL   10/16/2017   -29    11.7
CBOE Volatility Index (VIX)   SELL   10/16/2017   -28   11.65
CBOE Volatility Index (VIX)   SELL   10/16/2017    -8    11.7
CBOE Volatility Index (VIX)   SELL   10/16/2017    -4    11.6
CBOE Volatility Index (VIX)   SELL   10/16/2017    -2   11.75
CBOE Volatility Index (VIX)   SELL   10/16/2017    -2    11.6
CBOE Volatility Index (VIX)   SELL   10/16/2017    -2    11.6
CBOE Volatility Index (VIX)   SELL   10/16/2017    -2   11.65
CBOE Volatility Index (VIX)   SELL   10/16/2017    -1    11.7
CBOE Volatility Index (VIX)   SELL   10/16/2017    -1    11.6
CBOE Volatility Index (VIX)   SELL   10/16/2017    -1    11.6
CBOE Volatility Index (VIX)   SELL   10/16/2017    -1    11.6
CBOE Volatility Index (VIX)   SELL   10/16/2017    -1   11.65
CBOE Volatility Index (VIX)   SELL   10/16/2017    -1   11.65
CBOE Volatility Index (VIX)   SELL   10/16/2017    -1   11.65
CBOE Volatility Index (VIX)   SELL   10/16/2017    -1   11.65
CBOE Volatility Index (VIX)   SELL   10/16/2017    -1   11.65
CBOE Volatility Index (VIX)   SELL   10/16/2017    -1   11.65
CBOE Volatility Index (VIX)   SELL   10/16/2017    -1   11.65
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CBOE Volatility Index (VIX)   SELL   10/16/2017   -1   11.65
CBOE Volatility Index (VIX)   SELL   10/16/2017   -1   11.65
CBOE Volatility Index (VIX)   BUY    10/16/2017    1    11.7
CBOE Volatility Index (VIX)   BUY    10/16/2017    2    11.7
CBOE Volatility Index (VIX)   BUY    10/17/2017    1   11.75
CBOE Volatility Index (VIX)   BUY    10/17/2017    2   11.75
CBOE Volatility Index (VIX)   BUY    10/18/2017    1    11.6
CBOE Volatility Index (VIX)   BUY    10/18/2017    4    11.6
CBOE Volatility Index (VIX)   BUY    10/19/2017    1    11.5
CBOE Volatility Index (VIX)   SELL   10/20/2017   -2    11.3
CBOE Volatility Index (VIX)   BUY    10/20/2017    2   11.35
CBOE Volatility Index (VIX)   BUY    10/23/2017    1    11.9
CBOE Volatility Index (VIX)   BUY    10/24/2017    1   11.95
CBOE Volatility Index (VIX)   BUY    10/25/2017    1   12.05
CBOE Volatility Index (VIX)   BUY    10/25/2017    1     12
CBOE Volatility Index (VIX)   BUY    10/25/2017    1   12.05
CBOE Volatility Index (VIX)   SELL   10/27/2017   -1    11.4
CBOE Volatility Index (VIX)   SELL   10/30/2017   -1    11.6
CBOE Volatility Index (VIX)   SELL   10/31/2017   -2   11.25
CBOE Volatility Index (VIX)   SELL   10/31/2017   -1   11.25
CBOE Volatility Index (VIX)   SELL   11/1/2017    -1   11.35
CBOE Volatility Index (VIX)   SELL   11/2/2017    -1   11.15
CBOE Volatility Index (VIX)   SELL   11/2/2017    -1   11.15
CBOE Volatility Index (VIX)   SELL   11/3/2017    -1   10.95
CBOE Volatility Index (VIX)   SELL   11/6/2017    -2    10.7
CBOE Volatility Index (VIX)   SELL   11/6/2017    -1    10.7
CBOE Volatility Index (VIX)   SELL   11/6/2017    -1    10.7
CBOE Volatility Index (VIX)   BUY    11/9/2017     1   11.15
CBOE Volatility Index (VIX)   BUY    11/10/2017    1    11.6
CBOE Volatility Index (VIX)   BUY    11/13/2017    1   11.65
CBOE Volatility Index (VIX)   BUY    11/13/2017    1    11.5
CBOE Volatility Index (VIX)   BUY    11/13/2017    1    11.6
CBOE Volatility Index (VIX)   BUY    11/13/2017    1   11.65
CBOE Volatility Index (VIX)   BUY    11/13/2017    1   11.65
CBOE Volatility Index (VIX)   BUY    11/13/2017    1   11.65
CBOE Volatility Index (VIX)   BUY    11/13/2017    1   11.65
CBOE Volatility Index (VIX)   BUY    11/13/2017    1   11.65
CBOE Volatility Index (VIX)   BUY    11/13/2017    1   11.65
CBOE Volatility Index (VIX)   BUY    11/13/2017    1   11.65
CBOE Volatility Index (VIX)   BUY    11/13/2017    1    11.7
CBOE Volatility Index (VIX)   BUY    11/13/2017    2   11.65
CBOE Volatility Index (VIX)   BUY    11/13/2017    2    11.6
CBOE Volatility Index (VIX)   BUY    11/13/2017    2   11.65
CBOE Volatility Index (VIX)   BUY    11/13/2017    2   11.65
CBOE Volatility Index (VIX)   BUY    11/13/2017    8   11.55
CBOE Volatility Index (VIX)   BUY    11/13/2017   28   11.45
CBOE Volatility Index (VIX)   BUY    11/13/2017   29    11.5
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CBOE Volatility Index (VIX)   BUY    11/13/2017   70     11.5
CBOE Volatility Index (VIX)   SELL   11/13/2017   -61    12.5
CBOE Volatility Index (VIX)   SELL   11/13/2017   -28   12.55
CBOE Volatility Index (VIX)   SELL   11/13/2017   -12   12.65
CBOE Volatility Index (VIX)   SELL   11/13/2017    -7   12.65
CBOE Volatility Index (VIX)   SELL   11/13/2017    -5    12.5
CBOE Volatility Index (VIX)   SELL   11/13/2017    -5    12.7
CBOE Volatility Index (VIX)   SELL   11/13/2017    -4    12.5
CBOE Volatility Index (VIX)   SELL   11/13/2017    -4    12.5
CBOE Volatility Index (VIX)   SELL   11/13/2017    -4    12.5
CBOE Volatility Index (VIX)   SELL   11/13/2017    -3    12.6
CBOE Volatility Index (VIX)   SELL   11/13/2017    -3    12.5
CBOE Volatility Index (VIX)   SELL   11/13/2017    -3    12.5
CBOE Volatility Index (VIX)   SELL   11/13/2017    -3    12.5
CBOE Volatility Index (VIX)   SELL   11/13/2017    -2    12.5
CBOE Volatility Index (VIX)   SELL   11/13/2017    -2    12.5
CBOE Volatility Index (VIX)   SELL   11/13/2017    -2    12.5
CBOE Volatility Index (VIX)   SELL   11/13/2017    -2    12.5
CBOE Volatility Index (VIX)   SELL   11/13/2017    -2    12.5
CBOE Volatility Index (VIX)   SELL   11/13/2017    -1    12.5
CBOE Volatility Index (VIX)   SELL   11/13/2017    -1    12.5
CBOE Volatility Index (VIX)   BUY    11/13/2017     3    12.8
CBOE Volatility Index (VIX)   BUY    11/13/2017     4    12.8
CBOE Volatility Index (VIX)   BUY    11/14/2017     2    12.7
CBOE Volatility Index (VIX)   BUY    11/14/2017     4    12.7
CBOE Volatility Index (VIX)   BUY    11/15/2017     2    13.2
CBOE Volatility Index (VIX)   BUY    11/15/2017     3    13.2
CBOE Volatility Index (VIX)   SELL   11/16/2017    -1   12.65
CBOE Volatility Index (VIX)   BUY    11/16/2017     2    12.7
CBOE Volatility Index (VIX)   BUY    11/17/2017     2    12.6
CBOE Volatility Index (VIX)   SELL   11/20/2017    -2   12.05
CBOE Volatility Index (VIX)   SELL   11/20/2017    -2   12.05
CBOE Volatility Index (VIX)   SELL   11/21/2017    -1   11.65
CBOE Volatility Index (VIX)   SELL   11/21/2017    -1    11.7
CBOE Volatility Index (VIX)   SELL   11/22/2017    -2   11.45
CBOE Volatility Index (VIX)   SELL   11/22/2017    -2   11.45
CBOE Volatility Index (VIX)   SELL   11/24/2017    -2    11.4
CBOE Volatility Index (VIX)   SELL   11/24/2017    -2    11.4
CBOE Volatility Index (VIX)   SELL   11/27/2017    -1   11.35
CBOE Volatility Index (VIX)   SELL   11/28/2017    -1    11.2
CBOE Volatility Index (VIX)   BUY    12/1/2017      1   11.85
CBOE Volatility Index (VIX)   BUY    12/1/2017      1   11.95
CBOE Volatility Index (VIX)   SELL   12/4/2017     -6    11.9
CBOE Volatility Index (VIX)   SELL   12/4/2017     -3   11.85
CBOE Volatility Index (VIX)   SELL   12/4/2017     -3    11.9
CBOE Volatility Index (VIX)   SELL   12/4/2017     -2    11.9
CBOE Volatility Index (VIX)   SELL   12/4/2017     -1   11.85
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CBOE Volatility Index (VIX)   BUY    12/5/2017     2    11.9
CBOE Volatility Index (VIX)   SELL   12/7/2017    -1   11.15
CBOE Volatility Index (VIX)   SELL   12/7/2017    -1   11.15
CBOE Volatility Index (VIX)   SELL   12/8/2017    -2   10.85
CBOE Volatility Index (VIX)   SELL   12/8/2017    -1    10.8
CBOE Volatility Index (VIX)   SELL   12/8/2017    -1    10.8
CBOE Volatility Index (VIX)   SELL   12/11/2017   -4   10.35
CBOE Volatility Index (VIX)   SELL   12/11/2017   -2   10.35
CBOE Volatility Index (VIX)   SELL   12/12/2017   -3    10.4
CBOE Volatility Index (VIX)   SELL   12/12/2017   -2    10.4
CBOE Volatility Index (VIX)   SELL   12/13/2017   -2   10.45
CBOE Volatility Index (VIX)   SELL   12/13/2017   -2   10.45
CBOE Volatility Index (VIX)   SELL   12/14/2017   -1    10.4
CBOE Volatility Index (VIX)   BUY    12/14/2017    4   10.45
CBOE Volatility Index (VIX)   BUY    12/14/2017   61    10.4
CBOE Volatility Index (VIX)   SELL   12/15/2017   -1    9.9
CBOE Volatility Index (VIX)   SELL   12/15/2017   -1    9.9
CBOE Volatility Index (VIX)   BUY    12/18/2017    1    9.9
CBOE Volatility Index (VIX)   BUY    12/18/2017    1    9.9
CBOE Volatility Index (VIX)   BUY    12/18/2017    1    9.9
CBOE Volatility Index (VIX)   BUY    12/18/2017    1    9.9
CBOE Volatility Index (VIX)   BUY    12/18/2017    1    9.9
CBOE Volatility Index (VIX)   BUY    12/18/2017    1    9.9
CBOE Volatility Index (VIX)   BUY    12/18/2017    1    9.95
CBOE Volatility Index (VIX)   BUY    12/18/2017    1    9.95
CBOE Volatility Index (VIX)   BUY    12/18/2017    1    9.95
CBOE Volatility Index (VIX)   BUY    12/18/2017    1    9.95
CBOE Volatility Index (VIX)   BUY    12/18/2017    1     10
CBOE Volatility Index (VIX)   BUY    12/18/2017    1     10
CBOE Volatility Index (VIX)   BUY    12/18/2017    1     10
CBOE Volatility Index (VIX)   BUY    12/18/2017    2     10
CBOE Volatility Index (VIX)   BUY    12/18/2017    2    9.9
CBOE Volatility Index (VIX)   BUY    12/18/2017    2    9.9
CBOE Volatility Index (VIX)   BUY    12/18/2017    2    9.9
CBOE Volatility Index (VIX)   BUY    12/18/2017    2    9.9
CBOE Volatility Index (VIX)   BUY    12/18/2017    2    9.9
CBOE Volatility Index (VIX)   BUY    12/18/2017    2    9.9
CBOE Volatility Index (VIX)   BUY    12/18/2017    2    9.95
CBOE Volatility Index (VIX)   BUY    12/18/2017    2    9.95
CBOE Volatility Index (VIX)   BUY    12/18/2017    2     10
CBOE Volatility Index (VIX)   BUY    12/18/2017    2     10
CBOE Volatility Index (VIX)   BUY    12/18/2017    2     10
CBOE Volatility Index (VIX)   BUY    12/18/2017    3    9.8
CBOE Volatility Index (VIX)   BUY    12/18/2017    3    9.9
CBOE Volatility Index (VIX)   BUY    12/18/2017    3    9.85
CBOE Volatility Index (VIX)   BUY    12/18/2017    3    9.9
CBOE Volatility Index (VIX)   BUY    12/18/2017    3     10
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CBOE Volatility Index (VIX)   BUY    12/18/2017     4    9.95
CBOE Volatility Index (VIX)   BUY    12/18/2017     5    9.85
CBOE Volatility Index (VIX)   BUY    12/18/2017     5    9.9
CBOE Volatility Index (VIX)   BUY    12/18/2017     6    9.9
CBOE Volatility Index (VIX)   BUY    12/18/2017     7    9.85
CBOE Volatility Index (VIX)   BUY    12/18/2017   12     9.9
CBOE Volatility Index (VIX)   BUY    12/18/2017   28     9.85
CBOE Volatility Index (VIX)   SELL   12/18/2017   -38   11.25
CBOE Volatility Index (VIX)   SELL   12/18/2017   -34   11.25
CBOE Volatility Index (VIX)   SELL   12/18/2017   -22    11.3
CBOE Volatility Index (VIX)   SELL   12/18/2017    -6    11.2
CBOE Volatility Index (VIX)   SELL   12/18/2017    -3    11.2
CBOE Volatility Index (VIX)   SELL   12/18/2017    -2   11.35
CBOE Volatility Index (VIX)   SELL   12/18/2017    -2    11.2
CBOE Volatility Index (VIX)   SELL   12/18/2017    -2    11.2
CBOE Volatility Index (VIX)   SELL   12/18/2017    -2    11.2
CBOE Volatility Index (VIX)   SELL   12/18/2017    -1    11.2
CBOE Volatility Index (VIX)   SELL   12/18/2017    -1    11.2
CBOE Volatility Index (VIX)   SELL   12/18/2017    -1    11.2
CBOE Volatility Index (VIX)   SELL   12/18/2017    -1    11.2
CBOE Volatility Index (VIX)   SELL   12/18/2017    -1    11.2
CBOE Volatility Index (VIX)   SELL   12/18/2017    -1    11.2
CBOE Volatility Index (VIX)   SELL   12/18/2017    -1    11.2
CBOE Volatility Index (VIX)   SELL   12/18/2017    -1    11.2
CBOE Volatility Index (VIX)   BUY    12/18/2017     1    11.3
CBOE Volatility Index (VIX)   BUY    12/18/2017     1   11.35
CBOE Volatility Index (VIX)   BUY    12/18/2017     1    11.3
CBOE Volatility Index (VIX)   SELL   12/19/2017   -53   11.35
CBOE Volatility Index (VIX)   SELL   12/19/2017    -8   11.35
CBOE Volatility Index (VIX)   SELL   12/19/2017    -1   11.35
CBOE Volatility Index (VIX)   BUY    12/19/2017     2    11.4
CBOE Volatility Index (VIX)   BUY    12/20/2017     1   11.35
CBOE Volatility Index (VIX)   BUY    12/20/2017     1   11.35
CBOE Volatility Index (VIX)   BUY    12/20/2017     3    11.4
CBOE Volatility Index (VIX)   BUY    12/21/2017     1    11.3
CBOE Volatility Index (VIX)   BUY    12/21/2017     1    11.3
CBOE Volatility Index (VIX)   SELL   12/22/2017    -1   11.35
CBOE Volatility Index (VIX)   BUY    12/22/2017     2    11.4
CBOE Volatility Index (VIX)   BUY    12/26/2017     1    11.4
CBOE Volatility Index (VIX)   SELL   12/28/2017    -1    11.2
CBOE Volatility Index (VIX)   SELL    1/3/2018     -2   10.65
CBOE Volatility Index (VIX)   SELL    1/3/2018     -2   10.65
CBOE Volatility Index (VIX)   SELL    1/4/2018     -3   10.55
CBOE Volatility Index (VIX)   SELL    1/5/2018     -2    10.5
CBOE Volatility Index (VIX)   SELL    1/5/2018     -1    10.5
CBOE Volatility Index (VIX)   SELL    1/8/2018     -1   10.45
CBOE Volatility Index (VIX)   SELL   1/10/2018     -9   10.55
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CBOE Volatility Index (VIX)   SELL   1/10/2018    -8   10.55
CBOE Volatility Index (VIX)   SELL   1/10/2018    -2   10.55
CBOE Volatility Index (VIX)   BUY    1/12/2018     1    10.8
CBOE Volatility Index (VIX)   BUY    1/12/2018     1    10.8
CBOE Volatility Index (VIX)   BUY    1/12/2018     1    10.8
CBOE Volatility Index (VIX)   BUY    1/12/2018     1    10.8
CBOE Volatility Index (VIX)   BUY    1/12/2018     1    10.8
CBOE Volatility Index (VIX)   BUY    1/12/2018     2    10.6
CBOE Volatility Index (VIX)   BUY    1/12/2018     2    10.7
CBOE Volatility Index (VIX)   BUY    1/12/2018     2    10.8
CBOE Volatility Index (VIX)   BUY    1/12/2018     2    10.8
CBOE Volatility Index (VIX)   BUY    1/12/2018     2    10.8
CBOE Volatility Index (VIX)   BUY    1/12/2018     2   10.85
CBOE Volatility Index (VIX)   BUY    1/12/2018     3    10.8
CBOE Volatility Index (VIX)   BUY    1/12/2018     6   10.65
CBOE Volatility Index (VIX)   BUY    1/12/2018     8    10.7
CBOE Volatility Index (VIX)   BUY    1/12/2018     8    10.8
CBOE Volatility Index (VIX)   BUY    1/12/2018     9    10.8
CBOE Volatility Index (VIX)   BUY    1/12/2018   22     10.7
CBOE Volatility Index (VIX)   BUY    1/12/2018   34    10.65
CBOE Volatility Index (VIX)   BUY    1/12/2018   38     10.7
CBOE Volatility Index (VIX)   BUY    1/12/2018   53    10.75
CBOE Volatility Index (VIX)   SELL   1/12/2018   -58   11.55
CBOE Volatility Index (VIX)   SELL   1/12/2018   -42   11.55
CBOE Volatility Index (VIX)   SELL   1/12/2018   -32    11.5
CBOE Volatility Index (VIX)   SELL   1/12/2018   -21    11.5
CBOE Volatility Index (VIX)   SELL   1/12/2018   -10   11.55
CBOE Volatility Index (VIX)   SELL   1/12/2018    -6    11.6
CBOE Volatility Index (VIX)   SELL   1/12/2018    -4    11.5
CBOE Volatility Index (VIX)   SELL   1/12/2018    -4    11.5
CBOE Volatility Index (VIX)   SELL   1/12/2018    -2    11.5
CBOE Volatility Index (VIX)   SELL   1/12/2018    -2    11.5
CBOE Volatility Index (VIX)   SELL   1/12/2018    -2   11.55
CBOE Volatility Index (VIX)   SELL   1/12/2018    -2   11.55
CBOE Volatility Index (VIX)   SELL   1/12/2018    -1    11.5
CBOE Volatility Index (VIX)   SELL   1/12/2018    -1    11.5
CBOE Volatility Index (VIX)   SELL   1/12/2018    -1    11.5
CBOE Volatility Index (VIX)   SELL   1/12/2018    -1    11.5
CBOE Volatility Index (VIX)   SELL   1/12/2018    -1    11.5
CBOE Volatility Index (VIX)   SELL   1/12/2018    -1    11.5
CBOE Volatility Index (VIX)   SELL   1/12/2018    -1    11.5
CBOE Volatility Index (VIX)   SELL   1/12/2018    -1    11.5
CBOE Volatility Index (VIX)   SELL   1/12/2018    -1   11.55
CBOE Volatility Index (VIX)   SELL   1/12/2018    -1   11.55
CBOE Volatility Index (VIX)   SELL   1/12/2018    -1   11.55
CBOE Volatility Index (VIX)   SELL   1/12/2018    -1   11.55
CBOE Volatility Index (VIX)   SELL   1/12/2018    -1   11.55
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CBOE Volatility Index (VIX)   BUY    1/12/2018     1    11.6
CBOE Volatility Index (VIX)   BUY    1/12/2018     1   11.65
CBOE Volatility Index (VIX)   BUY    1/12/2018     1    11.6
CBOE Volatility Index (VIX)   BUY    1/12/2018     1   11.65
CBOE Volatility Index (VIX)   BUY    1/16/2018     1    12.2
CBOE Volatility Index (VIX)   BUY    1/16/2018     1    12.2
CBOE Volatility Index (VIX)   BUY    1/16/2018     2   12.15
CBOE Volatility Index (VIX)   BUY    1/16/2018     4   12.15
CBOE Volatility Index (VIX)   BUY    1/17/2018     2    12.1
CBOE Volatility Index (VIX)   BUY    1/17/2018     4    12.1
CBOE Volatility Index (VIX)   BUY    1/18/2018     1    12.1
CBOE Volatility Index (VIX)   BUY    1/18/2018     1   12.15
CBOE Volatility Index (VIX)   BUY    1/18/2018   10    12.15
CBOE Volatility Index (VIX)   BUY    1/18/2018   21    12.15
CBOE Volatility Index (VIX)   BUY    1/18/2018   32     12.1
CBOE Volatility Index (VIX)   SELL   1/19/2018    -1    11.9
CBOE Volatility Index (VIX)   BUY    1/19/2018     1   11.95
CBOE Volatility Index (VIX)   BUY    1/19/2018     2    11.9
CBOE Volatility Index (VIX)   SELL   1/22/2018    -1    11.8
CBOE Volatility Index (VIX)   SELL   1/23/2018   -40   11.95
CBOE Volatility Index (VIX)   SELL   1/23/2018    -7   11.95
CBOE Volatility Index (VIX)   SELL   1/23/2018    -7   11.95
CBOE Volatility Index (VIX)   SELL   1/23/2018    -6   11.95
CBOE Volatility Index (VIX)   SELL   1/23/2018    -1   11.95
CBOE Volatility Index (VIX)   BUY    1/24/2018     1    12.2
CBOE Volatility Index (VIX)   BUY    1/25/2018     1   12.45
CBOE Volatility Index (VIX)   BUY    1/25/2018     1   12.45
CBOE Volatility Index (VIX)   BUY    1/26/2018     1   12.35
CBOE Volatility Index (VIX)   BUY    1/29/2018     2   13.55
CBOE Volatility Index (VIX)   BUY    1/29/2018   58    13.55
CBOE Volatility Index (VIX)   BUY    1/30/2018     1     14
CBOE Volatility Index (VIX)   BUY    1/30/2018     1     14
CBOE Volatility Index (VIX)   BUY    1/30/2018     6     14
CBOE Volatility Index (VIX)   BUY    1/30/2018     6     14
CBOE Volatility Index (VIX)   BUY    1/30/2018     7     14
CBOE Volatility Index (VIX)   BUY    1/30/2018   42      14
CBOE Volatility Index (VIX)   BUY    1/31/2018     1   13.45
CBOE Volatility Index (VIX)   BUY    1/31/2018     1    13.5
CBOE Volatility Index (VIX)   BUY    1/31/2018     1    13.5
CBOE Volatility Index (VIX)   BUY    1/31/2018     1    13.5
CBOE Volatility Index (VIX)   BUY    1/31/2018     1    13.5
CBOE Volatility Index (VIX)   BUY    1/31/2018     1    13.5
CBOE Volatility Index (VIX)   BUY    1/31/2018     2    13.5
CBOE Volatility Index (VIX)   BUY    1/31/2018     2    13.5
CBOE Volatility Index (VIX)   BUY    1/31/2018     7    13.5
CBOE Volatility Index (VIX)   BUY    1/31/2018     7    13.5
CBOE Volatility Index (VIX)   BUY    1/31/2018   40     13.5
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CBOE Volatility Index (VIX)   BUY    2/1/2018    1     13.25
CBOE Volatility Index (VIX)   SELL   2/2/2018   -2     15.55
CBOE Volatility Index (VIX)   BUY    2/2/2018    1      15.6
CBOE Volatility Index (VIX)   BUY    2/2/2018    1     15.65
CBOE Volatility Index (VIX)   BUY    2/2/2018    1      15.6
CBOE Volatility Index (VIX)   BUY    2/2/2018    1      15.6
CBOE Volatility Index (VIX)   BUY    2/2/2018    1      15.6
CBOE Volatility Index (VIX)   BUY    2/2/2018    1      15.6
CBOE Volatility Index (VIX)   BUY    2/2/2018    1      15.6
CBOE Volatility Index (VIX)   BUY    2/2/2018    1     15.65
CBOE Volatility Index (VIX)   BUY    2/2/2018    1     15.65
CBOE Volatility Index (VIX)   BUY    2/2/2018    1     15.65
CBOE Volatility Index (VIX)   BUY    2/2/2018    1     15.65
CBOE Volatility Index (VIX)   BUY    2/2/2018    1     15.65
CBOE Volatility Index (VIX)   BUY    2/2/2018    5      15.6
CBOE Volatility Index (VIX)   BUY    2/2/2018    5     15.65
CBOE Volatility Index (VIX)   SELL   2/5/2018   -7     32.85
CBOE Volatility Index (VIX)   SELL   2/5/2018   -2     32.25
CBOE Volatility Index (VIX)   SELL   2/5/2018   -1      31.9
CBOE Volatility Index (VIX)   SELL   2/5/2018   -1      32.4
CBOE Volatility Index (VIX)   SELL   2/5/2018   -1     32.45
CBOE Volatility Index (VIX)   SELL   2/5/2018   -1     32.55
CBOE Volatility Index (VIX)   SELL   2/5/2018   -1      32.8
CBOE Volatility Index (VIX)   SELL   2/5/2018   -1     32.85
CBOE Volatility Index (VIX)   SELL   2/5/2018   -1     32.85
CBOE Volatility Index (VIX)   BUY    2/5/2018    1      32.1
CBOE Volatility Index (VIX)   BUY    2/5/2018    1     32.45
CBOE Volatility Index (VIX)   BUY    2/5/2018    1      32.8
CBOE Volatility Index (VIX)   BUY    2/5/2018    1     32.95
CBOE Volatility Index (VIX)   BUY    2/5/2018    1     32.85
CBOE Volatility Index (VIX)   BUY    2/5/2018    1     32.45
CBOE Volatility Index (VIX)   BUY    2/5/2018    1      32.8
CBOE Volatility Index (VIX)   BUY    2/5/2018    1      32.9
CBOE Volatility Index (VIX)   BUY    2/5/2018    1     32.95
CBOE Volatility Index (VIX)   BUY    2/5/2018    2     32.85
CBOE Volatility Index (VIX)   BUY    2/5/2018    2      32.9
CBOE Volatility Index (VIX)   BUY    2/5/2018    2      32.9
CBOE Volatility Index (VIX)   BUY    2/5/2018    3      32.9
CBOE Volatility Index (VIX)   SELL   2/6/2018   -5      24.1
CBOE Volatility Index (VIX)   SELL   2/6/2018   -1     23.25
CBOE Volatility Index (VIX)   SELL   2/6/2018   -1      23.8
CBOE Volatility Index (VIX)   SELL   2/6/2018   -1       24
CBOE Volatility Index (VIX)   SELL   2/6/2018   -1     24.05
CBOE Volatility Index (VIX)   SELL   2/6/2018   -1     24.15
CBOE Volatility Index (VIX)   SELL   2/6/2018   -1     24.25
CBOE Volatility Index (VIX)   SELL   2/6/2018   -1     24.15
CBOE Volatility Index (VIX)   BUY    2/6/2018    1      23.3
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CBOE Volatility Index (VIX)   BUY     2/6/2018    1    23.55
CBOE Volatility Index (VIX)   BUY     2/6/2018    1      24
CBOE Volatility Index (VIX)   BUY     2/6/2018    2     24.2
CBOE Volatility Index (VIX)   BUY     2/6/2018    2    24.25
CBOE Volatility Index (VIX)   BUY     2/6/2018    2     24.3
CBOE Volatility Index (VIX)   BUY     2/6/2018    4    24.25
CBOE Volatility Index (VIX)   SELL    2/7/2018   -5    23.45
CBOE Volatility Index (VIX)   SELL    2/7/2018   -1    23.05
CBOE Volatility Index (VIX)   SELL    2/7/2018   -1    23.35
CBOE Volatility Index (VIX)   SELL    2/7/2018   -1     23.4
CBOE Volatility Index (VIX)   BUY     2/7/2018    1     23.1
CBOE Volatility Index (VIX)   BUY     2/7/2018    1    23.15
CBOE Volatility Index (VIX)   BUY     2/7/2018    1     23.4
CBOE Volatility Index (VIX)   BUY     2/7/2018    1    23.45
CBOE Volatility Index (VIX)   BUY     2/7/2018    1     23.5
CBOE Volatility Index (VIX)   BUY     2/7/2018    1     23.5
CBOE Volatility Index (VIX)   BUY     2/7/2018    1     23.5
CBOE Volatility Index (VIX)   BUY     2/7/2018    2    23.35
CBOE Volatility Index (VIX)   BUY     2/7/2018    4     23.5
CBOE Volatility Index (VIX)   BUY     2/8/2018    1     28.1
CBOE Volatility Index (VIX)   BUY     2/8/2018    1    28.05
CBOE Volatility Index (VIX)   BUY     2/8/2018    1     28.1
CBOE Volatility Index (VIX)   BUY     2/8/2018    1    28.05
CBOE Volatility Index (VIX)   BUY     2/8/2018    2    28.15
CBOE Volatility Index (VIX)   BUY     2/8/2018    2     28.1
CBOE Volatility Index (VIX)   BUY     2/8/2018    3    28.05
CBOE Volatility Index (VIX)   BUY     2/8/2018    5    28.05
CBOE Volatility Index (VIX)   SELL    2/9/2018   -1     27.2
CBOE Volatility Index (VIX)   SELL    2/9/2018   -1    27.05
CBOE Volatility Index (VIX)   BUY     2/9/2018    1     27.1
CBOE Volatility Index (VIX)   BUY     2/9/2018    1     27.2
CBOE Volatility Index (VIX)   BUY     2/9/2018    1    27.25
CBOE Volatility Index (VIX)   SELL   2/12/2018   -5     25.8
CBOE Volatility Index (VIX)   SELL   2/12/2018   -4     25.4
CBOE Volatility Index (VIX)   SELL   2/12/2018   -4     25.7
CBOE Volatility Index (VIX)   SELL   2/12/2018   -3     25.2
CBOE Volatility Index (VIX)   SELL   2/12/2018   -3    25.85
CBOE Volatility Index (VIX)   SELL   2/12/2018   -2     25.1
CBOE Volatility Index (VIX)   SELL   2/12/2018   -2     25.5
CBOE Volatility Index (VIX)   SELL   2/12/2018   -2    25.55
CBOE Volatility Index (VIX)   SELL   2/12/2018   -2     25.9
CBOE Volatility Index (VIX)   SELL   2/12/2018   -2    25.05
CBOE Volatility Index (VIX)   SELL   2/12/2018   -2    25.25
CBOE Volatility Index (VIX)   SELL   2/12/2018   -2     25.4
CBOE Volatility Index (VIX)   SELL   2/12/2018   -2    25.45
CBOE Volatility Index (VIX)   SELL   2/12/2018   -2    25.95
CBOE Volatility Index (VIX)   SELL   2/12/2018   -1     24.8
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CBOE Volatility Index (VIX)   SELL   2/12/2018   -1    24.85
CBOE Volatility Index (VIX)   SELL   2/12/2018   -1      25
CBOE Volatility Index (VIX)   SELL   2/12/2018   -1    25.15
CBOE Volatility Index (VIX)   SELL   2/12/2018   -1    25.25
CBOE Volatility Index (VIX)   SELL   2/12/2018   -1    25.35
CBOE Volatility Index (VIX)   SELL   2/12/2018   -1     25.4
CBOE Volatility Index (VIX)   SELL   2/12/2018   -1     25.6
CBOE Volatility Index (VIX)   SELL   2/12/2018   -1     25.6
CBOE Volatility Index (VIX)   SELL   2/12/2018   -1    25.65
CBOE Volatility Index (VIX)   SELL   2/12/2018   -1    25.75
CBOE Volatility Index (VIX)   SELL   2/12/2018   -1      26
CBOE Volatility Index (VIX)   SELL   2/12/2018   -1    24.85
CBOE Volatility Index (VIX)   SELL   2/12/2018   -1     24.9
CBOE Volatility Index (VIX)   SELL   2/12/2018   -1     25.3
CBOE Volatility Index (VIX)   SELL   2/12/2018   -1     25.3
CBOE Volatility Index (VIX)   SELL   2/12/2018   -1     25.5
CBOE Volatility Index (VIX)   SELL   2/12/2018   -1     25.5
CBOE Volatility Index (VIX)   SELL   2/12/2018   -1    25.55
CBOE Volatility Index (VIX)   SELL   2/12/2018   -1    25.75
CBOE Volatility Index (VIX)   SELL   2/12/2018   -1    25.75
CBOE Volatility Index (VIX)   SELL   2/12/2018   -1    25.85
CBOE Volatility Index (VIX)   SELL   2/12/2018   -1    25.95
CBOE Volatility Index (VIX)   SELL   2/12/2018   -1    25.95
CBOE Volatility Index (VIX)   SELL   2/12/2018   -1      26
CBOE Volatility Index (VIX)   BUY    2/12/2018    1      20
CBOE Volatility Index (VIX)   BUY    2/12/2018    1     19.9
CBOE Volatility Index (VIX)   BUY    2/12/2018    1      20
CBOE Volatility Index (VIX)   BUY    2/12/2018    1     19.9
CBOE Volatility Index (VIX)   BUY    2/12/2018    1    20.45
CBOE Volatility Index (VIX)   BUY    2/12/2018    1     20.5
CBOE Volatility Index (VIX)   BUY    2/12/2018    1     20.6
CBOE Volatility Index (VIX)   BUY    2/12/2018    1      20
CBOE Volatility Index (VIX)   BUY    2/12/2018    1      20
CBOE Volatility Index (VIX)   BUY    2/12/2018    2     20.3
CBOE Volatility Index (VIX)   BUY    2/12/2018    2    20.55
CBOE Volatility Index (VIX)   BUY    2/12/2018    2    20.65
CBOE Volatility Index (VIX)   BUY    2/12/2018    2    20.35
CBOE Volatility Index (VIX)   BUY    2/12/2018    3    19.95
CBOE Volatility Index (VIX)   BUY    2/12/2018    3      20
CBOE Volatility Index (VIX)   BUY    2/12/2018    3    20.05
CBOE Volatility Index (VIX)   BUY    2/12/2018    4     20.1
CBOE Volatility Index (VIX)   BUY    2/12/2018    6    20.15
CBOE Volatility Index (VIX)   BUY    2/12/2018    6    20.35
CBOE Volatility Index (VIX)   BUY    2/12/2018    7     20.2
CBOE Volatility Index (VIX)   BUY    2/12/2018    7    20.45
CBOE Volatility Index (VIX)   BUY    2/12/2018    9     20.4
CBOE Volatility Index (VIX)   BUY    2/13/2018    1     19.9
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CBOE Volatility Index (VIX)   BUY    2/13/2018     1    19.9
CBOE Volatility Index (VIX)   BUY    2/13/2018     5     20
CBOE Volatility Index (VIX)   SELL   2/14/2018    -3   17.85
CBOE Volatility Index (VIX)   SELL   2/14/2018    -1    17.9
CBOE Volatility Index (VIX)   SELL   2/14/2018    -1   17.85
CBOE Volatility Index (VIX)   SELL   2/14/2018    -1   17.85
CBOE Volatility Index (VIX)   BUY    2/14/2018     1   17.95
CBOE Volatility Index (VIX)   BUY    2/14/2018     2    17.9
CBOE Volatility Index (VIX)   BUY    2/14/2018     3    17.9
CBOE Volatility Index (VIX)   BUY    2/15/2018     1    17.5
CBOE Volatility Index (VIX)   BUY    2/15/2018     1   17.55
CBOE Volatility Index (VIX)   BUY    2/15/2018     1    17.5
CBOE Volatility Index (VIX)   BUY    2/15/2018     3   17.55
CBOE Volatility Index (VIX)   BUY    2/16/2018     1    17.7
CBOE Volatility Index (VIX)   BUY    2/16/2018     1   17.75
CBOE Volatility Index (VIX)   BUY    2/16/2018     1    17.7
CBOE Volatility Index (VIX)   BUY    2/16/2018     1   17.75
CBOE Volatility Index (VIX)   SELL   2/20/2018    -1    18.4
CBOE Volatility Index (VIX)   SELL   2/21/2018    -1    18.5
CBOE Volatility Index (VIX)   BUY    2/21/2018     1   18.55
CBOE Volatility Index (VIX)   SELL   2/22/2018    -3   18.05
CBOE Volatility Index (VIX)   SELL   2/22/2018    -3   18.05
CBOE Volatility Index (VIX)   SELL   2/22/2018    -1     18
CBOE Volatility Index (VIX)   SELL   2/23/2018    -9    16.8
CBOE Volatility Index (VIX)   SELL   2/23/2018    -7    16.8
CBOE Volatility Index (VIX)   SELL   2/23/2018    -7   16.75
CBOE Volatility Index (VIX)   SELL   2/23/2018    -6   16.75
CBOE Volatility Index (VIX)   SELL   2/23/2018    -6    16.8
CBOE Volatility Index (VIX)   SELL   2/23/2018    -4   16.75
CBOE Volatility Index (VIX)   SELL   2/23/2018    -2   16.75
CBOE Volatility Index (VIX)   SELL   2/23/2018    -2   16.75
CBOE Volatility Index (VIX)   SELL   2/23/2018    -2    16.8
CBOE Volatility Index (VIX)   SELL   2/23/2018    -2    16.8
CBOE Volatility Index (VIX)   SELL   2/23/2018    -1    16.8
CBOE Volatility Index (VIX)   SELL   2/23/2018    -1    16.8
CBOE Volatility Index (VIX)   SELL   2/23/2018    -1    16.8
CBOE Volatility Index (VIX)   SELL   2/23/2018    -1    16.8
CBOE Volatility Index (VIX)   SELL   2/26/2018   -28   16.15
CBOE Volatility Index (VIX)   SELL   2/26/2018    -5   16.15
CBOE Volatility Index (VIX)   SELL   2/26/2018    -3   16.15
CBOE Volatility Index (VIX)   SELL   2/26/2018    -3   16.15
CBOE Volatility Index (VIX)   SELL   2/26/2018    -2   16.15
CBOE Volatility Index (VIX)   SELL   2/26/2018    -1   16.15
CBOE Volatility Index (VIX)   SELL   2/26/2018    -1   16.15
CBOE Volatility Index (VIX)   SELL   2/26/2018    -1   16.15
CBOE Volatility Index (VIX)   SELL   2/26/2018    -1   16.15
CBOE Volatility Index (VIX)   SELL   2/26/2018    -1   16.15
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CBOE Volatility Index (VIX)   SELL   2/26/2018    -1   16.15
CBOE Volatility Index (VIX)   SELL   2/26/2018    -1   16.15
CBOE Volatility Index (VIX)   SELL   2/26/2018    -1   16.15
CBOE Volatility Index (VIX)   SELL   2/26/2018    -1   16.15
CBOE Volatility Index (VIX)   SELL   2/26/2018    -1   16.15
CBOE Volatility Index (VIX)   SELL   2/27/2018    -7   17.55
CBOE Volatility Index (VIX)   SELL   2/28/2018    -1   18.55
CBOE Volatility Index (VIX)   BUY    2/28/2018     1    18.6
CBOE Volatility Index (VIX)   BUY    2/28/2018     1    18.6
CBOE Volatility Index (VIX)   BUY    2/28/2018     2   18.65
CBOE Volatility Index (VIX)   BUY    2/28/2018     3    18.6
CBOE Volatility Index (VIX)   BUY    2/28/2018     7    18.6
CBOE Volatility Index (VIX)   BUY    2/28/2018   28     18.6
CBOE Volatility Index (VIX)   BUY     3/1/2018     8     20
CBOE Volatility Index (VIX)   BUY     3/1/2018   10      20
CBOE Volatility Index (VIX)   BUY     3/1/2018   12      20
CBOE Volatility Index (VIX)   BUY     3/1/2018   19      20
CBOE Volatility Index (VIX)   SELL    3/2/2018    -3     19
CBOE Volatility Index (VIX)   SELL    3/2/2018    -2   19.05
CBOE Volatility Index (VIX)   SELL    3/2/2018    -1   19.05
CBOE Volatility Index (VIX)   BUY     3/5/2018     1    18.3
CBOE Volatility Index (VIX)   BUY     3/6/2018     2   18.35
CBOE Volatility Index (VIX)   SELL    3/7/2018   -19    17.9
CBOE Volatility Index (VIX)   SELL    3/7/2018   -10   17.85
CBOE Volatility Index (VIX)   SELL    3/7/2018    -8   17.85
CBOE Volatility Index (VIX)   SELL    3/8/2018   -21   17.15
CBOE Volatility Index (VIX)   SELL    3/8/2018   -12    17.1
CBOE Volatility Index (VIX)   SELL    3/8/2018    -4   17.15
CBOE Volatility Index (VIX)   SELL    3/8/2018    -2    17.1
CBOE Volatility Index (VIX)   SELL    3/8/2018    -2    17.1
CBOE Volatility Index (VIX)   SELL    3/8/2018    -2    17.1
CBOE Volatility Index (VIX)   SELL    3/8/2018    -1    17.1
CBOE Volatility Index (VIX)   SELL    3/8/2018    -1    17.1
CBOE Volatility Index (VIX)   SELL    3/9/2018   -39    15.7
CBOE Volatility Index (VIX)   SELL   3/12/2018    -2   16.15
CBOE Volatility Index (VIX)   SELL   3/12/2018    -1   16.15
CBOE Volatility Index (VIX)   SELL   3/13/2018    -1   16.65
CBOE Volatility Index (VIX)   SELL   3/13/2018    -1    16.7
CBOE Volatility Index (VIX)   BUY    3/14/2018     2    17.4
CBOE Volatility Index (VIX)   BUY    3/15/2018     2   16.75
CBOE Volatility Index (VIX)   SELL   3/16/2018    -2   16.25
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                                            Schedule     A
                                           FTC - Dynamic

          Security            Buy / Sell       Date          Quantity   Price
CBOE Volatility Index (VIX)     SELL        4/20/2012          -26      19.65
CBOE Volatility Index (VIX)     SELL        4/20/2012           -8      19.65
CBOE Volatility Index (VIX)     SELL        4/20/2012           -4      19.65
CBOE Volatility Index (VIX)     SELL        4/20/2012           -4      19.65
CBOE Volatility Index (VIX)     SELL        4/23/2012           -2      20.55
CBOE Volatility Index (VIX)     SELL        4/24/2012           -1      19.75
CBOE Volatility Index (VIX)     SELL        4/25/2012          -20      18.55
CBOE Volatility Index (VIX)     SELL        4/26/2012           -3      17.95
CBOE Volatility Index (VIX)     SELL        4/27/2012           -6       18
CBOE Volatility Index (VIX)     SELL        4/30/2012           -3      18.45
CBOE Volatility Index (VIX)     SELL         5/1/2012           -2      17.95
CBOE Volatility Index (VIX)     SELL         5/2/2012           -5      18.05
CBOE Volatility Index (VIX)     SELL         5/3/2012           -4      18.75
CBOE Volatility Index (VIX)     SELL         5/4/2012           -1      19.8
CBOE Volatility Index (VIX)     SELL         5/4/2012           -1      19.85
CBOE Volatility Index (VIX)     BUY          5/7/2012            4      19.4
CBOE Volatility Index (VIX)     SELL         5/8/2012           -1      19.55
CBOE Volatility Index (VIX)     BUY         5/10/2012            4      19.35
CBOE Volatility Index (VIX)     BUY         5/11/2012            1      20.15
CBOE Volatility Index (VIX)     BUY         5/11/2012            1      20.15
CBOE Volatility Index (VIX)     BUY         5/11/2012            1      20.15
CBOE Volatility Index (VIX)     BUY         5/11/2012            1      20.15
CBOE Volatility Index (VIX)     BUY         5/11/2012            2      20.15
CBOE Volatility Index (VIX)     BUY         5/11/2012            2      20.15
CBOE Volatility Index (VIX)     BUY         5/11/2012            3      20.15
CBOE Volatility Index (VIX)     BUY         5/11/2012            3      20.15
CBOE Volatility Index (VIX)     BUY         5/11/2012            4      20.15
CBOE Volatility Index (VIX)     BUY         5/11/2012            5      20.15
CBOE Volatility Index (VIX)     BUY         5/11/2012            6      20.15
CBOE Volatility Index (VIX)     BUY         5/11/2012            8      20.1
CBOE Volatility Index (VIX)     BUY         5/11/2012           20      20.15
CBOE Volatility Index (VIX)     BUY         5/11/2012           26      20.15
CBOE Volatility Index (VIX)     SELL        5/11/2012          -41      21.4
CBOE Volatility Index (VIX)     SELL        5/11/2012           -8      21.4
CBOE Volatility Index (VIX)     SELL        5/11/2012           -8      21.4
CBOE Volatility Index (VIX)     SELL        5/11/2012           -4      21.4
CBOE Volatility Index (VIX)     SELL        5/11/2012           -4      21.4
CBOE Volatility Index (VIX)     SELL        5/11/2012           -3      21.4
CBOE Volatility Index (VIX)     SELL        5/11/2012           -2      21.4
CBOE Volatility Index (VIX)     SELL        5/11/2012           -2      21.4
CBOE Volatility Index (VIX)     SELL        5/11/2012           -2      21.4
CBOE Volatility Index (VIX)     SELL        5/11/2012           -2      21.4
CBOE Volatility Index (VIX)     SELL        5/11/2012           -2      21.4
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CBOE Volatility Index (VIX)   SELL    5/11/2012       -2        21.4
CBOE Volatility Index (VIX)   SELL    5/11/2012       -2        21.4
CBOE Volatility Index (VIX)   SELL    5/11/2012       -1        21.4
CBOE Volatility Index (VIX)   SELL    5/11/2012       -1        21.4
CBOE Volatility Index (VIX)   SELL    5/11/2012       -1        21.4
CBOE Volatility Index (VIX)   SELL    5/14/2012       -1        22.9
CBOE Volatility Index (VIX)   BUY     5/14/2012        4        22.9
CBOE Volatility Index (VIX)   BUY     5/15/2012        2        23.8
CBOE Volatility Index (VIX)   BUY     5/15/2012        2        23.85
CBOE Volatility Index (VIX)   BUY     5/16/2012        2        24.45
CBOE Volatility Index (VIX)   BUY     5/17/2012        8        26.15
CBOE Volatility Index (VIX)   BUY     5/17/2012       41        26.2
CBOE Volatility Index (VIX)   SELL    5/18/2012       -4         28
CBOE Volatility Index (VIX)   SELL    5/18/2012       -4         28
CBOE Volatility Index (VIX)   SELL    5/18/2012       -3         28
CBOE Volatility Index (VIX)   SELL    5/18/2012       -3         28
CBOE Volatility Index (VIX)   SELL    5/18/2012       -3         28
CBOE Volatility Index (VIX)   SELL    5/18/2012       -3         28
CBOE Volatility Index (VIX)   SELL    5/18/2012       -3         28
CBOE Volatility Index (VIX)   SELL    5/18/2012       -2         28
CBOE Volatility Index (VIX)   SELL    5/18/2012       -2         28
CBOE Volatility Index (VIX)   SELL    5/18/2012       -1         28
CBOE Volatility Index (VIX)   SELL    5/18/2012       -1         28
CBOE Volatility Index (VIX)   SELL    5/18/2012       -1         28
CBOE Volatility Index (VIX)   SELL    5/18/2012       -1         28
CBOE Volatility Index (VIX)   SELL    5/18/2012       -1         28
CBOE Volatility Index (VIX)   SELL    5/18/2012       -1         28
CBOE Volatility Index (VIX)   BUY     5/21/2012        1        24.35
CBOE Volatility Index (VIX)   BUY     5/21/2012        2        24.25
CBOE Volatility Index (VIX)   BUY     5/21/2012        3        24.4
CBOE Volatility Index (VIX)   BUY     5/22/2012        1        25.05
CBOE Volatility Index (VIX)   BUY     5/22/2012        4         25
CBOE Volatility Index (VIX)   BUY     5/23/2012        1        24.8
CBOE Volatility Index (VIX)   BUY     5/23/2012        2        24.85
CBOE Volatility Index (VIX)   BUY     5/24/2012        2        24.3
CBOE Volatility Index (VIX)   SELL    5/25/2012       -1        24.5
CBOE Volatility Index (VIX)   SELL    5/25/2012       -1        24.5
CBOE Volatility Index (VIX)   SELL    5/29/2012       -1        23.05
CBOE Volatility Index (VIX)   SELL    5/29/2012       -1        23.05
CBOE Volatility Index (VIX)   SELL    5/30/2012       -2        25.6
CBOE Volatility Index (VIX)   SELL    5/30/2012       -1        25.6
CBOE Volatility Index (VIX)   SELL    5/30/2012       -1        25.6
CBOE Volatility Index (VIX)   BUY     5/31/2012        2        25.95
CBOE Volatility Index (VIX)   BUY      6/4/2012        8         27
CBOE Volatility Index (VIX)   BUY      6/5/2012        1        25.65
CBOE Volatility Index (VIX)   BUY      6/5/2012        3        25.65
CBOE Volatility Index (VIX)   BUY      6/6/2012        3        23.45
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CBOE Volatility Index (VIX)   SELL     6/7/2012       -1        23.1
CBOE Volatility Index (VIX)   SELL     6/8/2012       -2        21.7
CBOE Volatility Index (VIX)   SELL     6/8/2012       -2        21.7
CBOE Volatility Index (VIX)   SELL    6/11/2012       -1        24.45
CBOE Volatility Index (VIX)   SELL    6/11/2012       -1        24.5
CBOE Volatility Index (VIX)   BUY     6/12/2012        1        23.4
CBOE Volatility Index (VIX)   BUY     6/13/2012        1        25.05
CBOE Volatility Index (VIX)   BUY     6/14/2012        1         23
CBOE Volatility Index (VIX)   BUY     6/15/2012        1        21.75
CBOE Volatility Index (VIX)   BUY     6/15/2012        1        21.85
CBOE Volatility Index (VIX)   BUY     6/15/2012        1        22.55
CBOE Volatility Index (VIX)   BUY     6/15/2012        1        22.6
CBOE Volatility Index (VIX)   BUY     6/15/2012        1        22.65
CBOE Volatility Index (VIX)   BUY     6/15/2012        1        22.7
CBOE Volatility Index (VIX)   BUY     6/15/2012        1        22.9
CBOE Volatility Index (VIX)   BUY     6/15/2012        1        22.95
CBOE Volatility Index (VIX)   BUY     6/15/2012        1        22.5
CBOE Volatility Index (VIX)   BUY     6/15/2012        1        22.6
CBOE Volatility Index (VIX)   BUY     6/15/2012        1        22.65
CBOE Volatility Index (VIX)   BUY     6/15/2012        1        22.75
CBOE Volatility Index (VIX)   BUY     6/15/2012        2        21.9
CBOE Volatility Index (VIX)   BUY     6/15/2012        2        22.35
CBOE Volatility Index (VIX)   BUY     6/15/2012        2        22.8
CBOE Volatility Index (VIX)   BUY     6/15/2012        2        22.75
CBOE Volatility Index (VIX)   BUY     6/15/2012        2        22.85
CBOE Volatility Index (VIX)   BUY     6/15/2012        3         22
CBOE Volatility Index (VIX)   BUY     6/15/2012        3        22.1
CBOE Volatility Index (VIX)   BUY     6/15/2012        3        22.15
CBOE Volatility Index (VIX)   BUY     6/15/2012        4        21.95
CBOE Volatility Index (VIX)   BUY     6/15/2012        4        22.05
CBOE Volatility Index (VIX)   BUY     4/20/2012        1        23.2
CBOE Volatility Index (VIX)   BUY     4/20/2012        1        23.25
CBOE Volatility Index (VIX)   BUY     4/20/2012        9        23.25
CBOE Volatility Index (VIX)   BUY     4/20/2012       17        23.25
CBOE Volatility Index (VIX)   BUY     4/23/2012        2        23.9
CBOE Volatility Index (VIX)   BUY     4/24/2012        1        23.35
CBOE Volatility Index (VIX)   BUY     4/25/2012        2        22.35
CBOE Volatility Index (VIX)   BUY     4/25/2012        2        22.35
CBOE Volatility Index (VIX)   BUY     4/25/2012        9        22.35
CBOE Volatility Index (VIX)   BUY     4/26/2012        1        21.8
CBOE Volatility Index (VIX)   BUY     4/26/2012        1        21.85
CBOE Volatility Index (VIX)   BUY     4/27/2012        2        21.7
CBOE Volatility Index (VIX)   SELL    4/30/2012       -1        21.95
CBOE Volatility Index (VIX)   BUY      5/2/2012        1        21.55
CBOE Volatility Index (VIX)   BUY      5/2/2012        1        21.6
CBOE Volatility Index (VIX)   BUY      5/3/2012        1         22
CBOE Volatility Index (VIX)   BUY      5/4/2012        1        22.7
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CBOE Volatility Index (VIX)   BUY      5/8/2012         1       22.5
CBOE Volatility Index (VIX)   BUY      5/8/2012         1       22.55
CBOE Volatility Index (VIX)   BUY      5/9/2012         1       23.2
CBOE Volatility Index (VIX)   BUY      5/9/2012         1       23.25
CBOE Volatility Index (VIX)   BUY     5/10/2012         1       22.4
CBOE Volatility Index (VIX)   BUY     5/10/2012         1       22.4
CBOE Volatility Index (VIX)   SELL    5/14/2012       -17       23.45
CBOE Volatility Index (VIX)   SELL    5/14/2012        -9       23.4
CBOE Volatility Index (VIX)   SELL    5/14/2012        -9       23.55
CBOE Volatility Index (VIX)   SELL    5/14/2012        -2       23.5
CBOE Volatility Index (VIX)   SELL    5/14/2012        -2       23.5
CBOE Volatility Index (VIX)   SELL    5/14/2012        -2       23.6
CBOE Volatility Index (VIX)   SELL    5/14/2012        -2       23.65
CBOE Volatility Index (VIX)   SELL    5/14/2012        -1       23.35
CBOE Volatility Index (VIX)   SELL    5/14/2012        -1       23.65
CBOE Volatility Index (VIX)   SELL    5/14/2012        -1       23.7
CBOE Volatility Index (VIX)   SELL    5/14/2012        -1       23.75
CBOE Volatility Index (VIX)   SELL    5/14/2012        -1       23.8
CBOE Volatility Index (VIX)   SELL    5/14/2012        -1       23.9
CBOE Volatility Index (VIX)   SELL    5/14/2012        -1       23.5
CBOE Volatility Index (VIX)   SELL    5/14/2012        -1       23.65
CBOE Volatility Index (VIX)   SELL    5/14/2012        -1       23.7
CBOE Volatility Index (VIX)   SELL    5/14/2012        -1       23.7
CBOE Volatility Index (VIX)   SELL    5/14/2012        -1       23.75
CBOE Volatility Index (VIX)   SELL    5/14/2012        -1       23.8
CBOE Volatility Index (VIX)   SELL    5/14/2012        -1       23.8
CBOE Volatility Index (VIX)   SELL    5/14/2012        -1       23.95
CBOE Volatility Index (VIX)   SELL    6/15/2012       -11       23.9
CBOE Volatility Index (VIX)   SELL    6/15/2012        -6       23.9
CBOE Volatility Index (VIX)   SELL    6/15/2012        -4        24
CBOE Volatility Index (VIX)   SELL    6/15/2012        -4        24
CBOE Volatility Index (VIX)   SELL    6/15/2012        -3       24.85
CBOE Volatility Index (VIX)   SELL    6/15/2012        -3       23.95
CBOE Volatility Index (VIX)   SELL    6/15/2012        -3       24.05
CBOE Volatility Index (VIX)   SELL    6/15/2012        -2       23.9
CBOE Volatility Index (VIX)   SELL    6/15/2012        -2       24.2
CBOE Volatility Index (VIX)   SELL    6/15/2012        -2       24.25
CBOE Volatility Index (VIX)   SELL    6/15/2012        -2       24.35
CBOE Volatility Index (VIX)   SELL    6/15/2012        -2       24.8
CBOE Volatility Index (VIX)   SELL    6/15/2012        -2       24.2
CBOE Volatility Index (VIX)   SELL    6/15/2012        -2       24.2
CBOE Volatility Index (VIX)   SELL    6/15/2012        -2       23.9
CBOE Volatility Index (VIX)   SELL    6/15/2012        -2        24
CBOE Volatility Index (VIX)   SELL    6/15/2012        -2        24
CBOE Volatility Index (VIX)   SELL    6/15/2012        -1       23.95
CBOE Volatility Index (VIX)   SELL    6/15/2012        -1        24
CBOE Volatility Index (VIX)   SELL    6/15/2012        -1       24.05
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CBOE Volatility Index (VIX)   SELL    6/15/2012       -1        24.15
CBOE Volatility Index (VIX)   SELL    6/15/2012       -1        24.3
CBOE Volatility Index (VIX)   SELL    6/15/2012       -1        24.55
CBOE Volatility Index (VIX)   SELL    6/15/2012       -1        24.6
CBOE Volatility Index (VIX)   SELL    6/15/2012       -1        24.65
CBOE Volatility Index (VIX)   SELL    6/15/2012       -1        24.7
CBOE Volatility Index (VIX)   SELL    6/15/2012       -1        24.05
CBOE Volatility Index (VIX)   SELL    6/15/2012       -1        24.05
CBOE Volatility Index (VIX)   SELL    6/15/2012       -1        24.15
CBOE Volatility Index (VIX)   SELL    6/15/2012       -1        24.2
CBOE Volatility Index (VIX)   SELL    6/15/2012       -1        24.2
CBOE Volatility Index (VIX)   SELL    6/15/2012       -1        24.2
CBOE Volatility Index (VIX)   SELL    6/15/2012       -1        24.3
CBOE Volatility Index (VIX)   SELL    6/15/2012       -1        24.55
CBOE Volatility Index (VIX)   SELL    6/15/2012       -1        24.55
CBOE Volatility Index (VIX)   SELL    6/15/2012       -1        24.6
CBOE Volatility Index (VIX)   SELL    6/15/2012       -1        24.65
CBOE Volatility Index (VIX)   SELL    6/15/2012       -1        24.7
CBOE Volatility Index (VIX)   SELL    6/15/2012       -1        24.8
CBOE Volatility Index (VIX)   SELL    6/15/2012       -1         24
CBOE Volatility Index (VIX)   SELL    6/15/2012       -1        24.05
CBOE Volatility Index (VIX)   SELL    6/15/2012       -1         24
CBOE Volatility Index (VIX)   SELL    6/18/2012       -1        23.65
CBOE Volatility Index (VIX)   BUY     6/18/2012        1        23.7
CBOE Volatility Index (VIX)   BUY     6/18/2012        1        23.7
CBOE Volatility Index (VIX)   BUY     6/18/2012        1        23.75
CBOE Volatility Index (VIX)   BUY     6/18/2012        1        23.6
CBOE Volatility Index (VIX)   BUY     6/18/2012        2        23.6
CBOE Volatility Index (VIX)   BUY     6/18/2012        2        23.6
CBOE Volatility Index (VIX)   BUY     6/18/2012        2        23.6
CBOE Volatility Index (VIX)   BUY     6/18/2012        2        23.7
CBOE Volatility Index (VIX)   BUY     6/18/2012        3        23.75
CBOE Volatility Index (VIX)   BUY     6/18/2012        4        23.65
CBOE Volatility Index (VIX)   BUY     6/18/2012        4        23.65
CBOE Volatility Index (VIX)   BUY     6/18/2012        6        23.7
CBOE Volatility Index (VIX)   BUY     6/18/2012       11        23.65
CBOE Volatility Index (VIX)   BUY     6/19/2012        1        21.8
CBOE Volatility Index (VIX)   BUY     6/20/2012        1        20.55
CBOE Volatility Index (VIX)   SELL    6/21/2012       -2        23.15
CBOE Volatility Index (VIX)   SELL    6/21/2012       -2        23.2
CBOE Volatility Index (VIX)   SELL    6/21/2012       -1        23.2
CBOE Volatility Index (VIX)   BUY     6/22/2012        1         22
CBOE Volatility Index (VIX)   BUY     6/22/2012        1        22.05
CBOE Volatility Index (VIX)   BUY     6/22/2012        3         22
CBOE Volatility Index (VIX)   BUY     6/25/2012        1        22.4
CBOE Volatility Index (VIX)   BUY     6/27/2012        1        21.75
CBOE Volatility Index (VIX)   SELL    6/28/2012       -2        21.3
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CBOE Volatility Index (VIX)   SELL    6/28/2012       -2        21.35
CBOE Volatility Index (VIX)   SELL    6/29/2012       -1        19.55
CBOE Volatility Index (VIX)   SELL    6/29/2012       -1        19.6
CBOE Volatility Index (VIX)   SELL     7/2/2012       -2        18.15
CBOE Volatility Index (VIX)   SELL     7/2/2012       -2        18.2
CBOE Volatility Index (VIX)   SELL     7/3/2012       -1        17.7
CBOE Volatility Index (VIX)   SELL     7/3/2012       -1        17.75
CBOE Volatility Index (VIX)   SELL     7/5/2012       -1        18.65
CBOE Volatility Index (VIX)   SELL     7/5/2012       -1        18.7
CBOE Volatility Index (VIX)   SELL     7/5/2012       -1        18.75
CBOE Volatility Index (VIX)   SELL     7/5/2012       -1        18.65
CBOE Volatility Index (VIX)   SELL     7/6/2012       -1        18.3
CBOE Volatility Index (VIX)   SELL     7/9/2012       -1        18.25
CBOE Volatility Index (VIX)   SELL    7/10/2012       -1        19.1
CBOE Volatility Index (VIX)   SELL    7/11/2012       -1        18.3
CBOE Volatility Index (VIX)   SELL    7/12/2012       -1        18.55
CBOE Volatility Index (VIX)   BUY     7/13/2012        1        17.55
CBOE Volatility Index (VIX)   BUY     7/13/2012        1        17.55
CBOE Volatility Index (VIX)   BUY     7/13/2012        1        17.7
CBOE Volatility Index (VIX)   BUY     7/13/2012        1        17.75
CBOE Volatility Index (VIX)   BUY     7/13/2012        1        17.75
CBOE Volatility Index (VIX)   BUY     7/13/2012        1        17.85
CBOE Volatility Index (VIX)   BUY     7/13/2012        1        17.7
CBOE Volatility Index (VIX)   BUY     7/13/2012        1        17.75
CBOE Volatility Index (VIX)   BUY     7/13/2012        1        17.8
CBOE Volatility Index (VIX)   BUY     7/13/2012        1        17.8
CBOE Volatility Index (VIX)   BUY     7/13/2012        1        17.8
CBOE Volatility Index (VIX)   BUY     7/13/2012        1        17.8
CBOE Volatility Index (VIX)   BUY     7/13/2012        1        17.8
CBOE Volatility Index (VIX)   BUY     7/13/2012        1        17.8
CBOE Volatility Index (VIX)   BUY     7/13/2012        1        17.85
CBOE Volatility Index (VIX)   BUY     7/13/2012        1        17.5
CBOE Volatility Index (VIX)   BUY     7/13/2012        1        17.55
CBOE Volatility Index (VIX)   BUY     7/13/2012        1        17.7
CBOE Volatility Index (VIX)   BUY     7/13/2012        1        17.65
CBOE Volatility Index (VIX)   BUY     7/13/2012        1        17.8
CBOE Volatility Index (VIX)   BUY     7/13/2012        1        17.85
CBOE Volatility Index (VIX)   BUY     7/13/2012        1        17.7
CBOE Volatility Index (VIX)   BUY     7/13/2012        1        17.55
CBOE Volatility Index (VIX)   BUY     7/13/2012        1        17.65
CBOE Volatility Index (VIX)   BUY     7/13/2012        1        17.7
CBOE Volatility Index (VIX)   BUY     7/13/2012        1        17.75
CBOE Volatility Index (VIX)   BUY     7/13/2012        1        17.5
CBOE Volatility Index (VIX)   BUY     7/13/2012        1        17.6
CBOE Volatility Index (VIX)   BUY     7/13/2012        1        17.7
CBOE Volatility Index (VIX)   BUY     7/13/2012        1        17.75
CBOE Volatility Index (VIX)   BUY     7/13/2012        2        17.65
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CBOE Volatility Index (VIX)   BUY     7/13/2012         2       17.55
CBOE Volatility Index (VIX)   BUY     7/13/2012         2       17.6
CBOE Volatility Index (VIX)   BUY     7/13/2012         2       17.65
CBOE Volatility Index (VIX)   BUY     7/13/2012         2       17.7
CBOE Volatility Index (VIX)   BUY     7/13/2012         2       17.7
CBOE Volatility Index (VIX)   BUY     7/13/2012         2       17.65
CBOE Volatility Index (VIX)   BUY     7/13/2012         2       17.75
CBOE Volatility Index (VIX)   BUY     7/13/2012         2       17.8
CBOE Volatility Index (VIX)   BUY     7/13/2012         2       17.55
CBOE Volatility Index (VIX)   BUY     7/13/2012         2       17.7
CBOE Volatility Index (VIX)   BUY     7/13/2012         2       17.8
CBOE Volatility Index (VIX)   BUY     7/13/2012         3       17.5
CBOE Volatility Index (VIX)   BUY     5/14/2012         1       24.8
CBOE Volatility Index (VIX)   BUY     5/14/2012         1       24.25
CBOE Volatility Index (VIX)   BUY     5/14/2012         2       24.55
CBOE Volatility Index (VIX)   BUY     5/14/2012         2       24.65
CBOE Volatility Index (VIX)   BUY     5/14/2012         4       24.5
CBOE Volatility Index (VIX)   BUY     5/14/2012         4       24.6
CBOE Volatility Index (VIX)   BUY     5/14/2012         5       24.35
CBOE Volatility Index (VIX)   BUY     5/14/2012         6       24.25
CBOE Volatility Index (VIX)   BUY     5/14/2012         6       24.45
CBOE Volatility Index (VIX)   BUY     5/14/2012         7       24.95
CBOE Volatility Index (VIX)   BUY     5/14/2012         9       24.4
CBOE Volatility Index (VIX)   BUY     5/14/2012        17       24.3
CBOE Volatility Index (VIX)   SELL    5/16/2012        -1       26.15
CBOE Volatility Index (VIX)   SELL    5/17/2012       -17       27.1
CBOE Volatility Index (VIX)   SELL    5/17/2012        -9       27.1
CBOE Volatility Index (VIX)   SELL    5/17/2012        -7       27.15
CBOE Volatility Index (VIX)   SELL    5/17/2012        -6       27.1
CBOE Volatility Index (VIX)   SELL    5/17/2012        -6       27.1
CBOE Volatility Index (VIX)   SELL    5/17/2012        -5       27.1
CBOE Volatility Index (VIX)   SELL    5/17/2012        -4       27.1
CBOE Volatility Index (VIX)   SELL    5/17/2012        -4       27.1
CBOE Volatility Index (VIX)   SELL    5/17/2012        -2       27.15
CBOE Volatility Index (VIX)   SELL    5/17/2012        -2       27.1
CBOE Volatility Index (VIX)   SELL    5/17/2012        -1       27.15
CBOE Volatility Index (VIX)   BUY     5/18/2012         1       28.45
CBOE Volatility Index (VIX)   BUY     5/18/2012         1       28.4
CBOE Volatility Index (VIX)   BUY     5/18/2012         1       28.4
CBOE Volatility Index (VIX)   BUY     5/18/2012         1       28.4
CBOE Volatility Index (VIX)   BUY     5/18/2012         1       28.4
CBOE Volatility Index (VIX)   BUY     5/18/2012         1       28.45
CBOE Volatility Index (VIX)   BUY     5/18/2012         1       28.45
CBOE Volatility Index (VIX)   BUY     5/18/2012         1       28.45
CBOE Volatility Index (VIX)   BUY     5/18/2012         1       28.45
CBOE Volatility Index (VIX)   BUY     5/18/2012         1       28.45
CBOE Volatility Index (VIX)   BUY     5/18/2012         2       28.35
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CBOE Volatility Index (VIX)   BUY     5/18/2012        2        28.4
CBOE Volatility Index (VIX)   BUY     5/18/2012        2        28.4
CBOE Volatility Index (VIX)   BUY     5/18/2012        2        28.45
CBOE Volatility Index (VIX)   BUY     5/18/2012        2        28.45
CBOE Volatility Index (VIX)   BUY     5/18/2012        2        28.45
CBOE Volatility Index (VIX)   BUY     5/18/2012        2        28.45
CBOE Volatility Index (VIX)   BUY     5/18/2012        5        28.4
CBOE Volatility Index (VIX)   BUY     5/18/2012        6        28.45
CBOE Volatility Index (VIX)   BUY     5/18/2012        6        28.45
CBOE Volatility Index (VIX)   BUY     5/18/2012        7        28.4
CBOE Volatility Index (VIX)   SELL    5/21/2012       -2        26.45
CBOE Volatility Index (VIX)   SELL    5/22/2012       -7        27.1
CBOE Volatility Index (VIX)   SELL    5/23/2012       -1        26.85
CBOE Volatility Index (VIX)   SELL    5/24/2012       -1        26.5
CBOE Volatility Index (VIX)   BUY     5/29/2012        1        25.6
CBOE Volatility Index (VIX)   BUY     5/30/2012        1        27.2
CBOE Volatility Index (VIX)   BUY     5/30/2012        2        27.2
CBOE Volatility Index (VIX)   SELL     6/4/2012       -5        28.85
CBOE Volatility Index (VIX)   SELL     6/4/2012       -1        28.8
CBOE Volatility Index (VIX)   SELL     6/5/2012       -2        27.95
CBOE Volatility Index (VIX)   SELL     6/5/2012       -1         28
CBOE Volatility Index (VIX)   SELL     6/6/2012       -2        26.55
CBOE Volatility Index (VIX)   BUY      6/8/2012        3        25.05
CBOE Volatility Index (VIX)   BUY     6/11/2012        1        27.3
CBOE Volatility Index (VIX)   SELL    6/15/2012       -6        25.4
CBOE Volatility Index (VIX)   SELL    6/15/2012       -6        25.55
CBOE Volatility Index (VIX)   SELL    6/15/2012       -3        26.1
CBOE Volatility Index (VIX)   SELL    6/15/2012       -2        25.6
CBOE Volatility Index (VIX)   SELL    6/15/2012       -2        25.65
CBOE Volatility Index (VIX)   SELL    6/15/2012       -2        25.7
CBOE Volatility Index (VIX)   SELL    6/15/2012       -2        25.85
CBOE Volatility Index (VIX)   SELL    6/15/2012       -2         26
CBOE Volatility Index (VIX)   SELL    6/15/2012       -1        25.3
CBOE Volatility Index (VIX)   SELL    6/15/2012       -1        25.35
CBOE Volatility Index (VIX)   SELL    6/15/2012       -1        25.75
CBOE Volatility Index (VIX)   SELL    6/15/2012       -1        25.8
CBOE Volatility Index (VIX)   SELL    6/15/2012       -1        25.9
CBOE Volatility Index (VIX)   SELL    6/15/2012       -1        26.15
CBOE Volatility Index (VIX)   SELL    6/15/2012       -1        25.95
CBOE Volatility Index (VIX)   SELL    6/15/2012       -1        25.95
CBOE Volatility Index (VIX)   SELL    6/15/2012       -1        26.1
CBOE Volatility Index (VIX)   SELL    7/13/2012       -4        19.7
CBOE Volatility Index (VIX)   SELL    7/13/2012       -3        19.5
CBOE Volatility Index (VIX)   SELL    7/13/2012       -3        19.45
CBOE Volatility Index (VIX)   SELL    7/13/2012       -3        19.65
CBOE Volatility Index (VIX)   SELL    7/13/2012       -3        19.7
CBOE Volatility Index (VIX)   SELL    7/13/2012       -3        19.7
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CBOE Volatility Index (VIX)   SELL    7/13/2012       -2        19.5
CBOE Volatility Index (VIX)   SELL    7/13/2012       -2        19.7
CBOE Volatility Index (VIX)   SELL    7/13/2012       -2        19.7
CBOE Volatility Index (VIX)   SELL    7/13/2012       -2        19.45
CBOE Volatility Index (VIX)   SELL    7/13/2012       -2        19.55
CBOE Volatility Index (VIX)   SELL    7/13/2012       -2        19.6
CBOE Volatility Index (VIX)   SELL    7/13/2012       -2        19.65
CBOE Volatility Index (VIX)   SELL    7/13/2012       -2        19.75
CBOE Volatility Index (VIX)   SELL    7/13/2012       -2        19.7
CBOE Volatility Index (VIX)   SELL    7/13/2012       -2        19.5
CBOE Volatility Index (VIX)   SELL    7/13/2012       -2        19.5
CBOE Volatility Index (VIX)   SELL    7/13/2012       -1        19.45
CBOE Volatility Index (VIX)   SELL    7/13/2012       -1        19.5
CBOE Volatility Index (VIX)   SELL    7/13/2012       -1        19.7
CBOE Volatility Index (VIX)   SELL    7/13/2012       -1        19.45
CBOE Volatility Index (VIX)   SELL    7/13/2012       -1        19.7
CBOE Volatility Index (VIX)   SELL    7/13/2012       -1        19.65
CBOE Volatility Index (VIX)   SELL    7/13/2012       -1        19.7
CBOE Volatility Index (VIX)   SELL    7/13/2012       -1        19.45
CBOE Volatility Index (VIX)   SELL    7/13/2012       -1        19.6
CBOE Volatility Index (VIX)   SELL    7/13/2012       -1        19.65
CBOE Volatility Index (VIX)   SELL    7/13/2012       -1        19.75
CBOE Volatility Index (VIX)   SELL    7/13/2012       -1        19.45
CBOE Volatility Index (VIX)   SELL    7/13/2012       -1        19.45
CBOE Volatility Index (VIX)   SELL    7/13/2012       -1        19.6
CBOE Volatility Index (VIX)   SELL    7/13/2012       -1        19.65
CBOE Volatility Index (VIX)   SELL    7/13/2012       -1        19.75
CBOE Volatility Index (VIX)   SELL    7/13/2012       -1        19.45
CBOE Volatility Index (VIX)   SELL    7/13/2012       -1        19.4
CBOE Volatility Index (VIX)   BUY     7/16/2012        1        19.3
CBOE Volatility Index (VIX)   SELL    7/17/2012       -2        18.5
CBOE Volatility Index (VIX)   SELL    7/17/2012       -2        18.5
CBOE Volatility Index (VIX)   SELL    7/17/2012       -1        18.5
CBOE Volatility Index (VIX)   SELL    7/18/2012       -1        18.6
CBOE Volatility Index (VIX)   SELL    7/18/2012       -1        18.75
CBOE Volatility Index (VIX)   SELL    7/19/2012       -2        18.2
CBOE Volatility Index (VIX)   SELL    7/20/2012       -6        19.1
CBOE Volatility Index (VIX)   SELL    7/23/2012       -1        20.65
CBOE Volatility Index (VIX)   SELL    7/23/2012       -1        20.65
CBOE Volatility Index (VIX)   BUY     7/24/2012        1        21.8
CBOE Volatility Index (VIX)   BUY     7/24/2012        1        21.8
CBOE Volatility Index (VIX)   BUY     7/25/2012        1         21
CBOE Volatility Index (VIX)   SELL    7/27/2012       -2        18.6
CBOE Volatility Index (VIX)   BUY     7/31/2012        1        19.45
CBOE Volatility Index (VIX)   BUY      8/1/2012        1        19.55
CBOE Volatility Index (VIX)   BUY      8/1/2012        3        19.9
CBOE Volatility Index (VIX)   BUY      8/2/2012        2        18.75
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CBOE Volatility Index (VIX)   BUY      8/3/2012        1        17.4
CBOE Volatility Index (VIX)   BUY      8/3/2012        1        17.4
CBOE Volatility Index (VIX)   SELL     8/6/2012       -2        16.85
CBOE Volatility Index (VIX)   SELL     8/7/2012       -1        17.6
CBOE Volatility Index (VIX)   BUY      8/8/2012        1        16.85
CBOE Volatility Index (VIX)   BUY      8/8/2012        1        16.85
CBOE Volatility Index (VIX)   BUY      8/8/2012        1        16.85
CBOE Volatility Index (VIX)   BUY      8/8/2012        1        16.85
CBOE Volatility Index (VIX)   BUY      8/8/2012        2        16.85
CBOE Volatility Index (VIX)   BUY      8/8/2012        2        16.85
CBOE Volatility Index (VIX)   BUY      8/8/2012        2        16.85
CBOE Volatility Index (VIX)   BUY      8/8/2012        2        16.85
CBOE Volatility Index (VIX)   BUY      8/8/2012        2        16.85
CBOE Volatility Index (VIX)   BUY      8/8/2012        3        16.85
CBOE Volatility Index (VIX)   BUY      8/8/2012        3        16.85
CBOE Volatility Index (VIX)   SELL    8/10/2012       -3        16.3
CBOE Volatility Index (VIX)   SELL    8/13/2012       -2        15.75
CBOE Volatility Index (VIX)   SELL    8/14/2012       -3        16.45
CBOE Volatility Index (VIX)   SELL    8/15/2012       -1        16.2
CBOE Volatility Index (VIX)   SELL    8/15/2012       -1        16.2
CBOE Volatility Index (VIX)   SELL    8/16/2012       -1         16
CBOE Volatility Index (VIX)   SELL    8/16/2012       -1         16
CBOE Volatility Index (VIX)   SELL    8/16/2012       -1         16
CBOE Volatility Index (VIX)   SELL    8/17/2012       -2        15.1
CBOE Volatility Index (VIX)   SELL    8/17/2012       -1        15.1
CBOE Volatility Index (VIX)   SELL    8/17/2012       -1        15.05
CBOE Volatility Index (VIX)   SELL    8/17/2012       -1        15.05
CBOE Volatility Index (VIX)   SELL    8/17/2012       -1        15.05
CBOE Volatility Index (VIX)   SELL    8/17/2012       -1        15.1
CBOE Volatility Index (VIX)   BUY     8/20/2012        1        14.7
CBOE Volatility Index (VIX)   BUY     8/20/2012        1        14.8
CBOE Volatility Index (VIX)   BUY     8/20/2012        1        14.85
CBOE Volatility Index (VIX)   BUY     8/20/2012        1        14.9
CBOE Volatility Index (VIX)   BUY     8/20/2012        1        14.95
CBOE Volatility Index (VIX)   BUY     8/20/2012        1        14.7
CBOE Volatility Index (VIX)   BUY     8/20/2012        1        14.75
CBOE Volatility Index (VIX)   BUY     8/20/2012        1        14.75
CBOE Volatility Index (VIX)   BUY     8/20/2012        1        14.75
CBOE Volatility Index (VIX)   BUY     8/20/2012        1        14.75
CBOE Volatility Index (VIX)   BUY     8/20/2012        1        14.8
CBOE Volatility Index (VIX)   BUY     8/20/2012        1        14.8
CBOE Volatility Index (VIX)   BUY     8/20/2012        1        14.95
CBOE Volatility Index (VIX)   BUY     8/20/2012        1        14.95
CBOE Volatility Index (VIX)   BUY     8/20/2012        1        14.8
CBOE Volatility Index (VIX)   BUY     8/20/2012        1        14.75
CBOE Volatility Index (VIX)   BUY     8/20/2012        1        14.75
CBOE Volatility Index (VIX)   BUY     8/20/2012        1        14.75
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CBOE Volatility Index (VIX)   BUY     8/20/2012        1        14.95
CBOE Volatility Index (VIX)   BUY     8/20/2012        1        14.65
CBOE Volatility Index (VIX)   BUY     8/20/2012        1        14.85
CBOE Volatility Index (VIX)   BUY     8/20/2012        1         15
CBOE Volatility Index (VIX)   BUY     8/20/2012        2        14.7
CBOE Volatility Index (VIX)   BUY     8/20/2012        2        14.75
CBOE Volatility Index (VIX)   BUY     8/20/2012        2        14.75
CBOE Volatility Index (VIX)   BUY     8/20/2012        2        14.75
CBOE Volatility Index (VIX)   BUY     8/20/2012        2         15
CBOE Volatility Index (VIX)   BUY     8/20/2012        2        14.75
CBOE Volatility Index (VIX)   BUY     8/20/2012        2        14.75
CBOE Volatility Index (VIX)   BUY     8/20/2012        2        14.95
CBOE Volatility Index (VIX)   BUY     8/20/2012        2        14.7
CBOE Volatility Index (VIX)   BUY     8/20/2012        2        14.95
CBOE Volatility Index (VIX)   BUY     8/20/2012        2        14.7
CBOE Volatility Index (VIX)   BUY     8/20/2012        2        14.75
CBOE Volatility Index (VIX)   BUY     8/20/2012        3        14.75
CBOE Volatility Index (VIX)   BUY     8/20/2012        3        14.75
CBOE Volatility Index (VIX)   BUY     8/20/2012        3        14.75
CBOE Volatility Index (VIX)   BUY     8/20/2012        3        14.75
CBOE Volatility Index (VIX)   BUY     8/20/2012        4        14.7
CBOE Volatility Index (VIX)   BUY     8/20/2012        6        14.7
CBOE Volatility Index (VIX)   SELL    6/15/2012       -6        26.55
CBOE Volatility Index (VIX)   SELL    6/15/2012       -4        26.35
CBOE Volatility Index (VIX)   SELL    6/15/2012       -3        26.35
CBOE Volatility Index (VIX)   SELL    6/15/2012       -3        26.35
CBOE Volatility Index (VIX)   SELL    6/15/2012       -3        26.35
CBOE Volatility Index (VIX)   SELL    6/15/2012       -2        26.45
CBOE Volatility Index (VIX)   SELL    6/15/2012       -2        26.45
CBOE Volatility Index (VIX)   SELL    6/15/2012       -2        26.5
CBOE Volatility Index (VIX)   SELL    6/15/2012       -2        26.35
CBOE Volatility Index (VIX)   SELL    6/15/2012       -2        26.45
CBOE Volatility Index (VIX)   SELL    6/15/2012       -1        26.45
CBOE Volatility Index (VIX)   SELL    6/15/2012       -1        26.45
CBOE Volatility Index (VIX)   SELL    6/15/2012       -1        26.5
CBOE Volatility Index (VIX)   SELL    6/15/2012       -1        26.55
CBOE Volatility Index (VIX)   BUY     6/15/2012        1        27.05
CBOE Volatility Index (VIX)   BUY     6/15/2012        1        27.15
CBOE Volatility Index (VIX)   BUY     6/15/2012        1        27.25
CBOE Volatility Index (VIX)   BUY     6/15/2012        1        27.3
CBOE Volatility Index (VIX)   BUY     6/15/2012        1        27.4
CBOE Volatility Index (VIX)   BUY     6/15/2012        2        26.9
CBOE Volatility Index (VIX)   BUY     6/15/2012        2         27
CBOE Volatility Index (VIX)   BUY     6/15/2012        2        27.1
CBOE Volatility Index (VIX)   BUY     6/15/2012        2        27.25
CBOE Volatility Index (VIX)   BUY     6/15/2012        2        27.3
CBOE Volatility Index (VIX)   BUY     6/15/2012        3        26.75
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CBOE Volatility Index (VIX)   BUY     6/15/2012         3       26.8
CBOE Volatility Index (VIX)   BUY     6/15/2012         3       26.95
CBOE Volatility Index (VIX)   BUY     6/15/2012         4       26.85
CBOE Volatility Index (VIX)   BUY     6/15/2012         6       27.35
CBOE Volatility Index (VIX)   BUY     6/18/2012         1       26.25
CBOE Volatility Index (VIX)   BUY     6/18/2012         1       26.4
CBOE Volatility Index (VIX)   BUY     6/18/2012         1       26.25
CBOE Volatility Index (VIX)   BUY     6/18/2012         1       26.25
CBOE Volatility Index (VIX)   BUY     6/18/2012         1       26.25
CBOE Volatility Index (VIX)   BUY     6/18/2012         1       26.25
CBOE Volatility Index (VIX)   BUY     6/18/2012         1       26.3
CBOE Volatility Index (VIX)   BUY     6/18/2012         2       26.3
CBOE Volatility Index (VIX)   BUY     6/18/2012         3       26.35
CBOE Volatility Index (VIX)   BUY     6/18/2012         4       26.35
CBOE Volatility Index (VIX)   BUY     6/18/2012         5       26.3
CBOE Volatility Index (VIX)   BUY     6/18/2012        11       26.3
CBOE Volatility Index (VIX)   SELL    6/19/2012        -1       25.25
CBOE Volatility Index (VIX)   SELL    6/22/2012        -1       25.1
CBOE Volatility Index (VIX)   SELL    6/22/2012        -1       25.2
CBOE Volatility Index (VIX)   SELL    6/25/2012        -1       25.65
CBOE Volatility Index (VIX)   SELL    6/26/2012        -1       25.1
CBOE Volatility Index (VIX)   SELL    6/27/2012        -1        25
CBOE Volatility Index (VIX)   BUY     6/28/2012         1       24.75
CBOE Volatility Index (VIX)   BUY     6/29/2012         2       23.65
CBOE Volatility Index (VIX)   BUY      7/2/2012         3       22.6
CBOE Volatility Index (VIX)   BUY      7/3/2012         3        22
CBOE Volatility Index (VIX)   BUY      7/5/2012         1       22.7
CBOE Volatility Index (VIX)   BUY      7/6/2012         1       22.35
CBOE Volatility Index (VIX)   BUY      7/9/2012         1       22.15
CBOE Volatility Index (VIX)   BUY      7/9/2012         2       22.1
CBOE Volatility Index (VIX)   SELL    7/10/2012        -1       22.6
CBOE Volatility Index (VIX)   BUY     7/11/2012         1       22.15
CBOE Volatility Index (VIX)   BUY     7/12/2012         1       22.3
CBOE Volatility Index (VIX)   SELL    7/13/2012       -11       21.35
CBOE Volatility Index (VIX)   SELL    7/13/2012        -5       21.4
CBOE Volatility Index (VIX)   SELL    7/13/2012        -4       21.45
CBOE Volatility Index (VIX)   SELL    7/13/2012        -3       21.55
CBOE Volatility Index (VIX)   SELL    7/13/2012        -3       21.5
CBOE Volatility Index (VIX)   SELL    7/13/2012        -3       21.5
CBOE Volatility Index (VIX)   SELL    7/13/2012        -2       21.45
CBOE Volatility Index (VIX)   SELL    7/13/2012        -2       21.5
CBOE Volatility Index (VIX)   SELL    7/13/2012        -2       21.55
CBOE Volatility Index (VIX)   SELL    7/13/2012        -1       21.5
CBOE Volatility Index (VIX)   SELL    7/13/2012        -1       21.5
CBOE Volatility Index (VIX)   SELL    7/13/2012        -1       21.55
CBOE Volatility Index (VIX)   SELL    7/13/2012        -1       21.55
CBOE Volatility Index (VIX)   SELL    7/13/2012        -1       21.55
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CBOE Volatility Index (VIX)   SELL    7/13/2012        -1       21.55
CBOE Volatility Index (VIX)   SELL    7/13/2012        -1       21.55
CBOE Volatility Index (VIX)   SELL    8/20/2012       -19       18.25
CBOE Volatility Index (VIX)   SELL    8/20/2012        -7       18.3
CBOE Volatility Index (VIX)   SELL    8/20/2012        -6       18.3
CBOE Volatility Index (VIX)   SELL    8/20/2012        -4       18.3
CBOE Volatility Index (VIX)   SELL    8/20/2012        -3       18.35
CBOE Volatility Index (VIX)   SELL    8/20/2012        -3       18.25
CBOE Volatility Index (VIX)   SELL    8/20/2012        -3       18.25
CBOE Volatility Index (VIX)   SELL    8/20/2012        -3       18.25
CBOE Volatility Index (VIX)   SELL    8/20/2012        -3       18.25
CBOE Volatility Index (VIX)   SELL    8/20/2012        -2       18.4
CBOE Volatility Index (VIX)   SELL    8/20/2012        -2       18.25
CBOE Volatility Index (VIX)   SELL    8/20/2012        -2       18.3
CBOE Volatility Index (VIX)   SELL    8/20/2012        -2       18.35
CBOE Volatility Index (VIX)   SELL    8/20/2012        -2       18.35
CBOE Volatility Index (VIX)   SELL    8/20/2012        -1       18.35
CBOE Volatility Index (VIX)   SELL    8/20/2012        -1       18.3
CBOE Volatility Index (VIX)   SELL    8/20/2012        -1       18.4
CBOE Volatility Index (VIX)   SELL    8/20/2012        -1       18.4
CBOE Volatility Index (VIX)   SELL    8/20/2012        -1       18.25
CBOE Volatility Index (VIX)   SELL    8/20/2012        -1       18.25
CBOE Volatility Index (VIX)   SELL    8/20/2012        -1       18.25
CBOE Volatility Index (VIX)   SELL    8/20/2012        -1       18.3
CBOE Volatility Index (VIX)   BUY     8/20/2012         1       18.3
CBOE Volatility Index (VIX)   BUY     8/21/2012         1       18.8
CBOE Volatility Index (VIX)   BUY     8/21/2012         3       18.75
CBOE Volatility Index (VIX)   SELL    8/22/2012        -1       18.95
CBOE Volatility Index (VIX)   BUY     8/22/2012         1        19
CBOE Volatility Index (VIX)   SELL    8/23/2012        -1       19.25
CBOE Volatility Index (VIX)   SELL    8/24/2012        -1       18.55
CBOE Volatility Index (VIX)   SELL    8/27/2012        -3       18.8
CBOE Volatility Index (VIX)   SELL    8/27/2012        -1       18.75
CBOE Volatility Index (VIX)   SELL    8/27/2012        -1       18.8
CBOE Volatility Index (VIX)   SELL    8/28/2012        -2        19
CBOE Volatility Index (VIX)   SELL    8/28/2012        -1        19
CBOE Volatility Index (VIX)   SELL    8/29/2012        -2       19.25
CBOE Volatility Index (VIX)   SELL    8/29/2012        -1       19.25
CBOE Volatility Index (VIX)   SELL    8/29/2012        -1       19.25
CBOE Volatility Index (VIX)   SELL    8/30/2012        -2       19.7
CBOE Volatility Index (VIX)   SELL    8/30/2012        -1       19.7
CBOE Volatility Index (VIX)   SELL    8/31/2012        -1       18.95
CBOE Volatility Index (VIX)   SELL    8/31/2012        -1       18.95
CBOE Volatility Index (VIX)   SELL    8/31/2012        -1       18.95
CBOE Volatility Index (VIX)   SELL     9/4/2012        -4       18.65
CBOE Volatility Index (VIX)   SELL     9/4/2012        -1       18.65
CBOE Volatility Index (VIX)   SELL     9/4/2012        -1       18.65
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CBOE Volatility Index (VIX)   SELL     9/4/2012        -1       18.65
CBOE Volatility Index (VIX)   SELL     9/5/2012        -4       18.15
CBOE Volatility Index (VIX)   SELL     9/5/2012        -1       18.15
CBOE Volatility Index (VIX)   SELL     9/5/2012        -1       18.15
CBOE Volatility Index (VIX)   BUY      9/6/2012         3       16.2
CBOE Volatility Index (VIX)   BUY      9/6/2012         3       16.15
CBOE Volatility Index (VIX)   BUY      9/7/2012         2       15.1
CBOE Volatility Index (VIX)   BUY      9/7/2012         3       15.1
CBOE Volatility Index (VIX)   BUY     9/10/2012         1       16.4
CBOE Volatility Index (VIX)   BUY     9/10/2012         2       16.45
CBOE Volatility Index (VIX)   BUY     9/10/2012         4       16.45
CBOE Volatility Index (VIX)   BUY     9/10/2012         6       16.45
CBOE Volatility Index (VIX)   BUY     9/10/2012        19       16.35
CBOE Volatility Index (VIX)   BUY     9/11/2012         1       16.5
CBOE Volatility Index (VIX)   BUY     9/11/2012         1       16.5
CBOE Volatility Index (VIX)   BUY     9/11/2012         1       16.55
CBOE Volatility Index (VIX)   BUY     9/11/2012         1       16.55
CBOE Volatility Index (VIX)   BUY     9/11/2012         1       16.55
CBOE Volatility Index (VIX)   BUY     9/11/2012         1       16.55
CBOE Volatility Index (VIX)   BUY     9/11/2012         1       16.55
CBOE Volatility Index (VIX)   BUY     9/11/2012         1       16.55
CBOE Volatility Index (VIX)   BUY     9/11/2012         1       16.55
CBOE Volatility Index (VIX)   BUY     9/11/2012         1       16.55
CBOE Volatility Index (VIX)   BUY     9/11/2012         1       16.55
CBOE Volatility Index (VIX)   BUY     9/11/2012         2       16.5
CBOE Volatility Index (VIX)   BUY     9/11/2012         2       16.5
CBOE Volatility Index (VIX)   BUY     9/11/2012         2       16.55
CBOE Volatility Index (VIX)   BUY     9/11/2012         2       16.55
CBOE Volatility Index (VIX)   BUY     9/11/2012         3       16.55
CBOE Volatility Index (VIX)   BUY     9/11/2012         3       16.55
CBOE Volatility Index (VIX)   BUY     9/11/2012         7       16.5
CBOE Volatility Index (VIX)   SELL    9/12/2012       -27       15.8
CBOE Volatility Index (VIX)   SELL    9/12/2012        -8       15.8
CBOE Volatility Index (VIX)   SELL    9/12/2012        -5       15.75
CBOE Volatility Index (VIX)   SELL    9/13/2012        -3       14.9
CBOE Volatility Index (VIX)   SELL    9/14/2012        -3       15.6
CBOE Volatility Index (VIX)   SELL    9/14/2012        -2       15.55
CBOE Volatility Index (VIX)   SELL    9/14/2012        -1       15.65
CBOE Volatility Index (VIX)   BUY     9/17/2012         1       15.1
CBOE Volatility Index (VIX)   BUY     9/17/2012         1       15.2
CBOE Volatility Index (VIX)   BUY     9/17/2012         1       15.1
CBOE Volatility Index (VIX)   BUY     9/17/2012         1       15.1
CBOE Volatility Index (VIX)   BUY     9/17/2012         1       15.1
CBOE Volatility Index (VIX)   BUY     9/17/2012         1       15.15
CBOE Volatility Index (VIX)   BUY     9/17/2012         1       15.15
CBOE Volatility Index (VIX)   BUY     9/17/2012         1       15.15
CBOE Volatility Index (VIX)   BUY     9/17/2012         1       15.2
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CBOE Volatility Index (VIX)   BUY     9/17/2012        1        15.3
CBOE Volatility Index (VIX)   BUY     9/17/2012        1        15.35
CBOE Volatility Index (VIX)   BUY     9/17/2012        2        15.1
CBOE Volatility Index (VIX)   BUY     9/17/2012        2        15.1
CBOE Volatility Index (VIX)   BUY     9/17/2012        2        15.35
CBOE Volatility Index (VIX)   BUY     9/17/2012        3        15.35
CBOE Volatility Index (VIX)   BUY     9/17/2012        3        15.35
CBOE Volatility Index (VIX)   BUY     9/17/2012        4        15.15
CBOE Volatility Index (VIX)   BUY     9/17/2012        4        15.25
CBOE Volatility Index (VIX)   BUY     9/17/2012        5        15.3
CBOE Volatility Index (VIX)   BUY     9/17/2012        8        15.35
CBOE Volatility Index (VIX)   BUY     9/17/2012       27        15.3
CBOE Volatility Index (VIX)   BUY     7/13/2012        1        22.75
CBOE Volatility Index (VIX)   BUY     7/13/2012        1        22.6
CBOE Volatility Index (VIX)   BUY     7/13/2012        1        22.7
CBOE Volatility Index (VIX)   BUY     7/13/2012        1        22.7
CBOE Volatility Index (VIX)   BUY     7/13/2012        2        22.55
CBOE Volatility Index (VIX)   BUY     7/13/2012        2        22.65
CBOE Volatility Index (VIX)   BUY     7/13/2012        2        22.6
CBOE Volatility Index (VIX)   BUY     7/13/2012        2        22.6
CBOE Volatility Index (VIX)   BUY     7/13/2012        2        22.6
CBOE Volatility Index (VIX)   BUY     7/13/2012        2        22.6
CBOE Volatility Index (VIX)   BUY     7/13/2012        8        22.7
CBOE Volatility Index (VIX)   BUY     7/13/2012        8        22.75
CBOE Volatility Index (VIX)   BUY     7/13/2012       11        22.8
CBOE Volatility Index (VIX)   BUY     7/16/2012        1        22.75
CBOE Volatility Index (VIX)   BUY     7/17/2012        2        22.15
CBOE Volatility Index (VIX)   BUY     7/18/2012        1        22.25
CBOE Volatility Index (VIX)   BUY     7/18/2012        1        22.35
CBOE Volatility Index (VIX)   BUY     7/19/2012        3        21.95
CBOE Volatility Index (VIX)   BUY     7/20/2012        1        22.65
CBOE Volatility Index (VIX)   BUY     7/20/2012        2        22.7
CBOE Volatility Index (VIX)   BUY     7/23/2012        1        23.8
CBOE Volatility Index (VIX)   BUY     7/23/2012        2        23.85
CBOE Volatility Index (VIX)   BUY     7/24/2012        2        24.5
CBOE Volatility Index (VIX)   BUY     7/26/2012        2        22.6
CBOE Volatility Index (VIX)   BUY     7/27/2012        1        22.35
CBOE Volatility Index (VIX)   BUY     7/27/2012        3        22.4
CBOE Volatility Index (VIX)   SELL    7/31/2012       -2        22.8
CBOE Volatility Index (VIX)   SELL    7/31/2012       -2        22.8
CBOE Volatility Index (VIX)   SELL     8/1/2012       -2        23.1
CBOE Volatility Index (VIX)   SELL     8/1/2012       -2        22.9
CBOE Volatility Index (VIX)   SELL     8/2/2012       -2        22.45
CBOE Volatility Index (VIX)   SELL     8/3/2012       -2        21.45
CBOE Volatility Index (VIX)   SELL     8/3/2012       -1        21.45
CBOE Volatility Index (VIX)   SELL     8/3/2012       -1        21.5
CBOE Volatility Index (VIX)   SELL     8/3/2012       -1        21.45
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CBOE Volatility Index (VIX)   BUY      8/6/2012         2        21
CBOE Volatility Index (VIX)   SELL     8/8/2012       -11       20.7
CBOE Volatility Index (VIX)   SELL     8/8/2012        -8       20.7
CBOE Volatility Index (VIX)   SELL     8/8/2012        -8       20.7
CBOE Volatility Index (VIX)   SELL     8/8/2012        -3       20.7
CBOE Volatility Index (VIX)   SELL     8/8/2012        -3       20.7
CBOE Volatility Index (VIX)   SELL     8/8/2012        -2       20.7
CBOE Volatility Index (VIX)   SELL     8/8/2012        -2       20.7
CBOE Volatility Index (VIX)   SELL     8/8/2012        -2       20.7
CBOE Volatility Index (VIX)   SELL     8/8/2012        -2       20.7
CBOE Volatility Index (VIX)   SELL     8/8/2012        -2       20.7
CBOE Volatility Index (VIX)   SELL     8/8/2012        -2       20.7
CBOE Volatility Index (VIX)   SELL     8/8/2012        -1       20.7
CBOE Volatility Index (VIX)   SELL     8/8/2012        -1       20.7
CBOE Volatility Index (VIX)   SELL     8/8/2012        -1       20.7
CBOE Volatility Index (VIX)   SELL     8/8/2012        -1       20.7
CBOE Volatility Index (VIX)   SELL     8/8/2012        -1       20.7
CBOE Volatility Index (VIX)   SELL     8/8/2012        -1       20.7
CBOE Volatility Index (VIX)   SELL     8/8/2012        -1       20.7
CBOE Volatility Index (VIX)   SELL    9/17/2012        -9       16.95
CBOE Volatility Index (VIX)   SELL    9/17/2012        -8       16.8
CBOE Volatility Index (VIX)   SELL    9/17/2012        -8       16.95
CBOE Volatility Index (VIX)   SELL    9/17/2012        -7       16.9
CBOE Volatility Index (VIX)   SELL    9/17/2012        -7       16.95
CBOE Volatility Index (VIX)   SELL    9/17/2012        -7       16.95
CBOE Volatility Index (VIX)   SELL    9/17/2012        -4       16.8
CBOE Volatility Index (VIX)   SELL    9/17/2012        -3       17.1
CBOE Volatility Index (VIX)   SELL    9/17/2012        -3       16.85
CBOE Volatility Index (VIX)   SELL    9/17/2012        -2       16.75
CBOE Volatility Index (VIX)   SELL    9/17/2012        -2       16.85
CBOE Volatility Index (VIX)   SELL    9/17/2012        -2        17
CBOE Volatility Index (VIX)   SELL    9/17/2012        -2       16.95
CBOE Volatility Index (VIX)   SELL    9/17/2012        -2       16.95
CBOE Volatility Index (VIX)   SELL    9/17/2012        -1       17.05
CBOE Volatility Index (VIX)   SELL    9/17/2012        -1       16.85
CBOE Volatility Index (VIX)   SELL    9/17/2012        -1       16.85
CBOE Volatility Index (VIX)   SELL    9/17/2012        -1       16.95
CBOE Volatility Index (VIX)   SELL    9/17/2012        -1       16.95
CBOE Volatility Index (VIX)   BUY     9/17/2012         2       16.8
CBOE Volatility Index (VIX)   BUY     9/17/2012         3       16.95
CBOE Volatility Index (VIX)   BUY     9/17/2012         4       16.8
CBOE Volatility Index (VIX)   BUY     9/17/2012         8       16.9
CBOE Volatility Index (VIX)   BUY     9/18/2012         1       16.3
CBOE Volatility Index (VIX)   BUY     9/18/2012         1       16.35
CBOE Volatility Index (VIX)   SELL    9/19/2012        -1       16.1
CBOE Volatility Index (VIX)   SELL    9/20/2012        -4       16.25
CBOE Volatility Index (VIX)   SELL    9/21/2012        -1       16.05
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CBOE Volatility Index (VIX)   SELL   9/21/2012        -1        16.1
CBOE Volatility Index (VIX)   SELL   9/24/2012        -4        15.85
CBOE Volatility Index (VIX)   SELL   9/25/2012        -3        17.05
CBOE Volatility Index (VIX)   SELL   9/25/2012        -1         17
CBOE Volatility Index (VIX)   SELL   9/25/2012        -1         17
CBOE Volatility Index (VIX)   BUY    9/26/2012         2        17.75
CBOE Volatility Index (VIX)   BUY    9/26/2012         7        17.75
CBOE Volatility Index (VIX)   SELL   9/27/2012        -1        16.2
CBOE Volatility Index (VIX)   BUY    9/28/2012         1        16.45
CBOE Volatility Index (VIX)   SELL   10/1/2012        -1        16.8
CBOE Volatility Index (VIX)   BUY    10/2/2012         1        16.5
CBOE Volatility Index (VIX)   BUY    10/2/2012         2        16.55
CBOE Volatility Index (VIX)   SELL   10/3/2012        -3        16.45
CBOE Volatility Index (VIX)   SELL   10/4/2012        -4        15.8
CBOE Volatility Index (VIX)   SELL   10/5/2012        -3        15.7
CBOE Volatility Index (VIX)   SELL   10/5/2012        -3        15.75
CBOE Volatility Index (VIX)   SELL   10/8/2012        -5        15.85
CBOE Volatility Index (VIX)   SELL   10/9/2012        -5        16.65
CBOE Volatility Index (VIX)   SELL   10/10/2012       -1        16.65
CBOE Volatility Index (VIX)   BUY    10/11/2012        2        16.2
CBOE Volatility Index (VIX)   SELL   10/12/2012       -1        16.6
CBOE Volatility Index (VIX)   SELL   10/12/2012       -1        16.65
CBOE Volatility Index (VIX)   BUY    10/15/2012        1        15.85
CBOE Volatility Index (VIX)   BUY    10/15/2012        1        15.85
CBOE Volatility Index (VIX)   BUY    10/15/2012        1        15.8
CBOE Volatility Index (VIX)   BUY    10/15/2012        1        15.9
CBOE Volatility Index (VIX)   BUY    10/15/2012        1        15.8
CBOE Volatility Index (VIX)   BUY    10/15/2012        1        15.8
CBOE Volatility Index (VIX)   BUY    10/15/2012        1        15.8
CBOE Volatility Index (VIX)   BUY    10/15/2012        1        15.8
CBOE Volatility Index (VIX)   BUY    10/15/2012        1        15.85
CBOE Volatility Index (VIX)   BUY    10/15/2012        1        15.85
CBOE Volatility Index (VIX)   BUY    10/15/2012        1        15.85
CBOE Volatility Index (VIX)   BUY    10/15/2012        2        15.8
CBOE Volatility Index (VIX)   BUY    10/15/2012        3        15.85
CBOE Volatility Index (VIX)   BUY    10/15/2012        3        15.85
CBOE Volatility Index (VIX)   BUY    10/15/2012        3        15.8
CBOE Volatility Index (VIX)   BUY    10/15/2012        3        15.85
CBOE Volatility Index (VIX)   BUY    10/15/2012        3        15.85
CBOE Volatility Index (VIX)   BUY    10/15/2012        4        15.8
CBOE Volatility Index (VIX)   BUY    10/15/2012        4        15.8
CBOE Volatility Index (VIX)   BUY    10/15/2012        4        15.85
CBOE Volatility Index (VIX)   BUY    10/15/2012        5        15.85
CBOE Volatility Index (VIX)   BUY    10/15/2012        5        15.85
CBOE Volatility Index (VIX)   BUY    10/15/2012        7        15.7
CBOE Volatility Index (VIX)   BUY    10/15/2012        7        15.8
CBOE Volatility Index (VIX)   BUY    10/15/2012        8        15.75
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CBOE Volatility Index (VIX)   BUY    10/15/2012         9       15.65
CBOE Volatility Index (VIX)   SELL   10/15/2012       -37       17.3
CBOE Volatility Index (VIX)   SELL   10/15/2012        -8       17.15
CBOE Volatility Index (VIX)   SELL   10/15/2012        -5       17.35
CBOE Volatility Index (VIX)   SELL   10/15/2012        -5       17.2
CBOE Volatility Index (VIX)   SELL   10/15/2012        -3       17.2
CBOE Volatility Index (VIX)   SELL   10/15/2012        -3       17.25
CBOE Volatility Index (VIX)   SELL   10/15/2012        -2       17.2
CBOE Volatility Index (VIX)   SELL   10/15/2012        -2       17.25
CBOE Volatility Index (VIX)   SELL   10/15/2012        -2       17.25
CBOE Volatility Index (VIX)   SELL   10/15/2012        -2       17.25
CBOE Volatility Index (VIX)   SELL   10/15/2012        -2       17.25
CBOE Volatility Index (VIX)   SELL   10/15/2012        -2       17.3
CBOE Volatility Index (VIX)   SELL   10/15/2012        -2       17.3
CBOE Volatility Index (VIX)   SELL   10/15/2012        -1       17.2
CBOE Volatility Index (VIX)   SELL   10/15/2012        -1       17.25
CBOE Volatility Index (VIX)   SELL   10/15/2012        -1       17.2
CBOE Volatility Index (VIX)   SELL   10/15/2012        -1       17.25
CBOE Volatility Index (VIX)   SELL   10/15/2012        -1       17.25
CBOE Volatility Index (VIX)   SELL   10/15/2012        -1       17.3
CBOE Volatility Index (VIX)   SELL   10/15/2012        -1       17.15
CBOE Volatility Index (VIX)   SELL   10/15/2012        -1       17.15
CBOE Volatility Index (VIX)   SELL   10/16/2012        -1       16.75
CBOE Volatility Index (VIX)   SELL   10/17/2012        -2       16.5
CBOE Volatility Index (VIX)   SELL   10/17/2012        -1       16.45
CBOE Volatility Index (VIX)   SELL   10/18/2012        -6       16.6
CBOE Volatility Index (VIX)   SELL   10/19/2012        -3       17.55
CBOE Volatility Index (VIX)   SELL   10/19/2012        -2       17.6
CBOE Volatility Index (VIX)   BUY    10/22/2012         8       17.35
CBOE Volatility Index (VIX)   BUY    10/23/2012         1        19
CBOE Volatility Index (VIX)   BUY    10/23/2012         1       19.05
CBOE Volatility Index (VIX)   BUY    10/23/2012         1       19.05
CBOE Volatility Index (VIX)   BUY    10/23/2012         3       19.15
CBOE Volatility Index (VIX)   BUY    10/24/2012         1       18.9
CBOE Volatility Index (VIX)   BUY    10/24/2012         2       18.8
CBOE Volatility Index (VIX)   BUY    10/24/2012         2       18.9
CBOE Volatility Index (VIX)   BUY    10/24/2012         5       18.85
CBOE Volatility Index (VIX)   BUY    10/25/2012         2       18.35
CBOE Volatility Index (VIX)   BUY    10/25/2012         2       18.4
CBOE Volatility Index (VIX)   SELL   10/26/2012        -4       18.25
CBOE Volatility Index (VIX)   BUY    10/26/2012         1       18.3
CBOE Volatility Index (VIX)   BUY    10/31/2012         1       18.95
CBOE Volatility Index (VIX)   BUY    10/31/2012         1       18.85
CBOE Volatility Index (VIX)   BUY    10/31/2012         2       18.9
CBOE Volatility Index (VIX)   BUY    10/31/2012         3       18.95
CBOE Volatility Index (VIX)   BUY    11/1/2012          1       16.95
CBOE Volatility Index (VIX)   BUY    11/1/2012          2        17
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CBOE Volatility Index (VIX)   BUY    11/2/2012          2       17.8
CBOE Volatility Index (VIX)   BUY    11/5/2012          1       18.1
CBOE Volatility Index (VIX)   BUY    11/5/2012          1       18.1
CBOE Volatility Index (VIX)   BUY    11/5/2012          1       18.1
CBOE Volatility Index (VIX)   BUY    11/5/2012          2       18.1
CBOE Volatility Index (VIX)   BUY    11/5/2012          2       18.1
CBOE Volatility Index (VIX)   BUY    11/5/2012          2       18.1
CBOE Volatility Index (VIX)   BUY    11/5/2012          3       18.1
CBOE Volatility Index (VIX)   BUY    11/5/2012          4       18.1
CBOE Volatility Index (VIX)   BUY    11/5/2012          5       18.1
CBOE Volatility Index (VIX)   BUY    11/5/2012          6       18.1
CBOE Volatility Index (VIX)   BUY    11/5/2012         15       18.1
CBOE Volatility Index (VIX)   BUY    11/5/2012         37       18.1
CBOE Volatility Index (VIX)   BUY    11/6/2012          1       17.1
CBOE Volatility Index (VIX)   BUY    11/6/2012          1       17.05
CBOE Volatility Index (VIX)   BUY    11/6/2012          1       17.1
CBOE Volatility Index (VIX)   SELL   11/7/2012         -2       18.75
CBOE Volatility Index (VIX)   BUY    11/7/2012          2       18.8
CBOE Volatility Index (VIX)   SELL   11/8/2012        -30       18.55
CBOE Volatility Index (VIX)   SELL   11/8/2012        -15       18.5
CBOE Volatility Index (VIX)   SELL   11/8/2012         -4       18.6
CBOE Volatility Index (VIX)   SELL   11/8/2012         -4       18.55
CBOE Volatility Index (VIX)   SELL   11/8/2012         -2       18.55
CBOE Volatility Index (VIX)   SELL   11/8/2012         -1       18.55
CBOE Volatility Index (VIX)   SELL   11/8/2012         -1       18.55
CBOE Volatility Index (VIX)   SELL   11/8/2012         -1       18.55
CBOE Volatility Index (VIX)   SELL   11/8/2012         -1       18.55
CBOE Volatility Index (VIX)   SELL   11/8/2012         -1       18.55
CBOE Volatility Index (VIX)   SELL   11/8/2012         -1       18.55
CBOE Volatility Index (VIX)   SELL   11/8/2012         -1       18.55
CBOE Volatility Index (VIX)   BUY    11/8/2012          1       18.55
CBOE Volatility Index (VIX)   BUY    11/8/2012          1       18.6
CBOE Volatility Index (VIX)   BUY    11/9/2012          1       18.7
CBOE Volatility Index (VIX)   BUY    11/12/2012         4       17.15
CBOE Volatility Index (VIX)   SELL   11/13/2012        -1        17
CBOE Volatility Index (VIX)   SELL   11/14/2012        -2       17.7
CBOE Volatility Index (VIX)   BUY    11/14/2012         1       17.75
CBOE Volatility Index (VIX)   BUY    11/14/2012         1       17.75
CBOE Volatility Index (VIX)   BUY    11/14/2012         2       17.75
CBOE Volatility Index (VIX)   BUY    11/14/2012         4       17.75
CBOE Volatility Index (VIX)   BUY    11/14/2012         6       17.75
CBOE Volatility Index (VIX)   BUY    11/14/2012        30       17.75
CBOE Volatility Index (VIX)   SELL   11/15/2012        -9        18
CBOE Volatility Index (VIX)   SELL   11/15/2012        -9        18
CBOE Volatility Index (VIX)   SELL   11/15/2012        -6       17.95
CBOE Volatility Index (VIX)   SELL   11/15/2012        -5       17.95
CBOE Volatility Index (VIX)   SELL   11/15/2012        -5        18
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CBOE Volatility Index (VIX)   SELL   11/15/2012        -4        18
CBOE Volatility Index (VIX)   SELL   11/15/2012        -3       17.95
CBOE Volatility Index (VIX)   SELL   11/15/2012        -2       17.95
CBOE Volatility Index (VIX)   SELL   11/15/2012        -2        18
CBOE Volatility Index (VIX)   SELL   11/15/2012        -1        18
CBOE Volatility Index (VIX)   SELL   11/15/2012        -1        18
CBOE Volatility Index (VIX)   SELL   11/16/2012        -1       16.8
CBOE Volatility Index (VIX)   BUY    11/19/2012         1       15.7
CBOE Volatility Index (VIX)   BUY    11/19/2012         1       15.7
CBOE Volatility Index (VIX)   BUY    11/19/2012         2       15.35
CBOE Volatility Index (VIX)   BUY    11/19/2012         2       15.65
CBOE Volatility Index (VIX)   BUY    11/19/2012         3       15.4
CBOE Volatility Index (VIX)   BUY    11/19/2012         4       15.55
CBOE Volatility Index (VIX)   BUY    11/19/2012         5       15.6
CBOE Volatility Index (VIX)   BUY    11/19/2012         5       15.45
CBOE Volatility Index (VIX)   BUY    11/19/2012         9       15.45
CBOE Volatility Index (VIX)   BUY    11/19/2012         9       15.5
CBOE Volatility Index (VIX)   SELL   11/19/2012       -12       16.9
CBOE Volatility Index (VIX)   SELL   11/19/2012        -8       16.8
CBOE Volatility Index (VIX)   SELL   11/19/2012        -8       16.95
CBOE Volatility Index (VIX)   SELL   11/19/2012        -4       16.7
CBOE Volatility Index (VIX)   SELL   11/19/2012        -3       16.75
CBOE Volatility Index (VIX)   SELL   11/19/2012        -3       16.85
CBOE Volatility Index (VIX)   SELL   11/19/2012        -2       16.7
CBOE Volatility Index (VIX)   SELL   11/19/2012        -2       17.05
CBOE Volatility Index (VIX)   SELL   11/19/2012        -1       16.7
CBOE Volatility Index (VIX)   SELL   11/20/2012        -2       16.35
CBOE Volatility Index (VIX)   SELL   11/21/2012        -1       16.5
CBOE Volatility Index (VIX)   SELL   11/21/2012        -1       16.5
CBOE Volatility Index (VIX)   SELL   11/23/2012        -2       16.1
CBOE Volatility Index (VIX)   SELL   11/23/2012        -1       16.1
CBOE Volatility Index (VIX)   SELL   11/27/2012       -30       15.55
CBOE Volatility Index (VIX)   SELL   11/27/2012       -11       15.65
CBOE Volatility Index (VIX)   SELL   11/27/2012       -10       15.5
CBOE Volatility Index (VIX)   SELL   11/27/2012        -5       15.6
CBOE Volatility Index (VIX)   SELL   11/27/2012        -5       15.6
CBOE Volatility Index (VIX)   SELL   11/27/2012        -1       15.7
CBOE Volatility Index (VIX)   SELL   11/27/2012        -1       16.1
CBOE Volatility Index (VIX)   SELL   11/27/2012        -1       16.15
CBOE Volatility Index (VIX)   SELL   11/28/2012        -5       15.5
CBOE Volatility Index (VIX)   SELL   11/28/2012        -1       15.5
CBOE Volatility Index (VIX)   SELL   11/29/2012        -4       15.25
CBOE Volatility Index (VIX)   SELL   11/29/2012        -2       15.2
CBOE Volatility Index (VIX)   BUY    11/29/2012         1       15.3
CBOE Volatility Index (VIX)   SELL   11/30/2012        -2       15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012         1       15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012         1       15.55
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CBOE Volatility Index (VIX)   BUY    11/30/2012         1       15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012         1       15.6
CBOE Volatility Index (VIX)   BUY    11/30/2012         1       15.6
CBOE Volatility Index (VIX)   BUY    11/30/2012         1       15.6
CBOE Volatility Index (VIX)   BUY    11/30/2012         1       15.6
CBOE Volatility Index (VIX)   BUY    11/30/2012         2       15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012         2       15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012         2       15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012         2       15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012         2       15.6
CBOE Volatility Index (VIX)   BUY    11/30/2012         2       15.6
CBOE Volatility Index (VIX)   BUY    11/30/2012         2       15.6
CBOE Volatility Index (VIX)   BUY    11/30/2012         3       15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012         3       15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012         3       15.6
CBOE Volatility Index (VIX)   BUY    11/30/2012         4       15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012         4       15.6
CBOE Volatility Index (VIX)   BUY    11/30/2012         5       15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012         5       15.6
CBOE Volatility Index (VIX)   BUY    11/30/2012         5       15.6
CBOE Volatility Index (VIX)   BUY    11/30/2012         5       15.6
CBOE Volatility Index (VIX)   BUY    11/30/2012         8       15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012         8       15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012         8       15.6
CBOE Volatility Index (VIX)   BUY    11/30/2012        10       15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012        11       15.6
CBOE Volatility Index (VIX)   BUY    11/30/2012        12       15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012        30       15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012        66       15.6
CBOE Volatility Index (VIX)   SELL   12/3/2012         -5       16.25
CBOE Volatility Index (VIX)   BUY    12/4/2012          1       16.55
CBOE Volatility Index (VIX)   SELL   12/5/2012         -2       16.05
CBOE Volatility Index (VIX)   BUY    12/5/2012         10       16.1
CBOE Volatility Index (VIX)   SELL   12/6/2012         -8       16.35
CBOE Volatility Index (VIX)   SELL   12/6/2012         -3       16.4
CBOE Volatility Index (VIX)   SELL   12/7/2012        -66       15.9
CBOE Volatility Index (VIX)   SELL   12/7/2012        -59       15.95
CBOE Volatility Index (VIX)   SELL   12/7/2012        -26       15.9
CBOE Volatility Index (VIX)   SELL   12/7/2012        -18       15.9
CBOE Volatility Index (VIX)   SELL   12/7/2012        -13       15.95
CBOE Volatility Index (VIX)   SELL   12/7/2012        -10       15.9
CBOE Volatility Index (VIX)   SELL   12/7/2012         -8       15.9
CBOE Volatility Index (VIX)   SELL   12/7/2012         -6       15.9
CBOE Volatility Index (VIX)   SELL   12/7/2012         -4       15.9
CBOE Volatility Index (VIX)   SELL   12/7/2012         -1       15.9
CBOE Volatility Index (VIX)   SELL   12/10/2012       -44        16
CBOE Volatility Index (VIX)   SELL   12/10/2012        -1        16
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CBOE Volatility Index (VIX)   SELL   12/10/2012        -1       16.05
CBOE Volatility Index (VIX)   SELL   12/10/2012        -1       16.05
CBOE Volatility Index (VIX)   BUY    12/10/2012        18        16
CBOE Volatility Index (VIX)   BUY    12/10/2012        26        16
CBOE Volatility Index (VIX)   SELL   12/11/2012       -12       15.5
CBOE Volatility Index (VIX)   SELL   12/11/2012        -1       15.5
CBOE Volatility Index (VIX)   SELL   12/11/2012        -1       15.55
CBOE Volatility Index (VIX)   SELL   12/12/2012        -1       16.05
CBOE Volatility Index (VIX)   BUY    12/12/2012         4       16.1
CBOE Volatility Index (VIX)   SELL   12/13/2012        -1       16.6
CBOE Volatility Index (VIX)   SELL   12/13/2012        -1       16.6
CBOE Volatility Index (VIX)   SELL   12/13/2012        -1       16.6
CBOE Volatility Index (VIX)   SELL   12/14/2012        -1       16.85
CBOE Volatility Index (VIX)   BUY    12/14/2012         1       16.95
CBOE Volatility Index (VIX)   BUY    12/14/2012         1       16.95
CBOE Volatility Index (VIX)   BUY    12/14/2012         1       16.95
CBOE Volatility Index (VIX)   BUY    12/14/2012         1       16.95
CBOE Volatility Index (VIX)   BUY    12/14/2012         1       16.95
CBOE Volatility Index (VIX)   BUY    12/14/2012         6       16.9
CBOE Volatility Index (VIX)   BUY    12/14/2012         8       16.85
CBOE Volatility Index (VIX)   BUY    12/14/2012        12       16.95
CBOE Volatility Index (VIX)   BUY    12/14/2012        13       16.95
CBOE Volatility Index (VIX)   BUY    12/14/2012        44       16.95
CBOE Volatility Index (VIX)   BUY    12/14/2012        59       16.9
CBOE Volatility Index (VIX)   BUY    12/17/2012         1       16.7
CBOE Volatility Index (VIX)   BUY    12/17/2012         1       16.85
CBOE Volatility Index (VIX)   BUY    12/17/2012         1       16.65
CBOE Volatility Index (VIX)   BUY    12/17/2012         1       16.95
CBOE Volatility Index (VIX)   BUY    12/17/2012         1       16.95
CBOE Volatility Index (VIX)   SELL   12/17/2012       -88       16.5
CBOE Volatility Index (VIX)   SELL   12/17/2012       -59       16.45
CBOE Volatility Index (VIX)   SELL   12/17/2012       -16       16.45
CBOE Volatility Index (VIX)   SELL   12/17/2012        -1       16.7
CBOE Volatility Index (VIX)   SELL   12/17/2012        -1       16.9
CBOE Volatility Index (VIX)   SELL   12/17/2012        -1       16.95
CBOE Volatility Index (VIX)   SELL   12/17/2012        -1       17.05
CBOE Volatility Index (VIX)   SELL   12/17/2012        -1       17.1
CBOE Volatility Index (VIX)   SELL   12/17/2012        -1       16.5
CBOE Volatility Index (VIX)   SELL   12/17/2012        -1       16.5
CBOE Volatility Index (VIX)   BUY    12/19/2012         1       17.1
CBOE Volatility Index (VIX)   BUY    12/19/2012        16        17
CBOE Volatility Index (VIX)   BUY    12/19/2012        59       17.05
CBOE Volatility Index (VIX)   BUY    12/19/2012        88       17.05
CBOE Volatility Index (VIX)   SELL   12/20/2012        -6       17.45
CBOE Volatility Index (VIX)   BUY    12/20/2012         1       17.5
CBOE Volatility Index (VIX)   SELL   12/21/2012       -30       18.35
CBOE Volatility Index (VIX)   SELL   12/21/2012       -18       18.3
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CBOE Volatility Index (VIX)   SELL   12/21/2012       -17       18.3
CBOE Volatility Index (VIX)   SELL   12/21/2012       -14       18.25
CBOE Volatility Index (VIX)   SELL   12/21/2012       -12       18.25
CBOE Volatility Index (VIX)   SELL   12/21/2012        -4       18.4
CBOE Volatility Index (VIX)   SELL   12/21/2012        -3       18.4
CBOE Volatility Index (VIX)   SELL   12/21/2012        -2       18.4
CBOE Volatility Index (VIX)   SELL   12/21/2012        -2       18.4
CBOE Volatility Index (VIX)   SELL   12/21/2012        -1       18.4
CBOE Volatility Index (VIX)   BUY    12/21/2012         1       18.4
CBOE Volatility Index (VIX)   BUY    12/21/2012         1       18.35
CBOE Volatility Index (VIX)   BUY    12/24/2012         1       18.55
CBOE Volatility Index (VIX)   BUY    12/24/2012         1       18.55
CBOE Volatility Index (VIX)   BUY    12/24/2012         1       18.55
CBOE Volatility Index (VIX)   BUY    12/24/2012         4       18.65
CBOE Volatility Index (VIX)   BUY    12/24/2012         6       18.55
CBOE Volatility Index (VIX)   BUY    12/24/2012        12       18.55
CBOE Volatility Index (VIX)   BUY    12/24/2012        14       18.6
CBOE Volatility Index (VIX)   BUY    12/24/2012        17       18.65
CBOE Volatility Index (VIX)   BUY    12/24/2012        18       18.6
CBOE Volatility Index (VIX)   BUY    12/24/2012        30       18.65
CBOE Volatility Index (VIX)   SELL   12/26/2012        -1       19.5
CBOE Volatility Index (VIX)   SELL   12/26/2012        -1       19.5
CBOE Volatility Index (VIX)   BUY    12/26/2012         2       19.55
CBOE Volatility Index (VIX)   BUY    12/26/2012         3       19.5
CBOE Volatility Index (VIX)   BUY    12/27/2012         2       19.1
CBOE Volatility Index (VIX)   BUY    12/28/2012         1       21.9
CBOE Volatility Index (VIX)   BUY    12/28/2012         1       21.85
CBOE Volatility Index (VIX)   BUY    12/28/2012         1       21.95
CBOE Volatility Index (VIX)   BUY    12/28/2012         4       22.05
CBOE Volatility Index (VIX)   BUY    12/28/2012        13       22.05
CBOE Volatility Index (VIX)   BUY    12/28/2012        29       22.1
CBOE Volatility Index (VIX)   BUY    12/31/2012         1       17.65
CBOE Volatility Index (VIX)   BUY    12/31/2012         1       17.7
CBOE Volatility Index (VIX)   BUY    12/31/2012         2       17.7
CBOE Volatility Index (VIX)   BUY    12/31/2012         4       17.65
CBOE Volatility Index (VIX)   SELL    1/2/2013        -29       15.55
CBOE Volatility Index (VIX)   SELL    1/2/2013        -19       15.55
CBOE Volatility Index (VIX)   SELL    1/2/2013        -13       15.55
CBOE Volatility Index (VIX)   SELL    1/2/2013         -4       15.55
CBOE Volatility Index (VIX)   SELL    1/2/2013         -4       15.55
CBOE Volatility Index (VIX)   SELL    1/2/2013         -3       15.55
CBOE Volatility Index (VIX)   SELL    1/2/2013         -3       15.55
CBOE Volatility Index (VIX)   SELL    1/2/2013         -2       15.55
CBOE Volatility Index (VIX)   SELL    1/2/2013         -1       15.55
CBOE Volatility Index (VIX)   SELL    1/2/2013         -1       15.55
CBOE Volatility Index (VIX)   SELL    1/2/2013         -1       15.55
CBOE Volatility Index (VIX)   SELL    1/2/2013         -1       15.55
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CBOE Volatility Index (VIX)   BUY      1/2/2013         3       15.6
CBOE Volatility Index (VIX)   SELL     1/3/2013        -1       15.75
CBOE Volatility Index (VIX)   SELL     1/3/2013        -1       15.8
CBOE Volatility Index (VIX)   SELL     1/4/2013        -1       15.35
CBOE Volatility Index (VIX)   BUY      1/4/2013         1       15.35
CBOE Volatility Index (VIX)   BUY      1/4/2013         1       15.4
CBOE Volatility Index (VIX)   SELL     1/7/2013       -27       14.8
CBOE Volatility Index (VIX)   SELL     1/7/2013       -22       14.75
CBOE Volatility Index (VIX)   SELL     1/7/2013       -13       14.75
CBOE Volatility Index (VIX)   SELL     1/7/2013        -8       14.75
CBOE Volatility Index (VIX)   SELL     1/7/2013        -7       14.75
CBOE Volatility Index (VIX)   SELL     1/7/2013        -4       14.75
CBOE Volatility Index (VIX)   SELL     1/7/2013        -3       14.75
CBOE Volatility Index (VIX)   SELL     1/7/2013        -1       14.8
CBOE Volatility Index (VIX)   SELL     1/8/2013       -22       14.7
CBOE Volatility Index (VIX)   SELL     1/8/2013        -8       14.7
CBOE Volatility Index (VIX)   SELL     1/8/2013        -1       14.6
CBOE Volatility Index (VIX)   BUY      1/8/2013         1       14.7
CBOE Volatility Index (VIX)   BUY      1/8/2013         1       14.7
CBOE Volatility Index (VIX)   BUY      1/8/2013         1       14.7
CBOE Volatility Index (VIX)   BUY      1/8/2013         3       14.65
CBOE Volatility Index (VIX)   BUY      1/8/2013         8       14.7
CBOE Volatility Index (VIX)   BUY      1/8/2013        19       14.7
CBOE Volatility Index (VIX)   SELL     1/9/2013        -6       14.65
CBOE Volatility Index (VIX)   SELL     1/9/2013        -1       14.65
CBOE Volatility Index (VIX)   SELL    1/10/2013        -6       14.15
CBOE Volatility Index (VIX)   SELL    1/10/2013        -4       14.2
CBOE Volatility Index (VIX)   SELL    1/10/2013        -1       14.15
CBOE Volatility Index (VIX)   SELL    1/11/2013        -5       14.15
CBOE Volatility Index (VIX)   SELL    1/11/2013        -4       14.15
CBOE Volatility Index (VIX)   SELL    1/11/2013        -2       14.15
CBOE Volatility Index (VIX)   BUY     1/14/2013         1       14.15
CBOE Volatility Index (VIX)   BUY     1/14/2013         1       14.15
CBOE Volatility Index (VIX)   BUY     1/14/2013         1       14.2
CBOE Volatility Index (VIX)   BUY     1/14/2013         1       14.2
CBOE Volatility Index (VIX)   BUY     1/14/2013         2       14.2
CBOE Volatility Index (VIX)   BUY     1/14/2013         3       14.1
CBOE Volatility Index (VIX)   BUY     1/14/2013         4       14.2
CBOE Volatility Index (VIX)   BUY     1/14/2013         4       14.1
CBOE Volatility Index (VIX)   BUY     1/14/2013         4       14.2
CBOE Volatility Index (VIX)   BUY     1/14/2013         5       14.25
CBOE Volatility Index (VIX)   BUY     1/14/2013         6       14.2
CBOE Volatility Index (VIX)   BUY     1/14/2013         6       14.2
CBOE Volatility Index (VIX)   BUY     1/14/2013         7       13.95
CBOE Volatility Index (VIX)   BUY     1/14/2013         8       14.2
CBOE Volatility Index (VIX)   BUY     1/14/2013        13       14.05
CBOE Volatility Index (VIX)   BUY     1/14/2013        22        14
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CBOE Volatility Index (VIX)   BUY     1/14/2013        22       14.15
CBOE Volatility Index (VIX)   BUY     1/14/2013        27       14.1
CBOE Volatility Index (VIX)   SELL    1/14/2013       -23       15.9
CBOE Volatility Index (VIX)   SELL    1/14/2013       -19       15.85
CBOE Volatility Index (VIX)   SELL    1/14/2013       -18       15.8
CBOE Volatility Index (VIX)   SELL    1/14/2013       -13       15.9
CBOE Volatility Index (VIX)   SELL    1/14/2013        -9       15.75
CBOE Volatility Index (VIX)   SELL    1/14/2013        -8       15.85
CBOE Volatility Index (VIX)   SELL    1/14/2013        -8       15.85
CBOE Volatility Index (VIX)   SELL    1/14/2013        -8       15.9
CBOE Volatility Index (VIX)   SELL    1/14/2013        -7       15.85
CBOE Volatility Index (VIX)   SELL    1/14/2013        -5       15.95
CBOE Volatility Index (VIX)   SELL    1/14/2013        -5       15.85
CBOE Volatility Index (VIX)   SELL    1/14/2013        -4        16
CBOE Volatility Index (VIX)   SELL    1/14/2013        -4       15.85
CBOE Volatility Index (VIX)   SELL    1/14/2013        -2       15.9
CBOE Volatility Index (VIX)   SELL    1/14/2013        -2       15.9
CBOE Volatility Index (VIX)   SELL    1/14/2013        -1       15.75
CBOE Volatility Index (VIX)   SELL    1/14/2013        -1       15.9
CBOE Volatility Index (VIX)   BUY     1/14/2013         9       15.9
CBOE Volatility Index (VIX)   SELL    1/15/2013        -9       15.8
CBOE Volatility Index (VIX)   SELL    1/15/2013        -2       15.75
CBOE Volatility Index (VIX)   SELL    1/15/2013        -2       15.8
CBOE Volatility Index (VIX)   SELL    1/16/2013       -14       15.5
CBOE Volatility Index (VIX)   SELL    1/16/2013       -11       15.45
CBOE Volatility Index (VIX)   SELL    1/17/2013        -1       15.6
CBOE Volatility Index (VIX)   SELL    1/17/2013        -1       15.65
CBOE Volatility Index (VIX)   BUY     1/17/2013         1       15.65
CBOE Volatility Index (VIX)   BUY     1/17/2013         5       15.7
CBOE Volatility Index (VIX)   BUY     1/17/2013         8       15.65
CBOE Volatility Index (VIX)   BUY     1/17/2013        18       15.65
CBOE Volatility Index (VIX)   BUY     1/18/2013        19       14.7
CBOE Volatility Index (VIX)   SELL    1/22/2013       -12       14.05
CBOE Volatility Index (VIX)   SELL    1/22/2013        -2       14.05
CBOE Volatility Index (VIX)   SELL    1/23/2013        -6       13.7
CBOE Volatility Index (VIX)   SELL    1/23/2013        -3       13.75
CBOE Volatility Index (VIX)   SELL    1/24/2013        -4       13.8
CBOE Volatility Index (VIX)   SELL    1/24/2013        -2       13.8
CBOE Volatility Index (VIX)   BUY     1/25/2013         4       14.15
CBOE Volatility Index (VIX)   SELL    1/28/2013        -2       14.5
CBOE Volatility Index (VIX)   BUY     1/28/2013         7       14.55
CBOE Volatility Index (VIX)   SELL    1/29/2013       -10        14
CBOE Volatility Index (VIX)   SELL    1/29/2013        -1        14
CBOE Volatility Index (VIX)   BUY     1/30/2013         1       15.1
CBOE Volatility Index (VIX)   BUY     1/30/2013         2       15.1
CBOE Volatility Index (VIX)   BUY     1/30/2013         8       15.15
CBOE Volatility Index (VIX)   BUY     1/30/2013         8       15.1
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CBOE Volatility Index (VIX)   SELL    1/31/2013        -5       14.9
CBOE Volatility Index (VIX)   SELL    1/31/2013        -2       14.85
CBOE Volatility Index (VIX)   SELL     2/1/2013       -10       14.3
CBOE Volatility Index (VIX)   SELL     2/1/2013        -5       14.25
CBOE Volatility Index (VIX)   BUY      2/4/2013         2       15.2
CBOE Volatility Index (VIX)   SELL     2/5/2013       -12       14.35
CBOE Volatility Index (VIX)   SELL     2/6/2013        -6       14.15
CBOE Volatility Index (VIX)   SELL     2/6/2013        -5       14.1
CBOE Volatility Index (VIX)   SELL     2/7/2013        -4       14.05
CBOE Volatility Index (VIX)   SELL     2/7/2013        -3       14.1
CBOE Volatility Index (VIX)   SELL     2/7/2013        -1       14.1
CBOE Volatility Index (VIX)   SELL     2/8/2013       -13       13.75
CBOE Volatility Index (VIX)   BUY     2/11/2013         1       13.6
CBOE Volatility Index (VIX)   BUY     2/11/2013         1       13.55
CBOE Volatility Index (VIX)   BUY     2/11/2013         1       13.55
CBOE Volatility Index (VIX)   BUY     2/11/2013         1       13.6
CBOE Volatility Index (VIX)   BUY     2/11/2013         2       13.6
CBOE Volatility Index (VIX)   BUY     2/11/2013         2       13.5
CBOE Volatility Index (VIX)   BUY     2/11/2013         2       13.5
CBOE Volatility Index (VIX)   BUY     2/11/2013         2       13.55
CBOE Volatility Index (VIX)   BUY     2/11/2013         2       13.6
CBOE Volatility Index (VIX)   BUY     2/11/2013         2       13.6
CBOE Volatility Index (VIX)   BUY     2/11/2013         3       13.55
CBOE Volatility Index (VIX)   BUY     2/11/2013         3       13.65
CBOE Volatility Index (VIX)   BUY     2/11/2013         4       13.5
CBOE Volatility Index (VIX)   BUY     2/11/2013         4       13.6
CBOE Volatility Index (VIX)   BUY     2/11/2013         4       13.6
CBOE Volatility Index (VIX)   BUY     2/11/2013         5       13.5
CBOE Volatility Index (VIX)   BUY     2/11/2013         5       13.6
CBOE Volatility Index (VIX)   BUY     2/11/2013         5       13.6
CBOE Volatility Index (VIX)   BUY     2/11/2013         5       13.6
CBOE Volatility Index (VIX)   BUY     2/11/2013         6       13.55
CBOE Volatility Index (VIX)   BUY     2/11/2013         6       13.6
CBOE Volatility Index (VIX)   BUY     2/11/2013         9       13.5
CBOE Volatility Index (VIX)   BUY     2/11/2013        10       13.6
CBOE Volatility Index (VIX)   BUY     2/11/2013        10       13.6
CBOE Volatility Index (VIX)   BUY     2/11/2013        11       13.55
CBOE Volatility Index (VIX)   BUY     2/11/2013        12       13.55
CBOE Volatility Index (VIX)   BUY     2/11/2013        12       13.6
CBOE Volatility Index (VIX)   BUY     2/11/2013        13       13.45
CBOE Volatility Index (VIX)   BUY     2/11/2013        13       13.65
CBOE Volatility Index (VIX)   BUY     2/11/2013        14       13.55
CBOE Volatility Index (VIX)   BUY     2/11/2013        23       13.5
CBOE Volatility Index (VIX)   SELL    2/11/2013       -57       14.9
CBOE Volatility Index (VIX)   SELL    2/11/2013       -47       14.8
CBOE Volatility Index (VIX)   SELL    2/11/2013       -21       14.95
CBOE Volatility Index (VIX)   SELL    2/11/2013       -20       14.8
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CBOE Volatility Index (VIX)   SELL    2/11/2013       -11       14.85
CBOE Volatility Index (VIX)   SELL    2/11/2013        -7       14.8
CBOE Volatility Index (VIX)   SELL    2/11/2013        -5       14.85
CBOE Volatility Index (VIX)   SELL    2/11/2013        -4       14.85
CBOE Volatility Index (VIX)   SELL    2/11/2013        -4       14.9
CBOE Volatility Index (VIX)   SELL    2/11/2013        -3       14.9
CBOE Volatility Index (VIX)   SELL    2/11/2013        -2       14.9
CBOE Volatility Index (VIX)   SELL    2/11/2013        -2       14.9
CBOE Volatility Index (VIX)   SELL    2/11/2013        -2       14.9
CBOE Volatility Index (VIX)   SELL    2/11/2013        -2       14.9
CBOE Volatility Index (VIX)   SELL    2/11/2013        -1        15
CBOE Volatility Index (VIX)   SELL    2/11/2013        -1       14.8
CBOE Volatility Index (VIX)   SELL    2/11/2013        -1       14.85
CBOE Volatility Index (VIX)   SELL    2/11/2013        -1       14.9
CBOE Volatility Index (VIX)   SELL    2/11/2013        -1       14.9
CBOE Volatility Index (VIX)   SELL    2/11/2013        -1       14.9
CBOE Volatility Index (VIX)   SELL    2/11/2013        -1       14.85
CBOE Volatility Index (VIX)   SELL    2/11/2013        -1       14.9
CBOE Volatility Index (VIX)   BUY     2/11/2013         1       14.9
CBOE Volatility Index (VIX)   SELL    2/12/2013       -15       14.7
CBOE Volatility Index (VIX)   SELL    2/12/2013        -2       14.7
CBOE Volatility Index (VIX)   SELL    2/13/2013       -12       14.7
CBOE Volatility Index (VIX)   SELL    2/13/2013        -4       14.75
CBOE Volatility Index (VIX)   SELL    2/13/2013        -2       14.75
CBOE Volatility Index (VIX)   SELL    2/14/2013        -1       14.55
CBOE Volatility Index (VIX)   BUY     2/14/2013        47       14.6
CBOE Volatility Index (VIX)   SELL    2/15/2013       -22       14.45
CBOE Volatility Index (VIX)   SELL    2/15/2013       -14       14.45
CBOE Volatility Index (VIX)   SELL    2/15/2013       -10       14.45
CBOE Volatility Index (VIX)   SELL    2/15/2013        -8       14.45
CBOE Volatility Index (VIX)   SELL    2/15/2013        -7       14.45
CBOE Volatility Index (VIX)   BUY     2/19/2013         4       13.95
CBOE Volatility Index (VIX)   BUY     2/19/2013         5       13.9
CBOE Volatility Index (VIX)   BUY     2/19/2013         7       13.9
CBOE Volatility Index (VIX)   BUY     2/19/2013        20       13.9
CBOE Volatility Index (VIX)   BUY     2/20/2013         1       15.35
CBOE Volatility Index (VIX)   BUY     2/20/2013         1       15.35
CBOE Volatility Index (VIX)   BUY     2/20/2013         4       15.35
CBOE Volatility Index (VIX)   BUY     2/20/2013        11       15.35
CBOE Volatility Index (VIX)   BUY     2/21/2013         1       15.5
CBOE Volatility Index (VIX)   BUY     2/21/2013         1       15.5
CBOE Volatility Index (VIX)   BUY     2/21/2013         2       15.45
CBOE Volatility Index (VIX)   BUY     2/21/2013         2       15.45
CBOE Volatility Index (VIX)   SELL    2/22/2013       -12       14.85
CBOE Volatility Index (VIX)   BUY     2/22/2013         2       14.9
CBOE Volatility Index (VIX)   BUY     2/25/2013         1       17.2
CBOE Volatility Index (VIX)   BUY     2/25/2013         1       17.15
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CBOE Volatility Index (VIX)   BUY     2/25/2013         1       17.15
CBOE Volatility Index (VIX)   BUY     2/25/2013         1       17.15
CBOE Volatility Index (VIX)   BUY     2/25/2013         2       17.6
CBOE Volatility Index (VIX)   BUY     2/25/2013         2       17.15
CBOE Volatility Index (VIX)   BUY     2/25/2013         2       17.15
CBOE Volatility Index (VIX)   BUY     2/25/2013         3       17.45
CBOE Volatility Index (VIX)   BUY     2/25/2013         4       17.15
CBOE Volatility Index (VIX)   BUY     2/25/2013         7       17.15
CBOE Volatility Index (VIX)   BUY     2/25/2013         8       17.4
CBOE Volatility Index (VIX)   BUY     2/25/2013        10       17.15
CBOE Volatility Index (VIX)   BUY     2/25/2013        12       17.15
CBOE Volatility Index (VIX)   BUY     2/25/2013        12       17.5
CBOE Volatility Index (VIX)   BUY     2/25/2013        14       17.2
CBOE Volatility Index (VIX)   BUY     2/25/2013        15       17.15
CBOE Volatility Index (VIX)   BUY     2/25/2013        21       17.15
CBOE Volatility Index (VIX)   BUY     2/25/2013        22       17.5
CBOE Volatility Index (VIX)   BUY     2/25/2013        57       17.15
CBOE Volatility Index (VIX)   BUY     2/25/2013        90       17.5
CBOE Volatility Index (VIX)   SELL    2/26/2013       -90       16.9
CBOE Volatility Index (VIX)   SELL    2/26/2013       -26       16.95
CBOE Volatility Index (VIX)   SELL    2/26/2013       -16       16.95
CBOE Volatility Index (VIX)   SELL    2/26/2013       -15       16.95
CBOE Volatility Index (VIX)   SELL    2/26/2013       -14       16.95
CBOE Volatility Index (VIX)   SELL    2/26/2013       -11       16.95
CBOE Volatility Index (VIX)   SELL    2/26/2013        -9       16.95
CBOE Volatility Index (VIX)   SELL    2/26/2013        -8       16.95
CBOE Volatility Index (VIX)   SELL    2/26/2013        -8       16.95
CBOE Volatility Index (VIX)   SELL    2/26/2013        -7       16.95
CBOE Volatility Index (VIX)   SELL    2/26/2013        -6       16.95
CBOE Volatility Index (VIX)   SELL    2/26/2013        -6       16.95
CBOE Volatility Index (VIX)   SELL    2/26/2013        -3       16.95
CBOE Volatility Index (VIX)   SELL    2/26/2013        -3       16.95
CBOE Volatility Index (VIX)   SELL    2/26/2013        -2       16.9
CBOE Volatility Index (VIX)   SELL    2/26/2013        -2       16.95
CBOE Volatility Index (VIX)   SELL    2/26/2013        -2       16.95
CBOE Volatility Index (VIX)   SELL    2/26/2013        -1       16.95
CBOE Volatility Index (VIX)   SELL    2/26/2013        -1       16.95
CBOE Volatility Index (VIX)   SELL    2/26/2013        -1       16.95
CBOE Volatility Index (VIX)   SELL    2/26/2013        -1       16.95
CBOE Volatility Index (VIX)   SELL    2/26/2013        -1       16.95
CBOE Volatility Index (VIX)   BUY     2/26/2013         2       16.95
CBOE Volatility Index (VIX)   BUY     2/26/2013         3       16.95
CBOE Volatility Index (VIX)   SELL    2/27/2013        -3       15.4
CBOE Volatility Index (VIX)   SELL    2/27/2013        -1       15.4
CBOE Volatility Index (VIX)   BUY     2/27/2013         3       15.45
CBOE Volatility Index (VIX)   BUY     2/28/2013         1       16.2
CBOE Volatility Index (VIX)   BUY     2/28/2013         1       16.15
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CBOE Volatility Index (VIX)   BUY     2/28/2013         6       16.15
CBOE Volatility Index (VIX)   BUY      3/1/2013         2       16.35
CBOE Volatility Index (VIX)   BUY      3/1/2013         2       16.35
CBOE Volatility Index (VIX)   SELL     3/4/2013        -2       14.95
CBOE Volatility Index (VIX)   BUY      3/4/2013         1        15
CBOE Volatility Index (VIX)   SELL     3/5/2013        -2       14.5
CBOE Volatility Index (VIX)   SELL     3/5/2013        -1       14.55
CBOE Volatility Index (VIX)   SELL     3/6/2013        -1       14.65
CBOE Volatility Index (VIX)   SELL     3/6/2013        -1       14.65
CBOE Volatility Index (VIX)   SELL     3/7/2013        -7       14.2
CBOE Volatility Index (VIX)   SELL     3/7/2013        -1       14.2
CBOE Volatility Index (VIX)   SELL     3/8/2013        -6       13.8
CBOE Volatility Index (VIX)   SELL     3/8/2013        -1       13.8
CBOE Volatility Index (VIX)   SELL    3/11/2013        -6        13
CBOE Volatility Index (VIX)   SELL    3/11/2013        -3       13.05
CBOE Volatility Index (VIX)   SELL    3/11/2013        -2        13
CBOE Volatility Index (VIX)   SELL    3/13/2013        -7       12.95
CBOE Volatility Index (VIX)   SELL    3/13/2013        -1       12.95
CBOE Volatility Index (VIX)   SELL    3/13/2013        -1        13
CBOE Volatility Index (VIX)   SELL    3/14/2013       -10       12.55
CBOE Volatility Index (VIX)   SELL    3/14/2013        -2       12.55
CBOE Volatility Index (VIX)   SELL    3/15/2013        -3       12.6
CBOE Volatility Index (VIX)   SELL    3/15/2013        -1       12.55
CBOE Volatility Index (VIX)   BUY     3/18/2013         1       13.05
CBOE Volatility Index (VIX)   BUY     3/18/2013         1        14
CBOE Volatility Index (VIX)   BUY     3/18/2013         1       13.8
CBOE Volatility Index (VIX)   BUY     3/18/2013         1       13.9
CBOE Volatility Index (VIX)   BUY     3/18/2013         1       13.95
CBOE Volatility Index (VIX)   BUY     3/18/2013         1        14
CBOE Volatility Index (VIX)   BUY     3/18/2013         1        14
CBOE Volatility Index (VIX)   BUY     3/18/2013         1        14
CBOE Volatility Index (VIX)   BUY     3/18/2013         1        14
CBOE Volatility Index (VIX)   BUY     3/18/2013         1        14
CBOE Volatility Index (VIX)   BUY     3/18/2013         1       14.05
CBOE Volatility Index (VIX)   BUY     3/18/2013         2       13.95
CBOE Volatility Index (VIX)   BUY     3/18/2013         2       13.95
CBOE Volatility Index (VIX)   BUY     3/18/2013         2        14
CBOE Volatility Index (VIX)   BUY     3/18/2013         2        14
CBOE Volatility Index (VIX)   BUY     3/18/2013         3       13.8
CBOE Volatility Index (VIX)   BUY     3/18/2013         3        14
CBOE Volatility Index (VIX)   BUY     3/18/2013         3       14.05
CBOE Volatility Index (VIX)   BUY     3/18/2013         6       13.75
CBOE Volatility Index (VIX)   BUY     3/18/2013         6        14
CBOE Volatility Index (VIX)   BUY     3/18/2013         6        14
CBOE Volatility Index (VIX)   BUY     3/18/2013         7       13.55
CBOE Volatility Index (VIX)   BUY     3/18/2013         7        14
CBOE Volatility Index (VIX)   BUY     3/18/2013         7        14
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CBOE Volatility Index (VIX)   BUY     3/18/2013         8       13.35
CBOE Volatility Index (VIX)   BUY     3/18/2013         8       13.5
CBOE Volatility Index (VIX)   BUY     3/18/2013         9       13.45
CBOE Volatility Index (VIX)   BUY     3/18/2013        10       14.05
CBOE Volatility Index (VIX)   BUY     3/18/2013        11       13.25
CBOE Volatility Index (VIX)   BUY     3/18/2013        14       13.1
CBOE Volatility Index (VIX)   BUY     3/18/2013        15       13.2
CBOE Volatility Index (VIX)   BUY     3/18/2013        16       13.15
CBOE Volatility Index (VIX)   BUY     3/18/2013        26       13.3
CBOE Volatility Index (VIX)   SELL    3/18/2013       -13       15.35
CBOE Volatility Index (VIX)   SELL    3/18/2013       -12       14.8
CBOE Volatility Index (VIX)   SELL    3/18/2013       -12       14.95
CBOE Volatility Index (VIX)   SELL    3/18/2013       -12       15.05
CBOE Volatility Index (VIX)   SELL    3/18/2013       -12       14.75
CBOE Volatility Index (VIX)   SELL    3/18/2013       -10       15.25
CBOE Volatility Index (VIX)   SELL    3/18/2013        -9       14.9
CBOE Volatility Index (VIX)   SELL    3/18/2013        -9       15.4
CBOE Volatility Index (VIX)   SELL    3/18/2013        -8       14.7
CBOE Volatility Index (VIX)   SELL    3/18/2013        -8       15.3
CBOE Volatility Index (VIX)   SELL    3/18/2013        -7       15.25
CBOE Volatility Index (VIX)   SELL    3/18/2013        -6       14.85
CBOE Volatility Index (VIX)   SELL    3/18/2013        -6       15.4
CBOE Volatility Index (VIX)   SELL    3/18/2013        -6       14.75
CBOE Volatility Index (VIX)   SELL    3/18/2013        -5       14.8
CBOE Volatility Index (VIX)   SELL    3/18/2013        -4        15
CBOE Volatility Index (VIX)   SELL    3/18/2013        -4       14.75
CBOE Volatility Index (VIX)   SELL    3/18/2013        -4       14.8
CBOE Volatility Index (VIX)   SELL    3/18/2013        -4       15.35
CBOE Volatility Index (VIX)   SELL    3/18/2013        -3       14.75
CBOE Volatility Index (VIX)   SELL    3/18/2013        -3       14.75
CBOE Volatility Index (VIX)   SELL    3/18/2013        -3       14.8
CBOE Volatility Index (VIX)   SELL    3/18/2013        -3       15.35
CBOE Volatility Index (VIX)   SELL    3/18/2013        -2       15.45
CBOE Volatility Index (VIX)   SELL    3/18/2013        -2       14.75
CBOE Volatility Index (VIX)   SELL    3/18/2013        -2       14.75
CBOE Volatility Index (VIX)   SELL    3/18/2013        -2       14.8
CBOE Volatility Index (VIX)   SELL    3/18/2013        -2       14.8
CBOE Volatility Index (VIX)   SELL    3/18/2013        -2       14.8
CBOE Volatility Index (VIX)   SELL    3/18/2013        -1       15.1
CBOE Volatility Index (VIX)   SELL    3/18/2013        -1       15.15
CBOE Volatility Index (VIX)   SELL    3/18/2013        -1       15.2
CBOE Volatility Index (VIX)   SELL    3/18/2013        -1       14.8
CBOE Volatility Index (VIX)   SELL    3/18/2013        -1       14.8
CBOE Volatility Index (VIX)   SELL    3/18/2013        -1       14.8
CBOE Volatility Index (VIX)   SELL    3/18/2013        -1       14.8
CBOE Volatility Index (VIX)   SELL    3/18/2013        -1       15.25
CBOE Volatility Index (VIX)   SELL    3/18/2013        -1       15.35
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CBOE Volatility Index (VIX)   BUY     3/18/2013        6        15.35
CBOE Volatility Index (VIX)   BUY     3/18/2013        8        15.35
CBOE Volatility Index (VIX)   BUY     3/18/2013       12        15.4
CBOE Volatility Index (VIX)   SELL    3/19/2013       -2        15.3
CBOE Volatility Index (VIX)   BUY     3/19/2013        4        15.35
CBOE Volatility Index (VIX)   SELL    3/20/2013       -7        14.5
CBOE Volatility Index (VIX)   BUY     3/21/2013        2        14.95
CBOE Volatility Index (VIX)   BUY     3/21/2013        2        14.95
CBOE Volatility Index (VIX)   BUY     3/22/2013        2        14.8
CBOE Volatility Index (VIX)   BUY     3/22/2013        3        14.75
CBOE Volatility Index (VIX)   BUY     3/22/2013        3        14.8
CBOE Volatility Index (VIX)   SELL    3/25/2013       -2        14.55
CBOE Volatility Index (VIX)   BUY     3/25/2013        2        14.55
CBOE Volatility Index (VIX)   BUY     3/25/2013        3        14.6
CBOE Volatility Index (VIX)   SELL    3/26/2013       -4        14.2
CBOE Volatility Index (VIX)   SELL    3/26/2013       -1        14.2
CBOE Volatility Index (VIX)   SELL    3/27/2013       -2        14.35
CBOE Volatility Index (VIX)   SELL    3/27/2013       -1        14.35
CBOE Volatility Index (VIX)   SELL    3/28/2013       -3        14.2
CBOE Volatility Index (VIX)   SELL    3/28/2013       -2        14.25
CBOE Volatility Index (VIX)   SELL    3/28/2013       -1        14.2
CBOE Volatility Index (VIX)   SELL    3/28/2013       -1        14.25
CBOE Volatility Index (VIX)   SELL     4/1/2013       -2        14.35
CBOE Volatility Index (VIX)   SELL     4/1/2013       -1        14.35
CBOE Volatility Index (VIX)   SELL     4/1/2013       -1        14.35
CBOE Volatility Index (VIX)   SELL     4/2/2013       -3        13.8
CBOE Volatility Index (VIX)   SELL     4/2/2013       -2        13.8
CBOE Volatility Index (VIX)   SELL     4/2/2013       -2        13.8
CBOE Volatility Index (VIX)   SELL     4/2/2013       -2        13.8
CBOE Volatility Index (VIX)   SELL     4/2/2013       -1        13.8
CBOE Volatility Index (VIX)   SELL     4/2/2013       -1        13.8
CBOE Volatility Index (VIX)   BUY      4/3/2013        1        14.7
CBOE Volatility Index (VIX)   BUY      4/3/2013        4        14.7
CBOE Volatility Index (VIX)   SELL     4/4/2013       -4        14.25
CBOE Volatility Index (VIX)   SELL     4/4/2013       -4        14.25
CBOE Volatility Index (VIX)   SELL     4/4/2013       -1        14.25
CBOE Volatility Index (VIX)   BUY      4/4/2013        1        14.3
CBOE Volatility Index (VIX)   BUY      4/5/2013        5        14.3
CBOE Volatility Index (VIX)   SELL     4/8/2013       -7        13.6
CBOE Volatility Index (VIX)   SELL     4/8/2013       -3        13.65
CBOE Volatility Index (VIX)   SELL     4/8/2013       -2        13.65
CBOE Volatility Index (VIX)   SELL     4/8/2013       -1        13.65
CBOE Volatility Index (VIX)   BUY      4/9/2013        1        13.65
CBOE Volatility Index (VIX)   BUY      4/9/2013        1        13.6
CBOE Volatility Index (VIX)   SELL    4/10/2013       -3        13.05
CBOE Volatility Index (VIX)   SELL    4/10/2013       -1        13.05
CBOE Volatility Index (VIX)   SELL    4/11/2013       -2        13.15
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CBOE Volatility Index (VIX)   BUY     4/11/2013        2        13.2
CBOE Volatility Index (VIX)   SELL    4/12/2013       -9        12.7
CBOE Volatility Index (VIX)   SELL    4/12/2013       -7        12.7
CBOE Volatility Index (VIX)   SELL    4/12/2013       -6        12.75
CBOE Volatility Index (VIX)   SELL    4/12/2013       -5        12.8
CBOE Volatility Index (VIX)   SELL    4/12/2013       -4        12.8
CBOE Volatility Index (VIX)   SELL    4/12/2013       -3        12.7
CBOE Volatility Index (VIX)   SELL    4/12/2013       -2        12.8
CBOE Volatility Index (VIX)   SELL    4/12/2013       -2        12.7
CBOE Volatility Index (VIX)   SELL    4/12/2013       -2        12.75
CBOE Volatility Index (VIX)   SELL    4/12/2013       -2        12.8
CBOE Volatility Index (VIX)   SELL    4/12/2013       -2        12.8
CBOE Volatility Index (VIX)   SELL    4/12/2013       -1        12.75
CBOE Volatility Index (VIX)   SELL    4/12/2013       -1        12.8
CBOE Volatility Index (VIX)   SELL    4/12/2013       -1        12.8
CBOE Volatility Index (VIX)   SELL    4/12/2013       -1        12.8
CBOE Volatility Index (VIX)   SELL    4/12/2013       -1        12.8
CBOE Volatility Index (VIX)   BUY     4/12/2013        1        12.8
CBOE Volatility Index (VIX)   BUY     4/12/2013        1        12.8
CBOE Volatility Index (VIX)   BUY     4/12/2013        1        12.8
CBOE Volatility Index (VIX)   BUY     4/12/2013        4        12.8
CBOE Volatility Index (VIX)   BUY     4/12/2013        6        12.75
CBOE Volatility Index (VIX)   BUY     4/12/2013        9        12.75
CBOE Volatility Index (VIX)   BUY     4/12/2013       10        12.8
CBOE Volatility Index (VIX)   BUY     4/12/2013       12        12.8
CBOE Volatility Index (VIX)   BUY     4/12/2013       12        12.75
CBOE Volatility Index (VIX)   BUY     4/12/2013       12        12.8
CBOE Volatility Index (VIX)   BUY     4/15/2013        1        14.2
CBOE Volatility Index (VIX)   BUY     4/15/2013        1        14.35
CBOE Volatility Index (VIX)   BUY     4/15/2013        1        14.6
CBOE Volatility Index (VIX)   BUY     4/15/2013        1        14.65
CBOE Volatility Index (VIX)   BUY     4/15/2013        1        14.8
CBOE Volatility Index (VIX)   BUY     4/15/2013        1        14.9
CBOE Volatility Index (VIX)   BUY     4/15/2013        1        15.05
CBOE Volatility Index (VIX)   BUY     4/15/2013        1        15.85
CBOE Volatility Index (VIX)   BUY     4/15/2013        1         16
CBOE Volatility Index (VIX)   BUY     4/15/2013        1        16.05
CBOE Volatility Index (VIX)   BUY     4/15/2013        1        16.15
CBOE Volatility Index (VIX)   BUY     4/15/2013        1        14.75
CBOE Volatility Index (VIX)   BUY     4/15/2013        1        14.8
CBOE Volatility Index (VIX)   BUY     4/15/2013        1        14.85
CBOE Volatility Index (VIX)   BUY     4/15/2013        1        15.2
CBOE Volatility Index (VIX)   BUY     4/15/2013        1        15.6
CBOE Volatility Index (VIX)   BUY     4/15/2013        1        15.6
CBOE Volatility Index (VIX)   BUY     4/15/2013        1        15.85
CBOE Volatility Index (VIX)   BUY     4/15/2013        2        14.55
CBOE Volatility Index (VIX)   BUY     4/15/2013        2        14.75
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CBOE Volatility Index (VIX)   BUY     4/15/2013         2       14.95
CBOE Volatility Index (VIX)   BUY     4/15/2013         2       15.55
CBOE Volatility Index (VIX)   BUY     4/15/2013         2       15.65
CBOE Volatility Index (VIX)   BUY     4/15/2013         2       15.75
CBOE Volatility Index (VIX)   BUY     4/15/2013         2       15.95
CBOE Volatility Index (VIX)   BUY     4/15/2013         2       16.35
CBOE Volatility Index (VIX)   BUY     4/15/2013         2       14.5
CBOE Volatility Index (VIX)   BUY     4/15/2013         2       14.5
CBOE Volatility Index (VIX)   BUY     4/15/2013         2       14.8
CBOE Volatility Index (VIX)   BUY     4/15/2013         2       14.85
CBOE Volatility Index (VIX)   BUY     4/15/2013         2       14.85
CBOE Volatility Index (VIX)   BUY     4/15/2013         2       15.1
CBOE Volatility Index (VIX)   BUY     4/15/2013         2       15.6
CBOE Volatility Index (VIX)   BUY     4/15/2013         2       16.45
CBOE Volatility Index (VIX)   BUY     4/15/2013         3       14.3
CBOE Volatility Index (VIX)   BUY     4/15/2013         3       14.8
CBOE Volatility Index (VIX)   BUY     4/15/2013         3        15
CBOE Volatility Index (VIX)   BUY     4/15/2013         3       15.25
CBOE Volatility Index (VIX)   BUY     4/15/2013         3       15.6
CBOE Volatility Index (VIX)   BUY     4/15/2013         3       15.6
CBOE Volatility Index (VIX)   BUY     4/15/2013         4       14.4
CBOE Volatility Index (VIX)   BUY     4/15/2013         4       15.1
CBOE Volatility Index (VIX)   BUY     4/15/2013         4       15.15
CBOE Volatility Index (VIX)   BUY     4/15/2013         4       16.4
CBOE Volatility Index (VIX)   BUY     4/15/2013         4       14.55
CBOE Volatility Index (VIX)   BUY     4/15/2013         5       15.9
CBOE Volatility Index (VIX)   BUY     4/15/2013         6       15.8
CBOE Volatility Index (VIX)   BUY     4/15/2013         6       14.5
CBOE Volatility Index (VIX)   BUY     4/15/2013         7       15.25
CBOE Volatility Index (VIX)   BUY     4/15/2013         7       15.7
CBOE Volatility Index (VIX)   BUY     4/15/2013         7       14.25
CBOE Volatility Index (VIX)   BUY     4/15/2013         7       14.5
CBOE Volatility Index (VIX)   BUY     4/15/2013         8       14.3
CBOE Volatility Index (VIX)   BUY     4/15/2013         9       14.45
CBOE Volatility Index (VIX)   BUY     4/15/2013         9       15.75
CBOE Volatility Index (VIX)   BUY     4/15/2013        13       14.45
CBOE Volatility Index (VIX)   SELL    4/15/2013       -32        15
CBOE Volatility Index (VIX)   SELL    4/15/2013       -22       15.65
CBOE Volatility Index (VIX)   SELL    4/15/2013       -14       15.05
CBOE Volatility Index (VIX)   SELL    4/15/2013       -10       15.1
CBOE Volatility Index (VIX)   SELL    4/15/2013       -10       15.75
CBOE Volatility Index (VIX)   SELL    4/15/2013        -9       14.95
CBOE Volatility Index (VIX)   SELL    4/15/2013        -8       14.9
CBOE Volatility Index (VIX)   SELL    4/15/2013        -6       15.15
CBOE Volatility Index (VIX)   SELL    4/15/2013        -6       15.25
CBOE Volatility Index (VIX)   SELL    4/15/2013        -5       15.2
CBOE Volatility Index (VIX)   SELL    4/15/2013        -5       15.3
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CBOE Volatility Index (VIX)   SELL    4/15/2013        -5       14.9
CBOE Volatility Index (VIX)   SELL    4/15/2013        -4       15.35
CBOE Volatility Index (VIX)   SELL    4/15/2013        -4       15.6
CBOE Volatility Index (VIX)   SELL    4/15/2013        -4       15.7
CBOE Volatility Index (VIX)   SELL    4/15/2013        -4       15.85
CBOE Volatility Index (VIX)   SELL    4/15/2013        -3       14.8
CBOE Volatility Index (VIX)   SELL    4/15/2013        -3       15.55
CBOE Volatility Index (VIX)   SELL    4/15/2013        -2       14.85
CBOE Volatility Index (VIX)   SELL    4/15/2013        -2       15.4
CBOE Volatility Index (VIX)   SELL    4/15/2013        -2       14.8
CBOE Volatility Index (VIX)   SELL    4/15/2013        -2       15.8
CBOE Volatility Index (VIX)   SELL    4/15/2013        -1       15.5
CBOE Volatility Index (VIX)   SELL    4/15/2013        -1       15.8
CBOE Volatility Index (VIX)   SELL    4/15/2013        -1       15.9
CBOE Volatility Index (VIX)   SELL    4/15/2013        -1        16
CBOE Volatility Index (VIX)   SELL    4/15/2013        -1       16.05
CBOE Volatility Index (VIX)   SELL    4/15/2013        -1       16.15
CBOE Volatility Index (VIX)   SELL    4/15/2013        -1       16.25
CBOE Volatility Index (VIX)   SELL    4/15/2013        -1       16.3
CBOE Volatility Index (VIX)   SELL    4/15/2013        -1       15.1
CBOE Volatility Index (VIX)   SELL    4/15/2013        -1       15.3
CBOE Volatility Index (VIX)   BUY     4/15/2013         1       16.35
CBOE Volatility Index (VIX)   BUY     4/15/2013         1       16.4
CBOE Volatility Index (VIX)   BUY     4/15/2013         1       16.5
CBOE Volatility Index (VIX)   BUY     4/15/2013         2       16.4
CBOE Volatility Index (VIX)   BUY     4/15/2013         2       16.5
CBOE Volatility Index (VIX)   BUY     4/15/2013         2       16.5
CBOE Volatility Index (VIX)   BUY     4/15/2013         2       16.5
CBOE Volatility Index (VIX)   BUY     4/15/2013         3       16.45
CBOE Volatility Index (VIX)   BUY     4/15/2013         3       16.5
CBOE Volatility Index (VIX)   BUY     4/15/2013         4       16.5
CBOE Volatility Index (VIX)   BUY     4/15/2013         4       16.5
CBOE Volatility Index (VIX)   BUY     4/15/2013         4       16.5
CBOE Volatility Index (VIX)   BUY     4/15/2013         5       16.5
CBOE Volatility Index (VIX)   BUY     4/15/2013         5       16.4
CBOE Volatility Index (VIX)   BUY     4/15/2013         5       16.5
CBOE Volatility Index (VIX)   BUY     4/15/2013         6       16.4
CBOE Volatility Index (VIX)   BUY     4/15/2013         6       16.4
CBOE Volatility Index (VIX)   BUY     4/15/2013         8       16.35
CBOE Volatility Index (VIX)   BUY     4/15/2013         9       16.35
CBOE Volatility Index (VIX)   BUY     4/15/2013        10       16.4
CBOE Volatility Index (VIX)   BUY     4/15/2013        10       16.5
CBOE Volatility Index (VIX)   BUY     4/15/2013        14       16.35
CBOE Volatility Index (VIX)   BUY     4/15/2013        22       16.5
CBOE Volatility Index (VIX)   BUY     4/15/2013        32       16.35
CBOE Volatility Index (VIX)   SELL    4/16/2013       -65       14.6
CBOE Volatility Index (VIX)   SELL    4/16/2013       -60       14.6
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CBOE Volatility Index (VIX)   SELL    4/16/2013        -8       14.6
CBOE Volatility Index (VIX)   SELL    4/16/2013        -2       14.6
CBOE Volatility Index (VIX)   SELL    4/16/2013        -2       14.6
CBOE Volatility Index (VIX)   BUY     4/16/2013         1       14.65
CBOE Volatility Index (VIX)   BUY     4/16/2013         1       14.65
CBOE Volatility Index (VIX)   BUY     4/16/2013         1       14.65
CBOE Volatility Index (VIX)   BUY     4/16/2013         1       14.65
CBOE Volatility Index (VIX)   BUY     4/16/2013         1       14.65
CBOE Volatility Index (VIX)   BUY     4/16/2013         1       14.65
CBOE Volatility Index (VIX)   BUY     4/16/2013         1       14.65
CBOE Volatility Index (VIX)   BUY     4/16/2013         4       14.65
CBOE Volatility Index (VIX)   BUY     4/17/2013         1       16.35
CBOE Volatility Index (VIX)   BUY     4/17/2013         2       16.25
CBOE Volatility Index (VIX)   BUY     4/17/2013         2       16.35
CBOE Volatility Index (VIX)   BUY     4/17/2013         8       16.3
CBOE Volatility Index (VIX)   BUY     4/17/2013        11       16.35
CBOE Volatility Index (VIX)   BUY     4/17/2013        60       16.3
CBOE Volatility Index (VIX)   BUY     4/17/2013        65       16.35
CBOE Volatility Index (VIX)   SELL    4/18/2013        -1       17.05
CBOE Volatility Index (VIX)   BUY     4/18/2013        11       17.1
CBOE Volatility Index (VIX)   SELL    4/19/2013       -46       15.95
CBOE Volatility Index (VIX)   SELL    4/19/2013       -26       15.95
CBOE Volatility Index (VIX)   SELL    4/19/2013       -15       15.95
CBOE Volatility Index (VIX)   SELL    4/19/2013       -11       15.95
CBOE Volatility Index (VIX)   SELL    4/19/2013       -11       15.95
CBOE Volatility Index (VIX)   SELL    4/19/2013        -6       15.95
CBOE Volatility Index (VIX)   SELL    4/19/2013        -5       15.95
CBOE Volatility Index (VIX)   SELL    4/19/2013        -3       15.95
CBOE Volatility Index (VIX)   SELL    4/19/2013        -3       15.95
CBOE Volatility Index (VIX)   SELL    4/19/2013        -2       15.95
CBOE Volatility Index (VIX)   SELL    4/19/2013        -2       15.95
CBOE Volatility Index (VIX)   SELL    4/19/2013        -2       15.95
CBOE Volatility Index (VIX)   SELL    4/19/2013        -2       15.95
CBOE Volatility Index (VIX)   SELL    4/19/2013        -1       15.95
CBOE Volatility Index (VIX)   SELL    4/19/2013        -1       15.95
CBOE Volatility Index (VIX)   BUY     4/19/2013         2        16
CBOE Volatility Index (VIX)   BUY     4/19/2013        15       15.95
CBOE Volatility Index (VIX)   SELL    4/22/2013        -5       15.3
CBOE Volatility Index (VIX)   SELL    4/22/2013        -4       15.3
CBOE Volatility Index (VIX)   SELL    4/22/2013        -1       15.3
CBOE Volatility Index (VIX)   SELL    4/23/2013        -5       14.5
CBOE Volatility Index (VIX)   SELL    4/23/2013        -1       14.5
CBOE Volatility Index (VIX)   SELL    4/24/2013        -2       14.6
CBOE Volatility Index (VIX)   SELL    4/24/2013        -2       14.6
CBOE Volatility Index (VIX)   SELL    4/25/2013        -4       14.75
CBOE Volatility Index (VIX)   SELL    4/25/2013        -2       14.75
CBOE Volatility Index (VIX)   BUY     4/25/2013         6       14.8
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CBOE Volatility Index (VIX)   SELL    4/26/2013       -3        14.8
CBOE Volatility Index (VIX)   BUY     4/26/2013        2        14.85
CBOE Volatility Index (VIX)   SELL    4/29/2013       -2        14.7
CBOE Volatility Index (VIX)   BUY     4/29/2013        5        14.75
CBOE Volatility Index (VIX)   SELL    4/30/2013       -4        14.45
CBOE Volatility Index (VIX)   SELL    4/30/2013       -4        14.45
CBOE Volatility Index (VIX)   SELL     5/1/2013       -1        15.1
CBOE Volatility Index (VIX)   SELL     5/1/2013       -1        15.15
CBOE Volatility Index (VIX)   BUY      5/1/2013        1        15.15
CBOE Volatility Index (VIX)   BUY      5/1/2013        1        15.2
CBOE Volatility Index (VIX)   SELL     5/2/2013       -4        14.5
CBOE Volatility Index (VIX)   SELL     5/2/2013       -2        14.5
CBOE Volatility Index (VIX)   SELL     5/3/2013       -2        14.2
CBOE Volatility Index (VIX)   BUY      5/3/2013        2        14.25
CBOE Volatility Index (VIX)   SELL     5/6/2013       -5        13.9
CBOE Volatility Index (VIX)   SELL     5/6/2013       -3        13.9
CBOE Volatility Index (VIX)   BUY      5/7/2013       26        13.85
CBOE Volatility Index (VIX)   BUY      5/7/2013       46        13.85
CBOE Volatility Index (VIX)   SELL     5/8/2013       -2        13.95
CBOE Volatility Index (VIX)   BUY      5/8/2013        2         14
CBOE Volatility Index (VIX)   SELL     5/9/2013       -2        14.15
CBOE Volatility Index (VIX)   SELL     5/9/2013       -1        14.15
CBOE Volatility Index (VIX)   SELL    5/10/2013       -2        13.85
CBOE Volatility Index (VIX)   SELL    5/10/2013       -1        13.85
CBOE Volatility Index (VIX)   SELL    5/10/2013       -1        13.85
CBOE Volatility Index (VIX)   SELL    5/13/2013       -2        13.65
CBOE Volatility Index (VIX)   SELL    5/13/2013       -1        13.65
CBOE Volatility Index (VIX)   SELL    5/14/2013       -3        13.5
CBOE Volatility Index (VIX)   BUY     5/14/2013        3        13.55
CBOE Volatility Index (VIX)   BUY     5/15/2013        1        13.7
CBOE Volatility Index (VIX)   BUY     5/15/2013        3        13.7
CBOE Volatility Index (VIX)   BUY     5/15/2013        5        13.7
CBOE Volatility Index (VIX)   SELL    5/16/2013       -2        13.85
CBOE Volatility Index (VIX)   SELL    5/16/2013       -1        13.85
CBOE Volatility Index (VIX)   SELL    5/17/2013       -3        13.15
CBOE Volatility Index (VIX)   SELL    5/17/2013       -1        13.15
CBOE Volatility Index (VIX)   BUY     5/20/2013        1        13.35
CBOE Volatility Index (VIX)   BUY     5/20/2013        1        13.3
CBOE Volatility Index (VIX)   BUY     5/20/2013        1        13.35
CBOE Volatility Index (VIX)   BUY     5/20/2013        1        13.35
CBOE Volatility Index (VIX)   BUY     5/20/2013        1        13.35
CBOE Volatility Index (VIX)   BUY     5/20/2013        1        13.4
CBOE Volatility Index (VIX)   BUY     5/20/2013        1        13.4
CBOE Volatility Index (VIX)   BUY     5/20/2013        1        13.4
CBOE Volatility Index (VIX)   BUY     5/20/2013        1        13.4
CBOE Volatility Index (VIX)   BUY     5/20/2013        2        13.3
CBOE Volatility Index (VIX)   BUY     5/20/2013        2        13.3
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CBOE Volatility Index (VIX)   BUY     5/20/2013         2       13.35
CBOE Volatility Index (VIX)   BUY     5/20/2013         2       13.35
CBOE Volatility Index (VIX)   BUY     5/20/2013         2       13.35
CBOE Volatility Index (VIX)   BUY     5/20/2013         2       13.35
CBOE Volatility Index (VIX)   BUY     5/20/2013         2       13.35
CBOE Volatility Index (VIX)   BUY     5/20/2013         2       13.35
CBOE Volatility Index (VIX)   BUY     5/20/2013         2       13.4
CBOE Volatility Index (VIX)   BUY     5/20/2013         2       13.4
CBOE Volatility Index (VIX)   BUY     5/20/2013         2       13.4
CBOE Volatility Index (VIX)   BUY     5/20/2013         3       13.35
CBOE Volatility Index (VIX)   BUY     5/20/2013         3       13.35
CBOE Volatility Index (VIX)   BUY     5/20/2013         3       13.4
CBOE Volatility Index (VIX)   BUY     5/20/2013         3       13.4
CBOE Volatility Index (VIX)   BUY     5/20/2013         4       13.3
CBOE Volatility Index (VIX)   BUY     5/20/2013         4       13.3
CBOE Volatility Index (VIX)   BUY     5/20/2013         4       13.35
CBOE Volatility Index (VIX)   BUY     5/20/2013         4       13.35
CBOE Volatility Index (VIX)   BUY     5/20/2013         4       13.35
CBOE Volatility Index (VIX)   BUY     5/20/2013         5       13.3
CBOE Volatility Index (VIX)   BUY     5/20/2013         5       13.35
CBOE Volatility Index (VIX)   SELL    5/20/2013       -27       15.05
CBOE Volatility Index (VIX)   SELL    5/20/2013       -17       15.05
CBOE Volatility Index (VIX)   SELL    5/20/2013       -11        15
CBOE Volatility Index (VIX)   SELL    5/20/2013        -8       15.1
CBOE Volatility Index (VIX)   SELL    5/20/2013        -4        15
CBOE Volatility Index (VIX)   SELL    5/20/2013        -2       15.1
CBOE Volatility Index (VIX)   SELL    5/20/2013        -1        15
CBOE Volatility Index (VIX)   SELL    5/20/2013        -1        15
CBOE Volatility Index (VIX)   SELL    5/20/2013        -1        15
CBOE Volatility Index (VIX)   SELL    5/20/2013        -1       15.1
CBOE Volatility Index (VIX)   BUY     5/20/2013         4       15.1
CBOE Volatility Index (VIX)   BUY     5/21/2013         1       15.35
CBOE Volatility Index (VIX)   BUY     5/22/2013         1       15.3
CBOE Volatility Index (VIX)   BUY     5/23/2013         1       15.5
CBOE Volatility Index (VIX)   SELL    5/24/2013        -2       15.4
CBOE Volatility Index (VIX)   SELL    5/24/2013        -1       15.4
CBOE Volatility Index (VIX)   SELL    5/28/2013        -2       15.15
CBOE Volatility Index (VIX)   SELL    5/28/2013        -1       15.15
CBOE Volatility Index (VIX)   SELL    5/29/2013        -2       15.25
CBOE Volatility Index (VIX)   SELL    5/30/2013        -2       15.35
CBOE Volatility Index (VIX)   SELL    5/30/2013        -2       15.35
CBOE Volatility Index (VIX)   BUY     5/31/2013         8       16.15
CBOE Volatility Index (VIX)   BUY     5/31/2013        11       16.1
CBOE Volatility Index (VIX)   BUY     5/31/2013        17       16.15
CBOE Volatility Index (VIX)   BUY     5/31/2013        27       16.1
CBOE Volatility Index (VIX)   BUY      6/3/2013         1       15.95
CBOE Volatility Index (VIX)   SELL     6/5/2013        -2       16.95
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CBOE Volatility Index (VIX)   SELL     6/5/2013        -1       16.95
CBOE Volatility Index (VIX)   SELL     6/5/2013        -1       16.95
CBOE Volatility Index (VIX)   BUY      6/5/2013         1        17
CBOE Volatility Index (VIX)   BUY      6/5/2013         2        17
CBOE Volatility Index (VIX)   BUY      6/5/2013         2        17
CBOE Volatility Index (VIX)   BUY      6/5/2013         2        17
CBOE Volatility Index (VIX)   BUY      6/6/2013         1       16.45
CBOE Volatility Index (VIX)   BUY      6/6/2013         2       16.45
CBOE Volatility Index (VIX)   BUY      6/6/2013         2       16.45
CBOE Volatility Index (VIX)   SELL     6/7/2013       -33       15.7
CBOE Volatility Index (VIX)   SELL     6/7/2013       -25       15.7
CBOE Volatility Index (VIX)   SELL     6/7/2013        -2       15.7
CBOE Volatility Index (VIX)   BUY      6/7/2013         2       15.75
CBOE Volatility Index (VIX)   SELL    6/10/2013        -2       15.55
CBOE Volatility Index (VIX)   BUY     6/10/2013         1       15.6
CBOE Volatility Index (VIX)   BUY     6/11/2013         1       16.85
CBOE Volatility Index (VIX)   BUY     6/11/2013         2       16.85
CBOE Volatility Index (VIX)   BUY     6/11/2013         2       16.85
CBOE Volatility Index (VIX)   BUY     6/11/2013         2       16.8
CBOE Volatility Index (VIX)   BUY     6/11/2013         2       16.9
CBOE Volatility Index (VIX)   BUY     6/11/2013        25       16.8
CBOE Volatility Index (VIX)   BUY     6/11/2013        33       16.85
CBOE Volatility Index (VIX)   SELL    6/12/2013        -2       18.15
CBOE Volatility Index (VIX)   SELL    6/12/2013        -2       18.15
CBOE Volatility Index (VIX)   BUY     6/12/2013         2       18.2
CBOE Volatility Index (VIX)   BUY     6/12/2013         2       18.2
CBOE Volatility Index (VIX)   SELL    6/13/2013        -7       16.65
CBOE Volatility Index (VIX)   SELL    6/13/2013        -6       16.65
CBOE Volatility Index (VIX)   SELL    6/13/2013        -5       16.65
CBOE Volatility Index (VIX)   SELL    6/13/2013        -4       16.65
CBOE Volatility Index (VIX)   SELL    6/13/2013        -4       16.65
CBOE Volatility Index (VIX)   SELL    6/13/2013        -4       16.65
CBOE Volatility Index (VIX)   SELL    6/13/2013        -3       16.65
CBOE Volatility Index (VIX)   SELL    6/13/2013        -3       16.65
CBOE Volatility Index (VIX)   SELL    6/13/2013        -3       16.65
CBOE Volatility Index (VIX)   SELL    6/13/2013        -2       16.65
CBOE Volatility Index (VIX)   SELL    6/13/2013        -2       16.65
CBOE Volatility Index (VIX)   SELL    6/13/2013        -2       16.65
CBOE Volatility Index (VIX)   SELL    6/13/2013        -2       16.65
CBOE Volatility Index (VIX)   SELL    6/13/2013        -2       16.65
CBOE Volatility Index (VIX)   SELL    6/13/2013        -2       16.65
CBOE Volatility Index (VIX)   SELL    6/13/2013        -1       16.65
CBOE Volatility Index (VIX)   BUY     6/13/2013         2       16.7
CBOE Volatility Index (VIX)   BUY     6/14/2013         4       17.55
CBOE Volatility Index (VIX)   BUY     6/14/2013         6       17.55
CBOE Volatility Index (VIX)   BUY     6/17/2013         1       17.1
CBOE Volatility Index (VIX)   BUY     6/17/2013         2       16.8
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CBOE Volatility Index (VIX)   BUY     6/17/2013         2        17
CBOE Volatility Index (VIX)   BUY     6/17/2013         2       17.2
CBOE Volatility Index (VIX)   BUY     6/17/2013         2       17.35
CBOE Volatility Index (VIX)   BUY     6/17/2013         3       17.15
CBOE Volatility Index (VIX)   BUY     6/17/2013         3       17.3
CBOE Volatility Index (VIX)   BUY     6/17/2013         3       17.4
CBOE Volatility Index (VIX)   BUY     6/17/2013         4       16.95
CBOE Volatility Index (VIX)   BUY     6/17/2013         4       17.25
CBOE Volatility Index (VIX)   BUY     6/17/2013         5       17.05
CBOE Volatility Index (VIX)   BUY     6/17/2013         7       16.9
CBOE Volatility Index (VIX)   SELL    6/17/2013        -9        18
CBOE Volatility Index (VIX)   SELL    6/17/2013        -5       17.95
CBOE Volatility Index (VIX)   SELL    6/17/2013        -4       17.8
CBOE Volatility Index (VIX)   SELL    6/17/2013        -3       17.85
CBOE Volatility Index (VIX)   SELL    6/17/2013        -3       18.05
CBOE Volatility Index (VIX)   SELL    6/17/2013        -3       18.1
CBOE Volatility Index (VIX)   SELL    6/17/2013        -2       17.7
CBOE Volatility Index (VIX)   SELL    6/17/2013        -2       17.8
CBOE Volatility Index (VIX)   SELL    6/17/2013        -2       17.85
CBOE Volatility Index (VIX)   SELL    6/17/2013        -1       17.75
CBOE Volatility Index (VIX)   SELL    6/17/2013        -1       17.9
CBOE Volatility Index (VIX)   SELL    6/17/2013        -1       17.8
CBOE Volatility Index (VIX)   SELL    6/17/2013        -1       17.8
CBOE Volatility Index (VIX)   SELL    6/17/2013        -1       17.85
CBOE Volatility Index (VIX)   BUY     6/17/2013         1       17.8
CBOE Volatility Index (VIX)   BUY     6/17/2013         1       17.8
CBOE Volatility Index (VIX)   BUY     6/17/2013         2       17.8
CBOE Volatility Index (VIX)   BUY     6/17/2013         2       17.8
CBOE Volatility Index (VIX)   BUY     6/18/2013         1       17.65
CBOE Volatility Index (VIX)   SELL    6/19/2013        -2       17.55
CBOE Volatility Index (VIX)   BUY     6/19/2013         4       17.6
CBOE Volatility Index (VIX)   BUY     6/20/2013         1       19.6
CBOE Volatility Index (VIX)   BUY     6/20/2013         1       19.6
CBOE Volatility Index (VIX)   BUY     6/20/2013         2       19.6
CBOE Volatility Index (VIX)   BUY     6/20/2013         2       19.55
CBOE Volatility Index (VIX)   BUY     6/20/2013         3       19.6
CBOE Volatility Index (VIX)   BUY     6/20/2013         3       19.6
CBOE Volatility Index (VIX)   BUY     6/20/2013         3       19.6
CBOE Volatility Index (VIX)   BUY     6/20/2013         5       19.6
CBOE Volatility Index (VIX)   BUY     6/20/2013         9       19.6
CBOE Volatility Index (VIX)   BUY     6/20/2013        12       19.6
CBOE Volatility Index (VIX)   SELL    6/21/2013       -12       18.95
CBOE Volatility Index (VIX)   SELL    6/21/2013       -11       18.95
CBOE Volatility Index (VIX)   SELL    6/21/2013        -7       18.95
CBOE Volatility Index (VIX)   SELL    6/21/2013        -2       18.95
CBOE Volatility Index (VIX)   SELL    6/21/2013        -1       18.95
CBOE Volatility Index (VIX)   SELL    6/21/2013        -1       18.95
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CBOE Volatility Index (VIX)   SELL    6/21/2013       -1        18.95
CBOE Volatility Index (VIX)   SELL    6/21/2013       -1        18.95
CBOE Volatility Index (VIX)   BUY     6/21/2013        1         19
CBOE Volatility Index (VIX)   BUY     6/24/2013        1        20.15
CBOE Volatility Index (VIX)   SELL    6/25/2013       -1        19.4
CBOE Volatility Index (VIX)   BUY     6/25/2013        1        19.4
CBOE Volatility Index (VIX)   SELL    6/26/2013       -1        18.85
CBOE Volatility Index (VIX)   BUY     6/26/2013        2        18.9
CBOE Volatility Index (VIX)   SELL    6/27/2013       -1        18.1
CBOE Volatility Index (VIX)   SELL    6/27/2013       -1        18.15
CBOE Volatility Index (VIX)   SELL    6/28/2013       -1         18
CBOE Volatility Index (VIX)   SELL     7/1/2013       -1        17.45
CBOE Volatility Index (VIX)   SELL     7/2/2013       -6        17.55
CBOE Volatility Index (VIX)   SELL     7/2/2013       -2        17.55
CBOE Volatility Index (VIX)   SELL     7/3/2013       -1        17.25
CBOE Volatility Index (VIX)   SELL     7/5/2013       -3        15.95
CBOE Volatility Index (VIX)   SELL     7/5/2013       -1        15.95
CBOE Volatility Index (VIX)   SELL     7/8/2013       -2        15.3
CBOE Volatility Index (VIX)   SELL     7/8/2013       -2        15.3
CBOE Volatility Index (VIX)   SELL     7/9/2013       -3        15.05
CBOE Volatility Index (VIX)   SELL     7/9/2013       -1        15.05
CBOE Volatility Index (VIX)   SELL    7/10/2013       -2        14.8
CBOE Volatility Index (VIX)   SELL    7/10/2013       -1        14.8
CBOE Volatility Index (VIX)   SELL    7/11/2013       -1        14.45
CBOE Volatility Index (VIX)   SELL    7/11/2013       -1        14.45
CBOE Volatility Index (VIX)   BUY     7/11/2013        1        14.5
CBOE Volatility Index (VIX)   SELL    7/12/2013       -2        14.6
CBOE Volatility Index (VIX)   SELL    7/12/2013       -1        14.6
CBOE Volatility Index (VIX)   BUY     7/15/2013        1        14.1
CBOE Volatility Index (VIX)   BUY     7/15/2013        1        14.1
CBOE Volatility Index (VIX)   BUY     7/15/2013        1        14.05
CBOE Volatility Index (VIX)   BUY     7/15/2013        1        14.05
CBOE Volatility Index (VIX)   BUY     7/15/2013        1        14.05
CBOE Volatility Index (VIX)   BUY     7/15/2013        1        14.05
CBOE Volatility Index (VIX)   BUY     7/15/2013        1        14.05
CBOE Volatility Index (VIX)   BUY     7/15/2013        1        14.05
CBOE Volatility Index (VIX)   BUY     7/15/2013        1        14.05
CBOE Volatility Index (VIX)   BUY     7/15/2013        1        14.05
CBOE Volatility Index (VIX)   BUY     7/15/2013        1        14.1
CBOE Volatility Index (VIX)   BUY     7/15/2013        1        14.15
CBOE Volatility Index (VIX)   BUY     7/15/2013        1        14.15
CBOE Volatility Index (VIX)   BUY     7/15/2013        2        14.05
CBOE Volatility Index (VIX)   BUY     7/15/2013        2        14.05
CBOE Volatility Index (VIX)   BUY     7/15/2013        2        14.05
CBOE Volatility Index (VIX)   BUY     7/15/2013        2        14.1
CBOE Volatility Index (VIX)   BUY     7/15/2013        2        14.15
CBOE Volatility Index (VIX)   BUY     7/15/2013        3        14.05
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CBOE Volatility Index (VIX)   BUY     7/15/2013         3       14.1
CBOE Volatility Index (VIX)   BUY     7/15/2013         6       14.05
CBOE Volatility Index (VIX)   BUY     7/15/2013         7       14.05
CBOE Volatility Index (VIX)   BUY     7/15/2013        11        14
CBOE Volatility Index (VIX)   SELL    7/15/2013       -25       15.7
CBOE Volatility Index (VIX)   SELL    7/15/2013       -12       15.75
CBOE Volatility Index (VIX)   SELL    7/15/2013        -7       15.65
CBOE Volatility Index (VIX)   SELL    7/15/2013        -6       15.8
CBOE Volatility Index (VIX)   SELL    7/15/2013        -2       15.65
CBOE Volatility Index (VIX)   SELL    7/15/2013        -1       15.65
CBOE Volatility Index (VIX)   BUY     7/15/2013         2       15.8
CBOE Volatility Index (VIX)   SELL    7/17/2013        -2       15.6
CBOE Volatility Index (VIX)   SELL    7/17/2013        -1       15.6
CBOE Volatility Index (VIX)   SELL    7/19/2013        -2       14.9
CBOE Volatility Index (VIX)   SELL    7/22/2013        -1       14.7
CBOE Volatility Index (VIX)   SELL    7/22/2013        -1       14.7
CBOE Volatility Index (VIX)   SELL    7/23/2013        -2       14.6
CBOE Volatility Index (VIX)   SELL    7/23/2013        -1       14.6
CBOE Volatility Index (VIX)   SELL    7/24/2013        -2       14.75
CBOE Volatility Index (VIX)   SELL    7/24/2013        -1       14.75
CBOE Volatility Index (VIX)   SELL    7/25/2013        -2       14.5
CBOE Volatility Index (VIX)   SELL    7/26/2013        -2       14.4
CBOE Volatility Index (VIX)   SELL    7/26/2013        -1       14.4
CBOE Volatility Index (VIX)   SELL    7/29/2013        -1       14.6
CBOE Volatility Index (VIX)   SELL    7/29/2013        -1       14.6
CBOE Volatility Index (VIX)   SELL    7/30/2013        -2       14.25
CBOE Volatility Index (VIX)   SELL    7/31/2013        -1       13.9
CBOE Volatility Index (VIX)   SELL     8/1/2013        -1       13.55
CBOE Volatility Index (VIX)   SELL     8/1/2013        -1       13.55
CBOE Volatility Index (VIX)   SELL     8/5/2013        -1        13
CBOE Volatility Index (VIX)   SELL     8/5/2013        -1        13
CBOE Volatility Index (VIX)   SELL     8/6/2013        -1       13.35
CBOE Volatility Index (VIX)   SELL     8/7/2013        -1       13.55
CBOE Volatility Index (VIX)   SELL     8/8/2013        -2       13.25
CBOE Volatility Index (VIX)   BUY      8/9/2013         1       13.6
CBOE Volatility Index (VIX)   SELL    8/12/2013        -2       13.3
CBOE Volatility Index (VIX)   SELL    8/12/2013        -2       13.3
CBOE Volatility Index (VIX)   SELL    8/12/2013        -1       13.3
CBOE Volatility Index (VIX)   SELL    8/13/2013        -1       13.05
CBOE Volatility Index (VIX)   SELL    8/14/2013        -1       13.3
CBOE Volatility Index (VIX)   SELL    8/14/2013        -1       13.25
CBOE Volatility Index (VIX)   SELL    8/14/2013        -1       13.3
CBOE Volatility Index (VIX)   BUY     8/15/2013         1       14.25
CBOE Volatility Index (VIX)   BUY     8/15/2013         1       14.25
CBOE Volatility Index (VIX)   BUY     8/15/2013         1       14.25
CBOE Volatility Index (VIX)   BUY     8/15/2013         1       14.25
CBOE Volatility Index (VIX)   BUY     8/15/2013         1       14.25
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CBOE Volatility Index (VIX)   BUY     8/15/2013         1       14.25
CBOE Volatility Index (VIX)   BUY     8/15/2013         1       14.25
CBOE Volatility Index (VIX)   BUY     8/15/2013         1       14.25
CBOE Volatility Index (VIX)   BUY     8/15/2013         1       14.25
CBOE Volatility Index (VIX)   BUY     8/15/2013         1       14.25
CBOE Volatility Index (VIX)   BUY     8/15/2013         1       14.25
CBOE Volatility Index (VIX)   BUY     8/15/2013         1       14.25
CBOE Volatility Index (VIX)   BUY     8/15/2013         1       14.25
CBOE Volatility Index (VIX)   BUY     8/15/2013         1       14.25
CBOE Volatility Index (VIX)   BUY     8/15/2013         1       14.25
CBOE Volatility Index (VIX)   BUY     8/15/2013         1       14.25
CBOE Volatility Index (VIX)   BUY     8/15/2013         1       14.25
CBOE Volatility Index (VIX)   BUY     8/15/2013         1       14.25
CBOE Volatility Index (VIX)   BUY     8/15/2013         1       14.25
CBOE Volatility Index (VIX)   BUY     8/15/2013         2       14.25
CBOE Volatility Index (VIX)   BUY     8/15/2013         2       14.25
CBOE Volatility Index (VIX)   BUY     8/15/2013         2       14.25
CBOE Volatility Index (VIX)   BUY     8/15/2013         2       14.25
CBOE Volatility Index (VIX)   BUY     8/15/2013         2       14.25
CBOE Volatility Index (VIX)   BUY     8/15/2013         2       14.25
CBOE Volatility Index (VIX)   BUY     8/15/2013         2       14.25
CBOE Volatility Index (VIX)   BUY     8/15/2013         2       14.25
CBOE Volatility Index (VIX)   BUY     8/15/2013         2       14.25
CBOE Volatility Index (VIX)   BUY     8/15/2013         2       14.25
CBOE Volatility Index (VIX)   BUY     8/15/2013         6       14.25
CBOE Volatility Index (VIX)   BUY     8/15/2013         7       14.25
CBOE Volatility Index (VIX)   BUY     8/15/2013        12       14.25
CBOE Volatility Index (VIX)   BUY     8/15/2013        25       14.25
CBOE Volatility Index (VIX)   SELL    8/16/2013       -17       14.35
CBOE Volatility Index (VIX)   SELL    8/16/2013       -16       14.35
CBOE Volatility Index (VIX)   SELL    8/16/2013       -13       14.35
CBOE Volatility Index (VIX)   SELL    8/16/2013       -12       14.35
CBOE Volatility Index (VIX)   SELL    8/16/2013       -10       14.35
CBOE Volatility Index (VIX)   SELL    8/16/2013        -8       14.35
CBOE Volatility Index (VIX)   SELL    8/16/2013        -7       14.35
CBOE Volatility Index (VIX)   SELL    8/16/2013        -1       14.35
CBOE Volatility Index (VIX)   BUY     8/16/2013         1       14.4
CBOE Volatility Index (VIX)   BUY     8/16/2013         1       14.4
CBOE Volatility Index (VIX)   BUY     8/19/2013         7       14.65
CBOE Volatility Index (VIX)   BUY     8/19/2013         8       14.9
CBOE Volatility Index (VIX)   BUY     8/19/2013        10       14.8
CBOE Volatility Index (VIX)   BUY     8/19/2013        12       14.75
CBOE Volatility Index (VIX)   BUY     8/19/2013        13       14.85
CBOE Volatility Index (VIX)   BUY     8/19/2013        16        15
CBOE Volatility Index (VIX)   BUY     8/19/2013        17       14.7
CBOE Volatility Index (VIX)   SELL    8/19/2013       -11       15.75
CBOE Volatility Index (VIX)   SELL    8/19/2013       -11       15.8
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CBOE Volatility Index (VIX)   SELL    8/19/2013       -7        15.85
CBOE Volatility Index (VIX)   SELL    8/19/2013       -5        15.7
CBOE Volatility Index (VIX)   SELL    8/19/2013       -4        15.55
CBOE Volatility Index (VIX)   SELL    8/19/2013       -4        15.7
CBOE Volatility Index (VIX)   SELL    8/19/2013       -4        15.6
CBOE Volatility Index (VIX)   SELL    8/19/2013       -4        15.65
CBOE Volatility Index (VIX)   SELL    8/19/2013       -4        15.7
CBOE Volatility Index (VIX)   SELL    8/19/2013       -3        15.55
CBOE Volatility Index (VIX)   SELL    8/19/2013       -3        15.65
CBOE Volatility Index (VIX)   SELL    8/19/2013       -2        15.6
CBOE Volatility Index (VIX)   SELL    8/19/2013       -2        15.6
CBOE Volatility Index (VIX)   SELL    8/19/2013       -2        15.6
CBOE Volatility Index (VIX)   SELL    8/19/2013       -2        15.65
CBOE Volatility Index (VIX)   SELL    8/19/2013       -2        15.7
CBOE Volatility Index (VIX)   SELL    8/19/2013       -2        15.7
CBOE Volatility Index (VIX)   SELL    8/19/2013       -2        15.7
CBOE Volatility Index (VIX)   SELL    8/19/2013       -1        15.6
CBOE Volatility Index (VIX)   SELL    8/19/2013       -1        15.65
CBOE Volatility Index (VIX)   SELL    8/19/2013       -1        15.65
CBOE Volatility Index (VIX)   SELL    8/19/2013       -1        15.65
CBOE Volatility Index (VIX)   SELL    8/19/2013       -1        15.7
CBOE Volatility Index (VIX)   SELL    8/19/2013       -1        15.7
CBOE Volatility Index (VIX)   SELL    8/19/2013       -1        15.7
CBOE Volatility Index (VIX)   SELL    8/19/2013       -1        15.7
CBOE Volatility Index (VIX)   SELL    8/19/2013       -1        15.7
CBOE Volatility Index (VIX)   BUY     8/19/2013        3        15.95
CBOE Volatility Index (VIX)   BUY     8/19/2013        4        15.95
CBOE Volatility Index (VIX)   SELL    8/20/2013       -1        15.6
CBOE Volatility Index (VIX)   BUY     8/20/2013        2        15.6
CBOE Volatility Index (VIX)   BUY     8/20/2013        2        15.65
CBOE Volatility Index (VIX)   BUY     8/21/2013        2        16.1
CBOE Volatility Index (VIX)   BUY     8/21/2013        4        16.1
CBOE Volatility Index (VIX)   SELL    8/22/2013       -2        15.4
CBOE Volatility Index (VIX)   SELL    8/23/2013       -2        15.15
CBOE Volatility Index (VIX)   SELL    8/23/2013       -1        15.15
CBOE Volatility Index (VIX)   BUY     8/26/2013        1        15.85
CBOE Volatility Index (VIX)   BUY     8/26/2013        4        15.85
CBOE Volatility Index (VIX)   BUY     8/27/2013        2        17.15
CBOE Volatility Index (VIX)   BUY     8/27/2013        3        17.15
CBOE Volatility Index (VIX)   BUY     8/28/2013        1        17.3
CBOE Volatility Index (VIX)   BUY     8/28/2013        1        17.3
CBOE Volatility Index (VIX)   BUY     8/28/2013        1        17.35
CBOE Volatility Index (VIX)   BUY     8/29/2013        1        17.35
CBOE Volatility Index (VIX)   BUY     8/29/2013        1        17.35
CBOE Volatility Index (VIX)   BUY     8/29/2013        2        17.4
CBOE Volatility Index (VIX)   BUY     8/30/2013        2        17.5
CBOE Volatility Index (VIX)   BUY     8/30/2013        2        17.55
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CBOE Volatility Index (VIX)   BUY     8/30/2013        4        17.5
CBOE Volatility Index (VIX)   BUY     8/30/2013        5        17.55
CBOE Volatility Index (VIX)   SELL     9/4/2013       -1        16.7
CBOE Volatility Index (VIX)   BUY      9/4/2013        1        16.75
CBOE Volatility Index (VIX)   SELL     9/5/2013       -2        16.35
CBOE Volatility Index (VIX)   BUY      9/5/2013        1        16.4
CBOE Volatility Index (VIX)   SELL     9/6/2013       -2        16.45
CBOE Volatility Index (VIX)   BUY      9/6/2013        1        16.5
CBOE Volatility Index (VIX)   SELL     9/9/2013       -3        15.8
CBOE Volatility Index (VIX)   SELL    9/10/2013       -2        15.15
CBOE Volatility Index (VIX)   SELL    9/11/2013       -8        14.5
CBOE Volatility Index (VIX)   SELL    9/12/2013       -1        14.8
CBOE Volatility Index (VIX)   BUY     9/13/2013        1        14.75
CBOE Volatility Index (VIX)   BUY     9/13/2013        1        14.8
CBOE Volatility Index (VIX)   BUY     9/13/2013        1        14.8
CBOE Volatility Index (VIX)   BUY     9/13/2013        1        14.8
CBOE Volatility Index (VIX)   BUY     9/13/2013        2        14.7
CBOE Volatility Index (VIX)   BUY     9/13/2013        2        14.7
CBOE Volatility Index (VIX)   BUY     9/13/2013        2        14.8
CBOE Volatility Index (VIX)   BUY     9/13/2013        2        14.8
CBOE Volatility Index (VIX)   BUY     9/13/2013        2        14.8
CBOE Volatility Index (VIX)   BUY     9/13/2013        3        14.8
CBOE Volatility Index (VIX)   BUY     9/13/2013        4        14.7
CBOE Volatility Index (VIX)   BUY     9/13/2013        7        14.75
CBOE Volatility Index (VIX)   BUY     9/13/2013        8        14.8
CBOE Volatility Index (VIX)   BUY     9/13/2013       11        14.75
CBOE Volatility Index (VIX)   BUY     9/13/2013       11        14.75
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                                           Schedule A
                                           FTC - Satori

          Security            Buy / Sell     Date         Quantity   Price
CBOE Volatility Index (VIX)     SELL       4/19/2012        -14      20.35
CBOE Volatility Index (VIX)     SELL       4/19/2012         -4      20.35
CBOE Volatility Index (VIX)     SELL       4/19/2012         -1      20.35
CBOE Volatility Index (VIX)     BUY        4/19/2012          1      23.75
CBOE Volatility Index (VIX)     BUY        4/19/2012          1      23.8
CBOE Volatility Index (VIX)     BUY        4/19/2012          4      23.8
CBOE Volatility Index (VIX)     BUY        4/19/2012          7      23.75
CBOE Volatility Index (VIX)     SELL       4/23/2012         -1      20.55
CBOE Volatility Index (VIX)     SELL       4/23/2012         -1      20.6
CBOE Volatility Index (VIX)     BUY        4/23/2012          1      23.95
CBOE Volatility Index (VIX)     SELL       4/24/2012         -1      19.75
CBOE Volatility Index (VIX)     BUY        4/24/2012          1      23.35
CBOE Volatility Index (VIX)     SELL       4/25/2012         -5      18.55
CBOE Volatility Index (VIX)     SELL       4/25/2012         -4      18.6
CBOE Volatility Index (VIX)     BUY        4/25/2012          1      22.35
CBOE Volatility Index (VIX)     BUY        4/25/2012          2      22.35
CBOE Volatility Index (VIX)     BUY        4/25/2012          3      22.3
CBOE Volatility Index (VIX)     SELL       4/26/2012         -8      17.95
CBOE Volatility Index (VIX)     SELL       4/26/2012         -4      17.95
CBOE Volatility Index (VIX)     BUY        4/26/2012          2      21.85
CBOE Volatility Index (VIX)     BUY        4/26/2012          2      21.85
CBOE Volatility Index (VIX)     BUY        4/26/2012          4      21.8
CBOE Volatility Index (VIX)     SELL       4/27/2012         -4       18
CBOE Volatility Index (VIX)     BUY        4/27/2012          2      21.7
CBOE Volatility Index (VIX)     SELL       4/30/2012         -1      18.45
CBOE Volatility Index (VIX)     SELL       4/30/2012         -1      21.95
CBOE Volatility Index (VIX)     SELL       5/1/2012          -2      17.95
CBOE Volatility Index (VIX)     SELL       5/2/2012          -3      18.05
CBOE Volatility Index (VIX)     BUY        5/2/2012           1      21.6
CBOE Volatility Index (VIX)     SELL       5/3/2012          -2      18.75
CBOE Volatility Index (VIX)     BUY        5/3/2012           1       22
CBOE Volatility Index (VIX)     SELL       5/4/2012          -1      19.85
CBOE Volatility Index (VIX)     BUY        5/4/2012           1      22.7
CBOE Volatility Index (VIX)     BUY        5/8/2012           1      19.6
CBOE Volatility Index (VIX)     BUY        5/8/2012           1      22.55
CBOE Volatility Index (VIX)     SELL       5/9/2012          -1      20.5
CBOE Volatility Index (VIX)     BUY        5/9/2012           1      23.25
CBOE Volatility Index (VIX)     BUY        5/10/2012          4      19.35
CBOE Volatility Index (VIX)     BUY        5/10/2012          1      22.4
CBOE Volatility Index (VIX)     BUY        5/11/2012          1      20.1
CBOE Volatility Index (VIX)     BUY        5/11/2012          1      20.1
CBOE Volatility Index (VIX)     BUY        5/11/2012          1      20.1
CBOE Volatility Index (VIX)     BUY        5/11/2012          1      20.15
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CBOE Volatility Index (VIX)   BUY    5/11/2012     1     20.15
CBOE Volatility Index (VIX)   BUY    5/11/2012     1     20.15
CBOE Volatility Index (VIX)   BUY    5/11/2012     2     20.15
CBOE Volatility Index (VIX)   BUY    5/11/2012     2     20.15
CBOE Volatility Index (VIX)   BUY    5/11/2012     3     20.15
CBOE Volatility Index (VIX)   BUY    5/11/2012     4     20.1
CBOE Volatility Index (VIX)   BUY    5/11/2012     4     20.15
CBOE Volatility Index (VIX)   BUY    5/11/2012     4     20.15
CBOE Volatility Index (VIX)   BUY    5/11/2012     5     20.1
CBOE Volatility Index (VIX)   BUY    5/11/2012     8     20.1
CBOE Volatility Index (VIX)   BUY    5/11/2012    14     20.1
CBOE Volatility Index (VIX)   SELL   5/11/2012   -23     21.4
CBOE Volatility Index (VIX)   SELL   5/11/2012    -7     21.45
CBOE Volatility Index (VIX)   SELL   5/11/2012    -5     21.45
CBOE Volatility Index (VIX)   SELL   5/11/2012    -3     21.4
CBOE Volatility Index (VIX)   SELL   5/11/2012    -2     21.4
CBOE Volatility Index (VIX)   SELL   5/11/2012    -2     21.45
CBOE Volatility Index (VIX)   SELL   5/11/2012    -2     21.45
CBOE Volatility Index (VIX)   SELL   5/11/2012    -2     21.45
CBOE Volatility Index (VIX)   SELL   5/11/2012    -2     21.45
CBOE Volatility Index (VIX)   SELL   5/11/2012    -1     21.4
CBOE Volatility Index (VIX)   SELL   5/11/2012    -1     21.4
CBOE Volatility Index (VIX)   SELL   5/11/2012    -1     21.45
CBOE Volatility Index (VIX)   SELL   5/11/2012    -1     21.45
CBOE Volatility Index (VIX)   SELL   5/11/2012    -1     21.45
CBOE Volatility Index (VIX)   SELL   5/11/2012    -1     21.45
CBOE Volatility Index (VIX)   SELL   5/11/2012    -1     21.45
CBOE Volatility Index (VIX)   BUY    5/14/2012     3     22.9
CBOE Volatility Index (VIX)   SELL   5/14/2012    -7     23.4
CBOE Volatility Index (VIX)   SELL   5/14/2012    -4     23.55
CBOE Volatility Index (VIX)   SELL   5/14/2012    -4     23.45
CBOE Volatility Index (VIX)   SELL   5/14/2012    -3     23.45
CBOE Volatility Index (VIX)   SELL   5/14/2012    -2     23.55
CBOE Volatility Index (VIX)   SELL   5/14/2012    -2     23.5
CBOE Volatility Index (VIX)   SELL   5/14/2012    -2     23.65
CBOE Volatility Index (VIX)   SELL   5/14/2012    -2     23.65
CBOE Volatility Index (VIX)   SELL   5/14/2012    -1     23.4
CBOE Volatility Index (VIX)   SELL   5/14/2012    -1     23.45
CBOE Volatility Index (VIX)   SELL   5/14/2012    -1     23.7
CBOE Volatility Index (VIX)   SELL   5/14/2012    -1     23.75
CBOE Volatility Index (VIX)   SELL   5/14/2012    -1     23.8
CBOE Volatility Index (VIX)   SELL   5/14/2012    -1     23.85
CBOE Volatility Index (VIX)   SELL   5/14/2012    -1     23.95
CBOE Volatility Index (VIX)   SELL   5/14/2012    -1     23.45
CBOE Volatility Index (VIX)   SELL   5/14/2012    -1     23.45
CBOE Volatility Index (VIX)   SELL   5/14/2012    -1     23.7
CBOE Volatility Index (VIX)   BUY    5/14/2012     1     24.55
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CBOE Volatility Index (VIX)   BUY    5/14/2012     1     24.8
CBOE Volatility Index (VIX)   BUY    5/14/2012     1     24.25
CBOE Volatility Index (VIX)   BUY    5/14/2012     2     24.45
CBOE Volatility Index (VIX)   BUY    5/14/2012     3     24.35
CBOE Volatility Index (VIX)   BUY    5/14/2012     3     24.45
CBOE Volatility Index (VIX)   BUY    5/14/2012     3     24.5
CBOE Volatility Index (VIX)   BUY    5/14/2012     3     24.6
CBOE Volatility Index (VIX)   BUY    5/14/2012     4     24.25
CBOE Volatility Index (VIX)   BUY    5/14/2012     4     24.4
CBOE Volatility Index (VIX)   BUY    5/14/2012     5     24.95
CBOE Volatility Index (VIX)   BUY    5/14/2012    11     24.3
CBOE Volatility Index (VIX)   BUY    5/15/2012     1     23.8
CBOE Volatility Index (VIX)   BUY    5/15/2012     1     23.85
CBOE Volatility Index (VIX)   BUY    5/16/2012     2     24.45
CBOE Volatility Index (VIX)   SELL   5/16/2012    -1     26.15
CBOE Volatility Index (VIX)   BUY    5/17/2012     7     26.2
CBOE Volatility Index (VIX)   BUY    5/17/2012    23     26.2
CBOE Volatility Index (VIX)   SELL   5/17/2012   -11     27.1
CBOE Volatility Index (VIX)   SELL   5/17/2012    -5     27.15
CBOE Volatility Index (VIX)   SELL   5/17/2012    -4     27.1
CBOE Volatility Index (VIX)   SELL   5/17/2012    -4     27.1
CBOE Volatility Index (VIX)   SELL   5/17/2012    -3     27.1
CBOE Volatility Index (VIX)   SELL   5/17/2012    -3     27.15
CBOE Volatility Index (VIX)   SELL   5/17/2012    -3     27.15
CBOE Volatility Index (VIX)   SELL   5/17/2012    -3     27.15
CBOE Volatility Index (VIX)   SELL   5/17/2012    -2     27.1
CBOE Volatility Index (VIX)   SELL   5/17/2012    -1     27.15
CBOE Volatility Index (VIX)   SELL   5/17/2012    -1     27.15
CBOE Volatility Index (VIX)   SELL   5/18/2012    -4      28
CBOE Volatility Index (VIX)   SELL   5/18/2012    -3      28
CBOE Volatility Index (VIX)   SELL   5/18/2012    -2      28
CBOE Volatility Index (VIX)   SELL   5/18/2012    -2      28
CBOE Volatility Index (VIX)   SELL   5/18/2012    -2      28
CBOE Volatility Index (VIX)   SELL   5/18/2012    -2      28
CBOE Volatility Index (VIX)   SELL   5/18/2012    -1      28
CBOE Volatility Index (VIX)   SELL   5/18/2012    -1      28
CBOE Volatility Index (VIX)   SELL   5/18/2012    -1      28
CBOE Volatility Index (VIX)   SELL   5/18/2012    -1      28
CBOE Volatility Index (VIX)   SELL   5/18/2012    -1      28
CBOE Volatility Index (VIX)   SELL   5/18/2012    -1      28
CBOE Volatility Index (VIX)   BUY    5/18/2012     1     28.4
CBOE Volatility Index (VIX)   BUY    5/18/2012     1     28.4
CBOE Volatility Index (VIX)   BUY    5/18/2012     1     28.45
CBOE Volatility Index (VIX)   BUY    5/18/2012     1     28.45
CBOE Volatility Index (VIX)   BUY    5/18/2012     1     28.45
CBOE Volatility Index (VIX)   BUY    5/18/2012     1     28.45
CBOE Volatility Index (VIX)   BUY    5/18/2012     1     28.45
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CBOE Volatility Index (VIX)   BUY    5/18/2012     1     28.45
CBOE Volatility Index (VIX)   BUY    5/18/2012     1     28.45
CBOE Volatility Index (VIX)   BUY    5/18/2012     2     28.45
CBOE Volatility Index (VIX)   BUY    5/18/2012     2     28.45
CBOE Volatility Index (VIX)   BUY    5/18/2012     2     28.45
CBOE Volatility Index (VIX)   BUY    5/18/2012     2     28.45
CBOE Volatility Index (VIX)   BUY    5/18/2012     2     28.45
CBOE Volatility Index (VIX)   BUY    5/18/2012     2     28.45
CBOE Volatility Index (VIX)   BUY    5/18/2012     2     28.45
CBOE Volatility Index (VIX)   BUY    5/18/2012     2     28.45
CBOE Volatility Index (VIX)   BUY    5/18/2012     2     28.45
CBOE Volatility Index (VIX)   BUY    5/18/2012     4     28.45
CBOE Volatility Index (VIX)   BUY    5/21/2012     2     24.3
CBOE Volatility Index (VIX)   BUY    5/21/2012     2     24.4
CBOE Volatility Index (VIX)   SELL   5/21/2012    -1     26.45
CBOE Volatility Index (VIX)   BUY    5/22/2012     1     24.95
CBOE Volatility Index (VIX)   BUY    5/22/2012     1     25.05
CBOE Volatility Index (VIX)   BUY    5/22/2012     2      25
CBOE Volatility Index (VIX)   SELL   5/22/2012    -2     27.1
CBOE Volatility Index (VIX)   SELL   5/22/2012    -1     27.15
CBOE Volatility Index (VIX)   SELL   5/22/2012    -1     27.1
CBOE Volatility Index (VIX)   BUY    5/23/2012     1     24.85
CBOE Volatility Index (VIX)   SELL   5/23/2012    -2     26.85
CBOE Volatility Index (VIX)   BUY    5/24/2012     2     24.3
CBOE Volatility Index (VIX)   SELL   5/25/2012    -1     24.5
CBOE Volatility Index (VIX)   SELL   5/29/2012    -2     23.05
CBOE Volatility Index (VIX)   SELL   5/29/2012    -1     23.05
CBOE Volatility Index (VIX)   BUY    5/29/2012     1     25.6
CBOE Volatility Index (VIX)   SELL   5/30/2012    -1     25.6
CBOE Volatility Index (VIX)   SELL   5/30/2012    -1     25.6
CBOE Volatility Index (VIX)   BUY    5/30/2012     2     27.2
CBOE Volatility Index (VIX)   BUY    5/31/2012     1     25.95
CBOE Volatility Index (VIX)   BUY    6/1/2012      1     27.85
CBOE Volatility Index (VIX)   SELL   6/1/2012     -1     29.1
CBOE Volatility Index (VIX)   BUY    6/4/2012      5      27
CBOE Volatility Index (VIX)   SELL   6/4/2012     -2     28.85
CBOE Volatility Index (VIX)   SELL   6/4/2012     -1     28.8
CBOE Volatility Index (VIX)   BUY    6/5/2012      3     25.65
CBOE Volatility Index (VIX)   SELL   6/5/2012     -2     27.95
CBOE Volatility Index (VIX)   BUY    6/6/2012      2     23.45
CBOE Volatility Index (VIX)   SELL   6/6/2012     -1     26.55
CBOE Volatility Index (VIX)   SELL   6/7/2012     -1     23.1
CBOE Volatility Index (VIX)   SELL   6/7/2012     -1     26.45
CBOE Volatility Index (VIX)   SELL   6/8/2012     -1     21.7
CBOE Volatility Index (VIX)   SELL   6/8/2012     -1     21.75
CBOE Volatility Index (VIX)   BUY    6/8/2012      1     25.05
CBOE Volatility Index (VIX)   BUY    6/8/2012      1     25.05
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CBOE Volatility Index (VIX)   SELL   6/11/2012    -1     24.45
CBOE Volatility Index (VIX)   SELL   6/11/2012    -1     24.5
CBOE Volatility Index (VIX)   BUY    6/11/2012     1     27.3
CBOE Volatility Index (VIX)   BUY    6/12/2012     1     23.4
CBOE Volatility Index (VIX)   BUY    6/14/2012     2     23.05
CBOE Volatility Index (VIX)   BUY    6/15/2012     1     21.8
CBOE Volatility Index (VIX)   BUY    6/15/2012     1      22
CBOE Volatility Index (VIX)   BUY    6/15/2012     1     22.1
CBOE Volatility Index (VIX)   BUY    6/15/2012     1     22.15
CBOE Volatility Index (VIX)   BUY    6/15/2012     1     22.35
CBOE Volatility Index (VIX)   BUY    6/15/2012     1     22.7
CBOE Volatility Index (VIX)   BUY    6/15/2012     1     22.8
CBOE Volatility Index (VIX)   BUY    6/15/2012     1     22.85
CBOE Volatility Index (VIX)   BUY    6/15/2012     1     22.9
CBOE Volatility Index (VIX)   BUY    6/15/2012     1     22.2
CBOE Volatility Index (VIX)   BUY    6/15/2012     1     22.65
CBOE Volatility Index (VIX)   BUY    6/15/2012     1     22.75
CBOE Volatility Index (VIX)   BUY    6/15/2012     1     22.75
CBOE Volatility Index (VIX)   BUY    6/15/2012     1     22.85
CBOE Volatility Index (VIX)   BUY    6/15/2012     2     21.9
CBOE Volatility Index (VIX)   BUY    6/15/2012     2     21.95
CBOE Volatility Index (VIX)   BUY    6/15/2012     2     22.55
CBOE Volatility Index (VIX)   BUY    6/15/2012     4     22.05
CBOE Volatility Index (VIX)   SELL   6/15/2012    -6     23.9
CBOE Volatility Index (VIX)   SELL   6/15/2012    -4     23.9
CBOE Volatility Index (VIX)   SELL   6/15/2012    -3     23.9
CBOE Volatility Index (VIX)   SELL   6/15/2012    -3     24.7
CBOE Volatility Index (VIX)   SELL   6/15/2012    -2     23.9
CBOE Volatility Index (VIX)   SELL   6/15/2012    -2     23.95
CBOE Volatility Index (VIX)   SELL   6/15/2012    -2     23.95
CBOE Volatility Index (VIX)   SELL   6/15/2012    -2     23.9
CBOE Volatility Index (VIX)   SELL   6/15/2012    -2     24.8
CBOE Volatility Index (VIX)   SELL   6/15/2012    -2     24.2
CBOE Volatility Index (VIX)   SELL   6/15/2012    -1     23.95
CBOE Volatility Index (VIX)   SELL   6/15/2012    -1     23.9
CBOE Volatility Index (VIX)   SELL   6/15/2012    -1     23.95
CBOE Volatility Index (VIX)   SELL   6/15/2012    -1     23.95
CBOE Volatility Index (VIX)   SELL   6/15/2012    -1     23.95
CBOE Volatility Index (VIX)   SELL   6/15/2012    -1     23.95
CBOE Volatility Index (VIX)   SELL   6/15/2012    -1      24
CBOE Volatility Index (VIX)   SELL   6/15/2012    -1     24.05
CBOE Volatility Index (VIX)   SELL   6/15/2012    -1     24.15
CBOE Volatility Index (VIX)   SELL   6/15/2012    -1     24.2
CBOE Volatility Index (VIX)   SELL   6/15/2012    -1     24.3
CBOE Volatility Index (VIX)   SELL   6/15/2012    -1     24.4
CBOE Volatility Index (VIX)   SELL   6/15/2012    -1     24.55
CBOE Volatility Index (VIX)   SELL   6/15/2012    -1     24.6
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CBOE Volatility Index (VIX)   SELL   6/15/2012    -1     24.85
CBOE Volatility Index (VIX)   SELL   6/15/2012    -1     24.3
CBOE Volatility Index (VIX)   SELL   6/15/2012    -1     24.2
CBOE Volatility Index (VIX)   SELL   6/15/2012    -1     24.2
CBOE Volatility Index (VIX)   SELL   6/15/2012    -1     24.2
CBOE Volatility Index (VIX)   SELL   6/15/2012    -1     24.55
CBOE Volatility Index (VIX)   SELL   6/15/2012    -1     24.85
CBOE Volatility Index (VIX)   SELL   6/15/2012    -4     25.55
CBOE Volatility Index (VIX)   SELL   6/15/2012    -2     25.3
CBOE Volatility Index (VIX)   SELL   6/15/2012    -2     25.4
CBOE Volatility Index (VIX)   SELL   6/15/2012    -2     25.6
CBOE Volatility Index (VIX)   SELL   6/15/2012    -2     25.65
CBOE Volatility Index (VIX)   SELL   6/15/2012    -2     25.95
CBOE Volatility Index (VIX)   SELL   6/15/2012    -2     25.85
CBOE Volatility Index (VIX)   SELL   6/15/2012    -1     25.35
CBOE Volatility Index (VIX)   SELL   6/15/2012    -1     25.7
CBOE Volatility Index (VIX)   SELL   6/15/2012    -1     26.05
CBOE Volatility Index (VIX)   SELL   6/15/2012    -1     26.15
CBOE Volatility Index (VIX)   SELL   6/15/2012    -1     25.85
CBOE Volatility Index (VIX)   SELL   6/15/2012    -1     26.1
CBOE Volatility Index (VIX)   SELL   6/15/2012    -3     26.6
CBOE Volatility Index (VIX)   SELL   6/15/2012    -2     26.35
CBOE Volatility Index (VIX)   SELL   6/15/2012    -2     26.4
CBOE Volatility Index (VIX)   SELL   6/15/2012    -2     26.4
CBOE Volatility Index (VIX)   SELL   6/15/2012    -2     26.6
CBOE Volatility Index (VIX)   SELL   6/15/2012    -1     26.4
CBOE Volatility Index (VIX)   SELL   6/15/2012    -1     26.55
CBOE Volatility Index (VIX)   SELL   6/15/2012    -1     26.55
CBOE Volatility Index (VIX)   SELL   6/15/2012    -1     26.35
CBOE Volatility Index (VIX)   SELL   6/15/2012    -1     26.45
CBOE Volatility Index (VIX)   SELL   6/15/2012    -1     26.45
CBOE Volatility Index (VIX)   SELL   6/15/2012    -1     26.55
CBOE Volatility Index (VIX)   SELL   6/15/2012    -1     26.55
CBOE Volatility Index (VIX)   SELL   6/15/2012    -1     26.55
CBOE Volatility Index (VIX)   SELL   6/15/2012    -1     26.6
CBOE Volatility Index (VIX)   BUY    6/15/2012     1     26.75
CBOE Volatility Index (VIX)   BUY    6/15/2012     1     26.9
CBOE Volatility Index (VIX)   BUY    6/15/2012     1     26.95
CBOE Volatility Index (VIX)   BUY    6/15/2012     1      27
CBOE Volatility Index (VIX)   BUY    6/15/2012     1     27.05
CBOE Volatility Index (VIX)   BUY    6/15/2012     1     27.1
CBOE Volatility Index (VIX)   BUY    6/15/2012     1     27.15
CBOE Volatility Index (VIX)   BUY    6/15/2012     1     27.25
CBOE Volatility Index (VIX)   BUY    6/15/2012     1     27.4
CBOE Volatility Index (VIX)   BUY    6/15/2012     1     26.9
CBOE Volatility Index (VIX)   BUY    6/15/2012     1     27.25
CBOE Volatility Index (VIX)   BUY    6/15/2012     2     26.8
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CBOE Volatility Index (VIX)   BUY    6/15/2012     2     26.85
CBOE Volatility Index (VIX)   BUY    6/15/2012     2     27.35
CBOE Volatility Index (VIX)   BUY    6/15/2012     2     26.8
CBOE Volatility Index (VIX)   BUY    6/15/2012     3     27.3
CBOE Volatility Index (VIX)   SELL   6/18/2012    -1     23.65
CBOE Volatility Index (VIX)   BUY    6/18/2012     1     23.6
CBOE Volatility Index (VIX)   BUY    6/18/2012     1     23.7
CBOE Volatility Index (VIX)   BUY    6/18/2012     1     23.7
CBOE Volatility Index (VIX)   BUY    6/18/2012     1     23.75
CBOE Volatility Index (VIX)   BUY    6/18/2012     2     23.6
CBOE Volatility Index (VIX)   BUY    6/18/2012     2     23.65
CBOE Volatility Index (VIX)   BUY    6/18/2012     2     23.65
CBOE Volatility Index (VIX)   BUY    6/18/2012     2     23.6
CBOE Volatility Index (VIX)   BUY    6/18/2012     3     23.75
CBOE Volatility Index (VIX)   BUY    6/18/2012     4     23.7
CBOE Volatility Index (VIX)   BUY    6/18/2012     6     23.65
CBOE Volatility Index (VIX)   BUY    6/18/2012     1     26.25
CBOE Volatility Index (VIX)   BUY    6/18/2012     1     26.3
CBOE Volatility Index (VIX)   BUY    6/18/2012     1     26.3
CBOE Volatility Index (VIX)   BUY    6/18/2012     1     26.3
CBOE Volatility Index (VIX)   BUY    6/18/2012     2     26.35
CBOE Volatility Index (VIX)   BUY    6/18/2012     3     26.35
CBOE Volatility Index (VIX)   BUY    6/18/2012     4     26.35
CBOE Volatility Index (VIX)   BUY    6/18/2012     8     26.3
CBOE Volatility Index (VIX)   SELL   6/19/2012    -1     25.25
CBOE Volatility Index (VIX)   SELL   6/21/2012    -1     23.15
CBOE Volatility Index (VIX)   SELL   6/21/2012    -1     23.2
CBOE Volatility Index (VIX)   BUY    6/22/2012     1     21.95
CBOE Volatility Index (VIX)   BUY    6/22/2012     1      22
CBOE Volatility Index (VIX)   BUY    6/22/2012     1      22
CBOE Volatility Index (VIX)   SELL   6/22/2012    -1     25.2
CBOE Volatility Index (VIX)   SELL   6/25/2012    -1     25.65
CBOE Volatility Index (VIX)   SELL   6/26/2012    -1     25.1
CBOE Volatility Index (VIX)   BUY    6/27/2012     1     21.75
CBOE Volatility Index (VIX)   SELL   6/28/2012    -2     21.35
CBOE Volatility Index (VIX)   SELL   6/28/2012    -1     21.3
CBOE Volatility Index (VIX)   SELL   6/29/2012    -1     19.55
CBOE Volatility Index (VIX)   SELL   6/29/2012    -1     19.6
CBOE Volatility Index (VIX)   BUY    6/29/2012     2     23.65
CBOE Volatility Index (VIX)   SELL   7/2/2012     -1     18.15
CBOE Volatility Index (VIX)   BUY    7/2/2012      1     22.6
CBOE Volatility Index (VIX)   SELL   7/3/2012     -1     17.7
CBOE Volatility Index (VIX)   SELL   7/3/2012     -1     17.75
CBOE Volatility Index (VIX)   SELL   7/3/2012     -1     17.75
CBOE Volatility Index (VIX)   BUY    7/3/2012      2      22
CBOE Volatility Index (VIX)   SELL   7/5/2012     -1     18.65
CBOE Volatility Index (VIX)   SELL   7/5/2012     -1     18.7
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CBOE Volatility Index (VIX)   BUY    7/5/2012      1     22.7
CBOE Volatility Index (VIX)   BUY    7/6/2012      1     22.35
CBOE Volatility Index (VIX)   BUY    7/9/2012      1     18.3
CBOE Volatility Index (VIX)   BUY    7/9/2012      2     18.3
CBOE Volatility Index (VIX)   SELL   7/9/2012     -1     22.1
CBOE Volatility Index (VIX)   SELL   7/10/2012    -1     19.15
CBOE Volatility Index (VIX)   SELL   7/10/2012    -1     19.15
CBOE Volatility Index (VIX)   SELL   7/12/2012    -1     18.5
CBOE Volatility Index (VIX)   BUY    7/13/2012     1     17.6
CBOE Volatility Index (VIX)   BUY    7/13/2012     1     17.7
CBOE Volatility Index (VIX)   BUY    7/13/2012     1     17.8
CBOE Volatility Index (VIX)   BUY    7/13/2012     1     17.85
CBOE Volatility Index (VIX)   BUY    7/13/2012     1     17.5
CBOE Volatility Index (VIX)   BUY    7/13/2012     1     17.5
CBOE Volatility Index (VIX)   BUY    7/13/2012     1     17.6
CBOE Volatility Index (VIX)   BUY    7/13/2012     1     17.7
CBOE Volatility Index (VIX)   BUY    7/13/2012     1     17.85
CBOE Volatility Index (VIX)   BUY    7/13/2012     1     17.8
CBOE Volatility Index (VIX)   BUY    7/13/2012     1     17.5
CBOE Volatility Index (VIX)   BUY    7/13/2012     1     17.6
CBOE Volatility Index (VIX)   BUY    7/13/2012     1     17.7
CBOE Volatility Index (VIX)   BUY    7/13/2012     1     17.8
CBOE Volatility Index (VIX)   BUY    7/13/2012     1     17.5
CBOE Volatility Index (VIX)   BUY    7/13/2012     1     17.5
CBOE Volatility Index (VIX)   BUY    7/13/2012     1     17.55
CBOE Volatility Index (VIX)   BUY    7/13/2012     1     17.75
CBOE Volatility Index (VIX)   BUY    7/13/2012     1     17.75
CBOE Volatility Index (VIX)   BUY    7/13/2012     1     17.8
CBOE Volatility Index (VIX)   BUY    7/13/2012     1     17.8
CBOE Volatility Index (VIX)   BUY    7/13/2012     1     17.7
CBOE Volatility Index (VIX)   BUY    7/13/2012     1     17.75
CBOE Volatility Index (VIX)   BUY    7/13/2012     1     17.8
CBOE Volatility Index (VIX)   BUY    7/13/2012     1     17.5
CBOE Volatility Index (VIX)   BUY    7/13/2012     1     17.75
CBOE Volatility Index (VIX)   BUY    7/13/2012     1     17.8
CBOE Volatility Index (VIX)   BUY    7/13/2012     2     17.7
CBOE Volatility Index (VIX)   BUY    7/13/2012     2     17.8
CBOE Volatility Index (VIX)   BUY    7/13/2012     3     17.65
CBOE Volatility Index (VIX)   SELL   7/13/2012    -5     19.7
CBOE Volatility Index (VIX)   SELL   7/13/2012    -3     19.65
CBOE Volatility Index (VIX)   SELL   7/13/2012    -3     19.75
CBOE Volatility Index (VIX)   SELL   7/13/2012    -2     19.45
CBOE Volatility Index (VIX)   SELL   7/13/2012    -2     19.75
CBOE Volatility Index (VIX)   SELL   7/13/2012    -1     19.45
CBOE Volatility Index (VIX)   SELL   7/13/2012    -1     19.5
CBOE Volatility Index (VIX)   SELL   7/13/2012    -1     19.55
CBOE Volatility Index (VIX)   SELL   7/13/2012    -1     19.6
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CBOE Volatility Index (VIX)   SELL   7/13/2012    -1     19.75
CBOE Volatility Index (VIX)   SELL   7/13/2012    -1     19.5
CBOE Volatility Index (VIX)   SELL   7/13/2012    -1     19.5
CBOE Volatility Index (VIX)   SELL   7/13/2012    -1     19.7
CBOE Volatility Index (VIX)   SELL   7/13/2012    -1     19.45
CBOE Volatility Index (VIX)   SELL   7/13/2012    -1     19.5
CBOE Volatility Index (VIX)   SELL   7/13/2012    -1     19.65
CBOE Volatility Index (VIX)   SELL   7/13/2012    -1     19.75
CBOE Volatility Index (VIX)   SELL   7/13/2012    -1     19.75
CBOE Volatility Index (VIX)   SELL   7/13/2012    -1     19.45
CBOE Volatility Index (VIX)   SELL   7/13/2012    -1     19.5
CBOE Volatility Index (VIX)   SELL   7/13/2012    -1     19.65
CBOE Volatility Index (VIX)   SELL   7/13/2012    -1     19.45
CBOE Volatility Index (VIX)   SELL   7/13/2012    -1     19.5
CBOE Volatility Index (VIX)   SELL   7/13/2012    -1     19.65
CBOE Volatility Index (VIX)   SELL   7/13/2012    -8     21.35
CBOE Volatility Index (VIX)   SELL   7/13/2012    -4     21.45
CBOE Volatility Index (VIX)   SELL   7/13/2012    -3     21.5
CBOE Volatility Index (VIX)   SELL   7/13/2012    -2     21.4
CBOE Volatility Index (VIX)   SELL   7/13/2012    -2     21.5
CBOE Volatility Index (VIX)   SELL   7/13/2012    -2     21.55
CBOE Volatility Index (VIX)   SELL   7/13/2012    -1     21.55
CBOE Volatility Index (VIX)   SELL   7/13/2012    -1     21.55
CBOE Volatility Index (VIX)   SELL   7/13/2012    -1     21.55
CBOE Volatility Index (VIX)   BUY    7/13/2012     1     22.6
CBOE Volatility Index (VIX)   BUY    7/13/2012     1     22.65
CBOE Volatility Index (VIX)   BUY    7/13/2012     1     22.6
CBOE Volatility Index (VIX)   BUY    7/13/2012     1     22.6
CBOE Volatility Index (VIX)   BUY    7/13/2012     1     22.7
CBOE Volatility Index (VIX)   BUY    7/13/2012     1     22.8
CBOE Volatility Index (VIX)   BUY    7/13/2012     2     22.55
CBOE Volatility Index (VIX)   BUY    7/13/2012     2     22.6
CBOE Volatility Index (VIX)   BUY    7/13/2012     3     22.8
CBOE Volatility Index (VIX)   BUY    7/13/2012     6     22.7
CBOE Volatility Index (VIX)   BUY    7/13/2012     6     22.75
CBOE Volatility Index (VIX)   BUY    7/16/2012     1     22.75
CBOE Volatility Index (VIX)   SELL   7/17/2012    -2     18.5
CBOE Volatility Index (VIX)   BUY    7/17/2012     1     22.15
CBOE Volatility Index (VIX)   SELL   7/18/2012    -1     18.6
CBOE Volatility Index (VIX)   SELL   7/18/2012    -1     18.75
CBOE Volatility Index (VIX)   BUY    7/18/2012     1     22.3
CBOE Volatility Index (VIX)   SELL   7/19/2012    -1     18.2
CBOE Volatility Index (VIX)   SELL   7/19/2012    -1     18.2
CBOE Volatility Index (VIX)   BUY    7/19/2012     2     21.95
CBOE Volatility Index (VIX)   SELL   7/20/2012    -1     19.1
CBOE Volatility Index (VIX)   SELL   7/20/2012    -1     19.1
CBOE Volatility Index (VIX)   SELL   7/20/2012    -1     19.1
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CBOE Volatility Index (VIX)   BUY    7/20/2012     1     22.65
CBOE Volatility Index (VIX)   BUY    7/20/2012     1     22.7
CBOE Volatility Index (VIX)   SELL   7/23/2012    -2     20.65
CBOE Volatility Index (VIX)   BUY    7/23/2012     1     23.85
CBOE Volatility Index (VIX)   BUY    7/24/2012     1     21.8
CBOE Volatility Index (VIX)   BUY    7/24/2012     2     21.8
CBOE Volatility Index (VIX)   BUY    7/24/2012     1     24.5
CBOE Volatility Index (VIX)   BUY    7/25/2012     1     23.85
CBOE Volatility Index (VIX)   SELL   7/26/2012    -1     19.2
CBOE Volatility Index (VIX)   BUY    7/26/2012     1     22.6
CBOE Volatility Index (VIX)   SELL   7/27/2012    -1     18.6
CBOE Volatility Index (VIX)   BUY    7/27/2012     1     22.4
CBOE Volatility Index (VIX)   BUY    7/27/2012     1     22.4
CBOE Volatility Index (VIX)   BUY    7/31/2012     1     19.45
CBOE Volatility Index (VIX)   SELL   7/31/2012    -2     22.8
CBOE Volatility Index (VIX)   BUY    8/1/2012      1     19.55
CBOE Volatility Index (VIX)   BUY    8/1/2012      1     19.9
CBOE Volatility Index (VIX)   BUY    8/1/2012      1     19.9
CBOE Volatility Index (VIX)   SELL   8/1/2012     -2     23.1
CBOE Volatility Index (VIX)   SELL   8/1/2012     -1     22.9
CBOE Volatility Index (VIX)   BUY    8/2/2012      1     18.75
CBOE Volatility Index (VIX)   SELL   8/2/2012     -1     22.45
CBOE Volatility Index (VIX)   BUY    8/3/2012      1     17.35
CBOE Volatility Index (VIX)   SELL   8/3/2012     -1     21.5
CBOE Volatility Index (VIX)   SELL   8/3/2012     -1     21.45
CBOE Volatility Index (VIX)   SELL   8/3/2012     -1     21.45
CBOE Volatility Index (VIX)   SELL   8/6/2012     -1     16.85
CBOE Volatility Index (VIX)   SELL   8/6/2012     -1     16.85
CBOE Volatility Index (VIX)   BUY    8/6/2012      1      21
CBOE Volatility Index (VIX)   BUY    8/8/2012      1     16.85
CBOE Volatility Index (VIX)   BUY    8/8/2012      1     16.85
CBOE Volatility Index (VIX)   BUY    8/8/2012      1     16.85
CBOE Volatility Index (VIX)   BUY    8/8/2012      1     16.85
CBOE Volatility Index (VIX)   BUY    8/8/2012      1     16.85
CBOE Volatility Index (VIX)   BUY    8/8/2012      1     16.85
CBOE Volatility Index (VIX)   BUY    8/8/2012      1     16.85
CBOE Volatility Index (VIX)   BUY    8/8/2012      1     16.85
CBOE Volatility Index (VIX)   BUY    8/8/2012      3     16.85
CBOE Volatility Index (VIX)   SELL   8/8/2012     -6     20.7
CBOE Volatility Index (VIX)   SELL   8/8/2012     -6     20.7
CBOE Volatility Index (VIX)   SELL   8/8/2012     -3     20.7
CBOE Volatility Index (VIX)   SELL   8/8/2012     -2     20.7
CBOE Volatility Index (VIX)   SELL   8/8/2012     -1     20.7
CBOE Volatility Index (VIX)   SELL   8/8/2012     -1     20.7
CBOE Volatility Index (VIX)   SELL   8/8/2012     -1     20.7
CBOE Volatility Index (VIX)   SELL   8/8/2012     -1     20.7
CBOE Volatility Index (VIX)   SELL   8/8/2012     -1     20.7
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CBOE Volatility Index (VIX)   SELL   8/8/2012     -1     20.7
CBOE Volatility Index (VIX)   SELL   8/8/2012     -1     20.7
CBOE Volatility Index (VIX)   SELL   8/8/2012     -1     20.7
CBOE Volatility Index (VIX)   SELL   8/8/2012     -1     20.7
CBOE Volatility Index (VIX)   SELL   8/8/2012     -1     20.7
CBOE Volatility Index (VIX)   SELL   8/8/2012     -1     20.7
CBOE Volatility Index (VIX)   SELL   8/8/2012     -1     20.75
CBOE Volatility Index (VIX)   SELL   8/8/2012     -1     20.75
CBOE Volatility Index (VIX)   SELL   8/10/2012    -1     16.3
CBOE Volatility Index (VIX)   SELL   8/10/2012    -1     16.3
CBOE Volatility Index (VIX)   SELL   8/13/2012    -1     15.75
CBOE Volatility Index (VIX)   SELL   8/14/2012    -1     16.45
CBOE Volatility Index (VIX)   SELL   8/14/2012    -1     16.45
CBOE Volatility Index (VIX)   SELL   8/16/2012    -1      16
CBOE Volatility Index (VIX)   SELL   8/16/2012    -1      16
CBOE Volatility Index (VIX)   SELL   8/16/2012    -1      16
CBOE Volatility Index (VIX)   SELL   8/17/2012    -1     15.05
CBOE Volatility Index (VIX)   SELL   8/17/2012    -1     15.1
CBOE Volatility Index (VIX)   BUY    8/17/2012     1     15.15
CBOE Volatility Index (VIX)   BUY    8/20/2012     1     14.7
CBOE Volatility Index (VIX)   BUY    8/20/2012     1     14.8
CBOE Volatility Index (VIX)   BUY    8/20/2012     1     14.9
CBOE Volatility Index (VIX)   BUY    8/20/2012     1     14.9
CBOE Volatility Index (VIX)   BUY    8/20/2012     1      15
CBOE Volatility Index (VIX)   BUY    8/20/2012     1     14.75
CBOE Volatility Index (VIX)   BUY    8/20/2012     1     14.75
CBOE Volatility Index (VIX)   BUY    8/20/2012     1     14.95
CBOE Volatility Index (VIX)   BUY    8/20/2012     1     14.65
CBOE Volatility Index (VIX)   BUY    8/20/2012     1     14.75
CBOE Volatility Index (VIX)   BUY    8/20/2012     1     14.75
CBOE Volatility Index (VIX)   BUY    8/20/2012     1     14.95
CBOE Volatility Index (VIX)   BUY    8/20/2012     1     14.7
CBOE Volatility Index (VIX)   BUY    8/20/2012     1     14.7
CBOE Volatility Index (VIX)   BUY    8/20/2012     1     14.95
CBOE Volatility Index (VIX)   BUY    8/20/2012     1     14.7
CBOE Volatility Index (VIX)   BUY    8/20/2012     1     14.95
CBOE Volatility Index (VIX)   BUY    8/20/2012     1     14.7
CBOE Volatility Index (VIX)   BUY    8/20/2012     1     14.7
CBOE Volatility Index (VIX)   BUY    8/20/2012     1     14.75
CBOE Volatility Index (VIX)   BUY    8/20/2012     1     14.75
CBOE Volatility Index (VIX)   BUY    8/20/2012     1     14.75
CBOE Volatility Index (VIX)   BUY    8/20/2012     1     14.75
CBOE Volatility Index (VIX)   BUY    8/20/2012     1     14.95
CBOE Volatility Index (VIX)   BUY    8/20/2012     2     14.75
CBOE Volatility Index (VIX)   BUY    8/20/2012     2     14.75
CBOE Volatility Index (VIX)   BUY    8/20/2012     2     14.7
CBOE Volatility Index (VIX)   BUY    8/20/2012     3     14.75
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CBOE Volatility Index (VIX)   BUY    8/20/2012     5     14.7
CBOE Volatility Index (VIX)   SELL   8/20/2012    -6     18.3
CBOE Volatility Index (VIX)   SELL   8/20/2012    -5     18.25
CBOE Volatility Index (VIX)   SELL   8/20/2012    -4     18.3
CBOE Volatility Index (VIX)   SELL   8/20/2012    -3     18.25
CBOE Volatility Index (VIX)   SELL   8/20/2012    -3     18.3
CBOE Volatility Index (VIX)   SELL   8/20/2012    -3     18.25
CBOE Volatility Index (VIX)   SELL   8/20/2012    -2     18.35
CBOE Volatility Index (VIX)   SELL   8/20/2012    -2     18.25
CBOE Volatility Index (VIX)   SELL   8/20/2012    -1     18.4
CBOE Volatility Index (VIX)   SELL   8/20/2012    -1     18.3
CBOE Volatility Index (VIX)   SELL   8/20/2012    -1     18.25
CBOE Volatility Index (VIX)   SELL   8/20/2012    -1     18.35
CBOE Volatility Index (VIX)   SELL   8/20/2012    -1     18.4
CBOE Volatility Index (VIX)   SELL   8/20/2012    -1     18.25
CBOE Volatility Index (VIX)   SELL   8/20/2012    -1     18.25
CBOE Volatility Index (VIX)   SELL   8/20/2012    -1     18.2
CBOE Volatility Index (VIX)   SELL   8/20/2012    -1     18.25
CBOE Volatility Index (VIX)   SELL   8/20/2012    -1     18.35
CBOE Volatility Index (VIX)   SELL   8/20/2012    -1     18.4
CBOE Volatility Index (VIX)   BUY    8/21/2012     1     18.75
CBOE Volatility Index (VIX)   BUY    8/21/2012     1     18.75
CBOE Volatility Index (VIX)   BUY    8/21/2012     1     18.8
CBOE Volatility Index (VIX)   SELL   8/23/2012    -1     19.25
CBOE Volatility Index (VIX)   SELL   8/27/2012    -2     18.8
CBOE Volatility Index (VIX)   SELL   8/27/2012    -1     18.8
CBOE Volatility Index (VIX)   SELL   8/28/2012    -1      19
CBOE Volatility Index (VIX)   SELL   8/29/2012    -1     19.25
CBOE Volatility Index (VIX)   SELL   8/30/2012    -1     19.7
CBOE Volatility Index (VIX)   SELL   8/30/2012    -1     19.7
CBOE Volatility Index (VIX)   SELL   8/30/2012    -1     19.7
CBOE Volatility Index (VIX)   SELL   8/31/2012    -2     18.95
CBOE Volatility Index (VIX)   SELL   9/4/2012     -3     18.65
CBOE Volatility Index (VIX)   SELL   9/4/2012     -1     18.65
CBOE Volatility Index (VIX)   SELL   9/4/2012     -1     18.65
CBOE Volatility Index (VIX)   SELL   9/4/2012     -1     18.65
CBOE Volatility Index (VIX)   SELL   9/5/2012     -3     18.15
CBOE Volatility Index (VIX)   SELL   9/5/2012     -1     18.15
CBOE Volatility Index (VIX)   BUY    9/6/2012      1     16.15
CBOE Volatility Index (VIX)   BUY    9/6/2012      2     16.2
CBOE Volatility Index (VIX)   BUY    9/7/2012      3     15.1
CBOE Volatility Index (VIX)   BUY    9/10/2012     1     16.35
CBOE Volatility Index (VIX)   BUY    9/10/2012     1     16.35
CBOE Volatility Index (VIX)   BUY    9/10/2012     3     16.3
CBOE Volatility Index (VIX)   BUY    9/10/2012     4     16.35
CBOE Volatility Index (VIX)   BUY    9/10/2012     5     16.3
CBOE Volatility Index (VIX)   BUY    9/10/2012     6     16.4
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CBOE Volatility Index (VIX)   BUY    9/11/2012     1     16.55
CBOE Volatility Index (VIX)   BUY    9/11/2012     1     16.55
CBOE Volatility Index (VIX)   BUY    9/11/2012     1     16.55
CBOE Volatility Index (VIX)   BUY    9/11/2012     1     16.55
CBOE Volatility Index (VIX)   BUY    9/11/2012     1     16.55
CBOE Volatility Index (VIX)   BUY    9/11/2012     1     16.55
CBOE Volatility Index (VIX)   BUY    9/11/2012     1     16.55
CBOE Volatility Index (VIX)   BUY    9/11/2012     1     16.55
CBOE Volatility Index (VIX)   BUY    9/11/2012     1     16.55
CBOE Volatility Index (VIX)   BUY    9/11/2012     1     16.55
CBOE Volatility Index (VIX)   BUY    9/11/2012     1     16.55
CBOE Volatility Index (VIX)   BUY    9/11/2012     2     16.55
CBOE Volatility Index (VIX)   BUY    9/11/2012     2     16.55
CBOE Volatility Index (VIX)   BUY    9/11/2012     3     16.55
CBOE Volatility Index (VIX)   SELL   9/12/2012   -17     15.8
CBOE Volatility Index (VIX)   SELL   9/12/2012    -4     15.8
CBOE Volatility Index (VIX)   SELL   9/12/2012    -3     15.75
CBOE Volatility Index (VIX)   SELL   9/13/2012    -1     14.9
CBOE Volatility Index (VIX)   SELL   9/14/2012    -3     15.6
CBOE Volatility Index (VIX)   SELL   9/14/2012    -1     15.55
CBOE Volatility Index (VIX)   BUY    9/17/2012     1     15.2
CBOE Volatility Index (VIX)   BUY    9/17/2012     1     15.1
CBOE Volatility Index (VIX)   BUY    9/17/2012     1     15.1
CBOE Volatility Index (VIX)   BUY    9/17/2012     1     15.1
CBOE Volatility Index (VIX)   BUY    9/17/2012     1     15.2
CBOE Volatility Index (VIX)   BUY    9/17/2012     1     15.35
CBOE Volatility Index (VIX)   BUY    9/17/2012     1     15.35
CBOE Volatility Index (VIX)   BUY    9/17/2012     2     15.1
CBOE Volatility Index (VIX)   BUY    9/17/2012     3     15.15
CBOE Volatility Index (VIX)   BUY    9/17/2012     3     15.3
CBOE Volatility Index (VIX)   BUY    9/17/2012     3     15.25
CBOE Volatility Index (VIX)   BUY    9/17/2012     3     15.35
CBOE Volatility Index (VIX)   BUY    9/17/2012     4     15.35
CBOE Volatility Index (VIX)   BUY    9/17/2012    17     15.3
CBOE Volatility Index (VIX)   SELL   9/17/2012    -9     16.95
CBOE Volatility Index (VIX)   SELL   9/17/2012    -5     16.8
CBOE Volatility Index (VIX)   SELL   9/17/2012    -4     16.95
CBOE Volatility Index (VIX)   SELL   9/17/2012    -3     16.95
CBOE Volatility Index (VIX)   SELL   9/17/2012    -2     16.8
CBOE Volatility Index (VIX)   SELL   9/17/2012    -2     16.9
CBOE Volatility Index (VIX)   SELL   9/17/2012    -2      17
CBOE Volatility Index (VIX)   SELL   9/17/2012    -2     17.1
CBOE Volatility Index (VIX)   SELL   9/17/2012    -2     16.85
CBOE Volatility Index (VIX)   SELL   9/17/2012    -2     16.95
CBOE Volatility Index (VIX)   SELL   9/17/2012    -1     16.75
CBOE Volatility Index (VIX)   SELL   9/17/2012    -1     16.85
CBOE Volatility Index (VIX)   SELL   9/17/2012    -1     17.05
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CBOE Volatility Index (VIX)   SELL    9/17/2012   -1     16.85
CBOE Volatility Index (VIX)   SELL    9/17/2012   -1     16.9
CBOE Volatility Index (VIX)   SELL    9/17/2012   -1     16.95
CBOE Volatility Index (VIX)   SELL    9/17/2012   -1     16.95
CBOE Volatility Index (VIX)   SELL    9/17/2012   -1     16.95
CBOE Volatility Index (VIX)   SELL    9/17/2012   -1     16.95
CBOE Volatility Index (VIX)   BUY     9/17/2012    1     16.9
CBOE Volatility Index (VIX)   BUY     9/17/2012    2     16.95
CBOE Volatility Index (VIX)   BUY     9/17/2012    2     16.95
CBOE Volatility Index (VIX)   BUY     9/17/2012    5     16.9
CBOE Volatility Index (VIX)   BUY     9/18/2012    1     16.3
CBOE Volatility Index (VIX)   SELL    9/20/2012   -8     16.25
CBOE Volatility Index (VIX)   SELL    9/20/2012   -5     16.2
CBOE Volatility Index (VIX)   SELL    9/21/2012   -1     16.15
CBOE Volatility Index (VIX)   SELL    9/24/2012   -2     15.85
CBOE Volatility Index (VIX)   SELL    9/24/2012   -1     15.85
CBOE Volatility Index (VIX)   SELL    9/25/2012   -2      17
CBOE Volatility Index (VIX)   SELL    9/25/2012   -2     17.05
CBOE Volatility Index (VIX)   BUY     9/26/2012    1     17.7
CBOE Volatility Index (VIX)   BUY     9/26/2012    1     17.7
CBOE Volatility Index (VIX)   BUY     9/26/2012    2     17.75
CBOE Volatility Index (VIX)   BUY     9/27/2012    2     16.2
CBOE Volatility Index (VIX)   SELL    9/28/2012   -1     16.35
CBOE Volatility Index (VIX)   BUY     10/1/2012    1     16.85
CBOE Volatility Index (VIX)   BUY     10/2/2012    1     16.5
CBOE Volatility Index (VIX)   BUY     10/2/2012    1     16.55
CBOE Volatility Index (VIX)   SELL    10/3/2012   -1     16.45
CBOE Volatility Index (VIX)   SELL    10/3/2012   -1     16.5
CBOE Volatility Index (VIX)   SELL    10/4/2012   -5     15.8
CBOE Volatility Index (VIX)   SELL    10/5/2012   -3     15.75
CBOE Volatility Index (VIX)   SELL    10/5/2012   -2     15.7
CBOE Volatility Index (VIX)   SELL    10/8/2012   -3     15.85
CBOE Volatility Index (VIX)   SELL    10/9/2012   -3     16.65
CBOE Volatility Index (VIX)   SELL    10/9/2012   -1     16.65
CBOE Volatility Index (VIX)   SELL   10/10/2012   -1     16.65
CBOE Volatility Index (VIX)   BUY    10/11/2012    1     16.2
CBOE Volatility Index (VIX)   SELL   10/12/2012   -1     16.65
CBOE Volatility Index (VIX)   BUY    10/15/2012    1     15.8
CBOE Volatility Index (VIX)   BUY    10/15/2012    1     15.75
CBOE Volatility Index (VIX)   BUY    10/15/2012    1     15.8
CBOE Volatility Index (VIX)   BUY    10/15/2012    1     15.85
CBOE Volatility Index (VIX)   BUY    10/15/2012    1     15.85
CBOE Volatility Index (VIX)   BUY    10/15/2012    1     15.85
CBOE Volatility Index (VIX)   BUY    10/15/2012    1     15.9
CBOE Volatility Index (VIX)   BUY    10/15/2012    1     15.9
CBOE Volatility Index (VIX)   BUY    10/15/2012    1     15.9
CBOE Volatility Index (VIX)   BUY    10/15/2012    2     15.8
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CBOE Volatility Index (VIX)   BUY    10/15/2012     2    15.75
CBOE Volatility Index (VIX)   BUY    10/15/2012     2    15.85
CBOE Volatility Index (VIX)   BUY    10/15/2012     2    15.85
CBOE Volatility Index (VIX)   BUY    10/15/2012     2    15.85
CBOE Volatility Index (VIX)   BUY    10/15/2012     2    15.85
CBOE Volatility Index (VIX)   BUY    10/15/2012     3    15.85
CBOE Volatility Index (VIX)   BUY    10/15/2012     3    15.75
CBOE Volatility Index (VIX)   BUY    10/15/2012     3    15.85
CBOE Volatility Index (VIX)   BUY    10/15/2012     3    15.85
CBOE Volatility Index (VIX)   BUY    10/15/2012     4    15.7
CBOE Volatility Index (VIX)   BUY    10/15/2012     5    15.8
CBOE Volatility Index (VIX)   BUY    10/15/2012     5    15.85
CBOE Volatility Index (VIX)   BUY    10/15/2012     8    15.8
CBOE Volatility Index (VIX)   BUY    10/15/2012     9    15.65
CBOE Volatility Index (VIX)   SELL   10/15/2012   -31    17.3
CBOE Volatility Index (VIX)   SELL   10/15/2012    -6    17.15
CBOE Volatility Index (VIX)   SELL   10/15/2012    -4    17.2
CBOE Volatility Index (VIX)   SELL   10/15/2012    -4    17.35
CBOE Volatility Index (VIX)   SELL   10/15/2012    -3    17.2
CBOE Volatility Index (VIX)   SELL   10/15/2012    -2    17.2
CBOE Volatility Index (VIX)   SELL   10/15/2012    -2    17.25
CBOE Volatility Index (VIX)   SELL   10/15/2012    -2    17.25
CBOE Volatility Index (VIX)   SELL   10/15/2012    -2    17.25
CBOE Volatility Index (VIX)   SELL   10/15/2012    -1    17.15
CBOE Volatility Index (VIX)   SELL   10/15/2012    -1    17.15
CBOE Volatility Index (VIX)   SELL   10/15/2012    -1    17.25
CBOE Volatility Index (VIX)   SELL   10/15/2012    -1    17.25
CBOE Volatility Index (VIX)   SELL   10/15/2012    -1    17.2
CBOE Volatility Index (VIX)   SELL   10/15/2012    -1    17.25
CBOE Volatility Index (VIX)   SELL   10/15/2012    -1    17.25
CBOE Volatility Index (VIX)   SELL   10/15/2012    -1    17.25
CBOE Volatility Index (VIX)   SELL   10/15/2012    -1    17.25
CBOE Volatility Index (VIX)   SELL   10/15/2012    -1    17.25
CBOE Volatility Index (VIX)   SELL   10/16/2012    -2    16.75
CBOE Volatility Index (VIX)   SELL   10/17/2012    -1    16.5
CBOE Volatility Index (VIX)   SELL   10/18/2012    -4    16.6
CBOE Volatility Index (VIX)   SELL   10/19/2012    -3    17.55
CBOE Volatility Index (VIX)   SELL   10/19/2012    -2    17.6
CBOE Volatility Index (VIX)   BUY    10/22/2012     1    17.35
CBOE Volatility Index (VIX)   BUY    10/22/2012     6    17.35
CBOE Volatility Index (VIX)   BUY    10/23/2012     1     19
CBOE Volatility Index (VIX)   BUY    10/23/2012     2    19.15
CBOE Volatility Index (VIX)   BUY    10/23/2012     3    19.1
CBOE Volatility Index (VIX)   BUY    10/24/2012     1    18.8
CBOE Volatility Index (VIX)   BUY    10/24/2012     1    18.9
CBOE Volatility Index (VIX)   BUY    10/24/2012     4    18.85
CBOE Volatility Index (VIX)   BUY    10/25/2012     1    18.4
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CBOE Volatility Index (VIX)   BUY    10/25/2012     2    18.35
CBOE Volatility Index (VIX)   SELL   10/26/2012    -1    18.25
CBOE Volatility Index (VIX)   SELL   10/26/2012    -1    18.25
CBOE Volatility Index (VIX)   BUY    10/26/2012     1    18.3
CBOE Volatility Index (VIX)   SELL   10/31/2012    -5    18.8
CBOE Volatility Index (VIX)   SELL   10/31/2012    -2    18.9
CBOE Volatility Index (VIX)   SELL   10/31/2012    -1    18.85
CBOE Volatility Index (VIX)   BUY    10/31/2012     1    18.9
CBOE Volatility Index (VIX)   BUY     11/1/2012     1     17
CBOE Volatility Index (VIX)   BUY     11/1/2012     2    16.95
CBOE Volatility Index (VIX)   BUY     11/2/2012     1    17.8
CBOE Volatility Index (VIX)   BUY     11/2/2012     2    17.8
CBOE Volatility Index (VIX)   BUY     11/5/2012     1    18.05
CBOE Volatility Index (VIX)   BUY     11/5/2012     1    18.05
CBOE Volatility Index (VIX)   BUY     11/5/2012     1    18.05
CBOE Volatility Index (VIX)   BUY     11/5/2012     1    18.1
CBOE Volatility Index (VIX)   BUY     11/5/2012     1    18.1
CBOE Volatility Index (VIX)   BUY     11/5/2012     2    18.05
CBOE Volatility Index (VIX)   BUY     11/5/2012     2    18.05
CBOE Volatility Index (VIX)   BUY     11/5/2012     2    18.1
CBOE Volatility Index (VIX)   BUY     11/5/2012     3    18.05
CBOE Volatility Index (VIX)   BUY     11/5/2012     4    18.05
CBOE Volatility Index (VIX)   BUY     11/5/2012     4    18.05
CBOE Volatility Index (VIX)   BUY     11/5/2012     5    18.1
CBOE Volatility Index (VIX)   BUY     11/5/2012     5    18.1
CBOE Volatility Index (VIX)   BUY     11/5/2012    12    18.1
CBOE Volatility Index (VIX)   BUY     11/5/2012    31    18.05
CBOE Volatility Index (VIX)   BUY     11/6/2012     1    17.1
CBOE Volatility Index (VIX)   BUY     11/6/2012     3    17.1
CBOE Volatility Index (VIX)   SELL    11/7/2012    -5    18.75
CBOE Volatility Index (VIX)   BUY     11/7/2012     3    18.8
CBOE Volatility Index (VIX)   SELL    11/8/2012   -25    18.55
CBOE Volatility Index (VIX)   SELL    11/8/2012   -12    18.5
CBOE Volatility Index (VIX)   SELL    11/8/2012    -6    18.5
CBOE Volatility Index (VIX)   SELL    11/8/2012    -3    18.5
CBOE Volatility Index (VIX)   SELL    11/8/2012    -3    18.5
CBOE Volatility Index (VIX)   SELL    11/8/2012    -3    18.5
CBOE Volatility Index (VIX)   SELL    11/8/2012    -1    18.5
CBOE Volatility Index (VIX)   SELL    11/8/2012    -1    18.5
CBOE Volatility Index (VIX)   SELL    11/8/2012    -1    18.5
CBOE Volatility Index (VIX)   BUY     11/8/2012     1    18.6
CBOE Volatility Index (VIX)   BUY     11/9/2012     1    18.7
CBOE Volatility Index (VIX)   BUY    11/12/2012     3    17.15
CBOE Volatility Index (VIX)   SELL   11/14/2012    -1    17.7
CBOE Volatility Index (VIX)   BUY    11/14/2012     1    17.75
CBOE Volatility Index (VIX)   BUY    11/14/2012     1    17.75
CBOE Volatility Index (VIX)   BUY    11/14/2012     6    17.75
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CBOE Volatility Index (VIX)   BUY    11/14/2012     6    17.75
CBOE Volatility Index (VIX)   BUY    11/14/2012    25    17.75
CBOE Volatility Index (VIX)   SELL   11/15/2012   -12    17.95
CBOE Volatility Index (VIX)   SELL   11/15/2012    -9     18
CBOE Volatility Index (VIX)   SELL   11/15/2012    -6    17.95
CBOE Volatility Index (VIX)   SELL   11/15/2012    -6     18
CBOE Volatility Index (VIX)   SELL   11/15/2012    -2    17.95
CBOE Volatility Index (VIX)   SELL   11/15/2012    -2    17.95
CBOE Volatility Index (VIX)   SELL   11/15/2012    -2     18
CBOE Volatility Index (VIX)   SELL   11/15/2012    -1     18
CBOE Volatility Index (VIX)   SELL   11/15/2012    -1     18
CBOE Volatility Index (VIX)   SELL   11/15/2012    -1     18
CBOE Volatility Index (VIX)   SELL   11/16/2012    -1    16.8
CBOE Volatility Index (VIX)   SELL   11/16/2012    -1    16.8
CBOE Volatility Index (VIX)   BUY    11/19/2012     1    15.45
CBOE Volatility Index (VIX)   BUY    11/19/2012     1    15.7
CBOE Volatility Index (VIX)   BUY    11/19/2012     1    15.65
CBOE Volatility Index (VIX)   BUY    11/19/2012     1    15.65
CBOE Volatility Index (VIX)   BUY    11/19/2012     2    15.35
CBOE Volatility Index (VIX)   BUY    11/19/2012     2    15.4
CBOE Volatility Index (VIX)   BUY    11/19/2012     2    15.55
CBOE Volatility Index (VIX)   BUY    11/19/2012     6    15.6
CBOE Volatility Index (VIX)   BUY    11/19/2012     9    15.5
CBOE Volatility Index (VIX)   BUY    11/19/2012    12    15.45
CBOE Volatility Index (VIX)   SELL   11/19/2012    -9    16.9
CBOE Volatility Index (VIX)   SELL   11/19/2012    -8    16.8
CBOE Volatility Index (VIX)   SELL   11/19/2012    -7    16.95
CBOE Volatility Index (VIX)   SELL   11/19/2012    -4    16.75
CBOE Volatility Index (VIX)   SELL   11/19/2012    -3    16.85
CBOE Volatility Index (VIX)   SELL   11/19/2012    -2    16.7
CBOE Volatility Index (VIX)   SELL   11/19/2012    -2    17.05
CBOE Volatility Index (VIX)   SELL   11/19/2012    -2    16.85
CBOE Volatility Index (VIX)   SELL   11/19/2012    -1    16.7
CBOE Volatility Index (VIX)   SELL   11/20/2012    -2    16.35
CBOE Volatility Index (VIX)   SELL   11/21/2012    -1    16.5
CBOE Volatility Index (VIX)   SELL   11/21/2012    -1    16.5
CBOE Volatility Index (VIX)   SELL   11/23/2012    -2    16.1
CBOE Volatility Index (VIX)   SELL   11/23/2012    -1    16.1
CBOE Volatility Index (VIX)   SELL   11/27/2012   -26    15.55
CBOE Volatility Index (VIX)   SELL   11/27/2012   -10    15.5
CBOE Volatility Index (VIX)   SELL   11/27/2012   -10    15.65
CBOE Volatility Index (VIX)   SELL   11/27/2012    -7    15.6
CBOE Volatility Index (VIX)   SELL   11/27/2012    -4    15.6
CBOE Volatility Index (VIX)   SELL   11/27/2012    -1    16.1
CBOE Volatility Index (VIX)   SELL   11/27/2012    -1    16.15
CBOE Volatility Index (VIX)   SELL   11/28/2012    -5    15.5
CBOE Volatility Index (VIX)   BUY    11/29/2012     1    15.3
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CBOE Volatility Index (VIX)   BUY    11/29/2012     2    15.3
CBOE Volatility Index (VIX)   BUY    11/29/2012     2    15.3
CBOE Volatility Index (VIX)   BUY    11/29/2012     4    15.3
CBOE Volatility Index (VIX)   BUY    11/29/2012     8    15.3
CBOE Volatility Index (VIX)   SELL   11/30/2012    -1    15.5
CBOE Volatility Index (VIX)   BUY    11/30/2012     1    15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012     1    15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012     1    15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012     1    15.6
CBOE Volatility Index (VIX)   BUY    11/30/2012     1    15.6
CBOE Volatility Index (VIX)   BUY    11/30/2012     1    15.6
CBOE Volatility Index (VIX)   BUY    11/30/2012     1    15.6
CBOE Volatility Index (VIX)   BUY    11/30/2012     2    15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012     2    15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012     2    15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012     3    15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012     4    15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012     4    15.6
CBOE Volatility Index (VIX)   BUY    11/30/2012     4    15.6
CBOE Volatility Index (VIX)   BUY    11/30/2012     5    15.6
CBOE Volatility Index (VIX)   BUY    11/30/2012     7    15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012     7    15.6
CBOE Volatility Index (VIX)   BUY    11/30/2012     9    15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012     9    15.6
CBOE Volatility Index (VIX)   BUY    11/30/2012    10    15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012    10    15.6
CBOE Volatility Index (VIX)   BUY    11/30/2012    26    15.55
CBOE Volatility Index (VIX)   BUY    11/30/2012    44    15.6
CBOE Volatility Index (VIX)   SELL    12/3/2012    -4    16.25
CBOE Volatility Index (VIX)   BUY     12/4/2012     1    16.55
CBOE Volatility Index (VIX)   SELL    12/5/2012    -1    16.05
CBOE Volatility Index (VIX)   BUY     12/5/2012     7    16.1
CBOE Volatility Index (VIX)   SELL    12/6/2012    -9    16.35
CBOE Volatility Index (VIX)   SELL    12/6/2012    -4    16.4
CBOE Volatility Index (VIX)   BUY     12/6/2012     1    16.4
CBOE Volatility Index (VIX)   SELL    12/7/2012   -44    15.9
CBOE Volatility Index (VIX)   SELL    12/7/2012   -30    15.9
CBOE Volatility Index (VIX)   SELL    12/7/2012   -29    15.9
CBOE Volatility Index (VIX)   SELL    12/7/2012   -16    15.95
CBOE Volatility Index (VIX)   SELL    12/7/2012   -14    15.95
CBOE Volatility Index (VIX)   SELL    12/7/2012    -7    15.9
CBOE Volatility Index (VIX)   SELL    12/7/2012    -2    15.9
CBOE Volatility Index (VIX)   SELL    12/7/2012    -1    15.9
CBOE Volatility Index (VIX)   SELL    12/7/2012    -1    15.9
CBOE Volatility Index (VIX)   SELL    12/7/2012    -1    15.9
CBOE Volatility Index (VIX)   SELL   12/10/2012   -30     16
CBOE Volatility Index (VIX)   SELL   12/10/2012    -1     16
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CBOE Volatility Index (VIX)   SELL   12/10/2012    -1    16.05
CBOE Volatility Index (VIX)   SELL   12/10/2012    -1     16
CBOE Volatility Index (VIX)   BUY    12/10/2012    30     16
CBOE Volatility Index (VIX)   SELL   12/11/2012    -9    15.5
CBOE Volatility Index (VIX)   SELL   12/11/2012    -1    15.5
CBOE Volatility Index (VIX)   SELL   12/11/2012    -1    15.55
CBOE Volatility Index (VIX)   BUY    12/12/2012     1    16.1
CBOE Volatility Index (VIX)   BUY    12/12/2012     2    16.1
CBOE Volatility Index (VIX)   SELL   12/13/2012    -1    16.6
CBOE Volatility Index (VIX)   BUY    12/14/2012     1    16.95
CBOE Volatility Index (VIX)   BUY    12/14/2012     1    16.95
CBOE Volatility Index (VIX)   BUY    12/14/2012     1    16.95
CBOE Volatility Index (VIX)   BUY    12/14/2012     1    16.95
CBOE Volatility Index (VIX)   BUY    12/14/2012     9    16.95
CBOE Volatility Index (VIX)   BUY    12/14/2012    14    16.95
CBOE Volatility Index (VIX)   BUY    12/14/2012    16    16.9
CBOE Volatility Index (VIX)   BUY    12/14/2012    29    16.9
CBOE Volatility Index (VIX)   BUY    12/14/2012    30    16.95
CBOE Volatility Index (VIX)   BUY    12/17/2012     1    16.95
CBOE Volatility Index (VIX)   BUY    12/17/2012     1    16.7
CBOE Volatility Index (VIX)   SELL   12/17/2012   -63    16.5
CBOE Volatility Index (VIX)   SELL   12/17/2012   -52    16.45
CBOE Volatility Index (VIX)   SELL   12/17/2012    -1    16.9
CBOE Volatility Index (VIX)   SELL   12/17/2012    -1    17.1
CBOE Volatility Index (VIX)   SELL   12/17/2012    -1    16.5
CBOE Volatility Index (VIX)   BUY    12/19/2012    52    17.05
CBOE Volatility Index (VIX)   BUY    12/19/2012    63    17.05
CBOE Volatility Index (VIX)   SELL   12/20/2012    -5    17.45
CBOE Volatility Index (VIX)   SELL   12/21/2012   -37    18.3
CBOE Volatility Index (VIX)   SELL   12/21/2012   -15    18.35
CBOE Volatility Index (VIX)   SELL   12/21/2012   -10    18.25
CBOE Volatility Index (VIX)   SELL   12/21/2012    -3    18.35
CBOE Volatility Index (VIX)   SELL   12/21/2012    -3    18.4
CBOE Volatility Index (VIX)   SELL   12/21/2012    -3    18.4
CBOE Volatility Index (VIX)   SELL   12/21/2012    -2    18.25
CBOE Volatility Index (VIX)   SELL   12/21/2012    -1    18.4
CBOE Volatility Index (VIX)   SELL   12/21/2012    -1    18.4
CBOE Volatility Index (VIX)   BUY    12/21/2012     1    18.4
CBOE Volatility Index (VIX)   BUY    12/21/2012     1    18.3
CBOE Volatility Index (VIX)   BUY    12/24/2012     1    18.55
CBOE Volatility Index (VIX)   BUY    12/24/2012     2    18.6
CBOE Volatility Index (VIX)   BUY    12/24/2012     3    18.65
CBOE Volatility Index (VIX)   BUY    12/24/2012     3    18.65
CBOE Volatility Index (VIX)   BUY    12/24/2012     5    18.55
CBOE Volatility Index (VIX)   BUY    12/24/2012    10    18.55
CBOE Volatility Index (VIX)   BUY    12/24/2012    15    18.6
CBOE Volatility Index (VIX)   BUY    12/24/2012    37    18.6
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CBOE Volatility Index (VIX)   SELL   12/26/2012    -1    19.45
CBOE Volatility Index (VIX)   SELL   12/26/2012    -1    19.5
CBOE Volatility Index (VIX)   BUY    12/26/2012     3    19.55
CBOE Volatility Index (VIX)   BUY    12/27/2012     1    19.1
CBOE Volatility Index (VIX)   BUY    12/27/2012     1    19.15
CBOE Volatility Index (VIX)   BUY    12/28/2012     1    21.95
CBOE Volatility Index (VIX)   BUY    12/28/2012     1     22
CBOE Volatility Index (VIX)   BUY    12/28/2012     1    22.05
CBOE Volatility Index (VIX)   BUY    12/28/2012     1    21.85
CBOE Volatility Index (VIX)   BUY    12/28/2012     3    21.85
CBOE Volatility Index (VIX)   BUY    12/28/2012     6    21.95
CBOE Volatility Index (VIX)   BUY    12/28/2012     9    22.05
CBOE Volatility Index (VIX)   BUY    12/28/2012    13    21.9
CBOE Volatility Index (VIX)   BUY    12/31/2012     1    17.65
CBOE Volatility Index (VIX)   BUY    12/31/2012     1    17.7
CBOE Volatility Index (VIX)   BUY    12/31/2012     2    17.65
CBOE Volatility Index (VIX)   BUY    12/31/2012     3    17.7
CBOE Volatility Index (VIX)   SELL    1/2/2013    -13    15.55
CBOE Volatility Index (VIX)   SELL    1/2/2013    -13    15.55
CBOE Volatility Index (VIX)   SELL    1/2/2013     -9    15.55
CBOE Volatility Index (VIX)   SELL    1/2/2013     -6    15.55
CBOE Volatility Index (VIX)   SELL    1/2/2013     -3    15.55
CBOE Volatility Index (VIX)   SELL    1/2/2013     -3    15.55
CBOE Volatility Index (VIX)   SELL    1/2/2013     -3    15.55
CBOE Volatility Index (VIX)   SELL    1/2/2013     -2    15.55
CBOE Volatility Index (VIX)   SELL    1/2/2013     -2    15.55
CBOE Volatility Index (VIX)   SELL    1/2/2013     -1    15.55
CBOE Volatility Index (VIX)   SELL    1/2/2013     -1    15.55
CBOE Volatility Index (VIX)   SELL    1/2/2013     -1    15.55
CBOE Volatility Index (VIX)   SELL    1/2/2013     -1    15.55
CBOE Volatility Index (VIX)   SELL    1/2/2013     -1    15.55
CBOE Volatility Index (VIX)   BUY     1/2/2013      2    15.6
CBOE Volatility Index (VIX)   SELL    1/3/2013     -1    15.7
CBOE Volatility Index (VIX)   SELL    1/3/2013     -1    15.75
CBOE Volatility Index (VIX)   BUY     1/4/2013      1    15.35
CBOE Volatility Index (VIX)   SELL    1/7/2013    -18    14.75
CBOE Volatility Index (VIX)   SELL    1/7/2013    -17    14.75
CBOE Volatility Index (VIX)   SELL    1/7/2013     -9    14.75
CBOE Volatility Index (VIX)   SELL    1/7/2013     -8    14.8
CBOE Volatility Index (VIX)   SELL    1/7/2013     -5    14.75
CBOE Volatility Index (VIX)   SELL    1/7/2013     -3    14.75
CBOE Volatility Index (VIX)   SELL    1/7/2013     -2    14.75
CBOE Volatility Index (VIX)   SELL    1/7/2013     -1    14.8
CBOE Volatility Index (VIX)   SELL    1/7/2013     -1    14.8
CBOE Volatility Index (VIX)   SELL    1/8/2013    -15    14.7
CBOE Volatility Index (VIX)   SELL    1/8/2013     -5    14.7
CBOE Volatility Index (VIX)   BUY     1/8/2013      1    14.7
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CBOE Volatility Index (VIX)   BUY    1/8/2013      1     14.7
CBOE Volatility Index (VIX)   BUY    1/8/2013      2     14.7
CBOE Volatility Index (VIX)   BUY    1/8/2013      3     14.7
CBOE Volatility Index (VIX)   BUY    1/8/2013      3     14.65
CBOE Volatility Index (VIX)   BUY    1/8/2013     13     14.7
CBOE Volatility Index (VIX)   SELL   1/9/2013     -5     14.65
CBOE Volatility Index (VIX)   SELL   1/9/2013     -1     14.65
CBOE Volatility Index (VIX)   SELL   1/10/2013    -5     14.2
CBOE Volatility Index (VIX)   SELL   1/10/2013    -3     14.15
CBOE Volatility Index (VIX)   SELL   1/10/2013    -1     14.15
CBOE Volatility Index (VIX)   SELL   1/11/2013    -4     14.15
CBOE Volatility Index (VIX)   SELL   1/11/2013    -3     14.15
CBOE Volatility Index (VIX)   SELL   1/11/2013    -1     14.15
CBOE Volatility Index (VIX)   BUY    1/14/2013     1     14.1
CBOE Volatility Index (VIX)   BUY    1/14/2013     1     14.15
CBOE Volatility Index (VIX)   BUY    1/14/2013     1     14.2
CBOE Volatility Index (VIX)   BUY    1/14/2013     1     14.2
CBOE Volatility Index (VIX)   BUY    1/14/2013     1     14.2
CBOE Volatility Index (VIX)   BUY    1/14/2013     3     14.2
CBOE Volatility Index (VIX)   BUY    1/14/2013     3     14.2
CBOE Volatility Index (VIX)   BUY    1/14/2013     4     14.25
CBOE Volatility Index (VIX)   BUY    1/14/2013     5     13.95
CBOE Volatility Index (VIX)   BUY    1/14/2013     5     14.2
CBOE Volatility Index (VIX)   BUY    1/14/2013     5     14.2
CBOE Volatility Index (VIX)   BUY    1/14/2013     5     14.2
CBOE Volatility Index (VIX)   BUY    1/14/2013     8     14.1
CBOE Volatility Index (VIX)   BUY    1/14/2013     9     14.05
CBOE Volatility Index (VIX)   BUY    1/14/2013    15     14.15
CBOE Volatility Index (VIX)   BUY    1/14/2013    17      14
CBOE Volatility Index (VIX)   BUY    1/14/2013    18     14.1
CBOE Volatility Index (VIX)   SELL   1/14/2013   -27     15.9
CBOE Volatility Index (VIX)   SELL   1/14/2013   -10     15.85
CBOE Volatility Index (VIX)   SELL   1/14/2013    -9     15.8
CBOE Volatility Index (VIX)   SELL   1/14/2013    -9     15.85
CBOE Volatility Index (VIX)   SELL   1/14/2013    -7     15.85
CBOE Volatility Index (VIX)   SELL   1/14/2013    -7     15.75
CBOE Volatility Index (VIX)   SELL   1/14/2013    -6     15.9
CBOE Volatility Index (VIX)   SELL   1/14/2013    -5     15.85
CBOE Volatility Index (VIX)   SELL   1/14/2013    -5     15.85
CBOE Volatility Index (VIX)   SELL   1/14/2013    -4     15.95
CBOE Volatility Index (VIX)   SELL   1/14/2013    -4     15.8
CBOE Volatility Index (VIX)   SELL   1/14/2013    -3      16
CBOE Volatility Index (VIX)   SELL   1/14/2013    -3     15.85
CBOE Volatility Index (VIX)   SELL   1/14/2013    -1     15.75
CBOE Volatility Index (VIX)   SELL   1/14/2013    -1     15.9
CBOE Volatility Index (VIX)   SELL   1/14/2013    -1     15.9
CBOE Volatility Index (VIX)   BUY    1/14/2013     7     15.9
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CBOE Volatility Index (VIX)   SELL   1/15/2013    -5     15.8
CBOE Volatility Index (VIX)   SELL   1/15/2013    -2     15.8
CBOE Volatility Index (VIX)   SELL   1/15/2013    -1     15.8
CBOE Volatility Index (VIX)   SELL   1/15/2013    -1     15.75
CBOE Volatility Index (VIX)   SELL   1/16/2013   -17     15.5
CBOE Volatility Index (VIX)   SELL   1/16/2013    -2     15.45
CBOE Volatility Index (VIX)   SELL   1/16/2013    -1     15.5
CBOE Volatility Index (VIX)   BUY    1/17/2013     1     15.65
CBOE Volatility Index (VIX)   BUY    1/17/2013     4     15.65
CBOE Volatility Index (VIX)   BUY    1/17/2013     9     15.7
CBOE Volatility Index (VIX)   BUY    1/17/2013     9     15.7
CBOE Volatility Index (VIX)   SELL   1/18/2013    -1     14.65
CBOE Volatility Index (VIX)   BUY    1/18/2013     5     14.65
CBOE Volatility Index (VIX)   BUY    1/18/2013    10     14.7
CBOE Volatility Index (VIX)   SELL   1/22/2013    -9     14.05
CBOE Volatility Index (VIX)   SELL   1/22/2013    -1     14.05
CBOE Volatility Index (VIX)   SELL   1/23/2013    -3     13.7
CBOE Volatility Index (VIX)   SELL   1/23/2013    -3     13.7
CBOE Volatility Index (VIX)   SELL   1/23/2013    -1     13.75
CBOE Volatility Index (VIX)   SELL   1/24/2013    -3     13.8
CBOE Volatility Index (VIX)   SELL   1/24/2013    -2     13.8
CBOE Volatility Index (VIX)   BUY    1/25/2013     3     14.15
CBOE Volatility Index (VIX)   SELL   1/28/2013    -2     14.5
CBOE Volatility Index (VIX)   BUY    1/28/2013     5     14.55
CBOE Volatility Index (VIX)   SELL   1/29/2013    -8      14
CBOE Volatility Index (VIX)   BUY    1/30/2013     6     15.15
CBOE Volatility Index (VIX)   BUY    1/30/2013     7     15.1
CBOE Volatility Index (VIX)   SELL   1/31/2013    -3     14.9
CBOE Volatility Index (VIX)   SELL   1/31/2013    -1     14.85
CBOE Volatility Index (VIX)   SELL   2/1/2013     -9     14.3
CBOE Volatility Index (VIX)   SELL   2/1/2013     -2     14.25
CBOE Volatility Index (VIX)   BUY    2/1/2013      1     14.35
CBOE Volatility Index (VIX)   BUY    2/4/2013      1     15.2
CBOE Volatility Index (VIX)   SELL   2/5/2013     -5     14.35
CBOE Volatility Index (VIX)   SELL   2/5/2013     -4     14.4
CBOE Volatility Index (VIX)   SELL   2/6/2013     -5     14.15
CBOE Volatility Index (VIX)   SELL   2/6/2013     -3     14.1
CBOE Volatility Index (VIX)   SELL   2/7/2013     -4     14.05
CBOE Volatility Index (VIX)   SELL   2/7/2013     -3     14.1
CBOE Volatility Index (VIX)   SELL   2/8/2013    -10     13.75
CBOE Volatility Index (VIX)   BUY    2/11/2013     1     13.5
CBOE Volatility Index (VIX)   BUY    2/11/2013     1     13.55
CBOE Volatility Index (VIX)   BUY    2/11/2013     1     13.55
CBOE Volatility Index (VIX)   BUY    2/11/2013     1     13.55
CBOE Volatility Index (VIX)   BUY    2/11/2013     1     13.55
CBOE Volatility Index (VIX)   BUY    2/11/2013     1     13.6
CBOE Volatility Index (VIX)   BUY    2/11/2013     1     13.6
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CBOE Volatility Index (VIX)   BUY    2/11/2013     2     13.5
CBOE Volatility Index (VIX)   BUY    2/11/2013     2     13.55
CBOE Volatility Index (VIX)   BUY    2/11/2013     2     13.6
CBOE Volatility Index (VIX)   BUY    2/11/2013     2     13.6
CBOE Volatility Index (VIX)   BUY    2/11/2013     2     13.6
CBOE Volatility Index (VIX)   BUY    2/11/2013     3     13.55
CBOE Volatility Index (VIX)   BUY    2/11/2013     3     13.65
CBOE Volatility Index (VIX)   BUY    2/11/2013     3     13.5
CBOE Volatility Index (VIX)   BUY    2/11/2013     3     13.6
CBOE Volatility Index (VIX)   BUY    2/11/2013     3     13.6
CBOE Volatility Index (VIX)   BUY    2/11/2013     3     13.6
CBOE Volatility Index (VIX)   BUY    2/11/2013     3     13.6
CBOE Volatility Index (VIX)   BUY    2/11/2013     4     13.5
CBOE Volatility Index (VIX)   BUY    2/11/2013     4     13.6
CBOE Volatility Index (VIX)   BUY    2/11/2013     4     13.6
CBOE Volatility Index (VIX)   BUY    2/11/2013     5     13.55
CBOE Volatility Index (VIX)   BUY    2/11/2013     5     13.6
CBOE Volatility Index (VIX)   BUY    2/11/2013     5     13.6
CBOE Volatility Index (VIX)   BUY    2/11/2013     8     13.6
CBOE Volatility Index (VIX)   BUY    2/11/2013     9     13.55
CBOE Volatility Index (VIX)   BUY    2/11/2013     9     13.6
CBOE Volatility Index (VIX)   BUY    2/11/2013    10     13.65
CBOE Volatility Index (VIX)   BUY    2/11/2013    17     13.55
CBOE Volatility Index (VIX)   BUY    2/11/2013    27     13.5
CBOE Volatility Index (VIX)   SELL   2/11/2013   -51     14.9
CBOE Volatility Index (VIX)   SELL   2/11/2013   -22     14.95
CBOE Volatility Index (VIX)   SELL   2/11/2013   -19     14.8
CBOE Volatility Index (VIX)   SELL   2/11/2013   -15     14.8
CBOE Volatility Index (VIX)   SELL   2/11/2013   -13     14.85
CBOE Volatility Index (VIX)   SELL   2/11/2013    -7     14.8
CBOE Volatility Index (VIX)   SELL   2/11/2013    -5     14.85
CBOE Volatility Index (VIX)   SELL   2/11/2013    -2     14.85
CBOE Volatility Index (VIX)   SELL   2/11/2013    -2     14.85
CBOE Volatility Index (VIX)   SELL   2/11/2013    -1      15
CBOE Volatility Index (VIX)   SELL   2/11/2013    -1     14.8
CBOE Volatility Index (VIX)   SELL   2/11/2013    -1     14.8
CBOE Volatility Index (VIX)   SELL   2/11/2013    -1     14.8
CBOE Volatility Index (VIX)   SELL   2/11/2013    -1     14.85
CBOE Volatility Index (VIX)   SELL   2/11/2013    -1     14.85
CBOE Volatility Index (VIX)   SELL   2/11/2013    -1     14.85
CBOE Volatility Index (VIX)   SELL   2/11/2013    -1     14.85
CBOE Volatility Index (VIX)   SELL   2/11/2013    -1     14.85
CBOE Volatility Index (VIX)   SELL   2/11/2013    -1     14.85
CBOE Volatility Index (VIX)   SELL   2/11/2013    -1     14.9
CBOE Volatility Index (VIX)   BUY    2/11/2013     1     14.9
CBOE Volatility Index (VIX)   SELL   2/12/2013    -6     14.7
CBOE Volatility Index (VIX)   SELL   2/12/2013    -6     14.7
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CBOE Volatility Index (VIX)   SELL   2/13/2013   -6      14.75
CBOE Volatility Index (VIX)   SELL   2/13/2013   -3      14.7
CBOE Volatility Index (VIX)   SELL   2/13/2013   -1      14.7
CBOE Volatility Index (VIX)   SELL   2/13/2013   -1      14.75
CBOE Volatility Index (VIX)   SELL   2/13/2013   -1      14.75
CBOE Volatility Index (VIX)   SELL   2/13/2013   -1      14.75
CBOE Volatility Index (VIX)   SELL   2/14/2013   -2      14.55
CBOE Volatility Index (VIX)   BUY    2/14/2013   15      14.55
CBOE Volatility Index (VIX)   BUY    2/14/2013   19      14.6
CBOE Volatility Index (VIX)   SELL   2/15/2013   -3      14.45
CBOE Volatility Index (VIX)   SELL   2/19/2013   -8      13.85
CBOE Volatility Index (VIX)   SELL   2/19/2013   -1      13.85
CBOE Volatility Index (VIX)   SELL   2/19/2013   -1      13.9
CBOE Volatility Index (VIX)   SELL   2/19/2013   -1      13.9
CBOE Volatility Index (VIX)   BUY    2/20/2013    1      15.3
CBOE Volatility Index (VIX)   BUY    2/20/2013    1      15.35
CBOE Volatility Index (VIX)   BUY    2/20/2013    5      15.35
CBOE Volatility Index (VIX)   BUY    2/20/2013    7      15.35
CBOE Volatility Index (VIX)   BUY    2/21/2013    1      15.45
CBOE Volatility Index (VIX)   BUY    2/21/2013    1      15.5
CBOE Volatility Index (VIX)   SELL   2/22/2013   -8      14.85
CBOE Volatility Index (VIX)   BUY    2/22/2013    2      14.9
CBOE Volatility Index (VIX)   BUY    2/25/2013    1      17.2
CBOE Volatility Index (VIX)   BUY    2/25/2013    1      17.15
CBOE Volatility Index (VIX)   BUY    2/25/2013    1      17.15
CBOE Volatility Index (VIX)   BUY    2/25/2013    1      17.15
CBOE Volatility Index (VIX)   BUY    2/25/2013    1      17.2
CBOE Volatility Index (VIX)   BUY    2/25/2013    1      17.2
CBOE Volatility Index (VIX)   BUY    2/25/2013    1      17.5
CBOE Volatility Index (VIX)   BUY    2/25/2013    1      17.5
CBOE Volatility Index (VIX)   BUY    2/25/2013    1      17.5
CBOE Volatility Index (VIX)   BUY    2/25/2013    1      17.5
CBOE Volatility Index (VIX)   BUY    2/25/2013    1      17.2
CBOE Volatility Index (VIX)   BUY    2/25/2013    1      17.4
CBOE Volatility Index (VIX)   BUY    2/25/2013    1      17.5
CBOE Volatility Index (VIX)   BUY    2/25/2013    2      17.5
CBOE Volatility Index (VIX)   BUY    2/25/2013    2      17.15
CBOE Volatility Index (VIX)   BUY    2/25/2013    3      17.2
CBOE Volatility Index (VIX)   BUY    2/25/2013    3      17.5
CBOE Volatility Index (VIX)   BUY    2/25/2013    6      17.15
CBOE Volatility Index (VIX)   BUY    2/25/2013    6      17.25
CBOE Volatility Index (VIX)   BUY    2/25/2013    6      17.2
CBOE Volatility Index (VIX)   BUY    2/25/2013    8      17.5
CBOE Volatility Index (VIX)   BUY    2/25/2013    8      17.5
CBOE Volatility Index (VIX)   BUY    2/25/2013   13      17.15
CBOE Volatility Index (VIX)   BUY    2/25/2013   15      17.5
CBOE Volatility Index (VIX)   BUY    2/25/2013   22      17.15
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CBOE Volatility Index (VIX)   BUY    2/25/2013    51     17.15
CBOE Volatility Index (VIX)   BUY    2/25/2013    51     17.5
CBOE Volatility Index (VIX)   SELL   2/26/2013   -51     16.9
CBOE Volatility Index (VIX)   SELL   2/26/2013   -25     16.95
CBOE Volatility Index (VIX)   SELL   2/26/2013   -15     16.95
CBOE Volatility Index (VIX)   SELL   2/26/2013   -13     16.95
CBOE Volatility Index (VIX)   SELL   2/26/2013   -12     16.95
CBOE Volatility Index (VIX)   SELL   2/26/2013    -8     16.95
CBOE Volatility Index (VIX)   SELL   2/26/2013    -7     16.95
CBOE Volatility Index (VIX)   SELL   2/26/2013    -7     16.95
CBOE Volatility Index (VIX)   SELL   2/26/2013    -6     16.95
CBOE Volatility Index (VIX)   SELL   2/26/2013    -6     16.95
CBOE Volatility Index (VIX)   SELL   2/26/2013    -6     16.95
CBOE Volatility Index (VIX)   SELL   2/26/2013    -4     16.95
CBOE Volatility Index (VIX)   SELL   2/26/2013    -3     16.95
CBOE Volatility Index (VIX)   SELL   2/26/2013    -3     16.95
CBOE Volatility Index (VIX)   SELL   2/26/2013    -1     16.95
CBOE Volatility Index (VIX)   SELL   2/26/2013    -1     16.95
CBOE Volatility Index (VIX)   SELL   2/26/2013    -1     16.95
CBOE Volatility Index (VIX)   SELL   2/26/2013    -1     16.95
CBOE Volatility Index (VIX)   SELL   2/26/2013    -1     16.95
CBOE Volatility Index (VIX)   BUY    2/26/2013     1      17
CBOE Volatility Index (VIX)   BUY    2/26/2013     3     16.95
CBOE Volatility Index (VIX)   BUY    2/27/2013     4     15.45
CBOE Volatility Index (VIX)   BUY    2/27/2013    13     15.45
CBOE Volatility Index (VIX)   SELL   2/28/2013    -2     16.15
CBOE Volatility Index (VIX)   SELL   2/28/2013    -1     16.15
CBOE Volatility Index (VIX)   BUY    2/28/2013     1     16.15
CBOE Volatility Index (VIX)   BUY    3/1/2013      1     16.35
CBOE Volatility Index (VIX)   SELL   3/4/2013     -1     14.95
CBOE Volatility Index (VIX)   BUY    3/4/2013      1      15
CBOE Volatility Index (VIX)   SELL   3/5/2013     -2     14.5
CBOE Volatility Index (VIX)   SELL   3/6/2013     -1     14.65
CBOE Volatility Index (VIX)   SELL   3/6/2013     -1     14.65
CBOE Volatility Index (VIX)   SELL   3/7/2013     -3     14.2
CBOE Volatility Index (VIX)   SELL   3/7/2013     -1     14.2
CBOE Volatility Index (VIX)   SELL   3/8/2013     -3     13.8
CBOE Volatility Index (VIX)   SELL   3/8/2013     -2     13.8
CBOE Volatility Index (VIX)   SELL   3/8/2013     -1     13.8
CBOE Volatility Index (VIX)   BUY    3/11/2013     3     13.1
CBOE Volatility Index (VIX)   BUY    3/11/2013     6     13.1
CBOE Volatility Index (VIX)   BUY    3/11/2013     7     13.05
CBOE Volatility Index (VIX)   BUY    3/11/2013    25     13.05
CBOE Volatility Index (VIX)   SELL   3/12/2013   -10     13.25
CBOE Volatility Index (VIX)   SELL   3/12/2013    -7     13.2
CBOE Volatility Index (VIX)   SELL   3/12/2013    -1     13.2
CBOE Volatility Index (VIX)   SELL   3/12/2013    -1     13.2
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CBOE Volatility Index (VIX)   SELL   3/12/2013   -1      13.25
CBOE Volatility Index (VIX)   SELL   3/13/2013   -2      12.95
CBOE Volatility Index (VIX)   SELL   3/13/2013   -1       13
CBOE Volatility Index (VIX)   SELL   3/14/2013   -5      12.55
CBOE Volatility Index (VIX)   SELL   3/14/2013   -1      12.55
CBOE Volatility Index (VIX)   SELL   3/15/2013   -1      12.55
CBOE Volatility Index (VIX)   SELL   3/15/2013   -1      12.6
CBOE Volatility Index (VIX)   BUY    3/18/2013    1      13.05
CBOE Volatility Index (VIX)   BUY    3/18/2013    1      13.45
CBOE Volatility Index (VIX)   BUY    3/18/2013    1      13.55
CBOE Volatility Index (VIX)   BUY    3/18/2013    1      13.75
CBOE Volatility Index (VIX)   BUY    3/18/2013    1      13.8
CBOE Volatility Index (VIX)   BUY    3/18/2013    1      13.95
CBOE Volatility Index (VIX)   BUY    3/18/2013    1      13.35
CBOE Volatility Index (VIX)   BUY    3/18/2013    1      13.35
CBOE Volatility Index (VIX)   BUY    3/18/2013    1      13.45
CBOE Volatility Index (VIX)   BUY    3/18/2013    1      13.45
CBOE Volatility Index (VIX)   BUY    3/18/2013    1       14
CBOE Volatility Index (VIX)   BUY    3/18/2013    1      14.05
CBOE Volatility Index (VIX)   BUY    3/18/2013    1      14.05
CBOE Volatility Index (VIX)   BUY    3/18/2013    1      14.05
CBOE Volatility Index (VIX)   BUY    3/18/2013    2      13.3
CBOE Volatility Index (VIX)   BUY    3/18/2013    2      13.45
CBOE Volatility Index (VIX)   BUY    3/18/2013    2      13.75
CBOE Volatility Index (VIX)   BUY    3/18/2013    2       14
CBOE Volatility Index (VIX)   BUY    3/18/2013    3      13.55
CBOE Volatility Index (VIX)   BUY    3/18/2013    3      13.5
CBOE Volatility Index (VIX)   BUY    3/18/2013    5       14
CBOE Volatility Index (VIX)   BUY    3/18/2013    6      13.2
CBOE Volatility Index (VIX)   BUY    3/18/2013    6      13.25
CBOE Volatility Index (VIX)   BUY    3/18/2013    7      13.1
CBOE Volatility Index (VIX)   BUY    3/18/2013    7      13.95
CBOE Volatility Index (VIX)   BUY    3/18/2013    8      13.15
CBOE Volatility Index (VIX)   BUY    3/18/2013   10       14
CBOE Volatility Index (VIX)   BUY    3/18/2013   12      13.3
CBOE Volatility Index (VIX)   SELL   3/18/2013   -6      14.75
CBOE Volatility Index (VIX)   SELL   3/18/2013   -5      14.75
CBOE Volatility Index (VIX)   SELL   3/18/2013   -4      14.95
CBOE Volatility Index (VIX)   SELL   3/18/2013   -4      15.35
CBOE Volatility Index (VIX)   SELL   3/18/2013   -4      15.4
CBOE Volatility Index (VIX)   SELL   3/18/2013   -4      15.05
CBOE Volatility Index (VIX)   SELL   3/18/2013   -4      15.25
CBOE Volatility Index (VIX)   SELL   3/18/2013   -3      14.7
CBOE Volatility Index (VIX)   SELL   3/18/2013   -3      15.05
CBOE Volatility Index (VIX)   SELL   3/18/2013   -3      14.8
CBOE Volatility Index (VIX)   SELL   3/18/2013   -3      14.8
CBOE Volatility Index (VIX)   SELL   3/18/2013   -3      14.8
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CBOE Volatility Index (VIX)   SELL   3/18/2013    -3     15.3
CBOE Volatility Index (VIX)   SELL   3/18/2013    -3     14.9
CBOE Volatility Index (VIX)   SELL   3/18/2013    -3     15.25
CBOE Volatility Index (VIX)   SELL   3/18/2013    -2     14.8
CBOE Volatility Index (VIX)   SELL   3/18/2013    -2     15.45
CBOE Volatility Index (VIX)   SELL   3/18/2013    -2     14.75
CBOE Volatility Index (VIX)   SELL   3/18/2013    -2     14.8
CBOE Volatility Index (VIX)   SELL   3/18/2013    -2     15.35
CBOE Volatility Index (VIX)   SELL   3/18/2013    -2     15.35
CBOE Volatility Index (VIX)   SELL   3/18/2013    -1     14.75
CBOE Volatility Index (VIX)   SELL   3/18/2013    -1     14.85
CBOE Volatility Index (VIX)   SELL   3/18/2013    -1     14.9
CBOE Volatility Index (VIX)   SELL   3/18/2013    -1      15
CBOE Volatility Index (VIX)   SELL   3/18/2013    -1     15.2
CBOE Volatility Index (VIX)   SELL   3/18/2013    -1     15.25
CBOE Volatility Index (VIX)   SELL   3/18/2013    -1     15.3
CBOE Volatility Index (VIX)   SELL   3/18/2013    -1     14.75
CBOE Volatility Index (VIX)   SELL   3/18/2013    -1     14.8
CBOE Volatility Index (VIX)   SELL   3/18/2013    -1     14.8
CBOE Volatility Index (VIX)   SELL   3/18/2013    -1     14.8
CBOE Volatility Index (VIX)   SELL   3/18/2013    -1     14.8
CBOE Volatility Index (VIX)   SELL   3/18/2013    -1     14.8
CBOE Volatility Index (VIX)   SELL   3/18/2013    -1     14.85
CBOE Volatility Index (VIX)   SELL   3/18/2013    -1     15.45
CBOE Volatility Index (VIX)   SELL   3/18/2013    -1     14.85
CBOE Volatility Index (VIX)   SELL   3/18/2013    -1     14.95
CBOE Volatility Index (VIX)   SELL   3/18/2013    -1     14.95
CBOE Volatility Index (VIX)   SELL   3/18/2013    -1     15.25
CBOE Volatility Index (VIX)   SELL   3/18/2013    -1     15.35
CBOE Volatility Index (VIX)   SELL   3/18/2013    -1     15.35
CBOE Volatility Index (VIX)   SELL   3/18/2013    -1     15.4
CBOE Volatility Index (VIX)   BUY    3/18/2013     3     15.35
CBOE Volatility Index (VIX)   BUY    3/18/2013     5     15.35
CBOE Volatility Index (VIX)   BUY    3/18/2013     6     15.4
CBOE Volatility Index (VIX)   BUY    3/19/2013     2     15.35
CBOE Volatility Index (VIX)   SELL   3/20/2013    -3     14.5
CBOE Volatility Index (VIX)   SELL   3/20/2013    -1     14.5
CBOE Volatility Index (VIX)   BUY    3/21/2013     1     14.95
CBOE Volatility Index (VIX)   BUY    3/22/2013     1     14.75
CBOE Volatility Index (VIX)   BUY    3/22/2013     1     14.75
CBOE Volatility Index (VIX)   BUY    3/22/2013     3     14.8
CBOE Volatility Index (VIX)   BUY    3/25/2013     2     14.6
CBOE Volatility Index (VIX)   SELL   3/26/2013    -2     14.2
CBOE Volatility Index (VIX)   SELL   3/27/2013    -1     14.35
CBOE Volatility Index (VIX)   BUY    3/28/2013     1     14.25
CBOE Volatility Index (VIX)   BUY    3/28/2013     1     14.3
CBOE Volatility Index (VIX)   SELL   4/1/2013     -1     14.35
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CBOE Volatility Index (VIX)   SELL   4/2/2013     -4     13.8
CBOE Volatility Index (VIX)   BUY    4/3/2013      1     14.7
CBOE Volatility Index (VIX)   SELL   4/4/2013     -4     14.25
CBOE Volatility Index (VIX)   BUY    4/5/2013      3     14.3
CBOE Volatility Index (VIX)   SELL   4/8/2013     -3     13.6
CBOE Volatility Index (VIX)   SELL   4/8/2013     -1     13.6
CBOE Volatility Index (VIX)   SELL   4/8/2013     -1     13.65
CBOE Volatility Index (VIX)   SELL   4/8/2013     -1     13.6
CBOE Volatility Index (VIX)   SELL   4/8/2013     -1     13.65
CBOE Volatility Index (VIX)   SELL   4/10/2013    -1     13.05
CBOE Volatility Index (VIX)   BUY    4/11/2013     1     13.2
CBOE Volatility Index (VIX)   BUY    4/12/2013     1     12.8
CBOE Volatility Index (VIX)   BUY    4/12/2013     2     12.8
CBOE Volatility Index (VIX)   BUY    4/12/2013     3     12.75
CBOE Volatility Index (VIX)   BUY    4/15/2013     1     14.2
CBOE Volatility Index (VIX)   BUY    4/15/2013     1     14.3
CBOE Volatility Index (VIX)   BUY    4/15/2013     1     14.4
CBOE Volatility Index (VIX)   BUY    4/15/2013     1     14.6
CBOE Volatility Index (VIX)   BUY    4/15/2013     1     14.95
CBOE Volatility Index (VIX)   BUY    4/15/2013     1      15
CBOE Volatility Index (VIX)   BUY    4/15/2013     1     15.1
CBOE Volatility Index (VIX)   BUY    4/15/2013     1     15.2
CBOE Volatility Index (VIX)   BUY    4/15/2013     1     15.55
CBOE Volatility Index (VIX)   BUY    4/15/2013     1      16
CBOE Volatility Index (VIX)   BUY    4/15/2013     1     16.35
CBOE Volatility Index (VIX)   BUY    4/15/2013     1     16.45
CBOE Volatility Index (VIX)   BUY    4/15/2013     1     14.25
CBOE Volatility Index (VIX)   BUY    4/15/2013     1     14.3
CBOE Volatility Index (VIX)   BUY    4/15/2013     1     14.45
CBOE Volatility Index (VIX)   BUY    4/15/2013     1     14.5
CBOE Volatility Index (VIX)   BUY    4/15/2013     1     14.75
CBOE Volatility Index (VIX)   BUY    4/15/2013     1     14.85
CBOE Volatility Index (VIX)   BUY    4/15/2013     1     15.7
CBOE Volatility Index (VIX)   BUY    4/15/2013     1     15.7
CBOE Volatility Index (VIX)   BUY    4/15/2013     1     16.35
CBOE Volatility Index (VIX)   BUY    4/15/2013     1     16.4
CBOE Volatility Index (VIX)   BUY    4/15/2013     2     14.85
CBOE Volatility Index (VIX)   BUY    4/15/2013     2     14.9
CBOE Volatility Index (VIX)   BUY    4/15/2013     2     15.7
CBOE Volatility Index (VIX)   BUY    4/15/2013     2     15.55
CBOE Volatility Index (VIX)   BUY    4/15/2013     3     14.25
CBOE Volatility Index (VIX)   BUY    4/15/2013     3     14.55
CBOE Volatility Index (VIX)   BUY    4/15/2013     3     14.8
CBOE Volatility Index (VIX)   BUY    4/15/2013     3     15.95
CBOE Volatility Index (VIX)   BUY    4/15/2013     3     14.5
CBOE Volatility Index (VIX)   BUY    4/15/2013     3     15.6
CBOE Volatility Index (VIX)   BUY    4/15/2013     4     14.45
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CBOE Volatility Index (VIX)   BUY    4/15/2013     4     14.5
CBOE Volatility Index (VIX)   BUY    4/15/2013     4     15.75
CBOE Volatility Index (VIX)   BUY    4/15/2013     4     15.8
CBOE Volatility Index (VIX)   BUY    4/15/2013     4     14.45
CBOE Volatility Index (VIX)   BUY    4/15/2013     4     15.1
CBOE Volatility Index (VIX)   BUY    4/15/2013     4     15.15
CBOE Volatility Index (VIX)   SELL   4/15/2013   -14      15
CBOE Volatility Index (VIX)   SELL   4/15/2013    -7     15.05
CBOE Volatility Index (VIX)   SELL   4/15/2013    -6     15.65
CBOE Volatility Index (VIX)   SELL   4/15/2013    -5     14.9
CBOE Volatility Index (VIX)   SELL   4/15/2013    -5     15.7
CBOE Volatility Index (VIX)   SELL   4/15/2013    -5     15.75
CBOE Volatility Index (VIX)   SELL   4/15/2013    -5     15.25
CBOE Volatility Index (VIX)   SELL   4/15/2013    -4     14.95
CBOE Volatility Index (VIX)   SELL   4/15/2013    -3     14.8
CBOE Volatility Index (VIX)   SELL   4/15/2013    -3     15.15
CBOE Volatility Index (VIX)   SELL   4/15/2013    -2     15.1
CBOE Volatility Index (VIX)   SELL   4/15/2013    -2     15.2
CBOE Volatility Index (VIX)   SELL   4/15/2013    -2     15.35
CBOE Volatility Index (VIX)   SELL   4/15/2013    -2     15.6
CBOE Volatility Index (VIX)   SELL   4/15/2013    -2     15.8
CBOE Volatility Index (VIX)   SELL   4/15/2013    -2     15.85
CBOE Volatility Index (VIX)   SELL   4/15/2013    -1     14.85
CBOE Volatility Index (VIX)   SELL   4/15/2013    -1     15.25
CBOE Volatility Index (VIX)   SELL   4/15/2013    -1     15.3
CBOE Volatility Index (VIX)   SELL   4/15/2013    -1     15.4
CBOE Volatility Index (VIX)   SELL   4/15/2013    -1     15.55
CBOE Volatility Index (VIX)   SELL   4/15/2013    -1      16
CBOE Volatility Index (VIX)   SELL   4/15/2013    -1     16.3
CBOE Volatility Index (VIX)   BUY    4/15/2013     1     16.4
CBOE Volatility Index (VIX)   BUY    4/15/2013     1     16.5
CBOE Volatility Index (VIX)   BUY    4/15/2013     1     16.5
CBOE Volatility Index (VIX)   BUY    4/15/2013     1     16.5
CBOE Volatility Index (VIX)   BUY    4/15/2013     1     16.5
CBOE Volatility Index (VIX)   BUY    4/15/2013     1     16.5
CBOE Volatility Index (VIX)   BUY    4/15/2013     1     16.5
CBOE Volatility Index (VIX)   BUY    4/15/2013     2     16.4
CBOE Volatility Index (VIX)   BUY    4/15/2013     2     16.4
CBOE Volatility Index (VIX)   BUY    4/15/2013     2     16.5
CBOE Volatility Index (VIX)   BUY    4/15/2013     2     16.5
CBOE Volatility Index (VIX)   BUY    4/15/2013     2     16.5
CBOE Volatility Index (VIX)   BUY    4/15/2013     2     16.5
CBOE Volatility Index (VIX)   BUY    4/15/2013     3     16.4
CBOE Volatility Index (VIX)   BUY    4/15/2013     3     16.4
CBOE Volatility Index (VIX)   BUY    4/15/2013     4     16.4
CBOE Volatility Index (VIX)   BUY    4/15/2013     5     16.4
CBOE Volatility Index (VIX)   BUY    4/15/2013     5     16.4
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CBOE Volatility Index (VIX)   BUY    4/15/2013     5     16.5
CBOE Volatility Index (VIX)   BUY    4/15/2013     5     16.5
CBOE Volatility Index (VIX)   BUY    4/15/2013     6     16.5
CBOE Volatility Index (VIX)   BUY    4/15/2013     7     16.4
CBOE Volatility Index (VIX)   BUY    4/15/2013    14     16.4
CBOE Volatility Index (VIX)   BUY    4/15/2013    59     16.5
CBOE Volatility Index (VIX)   SELL   4/16/2013   -59     14.6
CBOE Volatility Index (VIX)   SELL   4/16/2013   -26     14.65
CBOE Volatility Index (VIX)   SELL   4/16/2013   -21     14.65
CBOE Volatility Index (VIX)   SELL   4/16/2013   -19     14.6
CBOE Volatility Index (VIX)   BUY    4/17/2013     1     16.35
CBOE Volatility Index (VIX)   BUY    4/17/2013    19     16.3
CBOE Volatility Index (VIX)   BUY    4/17/2013    21     16.3
CBOE Volatility Index (VIX)   BUY    4/17/2013    26     16.35
CBOE Volatility Index (VIX)   BUY    4/17/2013    59     16.35
CBOE Volatility Index (VIX)   SELL   4/18/2013    -1     17.1
CBOE Volatility Index (VIX)   SELL   4/19/2013   -59     15.95
CBOE Volatility Index (VIX)   SELL   4/19/2013   -34     15.95
CBOE Volatility Index (VIX)   SELL   4/19/2013    -8     15.95
CBOE Volatility Index (VIX)   SELL   4/19/2013    -4     15.95
CBOE Volatility Index (VIX)   SELL   4/19/2013    -4     15.95
CBOE Volatility Index (VIX)   SELL   4/19/2013    -3     15.95
CBOE Volatility Index (VIX)   SELL   4/19/2013    -3     15.95
CBOE Volatility Index (VIX)   SELL   4/19/2013    -2     15.95
CBOE Volatility Index (VIX)   SELL   4/19/2013    -2     15.95
CBOE Volatility Index (VIX)   SELL   4/19/2013    -1     15.95
CBOE Volatility Index (VIX)   SELL   4/19/2013    -1     15.95
CBOE Volatility Index (VIX)   SELL   4/19/2013    -1     15.95
CBOE Volatility Index (VIX)   SELL   4/19/2013    -1     15.95
CBOE Volatility Index (VIX)   SELL   4/22/2013    -4     15.3
CBOE Volatility Index (VIX)   SELL   4/23/2013    -4     14.5
CBOE Volatility Index (VIX)   SELL   4/24/2013    -2     14.6
CBOE Volatility Index (VIX)   BUY    4/25/2013     4     14.8
CBOE Volatility Index (VIX)   BUY    4/26/2013     3     14.85
CBOE Volatility Index (VIX)   BUY    4/29/2013     4     14.75
CBOE Volatility Index (VIX)   SELL   4/30/2013    -4     14.45
CBOE Volatility Index (VIX)   BUY    5/1/2013      1     15.15
CBOE Volatility Index (VIX)   BUY    5/1/2013      1     15.2
CBOE Volatility Index (VIX)   SELL   5/2/2013     -4     14.5
CBOE Volatility Index (VIX)   BUY    5/3/2013      2     14.25
CBOE Volatility Index (VIX)   SELL   5/6/2013     -2     13.9
CBOE Volatility Index (VIX)   SELL   5/6/2013     -1     13.9
CBOE Volatility Index (VIX)   BUY    5/7/2013     34     13.85
CBOE Volatility Index (VIX)   BUY    5/8/2013      2      14
CBOE Volatility Index (VIX)   SELL   5/9/2013     -1     14.15
CBOE Volatility Index (VIX)   SELL   5/10/2013    -1     13.85
CBOE Volatility Index (VIX)   SELL   5/13/2013    -2     13.65
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CBOE Volatility Index (VIX)   BUY    5/14/2013     3     13.55
CBOE Volatility Index (VIX)   BUY    5/15/2013     1     13.7
CBOE Volatility Index (VIX)   SELL   5/17/2013    -3     13.15
CBOE Volatility Index (VIX)   BUY    5/20/2013     1     13.35
CBOE Volatility Index (VIX)   BUY    5/20/2013     1     13.35
CBOE Volatility Index (VIX)   BUY    5/20/2013     1     13.4
CBOE Volatility Index (VIX)   BUY    5/20/2013     1     13.4
CBOE Volatility Index (VIX)   BUY    5/20/2013     2     13.35
CBOE Volatility Index (VIX)   BUY    5/20/2013     2     13.4
CBOE Volatility Index (VIX)   BUY    5/20/2013     2     13.4
CBOE Volatility Index (VIX)   BUY    5/20/2013     3     13.4
CBOE Volatility Index (VIX)   BUY    5/20/2013     4     13.35
CBOE Volatility Index (VIX)   BUY    5/20/2013     4     13.35
CBOE Volatility Index (VIX)   BUY    5/20/2013     4     13.35
CBOE Volatility Index (VIX)   BUY    5/20/2013     4     13.35
CBOE Volatility Index (VIX)   BUY    5/20/2013     8     13.3
CBOE Volatility Index (VIX)   SELL   5/20/2013   -22     15.05
CBOE Volatility Index (VIX)   SELL   5/20/2013    -5     15.1
CBOE Volatility Index (VIX)   SELL   5/20/2013    -4      15
CBOE Volatility Index (VIX)   SELL   5/20/2013    -3      15
CBOE Volatility Index (VIX)   SELL   5/20/2013    -2      15
CBOE Volatility Index (VIX)   SELL   5/20/2013    -1     15.1
CBOE Volatility Index (VIX)   BUY    5/20/2013     3     15.1
CBOE Volatility Index (VIX)   BUY    5/22/2013     2     15.3
CBOE Volatility Index (VIX)   SELL   5/24/2013    -1     15.4
CBOE Volatility Index (VIX)   SELL   5/28/2013    -2     15.15
CBOE Volatility Index (VIX)   SELL   5/30/2013    -1     15.35
CBOE Volatility Index (VIX)   BUY    5/31/2013     1     16.15
CBOE Volatility Index (VIX)   BUY    5/31/2013     1     16.15
CBOE Volatility Index (VIX)   BUY    5/31/2013     1     16.15
CBOE Volatility Index (VIX)   BUY    5/31/2013     2     16.15
CBOE Volatility Index (VIX)   BUY    5/31/2013     3     16.15
CBOE Volatility Index (VIX)   BUY    5/31/2013     4     16.1
CBOE Volatility Index (VIX)   BUY    5/31/2013     5     16.1
CBOE Volatility Index (VIX)   BUY    5/31/2013    22     16.1
CBOE Volatility Index (VIX)   BUY    5/31/2013    31     16.15
CBOE Volatility Index (VIX)   BUY    6/3/2013      1     15.95
CBOE Volatility Index (VIX)   SELL   6/5/2013     -3     16.95
CBOE Volatility Index (VIX)   BUY    6/6/2013      2     16.45
CBOE Volatility Index (VIX)   SELL   6/7/2013    -31     15.7
CBOE Volatility Index (VIX)   SELL   6/7/2013    -28     15.7
CBOE Volatility Index (VIX)   SELL   6/7/2013     -9     15.7
CBOE Volatility Index (VIX)   SELL   6/7/2013     -2     15.7
CBOE Volatility Index (VIX)   SELL   6/7/2013     -1     15.7
CBOE Volatility Index (VIX)   SELL   6/10/2013    -1     15.55
CBOE Volatility Index (VIX)   BUY    6/11/2013     1     16.85
CBOE Volatility Index (VIX)   BUY    6/11/2013     5     16.85
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CBOE Volatility Index (VIX)   BUY    6/11/2013     9     16.85
CBOE Volatility Index (VIX)   BUY    6/11/2013    28     16.8
CBOE Volatility Index (VIX)   BUY    6/11/2013    29     16.85
CBOE Volatility Index (VIX)   SELL   6/12/2013    -5     18.15
CBOE Volatility Index (VIX)   SELL   6/13/2013   -29     16.65
CBOE Volatility Index (VIX)   SELL   6/13/2013    -6     16.65
CBOE Volatility Index (VIX)   SELL   6/13/2013    -4     16.65
CBOE Volatility Index (VIX)   SELL   6/13/2013    -4     16.65
CBOE Volatility Index (VIX)   SELL   6/13/2013    -3     16.65
CBOE Volatility Index (VIX)   SELL   6/13/2013    -3     16.65
CBOE Volatility Index (VIX)   SELL   6/13/2013    -3     16.65
CBOE Volatility Index (VIX)   SELL   6/13/2013    -2     16.65
CBOE Volatility Index (VIX)   SELL   6/13/2013    -2     16.65
CBOE Volatility Index (VIX)   SELL   6/13/2013    -2     16.65
CBOE Volatility Index (VIX)   SELL   6/13/2013    -1     16.65
CBOE Volatility Index (VIX)   SELL   6/13/2013    -1     16.65
CBOE Volatility Index (VIX)   SELL   6/13/2013    -1     16.65
CBOE Volatility Index (VIX)   BUY    6/17/2013     1     16.8
CBOE Volatility Index (VIX)   BUY    6/17/2013     1     17.1
CBOE Volatility Index (VIX)   BUY    6/17/2013     1     17.5
CBOE Volatility Index (VIX)   BUY    6/17/2013     2     17.15
CBOE Volatility Index (VIX)   BUY    6/17/2013     2     17.3
CBOE Volatility Index (VIX)   BUY    6/17/2013     2     17.4
CBOE Volatility Index (VIX)   BUY    6/17/2013     3     16.95
CBOE Volatility Index (VIX)   BUY    6/17/2013     3     17.05
CBOE Volatility Index (VIX)   BUY    6/17/2013     3     17.2
CBOE Volatility Index (VIX)   BUY    6/17/2013     4      17
CBOE Volatility Index (VIX)   BUY    6/17/2013     4     17.25
CBOE Volatility Index (VIX)   BUY    6/17/2013     6     16.9
CBOE Volatility Index (VIX)   SELL   6/17/2013    -7      18
CBOE Volatility Index (VIX)   SELL   6/17/2013    -5     17.85
CBOE Volatility Index (VIX)   SELL   6/17/2013    -4     17.95
CBOE Volatility Index (VIX)   SELL   6/17/2013    -3     17.8
CBOE Volatility Index (VIX)   SELL   6/17/2013    -3     18.05
CBOE Volatility Index (VIX)   SELL   6/17/2013    -3     17.8
CBOE Volatility Index (VIX)   SELL   6/17/2013    -2     17.75
CBOE Volatility Index (VIX)   SELL   6/17/2013    -2     17.9
CBOE Volatility Index (VIX)   SELL   6/17/2013    -2     18.1
CBOE Volatility Index (VIX)   SELL   6/17/2013    -1     17.7
CBOE Volatility Index (VIX)   BUY    6/19/2013     1     17.6
CBOE Volatility Index (VIX)   BUY    6/19/2013     2     17.6
CBOE Volatility Index (VIX)   BUY    6/19/2013     3     17.6
CBOE Volatility Index (VIX)   BUY    6/20/2013     2     19.6
CBOE Volatility Index (VIX)   BUY    6/20/2013     2     19.6
CBOE Volatility Index (VIX)   BUY    6/20/2013     3     19.6
CBOE Volatility Index (VIX)   BUY    6/20/2013     3     19.6
CBOE Volatility Index (VIX)   BUY    6/20/2013     4     19.6
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CBOE Volatility Index (VIX)   BUY    6/20/2013     5     19.6
CBOE Volatility Index (VIX)   BUY    6/20/2013     7     19.6
CBOE Volatility Index (VIX)   BUY    6/20/2013    23     19.6
CBOE Volatility Index (VIX)   SELL   6/21/2013   -23     18.95
CBOE Volatility Index (VIX)   SELL   6/21/2013   -13     18.95
CBOE Volatility Index (VIX)   SELL   6/21/2013    -9     18.95
CBOE Volatility Index (VIX)   SELL   6/21/2013    -1     18.95
CBOE Volatility Index (VIX)   SELL   6/25/2013    -1     19.35
CBOE Volatility Index (VIX)   SELL   6/26/2013    -2     18.85
CBOE Volatility Index (VIX)   SELL   6/27/2013    -1     18.15
CBOE Volatility Index (VIX)   SELL   7/1/2013     -1     17.45
CBOE Volatility Index (VIX)   SELL   7/2/2013     -1     17.55
CBOE Volatility Index (VIX)   SELL   7/3/2013     -1     17.25
CBOE Volatility Index (VIX)   SELL   7/5/2013     -1     15.95
CBOE Volatility Index (VIX)   SELL   7/8/2013     -1     15.3
CBOE Volatility Index (VIX)   SELL   7/9/2013     -1     15.05
CBOE Volatility Index (VIX)   SELL   7/10/2013    -2     14.8
CBOE Volatility Index (VIX)   BUY    7/11/2013     1     14.5
CBOE Volatility Index (VIX)   SELL   7/12/2013    -1     14.6
CBOE Volatility Index (VIX)   BUY    7/15/2013     1     14.1
CBOE Volatility Index (VIX)   BUY    7/15/2013     1     14.15
CBOE Volatility Index (VIX)   BUY    7/15/2013     1     14.05
CBOE Volatility Index (VIX)   BUY    7/15/2013     1     14.05
CBOE Volatility Index (VIX)   BUY    7/15/2013     1     14.05
CBOE Volatility Index (VIX)   BUY    7/15/2013     1     14.05
CBOE Volatility Index (VIX)   BUY    7/15/2013     1     14.1
CBOE Volatility Index (VIX)   BUY    7/15/2013     1     14.1
CBOE Volatility Index (VIX)   BUY    7/15/2013     1     14.1
CBOE Volatility Index (VIX)   BUY    7/15/2013     2     14.05
CBOE Volatility Index (VIX)   BUY    7/15/2013     2     14.1
CBOE Volatility Index (VIX)   BUY    7/15/2013     9      14
CBOE Volatility Index (VIX)   BUY    7/15/2013    13     14.05
CBOE Volatility Index (VIX)   SELL   7/15/2013   -11     15.7
CBOE Volatility Index (VIX)   SELL   7/15/2013    -8     15.75
CBOE Volatility Index (VIX)   SELL   7/15/2013    -5     15.7
CBOE Volatility Index (VIX)   SELL   7/15/2013    -4     15.8
CBOE Volatility Index (VIX)   SELL   7/15/2013    -3     15.65
CBOE Volatility Index (VIX)   SELL   7/15/2013    -2     15.65
CBOE Volatility Index (VIX)   SELL   7/15/2013    -2     15.65
CBOE Volatility Index (VIX)   BUY    7/15/2013     2     15.8
CBOE Volatility Index (VIX)   SELL   7/17/2013    -1     15.6
CBOE Volatility Index (VIX)   SELL   7/19/2013    -2     14.9
CBOE Volatility Index (VIX)   SELL   7/22/2013    -2     14.7
CBOE Volatility Index (VIX)   SELL   7/23/2013    -1     14.6
CBOE Volatility Index (VIX)   SELL   7/25/2013    -1     14.5
CBOE Volatility Index (VIX)   BUY    7/26/2013     2     14.45
CBOE Volatility Index (VIX)   SELL   7/29/2013    -1     14.6
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CBOE Volatility Index (VIX)   SELL   7/30/2013    -1     14.25
CBOE Volatility Index (VIX)   SELL   8/1/2013     -1     13.55
CBOE Volatility Index (VIX)   BUY    8/5/2013      3     13.05
CBOE Volatility Index (VIX)   BUY    8/5/2013      5     13.05
CBOE Volatility Index (VIX)   SELL   8/6/2013     -1     13.35
CBOE Volatility Index (VIX)   SELL   8/8/2013     -2     13.25
CBOE Volatility Index (VIX)   SELL   8/12/2013    -1     13.3
CBOE Volatility Index (VIX)   SELL   8/13/2013    -1     13.05
CBOE Volatility Index (VIX)   SELL   8/14/2013    -1     13.3
CBOE Volatility Index (VIX)   BUY    8/15/2013     1     14.25
CBOE Volatility Index (VIX)   BUY    8/15/2013     1     14.25
CBOE Volatility Index (VIX)   BUY    8/15/2013     1     14.25
CBOE Volatility Index (VIX)   BUY    8/15/2013     1     14.25
CBOE Volatility Index (VIX)   BUY    8/15/2013     1     14.25
CBOE Volatility Index (VIX)   BUY    8/15/2013     1     14.25
CBOE Volatility Index (VIX)   BUY    8/15/2013     1     14.25
CBOE Volatility Index (VIX)   BUY    8/15/2013     1     14.25
CBOE Volatility Index (VIX)   BUY    8/15/2013     1     14.25
CBOE Volatility Index (VIX)   BUY    8/15/2013     1     14.25
CBOE Volatility Index (VIX)   BUY    8/15/2013     2     14.25
CBOE Volatility Index (VIX)   BUY    8/15/2013     2     14.25
CBOE Volatility Index (VIX)   BUY    8/15/2013     2     14.25
CBOE Volatility Index (VIX)   BUY    8/15/2013     4     14.25
CBOE Volatility Index (VIX)   BUY    8/15/2013     8     14.25
CBOE Volatility Index (VIX)   BUY    8/15/2013    11     14.25
CBOE Volatility Index (VIX)   BUY    8/15/2013    35     14.25
CBOE Volatility Index (VIX)   SELL   8/16/2013   -35     14.35
CBOE Volatility Index (VIX)   SELL   8/16/2013    -7     14.35
CBOE Volatility Index (VIX)   SELL   8/16/2013    -7     14.35
CBOE Volatility Index (VIX)   SELL   8/16/2013    -6     14.35
CBOE Volatility Index (VIX)   SELL   8/16/2013    -5     14.35
CBOE Volatility Index (VIX)   SELL   8/16/2013    -4     14.35
CBOE Volatility Index (VIX)   SELL   8/16/2013    -4     14.35
CBOE Volatility Index (VIX)   SELL   8/16/2013    -3     14.35
CBOE Volatility Index (VIX)   BUY    8/19/2013     3     14.65
CBOE Volatility Index (VIX)   BUY    8/19/2013     4     14.85
CBOE Volatility Index (VIX)   BUY    8/19/2013     4     14.9
CBOE Volatility Index (VIX)   BUY    8/19/2013     5     14.75
CBOE Volatility Index (VIX)   BUY    8/19/2013     6     14.8
CBOE Volatility Index (VIX)   BUY    8/19/2013     7     14.7
CBOE Volatility Index (VIX)   BUY    8/19/2013     7      15
CBOE Volatility Index (VIX)   SELL   8/19/2013    -9     15.7
CBOE Volatility Index (VIX)   SELL   8/19/2013    -4     15.75
CBOE Volatility Index (VIX)   SELL   8/19/2013    -4     15.8
CBOE Volatility Index (VIX)   SELL   8/19/2013    -3     15.85
CBOE Volatility Index (VIX)   SELL   8/19/2013    -3     15.55
CBOE Volatility Index (VIX)   SELL   8/19/2013    -3     15.6
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CBOE Volatility Index (VIX)   SELL   8/19/2013    -2     15.65
CBOE Volatility Index (VIX)   SELL   8/19/2013    -1     15.55
CBOE Volatility Index (VIX)   SELL   8/19/2013    -1     15.6
CBOE Volatility Index (VIX)   SELL   8/19/2013    -1     15.65
CBOE Volatility Index (VIX)   SELL   8/19/2013    -1     15.65
CBOE Volatility Index (VIX)   SELL   8/19/2013    -1     15.65
CBOE Volatility Index (VIX)   SELL   8/19/2013    -1     15.7
CBOE Volatility Index (VIX)   SELL   8/19/2013    -1     15.7
CBOE Volatility Index (VIX)   SELL   8/19/2013    -1     15.75
CBOE Volatility Index (VIX)   BUY    8/19/2013     3     15.95
CBOE Volatility Index (VIX)   SELL   8/20/2013    -1     15.6
CBOE Volatility Index (VIX)   SELL   8/22/2013    -3     15.4
CBOE Volatility Index (VIX)   SELL   8/23/2013    -2     15.15
CBOE Volatility Index (VIX)   BUY    8/26/2013     1     15.85
CBOE Volatility Index (VIX)   BUY    8/26/2013     3     15.85
CBOE Volatility Index (VIX)   BUY    8/27/2013     1     17.15
CBOE Volatility Index (VIX)   BUY    8/27/2013     2     17.15
CBOE Volatility Index (VIX)   BUY    8/28/2013     1     17.3
CBOE Volatility Index (VIX)   BUY    8/29/2013     1     17.35
CBOE Volatility Index (VIX)   SELL   8/30/2013    -1     17.5
CBOE Volatility Index (VIX)   BUY    9/4/2013      1     16.75
CBOE Volatility Index (VIX)   BUY    9/5/2013      1     16.4
CBOE Volatility Index (VIX)   SELL   9/6/2013     -1     16.45
CBOE Volatility Index (VIX)   SELL   9/9/2013     -2     15.8
CBOE Volatility Index (VIX)   SELL   9/10/2013    -2     15.15
CBOE Volatility Index (VIX)   BUY    9/11/2013     1     14.55
CBOE Volatility Index (VIX)   SELL   9/13/2013    -2     14.75
CBOE Volatility Index (VIX)   BUY    9/16/2013     1     14.65
CBOE Volatility Index (VIX)   BUY    9/16/2013     1     14.7
CBOE Volatility Index (VIX)   BUY    9/16/2013     1     14.7
CBOE Volatility Index (VIX)   BUY    9/16/2013     1     14.7
CBOE Volatility Index (VIX)   BUY    9/16/2013     2     14.7
CBOE Volatility Index (VIX)   BUY    9/16/2013     2     14.7
CBOE Volatility Index (VIX)   BUY    9/16/2013     2     14.7
CBOE Volatility Index (VIX)   BUY    9/16/2013     2     14.7
CBOE Volatility Index (VIX)   BUY    9/16/2013     3     14.7
CBOE Volatility Index (VIX)   BUY    9/16/2013     3     14.7
CBOE Volatility Index (VIX)   BUY    9/16/2013     4     14.7
CBOE Volatility Index (VIX)   BUY    9/16/2013     4     14.7
CBOE Volatility Index (VIX)   BUY    9/16/2013     9     14.65
CBOE Volatility Index (VIX)   SELL   9/16/2013   -13     15.6
CBOE Volatility Index (VIX)   SELL   9/16/2013    -7     15.65
CBOE Volatility Index (VIX)   SELL   9/16/2013    -6     15.55
CBOE Volatility Index (VIX)   SELL   9/16/2013    -4     15.55
CBOE Volatility Index (VIX)   SELL   9/16/2013    -1     15.5
CBOE Volatility Index (VIX)   SELL   9/16/2013    -1     15.55
CBOE Volatility Index (VIX)   SELL   9/16/2013    -1     15.55
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CBOE Volatility Index (VIX)   SELL    9/16/2013   -1     15.55
CBOE Volatility Index (VIX)   SELL    9/16/2013   -1     15.55
CBOE Volatility Index (VIX)   BUY     9/16/2013    1     15.6
CBOE Volatility Index (VIX)   BUY     9/16/2013    1     15.6
CBOE Volatility Index (VIX)   SELL    9/17/2013   -1     15.4
CBOE Volatility Index (VIX)   SELL    9/18/2013   -2     14.7
CBOE Volatility Index (VIX)   SELL    9/19/2013   -2     14.65
CBOE Volatility Index (VIX)   BUY     9/20/2013    1      15
CBOE Volatility Index (VIX)   BUY     9/20/2013    1     15.05
CBOE Volatility Index (VIX)   BUY     9/24/2013    1     15.1
CBOE Volatility Index (VIX)   SELL    9/25/2013   -1      15
CBOE Volatility Index (VIX)   SELL    9/26/2013   -1     14.8
CBOE Volatility Index (VIX)   BUY     9/27/2013    6     15.5
CBOE Volatility Index (VIX)   BUY     9/30/2013    1     16.15
CBOE Volatility Index (VIX)   BUY     9/30/2013    1     16.15
CBOE Volatility Index (VIX)   BUY     9/30/2013    1     16.15
CBOE Volatility Index (VIX)   BUY     9/30/2013    1     16.15
CBOE Volatility Index (VIX)   BUY     9/30/2013    1     16.15
CBOE Volatility Index (VIX)   BUY     9/30/2013    1     16.15
CBOE Volatility Index (VIX)   BUY     9/30/2013    2     16.15
CBOE Volatility Index (VIX)   BUY     9/30/2013    2     16.15
CBOE Volatility Index (VIX)   BUY     9/30/2013    2     16.15
CBOE Volatility Index (VIX)   BUY     9/30/2013    3     16.15
CBOE Volatility Index (VIX)   BUY     9/30/2013    4     16.15
CBOE Volatility Index (VIX)   BUY     9/30/2013    4     16.15
CBOE Volatility Index (VIX)   BUY     9/30/2013    5     16.15
CBOE Volatility Index (VIX)   BUY     9/30/2013    5     16.15
CBOE Volatility Index (VIX)   BUY     9/30/2013    7     16.15
CBOE Volatility Index (VIX)   BUY     9/30/2013    8     16.15
CBOE Volatility Index (VIX)   BUY     9/30/2013   13     16.15
CBOE Volatility Index (VIX)   SELL    10/2/2013   -5     16.3
CBOE Volatility Index (VIX)   SELL    10/3/2013   -2     17.2
CBOE Volatility Index (VIX)   BUY     10/4/2013    2     16.75
CBOE Volatility Index (VIX)   SELL    10/7/2013   -8     18.4
CBOE Volatility Index (VIX)   SELL    10/8/2013   -1     19.3
CBOE Volatility Index (VIX)   SELL    10/9/2013   -1     18.75
CBOE Volatility Index (VIX)   BUY    10/10/2013    1     16.3
CBOE Volatility Index (VIX)   BUY    10/10/2013    2     16.3
CBOE Volatility Index (VIX)   BUY    10/11/2013    1     15.7
CBOE Volatility Index (VIX)   BUY    10/11/2013    1     15.7
CBOE Volatility Index (VIX)   SELL   10/14/2013   -5     15.9
CBOE Volatility Index (VIX)   SELL   10/14/2013   -4     15.85
CBOE Volatility Index (VIX)   SELL   10/14/2013   -3     15.75
CBOE Volatility Index (VIX)   SELL   10/14/2013   -2     15.95
CBOE Volatility Index (VIX)   SELL   10/14/2013   -2      16
CBOE Volatility Index (VIX)   SELL   10/14/2013   -1     15.8
CBOE Volatility Index (VIX)   SELL   10/14/2013   -1     16.05
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CBOE Volatility Index (VIX)   SELL   10/14/2013    -1    16.05
CBOE Volatility Index (VIX)   SELL   10/14/2013    -1    16.1
CBOE Volatility Index (VIX)   SELL   10/14/2013   -15    16.65
CBOE Volatility Index (VIX)   SELL   10/14/2013    -5    16.65
CBOE Volatility Index (VIX)   SELL   10/14/2013    -4    16.6
CBOE Volatility Index (VIX)   SELL   10/14/2013    -4    16.6
CBOE Volatility Index (VIX)   SELL   10/14/2013    -3    16.6
CBOE Volatility Index (VIX)   SELL   10/14/2013    -2    16.6
CBOE Volatility Index (VIX)   SELL   10/14/2013    -1    16.65
CBOE Volatility Index (VIX)   SELL   10/14/2013    -1    16.65
CBOE Volatility Index (VIX)   BUY    10/14/2013     1    16.65
CBOE Volatility Index (VIX)   BUY    10/14/2013     1    16.75
CBOE Volatility Index (VIX)   BUY    10/14/2013     2    16.55
CBOE Volatility Index (VIX)   BUY    10/14/2013     3    16.5
CBOE Volatility Index (VIX)   BUY    10/14/2013     4    16.6
CBOE Volatility Index (VIX)   BUY    10/14/2013     4    16.65
CBOE Volatility Index (VIX)   BUY    10/14/2013     5    16.7
CBOE Volatility Index (VIX)   BUY    10/15/2013     6    17.6
CBOE Volatility Index (VIX)   BUY    10/15/2013     8    17.55
CBOE Volatility Index (VIX)   BUY    10/15/2013    15    17.55
CBOE Volatility Index (VIX)   SELL   10/16/2013    -8    15.55
CBOE Volatility Index (VIX)   SELL   10/16/2013    -6    15.55
CBOE Volatility Index (VIX)   SELL   10/16/2013    -4    15.55
CBOE Volatility Index (VIX)   SELL   10/16/2013    -3    15.55
CBOE Volatility Index (VIX)   SELL   10/16/2013    -3    15.6
CBOE Volatility Index (VIX)   SELL   10/16/2013    -1    15.55
CBOE Volatility Index (VIX)   SELL   10/16/2013    -1    15.6
CBOE Volatility Index (VIX)   SELL   10/16/2013    -1    15.55
CBOE Volatility Index (VIX)   SELL   10/16/2013    -1    15.55
CBOE Volatility Index (VIX)   SELL   10/16/2013    -1    15.55
CBOE Volatility Index (VIX)   SELL   10/16/2013    -1    15.6
CBOE Volatility Index (VIX)   SELL   10/17/2013    -1    14.55
CBOE Volatility Index (VIX)   SELL   10/17/2013    -1    14.55
CBOE Volatility Index (VIX)   BUY    10/22/2013     1    14.65
CBOE Volatility Index (VIX)   SELL   10/24/2013    -1    14.45
CBOE Volatility Index (VIX)   SELL    11/1/2013    -1    14.4
CBOE Volatility Index (VIX)   SELL    11/4/2013    -1    13.9
CBOE Volatility Index (VIX)   SELL    11/6/2013    -2    13.65
CBOE Volatility Index (VIX)   BUY     11/7/2013     1    14.2
CBOE Volatility Index (VIX)   SELL    11/8/2013    -1    13.55
CBOE Volatility Index (VIX)   SELL   11/12/2013    -1    13.35
CBOE Volatility Index (VIX)   BUY    11/13/2013     1    13.25
CBOE Volatility Index (VIX)   SELL   11/14/2013    -1    13.05
CBOE Volatility Index (VIX)   SELL   11/15/2013    -1    12.95
CBOE Volatility Index (VIX)   BUY    11/18/2013     1    12.85
CBOE Volatility Index (VIX)   BUY    11/18/2013     1    13.05
CBOE Volatility Index (VIX)   BUY    11/18/2013     1    13.2
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CBOE Volatility Index (VIX)   BUY    11/18/2013     1    13.25
CBOE Volatility Index (VIX)   BUY    11/18/2013     1    13.3
CBOE Volatility Index (VIX)   BUY    11/18/2013     1    12.85
CBOE Volatility Index (VIX)   BUY    11/18/2013     1    12.95
CBOE Volatility Index (VIX)   BUY    11/18/2013     1    13.15
CBOE Volatility Index (VIX)   BUY    11/18/2013     1    13.15
CBOE Volatility Index (VIX)   BUY    11/18/2013     1    13.25
CBOE Volatility Index (VIX)   BUY    11/18/2013     1    13.3
CBOE Volatility Index (VIX)   BUY    11/18/2013     1    13.3
CBOE Volatility Index (VIX)   BUY    11/18/2013     2    13.25
CBOE Volatility Index (VIX)   BUY    11/18/2013     3    12.8
CBOE Volatility Index (VIX)   BUY    11/18/2013     3    12.9
CBOE Volatility Index (VIX)   BUY    11/18/2013     4    12.75
CBOE Volatility Index (VIX)   SELL   11/18/2013    -9    14.35
CBOE Volatility Index (VIX)   SELL   11/18/2013    -4    14.05
CBOE Volatility Index (VIX)   SELL   11/18/2013    -2     14
CBOE Volatility Index (VIX)   SELL   11/18/2013    -2    14.15
CBOE Volatility Index (VIX)   SELL   11/18/2013    -2     14
CBOE Volatility Index (VIX)   SELL   11/18/2013    -1    14.1
CBOE Volatility Index (VIX)   SELL   11/18/2013    -1    14.2
CBOE Volatility Index (VIX)   SELL   11/18/2013    -1    14.25
CBOE Volatility Index (VIX)   SELL   11/18/2013    -1    14.4
CBOE Volatility Index (VIX)   SELL   11/18/2013    -1     14
CBOE Volatility Index (VIX)   BUY    11/18/2013     2    14.35
CBOE Volatility Index (VIX)   BUY    11/20/2013     1    14.15
CBOE Volatility Index (VIX)   SELL   11/21/2013    -1    13.7
CBOE Volatility Index (VIX)   SELL   11/22/2013    -1    13.55
CBOE Volatility Index (VIX)   SELL   11/26/2013    -1    13.7
CBOE Volatility Index (VIX)   BUY     12/2/2013     1    14.2
CBOE Volatility Index (VIX)   BUY     12/2/2013     1    14.2
CBOE Volatility Index (VIX)   BUY     12/2/2013     1    14.25
CBOE Volatility Index (VIX)   BUY     12/2/2013     1    14.25
CBOE Volatility Index (VIX)   BUY     12/2/2013     1    14.25
CBOE Volatility Index (VIX)   BUY     12/2/2013     1    14.2
CBOE Volatility Index (VIX)   BUY     12/2/2013     1    14.2
CBOE Volatility Index (VIX)   BUY     12/2/2013     2    14.2
CBOE Volatility Index (VIX)   BUY     12/2/2013     2    14.2
CBOE Volatility Index (VIX)   BUY     12/2/2013     4    14.2
CBOE Volatility Index (VIX)   BUY     12/2/2013     9    14.2
CBOE Volatility Index (VIX)   BUY     12/2/2013    25    14.25
CBOE Volatility Index (VIX)   SELL    12/3/2013   -25    14.6
CBOE Volatility Index (VIX)   SELL    12/3/2013   -24    14.6
CBOE Volatility Index (VIX)   BUY     12/4/2013    23    14.25
CBOE Volatility Index (VIX)   BUY     12/4/2013    24    14.25
CBOE Volatility Index (VIX)   BUY     12/5/2013     1    14.55
CBOE Volatility Index (VIX)   SELL    12/6/2013   -25    13.85
CBOE Volatility Index (VIX)   SELL    12/6/2013   -23    13.85
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CBOE Volatility Index (VIX)   SELL    12/6/2013    -1    13.85
CBOE Volatility Index (VIX)   SELL    12/9/2013    -1    13.7
CBOE Volatility Index (VIX)   BUY    12/10/2013     1    13.9
CBOE Volatility Index (VIX)   BUY    12/10/2013     1    13.9
CBOE Volatility Index (VIX)   BUY    12/10/2013     1    13.95
CBOE Volatility Index (VIX)   BUY    12/10/2013     1    13.95
CBOE Volatility Index (VIX)   BUY    12/10/2013     1    13.95
CBOE Volatility Index (VIX)   BUY    12/10/2013     1    13.95
CBOE Volatility Index (VIX)   BUY    12/10/2013     3    13.95
CBOE Volatility Index (VIX)   BUY    12/10/2013     4    13.95
CBOE Volatility Index (VIX)   BUY    12/10/2013     6    13.95
CBOE Volatility Index (VIX)   BUY    12/10/2013     9    13.95
CBOE Volatility Index (VIX)   BUY    12/10/2013    25    13.9
CBOE Volatility Index (VIX)   SELL   12/11/2013    -1    14.9
CBOE Volatility Index (VIX)   SELL   12/11/2013    -1    14.9
CBOE Volatility Index (VIX)   SELL   12/12/2013    -1    15.35
CBOE Volatility Index (VIX)   SELL   12/16/2013    -9    15.8
CBOE Volatility Index (VIX)   SELL   12/16/2013    -6    15.75
CBOE Volatility Index (VIX)   SELL   12/16/2013    -4    15.7
CBOE Volatility Index (VIX)   SELL   12/16/2013    -3    15.65
CBOE Volatility Index (VIX)   SELL   12/16/2013    -1    15.55
CBOE Volatility Index (VIX)   SELL   12/16/2013    -1    15.6
CBOE Volatility Index (VIX)   SELL   12/16/2013    -2    15.65
CBOE Volatility Index (VIX)   BUY    12/16/2013     1    15.55
CBOE Volatility Index (VIX)   BUY    12/16/2013     1    15.45
CBOE Volatility Index (VIX)   BUY    12/16/2013     2    15.4
CBOE Volatility Index (VIX)   BUY    12/16/2013     2    15.4
CBOE Volatility Index (VIX)   BUY    12/16/2013     5    15.5
CBOE Volatility Index (VIX)   BUY    12/16/2013    13    15.45
CBOE Volatility Index (VIX)   SELL   12/17/2013    -2    15.45
CBOE Volatility Index (VIX)   SELL   12/17/2013    -1    15.45
CBOE Volatility Index (VIX)   SELL   12/18/2013   -17    14.4
CBOE Volatility Index (VIX)   SELL   12/18/2013   -13    14.4
CBOE Volatility Index (VIX)   SELL   12/18/2013    -5    14.4
CBOE Volatility Index (VIX)   SELL   12/18/2013    -2    14.4
CBOE Volatility Index (VIX)   SELL   12/18/2013    -1    14.4
CBOE Volatility Index (VIX)   SELL   12/18/2013    -1    14.4
CBOE Volatility Index (VIX)   SELL   12/18/2013    -1    14.4
CBOE Volatility Index (VIX)   SELL   12/19/2013    -1    14.45
CBOE Volatility Index (VIX)   BUY    12/20/2013     2    14.45
CBOE Volatility Index (VIX)   SELL   12/23/2013    -1    13.85
CBOE Volatility Index (VIX)   SELL   12/23/2013    -1    13.9
CBOE Volatility Index (VIX)   SELL   12/24/2013    -1    13.45
CBOE Volatility Index (VIX)   BUY    12/26/2013     1    13.45
CBOE Volatility Index (VIX)   BUY    12/27/2013     1    13.7
CBOE Volatility Index (VIX)   SELL   12/30/2013    -1    13.85
CBOE Volatility Index (VIX)   BUY    12/31/2013     1    13.95
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CBOE Volatility Index (VIX)   BUY    12/31/2013     1    13.95
CBOE Volatility Index (VIX)   BUY    12/31/2013     1    13.95
CBOE Volatility Index (VIX)   BUY    12/31/2013     1    13.95
CBOE Volatility Index (VIX)   BUY    12/31/2013     1    13.95
CBOE Volatility Index (VIX)   BUY    12/31/2013     1    13.95
CBOE Volatility Index (VIX)   BUY    12/31/2013    17    13.95
CBOE Volatility Index (VIX)   BUY    12/31/2013    20    13.95
CBOE Volatility Index (VIX)   SELL    1/2/2014     -1    14.15
CBOE Volatility Index (VIX)   SELL    1/3/2014    -20     14
CBOE Volatility Index (VIX)   SELL    1/3/2014    -11     14
CBOE Volatility Index (VIX)   SELL    1/3/2014     -6     14
CBOE Volatility Index (VIX)   SELL    1/3/2014     -2     14
CBOE Volatility Index (VIX)   SELL    1/3/2014     -1     14
CBOE Volatility Index (VIX)   SELL    1/3/2014     -1     14
CBOE Volatility Index (VIX)   SELL    1/7/2014     -1    13.6
CBOE Volatility Index (VIX)   SELL    1/8/2014     -1    13.65
CBOE Volatility Index (VIX)   BUY     1/10/2014     1    13.25
CBOE Volatility Index (VIX)   SELL    1/14/2014    -1    13.05
CBOE Volatility Index (VIX)   BUY     1/17/2014     1    13.3
CBOE Volatility Index (VIX)   BUY     1/17/2014     1    13.45
CBOE Volatility Index (VIX)   BUY     1/17/2014     1    13.45
CBOE Volatility Index (VIX)   BUY     1/17/2014     1    13.45
CBOE Volatility Index (VIX)   BUY     1/17/2014     2    13.45
CBOE Volatility Index (VIX)   BUY     1/17/2014     6    13.35
CBOE Volatility Index (VIX)   BUY     1/17/2014    11    13.4
CBOE Volatility Index (VIX)   SELL    1/17/2014   -12    14.25
CBOE Volatility Index (VIX)   SELL    1/17/2014   -10    14.3
CBOE Volatility Index (VIX)   SELL    1/17/2014    -1    14.25
CBOE Volatility Index (VIX)   BUY     1/17/2014     1    14.3
CBOE Volatility Index (VIX)   SELL    1/21/2014    -1    14.05
CBOE Volatility Index (VIX)   BUY     1/24/2014     1    16.1
CBOE Volatility Index (VIX)   BUY     1/24/2014     1    16.1
CBOE Volatility Index (VIX)   BUY     1/24/2014     1    16.1
CBOE Volatility Index (VIX)   BUY     1/24/2014     1    16.1
CBOE Volatility Index (VIX)   BUY     1/24/2014     2    16.1
CBOE Volatility Index (VIX)   BUY     1/24/2014     2    16.1
CBOE Volatility Index (VIX)   BUY     1/24/2014     2    16.1
CBOE Volatility Index (VIX)   BUY     1/24/2014     2    16.1
CBOE Volatility Index (VIX)   BUY     1/24/2014     4    16.15
CBOE Volatility Index (VIX)   BUY     1/24/2014     5    16.15
CBOE Volatility Index (VIX)   BUY     1/24/2014    10    16.1
CBOE Volatility Index (VIX)   BUY     1/24/2014    12    16.1
CBOE Volatility Index (VIX)   SELL    1/27/2014    -2    16.05
CBOE Volatility Index (VIX)   SELL    1/29/2014    -2    16.3
CBOE Volatility Index (VIX)   SELL    1/30/2014    -2    16.55
CBOE Volatility Index (VIX)   SELL    1/31/2014    -2    17.5
CBOE Volatility Index (VIX)   SELL    2/3/2014     -1    19.1
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CBOE Volatility Index (VIX)   BUY    2/4/2014      1     18.65
CBOE Volatility Index (VIX)   SELL   2/5/2014     -1     19.1
CBOE Volatility Index (VIX)   SELL   2/7/2014     -7     15.45
CBOE Volatility Index (VIX)   SELL   2/7/2014     -5     15.4
CBOE Volatility Index (VIX)   SELL   2/7/2014     -5     15.45
CBOE Volatility Index (VIX)   SELL   2/7/2014     -4     15.45
CBOE Volatility Index (VIX)   SELL   2/7/2014     -1     15.45
CBOE Volatility Index (VIX)   SELL   2/7/2014     -1     15.4
CBOE Volatility Index (VIX)   SELL   2/7/2014     -1     15.45
CBOE Volatility Index (VIX)   SELL   2/11/2014    -1      15
CBOE Volatility Index (VIX)   BUY    2/14/2014     1     14.35
CBOE Volatility Index (VIX)   BUY    2/14/2014     1     14.35
CBOE Volatility Index (VIX)   BUY    2/14/2014     5     14.3
CBOE Volatility Index (VIX)   BUY    2/14/2014     7     14.25
CBOE Volatility Index (VIX)   SELL   2/14/2014    -7     14.7
CBOE Volatility Index (VIX)   SELL   2/14/2014    -4     14.65
CBOE Volatility Index (VIX)   SELL   2/14/2014    -3     14.6
CBOE Volatility Index (VIX)   BUY    2/19/2014     3     15.3
CBOE Volatility Index (VIX)   BUY    2/19/2014     4     15.3
CBOE Volatility Index (VIX)   BUY    2/19/2014     7     15.3
CBOE Volatility Index (VIX)   BUY    2/19/2014    13     15.35
CBOE Volatility Index (VIX)   SELL   2/20/2014   -13     14.9
CBOE Volatility Index (VIX)   SELL   2/20/2014    -2     14.9
CBOE Volatility Index (VIX)   SELL   2/20/2014    -2     14.9
CBOE Volatility Index (VIX)   SELL   2/20/2014    -2     14.9
CBOE Volatility Index (VIX)   SELL   2/20/2014    -2     14.9
CBOE Volatility Index (VIX)   SELL   2/20/2014    -1     14.9
CBOE Volatility Index (VIX)   SELL   2/20/2014    -1     14.9
CBOE Volatility Index (VIX)   SELL   2/20/2014    -1     14.9
CBOE Volatility Index (VIX)   SELL   2/20/2014    -1     14.9
CBOE Volatility Index (VIX)   SELL   2/20/2014    -1     14.9
CBOE Volatility Index (VIX)   SELL   2/20/2014    -1     14.9
CBOE Volatility Index (VIX)   SELL   2/25/2014    -1     14.85
CBOE Volatility Index (VIX)   BUY    2/28/2014     1     15.25
CBOE Volatility Index (VIX)   BUY    3/3/2014      2     16.6
CBOE Volatility Index (VIX)   SELL   3/4/2014     -1      15
CBOE Volatility Index (VIX)   SELL   3/4/2014     -1      15
CBOE Volatility Index (VIX)   SELL   3/6/2014     -1      15
CBOE Volatility Index (VIX)   BUY    3/7/2014      1     15.45
CBOE Volatility Index (VIX)   SELL   3/12/2014    -1     15.25
CBOE Volatility Index (VIX)   BUY    3/13/2014     2     16.6
CBOE Volatility Index (VIX)   BUY    3/14/2014     1     17.35
CBOE Volatility Index (VIX)   BUY    3/14/2014     1     17.6
CBOE Volatility Index (VIX)   BUY    3/14/2014     1     17.75
CBOE Volatility Index (VIX)   BUY    3/14/2014     1     17.85
CBOE Volatility Index (VIX)   BUY    3/14/2014     1     17.85
CBOE Volatility Index (VIX)   BUY    3/14/2014     1     17.95
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CBOE Volatility Index (VIX)   BUY    3/14/2014     1     17.8
CBOE Volatility Index (VIX)   BUY    3/14/2014     1     17.9
CBOE Volatility Index (VIX)   BUY    3/14/2014     1     17.9
CBOE Volatility Index (VIX)   BUY    3/14/2014     2     17.5
CBOE Volatility Index (VIX)   BUY    3/14/2014     2     17.7
CBOE Volatility Index (VIX)   SELL   3/14/2014    -4     17.15
CBOE Volatility Index (VIX)   SELL   3/14/2014    -3     17.1
CBOE Volatility Index (VIX)   SELL   3/14/2014    -2     17.05
CBOE Volatility Index (VIX)   SELL   3/14/2014    -1     16.95
CBOE Volatility Index (VIX)   SELL   3/14/2014    -1      17
CBOE Volatility Index (VIX)   SELL   3/14/2014    -1     17.2
CBOE Volatility Index (VIX)   SELL   3/14/2014    -1     17.05
CBOE Volatility Index (VIX)   SELL   3/17/2014    -1     16.1
CBOE Volatility Index (VIX)   SELL   3/18/2014    -1     15.55
CBOE Volatility Index (VIX)   SELL   3/20/2014    -1     15.7
CBOE Volatility Index (VIX)   BUY    3/21/2014     1      16
CBOE Volatility Index (VIX)   SELL   3/25/2014    -1     15.65
CBOE Volatility Index (VIX)   BUY    3/26/2014     1     16.05
CBOE Volatility Index (VIX)   SELL   3/28/2014    -1     15.55
CBOE Volatility Index (VIX)   SELL   3/31/2014    -1     15.1
CBOE Volatility Index (VIX)   SELL   4/1/2014     -1     14.45
CBOE Volatility Index (VIX)   BUY    4/4/2014      1     14.85
CBOE Volatility Index (VIX)   SELL   4/8/2014     -7     15.5
CBOE Volatility Index (VIX)   SELL   4/8/2014     -5     15.5
CBOE Volatility Index (VIX)   SELL   4/8/2014     -4     15.5
CBOE Volatility Index (VIX)   SELL   4/8/2014     -1     15.5
CBOE Volatility Index (VIX)   BUY    4/8/2014      1     15.65
CBOE Volatility Index (VIX)   BUY    4/8/2014      1     15.5
CBOE Volatility Index (VIX)   BUY    4/8/2014      1     15.5
CBOE Volatility Index (VIX)   BUY    4/8/2014      1     15.5
CBOE Volatility Index (VIX)   BUY    4/8/2014      1     15.5
CBOE Volatility Index (VIX)   BUY    4/8/2014      1     15.5
CBOE Volatility Index (VIX)   BUY    4/8/2014      1     15.5
CBOE Volatility Index (VIX)   BUY    4/8/2014      1     15.5
CBOE Volatility Index (VIX)   BUY    4/8/2014      1     15.5
CBOE Volatility Index (VIX)   BUY    4/8/2014      2     15.5
CBOE Volatility Index (VIX)   BUY    4/8/2014      3     15.5
CBOE Volatility Index (VIX)   BUY    4/8/2014      4     15.5
CBOE Volatility Index (VIX)   BUY    4/8/2014      5     15.65
CBOE Volatility Index (VIX)   BUY    4/8/2014      7     15.6
CBOE Volatility Index (VIX)   SELL   4/10/2014    -5     15.8
CBOE Volatility Index (VIX)   SELL   4/10/2014    -2     15.85
CBOE Volatility Index (VIX)   BUY    4/11/2014     1     16.85
CBOE Volatility Index (VIX)   BUY    4/11/2014     1     16.85
CBOE Volatility Index (VIX)   BUY    4/11/2014     1     16.85
CBOE Volatility Index (VIX)   BUY    4/11/2014     2     16.85
CBOE Volatility Index (VIX)   BUY    4/11/2014     4     16.85
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CBOE Volatility Index (VIX)   BUY    4/11/2014     5     16.85
CBOE Volatility Index (VIX)   SELL   4/14/2014    -1     16.45
CBOE Volatility Index (VIX)   SELL   4/14/2014    -1     16.9
CBOE Volatility Index (VIX)   SELL   4/14/2014    -1      17
CBOE Volatility Index (VIX)   BUY    4/14/2014     1     16.75
CBOE Volatility Index (VIX)   BUY    4/14/2014     1     16.85
CBOE Volatility Index (VIX)   BUY    4/14/2014     1     16.95
CBOE Volatility Index (VIX)   BUY    4/14/2014     1     16.65
CBOE Volatility Index (VIX)   SELL   4/15/2014    -2     16.4
CBOE Volatility Index (VIX)   SELL   4/15/2014    -1     16.4
CBOE Volatility Index (VIX)   SELL   4/15/2014    -1     16.4
CBOE Volatility Index (VIX)   SELL   4/15/2014    -1     16.4
CBOE Volatility Index (VIX)   SELL   4/15/2014    -1     16.4
CBOE Volatility Index (VIX)   SELL   4/15/2014    -1     16.4
CBOE Volatility Index (VIX)   SELL   4/15/2014    -1     16.4
CBOE Volatility Index (VIX)   SELL   4/16/2014    -6     15.85
CBOE Volatility Index (VIX)   SELL   4/22/2014    -1     15.2
CBOE Volatility Index (VIX)   BUY    4/23/2014     1     15.3
CBOE Volatility Index (VIX)   SELL   4/30/2014    -1     14.95
CBOE Volatility Index (VIX)   SELL   5/7/2014     -1     14.35
CBOE Volatility Index (VIX)   BUY    5/19/2014     1     13.1
CBOE Volatility Index (VIX)   BUY    5/19/2014     1     13.05
CBOE Volatility Index (VIX)   BUY    5/19/2014     1     13.05
CBOE Volatility Index (VIX)   BUY    5/19/2014     1     13.1
CBOE Volatility Index (VIX)   BUY    5/19/2014     2      13
CBOE Volatility Index (VIX)   BUY    5/19/2014     6     13.05
CBOE Volatility Index (VIX)   SELL   5/19/2014    -6     14.4
CBOE Volatility Index (VIX)   SELL   5/19/2014    -3     14.4
CBOE Volatility Index (VIX)   SELL   5/19/2014    -1     14.35
CBOE Volatility Index (VIX)   SELL   5/19/2014    -1     14.45
CBOE Volatility Index (VIX)   SELL   5/19/2014    -1     14.45
CBOE Volatility Index (VIX)   BUY    6/16/2014     1     13.1
CBOE Volatility Index (VIX)   BUY    6/16/2014     1     13.05
CBOE Volatility Index (VIX)   BUY    6/16/2014     1     13.15
CBOE Volatility Index (VIX)   BUY    6/16/2014     3     13.05
CBOE Volatility Index (VIX)   BUY    6/16/2014     6     13.1
CBOE Volatility Index (VIX)   SELL   6/16/2014    -7     13.85
CBOE Volatility Index (VIX)   SELL   6/16/2014    -3     13.8
CBOE Volatility Index (VIX)   SELL   6/16/2014    -2     13.8
CBOE Volatility Index (VIX)   BUY    7/14/2014     2      12
CBOE Volatility Index (VIX)   BUY    7/14/2014     3     11.95
CBOE Volatility Index (VIX)   BUY    7/14/2014     7     12.05
CBOE Volatility Index (VIX)   SELL   7/14/2014    -8     12.7
CBOE Volatility Index (VIX)   SELL   7/14/2014    -2     12.75
CBOE Volatility Index (VIX)   SELL   7/14/2014    -1     12.7
CBOE Volatility Index (VIX)   SELL   7/14/2014    -1     12.75
CBOE Volatility Index (VIX)   BUY    7/17/2014     8     13.75
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CBOE Volatility Index (VIX)   SELL   7/22/2014    -4     12.95
CBOE Volatility Index (VIX)   SELL   7/22/2014    -4     12.95
CBOE Volatility Index (VIX)   BUY    7/24/2014     1     13.15
CBOE Volatility Index (VIX)   BUY    7/25/2014     1     13.5
CBOE Volatility Index (VIX)   BUY    7/31/2014     2     15.15
CBOE Volatility Index (VIX)   BUY    7/31/2014     4     15.15
CBOE Volatility Index (VIX)   BUY    8/1/2014      1     15.95
CBOE Volatility Index (VIX)   BUY    8/1/2014      1     15.95
CBOE Volatility Index (VIX)   BUY    8/1/2014      4     15.95
CBOE Volatility Index (VIX)   BUY    8/4/2014      1     14.95
CBOE Volatility Index (VIX)   BUY    8/4/2014      2     14.95
CBOE Volatility Index (VIX)   BUY    8/4/2014      5     14.95
CBOE Volatility Index (VIX)   SELL   8/5/2014     -1     16.1
CBOE Volatility Index (VIX)   SELL   8/7/2014     -5     16.6
CBOE Volatility Index (VIX)   SELL   8/7/2014     -1     16.6
CBOE Volatility Index (VIX)   SELL   8/8/2014     -1     15.95
CBOE Volatility Index (VIX)   SELL   8/11/2014    -2     14.8
CBOE Volatility Index (VIX)   SELL   8/11/2014    -2     14.75
CBOE Volatility Index (VIX)   SELL   8/11/2014    -2     14.8
CBOE Volatility Index (VIX)   SELL   8/12/2014    -3     14.6
CBOE Volatility Index (VIX)   SELL   8/12/2014    -2     14.65
CBOE Volatility Index (VIX)   SELL   8/12/2014    -1     14.65
CBOE Volatility Index (VIX)   BUY    8/18/2014     1     12.75
CBOE Volatility Index (VIX)   BUY    8/18/2014     2     12.6
CBOE Volatility Index (VIX)   BUY    8/18/2014     2     12.7
CBOE Volatility Index (VIX)   BUY    8/18/2014     2     12.65
CBOE Volatility Index (VIX)   BUY    8/18/2014     3     12.7
CBOE Volatility Index (VIX)   SELL   8/18/2014    -5     13.6
CBOE Volatility Index (VIX)   SELL   8/18/2014    -1     13.5
CBOE Volatility Index (VIX)   SELL   8/18/2014    -1     13.55
CBOE Volatility Index (VIX)   SELL   8/18/2014    -1     13.6
CBOE Volatility Index (VIX)   SELL   8/18/2014    -1     13.5
CBOE Volatility Index (VIX)   SELL   8/18/2014    -1     13.55
CBOE Volatility Index (VIX)   BUY    9/15/2014     1     14.2
CBOE Volatility Index (VIX)   BUY    9/15/2014     1     14.3
CBOE Volatility Index (VIX)   BUY    9/15/2014     1     14.3
CBOE Volatility Index (VIX)   BUY    9/15/2014     1     14.35
CBOE Volatility Index (VIX)   BUY    9/15/2014     1     14.45
CBOE Volatility Index (VIX)   BUY    9/15/2014     5     14.4
CBOE Volatility Index (VIX)   SELL   9/15/2014    -3     15.1
CBOE Volatility Index (VIX)   SELL   9/15/2014    -2     15.05
CBOE Volatility Index (VIX)   SELL   9/15/2014    -2     15.15
CBOE Volatility Index (VIX)   SELL   9/15/2014    -2     15.1
CBOE Volatility Index (VIX)   SELL   9/15/2014    -1     15.15
CBOE Volatility Index (VIX)   BUY    9/19/2014     2     14.15
CBOE Volatility Index (VIX)   BUY    9/19/2014     2     14.15
CBOE Volatility Index (VIX)   BUY    9/30/2014     1     16.3
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CBOE Volatility Index (VIX)   BUY     9/30/2014    3     16.3
CBOE Volatility Index (VIX)   SELL    10/3/2014   -2     15.15
CBOE Volatility Index (VIX)   SELL    10/3/2014   -1     15.15
CBOE Volatility Index (VIX)   SELL    10/3/2014   -1     15.15
CBOE Volatility Index (VIX)   BUY     10/7/2014    2     17.05
CBOE Volatility Index (VIX)   BUY     10/7/2014    2      17
CBOE Volatility Index (VIX)   BUY     10/9/2014    1     17.15
CBOE Volatility Index (VIX)   BUY     10/9/2014    1     17.2
CBOE Volatility Index (VIX)   BUY     10/9/2014    1     17.2
CBOE Volatility Index (VIX)   BUY     10/9/2014    1     17.2
CBOE Volatility Index (VIX)   BUY    10/13/2014    1     22.8
CBOE Volatility Index (VIX)   BUY    10/13/2014    1     22.8
CBOE Volatility Index (VIX)   SELL   10/20/2014   -1     18.45
CBOE Volatility Index (VIX)   SELL   10/20/2014   -1     18.75
CBOE Volatility Index (VIX)   SELL   10/20/2014   -1     18.7
CBOE Volatility Index (VIX)   SELL   10/20/2014   -1     18.8
CBOE Volatility Index (VIX)   BUY    10/20/2014    1     18.6
CBOE Volatility Index (VIX)   BUY    10/20/2014    1     18.8
CBOE Volatility Index (VIX)   BUY    10/20/2014    1     18.9
CBOE Volatility Index (VIX)   BUY    10/20/2014    1     19.05
CBOE Volatility Index (VIX)   SELL   10/21/2014   -1     16.95
CBOE Volatility Index (VIX)   SELL   10/21/2014   -1     16.95
CBOE Volatility Index (VIX)   SELL   10/22/2014   -1     18.05
CBOE Volatility Index (VIX)   SELL   10/22/2014   -1     18.05
CBOE Volatility Index (VIX)   SELL   10/22/2014   -1     18.05
CBOE Volatility Index (VIX)   SELL   10/22/2014   -1     18.05
CBOE Volatility Index (VIX)   SELL   10/23/2014   -3     17.25
CBOE Volatility Index (VIX)   SELL   10/27/2014   -1     16.85
CBOE Volatility Index (VIX)   BUY    11/17/2014    1     14.25
CBOE Volatility Index (VIX)   BUY    11/17/2014    1     14.4
CBOE Volatility Index (VIX)   BUY    11/17/2014    1     14.3
CBOE Volatility Index (VIX)   BUY    11/17/2014    3     14.35
CBOE Volatility Index (VIX)   SELL   11/17/2014   -2     15.25
CBOE Volatility Index (VIX)   SELL   11/17/2014   -2     15.3
CBOE Volatility Index (VIX)   SELL   11/17/2014   -1     15.15
CBOE Volatility Index (VIX)   SELL   11/17/2014   -1     15.2
CBOE Volatility Index (VIX)   BUY    11/20/2014    1     15.15
CBOE Volatility Index (VIX)   BUY    11/20/2014    1     15.15
CBOE Volatility Index (VIX)   BUY    11/20/2014    2     15.15
CBOE Volatility Index (VIX)   BUY    11/20/2014    2     15.15
